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                            2018-1766, -1767

          United States Court of Appeals
              for the Federal Circuit

                            TQ DELTA, LLC,
                                                       Appellant,
                                   – v. –
   CISCO SYSTEMS, INC., DISH NETWORK LLC, COMCAST CABLE
      COMMUNICATIONS, LLC, COX COMMUNICATIONS, INC.,
TIME WARNER CABLE ENTERPRISES LLC, VERIZON SERVICES CORP.,
                     ARRIS GROUP, INC.,
                                                       Appellees.


Appeals from the United States Patent and Trademark Office, Patent Trial and
  Appeal Board in Nos. IPR2016-01020, IPR2016-01021, IPR2017-00254,
           IPR2017-00255, IPR2017-00417, and IPR2017-00418.

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                                                            November 21, 2018
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                 TQ DELTA, LLC, Patent Owner/Appellant
                                  v.
             CISCO SYSTEMS, INC., et. al., Petitioners/Appellees

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Trials@uspto.gov                                Paper No. 41
571-272-7822                                    Entered: October 26, 2017

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                   v.

                           TQ DELTA, LLC,
                            Patent Owner.
                            ____________

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                            ____________

Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and
MATTHEW R. CLEMENTS, Administrative Patent Judges.

CLEMENTS, Administrative Patent Judge.


                    FINAL WRITTEN DECISION
                          Inter Partes Review
                35 U.S.C. § 318(a) and 37 C.F.R. § 42.73



1
 DISH Network, LLC, who filed IPR2017-00254, and Comcast Cable
Communications, LLC, Cox Communications, Inc., Time Warner Cable
Enterprises LLC, Verizon Services Corp., and ARRIS Group, Inc., who filed
IPR2017-00418, have been joined in this proceeding. Paper 14; Paper 15.

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                             I.   INTRODUCTION
      In this inter partes review, instituted pursuant to 35 U.S.C. § 314,
Cisco Systems, Inc. (“Petitioner”) challenges claims 1–25 (“the challenged
claims”) of U.S. Patent No. 9,014,243 B2 (Ex. 1001, “the ’243 patent”),
owned by TQ Delta, LLC (“Patent Owner”). We have jurisdiction under
35 U.S.C. § 6. This Final Written Decision is entered pursuant to 35 U.S.C.
§ 318(a) and 37 C.F.R. § 42.73. For the reasons discussed below, Petitioner
has shown by a preponderance of the evidence that the challenged claims are
unpatentable. Patent Owner’s Motion to Exclude is dismissed.

                             A. Procedural History
      Petitioner filed a Petition requesting an inter partes review of claims
1–25 of the ’243 patent. Paper 2 (“Pet.”). Patent Owner filed a Preliminary
Response. Paper 6. On November 4, 2016, we instituted inter partes review
of claims 1–25 of the ’243 patent under 35 U.S.C. § 103(a)2 on the following
grounds. Paper 7 (“Inst. Dec.”), 16.
               References                                Claims
    Shively 3 and Stopler4                     1‒3, 7‒9, 13‒16, and 20‒22
    Shively, Stopler, and Gerszberg 5         4‒6, 10‒12, 17‒19, and 23‒25



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  The Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125 Stat. 284
(2011) (“AIA”), amended 35 U.S.C. §§ 102 and 103. Because the ’243
patent has an effective filing date before the effective date of the applicable
AIA amendments, we refer to the pre-AIA versions of 35 U.S.C. §§ 102 and
103.
3
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011, “Shively”).
4
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012, “Stopler”).
5
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013,
“Gerszberg”).
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      Thereafter, Patent Owner filed a Patent Owner Response (Paper 12,
“PO Resp.”), to which Petitioner filed a Reply (Paper 17, “Reply”).
Pursuant to an Order (Paper 21), Patent Owner filed a listing of alleged
statements and evidence in connection with Petitioner’s Reply deemed to be
beyond the proper scope of a reply. Paper 22. Petitioner filed a response to
Patent Owner’s listing. Paper 29.
      Patent Owner filed a Motion to Exclude (Paper 28), Petitioner filed an
Opposition (Paper 33), and Patent Owner filed a Reply (Paper 37). Patent
Owner also filed a Motion for Observation (Paper 27) to which Petitioner
filed a Response (Paper 34).
      We held a consolidated hearing on August 3, 2017, for this case and
related Case IPR2016-01021, and a transcript of the hearing is included in
the record. Paper 39 (“Tr.”).

                           B. Related Proceedings
      The parties indicate that the ’243 patent is the subject of several
district court cases. Pet. 1; Paper 5, 2–3; Paper 10.

                        C. The ’243 patent (Ex. 1001)
      The ’243 patent discloses multicarrier communication systems that
lower the peak-to-average power ratio (PAR) of transmitted signals.
Ex. 1001, 1:26‒29. A value is associated with each carrier signal, and a
phase shift is computed for each carrier signal based on the value associated
with that carrier signal. Id. at 2:36‒40. The computed phase shift value is
combined with the phase characteristic of that carrier signal to substantially
scramble the phase characteristics of the carrier signals. Id. at 2:40‒43.
      Figure 1 illustrates the multicarrier communication system and is
reproduced below:

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Figure 1 illustrates the multicarrier communication system, digital subscriber
line (DSL) communication system 2 includes discrete multitone (DMT)
transceiver 10 communicating with remote transceiver 14 over
communication channel 18 using transmission signal 38 having a plurality of
carrier signals. Id. at 3:25‒29. DMT transceiver 10 includes DMT
transmitter 22 and DMT receiver 26. Id. at 3:29‒30. Remote transceiver
also includes transmitter 30 and receiver 34. Id. at 3:30‒32. DMT
transmitter 22 transmits signals over communication channel 18 to receiver
34. Id. at 3:38‒41.
      DMT transmitter 22 includes quadrature amplitude modulation
(QAM) encoder 42, modulator 46, bit allocation table (BAT) 44, and phase
scrambler 66. QAM encoder 42 has a single input for receiving serial data
bit stream 54 and multiple parallel outputs to transmit QAM symbols 58

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generated by QAM encoder 42 from bit stream 54. Modulator 46 provides
DMT modulation functionality and transforms QAM symbols 58 into DMT
symbols 70. Id. at 4:10‒13. Modulator 46 modulates each carrier signal
with a different QAM symbol 58, and, therefore, this modulation results in
carrier signals having phase and amplitude characteristics based on QAM
symbol 58. Id. at 4:13‒16. Modulator 46 also includes phase scrambler 66
that combines a phase shift computed for each QAM-modulated carrier
signal with the phase characteristics of that carrier signal. Id. at 4:29‒32.

                             D. Illustrative Claims
      Petitioner challenges claims 1‒25 of the ’243 patent. Pet. 8–52.
Claims 1, 7, 13, and 20 are independent claims. Claims 2‒6 depend from
independent claim 1, claims 8‒12 depend from independent claim 7, claims
14‒19 depend directly or indirectly from independent claim 13, and claims
21‒25 depend from independent claim 20. Claim 1 is illustrative of the
claims at issue and is reproduced below:
      1.     A method, in a multicarrier communications transceiver
      comprising a bit scrambler followed by a phase scrambler,
      comprising:
             scrambling, using the bit scrambler, a plurality of input
      bits to generate a plurality of scrambled output bits, wherein at
      least one scrambled output bit is different than a corresponding
      input bit;
             scrambling, using the phase scrambler, a plurality of
      carrier phases associated with the plurality of scrambled output
      bits;
             transmitting at least one scrambled output bit on a first
      carrier; and
             transmitting the at least one scrambled output bit on a
      second carrier.

Ex. 1001, 10:58‒11:4.

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                               II.   ANALYSIS
                            A. Claim Construction
      The Board interprets claims of an unexpired patent using the broadest
reasonable construction in light of the specification of the patent in which
they appear. See 37 C.F.R. § 42.100(b); see Cuozzo Speed Techs., LLC v.
Lee, 136 S. Ct. 2131, 2142–46 (2016). Under the broadest reasonable
construction standard, claim terms are given their ordinary and customary
meaning, as would be understood by one of ordinary skill in the art in the
context of the entire disclosure. In re Translogic Tech., Inc., 504 F.3d 1249,
1257 (Fed. Cir. 2007).

                               1. “transceiver”
      In our Decision on Institution, we construed “transceiver” to mean “a
device, such as a modem, with a transmitter and a receiver.” Inst. Dec. 6.
Patent Owner contends that a construction is not necessary and cites a
construction from a corresponding district court matter (Ex. 2007, 8), but
does not argue we should adopt this construction. PO Resp. 13–14
(“Petitioners’ arguments fail irrespective of which of the foregoing
constructions for ‘transceiver’ is used.”). Petitioner contends we should
maintain our construction. Reply 7–8. Based on the record developed
during this proceeding, we continue to apply this construction.

              2. “scrambling . . . a plurality of carrier phases”
      Independent claim 1 recites “scrambling . . . a plurality of carrier
phases.” Independent claim 7 similarly recites “scramble a plurality of
carrier phases.” Independent claims 13 and 20 similarly recite “scramble[s]
a plurality of phases.” Patent Owner argues that this language should be
interpreted to mean “adjusting the phases of a plurality of carriers in a single

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multicarrier symbol by pseudo-randomly varying amounts.” PO Resp. 14–
19. Petitioner argues that the phrase does not need to be interpreted, since
the prior art relied upon uses the same “phase scrambling” terminology to
describe pseudo-random phase changes. Reply 7 (citing Ex. 1012, 12:24–
31). Additionally, Petitioner argues, without any other explanation, that “the
Board should not adopt TQ Delta’s proposed construction.” Id. During oral
argument, however, counsel for Petitioner reiterated that it is Petitioner’s
position that no construction of the term is necessary, because “[r]egarding
patent owner’s proposal of the construction, we believe that is exactly how
Stopler is describing his phase scrambler as operating.” Tr. 18:23–19:5.
      Patent Owner argues that “scramble[e/ing . . . a plurality of carrier
phases” and “scramble[] a plurality of phases” should be construed to mean
“adjusting the phases of a plurality of carriers in a single multicarrier symbol
by pseudo-randomly varying amounts.” PO Resp. 14. Patent Owner
contends that the construction is supported by the Specification of the ’243
patent and clarifies that the claimed phase scrambling “must be performed
amongst the individual carrier phases in a single multicarrier symbol” and is
not met if the phase adjustment only occurs over time from one symbol to
the next. PO Resp. 14 (citing Ex. 2003 ¶ 37).
      In support of its proposed interpretation, Patent Owner argues that the
’243 patent describes that each of the plurality of carriers (of a multicarrier
signal) corresponds to a different QAM symbol. PO Resp. 15 (citing Ex.
1001, 4:13–14). Patent Owner further argues that each carrier (or QAM
symbol) has its own phase or phase characteristic, and that the combination
of the carriers (or QAM symbols) is referred to as a DMT symbol. PO Resp.
16 (citing Ex. 1001, 4:7–9, 9:8–9; Ex. 2003 ¶ 39). Patent Owner further


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contends that the ’243 patent describes that a “phase scrambler” scrambles
phases or phase characteristics of carriers within a single DMT symbol, and
that PAR in the transmission signal is reduced by adjusting the carrier
phases within a single DMT symbol. PO Resp. 16 (citing Ex. 1001, 6:30–
8:13; Ex. 2003 ¶ 39). PAR, Patent Owner contends, would not be reduced if
carrier phases were only adjusted from one symbol to the next. PO Resp. 16
(Ex. 2003 ¶¶ 41–42).
      Based on the record before us, we agree with Patent Owner’s
proposed construction as far as meaning “adjusting the phases of a plurality
of carriers in a single multicarrier symbol.” Patent Owner, however,
provides no persuasive reasoning for also adding to that construction “by
pseudo-randomly varying amounts.” Rather, Patent Owner merely contends
that (1) in a corresponding district court matter, the court construed the
phrase to mean “adjusting the phase characteristics of the carrier signals by
pseudo-randomly varying amounts;” (2) during prosecution of the ’243
patent, the applicant explained that a “scrambler” operates by pseudo-
randomly selecting bits to invert; and (3) there was no fundamental
disagreement between parties that scrambling involves adjusting the phase
characteristic of a carrier signal by pseudo-randomly varying amounts. PO
Resp. 16–17 (citing Ex. 2007, 10–11; Ex. 2008, 18). Patent Owner’s
explanation for why we should add “by pseudo-randomly varying amounts”
to its proposed construction is conclusory. We interpret claims using the
broadest reasonable construction in light of the specification of the involved
patent. That standard is not the same as the standard used in district court.
Patent Owner, however, provides no explanation for why we should apply
the district court construction, which is not necessarily the same as used


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before us, here. Moreover, the statement made during prosecution is in the
context of summarizing an interview, purports to be part of a definition from
Wikipedia, and is preceded by an “e.g.” (Ex. 2008, 18). Patent Owner does
not explain persuasively why this statement should be interpreted as
disclaiming other possible forms of scrambling. In summary, Patent
Owner’s arguments are conclusory.
       For all of the above reasons, and for purposes of this decision, we
determine that “scrambling the phase characteristics of the carrier signals”
means “adjusting the phases of a plurality of carriers in a single multicarrier
symbol.”

                          B. Level of Ordinary Skill in the Art
       Petitioner contends that a hypothetical person of ordinary skill in the
art, with respect to and at the time of the’243 patent, would have, “(i) a
Master’s degree in Electrical and/or Computer Engineering, or equivalent
training, and (ii) approximately five years of experience working in
multicarrier telecommunications,” and that a “[l]ack of work experience can
be remedied by additional education, and vice versa.” Pet. 9–10. Patent
Owner’s expert, Dr. Short, agrees. Ex. 2003 ¶ 16 (“For purposes of this
declaration only, I have adopted Dr. Tellado’s definition of a person of
ordinary skill in the art.”)
       We determine that the hypothetical person of ordinary skill in the art
would have had either Master’s degree in Electrical and/or Computer
Engineering, or equivalent training, and approximately five years of
experience working in multicarrier telecommunications. We note also that
the prior art itself often reflects an appropriate skill level. Okajima v.
Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001) (“[T]he level of skill in the

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art is a prism or lens through which a judge, jury, or the Board views the
prior art and the claimed invention.”); Ryko Mfg. Co. v. Nu-Star, Inc., 950
F.2d 714, 718 (Fed. Cir. 1991) (“The importance of resolving the level of
ordinary skill in the art lies in the necessity of maintaining objectivity in the
obviousness inquiry.”).

                      C. The Parties’ Post-Institution Arguments
      In our Decision on Institution, we concluded that the arguments and
evidence advanced by Petitioner demonstrated a reasonable likelihood that
claims 1‒3, 7‒9, 13‒16, and 20‒22 of the ’243 patent are unpatentable under
35 U.S.C. § 103(a) over Shively and Stopler, and that claims 4‒6, 10‒12,
17‒19, and 23‒25 of the ’243 patent are unpatentable under 35 U.S.C.
§ 103(a) over Shively, Stopler, and Gerszberg. Inst. Dec. 16. We must now
determine whether Petitioner has established by a preponderance of the
evidence that the specified claims are unpatentable over the cited prior art.
35 U.S.C. § 316(e). We previously instructed Patent Owner that “any
arguments for patentability not raised in the [Patent Owner Response] will
be deemed waived.” Paper 8, 6; see also 37 C.F.R. § 42.23(a) (“Any
material fact not specifically denied may be considered admitted.”); In re
Nuvasive, Inc., 842 F.3d 1376, 1379–1382 (Fed. Cir. 2016) (holding Patent
Owner waived argument addressed in Preliminary Response by not raising
argument in the Patent Owner Response). Additionally, the Board’s Trial
Practice Guide states that the Patent Owner Response “should identify all the
involved claims that are believed to be patentable and state the basis for that
belief.” Office Patent Trial Practice Guide, 77 Fed. Reg. 48,756, 48,766
(Aug. 14, 2012).



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      With a complete record before us, we note that we have reviewed
arguments and evidence advanced by Petitioner to support its unpatentability
contentions where Patent Owner chose not to address certain limitations in
its Patent Owner Response. In this regard, the record now contains
persuasive, unrebutted arguments and evidence presented by Petitioner
regarding the manner in which the asserted prior art teaches corresponding
limitations of the claims against which that prior art is asserted. Based on
the preponderance of the evidence before us, we conclude that the prior art
identified by Petitioner teaches or suggests all uncontested limitations of the
reviewed claims. The limitations that Patent Owner contests in the Patent
Owner Response are addressed below.

                     D. Obviousness of Claims 1–3, 7–9, 13–16,
                         and 20–22 over Shively and Stopler
      Petitioner contends that claims 1–3, 7–9, 13–16, and 20–22 of the
’243 patent are unpatentable under 35 U.S.C. § 103(a) as obvious over
Shively and Stopler. Pet. 10–42.

                             1. Principles of Law
      A claim is unpatentable under § 103(a) if the differences between the
claimed subject matter and the prior art are such that the subject matter, as a
whole, would have been obvious at the time the invention was made to a
person having ordinary skill in the art to which said subject matter pertains.
KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406 (2007). The question of
obviousness is resolved on the basis of underlying factual determinations,
including (1) the scope and content of the prior art; (2) any differences
between the claimed subject matter and the prior art; (3) the level of skill in
the art; and (4) when in evidence, objective indicia of non-obviousness

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(i.e., secondary considerations). Graham v. John Deere Co., 383 U.S. 1, 17–
18 (1966). We analyze this asserted ground based on obviousness with the
principles identified above in mind.

                             2. Shively Overview
      Shively discloses discrete multitone transmission (DMT) of data by
digital subscriber loop (DSL) modems and the allocation of bits to the
discrete multitones. Ex. 1011, 1:5‒8. Bit allocation is performed to
optimize throughput within aggregate power and power spectral density
mask limits. Id. at 4:17‒19. The system includes a transmitting modem and
a receiving modem connected by a cable having four twisted pairs of
conductors. Id. at 9:63‒65. The modems include a source encoder, a
channel decoder, and a digital modulator to take in and transmit data from a
data source. Id. at 10:9‒12. The modems also include a digital
demodulator, a channel decoder, and a source decoder to receive the data
and supply it to a data sink. Id. at 10:12‒14. The source encoder
compresses data, applies the compressed data to the channel decoder, which
performs error correction. Id. at 10:15‒19. The error corrected data is
applied to the digital modulator, which acts as the interface with the
communication channel. Id. at 10:15‒22. The digital demodulator
constructs a data stream from the modulated signal and applies it to the
channel decoder, which performs error correction, and then applies the
corrected data to the source decoder, which decompresses the data. Id. at
10:22‒26.
      In the QAM multitone modulation, the spectrum is broken into
multiple sub-bands or QAM channels. Id. at 10:27‒29. The digital
modulator generates N QAM signal tones, one for each QAM channel. Id.

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at 10:29‒30. The serial stream is segmented into N frames, each having
allocated to it ki bits of data. Id. at 10:30‒31. The multi-carrier modulator
generates N QAM tones, one for each channel, at the same symbol rate but
with a respective constellation for each channel. Id. at 10:35‒37.
                             3. Stopler Overview
       Stopler discloses a method and apparatus for encoding/framing a data
stream of multitone modulated signals to improve impulse burst immunity.
Ex. 1012, 1:8‒11. The encoding/framing scheme allows efficient operation
in multipoint to point channels affected by ingress and impulsive
interference. Id. at 5:11‒14. Two dimensional interleaving is performed,
with one dimension being time and the other dimension being frequency
(tones or sub-channels). Id. at 5:18‒20. Stopler further discloses a
diagonalization scheme, where data packets are spread over time in a
diagonal fashion, such that an impulse noise affects more than one user’s
packets, with the effect on each being reduced. Id. at 5:64‒67.

                        4. Petitioner’s Initial Positions
       Petitioner contends that a combination of Shively and Stopler would
have rendered obvious claims 1–3, 7–9, 13–16, and 20–22 of the ’243
patent. Pet. 10–42. We have reviewed the Petition, Patent Owner’s
Response, and Petitioner’s Reply, as well as the relevant evidence discussed
in those papers and other record papers, and are persuaded that the record
sufficiently establishes Petitioner’s contentions for claims 1–3, 7–9, 13–16,
and 20–22, and we adopt Petitioner’s contentions discussed below as our
own.
       For example, the claim 1 preamble recites “[a] method, in a
multicarrier communications transceiver comprising a bit scrambler

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followed by a phase scrambler.” Petitioner argues that the combination of
Shively and Stopler disclose the preamble. Pet. 15‒19. Petitioner argues
that Shively discloses a “method for transmission in a multitone
communication system,” and Shively teaches the use of modems to transmit
and receive communications. Id. at 15‒16 (quoting Ex. 1011, 3:28‒29;
citing 9:42, 9:63‒64, Fig. 2). Petitioner argues that Stopler discloses that
“[m]ultitone modulation is a signal transmission scheme which uses a
number of narrow-band carriers positioned at different frequencies, all
transmitting simultaneously in parallel” and “[o]ne type of multitone
transmission scheme is discrete multitone.” Id. at 16‒17 (quoting Ex. 1012,
1:42‒49, 1:50‒58; citing Ex. 1009, 31‒32) (emphasis omitted). Petitioner
further argues that Stopler discloses a transmitter that includes two
scramblers, a bit scrambler and a phase scrambler. Id. at 18 (citing Ex.
1012, 9:34‒37, Fig. 5; Ex. 1009, 33‒34). We are persuaded by Petitioner’s
showing and find that Stopler’s scrambler 56 is a bit scrambler and Stopler’s
QAM mapper and phase scrambler 82 is a phase scrambler.
      Claim 1 further recites “scrambling, using the bit scrambler, a
plurality of input bits to generate a plurality of scrambled output bits.”
Petitioner argues that Stopler discloses that “data output by the interleaver
54 is rearranged into a serial bit stream (MSB first) and then scrambled in
scrambler 56, which is used to randomize the coded and interleaved data.”
Id. at 19 (quoting Ex. 1012, 9:34‒48) (emphasis omitted). Petitioner argues
that a person with ordinary skill in the art would have recognized that
“Stopler’s generating a randomizing sequence that is XORed with an input
bit stream constitutes ‘scrambling . . . a plurality of input bits.’” Id. (citing
Ex. 1009, 35). We are persuaded by Petitioner’s showing and find that


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Stopler’s scrambler 56 scrambles a plurality of input bits to generate a
plurality of scrambled output bits.
      Claim 1 also recites “wherein at least one scrambled output bit is
different than a corresponding input bit.” Petitioner argues that Stopler
discloses that “the bits of the serial bit stream are ‘scrambled in scrambler
56’ to ‘randomize’ the data.” Id. at 20 (citing Ex. 1012, 9:34‒47). Petitioner
argues that a person with ordinary skill would have recognized that “the
XOR operation would result in at least one input bit to be changed when the
corresponding bit in the randomizing sequence has a value of 1.” Id. at 21
(citing Ex. 1009, 37). We are persuaded by Petitioner’s showing and find
that a person of ordinary skill in the art would have understood that, after
Stopler’s XOR operation, at least one scrambled output bit is different than a
corresponding input bit.
      Claim 1 additionally recites “scrambling, using the phase scrambler, a
plurality of carrier phases.” Petitioner argues that Stopler discloses that “the
phase scrambler applies ‘a phase scrambling sequence’ to ‘data in the form
of m-tuples which are to be mapped into QAM symbols.’” Id. at 21 (quoting
Ex. 1012, 12:20‒28). Petitioner argues that Stopler discloses that “the phase
scrambled symbols are provided to a modulator that performs signal
modulation.” Id. at 21‒22 (citing Ex. 1012, 12:55‒57, Fig. 5; Ex. 1009, 39‒
40). Petitioner further argues that both Shively and Stopler disclose
“transmitting information by modulating multiple carrier frequencies.” Id. at
22 (citing Ex. 1011, 8:3‒13; Ex. 1012, 1:42‒49, 1:50‒61; Ex. 1009, 40).
Notwithstanding Patent Owner’s arguments, which we have considered and
which we address below, we are persuaded by Petitioner’s showing and find



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that Stopler’s QAM mapper and phase scrambler 82 scrambles a plurality of
carrier phases.
      Claim 1 further recites “a plurality of carrier phases associated with
the plurality of scrambled output bits.” Petitioner argues that the
combination of Shively and Stopler discloses that “the plurality of carrier
phases are based on the symbols provided to the modulator” and Stopler
further discloses “the symbols are mapped from m-tuple data . . . [where] the
m-tuple data provided to QAM mapper and phase scrambler 82 are formed
by processing the data output by the big scrambler 56 on an ‘upper level’
and a ‘lower level.’” Id. at 23 (citing Ex. 1012, 9:48‒55, 10:1‒7, 10:40‒
11:50, 11:51‒54, 12:20‒22, Fig. 5; Ex. 1009, 42‒43). We are persuaded by
Petitioner’s showing and find that the plurality of scrambled output bits are
processed to become m-tuple data that is then “associated with” a plurality
of carrier phases by QAM mapper and phase scrambler 82.
      Claim 1 also recites “transmitting at least one scrambled output bit on
a first carrier” and “transmitting the at least one scrambled output bit on a
second carrier.” Petitioner argues that Shively discloses determining “a
respective carrier modulated to transmit one bit in each of a plurality of
multitone subchannels of the channel” and “modulating a first set of
respective carriers to represent respective unique portions of the data stream
in at least a subset of those of the multitone subchannels.” Id. at 24‒25
(quoting Ex. 1011, 8:3‒6, 8:5‒13). Petitioner further argues that Stopler
discloses “transmitting data bits by modulating the data bits on carriers using
quadrature amplitude modulation (QAM) and multitone (multicarrier)
modulation.” Id. at 25 (citing Ex. 1012, 1:42‒49, 12:20‒28). Petitioner
explains that it would have been obvious to a person with ordinary skill in


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the art “to employ the techniques of Shively and Stopler to transmit at least
one scrambled output bit that is provided to the modulator.” Id. (citing Ex.
1009, 49). Petitioner further argues that Shively discloses transmitting a
portion of data on multiple carriers, and, therefore, meets the “second
carrier” claim limitation. Id. at 26‒27. We are persuaded by Petitioner’s
showing and find that both Shively and Stopler teach transmitting at least
one scrambled output data bit on a first carrier by modulating it using QAM.
      Petitioner argues that “[i]t would have been obvious for a POSITA to
combine Shively and Stopler because the combination is merely a use of a
known technique to improve a similar device, method or product in the same
way.” Id. at 13 (citing Ex. 1009, 26). Petitioner explains that a person of
ordinary skill in the art would have recognized that “by transmitting
redundant data on multiple carriers, Shively’s transmitter would suffer from
an increased peak-to-average power ratio” because “the overall transmitted
signal in a multicarrier system is essentially the sum of its multiple carriers.”
Id. (citing Ex. 1009, 26). Petitioner asserts that a person of ordinary skill in
the art “would have sought out an approach to reduce the [(peak-to-average
power ratio)] PAR of Shively’s transmitter” and “Stopler provides a solution
for reducing the PAR of a multicarrier transmitter.” Id. at 14 (citing
Ex. 1009, 27). Petitioner argues that Stopler discloses “a phase scrambler
[that] can be employed to randomize the phase of the individual subcarriers”
(id. at 14 (quoting Ex. 1011, 12:24‒28)) and “[a] POSITA would have
recognized that by randomizing the phase of each subcarrier, Stopler
provides a technique that allows two subcarriers in Shively’s system to
transmit the same bits, but without those two subcarriers having the same
phase.” Id. at 14. Petitioner explains that “[s]ince the two subcarriers are


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out-of-phase with one another, the subcarriers will not add up coherently at
the same time,” thereby reducing the peak-to-average power ratio (PAR) in
Shively’s system. Id. at 14‒15. Accordingly, Petitioner argues that
“[c]ombining Stopler’s phase scrambler into Shively’s transmitter would
have been a relatively simple and obvious solution to reduce Shively’s
PAR.” Id. at 15 (citing Ex. 1009, 28). Notwithstanding Patent Owner’s
arguments, which we have considered and which we address below, we are
persuaded by Petitioner’s showing and find that Petitioner’s articulated
reasoning has sufficient rational underpinning to support the legal
conclusion of obviousness. See KSR Int’l Co., 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)).
      Petitioner performs a similar analysis for claims 2, 3, 7–9, 13–16, and
20–22. Pet. 28–42. Notwithstanding Patent Owner’s arguments, which we
have considered and which we address below, we are persuaded by
Petitioner’s showing, which we adopt as our own findings and conclusions,
that claims 1–3, 7–9, 13–16, and 20–22 are unpatentable as obvious over
Shively and Stopler.

                       5. Patent Owner’s Argument that
                         Stopler Does Not Phase Scramble
      Patent Owner contends that “Stopler must be compatible with single-
carrier CDMA” (PO Resp. 59) based on Stopler’s teaching that “[t]he
framing scheme according to the present invention may also be performed in
a CDMA system, in which case the modulator (not shown) may, for
example, be a CDMA-type modulator in accordance with the TIA/EIA/IS-95
‘Mobile Station Compatibility Standard for Dual Mode Wideband Spread
Spectrum Cellular System.’” Ex. 1012, 12:58–63; PO Resp. 29–30; see also


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id. at 29–44 (arguing Stopler’s framing scheme must be compatible with
single-carrier CDMA). According to Patent Owner, “[b]ecause Stopler must
be compatible with single-carrier CDMA, it makes no sense to argue that his
phase scrambling must be performed within a single multicarrier symbol.”
PO Resp. 59. Thus, concludes Patent Owner, “Stopler only discloses
scrambling phases from one symbol 6 to the next symbol in time, and not
with respect to multiple carriers in a single multicarrier symbol.” PO Resp.
58–59; see also id. at 37 (“[i]t is nonsensical to scramble phases within a
symbol because there is only one phase in each symbol.”).
     Patent Owner also relies on Stopler’s claim 31 as corroboration for its
position, contending that the phase scrambling performed by QAM Mapper
and Phase Scrambler 82 “must at least be compatible with single carrier
CDMA” because claim 31 is directed to a method in a “CDMA system” that
includes the step of “phase scrambling.” Id. at 33–34 (citing Ex. 1012,
16:4–48).
      The “framing scheme” of Stopler is shown as a block diagram in
Figure 5, reproduced below. Ex. 1012, 8:54–55 (“A block diagram of the
framing scheme according to the present invention is shown in FIG. 5.”).




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  Patent Owner uses “symbol” to mean “a collective multicarrier symbol in a
single symbol period (e.g. a DMT symbol).” PO Resp. 12. Patent Owner
uses “carrier” to mean “a carrier symbol (e.g., a QAM symbol).” Id.
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To illustrate the use of Stopler’s framing scheme with either a multicarrier
modulator or a single carrier modulator, Patent Owner provides the
following annotated excerpts of Figure 5:




PO Resp. 33.
      We are not persuaded by Patent Owner’s argument, which is based
upon its assertion that “[s]ingle-carrier systems have only one carrier with
only one phase” and, therefore, “[p]hase scrambling in a single-carrier
system only makes sense when it is performed over time from symbol-to-
symbol, as illustrated by the blue box,” in the figure reproduced below. PO
Resp. 36–37.

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Id. at 37. In this diagram, “Symbol A,” “Symbol B,” and “Symbol C” each
represent a QAM symbol, not a DMT symbol, and each, according to Patent
Owner, is phase scrambled relative to the other. Thus, Patent Owner’s
diagram shows only that a single-carrier embodiment of Stopler would
transmit one phase-scrambled QAM symbol at a time. It does not show that
QAM Mapper and Phase Scrambler 82 phase scrambles a DMT symbol—
i.e., rotates, by the same amount, the phase of a plurality of QAM symbols.
This is consistent with the cross-examination testimony of Patent Owner’s
expert, Dr. Short, who admitted that Stopler does not describe phase
scrambling DMT symbols. Reply 17–18 (citing Ex. 1027, 60:11–14). Thus,
Patent Owner’s own diagram is consistent with Petitioner’s position that
Stopler phase scrambles individual QAM symbols, and Patent Owner
identifies nothing in Stopler to suggest that, in an alternative embodiment
with a multicarrier modulator, QAM Mapper and Phase Scrambler 82 do not
supply a plurality of phase-scrambled QAM symbols for modulation onto
the plurality of carriers in the, e.g., DMT symbol.
      Whereas Patent Owner’s position relies upon inference, Petitioner’s
position is supported by express disclosure in Stopler, which unambiguously

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teaches “QAM symbols, for example, . . . 256-QAM” whose “constellation
mapping may be the same as that used in ADSL.” Ex. 1012, 12:20–24.
Stopler further teaches that, “a phase scrambling sequence is applied to the
output symbols,” including “all symbols, not just the overhead symbols.”
Id. at 12:25–28. Patent Owner’s expert, Dr. Short, agreed that Stopler is
referring to phase scrambling QAM symbols. Reply 16–17 (citing Ex. 1027
(Tellado Dep.), 54:17–55:3, 55:19–24, 58:6–8, 59:9–12, 60:15–22). Stopler
further teaches that a “scrambling sequence may be generated by a pseudo-
random generator” that generates pairs whose sum “is used to select the
amount of rotation to be applied to the symbol,” singular; not “symbols”
plural. Ex. 1012, 12:28–36. Thus, the most intuitive reading of Stopler
supports Petitioner’s contention that QAM Mapper and Phase Scrambler 82
determines an amount of rotation and rotates the phase of a single QAM
symbol by that amount. Patent Owner, in contrast, identifies nothing in
Stopler to suggest that QAM Mapper and Phase Scrambler 82 rotates the
phase of a plurality of QAM symbols (e.g., every QAM symbol of a DMT
symbol) by the same amount. Finally, we agree with Petitioner’s argument
that because “a CDMA modulator does not employ DMT symbols, . . . there
is no reason for Stopler’s phase scrambler to operate on DMT symbols,”
whereas “both DMT and CDMA modulators employ QAM symbols,” so
“applying the phase scrambler to individual QAM symbols [] is the only
possible reading that is logically and technically coherent.” Id. at 18–19
(citing Ex. 1026 (Tellado Reply Decl.) ¶ 58).
      Patent Owner also argues that a person of ordinary skill in the art
would have understood Stopler to be scrambling phase from symbol-to-
symbol over time in order to reduce narrowband noise at the frequency of an


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overhead pilot carrier. PO Resp. 39; see also id. at 38–44 (citing Ex. 2004
(U.S. Patent 6,370,156, “the ’156 patent”)). According to Patent Owner,
“Petitioners’ argument that Stopler discloses phase scrambling within one
symbol is based on the premise that the symbol can have multiple pilot
tones.” Id. at 40. We understand Patent Owner to be alluding to pages 12 to
13 of the Petition, which state
      Stopler also explains that some of the available carriers may be
      reserved for the transmission of overhead signals, such as pilot
      tones. Ex. 1012, 10:60-62 & 12:51-54. To randomize these
      overhead channels, Stopler employs a phase scrambler. Ex.
      1012, 12:24-26.
Pet. 12–13. In the claim-by-claim analysis of the Petition, however,
Petitioner cites lines 20 to 28 of column 12, which include Stopler’s teaching
that “the phase scrambler is applied to all symbols, not just the overhead
symbols.” Pet. 21 (quoting Ex. 1012, 12:27–28). Thus, Petitioner is relying
not just on the scrambling of “overhead signals, such as pilot tones,” (Pet.
12) but on the scrambling of all QAM symbols. Because neither Petitioner’s
argument nor Stopler’s teaching of phase scrambling is limited to pilot
tones, Patent Owner’s argument is not persuasive.
      Finally, we are not persuaded by Patent Owner’s argument that only
its interpretation—i.e., adjusting the phase of an entire DMT symbol—
would “simplify implementation,” as Stopler teaches (Ex. 1012, 12:26),
whereas Petitioner’s interpretation would add complexity. PO Resp. 44
(citing Ex. 2003 ¶ 90). Patent Owner provides no explanation or analysis to
support its conclusory assertions regarding simplicity and complexity, and
the cited portion of Dr. Short’s declaration merely repeats what is written in
the Patent Owner’s Response.


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      For the foregoing reasons, we are persuaded that Stopler teaches
“scrambling, using the phase scrambler, a plurality of carrier phases,” as
recited in independent claim 1 and similarly recited in independent claims 7,
13, and 20.

                        6. Patent Owner’s Assertions
                        Concerning Reason to Combine
      Patent Owner argues that the combined teachings of Shively and
Stopler do not render obvious the challenged claims. PO Resp. 44. In
particular, Patent Owner argues that (1) Petitioner provides no explanation
for the “use of a known technique to improve a similar device” rationale to
combine Shively and Stopler (id. at 45‒47); (2) Petitioner wrongly claims
that Shively’s transmitter suffers from an increased PAR (id. at 47‒49); (3)
Petitioner’s combination of Shively and Stopler suffers from hindsight (id. at
49‒50); (4) there is no need to solve Shively’s non-existent PAR problem
(id. at 50); (5) Stopler does not reduce PAR in a multicarrier transmitter (id.
at 51); (6) Stopler and Shively could not be combined (id. at 51‒55); and (7)
there were no “market forces” in effect to prompt Shively/Stopler
combination (id. at 55‒57). We address each argument in turn.7


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  Patent Owner lists several portions of Petitioner’s Reply and evidence
allegedly beyond the scope of what can be considered appropriate for a
reply. See Paper 22. We have considered Patent Owner’s listing, but
disagree that the cited portions of Petitioner’s Reply and reply evidence are
beyond the scope of what is appropriate for a reply. Replies are a vehicle for
responding to arguments raised in a corresponding patent owner response.
Petitioner’s arguments and evidence that Patent Owner objects to (Paper 22,
1–2) are not beyond the proper scope of a reply because we find that they
fairly respond to Patent Owner’s arguments raised in Patent Owner’s
Response. See Idemitsu Kosan Co. v. SFC Co. Ltd., 870 F.3d 1376, 1381


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                        a. Use of a known technique to
                        improve a similar device rationale
      Patent Owner argues that in making the contention that the
combination of Shively and Stopler is a use of a known technique to
improve a similar device, method or product in the same way, Petitioner
fails to explain what is the known technique, what device/method/product is
similar, and how is the alleged known technique used for improvement in
the same way. PO Resp. 45‒47.
      In the Petition, Petitioner provides sufficient explanation regarding the
reasons to combine Shively and Stopler. Pet. 13–15. The explanation
provided in the Petition is not conclusory or confusing as Patent Owner
asserts. The known technique is identified as phase scrambling. Pet. 14–15
(citing Ex. 1009, 27–28). The similar device is Shively’s modem. Pet. 16.
And the improvement to it is the same as in Stopler—to reduce PAR. Pet.
15 (citing Ex. 1009, 28–29).

        b. Whether Shively’s transmitter suffers from increased PAR
            and whether there is a reason to reduce PAR in Shively
      Patent Owner argues that “Shively does not suffer from an increased
PAR, much less one that would be recognized as a problem. Rather,
Shively’s disclosed embodiment results in a substantially reduced PAR (and
one that is very far below a level that is problematic).” PO Resp. 47‒49.


(Fed. Cir. 2017) (“This back-and-forth shows that what Idemitsu
characterizes as an argument raised ‘too late’ is simply the by-product of one
party necessarily getting the last word. If anything, Idemitsu is the party that
first raised this issue, by arguing—at least implicitly—that Arakane teaches
away from non-energy-gap combinations. SFC simply countered, as it was
entitled to do.”).


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Patent Owner also argues that because Shively does not disclose a problem
with PAR, one having ordinary skill in the art would have had no reason to
look for a solution. PO Resp. 50. We are not persuaded by these arguments.
      Specifically, Patent Owner argues Shively’s system is unlikely to
suffer from clipping 8 based on its analysis of a hypothetical 18,000 foot
wire. PO Resp. 19–28. According to Patent Owner, the power of signals
transmitted in Shively’s proposed system would be “only 40% of maximum”
in the normal mode for ADSL-1995 and “only 49% of maximum” in the
power-boost mode of ADSL-1995. PO Resp. 19–28. Based on these
figures, Patent Owner concludes that “the clipping probability for both
normal and power-boost modes is virtually zero” because “[w]hile Shively’s
‘spreading’ technique will contribute a small uptick in clipping probability,
any increase would be negated by the enormous reduction in clipping
probability achieved by reducing signal power by more than half.” Id. at 28.
      Petitioner argues that Dr. Short’s analysis is flawed because (1) the
teachings of Shively are not applicable only to 18,000 foot cables; and (2)
Dr. Short “grossly underestimates the likelihood of phase alignment” in
Shively because he wrongly assumes a Gaussian distribution. Reply 26–31.
According to Petitioner, a proper analysis shows that Shively’s techniques
“significantly increases PAR and the likelihood of clipping.” Reply 32–36
(emphasis omitted).




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  Patent Owner explains that, “[w]hen the maximum dynamic range of a
component is exceeded, the signal will become distorted or will ‘clip.’” PO
Resp. 8. This is consistent with how the ’243 patent uses “clipping.” See,
e.g., Ex. 1001, 8:27–35.
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      We need not determine the exact probability of clipping in Shively’s
proposed system because, even assuming Patent Owner’s analysis is
accurate, it does not rebut Petitioner’s reason to combine. Petitioner does
not allege that Shively’s proposed system causes clipping, or that a person of
ordinary skill in the art would have been motivated to reduce PAR only if it
caused clipping. Instead, Petitioner alleges that Shively’s proposed system
would have an “increased” or “high” PAR:
      A POSITA would have recognized that by transmitting
      redundant data on multiple carriers, Shively’s transmitter would
      suffer from an increased peak-to-average power ratio. Ex. 1009,
      p. 26. This increase is due to the fact that the overall transmitted
      signal in a multicarrier system is essentially the sum of its
      multiple subcarriers. Id. When N subcarrier signals with the
      same phase are added together, they have a peak power which is
      N times greater than their individual maximum powers. Id.
      Since Shively’s subcarriers use quadrature amplitude modulation
      (QAM) . . . transmitting the same bits on two different
      subcarriers causes those subcarriers to have the same phase and
      amplitude. Id. By transmitting the same bits on multiple
      subcarriers, Shively creates a situation where those multiple
      subcarriers will be phase-aligned. Id. Having phase-aligned
      subcarriers causes a high peak-to-average power ratio (PAR),
      since all of the subcarriers add up coherently at the same time.
      Id.
Pet. 13–14 (emphases added).
      Patent Owner criticizes Petitioner’s declarant for not providing
“calculations or data that illustrate to what degree there is an ‘increase’ in
PAR with Shively’s transmitter” (PO Resp. 48), but we are not persuaded
that such calculations and data are necessary. Petitioner’s reason to combine
does not depend on the PAR increase exceeding some specific numeric
threshold. There is no dispute that transmitting the same data on multiple

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carriers increases PAR (Reply 10 (citing PO Resp. 6–7; Ex. 2003 (Short
Decl.) ¶ 22)) or that Shively’s technique, specifically, will increase PAR (PO
Resp. 28 (“Shively’s ‘spreading’ technique will contribute a small uptick in
clipping probability”). There also is no dispute that equipment designed to
handle a higher PAR can be larger, more expensive, and more power hungry
than equipment designed to handle a lower PAR (Reply 37; Ex. 2003 (Short
Decl.) ¶ 26; Ex. 1027 (Short Depo.) 45:21–19). Patent Owner’s declarant,
Dr. Short, testified that, given such issues, system designers or engineers
would be interested in using techniques that could reduce PAR. Ex. 1027,
46:23–47:3. This is consistent with the reason to combine given in the
Petition and supports Petitioner’s position that “numerous problems” other
than clipping “would have motivated a [person of ordinary skill in the art] to
look for ways to reduce the PAR of Shively’s technique.” Reply 37.
      In light of the foregoing, we are persuaded that a person of ordinary
skill in the art would have recognized that Shively’s technique would
increase PAR and would have been motivated to reduce PAR regardless of
whether Shively’s technique resulted in clipping.

               c. Whether combination of Shively and Stopler
                            suffers from hindsight
      Patent Owner argues that only the inventor of the ’243 patent
recognized the problem of high PAR due to phase-aligned carriers. PO
Resp. 49‒50. Patent Owner argues that the only cited evidence that high
PAR results from transmitting the same data on multiple carriers is from the
’243 patent and that Petitioner “use[s] the ’243 patent as a roadmap for
arriving at their theory of obviousness” and “is a textbook case of
impermissible hindsight bias.” Id. We are not persuaded by this argument.


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      First, the portions cited in the ’243 patent in the Petition and in Dr.
Tellado’s declaration come from the “BACKGROUND OF THE
INVENTION” section of the patent. That portion of the ’243 patent uses
words such as “conventional” indicating that what is described in the
“BACKGROUND OF THE INVENTION” section is information that was
known at the time of the invention, not just by the inventors, but persons of
ordinary skill in the art. Patent Owner does not contend otherwise.
      In addition, Dr. Tellado testified that a person having ordinary skill in
the art would have recognized that the purpose of Stopler’s phase scrambler
to randomize data symbols would be to reduce PAR of transmitted signals
and that the person would have been familiar with the problems created by a
high PAR, including PAR due to phase-aligned carriers. Ex. 1009 ¶¶ 60, 66.
Moreover, Patent Owner’s own declarant recognized that PAR was a known
problem at the time of the invention. Ex. 2003 ¶ 23 (“Conventional
multicarrier systems, therefore, were designed to accommodate PAR.”). The
ANSI T1.413-1995 standard also confirms that PAR was known at the time
of the invention by describing that “[a] DMT time-domain signal has a high
peak-to-average ratio (its amplitude distribution is almost Gaussian), and
large values may be clipped by the digital-to-analog converter.” Ex. 1017,
36 (Section 6.5 “Tone ordering”). Based on the record evidence, we find
that a person having ordinary skill in the art would have known about the
problem of high PAR due to phase-aligned carriers.

       d. Whether Stopler reduces PAR in a multicarrier transmitter
      Patent Owner argues that Stopler does not reduce PAR because phase
scrambling is performed from symbol-to-symbol and not from carrier-to-



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carrier. PO Resp. 51. The argument is not persuasive for the reasons
provided above.

                        e. Whether Stopler and Shively
                               could be combined
      Patent Owner argues that Shively and Stopler are incompatible and
that it would not have been possible to incorporate Shively’s bit-spreading
concept into Stopler. PO Resp. 51. In particular, Patent Owner argues that
Shively’s bit-spreading concept is not compatible with Stopler’s
“diagonalization” technique. PO Resp. 51‒55. This argument is misplaced
as Petitioner did not rely on Stopler’s “diagonalization” technique. Rather,
Petitioner relies on Stopler’s phase scrambler and scrambling technique.
Pet. 14, 21–22. Moreover, Stopler describes its “diagonalization” technique
as optional. Ex. 1012, 10:17, 13:1‒3. For these reasons, we are not
persuaded by Patent Owner’s argument that it would not be possible to
combine Shively and Stopler.

                     f. Whether “market forces” prompt
                         Shively/Stopler combination
      The Petition states that “[m]arket forces would have prompted the
development of multicarrier communications devices, such as Digital
Subscriber Line (DSL) modems, employing both redundant bit transmission
and phase scrambling.” Pet. 15 (citing Ex. 1009, 28). Patent Owner argues
that neither Petitioner nor Dr. Tellado identifies a single product or standard
that employs any of the ideas disclosed in Shively or Stopler. PO Resp. 55‒
57.
      Patent Owner’s arguments are misplaced. It was not incumbent on
Petitioner or Dr. Tellado to identify a product or standard that employs the


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ideas disclosed in Shively or Stopler in order to show that the combination
of Shively and Stopler would have been obvious to a person skilled in the
art. That is not the standard. Rather, a claim is unpatentable under
35 U.S.C. § 103(a) if the differences between the claimed subject matter and
the prior art are such that the subject matter, as a whole, would have been
obvious at the time of the invention to a person having ordinary skill in the
art. KSR Int’l Co., 550 U.S. at 406. Dr. Tellado testified that a person
having ordinary skill in the art would have been familiar with problems
caused by a high PAR, that equipment needed to cope with PAR would have
been expensive and inefficient, and that less capable equipment would have
caused distortion such as from amplitude clipping. Ex. 1009 ¶ 66. He
further testified that combining Shively’s redundant bit transmission with
Stopler’s phase scrambling technique would have allowed for faster DSL
modems without requiring more complex and expensive circuitry for
handling increased PAR. Id. ¶ 69. Patent Owner has not presented
sufficient evidence to undermine Dr. Tellado’s testimony. Indeed, Dr. Short
testified that a way to address high PAR in a communication system would
be to use transceiver components that could handle higher peak transmission
values, which would be expensive and power hungry. Ex. 1027, 45:15‒
46:12. Based on the record before us, we find that at the time of the
invention, a person having ordinary skill in the art would have recognized
that an increase in PAR would have been associated with more expensive
communication equipment. Accordingly, a drive to reduce equipment costs
would have motivated a person having ordinary skill in the art to include
Stopler’s phase scrambler into Shively’s transmitter to reduce PAR. Pet.
13–15; Ex. 1009 ¶¶ 66‒70.


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                                 7. Summary
      For the foregoing reasons, we are persuaded that Petitioner has
established, by a preponderance of the evidence, that claims 1‒3, 7–9, 13–
16, and 20–22 of the ’243 patent are unpatentable under 35 U.S.C. § 103(a)
as obvious over Shively and Stopler.

                E. Obviousness of Claims 4–6, 10–12, 17–19,
                and 23–25 over Shively, Stopler, and Gerszberg
      Petitioner contends that claims 4‒6, 10‒12, 17‒19, and 23‒25 of the
’243 patent are unpatentable under 35 U.S.C. § 103(a) as obvious over
Shively, Stopler, and Gerszberg. Pet. 42–52.

                           1. Gerszberg Overview
      Gerszberg discloses a telephone network interface unit typically
disposed on the outside of a home or small business. Ex. 1013, 1:6‒9. An
intelligent services director (ISD) is placed near a customer’s premises for
multiplexing and coordinating many digital services on to a single twisted-
pair line. Id. at 2:12‒23. A facilities management platform (FMP) is placed
in the local telephone network’s central office for routing data to an
appropriate interexchange company network. Id. A network server platform
(NSP) is coupled to the FMP. Id.

                      2. Petitioner’s Initial Contentions
      Petitioner contends that a combination of Shively and Stopler would
have rendered obvious claims 4‒6, 10‒12, 17‒19, and 23‒25 of the ’243
patent. Pet. 42–52. We have reviewed the Petition, Patent Owner’s
Response, and Petitioner’s Reply, as well as the relevant evidence discussed
in those papers and other record papers, and are persuaded that the record
sufficiently establishes Petitioner’s contentions for claims 4‒6, 10‒12, 17‒

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19, and 23‒25, and we adopt Petitioner’s contentions discussed below as our
own.
       For example, the claim 4 recites “[t]he method of claim 1, wherein the
transceiver is a wireless transceiver,” claim 5 recites “[t]he method of claim
1, wherein the transceiver is operable for high speed internet access,” and
claim 6 recites “[t]he method of claim 1, wherein the transceiver is operable
to transport video.” Petitioner argues that, as discussed above, the
combination of Shively and Stopler renders claim 1 obvious. See Section
II.B.3. Petitioner further argues that Gerszberg discloses the additional
limitations of claims 4‒6. Pet. 47‒49. Petitioner explains that Gerszberg
discloses a “transceiver [that] is ‘coupled to a central office [] via a twisted-
pair wire, hybrid fiber interconnection, wireless and/or other customer
connection.’” Id. at 48 (quoting Ex. 1013, 2:67‒3:9) (emphasis omitted).
Petitioner also argues that Gerszberg discloses “‘[h]igh-speed access to the
Internet’ and the ‘ability to offer ultra fast Internet access.’” Id. (quoting Ex.
1013, 7:44–60, 8:16‒24). Petitioner additionally argues that Gerszberg
discloses “transporting ‘video’ and providing ‘[i]nteractive video
teleconferencing.’” Id.at 49 (quoting Ex. 1013, 8:16‒36, 10:63‒11:3). We
are persuaded by Petitioner’s showing and find that Gerszberg teaches a
wireless transceiver, a transceiver operable for high speed internet access,
and a transceiver operable transport video.
       Petitioner further argues that a person with ordinary skill in the art
would have combined Gerszberg with Shively/Stopler “because Shively
explicitly refers to Gerszberg and incorporates Gerszberg by reference.” Id.
at 43–44 (citing Ex. 1011, 18:7‒9; Ex. 1013, 16:52‒53; Ex. 1009, 69;
Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1329 (Fed.


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Cir. 2001) (holding “[w]hen a document is ‘incorporated by reference’ into a
host document, such as a patent, the referenced document becomes
effectively part of the host document as if it were explicitly contained
therein.”)). Petitioner alternatively argues that “it would have been obvious
to combine the teachings of Gerszberg with Shively and Stopler because the
combination is merely the use of a known technique to improve a similar
device, method or product in the same way.” Id. at 44 (citing Ex. 1009, 69).
Petitioner explains that both Shively and Stopler “describe transmitting data
using DSL and multitone communication technologies” and a person with
ordinary skill in the art would have recognized that DSL “was intended to
provide data services such as high-speed internet and video to telephone
subscribers.” Id. (citing Ex. 1011, 1:5‒8; Ex. 1012, 1:50‒61, 9:37‒41,
12:21‒24, 12:55‒57; Ex. 1009, 69). Petitioner argues that it was known that
“Service Systems” that are offered by DSL technologies include “Internet
access,” “Interactive video,” and “Videoconferenc[ing].” Id. at 44‒45
(citing Ex. 1015, 100, 102, 104, Fig. 1). Accordingly, Petitioner argues, and
we agree, that the “known technique for providing Internet and video
services, as disclosed by Gerszberg, would be applied to the combination of
Shively and Stopler to provide the advantage of addressing the market need
for such services.” Id. at 46 (citing Ex. 1013, 7:44‒60, 8:16‒36, 10:63‒
11:3).
         Patent Owner argues that “Petitioners’ assertion of unpatentability for
the dependent claims . . . also falls short” for the same reasons argued above
with respect to the independent claims. PO Resp. 59. We have addressed
those arguments above, and, for the same reasons discussed above, are not
persuaded. See Section II.D.5 and II.D.6.


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                                  3. Summary
      For the foregoing reasons, we are persuaded that Petitioner has
established, by a preponderance of the evidence, that claims 4–6, 10–12, 17–
19, and 23–25 of the ’243 patent are unpatentable under 35 U.S.C. § 103(a)
as obvious over Shively, Stopler, and Gerzberg.

                     F. Patent Owner’s Motion to Exclude
      Patent Owner filed a Motion to Exclude (Paper 28, “Motion”).
Petitioner filed an Opposition to Patent Owner’s Motion (Paper 33, “Opp.”),
and Patent Owner filed a Reply in support of its Motion (Paper 37). Patent
Owner seeks to exclude Exhibit 1022, Exhibit 1025, certain paragraphs of
the Exhibit 1026 (Second Tellado Decl.), and Exhibits 1023, 1024, and 1028
and testimony regarding the same. Mot. 2–12. As movant, Patent Owner
has the burden of proof to establish that it is entitled to the requested relief.
See 37 C.F.R. § 42.20(c). For the reasons stated below, Patent Owner’s
Motion to Exclude is dismissed.
      Exhibit 1022 is styled “Robert T. Short, ‘Physical Layer,’ in
WIMEDIA UWB (2008),” and Exhibit 1025 is a copy of Dr. Tellado’s thesis.
Reply 5. Patent Owner argues that we should exclude Exhibits 1022 and
1025 as irrelevant under Federal Rule of Evidence (“FRE”) 402. Motion 2–
6. These exhibits were not cited or discussed in Petitioner’s Reply, and we
did not rely on Exhibit 1022 or 1025, or Dr. Tellado’s statements with
respect to Exhibits 1022 and 1025, in rendering our decision. We did not
and need not consider Exhibits 1022 and 1025. We have determined that
Petitioner has demonstrated, by a preponderance of the evidence, that the
challenged claims are unpatentable, without considering the specific
objected to evidence or the portion of Dr. Tellado’s statements that discuss

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Exhibits 1022 and 1025. Accordingly, we dismiss Patent Owner’s Motion to
Exclude as to these exhibits.
      Exhibit 1023 is styled “Denis J. G. Mestdagh and Paul M. P. Spruyt,
‘A Method to Reduce the Probability of Clipping in DMT-Based
Transceivers,” IEEE Transactions on Communications, Vol. 44, No. 10,
(October 1996).” Reply 5. Exhibit 1024 is styled “Stefan H. Muller and
Johannes B. Huber, ‘A Comparison of Peak Power Reduction Schemes for
OFDM,’ IEEE Global Telecommunications Conference (1997).” Id.
Exhibit 1028 is styled “T. Starr, J. M. Cioffi, P. J. Silverman,
UNDERSTANDING DIGITAL SUBSCRIBER LINE TECHNOLOGY (1999) (selected
pages).” Id. Exhibit 2013 is a copy of the cross examination transcript of
Dr. Tellado.
      Patent Owner argues that we should exclude Exhibits 1023, 1024, and
1028 in their entirety as irrelevant. Motion 9–12. Patent Owner also argues
that we should exclude certain portions of Exhibit 2013 allegedly discussing
Exhibits 1023, 124, or 1028. Id. Although Exhibits 1023, 1024, and 1028
are mentioned briefly in Petitioner’s Reply, we did not rely on Exhibits
1023, 1024, 1028, or the objected to portions of Exhibit 2013 in rendering
our decision. We did not and need not consider Exhibits 1023, 1024, 1028,
or the objected to portions of Exhibit 2013. We have determined that
Petitioner has demonstrated, by a preponderance of the evidence, that the
challenged claims are unpatentable, without considering the specific
objected to evidence.
      Finally, Patent Owner argues that we should exclude paragraphs 16
(last two sentences), 29, 42, 43 (first sentence), and 52 of Exhibit 1026
(Second Tellado Declaration), and certain portions of Dr. Tellado’s cross


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examination transcript (Exhibit 2013) under FRE 702 as being based on
insufficient facts or data due to an alleged undisclosed simulation. Motion
6–9. We did not rely on the objected to portions of Exhibits 1026 or 2013 in
rendering our decision. We did not and need not consider the objected to
portions of Exhibits 1026 or 2013. We have determined that Petitioner has
demonstrated, by a preponderance of the evidence, that the challenged
claims are unpatentable, without considering the specific objected to
evidence. Accordingly, we dismiss Patent Owner’s Motion to Exclude as to
these paragraphs of Exhibit 1026 and these portions of Exhibit 2013.
      For all of the above reasons, we dismiss Patent Owner’s Motion to
Exclude.

                        G. Motion for Observations
      Patent Owner also filed a Motion for Observations (Paper 27, “Obs.”),
to which Petitioner filed a Response (Paper 34, “Obs. Resp.”). To the extent
Patent Owner’s Motion for Observations pertains to testimony purportedly
impacting Dr. Tellado’s credibility, we have considered Patent Owner’s
observations and Petitioner’s responses in rendering this Final Written
Decision, and accorded Dr. Tellado’s testimony appropriate weight in view
of Patent Owner’s observations and Petitioner’s response to those
observations. See Obs. 1–13; Obs. Resp. 2–11.

                            III. CONCLUSION
      Petitioner has demonstrated, by a preponderance of the evidence, that
(1) claims 1‒3, 7‒9, 13‒16, and 20‒22 of the ’243 patent are unpatentable
under 35 U.S.C. § 103(a) over Shively and Stopler; and (2) claims 4‒6, 10‒
12, 17‒19, and 23‒25 of the ’243 patent are unpatentable under 35 U.S.C.
§ 103(a) over Shively, Stopler, and Gerszberg.

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                                 IV. ORDER
      Accordingly, it is
      ORDERED that claims 1‒25 of the ’243 patent are determined to be
unpatentable;
      FURTHER ORDERED that Patent Owner’s Motion to Exclude is
dismissed; and
      FURTHER ORDERED that, because this is a Final Written Decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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Trials@uspto.gov                                                  Paper 44
571-272-7822                                     Entered: October 26, 2017

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                     v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

                           Case IPR2016-010211
                            Patent 8,718,158 B2
                              ____________


Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and,
MATTHEW R. CLEMENTS, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.


                     FINAL WRITTEN DECISION
                 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73


1
  DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and
Comcast Cable Communications, L.L.C., Cox Communications, Inc., Time
Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc., who filed a Petition in IPR2017-00417, have been joined in this
proceeding.

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                            I.    INTRODUCTION
        In this inter partes review, instituted pursuant to 35 U.S.C. § 314,
Cisco Systems, Inc. (“Petitioner”) challenges claims 1–30 (“the challenged
claims”) of U.S. Patent No. 8,718,158 B2 (Ex. 1001, “the ’158 patent”),
owned by TQ Delta, LLC (“Patent Owner”). We have jurisdiction under
35 U.S.C. § 6. This Final Written Decision is entered pursuant to 35 U.S.C.
§ 318(a) and 37 C.F.R. § 42.73. For the reasons discussed below, Petitioner
has shown by a preponderance of the evidence that the challenged claims are
unpatentable. Patent Owner’s Motion to Exclude is dismissed.

                               A. Procedural History
        Petitioner filed a Petition for inter partes review of claims 1‒30 of the
’158 patent. Paper 2 (“Pet.”). Patent Owner filed a Preliminary Response.
Paper 6 (“Prelim. Resp.”). On November 4, 2016, we instituted an inter
partes review of claims 1–30 of the ’158 patent on the following grounds
(Paper 7 (“Dec.”)):
                                                              Claims
           References                   Basis                Challenged
      Shively,2 and Stopler3          § 103(a)         1, 2, 4, 15, 16, and 18
      Shively, Stopler, and
                                      § 103(a)       3, 5, 14, 17, 19, and 28‒30
    Gerszberg4
      Shively, Stopler, and                          6, 9, 10, 12, 20, 23, 24, and
                                      § 103(a)
    Bremer5                                                        26
      Shively, Stopler,               § 103(a)         8, 11, 13, 22, 25, and 27

2
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
3
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
4
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013)
(“Gerszberg”).
5
  U.S. Patent No. 4,924,516; issued May 8, 1990 (Ex. 1017) (“Bremer”).
                                     2

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                                                              Claims
            References                  Basis                Challenged
    Bremer, and Gerszberg
      Shively, Stopler,              § 103(a)                 7 and 21
    Bremer, and Flammer6

        Thereafter, Patent Owner filed a Patent Owner Response (“PO
Resp.”). Paper 15. Petitioner filed a Reply to the Patent Owner Response
(“Pet. Reply”). Paper 20. Pursuant to an Order (Paper 24), Patent Owner
filed a listing of alleged statements and evidence in connection with
Petitioner’s Reply deemed to be beyond the proper scope of a reply. Paper
25. Petitioner filed a response to Patent Owner’s listing. Paper 32.
        Patent Owner filed a Motion to Exclude, Paper 31 (“PO Mot. Exc.”),
Petitioner filed an Opposition, Paper 36 (“Pet. Opp. Mot. Exc.”), and Patent
Owner filed a Reply, Paper 40. Patent Owner filed a Motion for
Observation, Paper 30 (“PO Mot. Obs.”) and Petitioner filed a Response to
the Motion for Observation, Paper 37 (“Pet. Resp.”).
        We held a consolidated hearing on August 3, 2017, for this case and
related Case IPR2016-01020, and a transcript of the hearing is included in
the record. Paper 42 (“Tr.”).
                             B. Related Proceedings
        The parties indicate that the ’158 patent is the subject of several
pending judicial matters. Pet. 1; Paper 5, 2–3.
                             C. The ʼ158 Patent (Ex. 1001)
        The ’158 patent relates to multicarrier communications systems that
lower the peak-to-average power ratio (PAR) of transmitted signals.

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    U.S. Patent No. 5,515,369; issued May 7, 1996 (Ex. 1019) (“Flammer”).
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Ex. 1001, 1:28‒31. A value is associated with each carrier signal, and a
phase shift is computed for each carrier signal based on the value associated
with that carrier signal. Id. at 2:38‒41. The value is determined
independent of the input bit value carried by the carrier signal. The
computed phase shift value is combined with the phase characteristic of that
carrier signal to substantially scramble the phase characteristics of the carrier
signals. Id. at 2:38‒45. Figure 1 illustrates the multicarrier communication
system and is reproduced below:




      Figure 1 illustrates the multicarrier communication system, digital
subscriber line (DSL) communication system 2, which includes discrete
multitoned (DMT) transceiver 10 communicating with remote transceiver 14
over communication channel 18 using transmission signal 38 having a
plurality of carrier signals. Id. at 3:27‒31. DMT transceiver 10 includes

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DMT transmitter 22 and DMT receiver 26. Id. at 3:31‒32. Remote
transceiver also includes transmitter 30 and receiver 34. Id. at 3:32‒34.
DMT transmitter 22 transmits signals over communication channel 18 to
receiver 34. Id. at 3:40‒42.
      DMT transmitter 22 includes a quadrature amplitude modulation
(QAM) encoder 42, modulator 46, bit allocation table (BAT) 44, and phase
scrambler 66. Id. at 3:53‒56. QAM encoder 42 has a single input for
receiving serial data bit stream 54 and multiple parallel outputs to transmit
QAM symbols 58 generated by QAM encoder 42 from bit stream 54. Id. at
3:65‒4:1. Modulator 46 provides DMT modulation functionality and
transforms QAM symbols 58 into DMT symbols 70. Id. at 4:12‒14.
Modulator 46 modulates each carrier signal with a different QAM symbol
58, and, therefore, this modulation results in carrier signals having phase and
amplitude characteristics based on QAM symbol 58. Id. at 4:15‒18.
Modulator 46 also includes phase scrambler 66 that combines a phase shift
computed for each QAM-modulated carrier signal with the phase
characteristics of that carrier signal. Id. at 4:31‒34.
                               D. Illustrative Claim
      Petitioner challenges claims 1‒30 of the ’158 patent. Claims 1 and 15
are independent claims. Claims 2‒14 and 29 depend, either directly or
indirectly, from claim 1, and claims 16‒28 and 30 depend, either directly or
indirectly, from claim 15. Claim 1 is reproduced below.

      1.    In a multicarrier modulation system including a first
      transceiver in communication with a second transceiver using a
      transmission signal having a plurality of carrier signals for
      modulating a plurality of data bits, each carrier signal having a
      phase characteristic associated with at least one bit of the

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      plurality of data bits, a method for scrambling the phase
      characteristics of the carrier signals comprising:

            transmitting the plurality of data bits from the first
      transceiver to the second transceiver;

             associating a carrier signal with a value determined
      independent of any bit of the plurality of data bits carried by the
      carrier signal, the value associated with the carrier signal
      determined by a pseudo-random number generator;

            determining a phase shift for the carrier signal at least
      based on the value associated with the carrier signal;

             modulating at least one bit of the plurality of data bits on
      the carrier signal; and

             modulating the at least one bit on a second carrier signal
      of the plurality of carrier signals.

Ex. 1001, 10:59–11:11.


                             II.   ANALYSIS
                            A. Principles of Law
   To prevail in its challenge to Patent Owner’s claims, Petitioner must
demonstrate by a preponderance of the evidence that the claims are
unpatentable. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d). A claim is
unpatentable under 35 U.S.C. § 103(a) if the differences between the
claimed subject matter and the prior art are such that the subject matter, as a
whole, would have been obvious at the time of the invention to a person
having ordinary skill in the art. KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398,
406 (2007). The question of obviousness is resolved on the basis of
underlying factual determinations including: (1) the scope and content of
the prior art; (2) any differences between the claimed subject matter and the
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prior art; (3) the level of ordinary skill in the art; and (4) objective evidence
of nonobviousness. Graham v. John Deere Co. of Kansas City, 383 U.S. 1,
17–18 (1966).
      In that regard, an obviousness analysis “need not seek out precise
teachings directed to the specific subject matter of the challenged claim, for
a court can take account of the inferences and creative steps that a person of
ordinary skill in the art would employ.” KSR, 550 U.S. at 418; see also
Translogic Technology, Inc., 504 F.3d 1249, 1259, and 1262 (Fed. Cir.
2007).
                     B. Level of Ordinary skill in the Art
      Citing its declarant, Dr. Jose Tellado, Petitioner contends that a person
having ordinary skill in the art at the time of the invention would have had
(1) a Master’s degree in Electrical and/or Computer Engineering, or
equivalent training, and (2) approximately five years of experience working
with multicarrier communications systems. Pet. 10–11; Ex. 1009 ¶ 18.
Petitioner also contends that “[l]ack of work experience can be remedied by
additional education, and vice versa.” Pet. 11.
      Patent Owner’s expert, Dr. Robert Short indicated that for purposes of
the proceeding he adopts Dr. Tellado’s definition of a person of ordinary
skill in the art. Ex. 2003 ¶ 16. For purposes of this Decision, we adopt
Petitioner’s proposed definition, and further find that the level of ordinary
skill in the art is reflected by the prior art of record. See Okajima v.
Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001); In re GPAC Inc., 57 F.3d
1573, 1579 (Fed. Cir. 1995); In re Oelrich, 579 F.2d 86, 91 (CCPA 1978).




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                           C. Claim Interpretation
      The Board interprets claims of an unexpired patent using the broadest
reasonable construction in light of the specification of the patent in which
they appear. See 37 C.F.R. § 42.100(b); see also Office Patent Trial Practice
Guide, 77 Fed. Reg. at 48,766. Under the broadest reasonable construction
standard, claim terms are given their ordinary and customary meaning, as
would be understood by one of ordinary skill in the art in the context of the
entire disclosure. In re Translogic, 504 F.3d at 1257.
      Petitioner proposes constructions for the following claim terms:
“multicarrier” and “transceiver.” Pet. 8–9. In our Decision to Institute, we
interpreted the term “transceiver” to mean “a device, such as a modem, with
a transmitter and receiver,” but determined that it was not necessary to
interpret the term “multicarrier.” Dec. 6–7. Neither party has indicated that
our determinations were improper and we do not perceive any reason or
evidence that now compels any deviation from our initial determinations.
PO Resp. 13–14; Pet. Reply 7–8. Accordingly, the construction of
transceiver to mean “a device, such as a modem, with a transmitter and
receiver” applies to this Decision. Dec. 7. For purposes of this decision, we
find it necessary to construe “scrambling the phase characteristics of the
carrier signals” found in claim 1.
        Scrambling the Phase Characteristics of the Carrier Signals
      The preamble of claim 1 recites a transmission signal with a plurality
of carrier signals where each carrier signal has a phase characteristic and “a
method for scrambling the phase characteristics of the carrier signals,
comprising.” (Emphasis added). Patent Owner argues that the italicized
language should be interpreted to mean “adjusting the phases of a plurality

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of carriers in a single multicarrier symbol by pseudo-randomly varying
amounts.” PO Resp. 14–19. Petitioner argues that the phrase needs no
interpretation, since the prior art relied upon uses the same “phase
scrambling” terminology to describe pseudo-random phase changes. Pet.
Reply 7 (citing Ex. 1012, 12:24–31). Additionally, Petitioner argues,
without any other explanation, that “the Board should not adopt TQ Delta’s
proposed construction.” Id. During oral argument, however, counsel for
Petitioner reiterated that it is Petitioner’s position that no construction of the
term is necessary, because “[r]egarding [P]atent [O]wner’s proposal of the
construction, we believe that is exactly how Stopler is describing this phase
scrambler as operating.” Tr. 18:23–19:5.
      The phrase “scrambling the phase characteristics of the carrier
signals” is recited in the preamble of claim 1. Although neither party
explicitly explains why the preamble of claim 1 is limiting, both parties
implicitly contend that the preamble is limiting. For purposes of this
decision, we determine that the preamble is limiting. We further find it
helpful to our decision and analysis to interpret the phrase in order to
understand the parties’ positions with respect to how the prior art reference
Stopler meets the phrase.
      Patent Owner argues that “scrambling the phase characteristics of the
carrier signals” should be construed to mean “adjusting the phases of a
plurality of carriers in a single multicarrier symbol by pseudo-randomly
varying amounts.” PO Resp. 14. Patent Owner contends that the
construction is supported by the specification of the ’158 patent and clarifies
that the claimed phase scrambling “must be performed amongst the
individual carrier phases in a single multicarrier symbol” and is not met if

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the phase adjustment only occurs over time from one symbol to the next.
PO Resp. 14 (citing Ex. 2003 ¶ 37).
      In support of its proposed interpretation, Patent Owner argues that the
’158 patent describes that each of the plurality of carriers (of a multicarrier
signal) corresponds to a different QAM symbol. PO Resp. 15 (citing Ex.
1001, 4:15–16). Patent Owner further argues that each carrier (or QAM
symbol) has its own phase or phase characteristic, and that the combination
of the carriers (or QAM symbols) is referred to as a DMT symbol. PO Resp.
16 (citing Ex. 1001, 4:9–11, 9:8–9; Ex. 2003 ¶ 39). Patent Owner further
contends that the ’158 patent describes that a “phase scrambler” scrambles
phases or phase characteristics of carriers within a single DMT symbol, and
that PAR in the transmission signal is reduced by adjusting the carrier
phases within a single DMT symbol. PO Resp. 16 (citing Ex. 1001, 6:32–
8:13; Ex. 2003 ¶ 39). PAR, Patent Owner contends, would not be reduced if
carrier phases were only adjusted from one symbol to the next. PO Resp. 16
(Ex. 2003 ¶¶ 41–42).
      Based on the record before us, we agree with Patent Owner’s
proposed construction as far as meaning “adjusting the phases of a plurality
of carriers in a single multicarrier symbol.” PO Resp. 14. Patent Owner,
however, provides no persuasive reasoning for also adding to that
construction “by pseudo-randomly varying amounts.” Id. Rather, Patent
Owner merely contends that (1) in a corresponding district court matter, the
court construed the phrase to mean “adjusting the phase characteristics of the
carrier signals by pseudo-randomly varying amounts;” (2) during
prosecution of a child application to the ’158 patent, the applicant explained
that a “scrambler” operates by pseudo-randomly selecting bits to invert; and

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(3) there was no fundamental disagreement between parties that scrambling
involves adjusting the phase characteristic of a carrier signal by pseudo-
randomly varying amounts. PO Resp. 16–17. Patent Owner’s explanation
for why we should add “by pseudo-randomly varying amounts” to its
proposed construction is conclusory. Id. at 17. We interpret claims using
the broadest reasonable construction in light of the specification of the
involved patent. That standard is not the same as the standard used in
district court. Patent Owner, however, provides no explanation for why we
should apply the district court construction, which is not necessarily the
same as used before us, here. Moreover, Patent Owner does not explain why
statements made during prosecution of a child application for the term
“scrambler” is relevant to how we should interpret the disputed phrase that
does not even contain the term “scrambler” in it. Id. at 16. In summary,
Patent Owner’s arguments are conclusory.
      For all of the above reasons, and for purposes of this decision, we
determine that “scrambling the phase characteristics of the carrier signals”
means “adjusting the phases of a plurality of carriers in a single multicarrier
symbol.”
               D. Asserted Obviousness over Shively and Stopler
      Petitioner contends that claims 1, 2, 4, 15, 16, and 18 are unpatentable
under 35 U.S.C. § 103(a) as obvious over Shively and Stopler. Pet. 11–32.
We have reviewed Petitioner’s showing identifying where each limitation
allegedly appears in Shively and Stopler, along with the testimony of
Petitioner’s declarant, Dr. Jose Tellado. Id. (citing Ex. 1009). We also have
reviewed Patent Owner’s assertions and evidence, including the testimony of
Dr. Robert Short, as to why Petitioner’s showing is deficient.. PO Resp.

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                              Shively (Ex. 1011)
      Shively discloses discrete multitoned transmission (DMT) of data by
digital subscriber loop (DSL) modems and the allocation of bits to the
discrete multitones. Ex. 1011, 1:5‒8. Bit allocation is performed to
optimize throughput within aggregate power and power spectral density
mask limits. Id. at 4:17‒19. The system includes a transmitting modem and
a receiving modem connected by a cable having four twisted pairs of
conductors. Id. at 9:63‒65. The modems include a source encoder, a
channel decoder, and a digital modulator to take in and transmit data from a
data source. Id. at 10:9‒12. The modems also include a digital
demodulator, a channel decoder, and a source decoder to receive the data
and supply it to a data sink. Id. at 10:12‒14. The source encoder
compresses data, applies the compressed data to the channel decoder, which
performs error correction. Id. at 10:15‒19. The error corrected data is
applied to the digital modulator, which acts as the interface with the
communication channel. Id. at 10:15‒22. The digital demodulator
constructs a data stream from the modulated signal and applies it to the
channel decoder, which performs error correction, and then applies the
corrected data to the source decoder, which decompresses the data. Id. at
10:22‒26.
      In the QAM multitoned modulation, the spectrum is broken into
multiple sub-bands or QAM channels. Id. at 10:27‒29. The digital
modulator generates N QAM signal tones, one for each QAM channel.
Id. at 10:29‒30. The serial stream is segmented in to N frames, each having
allocated to it ki bits of data. Id. at 10:30‒31. The multi-carrier modulator



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generates N QAM tones, one for each channel, at the same symbol rate but
with a respective constellation for each channel. Id. at 10:35‒37.
                             Stopler (Ex. 1012)
      Stopler discloses a method and apparatus for encoding/framing a data
stream of multitoned modulated signals to improve impulse burst immunity.
Ex. 1012, 1:8‒11. The encoding/framing scheme allows efficient operation
in multipoint to point channels affected by ingress and impulsive
interference. Id. at 5:11‒14. Two dimensional interleaving is performed,
with one dimension being time and the other dimension being frequency
(tones or sub-channels). Id. at 5:18‒20. Stopler further discloses a
diagonalization scheme, where data packets are spread over time in a
diagonal fashion, such that an impulse noise affects more than one user’s
packets, with the effect on each being reduced. Id. at 5:64‒67. A code
having lower redundancy can be used since the amount of corruption
expected in one user’s data packet will be reduced. Id. at 5:67‒6:3.


      Figure 5 of Stopler is reproduced below.




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      As shown above, Figure 5 of Stopler, input data, in the form of data
packets, is input to an RS coder 52. Id. at 8:55‒57. Data output by RS coder
52 is input to interleaver 54. Id. at 9:8‒10. The output of interleaver 54 is
rearranged into a serial bit stream and then scrambled in scrambler 56, which
is used to randomize coded and interleaved data. Id. at 9:34‒37. Data
output by scrambler 56 is divided by level splitter 58 into two levels of the
TCM encoder. Splitter 58 divides serial bit stream into a group of data bits
to be processed by lower level 70, and the remaining data bits to be
processed by upper level 60. Id. at 9:48‒55. In lower level 70 of TCM
encode, data is collected into groups by group collector 72, which is input to
coder 74, then group interleaver 76 and then group filler 78. Id. at 10:40‒
11:18. The outputs of upper stream 60 and lower stream 70 are combined
into m-tuples (QAM symbols) and temporarily stored in FIFO buffer 80,
which then delivers data to a QAM mapper 82. Id. at 11:51‒57.
      The input to QAM mapper 82 is data in the form of m-tuples which
are mapped into QAM symbols. Id. at 12:21‒22. To randomize the
overhead channel symbols, a phase scrambling sequence is applied to the
output symbols. For example, the phase scrambling sequence may be
generated by a pseudo-random generator composed of a linear feedback shift
register of length 21, and initialized by a user programmable seed. Id. at
12:24‒31. Consecutive output pairs from the pseudo-random generator are
converted into numbers 2a+b and the sum (2a+b) is used to select the
amount of rotation to be applied to the symbol according to the following
table below:




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Id. at 12:31‒45. The output from the QAM mapper 82 is provided to a
modulator (not shown) which implements the particular signal modulation
desired, e.g., VCMT, CDMA, etc. Id. at 12:55‒57.
                                   Analysis
      Petitioner contends that claims 1, 2, 4, 15, 16, and 18 would have been
obvious over Shively and Stopler. Pet. 11–32. Patent Owner’s arguments
are directed to whether a person of ordinary skill in the art would have
combined Shively and Stopler and whether Stopler describes phase
scrambling. PO Resp. 45‒58.
      Claim 1 recites “[i]n a multicarrier modulation system including a first
transceiver in communication with a second transceiver.” Petitioner
contends that Shively and Stopler each describe this limitation. For
example, and with respect to Shively, Petitioner argues that Shively
describes a discrete multitoned transmission (DMT) of data (a multicarrier
modulation system) by digital subscriber loop (DSL) modems (illustrated in
Figure 2 as a transmitting modem 31 and a receiving mode 32). Pet. 17
(citing Ex. 1011, 1:5‒7, 9:42, 9:63‒64, and Fig. 2; Ex. 1009, 31‒32).7 We
are persuaded by Petitioner’s showing and find that Shively’s modem 31 is a
first transceiver in communication with a second transceiver 32 and that the

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  In the Petition, Petitioner references page numbers of Dr. Tellado’s
Declaration, as opposed to paragraph numbers. Citations are to page
numbers, unless otherwise indicated by use of the paragraph symbol (“¶”).
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two transceivers communicate using discrete multitoned transmission
(DMT) of data, and thus are in a multicarrier modulation system.
      Claim 1 further recites “using a transmission signal having a plurality
of carrier signals for modulating a plurality of data bits.” Petitioner contends
that Shively and Stopler each render obvious this phrase. For example, and
with respect to Shively, Petitioner contends that Shively describes a
transmitting modem that receives digital data from a data source and
modulates separate carriers to represent the digital data, which results in a
modulated signal sent to a receiving modem. Pet. 19 (citing Ex. 1011, 5:22‒
26). Petitioner further contends that Shively describes that the available
frequency spectrum is divided into multiple QAM channels, which a person
of ordinary skill in the art would have understood to be a “plurality of carrier
signals” for modulating “a plurality of data bits.” Pet. 19 (citing Ex. 1011,
5:47, 5:52; Ex. 1009, 35‒36). We are persuaded by Petitioner’s showing,
which we adopt as our own findings and conclusions, that Shively renders
obvious “using a transmission signal having a plurality of carrier signals for
modulating a plurality of data bits.”
      Claim 1 recites “each carrier signal having a phase characteristic
associated with at least one bit of the plurality of data bits.” Petitioner
contends that Shively and Stopler each render obvious this phrase. For
example, and with respect to Shively, Petitioner contends that Shively
describes transmitting data bits using quadrature amplitude modulation
(QAM) and that QAM produces a signal whose phase and amplitude convey
encoded k-bits of information. Pet. 20 (citing Ex. 1011, 1:29‒30).
Petitioner further contends that a person having ordinary skill in the art
would have understood that the phase of a signal used in QAM to convey

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bits is a phase characteristic as claimed. Pet. 20 (citing Ex. 1001, 1:43‒44;
Ex. 1009, 38). We are persuaded by Petitioner’s showing, which we adopt
as our own findings and conclusions, that Shively describes “each carrier
signal having a phase characteristic associated with at least one bit of the
plurality of data bits.”
       Claim 1 further recites a “method for scrambling the phase
characteristics of the carrier signals.” Petitioner contends that Stopler
describes a phase scrambler that applies a phase scrambling sequence to data
in the form of m-tuples which are to be mapped into QAM symbols. Pet. 22
(citing Ex. 1012, 12:20‒28). Petitioner contends that the QAM symbols are
then provided to a modulator which implements the particular signal
modulation. Pet. 22; Ex. 1012, 12:55‒57, Fig. 5; Ex. 1009, 41–45).
       Petitioner explains, with supporting evidence, that it would have been
understood by a person having ordinary skill in the art that modulating the
phase-scrambled QAM symbols results in the phases of the carrier signals
being scrambled. Pet. 22 (citing Ex. 1009, 44‒45). Petitioner contends that
it would have been obvious to a person having ordinary skill in the art to
employ Stopler’s phase scrambling techniques in Shively’s transmitter. Pet.
22–23 (citing Ex. 1009, 45). In particular, Dr. Tellado testifies that a person
having ordinary skill in the art would have recognized that by transmitting
redundant data symbols on multiple carriers, Shively’s transmitter would
suffer from an increased peak-to-average power ratio (PAR). Ex. 1009
¶¶ 63‒64. He further testifies that a person having ordinary skill in the art
would have understood the drawbacks from a high PAR and that such a
person would have sought out an approach to reduce PAR of Shively’s
transmitter. Id. ¶ 66. Dr. Tellado further testifies that it would have been

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obvious to randomize the carrier phases using Stopler’s techniques in order
to reduce Shively’s PAR. Id. ¶ 67. Notwithstanding Patent Owner’s
arguments, which we have considered and which we address below, we are
persuaded by Petitioner’s showing, which we adopt as our own findings and
conclusions, that Stopler teaches “scrambling the phase characteristics of the
carrier signals” and that it would have been obvious to combine Stopler’s
scrambling technique to Shively’s system for the reasons provided by
Petitioner. Pet. 23.
      Claim 1 also recites “transmitting the plurality of data bits from the
first transceiver to the second transceiver.” As discussed above, Petitioner
relies on Shively’s description of a transmitting modem (e.g., Figure 2
transmitting modem 31) that transmits digital data to a receiving modem
(e.g., Figure 2 receiving modem 32). Pet. 23 (citing Ex. 1011, 8:56‒60).
We find that Shively describes transmitting digital data from a first
transceiver to a second transceiver. Ex. 1011, 8:56‒60. Petitioner further
explains, with supporting evidence, and we agree, that a person having
ordinary skill in the art would have understood that Shively’s digital data are
“data bits.” Pet. 23 (citing Ex. 1009, 46); see also Ex. 1011, 5:47‒58.
      Claim 1 also recites “associating a carrier signal with a value
determined independently of any bit of the plurality of data bits carried by
the carrier signal, the value associated with the carrier signal determined by
a pseudo-random number generator.” Petitioner relies on Stopler to meet
this limitation. In particular, Petitioner contends that Stopler teaches a
pseudo-random generator that outputs consecutive output pairs that are
converted into numbers 2a+b. Pet. 24 (citing Ex. 1012, 12:28‒45). The
value (2a+b), derived from the pseudo-random number generator, Petitioner

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contends, is a “value determined independently of any bit of the plurality of
data bits carried by the carrier signal.” Pet. 24 (citing Ex. 1009, 48).
Petitioner further explains, with supporting evidence, that because Stopler
teaches that the value (2a+b) is associated with a symbol that is transmitted
on a sub-channel having a carrier frequency, the value (2a+b) is associated
with a carrier signal. Pet 24–25 (citing Ex. 1009, 48‒49). We are persuaded
by Petitioner’s showing, which we adopt, that Stopler renders obvious
associating a carrier signal with a “value determined independently of any
bit of the plurality of data bits carried by the carrier signal, the value
associated with the carrier signal determined by a pseudo-random number
generator.”
      Claim 1 recites “determining a phase shift for the carrier signal at least
based on the value associated with the carrier signal.” Petitioner contends
that Stopler teaches that the (2a+b) value is used to determine a phase shift
because the sum (2a+b) is used to select the amount of rotation to be applied
to the symbol, where the phase rotation can be 0, π/2, π, or -π/2. Pet. 25
(citing Ex. 1012, 12:28‒45; Ex. 1009, 49). Petitioner contends that a person
having ordinary skill in the art would have understood that applying a
rotation to the symbol results in a phase shift in the carrier signal after the
symbol is modulated onto the carrier. Pet. 25‒26 (citing Ex. 1009, 49). We
are persuaded by Petitioner’s showing, which we adopt, that Stopler renders
obvious “determining a phase shift for the carrier signal at least based on the
value associated with the carrier signal.”
      Claim 1 recites “modulating at least one bit of the plurality of data bits
on the carrier signal” and “modulating the at least one bit on a second carrier
signal of the plurality of carrier signals.” Petitioner points to descriptions in

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Shively that describes determining “a respective carrier modulated to
transmit one bit in each of a plurality of multitone subchannels of the
channel” and “modulating a first set of respective carriers to represent
respective unique portions of the data stream.” Pet. 26 (quoting Ex. 1011,
8:3‒6, 8:5‒13). Petitioner further contends that Shively employs QAM
multitone modulation to modulate carriers, and Shively’s multiple sub-bands
or QAM channels correspond to the claimed “plurality of carrier signals.”
Pet. 26 (citing Ex. 1009, 51). Petitioner submits that Stopler also teaches
using QAM to convey data bits on carrier signals. Pet. 26‒27. Petitioner
further argues that Shively discloses modulating a portion of data on
multiple carriers, and, therefore, meets the “second carrier” claim limitation.
Id. at 27‒29. We are persuaded by Petitioner’s showing, which we adopt,
that the combined teachings of Shively and Stopler render obvious
“modulating at least one bit of the plurality of data bits on the carrier signal”
and “modulating the at least one bit on a second carrier signal of the
plurality of carrier signals.”
      Independent claim 15 is similar to claim 1. Petitioner has made a
showing with respect to claim 15 similar to its showing with respect to claim
1. See, e.g., Pet. 30‒32. To the extent that claim 15 is different from claim
1, Petitioner has accounted for such differences. We also have reviewed
Petitioner’s showing with respect to dependent claims 2, 4, 16, and 18.
Claim 2 depends from claim 1 and recites “wherein one or more of the first
transceiver and second transceiver are cable transceivers.” Claim 16, which
depends from claim 15 is similar. Petitioner sufficiently accounts for this
limitation by explaining that Stopler describes a cable modem attached to a
cable television network and is a “cable transceiver.” Pet. 29 (citing Ex.

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1012, 1:28‒33, 2:9‒22, and 12:55‒57; Ex. 1009, 55‒56). We find that
Stopler describes a cable modem that meets the limitation of a cable
transceiver. Petitioner contends, and we agree, that it would have been
obvious to a person having ordinary skill in the art that the data transmission
techniques of Shively and Stopler could be employed with a cable
transceiver. Pet. 29 (citing Ex. 1009, 56).
      Claim 4 depends from claim 1 and “wherein the first and second
transceivers are multicarrier DSL transceivers.” Claim 18, which depends
from claim 15 is similar. Petitioner sufficiently accounts for this limitation
by explaining, for example, that Shively describes discrete multitoned
transmission (DMT) of data by digital subscriber loop (DSL) modems. Pet.
30 (citing Ex. 1011, 1:5‒8). Patent Owner does not make any additional
arguments regarding claims 2, 4, 15, 16, and 18 that do not pertain to claim
1. Notwithstanding Patent Owner’s arguments, which we have considered
and which we address below, we are persuaded by Petitioner’s showing,
which we adopt as our own findings and conclusions, that claims 1, 2, 4, 15,
16, and 18 are unpatentable as obvious over Shively and Stopler.
                         Patent Owner’s Contentions
      Patent Owner argues that the combined teachings of Shively and
Stopler do not render obvious the challenged claims. PO Resp. 44. In
particular, Patent Owner argues that (1) Petitioner provides no explanation
for the “use of a known technique to improve a similar device” rationale to
combine Shively and Stopler (id. at 45‒47); (2) Petitioner wrongly claims
that Shively’s transmitter suffers from an increased PAR (id. at 47‒49); (3)
Petitioner’s combination of Shively and Stopler suffers from hindsight (id. at
49‒50); (4) there is no need to solve Shively’s non-existent PAR problem

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(id. at 50‒51); (5) Stopler does not reduce PAR in a multicarrier transmitter
(id. at 51); (6) Stopler and Shively could not be combined (id. at 51‒55); and
(7) there were no “market forces” in effect to prompt the Shively/Stopler
combination (id. at 55‒57). Patent Owner also argues that Stopler does not
disclose phase scrambling. Id. at 57‒59. We address each argument below.8
        Scrambling the Phase Characteristics of the Carrier Signals
      Patent Owner argues that Stopler does not disclose “scrambling the
phase characteristics of the carrier signals” required by claim 1. PO Resp.
34‒44, 57‒58. We note, independent claim 15 does not recite this phrase.
In essence, Patent Owner argues that claim 1 requires adjusting the phases of
a plurality of carriers in a single multicarrier symbol, but that Stopler only
discloses scrambling phases from one symbol to the next symbol and not
with respect to multiple carriers in a single multicarrier symbol. Id.




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  Patent Owner lists several portions of Petitioner’s Reply and evidence
allegedly beyond the scope of what can be considered appropriate for a
reply. See Paper 25. We have considered Patent Owner’s listing, but
disagree that the cited portions of Petitioner’s Reply and reply evidence are
beyond the scope of what is appropriate for a reply. Replies are a vehicle for
responding to arguments raised in a corresponding patent owner response.
Petitioner’s arguments and evidence that Patent Owner objects to (Paper 25,
1–2) are not beyond the proper scope of a reply because we find that they
fairly respond to Patent Owner’s arguments raised in Patent Owner’s
Response. See Idemitsu Kosan Co. v. SFC Co. Ltd., 870 F.3d 1376, 1381
(Fed. Cir. 2017) (“This back-and-forth shows that what Idemitsu
characterizes as an argument raised ‘too late’ is simply the by-product of one
party necessarily getting the last word. If anything, Idemitsu is the party that
first raised this issue, by arguing—at least implicitly—that Arkane teaches
away from non-energy-gap combinations. SFC simply countered, as it was
entitled to do.”).
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      In particular, Patent Owner contends that “Stopler must be compatible
with single-carrier CDMA” (PO Resp. 58) based on Stopler’s teaching that
“[t]he framing scheme according to the present invention may also be
performed in a CDMA system, in which case the modulator (not shown)
may, for example, be a CDMA-type modulator in accordance with the
TIA/EIA/IS-95 Mobile Station Compatibility Standard for Dual Mode
Wideband Spread Spectrum Cellular System.” Ex. 1012, 12:58–63; see also
PO Resp. 29–30; id. at 29–44 (arguing Stopler’s framing scheme must be
compatible with single-carrier CDMA). According to Patent Owner,
“[b]ecause Stopler must be compatible with single-carrier CDMA, it makes
no sense to argue that his phase scrambling must be performed within a
single multicarrier symbol.” PO Resp. 58. Thus, concludes Patent Owner,
“Stopler only discloses scrambling phases from one symbol9 to the next
symbol in time, and not with respect to multiple carriers in a single
multicarrier symbol.” PO Resp. 58; see also id. at 37 (“It is nonsensical to
scramble phases within a symbol because there is only one phase in each
symbol.”).
     Patent Owner also relies on Stopler’s claim 31 as corroboration for its
position, contending that the phase scrambling performed by QAM Mapper
and Phase Scrambler 82 “must at least be compatible with single carrier
CDMA” because claim 31 is directed to a method in a “CDMA system” that
includes the step of “phase scrambling.” Id. at 33–34 (citing Ex. 1012,
16:4–48).


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  Patent Owner uses “symbol” to mean “a collective multicarrier symbol in
a single symbol period (e.g. a DMT symbol).” PO Resp. 12. Patent Owner
uses “carrier” to mean “a carrier symbol (e.g., a QAM symbol).” Id.
                                     23

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      The “framing scheme” of Stopler is shown as a block diagram in
Figure 5, reproduced below. Ex. 1012, 8:54–55 (“A block diagram of the
framing scheme according to the present invention is shown in FIG. 5.”).




To illustrate the use of Stopler’s framing scheme with either a multicarrier
modulator or a single carrier modulator, Patent Owner provides the
following annotated excerpts of Figure 5:




PO Resp. 33.
      We are not persuaded by Patent Owner’s argument, which is based
upon its assertion that “[s]ingle-carrier systems have only one carrier with
only one phase” and, therefore, “[p]hase scrambling in a single-carrier
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system only makes sense when it is performed over time from symbol-to-
symbol, as illustrated by the blue box,” in the figure reproduced below. PO
Resp. 36–37.




Id. In this diagram, “Symbol A,” “Symbol B,” and “Symbol C” each
represent a QAM symbol, not a DMT symbol, and each, according to Patent
Owner, is phase scrambled relative to the other. Thus, Patent Owner’s
diagram shows only that a single-carrier embodiment of Stopler would
transmit one phase-scrambled QAM symbol at a time. It does not show that
QAM Mapper and Phase Scrambler 82 phase scrambles a DMT symbol—
i.e., rotates, by the same amount, the phase of a plurality of QAM symbols.
This is consistent with the cross-examination testimony of Patent Owner’s
expert, Dr. Short, who admitted that Stopler does not describe phase
scrambling DMT symbols. Pet. Reply 17–18 (citing Ex. 1027, 60:11–14).
Thus, Patent Owner’s own diagram is consistent with Petitioner’s position
that Stopler phase scrambles individual QAM symbols, and Patent Owner
identifies nothing in Stopler to suggest that, in an alternative embodiment
with a multicarrier modulator, QAM Mapper and Phase Scrambler 82 do not


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supply a plurality of phase-scrambled QAM symbols for modulation onto
the plurality of carriers in the, e.g., DMT symbol.
      Whereas Patent Owner’s position relies upon inference, Petitioner’s
position is supported by express disclosure in Stopler, which unambiguously
teaches “QAM symbols, for example,[] 256-QAM” whose “constellation
mapping may be the same as that used in ADSL.” Ex. 1012, 12:20–24.
Stopler further teaches that, “a phase scrambling sequence is applied to the
output symbols,” including “all symbols, not just the overhead symbols.”
Id. at 12:25–28. Patent Owner’s expert, Dr. Short, agreed that Stopler is
referring to phase scrambling QAM symbols. Pet. Reply 16–17 (citing Ex.
1027, 54:17–55:3, 55:19–24, 58:6–8, 59:9–12, and 60:15–22). Stopler
further teaches that a “scrambling sequence may be generated by a pseudo-
random generator” that generates pairs whose sum “is used to select the
amount of rotation to be applied to the symbol,” singular; not “symbols”
plural. Ex. 1012, 12:28–36. Thus, the most intuitive reading of Stopler
supports Petitioner’s contention that QAM Mapper and Phase Scrambler 82
determines an amount of rotation and rotates the phase of a single QAM
symbol by that amount. Patent Owner, in contrast, identifies nothing in
Stopler to suggest that QAM Mapper and Phase Scrambler 82 rotates the
phase of a plurality of QAM symbols (e.g., every QAM symbol of a DMT
symbol) by the same amount. Finally, we agree with Petitioner’s argument
that because “a CDMA modulator does not employ DMT symbols, there is
no reason for Stopler’s phase scrambler to operate on DMT symbols,”
whereas “both DMT and CDMA modulators employ QAM symbols,” so
“applying the phase scrambler to individual QAM symbols[] is the only



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possible reading that is logically and technically coherent.” Pet. Reply 18
(citing Ex. 1026 ¶ 58).
      Patent Owner also argues that a person of ordinary skill in the art
would have understood Stopler to be scrambling phase from symbol-to-
symbol over time in order to reduce narrowband noise at the frequency of an
overhead pilot carrier. PO Resp. 39; see also id. at 38–44 (citing Ex. 2004
(U.S. Patent 6,370,156, “the ’156 patent”)). According to Patent Owner,
“Petitioners’ argument that Stopler discloses phase scrambling within one
symbol is based on the premise that the symbol can have multiple pilot
tones.” Id. at 40. We understand Patent Owner to be alluding to pages 13 to
14 of the Petition, which state
      Stopler also explains that some of the available carriers may be
      reserved for the transmission of overhead signals, such as pilot
      tones. Ex. 1012, 10:60-62 & 12:51-54. To randomize these
      overhead channels, Stopler employs a phase scrambler. Ex.
      1012, 12:24-26.
Pet. 13. In the claim-by-claim analysis of the Petition, however, Petitioner
cites lines 20 to 28 of column 12, which include Stopler’s teaching that “the
phase scrambler is applied to all symbols, not just the overhead symbols.”
See Pet. 22 (quoting Ex. 1012, 12:27–28). Thus, Petitioner is relying not
just on the scrambling of “overhead signals, such as pilot tones,” (Pet. 13)
but on the scrambling of all QAM symbols. Because neither Petitioner’s
argument nor Stopler’s teaching of phase scrambling is limited to pilot
tones, Patent Owner’s argument is not persuasive.
      Finally, we are not persuaded by Patent Owner’s argument that only
its interpretation—i.e., adjusting the phase of an entire DMT symbol—
would “simplify implementation,” as Stopler teaches (Ex. 1012, 12:26),

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whereas Petitioner’s interpretation would add complexity. PO Resp. 44
(citing Ex. 2003 ¶ 90). Patent Owner provides no explanation or analysis to
support its conclusory assertions regarding simplicity and complexity, and
the cited portion of Dr. Short’s declaration merely repeats what is written in
the Patent Owner’s Response.
      For the foregoing reasons, we are persuaded that Stopler teaches
“scrambling the phase characteristics of the carrier signals” required by
claim 1.
   No Use of a Known Technique to Improve a Similar Device Rationale
      Patent Owner argues that in making the contention that the
combination of Shively and Stopler is a use of a known technique to
improve a similar device, method or product in the same way, Petitioner
fails to explain what is the known technique, what device/method/product is
similar, and how is the alleged known technique used for improvement in
the same way. PO Resp. 45‒47.
      In the Petition, Petitioner provides sufficient explanation regarding the
reasons to combine Shively and Stopler. Pet. 14‒16. The explanation
provided in the Petition is not conclusory or confusing as Patent Owner
asserts. The known technique is identified as phase scrambling. Pet. 15
(citing Ex. 1009, 29). The similar device is Shively’s modem. Pet. 17. And
the improvement to it is the same as in Stopler—to reduce PAR. Pet. 16
(citing Ex. 1009, 29).
      Shively’s transmitter does not suffer from an increased PAR and there
         is no reason to solve Shively’s non-existent PAR problem

      Patent Owner argues that “Shively does not suffer from an increased
PAR, much less one that would be recognized as a problem. Rather,

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Shively’s disclosed embodiment results in a substantially reduced PAR (and
one that is very far below a level that is problematic).” PO Resp. 47‒49.
Patent Owner also argues that because Shively does not disclose a problem
with PAR, one having ordinary skill in the art would have had no reason to
look for a solution. PO Resp. 50‒51. We are not persuaded by these
arguments.
      Specifically, Patent Owner argues Shively’s system is unlikely to
suffer from clipping,10 based on its analysis of a hypothetical 18,000 foot
wire. PO Resp. 19–29. According to Patent Owner, the power of signals
transmitted in Shively’s proposed system would be “only 40% of maximum”
in the normal mode for ADSL-1995 and “only 49% of maximum” in the
power-boost mode of ADSL-1995. Id. Based on these figures, Patent
Owner concludes that “the clipping probability for both normal and power-
boost modes is virtually zero” because “[w]hile Shively’s ‘spreading’
technique will contribute a small uptick in clipping probability, any increase
would be negated by the enormous reduction in clipping probability
achieved by reducing signal power by more than half.” Id. at 28.
      Petitioner argues that Dr. Short’s analysis is flawed because (1) the
teachings of Shively are not applicable only to 18,000 foot cables; and (2)
Dr. Short “grossly underestimates the likelihood of phase alignment” in
Shively because he wrongly assumes a Gaussian distribution. Pet. Reply
26–31. According to Petitioner, a proper analysis shows that Shively’s



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   Patent Owner explains that, “[w]hen the maximum dynamic range of a
component is exceeded, the signal will become distorted or will ‘clip.’” PO
Resp. 8. This is consistent with how the ’158 patent uses “clipping.” See,
e.g., Ex. 1001, 8:27–35.
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techniques “significantly increases PAR and the likelihood of clipping.”
Pet. Reply 31–35.
      We need not determine the exact probability of clipping in Shively’s
proposed system because, even assuming Patent Owner’s analysis is
accurate, it does not rebut Petitioner’s reason to combine. Petitioner does
not allege that Shively’s proposed system causes clipping, or that a person of
ordinary skill in the art would have been motivated to reduce PAR only if it
caused clipping. Instead, Petitioner alleges that Shively’s proposed system
would have an “increased” or “high” PAR:
             A POSITA would have recognized that by transmitting
      redundant data on multiple carriers, Shively’s transmitter would
      suffer from an increased peak-to-average power ratio. [Ex.
      1009, p. 27.] This increase is due to the fact that the overall
      transmitted signal in a multicarrier system is essentially the sum
      of its multiple subcarriers. Id. When N subcarrier signals with
      the same phase are added together, they have a peak power
      which is N times greater than their individual maximum
      powers. Id.
             Since Shively’s subcarriers use quadrature amplitude
      modulation (QAM) . . . transmitting the same bits on two
      different subcarriers causes those subcarriers to have the same
      phase and amplitude. Id., pp. 27–28. By transmitting the same
      bits on multiple subcarriers, Shively creates a situation where
      those multiple subcarriers will be phase-aligned. Having
      phase-aligned subcarriers causes a high peak-to-average
      power ratio (PAR), since all of the subcarriers add up
      coherently at the same time. Id., p. 28.
Pet. 14–15 (emphases added).
      Patent Owner criticizes Petitioner’s declarant for not providing
“calculations or data that illustrate to what degree there is an ‘increase’ in
PAR with Shively’s transmitter” (PO Resp. 48), but we are not persuaded

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that such calculations and data are necessary. Petitioner’s reason to combine
does not depend on the PAR increase exceeding some specific numeric
threshold. There is no dispute that transmitting the same data on multiple
carriers increases PAR (Pet. Reply 10 (citing PO Resp. 6–7; Ex. 2003 (Short
Decl.) ¶ 22)) or that Shively’s technique, specifically, will increase PAR (PO
Resp. 28 (“Shively’s ‘spreading’ technique will contribute a small uptick in
clipping probability.”). There also is no dispute that equipment designed to
handle a higher PAR can be larger, more expensive, and more power hungry
than equipment designed to handle a lower PAR. Pet. Reply 36 (citing Ex.
2003 ¶ 26; Ex. 1027 45:21–46:19). Patent Owner’s declarant, Dr. Short,
testified that, given such issues, system designers or engineers would be
interested in using techniques that could reduce PAR. Ex. 1027, 46:23–47:3.
This is consistent with the reason to combine given in the Petition and
supports Petitioner’s position that “numerous problems” other than clipping
“would have motivated a [person of ordinary skill in the art] to look for
ways to reduce the PAR of Shively’s technique.” Pet. Reply 36.
      In light of the foregoing, we are persuaded that a person of ordinary
skill in the art would have recognized that Shively’s technique would
increase PAR and would have been motivated to reduce PAR regardless of
whether Shively’s technique resulted in clipping.
         Combination of Shively and Stopler suffers from hindsight
      Patent Owner argues that only the inventor of the ’158 patent
recognized the problem of high PAR due to phase-aligned carriers. PO
Resp. 49‒50. Patent Owner argues that the only cited evidence that high
PAR results from transmitting the same data on multiple carriers is from the
’158 patent and that Petitioner “use[s] the ’158 patent as a roadmap for

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arriving at their theory of obviousness,” resulting in “a textbook case of
impermissible hindsight bias.” Id. We are not persuaded by this argument.
      First, the portions cited in the ’158 patent in the Petition and in Dr.
Tellado’s declaration come from the “BACKGROUND OF THE
INVENTION” section of the patent. That portion of the ’158 patent uses
words such as “conventional” indicating that what is described in the
“BACKGROUND OF THE INVENTION” section is information that was
known at the time of the invention, not just by the inventors, but persons of
ordinary skill in the art. Patent Owner does not contend otherwise.
      In addition, Dr. Tellado testified that a person having ordinary skill in
the art would have recognized that the purpose of Stopler’s phase scrambler
to randomize data symbols would be to reduce PAR of transmitted signals
and that the person would have been familiar with the problems created by a
high PAR, including PAR due to phase-aligned carriers. Ex. 1009 ¶¶ 60, 66.
Moreover, Patent Owner’s own declarant recognized that PAR was a known
problem at the time of the invention. Ex. 2003 ¶ 23 (“Conventional
multicarrier systems, therefore, were designed to accommodate PAR.”). The
ANSI T1.413-1995 standard also confirms that PAR was known at the time
of the invention by describing that “[a] DMT time-domain signal has a high
peak-to-average ratio (its amplitude distribution is almost Gaussian), and
large values may be clipped by the digital-to-analog converter.” Ex. 1018,
36 (Section 6.5 “Tone ordering”). Based on the record evidence, we find
that a person having ordinary skill in the art would have known about the
problem of high PAR due to phase-aligned carriers.




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          Stopler does not reduce PAR in a multicarrier transmitter
       Patent Owner argues that Stopler does not reduce PAR because phase
scrambling is performed from symbol-to-symbol and not from carrier-to-
carrier. PO Resp. 51. The argument is not persuasive for the reasons
provided above.
                  Stopler and Shively could not be combined
       Patent Owner argues that Shively and Stopler are incompatible and
that it would not have been possible to incorporate Shively’s bit-spreading
concept into Stopler. PO Resp. 51. In particular, Patent Owner argues that
Shively’s bit-spreading concept is not compatible with Stopler’s
“diagonalization” technique. PO Resp. 51‒55. This argument is misplaced
as Petitioner did not rely on Stopler’s “diagonalization” technique. Rather,
Petitioner relies on Stopler’s phase scrambler and scrambling technique.
Pet. 15, 22‒23. Moreover, Stopler describes its “diagonalization” technique
as optional. Ex. 1012, 10:17, 13:1‒3. For these reasons, we are not
persuaded by Patent Owner’s argument that it would not be possible to
combine Shively and Stopler.
      No “market forces” in effect to prompt Shively/Stopler combination
       The Petition states that “[m]arket forces would have prompted the
development of multicarrier communications devices, such as Digital
Subscriber Line (DSL) modems, employing both redundant bit transmission
and phase scrambling.” Pet. 16 (citing Ex. 1009, 29). Patent Owner argues
that neither Petitioner nor Dr. Tellado identifies a single product or standard
that employs any of the ideas disclosed in Shively or Stopler. PO Resp. 55‒
57.



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      Patent Owner’s arguments are misplaced. It was not incumbent on
Petitioner or Dr. Tellado to identify a product or standard that employs the
ideas disclosed in Shively or Stopler in order to show that the combination
of Shively and Stopler would have been obvious to a person skilled in the
art. That is not the standard. Rather, a claim is unpatentable under
35 U.S.C. § 103(a) if the differences between the claimed subject matter and
the prior art are such that the subject matter, as a whole, would have been
obvious at the time of the invention to a person having ordinary skill in the
art. KSR, 550 U.S. at 406. Dr. Tellado testified that a person having
ordinary skill in the art would have been familiar with problems caused by a
high PAR, that equipment needed to cope with PAR would have been
expensive and inefficient, and that less capable equipment would have
caused distortion such as from amplitude clipping. Ex. 1009 ¶ 66. He
further testified that combining Shively’s redundant bit transmission with
Stopler’s phase scrambling technique would have allowed for faster DSL
modems without requiring more complex and expensive circuitry for
handling increased PAR. Id. ¶ 69. Patent Owner has not presented
sufficient evidence to undermine Dr. Tellado’s testimony. Indeed, Dr. Short
testified that a way to address high PAR in a communication system would
be to use transceiver components that could handle higher peak transmission
values, which would be expensive and power hungry. Ex. 1027, 45:15‒
46:12. Based on the record before us, we find that at the time of the
invention, a person having ordinary skill in the art would have recognized
that an increase in PAR would have been associated with more expensive
communication equipment. Accordingly, a drive to reduce equipment costs
would have motivated a person having ordinary skill in the art to include

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Stopler’s phase scrambler into Shively’s transmitter to reduce PAR. Pet.
14‒16 (citing Ex. 1009 ¶¶ 66‒70).
      For the foregoing reasons, we are persuaded that Petitioner has
established, by a preponderance of the evidence, that claims 1, 2, 4, 15, 16,
and 18 of the ’158 patent are unpatentable under 35 U.S.C. § 103(a) as
obvious over Shively and Stopler.
      E. Asserted Obviousness over Shively, Stopler, and Gerszberg
      Petitioner contends that claims 3, 5, 14, 17, 19, and 28–30 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler, and
Gerszberg. Pet. 33–41. Relying on the testimony of Dr. Jose Tellado,
Petitioner explains how the combination of Shively, Stopler, and Gerszberg
meets all of the claim limitations. Id. (citing Ex. 1009).
      Gerszberg discloses using a Digital Subscriber Line (DSL) modem,
such as an ADSL modem, to transmit and receive modulated data. Ex. 1013,
11:66‒12:7. The modem uses DMT modulation to transmit data. Id. at
12:7‒9. Gerszberg further describes types of data services that may be
provided to subscriber premises by a DSL modem that uses DMT
modulation, such as high-speed internet access and video services. Id. at
7:44‒60, 8:16‒36, and 10:63‒11:3. Gerszberg also describes that a DSL
modem can be used in various DSL communications, such as HDSL, ADSL,
SDSL, and VDSL. Id. at 9:66‒10:3.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 3, 5, 14, 17, 19, and 28–30. Pet. 33–41. For example,
claim 3 depends from claim 1 and recites “wherein one or more of the first
transceiver and second transceiver are VDSL transceivers.” Claim 17,
which depends from independent claim 15, is similar to claim 3. Petitioner

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relies on Gerszberg’s description that its “DSL modem may be constructed
using any of the techniques described in the applications incorporated by
reference below” such as “High Speed Digital Subscriber Line (HDSL),
Asymmetric Digital Subscriber Line (ADSL), Symmetrical Digital
Subscriber Line (SDSL) and Very high data rate Digital Subscriber Line
(VDSL).” Pet. 37‒38 (citing Ex. 1013, 9:62‒10:3) (emphasis omitted).
Petitioner contends that it would have been obvious to replace Shively’s
ADSL modems with VDSL modems, as taught by Gerszberg, in order to
achieve higher bandwidth. Pet. 38 (citing Ex. 1009, 67). Moreover,
Petitioner provides a rational reason for combining Gerszberg with the
combined teachings of Shively and Stopler. Pet. 34‒37. Patent Owner does
not present arguments for any of those claims separate from the arguments
addressed previously.
      We are persuaded by Petitioner’s showing, which we adopt as our
own findings and conclusions, that claims 3, 5, 14, 17, 19, and 28–30 are
unpatentable as obvious over Shively, Stopler, and Gerszberg.
         F. Asserted Obviousness over Shively, Stopler, and Bremer
      Petitioner contends that claims 6, 9, 10, 12, 20, 23, 24, and 26 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler, and
Bremer. Pet. 41–50. Relying on the testimony of Dr. Jose Tellado,
Petitioner explains how the combination of Shively, Stopler, and Bremer
allegedly meets all of the claim limitations. Id. (citing Ex. 1009).
      Bremer relates to encoding and decoding techniques for a data signal
that is transmitted over a communications channel. Ex. 1017, 1:41‒67.
Bremer describes using a pseudorandom generator to encode the gain or
phase of a signal prior to transmission, and on the receiving end, uses a

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second pseudorandom generator to decode the encoded data signal. Id. at
1:53‒64.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 6, 9, 10, 12, 20, 23, 24, and 26. Pet. 41–50. For
example, claim 6 depends from claim 1 and recites “independently deriving
the values associated with each carrier using a second pseudo-random
number generator in the second transceiver.” Claim 20, which depends from
independent claim 15, is similar to claim 6. Petitioner contends that Bremer
teaches that when a transmitting device includes components causing a
pseudorandom phase shift to the transmitted signal, a receiving device
requires complementary components to decode the signal. Pet. 45 (citing
Ex. 1017, 1:60–65, 4:33–34). Petitioner further contends that Bremer
describes altering gain and phase modifiers of a data signal being transmitted
from a QAM modem based on values from a pseudorandom signal
generator, which generates a pseudorandom number. Pet. 45 (citing Ex.
1017, Abstract, 2:32; Ex. 1009, 77). Petitioner further contends that the
values produced by a second pseudorandom number generator are
independent of the values produced by a first pseudorandom number
generator. Pet. 46 (citing Ex. 1017, 4:10–16, 4:35–36; Ex. 1009, 80).
Petitioner provides rational reasoning for combining Bremer with the
combined teachings of Shively and Stopler. Pet. 42‒44.
      Notwithstanding Patent Owner’s arguments, which we address
immediately below, we are persuaded by Petitioner’s showing, which we
adopt as our own findings and conclusions, that claims 6, 9, 10, 12, 20, 23,
24, and 26 are unpatentable as obvious over Shively, Stopler, and Bremer.



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                         Patent Owner’s Contentions
      Patent Owner argues that Petitioner fails to allege a legally sufficient
rationale for combining Bremer’s single-carrier privacy modem system, and
for modifying it such that it would have been compatible with
Shively/Stopler’s multicarrier systems. PO Resp. 59‒60. We are not
persuaded by this argument.
      As explained above, Petitioner relies on Bremer for its teaching of a
second pseudo-random number generator to meet the limitations of claims 6
and 20. Patent Owner quotes the reasons provided in the Petition at pages
46‒47 for combining Bremer with the Shively/Stopler combination and
argues that Petitioner’s allegations present more questions than answers. Id.
at 60. Patent Owner argues that Dr. Tellado provides no additional
guidance. Id. (citing Ex. 1009, 81). We disagree with Patent Owner that
Petitioner failed to provide a sufficient rationale and reasoning for
modifying the combined teachings of Shively and Stopler with Bremer.
      Patent Owner’s focus on one passage from the Petition and one
passage from Dr. Tellado’s testimony overlooks other supported contentions
made by Petitioner. In particular, the Petition explains that a person having
ordinary skill in the art would have understood that the transceivers and
receivers described in both Stopler and Shively would have been a matched
pair and that the techniques used by a transmitter to encode data for
transmission would have been paralleled by techniques used by a receiver to
decode data. Pet. 42‒43 (citing Ex. 1009, 74; Ex. 1017, 1:60‒63). The
Petition further explains that a person having ordinary skill in the art would
have understood that a receiver must be able to reverse the phase
modification applied by a transmitter. Pet. 43 (citing Ex. 1009, 75; Ex.

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1017, 1:34‒36). Petitioner explains that the combination of Shively, Stopler,
and Bremer would have been obvious to a person of ordinary skill in the art
because it is the application of a known technique (designing a receiver to
match a transmitter) to improve a similar system in the same way (allowing
data to be received). Pet. 44 (citing Ex. 1009, 76). Moreover, Dr. Tellado
testified that “[a]lthough Bremer describes a single-carrier QAM
communication system, it would have been obvious to a POSITA that
Bremer’s teaching of a complementary pseudo-random number generator,
and performing complementary changes of the received signal, could be
applied on a carrier-by-carrier basis to the multicarrier system of Stopler.”
Ex. 1009, 81. We agree with Petitioner’s reasoning and rationale provided,
and determine it would have been obvious to include Bremer’s second
pseudo-random number generator in the combined Shively/Stopler system
receiver in order to decode and receive the phase scrambled data transmitted
by the system transceiver. Ex. 1009, 73‒76, 81.
   G. Asserted Obviousness over Shively, Stopler, Bremer, and Gerszberg
      Petitioner contends that claims 8, 11, 13, 22, 25, and 27 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler,
Bremer, and Gerszberg. Pet. 50–53. Relying on the testimony of Dr. Jose
Tellado, Petitioner explains how the combination of Shively, Stopler,
Bremer, and Gerszberg allegedly meets all of the claim limitations. Id.
(citing Ex. 1009).
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 8, 11, 13, 22, 25, and 27. Pet. 50–53. For example,
claim 11 depends from claim 6, and recites “wherein the first and second
transceivers are VDSL transceivers.” Claim 25, which depends from claim

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20, is similar to claim 11. Petitioner relies on Gerszberg’s description that
its “DSL modem may be constructed using any of the techniques described
in the applications incorporated by reference below” such as “High Speed
Digital Subscriber Line (HDSL), Asymmetric Digital Subscriber Line
(ADSL), Symmetrical Digital Subscriber Line (SDSL) and Very high data
rate Digital Subscriber Line (VDSL).” Pet. 37‒38 (emphasis omitted)
(citing Ex. 1013, 9:62‒10:3). Petitioner contends that it would have been
obvious to replace Shively’s ADSL modems with VDSL modems, as taught
by Gerszberg, in order to achieve higher bandwidth. Pet. 38, 52 (citing Ex.
1009, 67, 89). Moreover, Petitioner provides a rational reason for
combining Gerszberg with the combined teachings of Shively and Stopler.
Pet. 50‒51. Patent Owner does not present arguments for any of those
claims separate from the arguments addressed previously.
      We are persuaded by Petitioner’s showing, which we adopt as our
own findings and conclusions, that claims 8, 11, 13, 22, 25, and 27 are
unpatentable as obvious over Shively, Stopler, Bremer, and Gerszberg.
   H. Asserted Obviousness over Shively, Stopler, Bremer, and Flammer
       Petitioner contends that claims 7 and 21 are unpatentable under 35
U.S.C. § 103(a) as obvious over Shively, Stopler, Bremer, and Flammer.
Pet. 53–60. Relying on the testimony of Dr. Jose Tellado, Petitioner
explains how the combination of Shively, Stopler, Bremer, and Flammer
allegedly meets all of the claim limitations. Id. (citing Ex. 1009).
      Flammer relates to data transmission between a source node and a
target node, where each node has a transmitter and a receiver. Ex. 1019,
Abstract. Flammer uses pseudo-random number generators in its
communication system. Flammer describes synchronization between

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pseudo-random number generators at different ends of a communication
channel. Id. at 3:49–4:10. As part of the synchronization, an acquisition/
synchronization packet is transmitted that includes a seed value from the
source node to the target node. Id. at 3:52–58. The transmitted seed value is
used to initialize the pseudo-random number generators executing at the
respective source and target nodes. Id. at 3:52–4:9. Once the pseudo-
random number generators at both the source node and the target node have
the same seed value, they can generate identical pseudo-random number
sequences for selecting frequency bands. Id. at 4:42–53.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 7 and 21. Pet. 50–53. Claim 7 depends from claim 6
and recites “using in the first and second transceivers a same seed for the
first and second pseudo-random number generators and the value of the seed
is transmitted from the first transceiver to the second transceiver.” Claim
21, which depends from claim 20, is similar to claim 7. Petitioner contends
that Flammer teaches a transceiver as a node having a transmitter and a
receiver. Pet. 57 (citing Ex. 1019, Abstract). Petitioner further contends that
in Flammer, the source node is the first transceiver and the target node is the
second transceiver. Ex. 1009, 92. Petitioner argues that Flammer teaches
that it was known for the pseudo-random number generators in the source
node and the target node to use the same seed value. Pet. 57 (citing Ex.
1019, 3:52–67; Ex. 1009, 92–93). Petitioner further explains, with
supporting evidence, that Flammer teaches transmitting a value of a seed
from a source node (a first transceiver) to a target node (a second
transceiver) when the target node receives an acquisition/synchronization
packet which contains information about the node, including a seed value.

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Moreover, Petitioner provides a rational reason for combining Flammer with
the combined teachings of Shively, Stopler, and Bremer. Pet. 54‒57. Patent
Owner does not present arguments for either of claims 7 and 21 separate
from the arguments addressed previously.
      We are persuaded by Petitioner’s showing, which we adopt as our
own findings and conclusions, that claims 7 and 21 are unpatentable as
obvious over Shively, Stopler, Bremer, and Flammer.
                     I. Patent Owner’s Motion to Exclude
      Patent Owner moves to exclude Exhibits 1022–1025, 1028, and
portions of 1026 and 2013. PO Mot. Exc. Exhibit 1022 is styled “Robert T.
Short, ‘Physical Layer,’ in WIMEDIA UWB (2008).” Pet. Reply 5. Patent
Owner argues that we should exclude Exhibit 1022 as irrelevant. PO Mot.
Exc. 2–4. Exhibit 1022 was not cited or discussed in any way in Petitioner’s
Reply. Moreover, we did not rely on Exhibits 1022 in rendering our
decision. We did not and need not consider Exhibit 1022. We have
determined that Petitioner has demonstrated, by a preponderance of the
evidence, that the challenged claims are unpatentable, without considering
the specific objected to evidence.
      Exhibit 1023 is styled “Denis J. G. Mestdagh and Paul M. P. Spruyt,
‘A Method to Reduce the Probability of Clipping in DMT-Based
Transceivers,” IEEE Transactions on Communications, Vol. 44, No. 10,
(October 1996).” Pet. Reply 5. Exhibit 1024 is styled “Stefan H. Muller
and Johannes B. Huber, ‘A Comparison of Peak Power Reduction Schemes
for OFDM,’ IEEE Global Telecommunications Conference (1997).” Id.
Exhibit 1028 is styled “T. Starr, J. M. Cioffi, P. J. Silverman,
UNDERSTANDING DIGITAL SUBSCRIBER LINE TECHNOLOGY (1999) (selected

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pages).” Id. Exhibit 2013 is a copy of the cross examination transcript of
Dr. Tellado.
      Patent Owner argues that we should exclude Exhibits 1023, 1024, and
1028 in their entirety as irrelevant. PO Mot. Exc. 9–12. Patent Owner also
argues that we should exclude certain portions of Exhibit 2013 allegedly
discussing Exhibits 1023, 124, or 1028. Id. Although Exhibits 1023, 1024,
and 1028 are mentioned briefly in Petitioner’s Reply, we did not rely on
Exhibits 1023, 1024, 1028, or the objected to portions of Exhibit 2013 in
rendering our decision. We did not and need not consider Exhibits 1023,
1024, 1028, or the objected to portions of Exhibit 2013. We have
determined that Petitioner has demonstrated, by a preponderance of the
evidence, that the challenged claims are unpatentable, without considering
the specific objected to evidence.
      Exhibit 1025 is a copy of Dr. Tellado’s thesis. Pet. Reply 5. Patent
Owner argues that we should exclude Exhibit 1025 as irrelevant. PO Mot.
Exc. 4–6. Exhibit 1025 was not cited or discussed in any way in Petitioner’s
Reply. Moreover, we did not rely on Exhibits 1025 in rendering our
decision. We did not and need not consider Exhibit 1025. We have
determined that Petitioner has demonstrated, by a preponderance of the
evidence, that the challenged claims are unpatentable, without considering
the specific objected to evidence.
      Lastly, Patent Owner seeks to exclude paragraphs 16 (last two
sentences), 29, 42, 43 (first sentence), and 52 of Exhibit 1026 (Second
Tellado Declaration), and certain portions of Dr. Tellado’s cross
examination transcript (Exhibit 2013). PO Mot. Exc. 6–9. We did not rely
on the objected to portions of Exhibits 1026 or 2013 in rendering our

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decision. We did not and need not consider the objected to portions of
Exhibits 1026 or 2013. We have determined that Petitioner has
demonstrated, by a preponderance of the evidence, that the challenged
claims are unpatentable, without considering the specific objected to
evidence.
      For all of the above reasons, we dismiss Patent Owner’s Motion to
Exclude.
                         J. Motion for Observations
      Patent Owner also filed a Motion for Observations (Paper 30, “PO
Mot. Obs.”), to which Petitioner filed a Response (Paper 37, “Pet. Resp.”).
To the extent Patent Owner’s Motion for Observations pertains to testimony
purportedly impacting Dr. Tellado’s credibility, we have considered Patent
Owner’s observations and Petitioner’s responses in rendering this Final
Written Decision, and accorded Dr. Tellado’s testimony appropriate weight
in view of Patent Owner’s observations and Petitioner’s response to those
observations. See Obs. 1–13; Obs. Resp. 2–11.


                              III. CONCLUSION
      Based on the evidence and arguments, Petitioner has demonstrated by
a preponderance of the evidence that claims 1, 2, 4, 15, 16, and 18 are
unpatentable over Shively and Stopler; claims 3, 5, 14, 17, 19, and 28–30 are
unpatentable over Shively, Stopler, and Gerszberg; claims 6, 9, 10, 12, 20,
23, 24, and 26 are unpatentable over Shively, Stopler, and Bremer; claims 8,
11, 13, 22, 25, and 27 are unpatentable over Shively, Stopler, Bremer, and
Gerszberg; and claims 7 and 21 are unpatentable over Shively, Stopler,
Bremer, and Flammer.

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                                 IV. ORDER
      Accordingly, it is:
      ORDERED that claims 1–30 of the ’158 patent have been shown to be
unpatentable;
      FURTHER ORDERED that Patent Owner’s Motion to Exclude is
dismissed; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.

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               UNITED STATES COURT OF APPEALS
                  FOR THE FEDERAL CIRCUIT



TQ Delta, LLC
Patent Owner/Appellant
                                                     Appeal No. 18-1766
v.                                                              18-1767
Cisco Systems, Inc., Dish Network, LLC,
Comcast Cable Communications, LLC,
Cox Communications, Inc.,
Time Warner Cable Enterprises LLC,
Verizon Services Corp., and Arris Group,
Inc. Petitioner/Appellee
Proceeding Nos: IPR2016-01020 and IPR2016-01021



              NOTICE FORWARDING CERTIFIED LIST

      A Notice of Appeal to the United States Court of Appeals for the

Federal Circuit was timely filed on April 2, 2018, in the United States Patent

and Trademark Office in connection with the above identified Inter Partes

Review (IPR) proceeding. Pursuant to 35 U.S.C. § 143, a Certified List is

this day being forwarded to the Federal Circuit.




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       Case: 18-1766    Document: 29     Page: 2     Filed: 05/14/2018



May 14, 2018                 Respectfully submitted,
                             Under Secretary of Commerce for Intellectual
                             Property and Director of the
                             United States Patent and Trademark Office




                       By:
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                      CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the

foregoing has been served on Appellant and Appellee this 14th day of May,

2018, as follows:



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                   U.S. DEPARTMENT OF COMMERCE
                  United States Patent and Trademark Office

                                                        May 14, 2018

THIS IS TO CERTIFY that the attached document is a list of the papers that
comprise the record before the Patent Trial and Appeal Board (PTAB) for the Inter
Partes Review proceeding identified below:

            CISCO SYSTEMS, INC., DISH NETWORK, LLC,
            COMCAST CABLE COMMUNICATIONS, LLC,
                  COX COMMUNICATIONS, INC.,
             TIME WARNER CABLE ENTERPRISES LLC,
         VERIZON SERVICES CORP., AND ARRIS GROUP, INC.,
                            Petitioner,

                                       v.

                               TQ DELTA, LLC,
                                Patent Owner.

                             Case: IPR2016-01020
                                   IPR2016-01021
                              Patent 9,014,243 B2
                              Patent 8,718,158 B2

                               By authority of the
                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE



                                                 Certifying Officer




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                   Prosecution History for IPR2016-01020


Filing Date   Document
05/09/2016    Petition for Inter Partes Review
05/09/2016    Petitioner Power of Attorney
05/12/2016    Notice of Filing Date Accorded to Petition
05/27/2016    Patent Owner Power of Attorney
05/27/2016    Patent Owner Mandatory Notices
08/12/2016    Patent Owner Preliminary Response
11/04/2016    Scheduling Order
11/04/2016    Decision - Institution of Inter Partes Review
01/09/2017    Joint Stipulation to Move Due Dates
01/25/2017    Petitioner Mandatory Notices
01/25/2017    Patent Owner Notice of Deposition of Tellado
02/24/2017    Patent Owner Response
02/24/2017    Patent Owner Exhibit List
              Decision - Institution of Inter Partes Review and Motion for
02/27/2017
              Joinder (IPR2017-00254)
              Decision - Institution of Inter Partes Review and Motion for
04/03/2017
              Joinder (IPR2017-00418)
04/18/2017    Petitioner Notice of Deposition of Dr. Short
06/08/2017    Petitioner Reply
06/13/2017    Patent Owner Second Notice of Deposition of Dr. Tellado
06/14/2017    Petitioner Mandatory Notices
06/15/2017    Patent Owner Objections to Evidence
06/22/2017    Order - Conduct of the Proceeding
              Patent Owner Listing of Improper Reply/New Argument
06/27/2017
              Evidence
06/27/2017    Patent Owner Exhibit List
06/28/2017    Petitioner Exhibit List
06/30/2017    Petitioner Request for Oral Hearing
06/30/2017    Patent Owner Request for Oral Argument
              Patent Owner Motion for Observation Regarding Cross-
06/30/2017
              Examination of Dr. Tellado

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Filing Date   Document
06/30/2017    Patent Owner Motion to Exclude
07/03/2017    Petitioner Itemized Listing Pursuant to Paper 21
07/07/2017    Order - Authorization to File Motion
07/14/2017    Patent Owner Motion for Discovery
07/14/2017    Patent Owner Exhibit List
07/14/2017    Petitioner Opposition to Patent Owner Motion to Exclude
              Petitioner Response to Patent Owner Motion for Observation on
07/14/2017
              Cross-Examination
07/20/2017    Trial Hearing Order
07/21/2017    Petitioner Opposition to Patent Owner Motion for Discovery
07/21/2017    Patent Owner Reply in Support of Motion to Exclude
08/01/2017    Patent Owner Objections to Petitioners Demonstratives
08/21/2017    Oral Hearing Transcript
10/26/2017    Decision - Motion for Additional Discovery
10/26/2017    Final Written Decision
11/27/2017    Patent Owner Request for Rehearing
02/01/2018    Decision - Request for Rehearing
              Patent Owner Notice of Appeal to the U.S. Court of Appeals for
04/02/2018
              the Federal Circuit
04/20/2018    Petitioner Mandatory Notices




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                   Prosecution History for IPR2016-01021


Filing Date   Document
05/09/2016    Petition for Inter Partes Review
05/09/2016    Petitioner Power of Attorney
05/12/2016    Notice of Filing Date Accorded to Petition
05/27/2016    Patent Owner Power of Attorney
05/27/2016    Patent Owner Mandatory Notices
08/12/2016    Patent Owner Preliminary Response
11/04/2016    Decision - Institution of Inter Partes Review
11/04/2016    Scheduling Order
01/09/2017    Joint Stipulation to Move Due Dates
01/25/2017    Petitioner Mandatory Notices
01/25/2017    Patent Owner Notice of Deposition of Dr. Tellado
01/25/2017    Patent Owner Corrected Notice of Deposition of Dr. Tellado
              Decision - Institution of Inter Partes Review and Motion for
02/14/2017
              Joinder (IPR2017-00255)
02/20/2017    Petitioner Mandatory Notice
02/24/2017    Patent Owner Response
02/24/2017    Patent Owner Exhibit List
02/27/2017    Patent Owner Corrected Exhibit List
              Decision - Institution of Inter Partes Review and Motion for
04/03/2017
              Joinder (IPR2017-00417)
04/18/2017    Petitioner Notice of Deposition of Dr. Short
06/08/2017    Petitioner Reply
06/13/2017    Patent Owner Second Notice of Deposition of Dr. Tellado
06/14/2017    Petitioner Mandatory Notices
06/15/2017    Patent Owner Objections to Evidence
06/22/2017    Order - Conduct of the Proceeding
              Patent Owner Listing of Improper Reply/New Argument and
06/27/2017
              Evidence
06/27/2017    Patent Owner Exhibit List
06/28/2017    Petitioner Exhibit List
06/30/2017    Petitioner Request for Oral Hearing

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Filing Date   Document
06/30/2017    Patent Owner Request for Oral Argument
              Patent Owner Motion for Observation Regarding Cross-
06/30/2017
              Examination of Dr. Tellado
06/30/2017    Patent Owner Motion to Exclude
07/03/2017    Petitioner Itemized Listing Pursuant to Paper 24
07/07/2017    Order - Authorization to File Motion
07/14/2017    Patent Owner Motion for Discovery
07/14/2017    Patent Owner Exhibit List
07/14/2017    Petitioner Opposition to Patent Owner Motion to Exclude
              Petitioner Response to Patent Owner Motion for Observation on
07/14/2017
              Cross-Examination
07/20/2017    Trial Hearing Order
07/21/2017    Petitioner Opposition to Patent Owner Motion for Discovery
07/21/2017    Patent Owner Reply in Support of Motion to Exclude
08/01/2017    Patent Owner Objections to Petitioners Demonstratives
08/21/2017    Oral Hearing Transcript
10/26/2017    Decision - Motion for Additional Discovery
10/26/2017    Final Written Decision
11/27/2017    Patent Owner Request for Rehearing
02/01/2018    Decision - Rehearing Request
              Patent Owner Notice of Appeal to U.S. Court of Appeals for the
04/02/2018
              Federal Circuit
04/20/2018    Petitioner Mandatory Notices




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                                  Appx92
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(12)   United States Patent                                                                               (10) Patent No.:                                  US 8,718,158 B2
       Tzannes                                                                                            (45) Date of Patent:                                      May 6, 2014

(54)   SYSTEM AND METHOD FOR SCRAMBLING                                                              (56)                            References Cited
       THE PHASE OF THE CARRIERS IN A
       MULTICARRIER COMMUNICATIONS                                                                                          U.S. PATENT DOCUMENTS
       SYSTEM
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                                                                                                             3,955,141 A               5/1976 Lyon et al.
(75)   Inventor:    Marcos C. Tzannes, Orinda, CA (US)
                                                                                                                                          (Continued)
(73)   Assignee: TQ Delta, LLC, Austin, TX (US)
                                                                                                                       FOREIGN PATENT DOCUMENTS
( *)   Notice:      Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35                                          EP                      0584534                      3/1994
                    U.S.c. 154(b) by 9 days.
                                                                                                     EP                      0719004                      6/1996
                                                                                                                                          (Continued)
(21)   Appl. No.: 13/303,417
                                                                                                                             OTHER PUBLICATIONS
(22)   Filed:       Nov. 23, 2011
                                                                                                     Invitation to Pay Additional Fees for International (PCT) Patent
(65)                   Prior Publication Data                                                        Application No. PCTIUSOO/30958, mailed Mar. 23, 2001.
       US 2012/0069878 Al            Mar. 22, 2012                                                                                        (Continued)
                 Related U.S. Application Data
(63)   Continuation of application No. 121783,725, filed on                                          Primary Examiner - Phuong Phu
       May 20, 2010, now Pat. No. 8,090,008, which is a                                              (74) Attorney, Agent, or Firm - Jason H. Vick; Sheridan
       continuation of application No. 12/255,713, filed on                                          Ross, PC
       Oct. 22, 2008, now Pat. No. 7,769,104, which is a
       continuation of application No. 111863,581, filed on
       Sep. 28, 2007, now Pat. No. 7,471,721, which is a                                             (57)                                 ABSTRACT
       continuation of application No. 111211,535, filed on
       Aug. 26, 2005, now Pat. No. 7,292,627, which is a                                             A system and method that scrambles the phase characteristic
       continuation of application No. 091710,310, filed on                                          of a carrier signal are described. The scrambling of the phase
       Nov. 9,2000, now Pat. No. 6,961,369.                                                          characteristic of each carrier signal includes associating a
(60)   Provisional application No. 601164,134, filed on Nov.                                         value with each carrier signal and computing a phase shift for
       9,1999.                                                                                       each carrier signal based on the value associated with that
                                                                                                     carrier signal. The value is detennined independently of any
(51)   Int. Cl.                                                                                      input bit value carried by that carrier signal. The phase shift
       H04K 1110                (2006.01)                                                            computed for each carrier signal is combined with the phase
       H04L27128                (2006.01)                                                            characteristic of that carrier signal so as to substantially
(52)   U.S. Cl.                                                                                      scramble the phase characteristic of the carrier signals. Bits of
       USPC ........... 3751260; 375/222; 375/219; 375/220;                                          an input signal are modulated onto the carrier signals having
              375/295; 375/316; 370/203; 370/527; 370/208                                            the substantially scrambled phase characteristic to produce a
(58)   Field of Classification Search                                                                transmission signal with a reduced PAR.
       USPC ......... 375/222,219,220,295,316,259,260;
                                           370/203, 527, 208
       See application file for complete search history.                                                                    30 Claims, 2 Drawing Sheets


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                                               74    '\                    44
                                                                                            66                                                      $I'
                                    I------/I~ ___ ,\J\\      QAM          58
                             -   i_~~~~~~'~!J-+             Encoder        58.....    Phase      I



                                                                                     Scrambler
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                                                                           58
                                                                           58__
                                                                                                             38
                                                                                                            Iv'   f\                                      66'
                                                                                                                                  Receiver

                                                                                                                                                r
                                                                         -78 __      Modulator

                                                                                        ~
                                                                                                      \\'-t~o                I     Phase
                                                                                                                                 Descrambler



                                          2~                        26                                                                               30


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                                                              Receiver                                                            Transmitter   r0 ./
                                                                                                                                   Remote
                                                                                                                                 Transceiver
                                                                                                                                     11
                                                           Transceiver 1Q




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2012.                                                                 * cited by examiner




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                                                             Appx94
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Appx95
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                                                                                                                                                              Remote
                                                                                                                                                                                                         Page: 102




                                                                                                                                                            Transceiver
                                                                                                                                                                14
                                                                 Transceiver 1.Q                                                     18
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                                                                                                                   FIG. 1                                                                        00

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    STEP 100               GENERATE VALUE(S)




    STEP 110-f---COM-MUNICATEVALUE(S)---:
              :      TO SYNCHRONIZE     I
              ~------------ -----------~


    STEP 115             COMPUTE PHASE SHIFT




                     COMBINE PHASE SHIFT WITH
    STEP 120          PHASE CHARACTERISTIC
                                                                                                   -----,



                  COMBINE CARRIER SIGNALS INTO
    STEP 130
                     A TRANSMISSION SIGNAL


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                    """""" DETECT CLIPPING ............... YES I              TRANSMIT   I
       STEP 140-<..... OF TRANSMISSION ",,/--~ PREDEFINED :
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    STEP 160      TRANSMIT TRANSMISSION SIGNAL


                                          FIG. 2




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    SYSTEM AND METHOD FOR SCRAMBLING                                 transmission signal is the ratio of the instantaneous peak
       THE PHASE OF THE CARRIERS IN A                                value (i.e., maximum magnitude) of a signal parameter (e.g.,
      MULTICARRIER COMMUNICATIONS                                    voltage, current, phase, frequency, power) to the time-aver-
                  SYSTEM                                             aged value of the signal parameter. In DMT systems, the PAR
                                                                   5 of the transmitted signal is determined by the probability of
                    RELATED APPLICATION                              the random transmission signal reaching a certain peak volt-
                                                                     age during the time interval required for a certain number of
   This application is a Continuation of U.S. patent applica-        symbols. An example of the PAR of a transmission signal
tion Ser. No. 121783,725, filed May 20,2010, now U.S. Pat.           transmitted from a DMT transmitter is 14.5 dB, which is
No. 8,090,008, which is a Continuation of U.S. patent appli- 10 equivalent to having a lE-7 probability of clipping. The PAR
cationSer.
cation   Ser. No. 12/255,713, filed Oct. 22, 2008, now U.S. Pat.     of a transmission signal transmitted and received in a DMT
No. 7,769,104, which is a Continuation of U.S U.S.. patent appli-    communication system is an important consideration in the
cation Ser. No. 111863,581, filed Sep. 28, 2007, now U.S. Pat.       design of the DMT communication system because the PAR
No. 7,471,721, which is a Continuation of U.S. application           of a signal affects the communication system's total power
Ser. No. 11/211,535, filed Aug. 26, 2005, now U.S. Pat. No. 15 consumption and component linearity requirements of the
7,292,627, which is a Continuation of U.S . patent application       system.
Ser. No. 091710,310, filed Nov. 9, 2000, now U.S. Pat. No.              If the phase of the modulated carriers is not random, then
6,961,369, which claims the benefit of the filing date of            the PAR can increase greatly. Examples of cases where the
copending U.S. Provisional Application Ser. No. 601164,134,          phases of the modulated carrier signals are not random are
filed Nov. 9, 1999, entitled "A Method For Randomizing The 20 when bit scramblers are not used, multiple carrier signals are
Phase Of The Carriers In A Multicarrier Communications               used to modulate the same input data bits, and the constella-
System To Reduce The Peak To Average Power Ratio Of The              tion maps, which are mappings of input data bits to the phase
Transmitted Signal," each of which are incorporated herein           of a carrier signal, used for modulation are not random
by reference in their entirety.                                      enough (i.e., a zero value for a data bit corresponds to a 90
                                                                  25 degree phase characteristic of the DMT carrier signal and a
                  FIELD OF THE INVENTION                             one value for a data bit corresponds to a -90 degree phase
                                                                     characteristic of the DMT carrier signal). An increased PAR
   This invention relates to communications systems using            can result in a system with high power consumption and/or
multicarrier modulation. More particularly, the invention            with high probability of clipping the transmission signal.
relates to multicarrier communications systems that lower the 30 Thus, there remains a need for a system and method that can
peak-to-average power ratio (PAR) of transmitted signals.            effectively scramble the phase of the modulated carrier sig-
                                                                     nals in order to provide a low PAR for the transmission signal.
            BACKGROUND OF THE INVENTION
                                                                                  SUMMARY OF THE INVENTION
   In a conventional multicarrier communications system, 35
transmitters communicate over a communication channel                   The present invention features a system and method that
using multicarrier modulation or Discrete Multitone Modu-            scrambles the phase characteristics of the modulated carrier
lation (DMT). Carrier signals (carriers) or sub-charmels             signals in a transmission signal. In one aspect, a value is
spaced within a usable frequency band of the communication           associated with each carrier signal. A phase shift is computed
channel are modulated at a symbol (i.e., block) transmission 40 for each carrier signal based on the value associated with that
rate of the system. An input signal, which includes input data       carrier signal. The value is determined independently of any
bits, is sent to a DMT transmitter, such as a DMT modem. The         input bit value carried by that carrier signal. The phase shift
DMT transmitter typically modulates the phase characteris-           computed for each carrier signal is combined with the phase
tic, or phase, and amplitude of the carrier signals using an         characteristic of that carrier signal to substantially scramble
Inverse Fast Fourier Transform (IFFT) to generate a time 45 the phase characteristics of the carrier signals.
domain signal, or transmission signal, that represents the              In one embodiment, the input bit stream is modulated onto
input signal. The DMT transmitter transmits the transmission         the carrier signals having the substantially scrambled phase
signal, which is a linear combination of the multiple carriers,      characteristic to produce a transmission signal with a reduced
to a DMT receiver over the communication charmel.                    peak-to-average power ratio (PAR). The value is derived from
   The phase and amplitude of the carrier signals of DMT 50 a predetermined parameter, such as a random number gen-
transmission signal can be considered random because the             erator, a carrier number, a DMT symbol count, a superframe
phase and amplitude result from the modulation of an arbi-           count, and a hyperframe count. In another embodiment, a
trary sequence of input data bits comprising the transmitted         predetermined transmission signal is transmitted when the
information. Therefore, under the condition that the modu-           amplitude of the transmission signal exceeds a certain level.
lated data bit stream is random, the DMT transmission signal 55         In another aspect, the invention features a method wherein
can be approximated as having a Gaussian probability distri-         a value is associated with each carrier signal. The value is
bution. A bit scrambler is often used in the DMT transmitter         determined independently of any input bit value carried by
to scramble the input data bits before the bits are modulated to     that carrier signal. A phase shift for each carrier signal is
assure that the transmitted data bits are random and, conse-         computed based on the value associated with that carrier
quently, that the modulation of those bits produces a DMT 60 signal. The transmission signal is demodulated using the
transmission signal with a Gaussian probability distribution.        phase shift computed for each carrier signal.
   With an appropriate allocation of transmit power levels to           In another aspect, the invention features a system compris-
the carriers or sub-charmels, such a system provides a desir-        ing a phase scrambler that computes a phase shift for each
able performance. Further, generating a transmission signal          carrier signal based on a value associated with that carrier
with a Gaussian probability distribution is important in order 65 signal. The phase scrambler also combines the phase shift
to transmit a transmission signal with a low peak-to-average         computed for each carrier signal with the phase characteristic
ratio (PAR), or peak-to-average power ratio. The PAR of a            of that carrier signal to substantially scramble the phase char-




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                              3                                                                     4
acteristic of the carrier signals. In one embodiment, a modu-       from the bit stream 54. In general, the QAM encoder 42 maps
lator, in communication with the phase scrambler, modulates         the input serial bit-stream 54 in the time domain into parallel
bits of an input signal onto the carrier signals having the         QAM symbols 58 in the frequency domain. In particular, the
substantially scrambled phase characteristics to produce a          QAM encoder 42 maps the input serial data bit stream 54 into
transmission signal with a reduced PAR.                           5 N parallel quadrature amplitude modulation (QAM) constel-
                                                                    lation points 58, or QAM symbols 58, where N represents the
           DESCRIPTION OF THE DRAWINGS                              number of carrier signals generated by the modulator 46. The
                                                                    BAT 44 is in communication with the QAM encoder 42 to
   The invention is pointed out with particularity in the           specifY the number of bits carried by each carrier signal. The
appended claims. The advantages of the invention described 10 QAM symbols 58 represent the amplitude and the phase
above, as well as further advantages of the invention, may be       characteristic of each carrier signal.
better understood by reference to the following description            The modulator 46 provides functionality associated with
taken in conjunction with the accompanying drawings, in             the DMT modulation and transforms the QAM symbols 58
which:                                                              into DMT symbols 70 each comprised of a plurality of time-
   FIG. 1 is a block diagram of an embodiment of a digital 15 domain samples. The modulator 46 modulates each carrier
subscriber line communications system including a DMT               signal with a different QAM symbol 58. As a result of this
(discrete multitone modulation) transceiver, in communica-          modulation, carrier signals have phase and amplitude char-
tion with a remote transceiver, having a phase scrambler for        acteristics based on the QAM symbol 58 and therefore based
substantially scrambling the phase characteristics of carrier       on the input-bit stream 54. In particular, the modulator 46
signals; and                                                     20 uses an inverse fast Fourier transform (IFFT) to change the
   FIG. 2 is a flow diagram of an embodiment of a process for       QAM symbols 58 into a transmission signal 38 comprised of
scrambling the phase characteristics of the carrier signals in a    a sequence of DMT symbols 70. The modulator 46 changes
transmission signal.                                                the QAM symbols 58 into DMT symbols 70 through modu-
                                                                    lation of the carrier signals. In another embodiment, the
                  DETAILED DESCRIPTION                           25 modulator 46 uses the inverse discrete Fourier transform
                                                                    (IDFT) to change the QAM symbols 58 into DMT symbols
   FIG. 1 shows a digital subscriber line (DSL) communica-          70. In one embodiment, a pilot tone is included in the trans-
tion system 2 including a discrete multitone (DMT) trans-           mission signal 38 to provide a reference signal for coherent
ceiver 10 in communication with a remote transceiver 14 over        demodulation of the carrier signals in the remote receiver 34
a communication chaunel18 using a transmission signal 38 30 during reception of the transmission signal 38.
having a plurality of carrier signals. The DMT transceiver 10          The modulator 46 also includes a phase scrambler 66 that
includes a DMT transmitter 22 and a DMT receiver 26. The            combines a phase shift computed for each QAM-modulated
remote transceiver 14 includes a transmitter 30 and a receiver      carrier signal with the phase characteristic of that carrier
34. Although described with respect to discrete multitone           signal. Combining phase shifts with phase characteristics, in
modulation, the principles of the invention apply also to other 35 accordance with the principles of the invention, substantially
types of multi carrier modulation, such as, but not limited to,     scrambles the phase characteristics of the carrier signals in
orthogonally multiplexed quadrature amplitude modulation            the transmission signal 38. By scrambling the phase charac-
(OQAM), discrete wavelet multitone (DWMT) modulation,               teristics of the carrier signals, the resulting transmission sig-
and orthogonal frequency division multiplexing (OFDM).              nal 38 has a substantially minimized peak-to-average (PAR)
   The communication charmel 18 provides a downstream 40 power ratio. The phase scrambler 66 can be part of or external
transmission path from the DMT transmitter 22 to the remote         to the modulator 46. Other embodiments of the phase scram-
receiver 34, and an upstream transmission path from the             bler 66 include, but are not limited to, a software program that
remote transmitter 3 0 to the D MT receiver 26. In one embodi-      is stored in local memory and is executed on the modulator
ment' the communication charmel18 is a pair of twisted wires        46, a digital signal processor (DSP) capable of performing
of a telephone subscriber line. In other embodiments, the 45 mathematical functions and algorithms, and the like. The
communication chaunel18 can be a fiber optic wire, a quad           remote receiver 34 similarly includes a phase descrambler 66'
cable, consisting of two pairs of twisted wires, or a quad cable    for use when demodulating carrier signals that have had their
that is one of a star quad cable, a Dieselhorst-Martin quad         phase characteristics adjusted by the phase scrambler 66 of
cable, and the like. In a wireless communication system             the DMT transceiver 10.
wherein the transceivers 10, 14 are wireless modems, the 50            To compute a phase shift for each carrier signal, the phase
communication channel 18 is the air through which the trans-        scrambler 66 associates one or more values with that carrier
mission signal 38 travels between the transceivers 10, 14.          signal. The phase scrambler 66 determines each value for a
   By way of example, the DMT transmitter 22 shown in FIG.          carrier signal independently of the QAM symbols 58, and,
1 includes a quadrature amplitude modulation (QAM)                  therefore, independently of the bit value(s) modulated onto
encoder 42, a modulator 46, a bit allocation table (BAT) 44, 55 the carrier signal. The actual value(s) that the phase scrambler
and a phase scrambler 66. The DMT transmitter 22 can also           66 associates with each carrier signal can be derived from one
include a bit scrambler 74, as described further below. The         or more predefined parameters, such as a pseudo-random
remote transmitter 30 of the remote transceiver 14 comprises        number generator (pseudo-RNG), a DMT carrier number, a
equivalent components as the DMT transmitter 22. Although           DMT symbol count, a DMT superframe count, a DMT hyper-
this embodiment specifies a detailed description of the DMT 60 frame count, and the like, as described in more detail below.
transmitter 22, the inventive concepts apply also to the receiv-    Irrespective of the technique used to produce each value, the
ers 34, 24 which have similar components to that of the DMT         same technique is used by the DMT transmitter 22 and the
transmitter 22, but perform inverse functions in a reverse          remote receiver 34 so that the value associated with a given
order.                                                              carrier signal is known at both ends of the communication
   The QAM encoder 42 has a single input for receiving an 65 channel 18.
input serial data bit stream 54 and multiple parallel outputs to       The phase scrambler 66 then solves a predetermined equa-
transmit QAM symbols 58 generated by the QAM encoder 42             tion to compute a phase shift for the carrier signal, using the




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                               5                                                                     6
value( s) associated with that carrier signal as input that effects       In other embodiments, other predefined parameters can be
the output of the equation. Any equation suitable for comput-          used in conjunction with the symbol count. One example of
ing phase shifts can be used to compute the phase shifts.              such a predefined parameter is the superframe count that
When the equation is independent of the bit values of the              increments by one every 69 DMT symbols. One exemplary
input serial bit stream 54, the computed phase shifts are also 5 implementation that achieves the superframe counter is to
independent of such bit values.                                        perform a modulo 68 operation on the symbol count. As
   In one embodiment (shown in phantom), the DMT trans-                another example, the DMT transmitter 22 can maintain a
mitter 22 includes a bit scrambler 74, which receives the input        hyperframe counter for counting hyperframes. An exemplary
serial bit stream 54 and outputs data bits 76 that are substan- 10 implementation of the hyperframe count is to perform a
tially scrambled. The substantially scrambled bits 76 are then 10
                                                                       modulo 255 operation on the superframe count. Thus, the
passed to the QAM encoder 42. When the bit scrambler 74 is
                                                                       hyperframe count increments by one each time the super-
included in the DMT transmitter 22, the operation of the
                                                                       frame count reaches 255.
phase scrambler 66 further assures that the transmission sig-
nal 38 has a Gaussian probability distribution and, therefore,            Accordingly, it is seen that some predefined parameters
a substantially minimized PAR.                                      15 produce values that vary from carrier signal to carrier signal.
   FIG. 2 shows embodiments of a process used by the DMT               For example, when the predefined parameter is the DMT
transmitter 22 for adjusting the phase characteristic of each          carrier number, values vary based on the frequency of the
carrier signal and combining these carrier signals to produce          carrier signal. As another example, the pseudo-RNG gener-
the transmission signal 38. The D MT transmitter 22 generates          ates a new random value for each carrier signal.
(step 100) a value that is associated with a carrier signal. 20
                                                                          Other predefined parameters produce values that vary from
Because the value is being used to alter the phase character-
                                                                       DMT symbol 70 to DMT symbol 70. For example, when the
istics of the carrier signal, both the DMT transmitter 22 and
the remote receiver 34 must recognize the value as being               predefined parameter is the symbol count, the superframe
associated with the carrier signal. Either the DMT transmitter         count, or hyperframe count, values vary based on the numeri-
22 and the remote receiver 34 independently derive the asso- 25 cal position of the DMT symbol 70 within a sequence of
ciated value, or one informs the other of the associated value.        symbols, superframes, or hyperframes. Predefined param-
For example, in one embodiment the DMT transmitter 22 can              eters such as the pseudo-RNG, symbol count, superframe
derive the value from a pseudo-RNG and then transmit the               count, and superframe can also be understood to be param-
generated value to the remote receiver 34. In another embodi-          eters that vary values over time. Anyone or combination of
ment' the remote receiver 34 similarly derives the value from 30 the predefined parameters can provide values for input to the
the same pseudo-RNG and the same seed as used by the                   equation that computes a phase shift for a given carrier signal.
transmitter (i.e., the transmitter pseudo-RNG produces the                In one embodiment, the phase scrambling is used to avoid
same series of random numbers as thereceiverpseudo-RNG).               clipping of the transmission signal 38 on a DMT symbol 70
   As another example, the DMT transmitter 22 and the
                                                                       by DMT symbol 70 basis. In this embodiment, the DMT
remote receiver 34 can each maintain a symbol counter for 35
                                                                       transmitter 22 uses a value based on a predefined parameter
counting DMT symbols. The DMT transmitter 22 increments
                                                                       that varies over time, such as the symbol count, to compute
its symbol counter upon transmitting a DMT symbol; the
remote receiver 34 upon receipt. Thus, when the DMT trans-             the phase shift. It is to be understood that other types of
mitter 22 and the remote receiver 34 both use the symbol               predefined parameters that vary the values associated with
count as a value for computing phase shifts, both the DMT 40 carrier signals can be used to practice the principles of the
transmitter 22 and remote receiver 34 "know" that the value is         invention. As described above, the transceivers 10, 14 may
associated with a particular DMT symbol and with each car-             communicate (step 110) the values to synchronize their use in
rier signal of that DMT symbol.                                        modulating and demodulating the carrier signals.
   Values can also be derived from other types of predefined              The DMT transmitter 22 then computes (step 115) the
parameters. For example, if the predefined parameter is the 45 phase shift that is used to adjust the phase characteristic of
DMT carrier number, then the value associated with a par-              each carrier signal. The amount of the phase shift combined
ticular carrier signal is the carrier number of that signal within     with the phase characteristic of each QAM -modulated carrier
the DMT symbol. The number of a carrier signal represents              signal depends upon the equation used and the one or more
the location of the frequency of the carrier signal relative to
                                                                       values associated with that carrier signal.
the frequency of other carrier signals within a DMT symbol. 50
For example, in one embodiment the DSL communication                      The DMT transmitter 22 then combines (step 120) the
system 2 provides 256 carrier signals, each separated by a             phase shift computed for each carrier signal with the phase
frequency of 4.3125 kHz and spauning the frequency band-               characteristic of that carrier signal. By scrambling the phase
width from 0 kHz to 1104 kHz. The DMT transmitter 22                   characteristics of the carrier signals, the phase scrambler 66
numbers the carrier signals from 0 to 255. Therefore, "DMT 55 reduces (with respect to unscrambled phase characteristics)
carrier number 50" represents the 51st DMT carrier signal              the combined PAR of the plurality of carrier signals and,
which is located at the frequency of 215.625 kHz (i.e.,                consequently, the transmission signal 38. The following three
51x4.3125 kHz).                                                        phase shifting examples, PS #1-PS #3, illustrate methods
   Again, the DMT transmitter 22 and the remote receiver 34            used by the phase scrambler 66 to combine a computed phase
can know the value that is associated with the carrier signal 60 shift to the phase characteristic of each carrier signal.
because both the DMT transmitter 22 and the remote receiver
34 use the same predefined parameter (here, the DMT carrier
number) to make the value-carrier signal association. In other                           Phase Shifting Example #1
embodiments (as exemplified above with the transmitter
pseudo-RNG), theDMTtransmitter22 can transmit the value 65                Phase shifting example #1 (PS #1) corresponds to adjust-
to the remote receiver 34 (or vice versa) over the communi-            ing the phase characteristic of the QAM-modulated carrier
cation channel 18.                                                     signal associated with a carrier number N by




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                                 7                                                                         8
                                                                                    Jr            3Jr
                                                                                                = 2 (Note that 9 is the 5th value in X N .)
                                                                              (9) x ;:;(mod2Jr) =



modulo (mod) 2n.
               2Jt. In this example, a carrier signal having a    5    The carrier signal with a carrier number N equal to 6 has a
carrier number N equal to 50 has a phase shift added to the            phase shift added to the phase characteristic of the carrier
phase characteristic of that carrier signal equal to                   signal equal
                                                                       signal equal to
                                                                                    to


                            Jr           2                        10
                       sax 3 (mod2Jr) == 3Jr·                                                         Jr            5Jr
                                                                                                                  = (5'
                                                                                                (5) x ;:; (mod2n) = 6".

The carrier signal with a carrier number N equal to 51 has a
                                                                        It is to be understood that additional and/or different phase
phase shift added to the phase characteristic of that carrier
signal equal to                                                   15 shifting techniques can be used by the phase scrambler 66,
                                                                     and that PS #1, #2, and #3 are merely illustrative examples of
                                                                     the principles of the invention. The DMT transmitter 22 then
                              Jr                                     combines (step 130) the carrier signals to form the transmis-
                         51 x 3 (mod2n) == Jr.                       sion signal 38. If the transmission signal is not clipped, as
                                                                  20 described below, the DMT transmitter 22 consequently trans-
                                                                     mits (step 160) the transmission signal 38 to the remote
The carrier signal with the carrier number N equal to 0 has no
phase shift added to the phase characteristic of that carrier        receiver 34.
signal.                                                              Clipping of Transmission Signals
                                                                        A transmission signal 38 that has high peak values of
                  Phase Shifting Example #2                       25 voltage (i.e., a high PAR) can induce non-linear distortion in
                                                                     the DMT transmitter 22 and the communication chaunel18.
   Phase shifting example #2 (PS #2) corresponds to adjust-          One form of this non-linear distortion of the transmission
ing the phase characteristic of the QAM-modulated carrier            signal 38 that may occur is the limitation of the amplitude of
signal associated with a carrier number N by                         the transmission signal 38 (i.e., clipping). For example, a
                                                                  30 particular DMT symbol 70 clips in the time domain when one
                                                                     or more time domain samples in that DMT symbol 70 are
                                      Jr                             larger than the maximum allowed digital value for the DMT
                            (N+M)X ·,
                                      4                              symbols 70. In multicarrier communication systems when
                                                                     clipping occurs, the transmission signal 38 does not accu-
mod 2n,
      2Jt, where M is the symbol count. In this example, a 35     35 rately represent the input serial data bit signal 54.
carrier signal having a carrier number N equal to 50 on DMT             In one embodiment, the DSL communication system 2
symbol count M equal to 8 has a phase shift added to the phase       avoids the clipping of the transmission signal 38 on a DMT
characteristic of that carrier signal equal to                       symbol 70 by DMT symbol 70 basis. The DMT transmitter 22
                                                                     detects (step 140) the clipping of the transmission signal 38.
                                                                  40 If a particular DMT symbol 70 clips in the time domain to
                                  Jr           Jr                    produce a clipped transmission signal 38, the DMT transmit-
                     (50 + 8) x 4(mod2n) = = ;;:.
                                               2'
                                                                     ter 22 substitutes (step 150) a predefined transmission signal
                                                                     78 for the clipped transmission signal 38.
The carrier signal with the same carrier number N equal to 50           The predefined transmission signal 78 has the same dura-
on the next DMT symbol count M equal to 9 has a phase shift 45 tion as a DMT symbol 70 (e.g., 250 ms) in order to maintain
added to the phase characteristic of that carrier signal equal to    symbol timing between the DMT transmitter 22 and the
                                                                     remote receiver 34. The predefined transmission signal 78 is
                                                                     not based on (i.e., independent of) the modulated input data
                                 Jr            3Jr                   bit stream 54; it is a bit value pattern that is recognized by the
                     (50 + 9)x 4 (mod2Jr) =
                                          = 4' 4·
                                                                  50 remote receiver 34 as a substituted signal. In one embodi-
                                                                     ment, the predefined transmission signal 78 is a known
                                                                     pseudo-random sequence pattern that is easily detected by the
                  Phase Shifting Example #3                          remote receiver 34. In another embodiment, the predefined
                                                                     transmission signal 78 is an "all zeros" signal, which is a zero
   Phase shifting example #3 (PS #3) corresponds to adjust- 55 voltage signal produced at the DMT transmitter 22 output
ing the phase characteristic of the QAM-modulated carrier            (i.e., zero volts modulated on all the carrier signals). In addi-
signal associated with a carrier number N by                         tion to easy detection by the remote receiver 34, the zero
                                                                     voltage signal reduces the power consumption of the DMT
                                                                     transmitter 22 when delivered by the DMT transmitter 22.
                                                                  60 Further, a pilot tone is included in the predefined transmission
                                                                     signal 78 to provide a reference signal for coherent demodu-
                                                                     lation of the carrier signals in the remote receiver 34 during
     2Jt, where X N is an array ofN pseudo-random numbers.
mod 2n,                                                              reception of the predefined transmission signal 78.
In this example, a carrier signal having a carrier number N             After the remote receiver 34 receives the transmission sig-
equal to 5 andXNequal to [3, 8,1,4,9,5, ... J has a phase shift 65 na138, the remote receiver 34 determines if the transmission
added to the phase characteristic of the carrier signal that is      signal 38 is equivalent to the predefined transmission signal
equal to                                                             78. In one embodiment, when the remote receiver 34 identi-




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                              9                                                                  10
fies the predefined transmission signal 78, the remote receiver    thereby causing a different set of time domain samples to be
34 ignores (i.e., discards) the predefined transmission signal     generated for the subsequent DMT symbol 70', although the
78.                                                                QAM symbols 58 used to produce both DMT symbols 70, 70'
    Following the transmission of the predefined transmission      are the same.
signal 78, the phase scrambler 66 shifts (step 120) the phase 5       If this different set of time domain samples (and conse-
characteristic of the QAM-modulated carrier signals (based         quently the transmission signal 38) is not clipped, the DMT
on one of the predefined parameters that varies over time). For    transmitter 22 sends the transmission signal 38. If one of the
example, consider that a set of QAM symbols 58 produces a          time domain samples in the different set of time domain
DMT symbol 70 comprising a plurality of time domain 10 samples 70 (and consequently the transmission signal 38) is
samples, and that one of the time domain samples is larger         clipped, then the DMT transmitter 22 sends the predefined
than the maximum allowed digital value for the DMT symbol          transmission signal 78 again. The process continues until a
70. Therefore, because the transmission signal 38 would be         DMT symbol 70 is produced without a time domain sample
clipped when sent to the remote receiver 34, the DMT trans-        70 that is clipped. In one embodiment, the transmitter 22 stops
mitter 22 sends the predefined transmission signal 78 instead. 15 attempting to produce a non-clipped DMT symbol 70' for the
    After transmission of the predefined transmission signal       particular set of QAM symbols 58 after generating a prede-
                                                                   termined number of clipped DMT symbols 70'. At that
78, the DMT transmitter 22 again attempts to send the same
                                                                   moment, the transmitter 22 can transmit the most recently
bit values that produced the clipped transmission signal 38 in
                                                                   produced clipped DMT symbol 70' or the predetermined
a subsequent DMT symbol 70'. Because the generation of
                                                                   transmission signal 78.
phase shifts in this embodiment is based on values that vary 20       The PAR of the DSL communication system 2 is reduced
over time, the phase shifts computed for the subsequent D MT       because the predefined transmission signal 78 is sent instead
symbol 70' are different than those that were previously com-      of the transmission signal 38 when the DMT symbol 70 clips.
puted for the DMT symbol 70 with the clipped time domain           For example, a DMT communication system 2 that normally
sample. These different phase shifts are combined to the           has a clipping probability of 10-7 for the time domain trans-
phase characteristics of the modulated carrier signals to pro- 25 mission signal 38 can therefore operate with a 10-5 probabil-
duce carrier signals of the subsequent DMT symbol 70' with         ityofclippingandalowerPARequal to 12.8 dB (as compared
different phase characteristics than the carrier signals of the    to 14.5 dB). When operating at a 10-5 probability of clipping,
DMT symbol 70 with the clipped time domain sample.                 assuming a DMT symbol 70 has 512 time-domain samples
    DMT communication systems 2 infrequently produce               70, the DMT transmitter 22 experiences one clipped DMT
transmission signals 38 that clip (e.g., approximately one clip 30 symbol 70 out of every
          7
every 10 time domain samples 70). However, if the subse-
quent DMT symbol 70' includes a time domain sample that
clips, then the predefined transmission signal 78 is again
transmitted (step 150) to the remote receiver 34 instead of the
clipped transmission signal 38. The clipping time domain 35
sample may be on the same or on a different carrier signal than
the previously clipped DMT symbol 70. The DMT transmit-            or 195 DMT symbols 70. This results in the predefined (non-
ter 22 repeats the transmission of the predefined transmission     data carrying) transmission signal 78 being transmitted, on
signal 78 until the DMT transmitter 22 produces a subsequent       average, once every 195 DMT symbols. Although increasing
                                                                                                      5
DMT symbol 70' that is not clipped. When the DMT trans- 40 the probability of clipping to 10- results in approximately a
mitter 22 produces a DMT symbol 70' that is not clipped, the       0.5% (1;195) decrease in throughput, the PAR of the transmis-
DTM transmitter 22 transmits (step 160) the transmission           sion signal 38 is reduced by 1.7 dB, which reduces transmitter
signal 38 to the remote receiver 34. The probability of a DMT      complexity in the form of power consumption and component
symbol 70 producing a transmission signal 38 that clips in the     linearity.
time domain depends on the PAR of the transmission signal 45          While the invention has been shown and described with
38.                                                                reference to specific preferred embodiments, it should be
    For example, the following phase shifting example, PST         understood by those skilled in the art that various changes in
#4, illustrates the method used by the phase scrambler 66 to       form and detail may be made therein without departing from
combine a different phase shift to the phase characteristic of     the spirit and scope of the invention as defined by the follow-
each carrier signal to avoid the clipping of the transmission 50 ing claims. For example, although the specification uses DSL
signal 38.                                                         to describe the invention, it is to be understood that various
                                                                   form ofDSL can be used, e.g., ADSL, VDSL, SDSL, HDSL,
                  Phase Shifting Example #4                        HDSL2, or SHDSL. It is also to be understood that the prin-
                                                                   ciples of the invention apply to various types of applications
    Phase shifting example #4 (PS #4) corresponds to adjust- 55 transported over DSL systems (e.g., telecommuting, video
ing the phase characteristic of the carrier signal associated      conferencing, high speed Internet access, video-on demand).
with a carrier number N by
                                                                      What is claimed:
                                                                      1. In a multicarrier modulation system including a first
                           7r
                           3" x(M +N),                          60 transceiver in communication with a second transceiver using
                                                                   a transmission signal having a plurality of carrier signals for
                                                                   modulating a plurality of data bits, each carrier signal having
mod 2Jt, where M is the DMT symbol count. In this example,         a phase characteristic associated with at least one bit of the
if the DMT symbol 70 clips when the DMT symbol count M             plurality of data bits, a method for scrambling the phase
equals 5, the predefined transmission signal 78 is transmitted 65 characteristics of the carrier signals comprising:
instead of the current clipped transmission signal 38. On the         transmitting the plurality of data bits from the first trans-
following DMT symbol period, the DMT count M equals 6,                   ceiver to the second transceiver;




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                                      11                                                                                      12
     associating a carrier signal with a value determined inde-                          first transceiver capable of transmitting to the second trans-
         pendently of any bit of the plurality of data bits carried                      ceiver the plurality of bits and operable to:
         by the carrier signal, the value associated with the carrier                               . a carrier signal with a value detennined
                                                                                            associate
                                                                                            assocIate                                         determined indepen-
         :~~~al
          signal determined by a pseudo-random number genera-                                   dently of any bit of the plurality of data bits carried by the
         tor; ..                                                                                carrier signal, the value associated with the carrier signal
     ddetennining
       etermmmg a phase shift for the carrier signal at least                                   determined by a pseudo-random number generator;        generator,'
         bbased.on
           ased .on tthe
                      heva   Iue associated with the carrier signal;
                          value                                                             detennine      a phase
                                                                                                             phase shift     for  the carrier  signal   at
     modulatmg       at  least   one  bit  of   the  plurality
     modulatmg at least one bit of the plurality of data bits on  of  data   bits  on       determine      a          shift  for  the carrier  signal   at least
                                                                                                                                                            least based
                                                                                                                                                                  based
         the carrier signal;                                                                    on the value associated with the carrier signal;
         the carrier signal;                                                                modulate
     modulating the
     modulating      the at
                          at least
                             least one     bit on
                                     one bit    on aa second    carrier signal
                                                      second carrier      signal ofof 10
                                                                                      10    modulate at   at least
                                                                                                             least one
                                                                                                                    one bit    of the
                                                                                                                          bit of  the plurality
                                                                                                                                       plurality of   data bits
                                                                                                                                                  of data         on the
                                                                                                                                                             bits on the
         the plurality
              plurality ofof carrier
                              carrier signals.                                                  carrier signal;
                                                                                                carrier   signal; and
                                                                                                                    and
         the                            signals.
      2.                                                                                    modulate
                                                                                            modulate the  the at
                                                                                                               at least
                                                                                                                   least one
                                                                                                                          one bit   on aa second
                                                                                                                                           second carrier
                                                                                                                                                    carrier signal
                                                                                                                                                               signal of
                                                                                                                                                                      of
      2. The   method of
         The method       of claim
                             claim 1,     wherein one
                                      1, wherein      one oror more
                                                               more of   of the first
                                                                            the first                                           bit on
                                                                                                the plurality
                                                                                                     plurality ofof carrier
                                                                                                                     carrier signals.
transceiver and second transceiver are cable transceivers.                                      the                            signals.
     3. The
     3.        method of
         The method       of claim
                             claim 1,     wherein one
                                      1, wherein      one oror more
                                                               more of   of the first
                                                                            the first       16. The system
                                                                                            16.        system of claim 15, wherein one or more of the first
transceiver and
transceiver       and second
                       second transceiver
                                  transceiver are  are VDSL
                                                        VDSL transceivers.
                                                                  transceivers.       15 transceiver and
                                                                                      15 transceiver     and second
                                                                                                              second transceiver
                                                                                                                         transceiver areare cable
                                                                                                                                             cable transceivers.
                                                                                                                                                    transceivers.
      4. The
      4.  The method
                method of  of claim
                               claim 1,  1, wherein
                                             wherein the the first
                                                               first and     second
                                                                      and second            17. The system of claim 15,whereinoneormoreofthefirst
                                                                                                                             15, wherein one or more of the first
transceivers are
transceivers       are multi
                        multi carrier
                               carrier DSLDSL transceivers.
                                                 transceivers.                           transceiver
                                                                                         transceiver and and second
                                                                                                              second transceiver
                                                                                                                         transceiver areare VDSL
                                                                                                                                             VDSL transceivers.
                                                                                                                                                      transceivers.
     5.   The method
     5. The     method of  of claim
                               claim 1,  1, wherein
                                             wherein the the first
                                                               first and     second
                                                                      and second            18.
                                                                                            18. The     system of
                                                                                                 The system       of claim
                                                                                                                      claim 15,     wherein the
                                                                                                                               15, wherein     the first
                                                                                                                                                    first and
                                                                                                                                                           and second
                                                                                                                                                                 second
transceivers are
transceivers       are used
                        used for
                               for high     speed interne
                                    high speed       interne access.
                                                               access.                   transceivers
                                                                                         transceivers are are multi
                                                                                                               multi carrier
                                                                                                                      carrier DSLDSL transceivers.
                                                                                                                                       transceivers.
      6. The
      6.  The method
                method of  of claim
                               claim 1, 1, further
                                             further comprising,
                                                        comprising, indepen-
                                                                          indepen- 20 20    19. The
                                                                                            19.         system of
                                                                                                 The system       of claim
                                                                                                                      claim 15,     wherein the
                                                                                                                               15, wherein     the first
                                                                                                                                                    first and
                                                                                                                                                           and second
                                                                                                                                                                 second
 dently deriving
 dently     deriving the
                       the values     associated with
                            values associated         with each
                                                             each carrier     using
                                                                     carrier using       transceivers
                                                                                         transceivers are are used
                                                                                                               used for
                                                                                                                      for high
                                                                                                                           high speed
                                                                                                                                   speed internet
                                                                                                                                          internet access.
                                                                                                                                                     access.
 aa second      pseudo-random number
     second pseudo-random             number generator
                                                    generator in   in the
                                                                       the second
                                                                             second         20.
                                                                                            20. The     system of
                                                                                                  The system           claim 15,
                                                                                                                   of claim          wherein the
                                                                                                                                15, wherein     the first
                                                                                                                                                     first transceiver
                                                                                                                                                           transceiver
transceiver.
transceiver.                                                                             independently derives the values associated with each carrier
     7. The
     7.  The method
               method of  of claim
                             claim 6, 6, further
                                          further comprising
                                                     comprising using using inin the
                                                                                  the    using aa second
                                                                                         using     second pseudo-random
                                                                                                              pseudo-random number             generator in
                                                                                                                                    number generator            the first
                                                                                                                                                             in the first
 first and second transceivers a same seed for the first and 25 transceiver.             transceiver.
  second
  second pseudo-random
             pseudo-random number              generators and
                                   number generators           and the     value of
                                                                     the value     of       21. The
                                                                                            21.  The system
                                                                                                        system of of claim
                                                                                                                      claim 20,20, using
                                                                                                                                    using inin the  first and
                                                                                                                                               the first   and second
                                                                                                                                                                 second
the seed
the    seed isis transmitted
                 transmitted fromfrom the
                                        the first
                                              first transceiver
                                                    transceiver to  to the
                                                                        the second
                                                                             second      transceivers
                                                                                         transceivers aa samesame seedseed forfor the
                                                                                                                                   the first
                                                                                                                                        first and
                                                                                                                                              and second
                                                                                                                                                    second pseudo-
                                                                                                                                                                pseudo-
transceiver.
transceiver.                                                                             random number generators and the value of the seed is trans-
     8.   The method
     8. The     method of  of claim
                               claim 6,      wherein the
                                         6, wherein      the first
                                                               first and
                                                                      and second
                                                                             second      mitted from
                                                                                         mitted   from thethe first
                                                                                                               first transceiver
                                                                                                                     transceiver to  to the
                                                                                                                                        the second
                                                                                                                                             second transceiver.
                                                                                                                                                       transceiver.
transceivers
transceivers are   are wireless
                        wireless transceivers.
                                    transceivers.                                     30
                                                                                      30
                                                                                            22. The system of claim 20, wherein     wherein the first and second
     9. The
     9.   The method
                method of  of claim
                               claim 6,      wherein the
                                         6, wherein      the first
                                                               first and
                                                                      and second
                                                                             second      transceivers
                                                                                         transceivers are are wireless
                                                                                                               wireless transceivers.
                                                                                                                           transceivers.
transceivers are
transceivers       are cable    transceivers.
                        cable transceivers.                                                 23. The system of claim 20, wherein the first and second
      10. The method of claim 6, wherein the first and second                            transceivers
                                                                                         transceivers are are cable
                                                                                                               cable transceivers.
                                                                                                                       transceivers.
tra~sceive.rs are
tra~sceive.rs      are DSL      transceivers connected
                        DSL transceivers          connected usingusing aa pair     of
                                                                             pair of        24.
                                                                                            24. The
                                                                                                 The system
                                                                                                        system of of claim
                                                                                                                      claim 20,     wherein the
                                                                                                                               20, wherein     the first
                                                                                                                                                    first and
                                                                                                                                                           and second
                                                                                                                                                                 second
twIsted      wIres   of a  telephone      subscriber
twIsted wIres of a telephone subscriber system.          system.                      35
                                                                                      35 tr~sceiv~rs
                                                                                         tr~sceiv~rs are DSL transceivers connected using a pair of
      11. The
      11.  The method
                 method of  of claim
                               claim 10, 10, wherein
                                               wherein thethe first   and second
                                                                first and    second      twIsted wIres
                                                                                         twIsted   wIres of of aa telephone
                                                                                                                  telephone subscriber        system.
                                                                                                                                 subscriber system.
transceivers are
transceivers       are VDSL
                       VDSL transceivers.
                                  transceivers.                                             25. The system of claim 24, wherein the first and second
      12. The method of claim 6, wherein the first and second                            transceivers
                                                                                         transceivers are are VDSL
                                                                                                               VDSL transceivers.
                                                                                                                         transceivers.
transceivers are
transceivers       are multi
                        multi carrier
                               carrier DSLDSL transceivers.
                                                 transceivers.                              26.
                                                                                            26. The     system of
                                                                                                 The system       of claim
                                                                                                                      claim 20,     wherein the
                                                                                                                               20, wherein     the first
                                                                                                                                                    first and
                                                                                                                                                           and second
                                                                                                                                                                 second
      13.   The   method    of   claim    6,  wherein     the  first
      13. The method of claim 6, wherein the first and second 40      and    second   40 transceivers
                                                                                         transceivers     are
                                                                                                          are  multi
                                                                                                               multi  carrier
                                                                                                                      carrier    DSL
                                                                                                                                 DSL transceivers.
                                                                                                                                       transceivers.
transceivers are
transceivers       are also
                        also used
                               used forfor transport
                                             transport high
                                                          high speed
                                                                   speed internet
                                                                            internet        27.
                                                                                            27. The
                                                                                                 The system
                                                                                                        system of of claim
                                                                                                                      claim 20,     wherein the
                                                                                                                               20, wherein     the first
                                                                                                                                                    first and
                                                                                                                                                           and second
                                                                                                                                                                 second
 access.
 access.                                                                                 transceivers are also used for high speed internet access.
      14. The
      14.  The method
                method of  of claim
                              claim 1,    wherein the
                                       1, wherein          first and
                                                       the first  and the
                                                                        the second
                                                                             second         28.
                                                                                            28. The    method of
                                                                                                 The method        of claim
                                                                                                                       claim 15,15, wherein    the first
                                                                                                                                     wherein the    first and    second
                                                                                                                                                           and second
transceivers include
transceivers       include digital
                             digital signal
                                        signal processors.
                                                  processors.                            transceivers
                                                                                         transceivers eacheach include
                                                                                                                 include digital
                                                                                                                            digital signal
                                                                                                                                      signal processors.
                                                                                                                                              processors.
      15. A A multicarrier
               multicarrier modulation
                                 modulation system system including
                                                              including aa firstfirst 45
                                                                                      45    29. The
                                                                                            29.        method of
                                                                                                 The method        of claim
                                                                                                                       claim 1,    wherein the
                                                                                                                                1, wherein   the video
                                                                                                                                                  video is is video-on
                                                                                                                                                              video-on
      15.
transceiver in commnnication with a second transceiver using                             demand.
                                                                                         demand.
aa transmission
    transmission signal
                      signal having
                               having aa plurality
                                             plurality ofof carrier     signals for
                                                             carrier signals      for       30. The
                                                                                            30.  The method
                                                                                                       method of  of claim
                                                                                                                      claim 15,15, wherein
                                                                                                                                    wherein the
                                                                                                                                              the video
                                                                                                                                                  video is is video-on
                                                                                                                                                              video-on
modulating a plurality of data bits, each carrier signal having                          demand.
                                                                                         demand.
 a phase characteristic associated with the input bit stream, the




                                                                                                                                                      Page 10 of 12




                                                                         Appx102
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,718,158 B2                                                                                      Page 1 of 1
APPLICAnON NO.              : 13/303417
DATED                       : May 6, 2014
INVENTOR(S)                 : Marcos C. Tzannes

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         In the Claims

         Column 11, Claim 1, line 9, following "signal;" insert -- and--

         Column 11, Claim 5, line 19, delete "Interne" and insert -- Internet --




                                                                                    Signed and Sealed this
                                                                              Sixteenth Day of September, 2014



                                                                                                   Michelle K. Lee
                                                                           Deputy Director of the United States Patent and Trademark Office




                                                                                                                      Page 11 of 12




                                                           Appx103
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,718,158 B2                                                                                       Page 1 of 1
APPLICAnON NO.              : 13/303417
DATED                       : May 6, 2014
INVENTOR(S)                 : Marcos C. Tzannes

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         In the Claims

         At Column 11, Claim 15, line 49, delete "the input bit stream," and insert -- at least one bit ofthe
         plurality of data bits, --




                                                                                  Signed and Sealed this
                                                                              Twenty-eighth Day of April, 2015



                                                                                                    Michelle K. Lee
                                                                               Director of the United States Patent and Trademark Office




                                                                                                                      Page 12 of 12




                                                           Appx104
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c12)
(12)   United States Patent                                                                                         (10) Patent No.:                                  US 9,014,243 B2
       Tzannes                                                                                                      (45) Date of Patent:                                            Apr. 21, 2015

(54)   SYSTEM AND METHOD FOR SCRAMBLING                                                                      (56)                                    References Cited
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       VSING A BIT SCRAMBLER AND A PHASE
       SCRAMBLER                                                                                                                          U.S. PATENT DOCUMENTS

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(72)   Inventor:     Marcos C. Tzannes, Orinda, CA (US)
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(73)   Assignee: TQ Delta, LLC, Austin, TX (US)
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                     patent is extended or adjusted under 35                                                 EP                               0719004                6/1996
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                 Related U.S. Application Data                                                               Primary Examiner - Jaison Joseph
                                                                                                                                           - Jason H. Vick; Sheridan
                                                                                                             (74) Attorney, Agent, or Firm -Jason
(60)   Continuation of application No. 13/439,605, filed on                                                  Ross, PC
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       continuation of application No. 13/284,549, filed on                                                  (57)                                      ABSTRACT
       Oct. 28, 2011, now Pat. No. 8,218,610, which is a                                                     A system and method that demodulates the phase character-
                             (Continued)                                                                     istic of a carrier signal are described. The scrambling of the
                                                                                                             phase characteristic of each carrier signal includes associat-
(51)        C!.
       Int. Cl.                                                                                              ing a value with each carrier signal and computing a phase
       H04L27/26
       H04L27126                     (2006.01)                                                               shift for each carrier signal based on the value associated with
       H04L25/03
       H04L25103                     (2006.01)                                                               that carrier signal. The value is determined independently of
                                                                                                             any input bit value carried by that carrier signal. The phase
       H04B 1140                     (2006.01)
                                                                                                             shift computed for each carrier signal is combined with the
(52)   V.S.C!.
       U.S. Cl.                                                                                              phase characteristic of that carrier signal so as to substantially
       CPC ...... H04L 2712627 (2013.01); H04L 25103866                                                      scramble the phase characteristic of the carrier signals. Bits of
                 (2013.01); H04L 2712614 (2013.01); H04L                                                     an input signal are modulated onto the carrier signals having
                   2712621 (2013.01); H04B 1140 (2013.01)
                   27/2621                                                                                   the substantially scrambled phase characteristic to produce a
(58)   Field of Classification Search                                                                        transmission signal with a reduced PAR.
       USPC .......................................... 375/222,340,341
                                                       375/222, 340, 341
       See application file for complete search history.                                                                                  25 Claims, 2 Drawing Sheets


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                                                            Transceiver .1.Q.
                                                                        .1Q.                                                  18




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                                                                                        Appx105
Case: 18-1766                          Document: 49-1                              Page: 113                     Filed: 11/21/2018




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                                                                                                         FIG. 1                                                                           w
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u.s. Patent
U.S.                   Apr. 21, 2015                                             Sheet 2of2
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     STEP 100                 GENERATE VALUE(S)



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     STEP 110-f---COM-MUNICATEVALUE(S)---:
          110-1     COMMUNICATE VALUE(S) :
               :      TO SYNCHRONIZE     1I
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     STEP 115               COMPUTE PHASE SHIFT




                        COMBINE PHASE SHIFT WITH
     STEP 120            PHASE CHARACTERISTIC
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                     COMBINE CARRIER SIGNALS INTO
     STEP 130
                        A TRANSMISSION SIGNAL



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     STEP 160        TRANSMIT TRANSMISSION SIGNAL


                                                     FIG. 2




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                                                      Appx110
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                                                     US 9,014,243 B2
                              1                                                                   2
    SYSTEM AND METHOD FOR SCRAMBLING                                voltage, current, phase, frequency, power) to the time-aver-
     USING A BIT SCRAMBLER AND A PHASE                              aged value of the signal parameter. In DMT systems, the PAR
                  SCRAMBLER                                         of the transmitted signal is determined by the probability of
                                                                    the random transmission signal reaching a certain peak volt-
                    RELATED APPLICATION                           5 age during the time interval required for a certain number of
                                                                    symbols. An example of the PAR of a transmission signal
   This application is a Continuation of U.S. application Ser.      transmitted from a DMT transmitter is 14.5 dB, which is
No. 13/439,605, filed Apr. 4, 2012, now U.S. Pat. No. 8,355,        equivalent to having a lE-7 probability of clipping. The PAR
427, which is a Continuation of u.s. U.S. application Ser. No.      of a transmission signal transmitted and received in a DMT
13/284,549, filed Oct. 28, 2011, now U.S. Pat. No. 8,218,610, 10 communication system is an important consideration in the
                          of Ser. No. 111860,080,
which is a continuation ofSer.        11/860,080, filed Sep. 24,    design of the DMT communication system because the PAR
2007, now U.S. Pat. No. 8,073,041, which is a divisional of         of a signal affects the communication system's total power
u.s. application Ser. No. 111211,535,
U.S.                         11/211,535, filed Aug. 26, 2005,       consumption and component linearity requirements of the
now U.S. Pat. No. 7,292,627, which is a continuation of U.S.        system.
                       09/710,310, filed on Nov. 9, 2000, now 15
application Ser. No. 091710,310,                                       If the phase of the modulated carriers is not random, then
U.S. Pat. No. 6,961,369, which claims the benefit of the filing     the PAR can increase greatly. Examples of cases where the
          u.s. Provisional Application Ser. No. 601164,134,
date of U.S.                                         60/164,134,    phases of the modulated carrier signals are not random are
filed Nov. 9, 1999, entitled "A Method For Randomizing The          when bit scramblers are not used, multiple carrier signals are
Phase Of The Carriers In A Multicarrier Communications              used to modulate the same input data bits, and the constella-
System To Reduce The Peak To Average Power Ratio Of The 20 ti       tion
                                                                      on maps, which are mappings of input data bits to the phase
Transmitted Signal," each which are incorporated by refer-          of a carrier signal, used for modulation are not random
ence herein in their entirety.                                      enough (i.e., a zero value for a data bit corresponds to a 90
                                                                    degree phase characteristic of the DMT carrier signal and a
                  FIELD OF THE INVENTION                            one value for a data bit corresponds to a -90 degree phase
                                                                 25 characteristic of the DMT carrier signal). An increased PAR
   This invention relates to communications systems using           can result in a system with high power consumption and/or
multicarrier modulation. More particularly, the invention           with high probability of clipping the transmission signal.
relates to multicarrier communications systems that lower the       Thus, there remains a need for a system and method that can
peak-to-average power ratio (PAR) of transmitted signals.           effectively scramble the phase of the modulated carrier sig-
                                                                 30 nals in order to provide a low PAR for the transmission signal.
            BACKGROUND OF THE INVENTION
                                                                                 SUMMARY OF THE INVENTION
   In a conventional multicarrier communications system,
transmitters communicate over a communication channel                  The present invention features a system and method that
using multicarrier modulation or Discrete Multitone Modu- Madu- 35 scrambles the phase characteristics of the modulated carrier
lation (DMT). Carrier signals (carriers) or sub-channels            signals in a transmission signal. In one aspect, a value is
spaced within a usable frequency band of the communication          associated with each carrier signal. A phase shift is computed
channel are modulated at a symbol (i.e., block) transmission        for each carrier signal based on the value associated with that
rate of the system. An input signal, which includes input data      carrier signal. The value is determined independently of any
bits, is sent to a DMT transmitter, such as a DMT modem. The 40 input bit value carried by that carrier signal. The phase shift
DMT transmitter typically modulates the phase characteris-          computed for each carrier signal is combined with the phase
tic, or phase, and amplitude of the carrier signals using an        characteristic of that carrier signal to substantially scramble
Inverse Fast Fourier Transform (IFFT) to generate a time            the phase characteristics of the carrier signals.
domain signal, or transmission signal, that represents the             In one embodiment, the input bit stream is modulated onto
input signal. The DMT transmitter transmits the transmission 45 the carrier signals having the substantially scrambled phase
signal, which is a linear combination of the multiple carriers,     characteristic to produce a transmission signal with a reduced
to a DMT receiver over the communication channel.                   peak-to-average power ratio (PAR). The value is derived from
   The phase and amplitude of the carrier signals of DMT            a predetermined parameter, such as a random number gen-
transmission signal can be considered random because the            erator, a carrier number, a DMT symbol count, a superframe
phase and amplitude result from the modulation of an arbi- 50 count, and a hyperframe count. In another embodiment, a
trary sequence of input data bits comprising the transmitted        predetermined transmission signal is transmitted when the
information. Therefore, under the condition that the modu-          amplitude of the transmission signal exceeds a certain level.
lated data bit stream is random, the DMT transmission signal           In another aspect, the invention features a method wherein
can be approximated as having a Gaussian probability distri-        a value is associated with each carrier signal. The value is
bution. A bit scrambler is often used in the DMT transmitter 55 determined independently of any input bit value carried by
to scramble the input data bits before the bits are modulated to    that carrier signal. A phase shift for each carrier signal is
assure that the transmitted data bits are random and, conse-        computed based on the value associated with that carrier
quently, that the modulation of those bits produces a DMT           signal. The transmission signal is demodulated using the
transmission signal with a Gaussian probability distribution.       phase shift computed for each carrier signal.
   With an appropriate allocation of transmit power levels to 60       In another aspect, the invention features a system compris-
the carriers or sub-channels, such a system provides a desir-       ing a phase scrambler that computes a phase shift for each
able performance. Further, generating a transmission signal         carrier signal based on a value associated with that carrier
with a Gaussian probability distribution is important in order      signal. The phase scrambler also combines the phase shift
to transmit a transmission signal with a low peak-to-average        computed for each carrier signal with the phase characteristic
ratio (PAR), or peak-to-average power ratio. The PAR of a 65 of that carrier signal to substantially scramble the phase char-
transmission signal is the ratio of the instantaneous peak          acteristic of the carrier signals. In one embodiment, a modu-
value (i.e., maximum magnitude) of a signal parameter (e.g.,        lator, in communication with the phase scrambler, modulates




                                                                                                                       Page 7 of 12




                                                        Appx111
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                                                       US 9,014,243 B2
                               3                                                                      4
bits of an input signal onto the carrier signals having the          QAM symbols 58 in the frequency domain. In particular, the
substantially scrambled phase characteristics to produce a           QAM encoder 42 maps the input serial data bit stream 54 into
transmission signal with a reduced PAR.                              N parallel quadrature amplitude modulation (QAM) constel-
                                                                     lation points 58, or QAM symbols 58, where N represents the
           DESCRIPTION OF THE DRAWINGS                            5 number of carrier signals generated by the modulator 46. The
                                                                     BAT 44 is in communication with the QAM encoder 42 to
   The invention is pointed out with particularity in the            specify the number of bits carried by each carrier signal. The
                                                                     specifY
appended claims. The advantages of the invention described           QAM symbols 58 represent the amplitude and the phase
above, as well as further advantages of the invention, may be        characteristic of each carrier signal.
better understood by reference to the following description 10          The modulator 46 provides functionality associated with
taken in conjunction with the accompanying drawings, in              the DMT modulation and transforms the QAM symbols 58
which:                                                               into DMT symbols 70 each comprised of a plurality oftime- of time-
   FIG. 1 is a block diagram of an embodiment of a digital           domain samples. The modulator 46 modulates each carrier
subscriber line communications system including a DMT                signal with a different QAM symbol 58. As a result of this
(discrete multitone modulation) transceiver, in communica- 15 modulation, carrier signals have phase and amplitude char-
tion with a remote transceiver, having a phase scrambler for         acteristics based on the QAM symbol 58 and therefore based
substantially scrambling the phase characteristics of carrier        on the input-bit stream 54. In particular, the modulator 46
signals; and                                                         uses an inverse fast Fourier transform (IFFT) to change the
   FIG. 2 is a flow diagram of an embodiment of a process for        QAM symbols 58 into a transmission signal 38 comprised of
scrambling the phase characteristics of the carrier signals in a 20 a sequence of DMT symbols 70. The modulator 46 changes
transmission signal.                                                 the QAM symbols 58 into DMT symbols 70 through modu-
                                                                     lation of the carrier signals. In another embodiment, the
                  DETAILED DESCRIPTION                               modulator 46 uses the inverse discrete Fourier transform
                                                                     (IDFT) to change the QAM symbols 58 into DMT symbols
   FIG. 1 shows a digital subscriber line (DSL) communica- 25 70. In one embodiment, a pilot tone is included in the trans-
tion system 2 including a discrete multitone (DMT) trans-            mission signal 38 to provide a reference signal for coherent
ceiver 10 in communication with a remote transceiver 14 over         demodulation of the carrier signals in the remote receiver 34
                    channel 18 using a transmission signal 38
a communication chaunel18                                            during reception of the transmission signal 38.
having a plurality of carrier signals. The DMT transceiver 10           The modulator 46 also includes a phase scrambler 66 that
includes a DMT transmitter 22 and a DMT receiver 26. The 30 combines a phase shift computed for each QAM-modulated
remote transceiver 14 includes a transmitter 303 0 and a receiver    carrier signal with the phase characteristic of that carrier
34. Although described with respect to discrete multitone            signal. Combining phase shifts with phase characteristics, in
modulation, the principles of the invention apply also to other      accordance with the principles of the invention, substantially
types of multi carrier modulation, such as, but not limited to,      scrambles the phase characteristics of the carrier signals in
orthogonally multiplexed quadrature amplitude modulation 35 the transmission signal 38. By scrambling the phase charac-
(OQAM), discrete wavelet multitone (DWMT) modulation,                teristics of the carrier signals, the resulting transmission sig-
and orthogonal frequency division multiplexing (OFDM).               nal 38 has a substantially minimized peak-to-average (PAR)
   The communication channel
                           charmel 18 provides a downstream          power ratio. The phase scrambler 66 can be part of or external
transmission path from the DMT transmitter 22 to the remote          to the modulator 46. Other embodiments of the phase scram-
receiver 34, and an upstream transmission path from the 40 bier      bIer 66 include, but are not limited to, a software program that
remote transmitter 3 0 to the D MT receiver 26. In one embodi-       is stored in local memory and is executed on the modulator
ment' the communication channel
ment,                       charmel 18 is a pair of twisted wires    46, a digital signal processor (DSP) capable of performing
of a telephone subscriber line. In other embodiments, the            mathematical functions and algorithms, and the like. The
communication chaunel18
                  channel 18 can be a fiber optic wire, a quad       remote receiver 34 similarly includes a phase descrambler 66'
cable, consisting of two pairs of twisted wires, or a quad cable 45 for use when demodulating carrier signals that have had their
that is one of a star quad cable, a Dieselhorst-Martin quad          phase characteristics adjusted by the phase scrambler 66 of
cable, and the like. In a wireless communication system              the DMT transceiver 10.
wherein the transceivers 10, 14 are wireless modems, the                To compute a phase shift for each carrier signal, the phase
communication channel 18 is the air through which the trans-         scrambler 66 associates one or more values with that carrier
mission signal 38 travels between the transceivers 10, 14.        50 signal. The phase scrambler 66 determines each value for a
   By way of example, the DMT transmitter 22 shown in FIG.           carrier signal independently of the QAM symbols 58, and,
1 includes a quadrature amplitude modulation (QAM)                   therefore, independently of the bit value(s) modulated onto
encoder 42, a modulator 46, a bit allocation table (BAT) 44,         the carrier signal. The actual value(s) that the phase scrambler
and a phase scrambler 66. The DMT transmitter 22 can also            66 associates with each carrier signal can be derived from one
include a bit scrambler 74, as described further below. The 55 or more predefined parameters, such as a pseudo-random
remote transmitter 30 of the remote transceiver 14 comprises         number generator (pseudo-RNG), a DMT carrier number, a
equivalent components as the DMT transmitter 22. Although            DMT symbol count, a DMT superframe count, a DMT hyper-
this embodiment specifies a detailed description of the DMT          frame count, and the like, as described in more detail below.
transmitter 22, the inventive concepts apply also to the receiv-     Irrespective of the technique used to produce each value, the
ers 34, 26 which have similar components to that of the DMT 60 same technique is used by the DMT transmitter 22 and the
transmitter 22, but perform inverse functions in a reverse           remote receiver 34 so that the value associated with a given
order.                                                               carrier signal is known at both ends of the communication
   The QAM encoder 42 has a single input for receiving an            channel 18.
input serial data bit stream 54 and multiple parallel outputs to        The phase scrambler 66 then solves a predetermined equa-
transmit QAM symbols 58 generated by the QAM encoder 42 65 tion to compute a phase shift for the carrier signal, using the
from the bit stream 54. In general, the QAM encoder 42 maps          value( s) associated with that carrier signal as input that effects
the input serial bit-stream 54 in the time domain into parallel      the output of the equation. Any equation suitable for comput-




                                                                                                                           Page 8 of 12




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                               5                                                                     6
ing phase shifts can be used to compute the phase shifts.              such a predefined parameter is the superframe count that
When the equation is independent of the bit values of the              increments by one every 69 DMT symbols. One exemplary
input serial bit stream 54, the computed phase shifts are also         implementation that achieves the superframe counter is to
independent of such bit values.                                        perform a modulo 68 operation on the symbol count. As
   In one embodiment (shown in phantom), the DMT trans- 5 another example, the DMT transmitter 22 can maintain a
mitter 22 includes a bit scrambler 74,7 4, which receives the input    hyperframe counter for counting hyperframes. An exemplary
serial bit stream 54 and outputs data bits 76 that are substan-        implementation of the hyperframe count is to perform a
tially scrambled. The substantially scrambled bits 76 are then         modulo 255 operation on the superframe count. Thus, the
passed to the QAM encoder 42. When the bit scrambler 74 is             hyperframe count increments by one each time the super-
included in the DMT transmitter 22, the operation of the 10         lO frame count reaches 255.
                                                                    10
phase scrambler 66 further assures that the transmission sig-
                                                                          Accordingly, it is seen that some predefined parameters
nal 38 has a Gaussian probability distribution and, therefore,
                                                                       produce values that vary from carrier signal to carrier signal.
a substantially minimized PAR.
   FIG. 2 shows embodiments of a process used by the DMT               For example, when the predefined parameter is the DMT
transmitter 22 for adjusting the phase characteristic of each 15 carrier number, values vary based on the frequency of the
carrier signal and combining these carrier signals to produce          carrier signal. As another example, the pseudo-RNG gener-
the transmission signal 38. The D MT transmitter 22 generates          ates a new random value for each carrier signal.
(step 100) a value that is associated with a carrier signal.              Other predefined parameters produce values that vary from
Because the value is being used to alter the phase character-          DMT symbol 70 to DMT symbol 70. For example, when the
istics of the carrier signal, both the DMT transmitter 22 and 20 predefined parameter is the symbol count, the superframe
the remote receiver 34 must recognize the value as being               count, or hyperframe count, values vary based on the numeri-
associated with the carrier signal. Either the DMT transmitter         cal position of the DMT symbol 70 within a sequence of
22 and the remote receiver 34 independently derive the asso-           symbols, superframes, or hyperframes. Predefined param-
ciated value, or one informs the other of the associated value.        eters such as the pseudo-RNG, symbol count, superframe
For example, in one embodiment the DMT transmitter 22 can 25 count, and superframe can also be understood to be param-
derive the value from a pseudo-RNG and then transmit the                                                  Anyone
                                                                       eters that vary values over time. Any    one or combination of
generated value to the remote receiver 34. In another embodi-          the predefined parameters can provide values for input to the
ment' the remote receiver 34 similarly derives the value from
ment,                                                                  equation that computes a phase shift for a given carrier signal.
the same pseudo-RNG and the same seed as used by the                      In one embodiment, the phase scrambling is used to avoid
transmitter (i.e., the transmitter pseudo-RNG produces the 30 clipping of the transmission signal 38 on a DMT symbol 70
same series of  random numbers as thereceiverpseudo-RNG).
              ofrandomnumbers
                                                                       by DMT symbol 70 basis. In this embodiment, the DMT
   As another example, the DMT transmitter 22 and the
                                                                       transmitter 22 uses a value based on a predefined parameter
remote receiver 34 can each maintain a symbol counter for
                                                                       that varies over time, such as the symbol count, to compute
counting DMT symbols. The DMT transmitter 22 increments
                                                                       the phase shift. It is to be understood that other types of
its symbol counter upon transmitting a DMT symbol; the 35
                                                                       predefined parameters that vary the values associated with
remote receiver 34 upon receipt. Thus, when the DMT trans-
                                                                       carrier signals can be used to practice the principles of the
mitter 22 and the remote receiver 34 both use the symbol
                                                                       invention. As described above, the transceivers 10, 14 may
count as a value for computing phase shifts, both the DMT
                                                                       communicate (step 110) the values to synchronize their use in
transmitter 22 and remote receiver 34 "know" that the value is
                                                                       modulating and demodulating the carrier signals.
associated with a particular DMT symbol and with each car- 40
                                                                          The DMT transmitter 22 then computes (step 115) the
rier signal of that DMT symbol.
                                                                       phase shift that is used to adjust the phase characteristic of
   Values can also be derived from other types of predefined
                                                                       each carrier signal. The amount of the phase shift combined
parameters. For example, if the predefined parameter is the
                                                                       with the phase characteristic of each QAM-modulated
                                                                                                              QAM -modulated carrier
DMT carrier number, then the value associated with a par-
                                                                       signal depends upon the equation used and the one or more
ticular carrier signal is the carrier number of that signal within 45
                                                                       values associated with that carrier signal.
the DMT symbol. The number of a carrier signal represents
                                                                          The DMT transmitter 22 then combines (step 120) the
the location of the frequency of the carrier signal relative to
                                                                       phase shift computed for each carrier signal with the phase
the frequency of other carrier signals within a DMT symbol.
                                                                       characteristic of that carrier signal. By scrambling the phase
For example, in one embodiment the DSL communication
                                                                       characteristics of the carrier signals, the phase scrambler 66
system 2 provides 256 carrier signals, each separated by a 50
                                                                       reduces (with respect to unscrambled phase characteristics)
frequency of 4.3125 kHz and spauning
                                   spanning the frequency band-
                                                                       the combined PAR of the plurality of carrier signals and,
width from 0 kHz to 1104 kHz. The DMT transmitter 22
                                                                       consequently, the transmission signal 38. The following three
numbers the carrier signals from 0 to 255. Therefore, "DMT
                                                                       phase shifting examples, PS #1-PS #3, illustrate methods
carrier number 50" represents the 51st DMT carrier signal
                                                                    55 used by the phase scrambler 66 to combine a computed phase
which is located at the frequency of 215.625 kHz (i.e., 55
                                                                       shift to the phase characteristic of each carrier signal.
51x4.3125 kHz).
   Again, the DMT transmitter 22 and the remote receiver 34                              Phase Shifting Example #1
can know the value that is associated with the carrier signal
because both the DMT transmitter 22 and the remote receiver               Phase shifting example #1 (PS #1) corresponds to adjust-
34 use the same predefined parameter (here, the DMT carrier 60 ing the phase characteristic of the QAM-modulated carrier
number) to make the value-carrier signal association. In other         signal associated with a carrier number N by
embodiments (as exemplified above with the transmitter
pseudo-RNG), the DMTtransmitter22 can transmit the value
to the remote receiver 34 (or vice versa) over the communi-
cation channel 18.                                                  65
   In other embodiments, other predefined parameters can be
used in conjunction with the symbol count. One example of




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                                 7                                                                          8
               2it. In this example, a carrier signal having a
modulo (mod) 2n.
carrier number N equal to 50 has a phase shift added to the                                             n           3n
phase characteristic of that carrier signal equal to
                                                                                                 (9)x
                                                                                                        6 (mod2n) = '.2

                                                                         (Note that 9 is the 5th value in XN.) The carrier signal with a
                            Jr
                            7r           2
                       sax 33(mod2n)   = 3Jr·
                              (mod2Jr) = 3"·                             carrier number N equal to 6 has a phase shift added to the
                                                                         phase characteristic of the carrier signal equal to

The carrier signal with a carrier number N equal to 51 has a 10
                                                              10
phase shift added to the phase characteristic of that carrier                                          nJr           Sn
                                                                                                                     5Jr
                                                                                                (S)    "6 (mod2n) == (j.
                                                                                                (5) xx (;            (5'
signal equal to

                                                                            It is to be understood that additional and/or different phase
                             Jr
                             7r
                        51
                             3
                                       = Jr.
                        Sl x 3 (mod2n) = n.                         15   shifting techniques can be used by the phase scrambler 66,
                                                                         and that PS #1, #2, and #3 are merely illustrative examples of
                                                                         the principles of the invention. The DMT transmitter 22 then
The carrier signal with the carrier number N equal to 0 has no           combines (step 130) the carrier signals to form the transmis-
phase shift added to the phase characteristic of that carrier            sion signal 38. If the transmission signal is not clipped, as
signal.                                                               20 described below, the DMT transmitter 22 consequently trans-
                                                                         mits (step 160) the transmission signal 38 to the remote
                  Phase Shifting Example #2                              receiver 34.
                                                                         Clipping of Transmission Signals
                                                                            A transmission signal 38 that has high peak values of
   Phase shifting example #2 (PS #2) corresponds to adjust- 25        25 voltage (i.e., a high PAR) can induce non-linear distortion in
ing the phase characteristic of the QAM-modulated carrier                the DMT transmitter 22 and the communication channel     chaunel18.
                                                                                                                                         18.
signal associated with a carrier number N by                             One form of this non-linear distortion of the transmission
                                                                         signal 38 that may occur is the limitation of the amplitude of
                                                                         the transmission signal 38 (i.e., clipping). For example, a
                                       Jr
                                       7r
                            (N+M)x ,
                            (N+M)X                                    30 particular DMT symbol 70 clips in the time domain when one
                                      4
                                                                         or more time domain samples in that DMT symbol 70 are
                                                                         larger than the maximum allowed digital value for the DMT
      2n, where M is the symbol count. In this example, a
mod 2it,                                                                 symbols 70. In multicarrier communication systems when
carrier signal having a carrier number N equal to 50 on DMT              clipping occurs, the transmission signal 38 does not accu-
symbol count M equal to 8 has a phase shift added to the phase 35 rately represent the input serial data bit signal 54.
characteristic of that carrier signal equal to                              In one embodiment, the DSL communication system 2
                                                                         avoids the clipping of the transmission signal 38 on a DMT
                                                                         symbol 70 by DMT symbol 70 basis. The DMT transmitter 22
                                 Jr
                                 7r          Jr
                                             7r                          detects (step 140) the clipping of the transmission signal 38.
                     (SO+
                     (50 + 8) x 4(mod2n) = = 2'
                                             ;;:·
                                 4                                    40 If a particular DMT symbol 70 clips in the time domain to
                                                                         produce a clipped transmission signal 38, the DMT transmit-
                                                                         ter 22 substitutes (step 150) a predefined transmission signal
The carrier signal with the same carrier number N equal to 50
                                                                         78 for the clipped transmission signal 38.
on the next DMT symbol count M equal to 9 has a phase shift
                                                                            The predefined transmission signal 78 has the same dura-
added to the phase characteristic of that carrier signal equal to 45
                                                                      45 tion as a DMT symbol 70 (e.g., 250 ms) in order to maintain
                                                                         symbol timing between the DMT transmitter 22 and the
                                n            3n
                                                                         remote receiver 34. The predefined transmission signal 78 is
                                Jr           3Jr
                     (SO+
                     (50 + 9)x 4 (mod2Jr)
                                             4.
                                4 (mod2n) == 4'                          not based on (i.e., independent of) the modulated input data
                                                                         bit stream 54; it is a bit value pattern that is recognized by the
                                                                      50 remote receiver 34 as a substituted signal. In one embodi-
                                                                         ment, the predefined transmission signal 78 is a known
                  Phase Shifting Example #3                              pseudo-random sequence pattern that is easily detected by the
                                                                         remote receiver 34. In another embodiment, the predefined
                                                                         transmission signal 78 is an "all zeros" signal, which is a zero
   Phase shifting example #3 (PS #3) corresponds to adjust- 55
                                                                      55 voltage signal produced at the DMT transmitter 22 output
ing the phase characteristic of the QAM-modulated carrier
                                                                         (i.e., zero volts modulated on all the carrier signals). In addi-
signal associated with a carrier number N by
                                                                         tion to easy detection by the remote receiver 34, the zero
                                                                         voltage signal reduces the power consumption of the DMT
                                                                         transmitter 22 when delivered by the DMT transmitter 22.
                                                                      60 Further, a pilot tone is included in the predefined transmission
                                                                         signal 78 to provide a reference signal for coherent demodu-
                                                                         lation of the carrier signals in the remote receiver 34 during
      2n, where XN is an array ofN pseudo-random numbers.
mod 2it,                                                                 reception of the predefined transmission signal 78.
In this example, a carrier signal having a carrier number N                 After the remote receiver 34 receives the transmission sig-
                                       1, 4, 9, 5, ... ]J has a phase 65 nal
equal to 5 and XN equal to [3, 8, 1,4,9,5,                               na138,
                                                                              38, the remote receiver 34 determines iftheif the transmission
shift added to the phase characteristic of the carrier signal that       signal 38 is equivalent to the predefined transmission signal
is equal to                                                              78. In one embodiment, when the remote receiver 34 identi-




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                              9                                                                   10
fies the predefined transmission signal 78, the remote receiver    thereby causing a different set of time domain samples to be
34 ignores (i.e., discards) the predefined transmission signal     generated for the subsequent DMT symbol 70', although the
78.                                                                QAM symbols 58 used to produce both DMT symbols 70, 70'
   Following the transmission of the predefined transmission       are the same.
signal 78, the phase scrambler 66 shifts (step 120) the phase 5       If this different set of time domain samples (and conse-
characteristic of the QAM-modulated carrier signals (based         quently the transmission signal 38) is not clipped, the DMT
on one ofthe predefined parameters that varies over time). For     transmitter 22 sends the transmission signal 38. If one of the
example, consider that a set of QAM symbols 58 produces a          time domain samples in the different set of time domain
DMT symbol 70 comprising a plurality of time domain 10 samples 70 (and consequently the transmission signal 38) is
                                                                10 clipped, then the DMT transmitter 22 sends the predefined
samples, and that one of the time domain samples is larger
                                                                   transmission signal 78 again. The process continues until a
than the maximum allowed digital value for the DMT symbol
                                                                   DMT symbol 70 is produced without a time domain sample
70. Therefore, because the transmission signal 38 would be
                                                                   70 that is clipped. In one embodiment, the transmitter 22 stops
clipped when sent to the remote receiver 34, the DMT trans-        attempting to produce a non-clipped DMT symbol 70' forthe for the
mitter 22 sends the predefined transmission signal 78 instead. 15
                                                                15 particular set of QAM symbols 58 after generating a prede-
   After transmission of the predefined transmission signal        termined number of clipped DMT symbols 70'. At that
78, the DMT transmitter 22 again attempts to send the same         moment, the transmitter 22 can transmit the most recently
bit values that produced the clipped transmission signal 38 in     produced clipped DMT symbol 70' or the predetermined
a subsequent DMT symbol 70'. Because the generation of             transmission signal 78.
phase shifts in this embodiment is based on values that vary 20       The PAR of the DSL communication system 2 is reduced
over time, the phase shifts computed for the subsequent D MT       because the predefined transmission signal 78 is sent instead
symbol 70' are different than those that were previously com-      of the transmission signal 38 when the DMT symbol 70 clips.
puted for the DMT symbol 70 with the clipped time domain           For example, a DMT communication system 2 that normally
sample. These different phase shifts are combined to the           has a clipping probability of 10-7 for the time domain trans-
phase characteristics of the modulated carrier signals to pro- 25 mission signal 38 can therefore operate with a 10-5 probabil-
duce carrier signals of the subsequent DMT symbol 70' with         ityof  clipping andalower PARequal to 12.8 dB (as compared
                                                                   ityofclippingandalowerPARequal
different phase characteristics than the carrier signals of the    to 14.5 dB). When operating at a 10-5 probability of clipping,
DMT symbol 70 with the clipped time domain sample.                 assuming a DMT symbol 70 has 512 time-domain samples
   DMT communication systems 2 infrequently produce                70, the DMT transmitter 22 experiences one clipped DMT
transmission signals 38 that clip (e.g., approximately one clip 30 symbol 70 out of every
          7
every 10 time domain samples 70). However, if        the subse-
                                                  ifthe
quent DMT symbol 70' includes a time domain sample that
clips, then the predefined transmission signal 78 is again
transmitted (step 150) to the remote receiver 34 instead of the
clipped transmission signal 38. The clipping time domain 35
sample may be on the same or on a different carrier signal than
the previously clipped DMT symbol 70. The DMT transmit-            or 195 DMT symbols 70. This results in the predefined (non-
ter 22 repeats the transmission of the predefined transmission     data carrying) transmission signal 78 being transmitted, on
signal 78 until the DMT transmitter 22 produces a subsequent       average, once every 195 DMT symbols.
                                                                      Although increasing the probability of clipping to 10- 5
DMT symbol 70' that is not clipped. When the DMT trans- 40
mitter 22 produces a DMT symbol 70' that is not clipped, the       results  in approximately a 0.5% 1;195)
                                                                                                     l/19s) decrease in throughput,
DTM transmitter 22 transmits (step 160) the transmission           the PAR of the transmission signal 38 is reduced by 1.7 dB,
signal 38 to the remote receiver 34. The probability of a DMT      which reduces transmitter complexity in the form of power
symbol 70 producing a transmission signal 38 that clips in the     consumption and component linearity.
time domain depends on the PAR of the transmission signal 45          While the invention has been shown and described with
38.
                                                                   reference to specific preferred embodiments, it should be
   For example, the following phase shifting example, PST          understood by those skilled in the art that various changes in
#4, illustrates the method used by the phase scrambler 66 to       form and detail may be made therein without departing from
combine a different phase shift to the phase characteristic of     the spirit and scope of the invention as defined by the follow-
each carrier signal to avoid the clipping of the transmission 50 ing claims. For example, although the specification uses DSL
signal 38.                                                         to describe the invention, it is to be understood that various
                                                                   form ofDSL can be used, e.g., ADSL, VDSL, SDSL, HDSL,
                  Phase Shifting Example #4                        HDSL2, or SHDSL. It is also to be understood that the prin-
                                                                   ciples of the invention apply to various types of applications
   Phase shifting example #4 (PS #4) corresponds to adjust- 55  55 transported over DSL systems (e.g., telecommuting,
                                                                                                                              video
ing the phase characteristic of the carrier signal associated      conferencing, high speed Internet access, video-on demand).
with a carrier number N by                                          What is claimed:
                                                                    1. A method, in a multicarrier communications transceiver
                                                                  comprising a bit scrambler followed by a phase scrambler,
                           7r
                           3" x(M +N),                         60 comprising:
                                                                    scrambling, using the bit scrambler, a plurality of input bits
                                                                       to generate a plurality of scrambled output bits, wherein
      2Jt, where M
mod 2it,         Mis
                   is the DMT symbol count. In this example,           at least one scrambled output bit is different than a
if the DMT symbol 70 clips when the DMT symbol count M
ifthe                                                                  corresponding input bit;
equals 5, the predefined transmission signal 78 is transmitted 65   scrambling, using the phase scrambler, a plurality of carrier
instead of the current clipped transmission signal 38. On the          phases associated with the plurality of scrambled output
following DMT symbol period, the DMT count M equals 6,                 bits;




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                                                         Appx115
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                              11                                                                    12
   transmitting at least one scrambled output bit on a first                wherein the phase scrambler is operable to scramble a
      carrier; and                                                          p!urality of phases associated with the plurality of input
   transmitting the at least one scrambled output bit on a                  bits.
                                                                            bIts.
      second carrier.                                                    14_. The communication device of claim 13, wherein the
                                                                         14:
                                                                         14.
   2. The method of claim 1, wherein the transceiver is a cable 5 multJcarrier
                                                                      multicarrier transmitter is further operable to transmit at least
transceiver.                                                          one scrambled output bit on a first carrier and transmit the at
   3. The method of claim 1, wherein the transceiver is a DSL
                                                                      least one scrambled output bit on a second carrier.
transceiver.                                                             15. The communication device of claim 14, wherein the
   4. The method of claim 1, wherein the transceiver is a             transceiver is a cable transceiver.
wireless transceiver.                                              10    16. The communication device of claim 14, wherein the
      ~he method of claim 1, wherein the transceiver is oper-
   5. The                                                             transceiver is a DSL transceiver.
      tor high speed internet access.
able for                                                                 17. The
                                                                              Thc communication device of claim 14, wherein the
   6. The method of claim 1, wherein the transceiver is oper-
                                                                      transceiver is a wireless transceiver.
able to transport video.                                                 18. The communication device of claim 14, wherein the
         multi carrier communications transceiver comprising: 15 communication device is operable for high speed internet
   7. ~ multicarrier
     bIt scrambler operable to scramble a plurality of input bits
   a bit                                                              access.
      to generate a plurality of scrambled output bits, wherein          19. The communication device of claim 14, wherein the
      at least one scrambled output bit is different than a           communication device is operable to transport video.
      corresponding input bit;                                           20. A method comprising:
     p~ase scrambler operable to scramble a plurality of car- 20
   a phase                                                               supporting, in a communication device comprising a mul-
      ner phases associated with the plurality of scrambled
      rier                                                                  ticarrier communications transceiver, a bit scrambler
      output bits; and                                                      and a phase scrambler for transmission of a plurality of
   a transmitter portion operable to transmit at least one                  input bits wherein the bit scrambler scrambles the plu-
      scrambled output bit on a first carrier and to transmit the           rality of input bits to generate a plurality of scrambled
      at least one scrambled output bit on a second carrier.       25       output bits, wherein at least one scrambled output bit is
   8. The transceiver of claim 7, wherein the transceiver is a              different than a corresponding input bit, and wherein the
cable transceiver.                                                          phase scrambler scrambles a plurality of phases associ-
   9. The transceiver of claim 7, wherein the transceiver is a
                                                                            ated with the plurality of input bits.
DSL transceiver.                                                         21. The method of claim 20 further comprising:
   10. The transceiver of claim 7, wherein the transceiver is a 30       transmitting at least one scrambled output bit on a first
wireless transceiver.                                                       carrier; and
   11. The transceiver of claim 7, wherein the transceiver is            transmitting the at least one scrambled output bit on a
operable for high speed internet access.                                    second carrier.
   12. The transceiver of claim 7, wherein the transceiver is            22. The method of claim 20, wherein the transceiver is a
                                                                   35 DSL transceiver.
operable to transport video.
   13. A communication device comprising:                                23. The method of claim 20, wherein the transceiver is a
   a multicarrier
     multi carrier transmitter operable to support a bit scram-       wireless transceiver.
      bler and a phase scrambler for transmission of a plurality         24. The method of claim 20, wherein the communication
      of input bits, wherein the bit scrambler is operable to         device is operable for high speed internet access.
      scramble the plurality of input bits to generate a plurality 40    25. The method of claim 20, wherein the communication
      of scrambled output bits, wherein at least one scrambled        device is operable to transport video.
     output bit is different than a corresponding input bit, and
                                                                                             * * * * *




                                                                                                                        Page 12 of 12




                                                          Appx116
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“any device that transmits and receives.” Ex. 1014, p. 709. Consistent with the

specification’s description of this term and the dictionary definition, and for the

purposes of this proceeding, the broadest reasonable construction of the term

“transceiver” includes a “device, such as a modem, with a transmitter and a

receiver.” Ex. 1009, p. 21.

      B.      Statutory Grounds for Challenges

      Challenge #1: Claims 1-3, 7-9, 13-16, and 20-22 are obvious under 35

U.S.C. § 103(a) over Shively (Ex. 1011) in view of Stopler (Ex. 1012). Shively

was filed on December 31, 1997. See Ex. 1011. Stopler was filed on February 26,

1999. See Ex. 1012. Accordingly, both Shively and Stopler are prior art under

§ 102(e).

      Challenge #2: Claims 4-6, 10-12, 17-19 and 23-25 are obvious under 35

U.S.C. § 103(a) over Shively in view of Stopler, and further in view of Gerszberg

(Ex. 1013). Gerszberg was filed on December 31, 1997. See Ex. 1013.

Accordingly, Gerszberg is prior art under § 102(e).

      C.      Level of Ordinary Skill in the Art

      The level of ordinary skill in the art may be reflected by the prior art of

record. See Okajima v. Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001); In re

GPAC Inc., 57 F.3d 1573, 1579 (Fed. Cir. 1995). Here, the person of ordinary skill

in the art is someone knowledgeable concerning multicarrier communications.



                                         9
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decode the transmitted bit. Ex. 1011, 16:21-29. Thus, Shively provides a “method

for increasing a data rate in a communication channel” by transmitting data on

“those parts of the band where transmission would otherwise be impossible.” Ex.

1011, 8:2-3 & 16:6-7.

                     a)      Brief Summary of Stopler

      Like Shively, Stopler describes multicarrier data transmission, including

specifically the use of discrete multitone transmission (DMT). Ex. 1012, 1:50-51.

Stopler explains that DMT is one type of multitone modulation, which involves “a

number of narrow-band carriers positioned at different frequencies, all transmitting

simultaneously in parallel.” Ex. 1012, 1:9-11 & 1:42-45.

      Stopler explains that its multitone modulation techniques are compatible

with various signal modulation technologies, an example of which employs 256

carriers positioned at different frequencies. Ex. 1012, 1:42-61; 12:55-57. Stopler

also explains that its signal transmission scheme may implement techniques of

DSL standards such as “ADSL (Asymmetric Digital Subscriber Line).” Ex. 1012,

9:37-41, 12:21-24.

      Stopler also explains that some of the available carriers may be reserved for

the transmission of overhead signals, such as pilot tones. Ex. 1012, 10:60-62 &

12:51-54. To randomize these overhead channels, Stopler employs a phase

scrambler. Ex. 1012, 12:24-26. A POSITA would have understood that the values



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transmitted in an overhead channel may not be random, and in fact, may be highly

structured. Ex. 1009, p. 24. Without the phase scrambler, the structured nature of

the overhead channel could contribute to an increase in the peak-to-average power

ratio of the transmitter. Ex. 1009, pp. 24-25.

      Stopler is analogous to the ’243 patent because both Stopler and the ’243

patent are in the same field of endeavor – data communications and processing. Ex.

1009 at 25; see also Ex. 1012, 1:7-8; Ex. 1001, 1:28-31.

                    b)      Reasons to Combine

      It would have been obvious for a POSITA to combine Shively and Stopler

because the combination is merely a use of a known technique to improve a similar

device, method or product in the same way. Ex. 1009 at 26.

      A POSITA would have recognized that by transmitting redundant data on

multiple carriers, Shively’s transmitter would suffer from an increased peak-to-

average power ratio. Ex. 1009, p. 26. This increase is due to the fact that the

overall transmitted signal in a multicarrier system is essentially the sum of its

multiple subcarriers. Id. When N subcarrier signals with the same phase are added

together, they have a peak power which is N times greater than their individual

maximum powers. Id.

      Since Shively’s subcarriers use quadrature amplitude modulation (QAM)—

which encodes bits to be transmitted by modulating the phase and amplitude of the



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subcarrier—transmitting the same bits on two different subcarriers causes those

subcarriers to have the same phase and amplitude. Id. By transmitting the same bits

on multiple subcarriers, Shively creates a situation where those multiple

subcarriers will be phase-aligned. Id. Having phase-aligned subcarriers causes a

high peak-to-average power ratio (PAR), since all of the subcarriers add up

coherently at the same time. Id. The ’243 patent acknowledges that it was known

for a high PAR to result from transmitting the same data on multiple carriers. Ex.

1001, 2:17-21.

      Since a high PAR brings numerous disadvantages, a POSITA would have

sought out an approach to reduce the PAR of Shively’s transmitter. Ex. 1009, p.

27.

      Stopler provides a solution for reducing the PAR of a multicarrier

transmitter. Specifically, Stopler teaches that a phase scrambler can be employed

to randomize the phase of the individual subcarriers. Ex. 1011, 12:24-28. A

POSITA would have recognized that by randomizing the phase of each subcarrier,

Stopler provides a technique that allows two subcarriers in Shively’s system to

transmit the same bits, but without those two subcarriers having the same phase.

Ex. 1009, p. 27. Since the two subcarriers are out-of-phase with one another, the

subcarriers will not add up coherently at the same time, and thus the peak-to-

average power ratio for the overall system will be less than in Shively’s original



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system. Ex. 1009, p.27-28.

         Combining Stopler’s phase scrambler into Shively’s transmitter would have

been a relatively simple and obvious solution to reduce Shively’s PAR. Ex. 1009,

p. 28.

         Market forces would have prompted the development of multicarrier

communications devices, such as Digital Subscriber Line (DSL) modems,

employing both redundant bit transmission and phase scrambling. As Shively

explains, effective use of redundant bit transmission actually increases the

available bandwidth by exploiting subcarriers that would otherwise be wasted

(unused). Combining redundant bit transmission with Stopler’s phase scrambling

technique would have allowed the development of faster DSL modems without

requiring more complex (and expensive) circuitry for handling an increased peak-

to-average power ratio. Ex. 1009, p. 28.

         Thus, it would have been obvious to combine Shively and Stopler as the

combination is merely the use of a known technique to improve a similar device,

method or product in the same way. Id., p. 29.

                     c)      Detailed Claim Analysis

Claim 1

[1.0] “A method, in a multicarrier communications transceiver comprising”

         Shively and Stopler each render this limitation obvious. Shively describes a


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“method for transmission in a multitone communication system.” Ex. 1011, 3:28-

29. In connection with Shively’s method, it was known to employ multicarrier

communications techniques, such as discrete multitone modulation, using a

modem. Ex. 1009, p. 29; Ex. 1011, 1:5-7 (“This invention relates to discrete

multitone transmission (DMT) of data by digital subscriber loop (DSL)

modems.”). DMT is an example of a multicarrier modulation system. See Ex.

1001, 1:35-38. As discussed in the claim construction of “transceiver,” a modem

is an example of a transceiver. Ex. 1009, p. 30.

      Shively illustrates in Fig. 2 (below) two communicating modems, where “a

transmitting modem 31 . . . [is] connected to a receiving modem 32.” Ex. 1011,

9:42, 9:63-64 & Fig. 2. The transmitting modem is a “multicarrier communications

transceiver.” Ex. 1009, p. 30.




Ex. 1011, Fig. 2.

      Similarly, Stopler teaches “a method and apparatus for encoding/framing a

data stream of multitone modulated signals.” Ex. 1012, 1:7-12. Stopler explains

that “[m]ultitone modulation is a signal transmission scheme which uses a number


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Trials@uspto.gov                                               Paper No. 7
571.272.7822                                       Filed: November 4, 2016

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                         CISCO SYSTEMS, INC.,
                               Petitioner,

                                      v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

                            Case IPR2016-01020
                            Patent 9,014,243 B2
                              ____________


Before SALLY C. MEDLEY, KALYAN K. DESHPANDE, and
TREVOR M. JEFFERSON, Administrative Patent Judges.

DESHPANDE, Administrative Patent Judge.



                                  DECISION
                      Institution of Inter Partes Review
                              37 C.F.R. § 42.108




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Patent 9,014,243 B2

                           I.    INTRODUCTION
      Cisco Systems, Inc. (“Petitioner”) filed a Petition requesting an inter
partes review of claims 1‒25 of U.S. Patent No. 9,014,243 B2 (Ex. 1001,
“the ’243 patent”). Paper 2 (“Pet.”). TQ Delta, LLC (“Patent Owner”) filed
a corrected Preliminary Response. Paper 6 (“Prelim. Resp.”). We have
jurisdiction under 35 U.S.C. § 314(a), which provides that an inter partes
review may not be instituted “unless . . . there is a reasonable likelihood that
the petitioner would prevail with respect to at least 1 of the claims
challenged in the petition.” After considering the Petition, the Preliminary
Response, and associated evidence, we conclude that Petitioner has
demonstrated a reasonable likelihood that it would prevail in showing the
unpatentability of claims 1‒25 of the ’243 patent. Thus, we authorize
institution of an inter partes review of claims 1‒25 of the ’243 patent.
                            A. Related Proceedings
      Petitioner indicates that the ’243 patent is the subject of several
proceedings. See Pet. 1.
                         B. The ʼ243 Patent (Ex. 1001)
      The ’243 patent discloses multicarrier communication systems that
lower the peak-to-average power ratio (PAR) of transmitted signals.
Ex. 1001, 1:26‒29. A value is associated with each carrier signal, and a
phase shift is computed for each carrier signal based on the value associated
with that carrier signal. Id. at 2:36‒40. The computed phase shift value is
combined with the phase characteristic of that carrier signal to substantially
scramble the phase characteristics of the carrier signals. Id. at 2:40‒43.
Figure 1 illustrates the multicarrier communication system and is reproduced
below:

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      Figure 1 illustrates the multicarrier communication system, digital
subscriber line (DSL) communication system 2 includes discrete multitoned
(DMT) transceiver 10 communicating with remote transceiver 14 over
communication channel 18 using transmission signal 38 having a plurality of
carrier signals. Id. at 3:25‒29. DMT transceiver 10 includes DMT
transmitter 22 and DMT receiver 26. Id. at 3:29‒30. Remote transceiver
also includes transmitter 30 and receiver 34. Id. at 3:30‒32. DMT
transmitter 22 transmits signals over communication channel 8 to receiver
34. Id. at 3:38‒41.
      DMT transmitter 22 includes quadrature amplitude modulation
(QAM) encoder 42, modulator 46, bit allocation table (BAT) 44, and phase
scrambler 66. QAM encoder 42 has a single input for receiving serial data


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bit stream 54 and multiple parallel outputs to transmit QAM symbols 58
generated by QAM encoder 42 from bit stream 54.
      Modulator 46 provides DMT modulation functionality and transforms
QAM symbols 58 into DMT symbols 70. Id. at 4:10‒13. Modulator 46
modulates each carrier signal with a different QAM symbol 58, and,
therefore, this modulation results in carrier signals having phase and
amplitude characteristics based on QAM symbol 58. Id. at 4:13‒16.
Modulator 46 also includes phase scrambler 66 that combines a phase shift
computed for each QAM-modulated carrier signal with the phase
characteristics of that carrier signal. Id. at 4:29‒32.
                             C. Illustrative Claim
      Petitioner challenges claims 1‒25 of the ’243 patent. Pet. 8–52.
Claims 1, 7, 13, and 20 are independent claims. Claims 2‒6 depend from
independent claim 1, claims 8‒12 depend from independent claim 7, claims
14‒19 depend directly or indirectly from independent claim 13, and claims
21‒25 depend from independent claim 20. Claim 1 is illustrative of the
claims at issue and is reproduced below:
      1.     A method, in a multicarrier communications transceiver
      comprising a bit scrambler followed by a phase scrambler,
      comprising:
             scrambling, using the bit scrambler, a plurality of input
      bits to generate a plurality of scrambled output bits, wherein at
      least one scrambled output bit is different than a corresponding
      input bit;
             scrambling, using the phase scrambler, a plurality of
      carrier phases associated with the plurality of scrambled output
      bits;
             transmitting at least one scrambled output bit on a first
      carrier; and


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              transmitting the at least one scrambled output bit on a
        second carrier.

Ex. 1001, 10:58‒11:4.
                  D. The Alleged Grounds of Unpatentability
        The information presented in the Petition sets forth proposed grounds
of unpatentability of claims 1‒25 of the ’243 patent under 35 U.S.C.
§ 103(a) as follows (see Pet. 8–52):1
                                                     Claims
             References
                                                    Challenged
     Shively2 and Stopler3                  1‒3, 7‒9, 13‒16, and 20‒22
     Shively, Stopler, and
                                          4‒6, 10‒12, 17‒19, and 23‒25
    Gerszberg4

                               II.   ANALYSIS
                             A. Claim Construction
        The Board interprets claims of an unexpired patent using the broadest
reasonable construction in light of the specification of the patent in which
they appear. See 37 C.F.R. § 42.100(b); see Cuozzo Speed Techs., LLC v.
Lee, 136 S. Ct. 2131, 2142–46 (2016). Under the broadest reasonable
construction standard, claim terms are given their ordinary and customary
meaning, as would be understood by one of ordinary skill in the art in the



1
  Petitioner supports its challenge with the Declaration of Jose Tellado, PhD.
(Ex. 1009).
2
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
3
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
4
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013)
(“Gerszberg”).
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context of the entire disclosure. In re Translogic Tech. Inc., 504 F.3d 1249,
1257 (Fed. Cir. 2007).
         1. “Multicarrier”
      Petitioner argues that the ’243 patent specification describes the term
“conventional multicarrier communications system” as using a “combination
of multiple carriers.” Pet. 8 (quoting Ex. 1001, 1:33‒47). Accordingly,
Petitioner argues that the term “multicarrier” should be construed to
encompass “multiple carriers.” Patent Owner argues that “[i]t is not
necessary at this stage of the proceedings to construe any claim terms.”
Prelim. Resp. 11‒12. On this record, we determine it is not necessary to
construe this term for the purposes of this decision.
         2. “Transceiver”
      Petitioner argues that the’243 patent specification describes that “[t]he
DMT transceiver 10 includes a DMT transmitter 22 and a DMT receiver
26.” Pet. 8 (quoting Ex. 1001, 3:25‒37). Petitioner argues that the ’243
patent specification also describes a “transceiver” as a wireless modem, and
a technical dictionary defines a “transceiver” as “any device that transmits
and receives.” Id. at 8‒9 (citing Ex. 1001, 3:38‒50; Ex. 1014, 709).
Accordingly, Petitioner argues that a “transceiver” should be construed to
mean “a ‘device, such as a modem, with a transmitter and a receiver.’” Id.
(citing Ex. 1009, 21). Patent Owner argues that “[i]t is not necessary at this
stage of the proceedings to construe any claim terms.” Prelim. Resp. 11‒12.
      We are persuaded by Petitioner, and, on this record, we interpret
“transceiver” to mean “a device, such as a modem, with a transmitter and
receiver.”
      B. Obviousness of Claims 1‒3, 7‒9, 13‒16, and 20‒22 over

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                              Shively and Stopler
      Petitioner contends that claims 1‒3, 7‒9, 13‒16, and 20‒22 of the
’243 patent are unpatentable under 35 U.S.C. § 103(a) as obvious over
Shively and Stopler. Pet. 10–42. For the reasons discussed below, the
evidence, on this record, indicates there is a reasonable likelihood that
Petitioner would prevail in showing that claims 1‒3, 7‒9, 13‒16, and 20‒22
of the ’243 patent are unpatentable under 35 U.S.C. § 103(a) as obvious.
          1. Shively (Ex. 1011)
      Shively discloses discrete multitoned transmission (DMT) of data by
digital subscriber loop (DSL) modems and the allocation of bits to the
discrete multitones. Ex. 1011, 1:5‒8. Bit allocation is performed to
optimize throughput within aggregate power and power spectral density
mask limits. Id. at 4:17‒19. The system includes a transmitting modem and
a receiving modem connected by a cable having four twisted pairs of
conductors. Id. at 9:63‒65. The modems include a source encoder, a
channel decoder, and a digital modulator to take in and transmit data from a
data source. Id. at 10:9‒12. The modems also include a digital
demodulator, a channel decoder, and a source decoder to receive the data
and supply it to a data sink. Id. at 10:12‒14. The source encoder
compresses data, applies the compressed data to the channel decoder, which
performs error correction. Id. at 10:15‒19. The error corrected data is
applied to the digital modulator, which acts as the interface with the
communication channel. Id. at 10:15‒22. The digital demodulator
constructs a data stream from the modulated signal and applies it to the
channel decoder, which performs error correction, and then applies the



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corrected data to the source decoder, which decompresses the data. Id. at
10:22‒26.
      In the QAM multitoned modulation, the spectrum is broken into
multiple sub-bands or QAM channels. Id. at 10:27‒29. The digital
modulator generates N QAM signal tones, one for each QAM channel. Id.
at 10:29‒30. The serial stream is segmented into N frames, each having
allocated to it ki bits of data. Id. at 10:30‒31. The multi-carrier modulator
generates N QAM tones, one for each channel, at the same symbol rate but
with a respective constellation for each channel. Id. at 10:35‒37.
         2. Stopler (Ex. 1012)
      Stopler discloses a method and apparatus for encoding/framing a data
stream of multitoned modulated signals to improve impulse burst immunity.
Ex. 1012, 1:8‒11. The encoding/framing scheme allows efficient operation
in multipoint to point channels affected by ingress and impulsive
interference. Id. at 5:11‒14. Two dimensional interleaving is performed,
with one dimension being time and the other dimension being frequency
(tones or sub-channels). Id. at 5:18‒20. Stopler further discloses a
diagonalization scheme, where data packets are spread over time in a
diagonal fashion, such that an impulse noise affects more than one user’s
packets, with the effect on each being reduced. Id. at 5:64‒67.
         3. Analysis
      The evidence set forth by Petitioner indicates there is a reasonable
likelihood that Petitioner will prevail in showing that claims 1‒3, 7‒9, 13‒
16, and 20‒22 are unpatentable under 35 U.S.C. § 103(a) as obvious over
Shively and Stopler. Pet. 10–42.



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      For example, the claim 1 preamble recites “[a] method, in a
multicarrier communications transceiver comprising a bit scrambler
followed by a phase scrambler.” Petitioner argues that the combination of
Shively and Stopler disclose the preamble. Pet. 15‒19. Petitioner argues
that Shively discloses a “method for transmission in a multitone
communication system,” and Shively teaches the use of modems to transmit
and receive communications. Id. at 15‒16 (quoting Ex. 1011, 3:28‒29;
citing 9:42, 9:63‒64, Fig. 2). Petitioner argues that Stopler discloses that
“[m]ultitone modulation is a signal transmission scheme which uses a
number of narrow-band carriers positioned at different frequencies, all
transmitting simultaneously in parallel” and “[o]ne type of multitone
transmission scheme is discrete multitone.” Id. at 16‒17 (quoting Ex. 1012,
1:42‒49, 1:50‒58; citing Ex. 1009, 31‒32) (emphasis omitted). Petitioner
further argues that Stopler discloses a transmitter that includes two
scramblers, a bit scrambler and a phase scrambler. Id. at 18 (citing Ex.
1012, 9:34‒37, Fig. 5; Ex. 1009, 33‒34).
      Claim 1 further recites “scrambling, using the bit scrambler, a
plurality of input bits to generate a plurality of scrambled output bits.”
Petitioner argues that Stopler discloses that “data output by the interleaver
54 is rearranged into a serial bit stream (MSB first) and then scrambled in
scrambler 56, which is used to randomize the coded and interleaved data.”
Id. at 19 (quoting Ex. 1012, 9:34‒48) (emphasis omitted). Petitioner argues
that a person with ordinary skill in the art would have recognized that
“Stopler’s generating a randomizing sequence that is XORed with an input
bit stream constitutes ‘scrambling . . . a plurality of input bits.’” Id. (citing
Ex. 1009, 35).

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      Claim 1 also recites “wherein at least one scrambled output bit is
different than a corresponding input bit.” Petitioner argues that Stopler
discloses that “the bits of the serial bit stream are ‘scrambled in scrambler
56’ to ‘randomize’ the data.” Id. at 20 (citing Ex. 1012, 9:34‒47). Petitioner
argues that a person with ordinary skill would have recognized that “the
XOR operation would result in at least one input bit to be changed when the
corresponding bit in the randomizing sequence has a value of 1.” Id. at 21
(citing Ex. 1009, 37).
      Claim 1 additionally recites “scrambling, using the phase scrambler, a
plurality of carrier phases.” Petitioner argues that Stopler discloses that “the
phase scrambler applies ‘a phase scrambling sequence’ to ‘data in the form
of m-tuples which are to be mapped into QAM symbols.’” Id. at 21 (quoting
Ex. 1012, 12:20‒28). Petitioner argues that Stopler discloses that “the phase
scrambled symbol are provided to a modulator that performs signal
modulation.” Id. at 21‒22 (citing Ex. 1012, 12:55‒57, Fig. 5; Ex. 1009, 39‒
40). Petitioner further argues that both Shively and Stopler disclose
“transmitting information by modulating multiple carrier frequencies.” Id. at
22 (citing Ex. 1011, 8:3‒13; Ex. 1012, 1:42‒49, 1:50‒61; Ex. 1009, 40).
      Claim 1 further recites “a plurality of carrier phases associated with
the plurality of scrambled output bits.” Petitioner argues that the
combination of Shively and Stopler discloses that “the plurality of carrier
phases are based on the symbols provided to the modulator” and Stopler
further discloses “the symbols are mapped from m-tuple data . . . [where] the
m-tuple data provided to QAM mapper and phase scrambler 82 are formed
by processing the data output by the big scrambler 56 on an ‘upper level’



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and a ‘lower level.’” Id. at 23 (citing Ex. 1012, 9:48‒55, 10:1‒7, 10:40‒
11:50, 11:51‒54, 12:20‒22, Fig. 5; Ex. 1009, 42‒43).
      Claim 1 also recites “transmitting at least one scrambled output bit on
a first carrier” and “transmitting the at least one scrambled output bit on a
second carrier.” Petitioner argues that Shively discloses determining “a
respective carrier modulated to transmit one bit in each of a plurality of
multitone subchannels of the channel” and “modulating a first set of
respective carriers to represent respective unique portions of the data stream
in at least a subset of those of the multitone subchannels.” Id. at 24‒25
(quoting Ex. 1011, 8:3‒6, 8:5‒13). Petitioner further argues that Stopler
discloses “transmitting data bits by modulating the data bits on carriers using
quadrature amplitude modulation (QAM) and multitoned (multicarrier)
modulation.” Id. at 25 (citing Ex. 1012, 1:42‒49, 12:20‒28). Petitioner
explains that it would have been obvious to a person with ordinary skill in
the art “to employ the techniques of Shively and Stopler to transmit at least
one scrambled output bit that is provided to the modulator.” Id. (citing Ex.
1009, 49). Petitioner further argues that Shively discloses transmitting a
portion of data on multiple carriers, and, therefore, meets the “second
carrier” claim limitation. Id. at 26‒27.
      Petitioner argues that “[i]t would have been obvious for a POSITA to
combine Shively and Stopler because the combination is merely a use of a
known technique to improve a similar device, method or product in the same
way.” Id. at 13 (citing Ex. 1009, 26). Petitioner explains that a person of
ordinary skill in the art would have recognized that “by transmitting
redundant data on multiple carriers, Shively’s transmitter would suffer from
an increased peak-to-average power ratio” because “the overall transmitted

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signal in a multicarrier system is essentially the sum of its multiple carriers.”
Id. (citing Ex. 1009, 26). Petitioner asserts that a person of ordinary skill in
the art “would have sought out an approach to reduce the [(peak-to-average
power ratio)] PAR of Shively’s transmitter” and “Stopler provides a solution
for reducing the PAR of a multicarrier transmitter.” Id. at 14 (citing
Ex. 1009, 27). Petitioner argues that Stopler discloses “a phase scrambler
[that] can be employed to randomize the phase of the individual subcarriers”
(Id. at 14 (quoting Ex. 1011, 12:24‒28)) and “[a] POSITA would have
recognized that by randomizing the phase of each subcarrier, Stopler
provides a technique that allows two subcarriers in Shively’s system to
transmit the same bits, but without those two subcarriers having the same
phase.” Id. at 14. Petitioner explains that “[s]ince the two subcarriers are
out-of-phase with one another, the subcarriers will not add up coherently at
the same time,” thereby reducing the peak-to-average power ratio (PAR) in
Shively’s system. Id. at 14‒15. Accordingly, Petitioner argues that
“[c]ombining Stopler’s phase scrambler into Shively’s transmitter would
have been a relatively simple and obvious solution to reduce Shively’s
PAR.” Id. at 15 (citing Ex. 1009, 28).
      Patent Owner argues that “no review should be instituted because
Petitioner has not provided a sufficient rationale to combine Shively and
Stopler.” Prelim. Resp. 12. Specifically, Patent Owner argues (1) Shively
does not suffer from an increased peak-to-average power ratio (PAR), (2)
Shively only uses a small number of carriers and therefore would not suffer
from a PAR problem, (3) Stopler is ambiguous as to what it teaches, and (4)
Petitioner’s rationale for combining Shively and Stopler suffers from
hindsight bias. Id. at 12‒20.

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       On this record, we are not persuaded by Patent Owner’s arguments
because Patent Owner’s arguments do not rebut the arguments set forth by
Petitioner, based on evidence of record. Specifically, Patent Owner set forth
attorney argument in substitution for evidence. Petitioner explains, through
the testimony of Dr. Tellado, that a person with ordinary skill in the art
would have recognized that the combination of Shively and Stopler is
nothing more than the use of a known technique to improve a similar device,
method or product. Pet. 13 (citing Ex. 1009, 26). Dr. Tellado further
explains that a person with ordinary skill in the art would have recognized
that Shively would suffer from increased PAR. Id. Patent Owner’s
arguments regarding Shively’s lack of increased PAR and Stopler’s
ambiguity are not persuasive because they are tantamount to attorney
arguments not based on any evidence of record. Furthermore, Dr. Tellado
discloses that the knowledge of the advantages and benefits of the
combination were known at the time of the invention, and, accordingly, we
are not persuaded that Petitioner’s rationale for combining Shively and
Stopler is based on impermissible hindsight. See Pet. 13‒15; Ex. 1009, 26‒
28.
      C. Obviousness of Claims 4‒6, 10‒12, 17‒19, and 23‒25 over
                     Shively, Stopler, and Gerszberg
       Petitioner contends that claims 4‒6, 10‒12, 17‒19, and 23‒25 of the
’243 patent are unpatentable under 35 U.S.C. § 103(a) as obvious over
Shively, Stopler, and Gerszberg. Pet. 42–52. For the reasons discussed
below, the evidence, on this record, indicates there is a reasonable likelihood
that Petitioner would prevail in showing that claims 4‒6, 10‒12, 17‒19, and
23‒25 of the ’243 patent are unpatentable under 35 U.S.C. § 103(a) as
obvious.
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          1. Gerszberg (Ex. 1013)
      Gerszberg discloses a telephone network interface unit typically
disposed on the outside of a home or small business. Ex. 1013, 1:6‒9. An
intelligent services director (ISD) is placed near a customer’s premises for
multiplexing and coordinating many digital services on to a single twisted-
pair line. Id. at 2:12‒23. A facilities management platform (FMP) is placed
in the local telephone network’s central office for routing data to an
appropriate interexchange company network. Id. A network server platform
(NSP) is coupled to the FMP. Id.
          2. Analysis
      The evidence set forth by Petitioner indicates there is a reasonable
likelihood that Petitioner will prevail in showing that claims 4‒6, 10‒12, 17‒
19, and 23‒25 are unpatentable under 35 U.S.C. § 103(a) as obvious over
Shively and Stopler. Pet. 42–52.
      For example, the claim 4 recites “[t]he method of claim 1, wherein the
transceiver is a wireless transceiver,” claim 5 recites “[t]he method of claim
1, wherein the transceiver is operable for high speed internet access,” and
claim 6 recites “[t]he method of claim 1, wherein the transceiver is operable
to transport video.” Petitioner argues that, as discussed above, the
combination of Shively and Stopler renders claim 1 obvious. See Section
II.B.3. Petitioner further argues that Gerszberg discloses the additional
limitations of claims 4‒6. Pet. 47‒49. Petitioner explains that Gerszberg
discloses a “transceiver [that] is ‘coupled to a central office [] via a twisted-
pair wire, hybrid fiber interconnection, wireless and/or other customer
connection.” Id. at 48 (quoting Ex. 1013, 2:67‒3:9) (emphasis omitted).
Petitioner also argues that Gerszberg discloses “‘[h]igh-speed access to the

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Internet’ and the ‘ability to offer ultra fast Internet access.’” Id. (quoting Ex.
1013, 7:44–60, 8:16‒24). Petitioner additionally argues that Gerszberg
discloses “transporting ‘video’ and providing ‘[i]nteractive video
teleconferencing.’” Id.at 49 (quoting Ex. 1013, 8:16‒36, 10:63‒11:3).
      Petitioner further argues that a person with ordinary skill in the art
would have combined Gerszberg with Shively/Stopler “because Shively
explicitly refers to Gerszberg and incorporates Gerszberg by reference.” Id.
at 43–44 (citing Ex. 1011, 18:7‒9; Ex. 1013, 16:52‒53; Ex. 1009, 69;
Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1329 (Fed.
Cir. 2001) (holding “[w]hen a document is ‘incorporated by reference’ into a
host document, such as a patent, the referenced document becomes
effectively part of the host document as if it were explicitly contained
therein.”)). Petitioner alternatively argues that “it would have been obvious
to combine the teachings of Gerszberg with Shively and Stopler because the
combination is merely the use of a known technique to improve a similar
device, method or product in the same way.” Id. at 44 (citing Ex. 1009, 69).
Petitioner explains that both Shively and Stopler “describe transmitting data
using DSL and multitone communication technologies” and a person with
ordinary skill in the art would have recognized that DSL “was intended to
provide data services such as high-speed internet and video to telephone
subscribers.” Id. (citing Ex. 1011, 1:5‒8; Ex. 1012, 1:50‒61, 90:37‒41,
12:21‒24, 12:55‒57; Ex. 1009, 69). Petitioner argues that it was known that
“Service Systems” that are offered by DSL technologies include “Internet
access,” “Interactive video,” and “Videoconferenc[ing].” Id. at 44‒45
(citing Ex. 1015, 100, 102, 104, Fig. 1). Accordingly, Petitioner argues that
the “known technique for providing Internet and video services, as disclosed

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by Gerszberg, would be applied to the combination of Shively and Stopler to
provide the advantage of addressing the market need for such services.” Id.
at 46 (citing Ex. 1013, 7:44‒60, 8:16‒36, 10:63‒11:3).
       Patent Owner argues that this ground relies on Shively and Stopler
and “no review should be instituted because Petitioner has not provided a
sufficient rationale to combine Shively and Stopler.” Prelim. Resp. 12. We
have already address this argument above, and, for the same reasons
discussed above, are not persuaded. See Section II.B.3.
                                D. Conclusion
       For the foregoing reasons, we are persuaded that Petitioner has met its
burden of showing a reasonable likelihood that claims 1‒25 of the ’243
patent are unpatentable.


                                III.    ORDER
       After due consideration of the record before us, and for the foregoing
reasons, it is:
       ORDERED that pursuant to 35 U.S.C. § 314, an inter partes review is
hereby instituted as to the following grounds:
       1. claims 1‒3, 7‒9, 13‒16, and 20‒22 of the ’243 patent as
           unpatentable under 35 U.S.C. § 103(a) over Shively and Stopler;
       2. claims 4‒6, 10‒12, 17‒19, and 23‒25 of the ’243 patent as
           unpatentable under 35 U.S.C. § 103(a) over Shively, Stopler, and
           Gerszberg;
       FURTHER ORDERED that no other grounds are instituted; and
       FURTHER ORDERED that pursuant to 35 U.S.C. § 314(a), inter
partes review of the ʼ243 patent is hereby instituted commencing on the

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entry date of this Order, and pursuant to 35 U.S.C. § 314(c) and 37 C.F.R.
§ 42.4, notice is hereby given of the institution of a trial.




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         UNITED STATES PATENT AND TRADEMARK OFFICE
                         _____________

          BEFORE THE PATENT TRIAL AND APPEAL BOARD
                         _____________

            CISCO SYSTEMS, INC. and DISH NETWORK, LLC
                             Petitioners

                                    v.

                            TQ DELTA, LLC
                              Patent Owner
                             _____________


                         Case No. IPR2016-01020
                           Patent No. 9,014,243
                             _____________


         PATENT OWNER RESPONSE UNDER 37 CFR § 42.120




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I.    INTRODUCTION

      Patent Owner TQ Delta, LLC submits this Patent Owner Response under 37

CFR §42.120 to the Petition filed by Cisco, Inc. requesting inter partes review for

claims 1–25 of U.S. Pat. No. 9,014,243 (“the ’243 patent”).

      The Board instituted inter partes review on two grounds:

      1. whether claims 1‒3, 7‒9, 13‒16, and 20‒22 of the ’243 patent are
      unpatentable under 35 U.S.C. § 103(a) over U.S. Pat. No. 6,144,696
      (“Shively”) and U.S. Pat. No. 6,625,219 (“Stopler”); and

      2. whether claims 4‒6, 10‒12, 17‒19, and 23‒25 of the ’243 patent are
      unpatentable under 35 U.S.C. § 103(a) over Shively, Stopler, and U.S. Pat.
      No. 6,424,646 (“Gerszberg”).

      After institution, additional parties—including: Dish Network, LLC;

Comcast Cable Communications, LLC; Cox Communications, Inc.; Time Warner

Cable Enterprises LLC; Verizon Services Corp.; and ARRIS Group, Inc.—filed

petitions that are identical in all substantive respects to the Cisco Petition. See

IPR2017-00254 and IPR2017-00418. These additional parties moved to join as

petitioners, and collectively with Cisco, are referred to herein as “Petitioners.” For

brevity, this Patent Owner response will cite only to the Cisco Petition and its

corresponding exhibits.

      In the Institution Decision, the Board did not reach the merits of Patent

Owner’s arguments in the Patent Owner Preliminary Response, but rather


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characterized them as “attorney argument” and accepted Petitioners’ expert

declarant’s testimony as true because Patent Owner did not support it’s argument

with expert testimony. This Patent Owner Response is fully supported by the cited

evidence, including the declaration of Dr. Robert T. Short.

      The Petition fails to prove, by a preponderance of the evidence, that any

claim of the ’243 patent is unpatentable because there is no credible or accurate

evidence demonstrating why one having ordinary skill in the art would have

combined Shively and Stopler. Petitioners’ rationale for the combination

fundamentally relies on the contention that Shively suffers from a problem (i.e., a

problem with its “peak-to-average power ratio” or “PAR”) that Stopler solves the

purported problem by performing “phase scrambling.” But, Shively does not have

a PAR problem so there would have been no motivation to look for a solution.

      Furthermore, Stopler does not disclose phase scrambling as recited in the

claims.

      Petitioners misunderstand the teachings of these references, make

unsupported assumptions having no basis in fact, and, ultimately rely on only

hindsight bias to cobble together the references.

      As such, Petitioners’ grounds for alleged obviousness fail. Patent Owner

respectfully requests that the Board issue a Final Written Decision finding that

Petitioners did not meet their burden to prove unpatentability of claims 1–25 of the



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’243 patent.

II.    INTRODUCTION TO TECHNOLOGICAL CONCEPTS
       In order to understand the issues at hand in this IPR, it is first necessary to be

able to answer the following questions:

            1) What is a multicarrier system?

            2) What is peak-to-average power ratio, or “PAR”?

            3) Under what conditions does a PAR “problem” occur?

            4) How are the terms “symbol” and “carrier” used in this Patent Owner
               Response and accompanying declaration?

This introduction answers these questions.

       A.      Multicarrier Systems
       The ’243 patent discloses a system that communicates using multicarrier

signals. Ex. 1001 at 1:26–29. A multicarrier signal includes a number of carrier

signals (or carriers) each operating at a different frequency.          Each carrier is

modulated to encode one or more bits (i.e., “1” or “0”). Each carrier effectively

serves as a separate sub-channel for carrying data. The carriers are combined as a

group to produce a transmission signal, which is transmitted across a transmission

medium (e.g., phone lines, coaxial cable, the air, etc.) to a receiver. See Ex. 2003

at ¶ 17.

       In an example illustrated below, four carriers—Carrier 1, Carrier 2, Carrier


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3, and Carrier 4—are combined simultaneously into one transmission signal.




See Ex. 2003 at ¶ 18.

      Multicarrier systems may use the phase of carriers to encode different bit

values. In the example illustrated above, a carrier with a phase of zero represents a

bit value of “0”; conversely, a carrier with a phase-shift of π (or 180°) represents a

bit value of “1”. In this example, Carriers 1, 2, and 4 have a phase-shift of π, and

therefore each represent a “1”. Carrier 3 has as phase of zero, and therefore

represents a “0”. Together, these four carriers encode input bits having binary

values of 1, 1, 0, and 1. This information is transmitted as a single transmission

signal—that is, the irregular waveform shown above on the right side of the figure.

In practice, a multicarrier transmission signal will typically comprise a

combination of many more than four carriers (e.g., hundreds or even thousands of


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carriers) and in this way can substantially increase the “speed” or data carrying

capacity of the system. See Ex. 2003 at ¶ 19.

        B.     Peak-to-Average Power Ratio (“PAR”)
        A multicarrier transmission signal can be characterized by a metric known as

“PAR,” which stands for peak-to-average ratio or peak-to-average power ratio. Ex.

1001 at 1:60–65. As the ’243 patent explains, “The PAR of a transmission signal

is the ratio of the instantaneous peak value (i.e., maximum magnitude) of a signal

parameter (e.g., voltage, current, phase, frequency, power) to the time-average

value of the signal parameter.” Id. at 1:65–2:2 (emphasis added). References to

PAR herein relate to PAR for the power of a transmission signal. See Ex. 2003 at

¶ 20.

        One of the central issues in this IPR relates to PAR. In the following

illustration, a signal (blue) has a peak power (red line) and an average power (black

line). The ratio of the peak power to the average power of the signal is the PAR.




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See Ex. 2003 at ¶ 21.

      A high PAR can occur when a large number (or percentage) of the carriers

have the same phase.      The ’243 patent recognized that: “If the phase of the

modulated carriers [in a transmission signal] is not random, then the PAR can

increase greatly.” Ex. 1001 at 2:15–16. The phases of the carriers would not be

“random,” for example, when the underlying data being modulated is repetitive

(e.g., a long string of 0s or a long string of 1s), or where the same bit or bits is/are

purposely sent in a redundant manner on multiple carriers. In the example below,

all 25 of the carriers have the same phase of zero (which would be the case if the

same bit or bits was/were sent on every carrier). Because the carrier signals are

“in-phase,” their amplitudes will add together to create a transmission signal



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(illustrated on the right side of the figure below) having large spikes in amplitude

and, therefore, a high PAR.




See Ex. 2003 at ¶ 22.

      C.     PAR “Problem”
      Because a multicarrier transmission signal is the sum of many carrier

signals, the transmission signal is expected to have a significant PAR.

Conventional multicarrier systems, therefore, were designed to accommodate a

degree PAR. There is only a PAR “problem,” however, when an undue amount of

PAR-induced errors occur in a multicarrier transmitter. See Ex. 2003 at ¶ 23.

      Electronic components in a multicarrier transceiver are ideally designed to

process multicarrier signals without distortion. Distortion occurs when a signal

exceeds the capacity (or dynamic range) of an electronic component, such as an


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amplifier, a digital-to-analog converter, or an analog-to-digital converter. When

the maximum dynamic range of a component is exceeded, the signal will become

distorted or will “clip.”




See Ex. 2003 at ¶ 24.

      As a result of clipping, the portion of the signal exceeding the component’s

dynamic range is truncated and the information in the cut off signal portion is lost.

See Ex. 2003 at ¶ 25.

      One way to reduce the probability of clipping is to use transceiver

components with larger dynamic ranges.        Such components, however, can be

expensive and may consume a relatively large amount of power. Increasing the

dynamic ranges of the components to eliminate any possibility of clipping,



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therefore, can be impractical. See Ex. 2003 at ¶ 26.

       Instead of demanding ideal circuitry, multicarrier systems are designed to

actually allow a certain amount of clipping. This design criterion is specified as a

“clipping rate.” One such multicarrier system is digital subscriber line (“DSL”).1

In DSL at the time of the invention (referred to herein as “ADSL-1995”) the

maximum allowable clipping rate is one in every 107 (ten million) samples, which

corresponds to a clipping probability of 10-7 (or one in ten million). Ex. 1017 at p.

48, § 6.11.1. This exact clipping probability is also referenced in the ’243 patent.

See Ex. 1001 at 2:6–8. See Ex. 2003 at ¶ 27.

       In ADSL-1995, the ideal sampling rate is approximately 2.2 million

samples/second. Given this sampling rate and a clipping probability of 10-7, there

would be a clipping error when processing a transmission signal about once every


1
    This is an apt example, as DSL is the subject technology of a preferred

embodiment in the ’243 patent (Ex. 1001 at 3:25–26), Shively (Ex. 1011 at 1:4–5),

Stopler (Ex. 1012 at 12: 23–24), and Gerszberg (Ex. 1013 at 1:19–26).               A

particular DSL standard in use at the time of the invention is defined in Petitioners’

Exhibit 1017—ANSI standard T1.413-1995 (“ADSL-1995”). The ADSL-1995

standard is described in Shively (Ex. 1011 at 1:51–53 and 2:12–24) and is

discussed in the Petition at p. 46. See Ex. 2003 at ¶ 28.



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4.55 seconds on average. This clipping rate is deemed acceptable because, at this

rate, error correction methods are capable of fixing the errors cause by clipping.

See Ex. 2003 at ¶ 29.

      A PAR “problem” exists when the probability of clipping or average

clipping rate exceeds the maximum allowable rate. In the example above, if there

is a clipping error once every 3 seconds (on average), then a PAR problem exists—

because the rate of clipping is unacceptably high since 3 seconds is less than 4.55

seconds. As the inventor of the ’243 patent recognized, “If the phase of the

modulated carriers is not random, then the PAR can increase greatly.” Ex. 1001 at

2:15–16. “An increased PAR can result in a system with high power consumption

and/or with high probability of clipping the transmission signal.” Id. at 2:25–27

(emphasis added). Contrarily, if probability of clipping or average clipping rate

does not increase above the acceptable rate of the system (e.g., 10-7 or once every

4.55 seconds on average in ADSL-1995), then there is no PAR problem. See Ex.

2003 at ¶ 30.

      One way to decrease the impact of PAR and reduce the probability of

clipping is by reducing the overall signal power below the maximum overall signal

power for which the system was designed, as depicted below.




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See Ex. 2003 at ¶ 31.

      As discussed below in § IV.A, the system disclosed in Shively is an example

of a system in which the overall signal power is reduced below the maximum

overall signal power for which the system was designed. Such power reduction is

shown by Shively, and it results in a system with virtually no clipping at all. See

Ex. 2003 at ¶ 32.

      D.     A Note On Terminology
      There is some overlap and apparent inconsistency with certain terminology

used by Petitioners and the references of record. Particularly confusing is the use

of “symbol.” Generally, “symbol” can have two meanings. First, “symbol” can

refer to information transmitted on one carrier during a predefined time period (i.e.,


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a “symbol period”).      Second, “symbol” can refer to all of the information

transmitted on all of the carriers in a symbol period.       The individual carrier

symbols are often referred to as “QAM symbols,” where “QAM” (Quatrature

Amplitude Modulation) is a commonly-used type of modulation used to modulate

a carrier symbol onto a carrier. A multicarrier “symbol” (i.e., the collection of

multiple carrier symbols) is often referred to as a “DMT symbol,” where “DMT”

(Discrete Multitone) is a type of multicarrier technology. See Ex. 2003 at ¶ 33.

      In order to keep things clear and to avoid apparent inconsistency/overlap

with the term “symbol,” this Patent Owner Response and accompanying

declaration employ the terms “carrier” and “symbol” as follows:

           “carrier” means a carrier symbol (e.g., a QAM symbol); and

           “symbol” means a collective multicarrier symbol in a single symbol

             period (e.g., a DMT symbol).

See Ex. 2003 at ¶ 34. This Patent Owner Response and accompanying declaration

also use appropriate editorializing to distinguish between a “carrier” and a

“symbol” in the references of record, the Petition, and Petitioners’ expert’s

declaration. See id. at ¶ 35.

      Further adding to potential confusion is that the terms “carrier,”

“subcarrier,” “band,” “sub-band,” “bin,” “channel,” and “tone” are often used

interchangeably. Ex. 1011 at 1:42–43 (“sub-bands or frequency bins”); id. at 1:48


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(“sub-band channels”); id. at 5:13–15 (“carrier”); id. at 10:40–41 (“subcarriers”);

id. at 12:39 (“bin (channel)”); Ex. 1012 at 1:41 (“tones or bands”).               For

consistency, Patent Owner has used the term “carrier” as much as possible in this

Patent Owner Response and accompanying declaration. See Ex. 2003 at ¶ 36.

III.   CLAIM CONSTRUCTION
       Petitioners proposed to construe two claim terms: “multicarrier” and

“transceiver.” Patent Owner maintains that it is not necessary to construe either of

these terms to resolve the issues at hand.

       Additionally, Patent Owner proposes to construe “scramble…a plurality of

carrier phases” to mean “scramble a plurality of carrier phases in a single

multicarrier symbol.”

       A.     “Multicarrier”
       With respect to “multicarrier,” the Board agreed with Patent Owner that

there is no need to construe this term for the purposes of the institution decision.

       B.     “Transceiver”
       While the Board opted to construe “transceiver,” Patent Owner maintains

that a construction is not necessary to evaluate the grounds of unpatentability

presented by the Petitioners. The Board adopted Petitioners’ proposal, namely that

a “transceiver” is “a device, such as a modem, with a transmitter and a receiver.”

Institution Decision, Paper No. 7 at p. 6. In a corresponding district court matter,


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Patent Owner proposed to construe “transceiver” to mean “a communications

device capable of transmitting and receiving data over the same physical medium

wherein the transmitting and receiving functions are implemented using at least

some common circuitry.”        Ex. 2007 at p. 8.      The district court construed

“transceiver” to mean “a communications device capable of transmitting and

receiving data wherein the transmitter portion and receiver portion share at least

some common circuitry.”        See id. at pp. 8–9.      Petitioners’ arguments fail

irrespective of which of the foregoing constructions for “transceiver” is used.

        C.     “Scrambling…a Plurality of Carrier Phases”
        In the context of the ’243 patent, “scrambl[e/ing]…a plurality of carrier

phases”—or the variant “scramble…a plurality of phases”—should be construed to

mean “adjusting the phases of a plurality of carriers in a single multicarrier symbol

by pseudo-randomly varying amounts.” This construction is fully supported by the

specification of the ’243 patent, and it clarifies that the claimed phase scrambling

must be performed amongst the individual carrier phases in a single multicarrier

symbol. In other words, the claimed phase scrambling is not met if the phase

adjustment only occurs over time from one symbol to the next. See Ex. 2003 at

¶ 37.

        The ’243 patent is directed exclusively to multicarrier modulation systems.

See Ex. 1001 at 1:26–29 (“This invention relates to communications systems using


                                        14
                                       Appx240
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multicarrier modulation. More particularly, the invention relates to multicarrier

communications systems that lower the peak-to-average power ratio (PAR) of

transmitted signals.”); 3:32–37 (“Although described with respect to discrete

multitone modulation, the principles of the invention apply also to other types of

multicarrier modulation, such as, but not limited to, orthogonally multiplexed

quadrature amplitude modulation (OQAM), discrete wavelet multitone (DWMT)

modulation, and orthogonal frequency division multiplexing (OFDM).”).

Furthermore,    every   independent    claim   is   directed    to   a   “multicarrier

communications transceiver” (claims 1, 7, and 20) or a “multicarrier transmitter”

(claim 13). The ’243 patent discloses several multicarrier techniques and uses

“discrete multitone modulation” (“DMT”) as an example. Id. at 3:32–37. See Ex.

2003 at ¶ 38.

       As discussed above in § II.A, a multicarrier signal includes the combination

of a plurality of carriers, where each carrier has a different frequency and its own

phase. In the embodiment of the ’243 patent, each of the plurality of carriers

corresponds to a different QAM symbol. See, e.g., Ex. 1001 at 4:13–14 (“The

modulator 46 modulates each carrier signal with a different QAM symbol 58.”).

Each carrier (or QAM symbol) has its own phase or phase characteristic.2 See,


2
    The term “phase characteristic” in the ’243 patent is interchangeable with



                                        15
                                       Appx241
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e.g., id. at 4:7–9 (“The QAM symbols 58 represent the amplitude and the phase

characteristic of each carrier signal.”). The combination of these carriers (or QAM

symbols) is referred to as a DMT symbol (which is an exemplary type of

multicarrier symbol).     See, e.g., id. at 9:8–9 (“…a set of QAM symbols 58

produces a DMT symbol 70….”). See Ex. 2003 at ¶ 39.

      The ’243 patent repeatedly discloses a “phase scrambler” that scrambles the

phases or phase characteristics of carriers within a single DMT symbol. See Ex.

1001 at 6:52–8:13. As the ’243 patent explains, PAR in the transmission signal is

reduced by adjusting the carrier phases within a single DMT symbol. See, id., at

6:30–53. If the carrier phases were only adjusted from one symbol to the next,

PAR would not be reduced. See Ex. 2003 at ¶¶ 41–42.

      In a corresponding district court matter, the court construed “scrambling the

phase characteristics of the carrier signals” to mean “adjusting the phase

characteristics of the carrier signals by pseudo-randomly varying amounts.” Ex.

2007 at pp. 10–11. During prosecution of the ’243 patent, the applicant explained

that a “scrambler” operates “by pseudo-randomly selecting bits to invert.” Ex.


“phase.” See Ex. 1001 at 1:40–42 (“The DMT transmitter typically modulates the

phase characteristic, or phase, and amplitude of the carrier signals….”). See Ex.

2003 at ¶ 40.



                                       16
                                      Appx242
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2008 at p. 18.    There was no fundamental disagreement between parties that

scrambling involves adjusting the phase characteristics of a carrier signal by

pseudo-randomly varying amounts. Ex. 2007 at pp. 10–11.

      Furthermore, when Petitioners’ expert was asked about his application of the

claims to the asserted Stopler reference, he expressed his opinion that the claims

require phase scrambling within a single multicarrier symbol. In his declaration,

he contends that the claims are invalid over a combination of at least Shively and

Stopler. Ex. 1009 at ¶¶ 54 and 72. Pertinently, he alleges that Stopler discloses the

claim recitations of “scramble…a plurality of carrier phases” and “scramble…a

plurality of phases.” Id. at p. 38–42 (element “1.4a”) and p. 61 (element “13.4a”).

      During cross-examination, Petitioners’ expert discussed his opinion that

Stopler discloses scrambling within a single multicarrier symbol.         Indeed, he

specifically rejected that Stopler’s phase scrambling could be performed from one

multicarrier symbol to the next. Note, in the transcript excerpt below, a “DMT

symbol” refers to a single multicarrier symbol, while a “QAM symbol” refers to a

single carrier in the DMT (or multicarrier) symbol.

      Q. But you didn't take into consideration when you interpreted that
      [section of Stopler], that it may be talking about randomizing
      overhead channels from [one] DMT symbol to the next, did you?
      A. The natural interpretation, since Stopler is teaching how to
      randomize plural overhead channel symbols [i.e., “carriers”], the
      natural interpretation is that each symbol [i.e., “carrier”] would have a
      different phase rotation.


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                                       Appx243
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         Q. So you're suggesting that each symbol from one symbol to the
         next would have a different phase rotation?
         A. No. No. Individual QAM symbols [i.e., “carrier”] within the same
         modulation block [i.e., “symbol”].
         Q. Where does it say that?
         A. If you read the paragraph, “The input to the QAM mapper 82”—
         we’re on column 12, line 21. “The input to the QAM mapper 82 is
         data in the form of m-tuples which are to be mapped into QAM
         symbols”—basically getting m-tuples, mapping them to one QAM
         symbol—“for example, ranging from QPSK to 256-QAM tone by
         tone.” So in the context of QAM mapper 82, which is in Figure 5, this
         block is processing at the QAM symbol by the QAM symbol, so each
         QAM symbol is processed individually. The constellation mapping
         may be the same as that used in ADSL. So again, it uses ADSL as an
         example. “In order to randomize the overhead channel symbols, a
         phase scrambling sequence is applied to the output symbols.” It’s in
         the context of QAM mapper 82 mapping m-tuples groups of bits into
         QAM symbols, one symbol at a time, tone by tone, inserting overhead
         channel symbols, which are plural, and phase scrambling is applied to
         these symbols. My interpretation has been applied on a QAM symbol
         by QAM symbol [i.e., “carrier by carrier”].
Ex. 2002 at 107:7–108:18 (emphasis added). See, more generally, id. at 104:20–

109:5.

         Thus, Petitioners’ expert has interpreted the claim terms “scrambl[e/ing]…a

plurality of carrier phases” and “scramble…a plurality of phases” to require

adjusting the phases of a plurality of carriers within a single multicarrier symbol.

Consequently, the term “scrambl[e/ing]…a plurality of carrier phases”—or the

variant “scramble…a plurality of phases”—should be construed to mean “adjusting

the phases of a plurality of carriers in a single multicarrier symbol by pseudo-



                                         18
                                        Appx244
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randomly varying amounts.” See Ex. 2003 at ¶ 37.

IV.   OVERVIEW OF ASSERTED REFERENCES—SHIVELY AND
      STOPLER
      In every instance, Petitioners allege that the challenged claims are

unpatentable at least over Shively in view of Stopler.

      A.     Shively
      Shively discloses a concept intended to increase the useable bandwidth in a

multicarrier communications system.      Ex. 1011 at 1:5–20. Shively teaches a

theoretical way to transmit data over a transmission medium having high signal

attenuation at frequencies corresponding to a significant number of carriers. See

Ex. 2003 at ¶ 43.

      To appreciate Shively’s teachings, it necessary to understand such impaired

transmission mediums. Shively specifically describes “long loop” systems, where

the length of cable between transmitting and receiving DSL modems is at least

18,000 feet (about 3.4 miles):

      Referring to FIGS. 1 and 2, a transmitting modem 31 is connected to a
      receiving modem 32 by a cable 33 having four twisted pairs of
      conductors. In long loop systems where cable 3 is of length of the
      order 18,000 feet or more, high signal attenuation at higher
      frequencies (greater than 500 kHz) is usually observed. This
      characteristic of cable 33 is represented graphically by curve A in
      FIG. 1.

Ex. 1011 at 9:63–10:2 (emphasis added); see also, id., at 11:11–12 (“Such noisy

and/or highly attenuated sub-bands can occur for example in long-run twisted pair

                                        19
                                       Appx245
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conductors.”). See Ex. 2003 at ¶ 44.

      FIG. 1 of Shively, which is annotated with color below, is illustrative:




FIG. 1 of Shively shows carriers at increasing frequencies along the x-axis. Each

carrier is delineated by vertical lines. Power level is indicated along the y-axis.

Green line (A) represents an attenuation/noise floor, which increases as a function

of frequency. Ex. 1011 at 2:1–12. Shively explains that attenuation at higher

frequencies is a problem across long cables. Id. at 9:65–10:2 (“In long loop

systems where cable 3 is of length of the order 18,000 feet or more, high signal

attenuation at higher frequencies (greater than 500 kHz) is usually observed.”).

Green line (A) is a characteristic of a communications channel, and it does not


                                        20
                                       Appx246
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illustrate a transmitted signal. Id. at 10:61–11:12. See Ex. 2003 at ¶ 45–46.

      Blue line (B) is the minimum power margin above the attenuation/noise

floor (green line (A)) that is required to transmit a single bit on a given carrier. Ex.

1011 at 2:8–10. Red line (C) illustrates a “spectral density mask,” which is a type

of power limit imposed by system design. Id. at 2:10–12 (“Curve C represents the

limits imposed by a power spectral density mask imposed by an external

communications standard.”).      Power transmitted on a given individual carrier

cannot exceed red line (C). See Ex. 2003 at ¶ 47.

      As FIG. 1 illustrates, blue line (B) is below red line (C) for the carriers

shaded in purple. In these purple-shaded carriers, there is sufficient headroom to

transmit a signal representing at least one bit without exceeding the power limit

imposed by the spectral density mask (red line (C)). For the carriers shaded in

orange, however, blue line (B) exceeds red line (C). Because the attenuation/noise

(green line (A)) for these orange-shaded carriers is too high, a bit cannot be

reliably transmitted without exceeding the imposed spectral density mask (red line

(C)). In other words, the minimum required power margin (blue line (B)) is

greater than the spectral density mask (red line (C)). Ex. 1011 at 10:65–11:3. See

Ex. 2003 at ¶ 48.

      Shively proposes a way to transmit data using some of the impaired (orange-

shaded) carriers. Specifically, some of the impaired carriers, although having



                                         21
                                        Appx247
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insufficient channel quality to transmit a single bit, have some limited power

available between the attenuation/noise floor (green line (A)) and the spectral

density mask (red line (C)).      Shively makes use of this available power by

“spreading” a single bit of data across multiple impaired carriers. See Ex. 2003 at

¶ 49.

        Shively’s receiver combines (adds) the signals that were sent on the

impaired carriers to recover the information:

        According to the invention, digital modulator 14 replicates
        (“spreads”) a k-bit symbol over multiple adjacent bands with
        correspondingly less energy in each band. At the receiving end,
        detector 49 coherently recombines (“despreads”) the redundant
        symbols in the noisy/attenuated sub-bands. In recombining the
        symbols, the symbols are simply arithmetically added. Because the
        noise is incoherent while the signal is coherent, the noise tends to be
        averaged out while the signal is reinforced by the addition process.

Id. at 11:16–24. See Ex. 2003 at ¶ 50.

        Although not explicitly depicted in FIG. 1, one having ordinary skill in the

art understood that there are carriers in addition to those shaded in purple and

orange that are completely unusable under any circumstance—even with Shively’s

spreading concept. According to this reality, FIG. 1 can be expanded to look like

this:




                                          22
                                         Appx248
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Ex. 2003 at ¶ 51.

       The pink-shaded carriers are at frequencies higher than the orange-shaded

carriers.    The pink-shaded carriers are completely unusable because the

attenuation/noise floor (green line (A)) is greater than the imposed spectral density

mask power limit (red line (C)). See Ex. 2003 at ¶ 52.

       Shively discloses two different modes of operation for ADSL-1995: (1) a

normal mode; and (2) a “power-boost” mode. The normal mode is referenced by

Shively’s statement that: “The other limit is on the aggregate power, also defined

by an external communication standard, e.g., ANSI Standard T1.413-1995

[(ADSL-1995)] limits the total power for all sub-bands to 100 mWatts.” Ex. 1011

at 2:12–15. When referring to the cited ADSL-1995 standard, one having ordinary

                                        23
                                       Appx249
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skill in the art would have understood that this aggregate power limit corresponds

to the normal mode. The standard confirms that the normal mode has an aggregate

power limit of 20.4 dBm, which is about 109.6 mW (or approximately 100 mW).

Ex. 1017 at p. 65. § 6.13.3 (“The normal aggregate power level shall not

exceed…20.4 dBm if all sub-carriers are used[].”). See Ex. 2003 at ¶ 53.

      The power-boost mode of ADSL-1995 is also described by Shively:

      The power spectral density mask may be dictated by the standard used
      in a particular country implementing the standard (such as A.N.S.I.
      standard T1.413-1995 [(ADSL-1995)])…For example, the power
      limit for frequencies or tones between 0 and 200 kilohertz must be
      less than -40 dBm/Hz (a power level referenced to one milliwatt over
      1 Hz bandwidth). Above 200 kHz (to frequencies in the megahertz of
      spectrum), the constraint may be -34 dBm/Hz.

Ex. 1011 at 1:51–65. When referring to ADSL-1995, one having ordinary skill in

the art would have understood that this spectral density mask scheme—lower

power (-40 dBm/Hz) on carriers at frequencies up to 200 kHz and higher power (-

34 dBm/Hz) on carriers at frequencies above 200 kHz—describes the ADSL-1995

power-boost mode. See Ex. 2003 at ¶ 54.

      The power-boost mode is illustrated below in a figure excerpted from the

ADSL-1995 standard, Ex. 1017 at p. 66:




                                       24
                                      Appx250
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Note, in the figure above, “PSD” stands for power spectral density, which

corresponds to the spectral density mask power limit. See id. at p. 61, § 6.8. See

Ex. 2003 at ¶ 55.

      While the normal mode has an aggregate power limit of approximately 100

mW, the aggregate limit of the power-boost mode is approximately 344 mW. See

Ex. 1017 at p. 66 (“a power boost…total power = the sum of the powers (-4 +

10log(ncdown1)) and (2 + 10log(ncdown2)), where ncdown1 and ncdown2 are the

number of subcarriers used in the sub-bands i = 0 to 50, and i = 51 to 255,

respectively.”). Petitioners’ expert, however, misunderstood Shively by imagining

that a 100 mW aggregate power limit would be used in the power-boost mode. In



                                       25
                                      Appx251
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particular, during cross-examination regarding the bases for his opinions regarding

Shively, he testified that he interpreted Shively as disclosing a single mode in

which the spectral density mask is -40 dBm/Hz for carriers in the frequency band

up to 200 kHz and -34 dBm/Hz for carriers in the frequency band above 200 kHz

and an aggregate power limit of approximately 100 mW. Ex 2002 at 43:7–25; see,

more generally, id. at 42:10–46:12. But this is clearly wrong because it is wholly

inconsistent with the ADSL-1995 standard to which Shively’s disclosure is

directed. See Ex. 2003 at ¶ 56.

        Indeed, having such a low aggregate power limit (100 mW, which is less

than 1/3 of the actual 344 mW aggregate power limit of power-boost mode in

ADSL-1995) would defeat the purpose of having a power-boost mode.

Notwithstanding Petitioners’ expert’s mistaken understanding of Shively—which

mixed the aggregate power limit of normal mode with the spectral density mask of

power-boost modes—one having ordinary skill in the art would have readily

paired the correct aggregate power limit and spectral density mask for a particular

mode when consulting the ADSL-1995 standard to which Shively’s disclosure is

directed.3 See Ex. 2003 at ¶ 57.


3
    To the extent Shively is incorrectly interpreted as disclosing a single mode in

which the spectral density mask is -40 dBm/Hz for carriers having frequencies up



                                        26
                                       Appx252
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      In Shively’s proposed system using normal mode for ADSL-1995 across

18,000 foot wires, and given the average attenuation/noise characteristics of such a

long-loop, about 34% of the carriers would be unimpaired (i.e., would fall into the

purple-shaded region of the figure on page 23 supra), about 6% of the carriers

would be impaired (i.e., would fall into the orange-shaded region of the figure on

page 23 supra), and about 60% of the carriers would be unusable (i.e., would fall

into the pink-shaded region of the figure on page 23 supra). Thus, more than half

of the carriers cannot be used at all. Consequently, the power of a transmitted

signal will be reduced by 60%, thereby resulting in power levels only 40% of

maximum. See Ex. 2003 at ¶¶ 58–59.

      In Shively’s proposed system using power-boost mode for ADSL-1995


to 200 kHz and -34 dBm/Hz for frequencies above 200 kHz (as is the case for

boosted mode of ADSL-1995) and a total power limit of approximately 100 mW

(as is the case for the normal mode of ADSL-1995), one of skill in the art would

recognize this as an obvious error (Ex. 2003 at ¶ 57). See In re Yale, 434 F.2d 666,

668–69 (C.C.P.A. 1970) (“Since it is an obvious error, it cannot be said that one of

ordinary skill in the art would do anything more than mentally disregard [the

incorrect chemical] as a misprint or mentally substitute [the correct chemical] in its

place.”).



                                        27
                                       Appx253
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across 18,000 foot wires, and given the average attenuation/noise characteristics of

such a long-loop, about 43% of the carriers would be unimpaired (purple-shaded),

about 6% of the carriers would be impaired (orange-shaded), and about 51% of the

carriers would be unusable (pink-shaded). Again, more than half of the carriers

cannot be used at all. Consequently, the power of a transmitted signal will be

reduced by 51%, thereby resulting in power levels only 49% of maximum. See Ex.

2003 at ¶ 60–61.

        While Shively’s “spreading” technique will contribute a small uptick in

clipping probability, any increase would be negated by the enormous reduction in

clipping probability achieved by reducing signal power by more than half. Based

on worst-case assumptions regarding Shively’s spreading technique, the clipping

probability for both normal and power-boost modes is virtually zero.4 See Ex. 2003


4
    For the normal mode, the clipping probability is 8.3*10-17. See Ex. 2003 at ¶ 63–

67. Assuming a sampling rate of 2.2 MHz for ADSL-1995, this would result in a

clipping error once every 173.7 years, on average. Id. For the power-boost mode,

the clipping probability is 1.4*10-15. Id. Using the same assumption for sampling

rate, this would result in a clipping error once every 10.3 years, on average. Id.

These numbers are many orders of magnitude larger than the error rate of 4.55

seconds discussed above.



                                         28
                                        Appx254
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at ¶ 63–67.

      For cable lengths longer than 18,000 feet, an increasing number of carriers

becomes unusable (pink-shaded), resulting in even greater reductions in clipping

probabilities. See Ex. 2003 at ¶ 68.

      Not surprisingly, Shively does not mention anything about clipping or PAR.

Petitioners’ expert agreed:

      Q. Okay. Can you tell me, does the Shively reference include any
      discussion of PAR?

      A. I don't remember seeing it.

      Q. Okay. Does Shively include any explanation it's spreading
      invention causes an increase in PAR?

      A. I don't remember seeing that.

      Q. Does Shively explain anywhere that its spreading invention would
      cause a PAR problem?

      A. I don't remember seeing that.

      Q. Okay. So the Shively reference itself does not indicate that its
      invention creates any issue with PAR; right?

      A. I didn't see it.

Ex. 2002 at 14:2–15.

      B.      Stopler
      Unlike Shively, Stopler proposes an idea for use with both multicarrier

systems and “single-carrier” systems.      While multicarrier systems transmit a

transmission signal that combines multiple carriers each having a phase, a single-


                                          29
                                         Appx255
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carrier system transmits a signal using only one carrier, which has only one phase.

See Ex. 2003 at ¶ 69.

        Stopler specifically teaches that his concept can be used with single-carrier

code-division multiple access (“CDMA”) systems. See, e.g., Ex. 1012 at 12:58–63

(“The framing scheme according to the present invention may also be performed in

a CDMA system, in which case the modulator (not shown) may, for example, be a

CDMA-type modulator in accordance with the TIA/EIA/IS-95 ‘Mobile Station

Compatibility Standard for Dual Mode Wideband Spread Spectrum Cellular

System.’”).5 See Ex. 2003 at ¶ 70.

        FIG. 5, which shows Stopler’s “framing scheme” (Ex. 1012 at 8:54–55), is

illustrative:


5
    As Petitioners’ expert explained during cross-examination, some CDMA

techniques can be used in a multicarrier system.            Ex. 2002 at 110:20–25.

However, Stopler only refers to CDMA techniques that are disclosed in two

references: (1) TIA/EIA/IS-95; and (2) “Proakis, ‘Digital Communications,’

Chapter 15.”     Ex. 1012 at 3:37–47 and 12:58–63.        Both TIA/EIA/IS-95 and

Proakis are incorporated by reference into Stopler. Id. at 3:37–47. Both describe

single-carrier CDMA techniques, exclusively. See Ex. 2005; Ex. 2006; Ex. 2003 at

¶ 71.



                                         30
                                        Appx256
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See Ex. 2003 at ¶ 72.

      Significantly, there is a block missing from FIG. 5—namely, a block

downstream from the QAM Mapper/Phase Scrambler 82:




                                    31
                                   Appx257
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See Ex. 2003 at ¶ 73.

        The missing block would specify the type of “modulation” to be used,

whether the modulation be single-carrier or multicarrier. See Ex. 1012 at 12:55–

57 (“The output from the QAM mapper 82 is provided to a modulator (not shown)

which implements the particular signal modulation desired, e.g., VCMT, CDMA,

etc.”) (emphasis added).6 See Ex. 2003 at ¶ 74. So the missing block downstream

from the QAM Mapper/Phase Scrambler 82 could be a multicarrier modulator:




6
    Note, VCMT stands for “variable constellation multitone.” See id. at 2:9. This is

a type of multicarrier technique. Ex. 2003 at ¶ 74.



                                         32
                                        Appx258
          Case: 18-1766     Document: 49-1    Page: 182    Filed: 11/21/2018

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      Or the missing block could be a single-carrier modulator:




See Ex. 2003 at ¶ 76.

      In either case, Stopler’s phase scrambling scheme must at least be

compatible with single-carrier CDMA. This fact is reflected in Stopler’s claims.

For example, claim 25 of Stopler recites a “method of arranging and transmitting

data in a CDMA system.” Ex. 1012 at 16:4–5 (emphasis added). And claim 31,

which depends from claim 25, recites “phase scrambling”: “31. The method of

claim 25, wherein prior to said utilizing step, said method includes the step of

phase scrambling said upper level data and said second encoded data in



                                       33
                                      Appx259
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accordance with said second encoded data.” Id. at 16:45–48 (emphasis added).

So, plainly, Stopler’s phase scrambling idea must be compatible with single-carrier

CDMA. See Ex. 2003 at ¶ 76.

      At issue in this IPR is whether Stopler’s phase scrambling is performed

within a single multicarrier symbol, or whether phase scrambling is performed

amongst a plurality of symbols (be they multicarrier or single-carrier), each

transmitted at a different time.    Because Stopler discloses and claims phase

scrambling with a single-carrier CDMA system, one of skill in the art would

understand Stopler to disclose the latter—phase scrambling is performed across

different symbols in time. Phase scrambling is not performed within a single

multicarrier symbol.

      Consider the following illustration of a multicarrier symbol:




                                        34
                                       Appx260
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         The symbol includes eight carriers—Carrier1 to Carrier8. Each carrier has

an associated phase.        According to Petitioners’ incorrect argument, Stopler

discloses scrambling the phases of Carrier1–Carrier8. Petition at p. 14 (“Stopler

teaches that a phase scrambler can be employed to randomize the phase of the

individual [carriers].”).

         Consider now that three multicarrier symbols are transmitted at different

times:




                                         35
                                        Appx261
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      Petitioners argue that Stopler’s phase scrambling is performed vertically,

within the red box—i.e., within one symbol. Petitioners’ expert further asserted

(during cross-examination) that Stopler’s phase scrambling is not performed

horizontally from symbol-to-symbol—e.g., within the blue box.      Ex. 2002 at

107:15–18 (“Q. So you're suggesting that each symbol from one symbol to the

next would have a different phase rotation? A. No. No. Individual QAM symbols

within the same modulation block.”); see, more generally, id. at 104:20–109:5.

This is wrong. See Ex. 2003 at ¶ 77.

      Petitioners’ flawed reasoning is easy to demonstrate, given that single-

carrier CDMA must be operable with Stopler’s phase scrambling. Single-carrier

systems have only one carrier with only one phase. Consider three single-carrier


                                        36
                                       Appx262
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symbols sent at different times:




      It is nonsensical to scramble phases within a symbol because there is only

one phase in each symbol. Phase scrambling in a single-carrier system only makes

sense when it is performed over time from symbol-to-symbol, as illustrated by the

blue box. See Ex. 2003 at ¶ 78.

      There are various reasons that would have been recognizable to one having

ordinary skill in the art for performing phase scrambling from symbol-to-symbol.

For example, Petitioners’ expert suggested that pilot tones could be scrambled over

time “not to create a DC bias.” Ex. 2002 at 95:7–9; see, more generally, id. at

95:3–17. See Ex. 2003 at ¶ 79.



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      Another example for phase scrambling from symbol-to-symbol is detailed in

U.S. Pat. No. 6,370,156 (“the ’156 patent”), which has a priority date of January

31, 1997 (which is before the November 9, 1999 priority date of the ’243 patent).

The ’156 patent identifies a problem of “narrowbanded” interference in ADSL-

1995. Ex. 2004 at 1:55–2:16. This identical problem is also discussed in Stopler,

as depicted in FIG. 4:




See Ex. 2003 at ¶ 80.

      Stopler further explains: “One type of noise is ingress or narrowband

interference which typically occurs at a fixed frequency and lasts for a long time.”

Ex. 1012 at 1:36–38.      Stopler claims that his “invention” “allows efficient



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operation in multipoint to point channels which are affected by ingress

(narrowband noise) and impulsive (burst) interference.” Id. at 5:10–14. See Ex.

2003 at ¶ 81.

      Stopler addresses narrowband noise in two ways. First, as shown in Figure

4 reproduced above, a given carrier (e.g., carrier E) is assigned to a first user (e.g.,

User 1) at some times and to a different user (e.g., User 2) at other times. If

narrowband noise corrupts carrier E, the resulting bit errors have reduced impact

on each user compared to a system in which a given carrier is always assigned to a

single user. See Ex. 2003 at ¶ 82.

      This solution works for data, but it will not work for an overhead pilot

carrier because such a pilot must be received by all users at all times to allow the

receiver of each user to remain synchronized with the transmitter.                 Thus,

narrowband noise at the frequency of pilot tones must be addressed differently.

See Ex. 2003 at ¶ 82.

      According to a second narrowband-noise-reducing technique, Stopler

addresses narrowband noise at the frequency of an overhead pilot carrier by

scrambling the phase of the pilot carrier over time from one DMT symbol to the

next, i.e., by inter-symbol phase scrambling. See Ex. 2003 at ¶ 82.

      The teachings of the ’156 patent reveal how Stopler’s inter-symbol phase

scrambling concept reduces the problem of narrowband noise that interferes with a



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pilot carrier. The ’156 patent explains that ADSL-1995 has one carrier that is

assigned to be a pilot. Ex. 2004 at 1:61–63 (“As is indicated in [the ADSL-1995

standard], one of the carriers is reserved as a pilot carrier.”). Then, the technique

of phase scrambling the pilot carrier from symbol-to-symbol is explained:

      In a particular implementation of the present invention, the pilot
      carrier is modulated as a random or pseudo-random signal. In this
      way, by modulating a randomised signal on the pilot carrier, the state
      of the pilot carrier in the constellation scheme will change randomly
      so that the demodulation will have a good averaging effect resulting in
      an increase of the interference immunity.
Id. at 4:39–47 (emphasis added).

      It is to be remarked that, to have significant immunity against
      interferers, the data elements which are modulated on the pilot carrier,
      [have] to be sufficiently random so that the pilot carrier reaches all
      states in the constellation scheme and a good averaging of the
      interference is obtained by demodulation. This can be obtained by
      scrambling.
Id. at 5:11–17 (emphasis added). See Ex. 2003 at ¶ 83.

      Petitioners’ argument that Stopler discloses phase scrambling within one

symbol is based on the premise that the symbol can have multiple pilot tones. Yet

the Petition and accompanying declaration do not discuss or allude to even one

system or standard that uses multiple pilot tones in a single symbol. Instead,

Petitioners and their expert identify only ADSL (Petition at p. 12; Ex. 1009 at

¶ 58). But, as explained in Petitioners’ own exhibit (Ex. 1017), ADSL has exactly

one pilot tone in a symbol, not multiple pilot tones. Ex. 1017 at p. 62, § 6.9.1.2.

See Ex. 2003 at ¶ 84.


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        Petitioners and their expert highlight the ADSL standard and admit that it is

implemented in Stopler. Petition at p. 12 (“Stopler also explains that its signal

transmission scheme may implement techniques of DSL standards such as ‘ADSL

(Asymmetric Digital Subscriber Line).’”); Ex. 1009 at ¶ 58. Starting with the next

sentence, Petitioners and their expert state:

        Stopler also explains that some of the available carriers may be
        reserved for the transmission of overhead signals, such as pilot tones.
        Ex. 1012, 10:60–62 & 12:51–54. To randomize these overhead
        channels, Stopler employs a phase scrambler. Ex. 1012, 12:24–26. A
        POSITA would have understood that the values transmitted in an
        overhead channel may not be random, and in fact, may be highly
        structured. Ex. 1009, p. 24. Without the phase scrambler, the
        structured nature of the overhead channel could contribute to an
        increase in the peak-to-average power ratio of the transmitter. Ex.
        1009, pp. 24–25.

Petition at pp. 12–13 (emphasis added); see also Ex. 1009 at ¶ 59. See Ex. 2003 at

¶ 85.

        Petitioners’ expert, upon cross-examination, clarified that what he meant by

“highly structured” is that multiple pilot tones are present in a single symbol. Ex.

2002 at 105:11–20 (“Q. …What do you mean by ‘highly structured’? A. For

example, if the pilot tone is the same value in all overhead channels, that’s an

example of structured; repeating the same value multiple times.”); and 109:1–5

(“A.…[Stopler] specifically says ‘overhead symbols,’ which could be interpreted

to having two or more overhead symbols in one block.              And that was my

interpretation. It still is my interpretation.”); see, more generally, id. at 104:20–


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109:5. See Ex. 2003 at ¶ 85

        But Petitioners’ expert did not even realize that ADSL has only one pilot

tone. Ex. 2002 at 90:11–14 (“Q. Okay. So in an ADSL system, according to the

T1.413 standard, for example, there’s a single pilot tone; correct? A. I don't know

that.”); see, more generally, id. at 90:4–91:16.       At best, Petitioners’ expert’s

declaration is based on incomplete information about ADSL. See Ex. 2003 at ¶ 85.

        Instead of understanding that ADSL has only one pilot tone, Petitioners’

expert based his opinion on the fact that Stopler refers to “overhead carriers” and

that these multiple symbols must be in one symbol. Ex. 2002 at 109:1–5.7 But the

correct interpretation of Stopler’s reference to plural “overhead carriers” is that (a)

there is one overhead pilot carrier per symbol and (b) there are multiple symbols.

Ergo, Stopler refers to multiple overhead carriers. See Ex. 2003 at ¶ 86.

        As demonstrated by the ’156 patent, it was known by those with skill in the


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    Petitioners’ expert specifically testified: “[Stopler] specifically says ‘overhead

symbols,’ which could be interpreted to having two or more overhead symbols in

one block. And that was my interpretation. It still is my interpretation.” Ex. 2002

at 109:1–5.      To clarify a matter of terminology, (1) “overhead symbols”

correspond to “carriers,” and (2) “block” corresponds to “symbol” as used in this

Patent Owner Response. See Ex. 2003 at ¶ 86.



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art to scramble the phases on a pilot carrier from one single-carrier symbol to the

next in order to reduce the problem of narrowband noise, a problem recognized by

Stopler. Petitioners’ expert’s uninformed view, by contrast, is that Stopler’s phase

scrambling would be performed within one multicarrier symbol to reduce PAR.

Ex. 1009 at ¶ 60. Stopler, however, is silent on issues related to PAR, and, in fact,

does not mention the word “power” or PAR, or teach that its disclosure could be

used to resolve PAR problems, as confirmed by Petitioners’ expert:

      Q. Okay. And Stopler does not mention peak-to-average power ratio,
      does it?
      A. I did not see it.
      Q. Okay. And it doesn't state anywhere that it's addressing a PAR
      issue; correct?
      A. I didn't see that.
      Q. And it doesn't say anywhere that its teachings could potentially
      reduce PAR; correct?
      A. I didn't see it.
      Q. Okay. Would you be surprised if I told you that the Stopler
      reference doesn't even mention the word “power”?

      A. I didn't see it. I'm not surprised.

Ex. 2002 at 97:6–18. See Ex. 2003 at ¶ 87.

      Indeed, there is no reason that Stopler would discuss PAR because there is

no basis for concluding that Stopler has a PAR problem, and Stopler’s technique of

scrambling phases from one symbol to the next does not reduce PAR. See Ex.

2003 at ¶ 88.



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      Instead of Petitioners’ theory about reducing PAR, Stopler sheds some light

as to why he suggests performing “phase scrambling.” Stopler’s only stated reason

for scrambling phases is “to randomize the overhead channel symbols” plural. Ex.

1012 at 12:24–26. Because Stopler must be compatible with single-carrier CDMA

as discussed above, the only reasonable conclusion is that Stopler’s reference to

“overhead channel symbols” plural refers to scrambling phases from symbol-to-

symbol. See Ex. 2003 at ¶ 89.

      Furthermore, Stopler states that the phase scrambler is “applied to all

symbols, not just the overhead symbols” in order “to simplify implementation.”

But performing phase scrambling according to Petitioners’ interpretation—i.e.,

every carrier is scrambled within a symbol such that the signals on each of the

carriers within a symbol have a random distribution of phase adjustments—would

add complexity to Stopler’s system. Instead, the only simplifying way to execute

Stopler’s directive is to adjust the phases of all carriers within a single symbol by

the same amount. See Ex. 2003 at ¶ 90.

V.    PETITIONERS HAVE NOT PROVEN UNPATENTABILITY FOR
      THE CLAIMS OF THE ’243 PATENT
      The Petition fails to prove, by a preponderance of the evidence, that any

claim of the ’243 patent is unpatentable because (1) there is no credible or accurate

evidence demonstrating why one having ordinary skill in the art would have

combined Shively and Stopler, and (2) Stopler does not disclose phase scrambling

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as recited in the claims. Instead, Petitioners misunderstand the teachings of these

references, make unsupported assumptions having no basis in fact, and, ultimately

rely on only hindsight bias to cobble together the references.

      A.     Petitioners’ Argued Reasons To Combine Shively And Stopler Are
             Without A Rational Basis, Based On Factual Errors, And Suffer
             From Hindsight Bias

      Every assertion of invalidity is based on a combination of Shively and

Stopler. But virtually all of Petitioners’ (and Petitioners’ expert’s) assumptions

regarding reasons to combine Shively and Stopler are without a rational basis,

factually wrong, and suffer from hindsight bias.

             1.    Petitioners Provide No Explanation For The “Use Of
                   A Known Technique To Improve A Similar Device”
                   Rationale To Combine Shively And Stopler
      Petitioners argue that the combination of Shively and Stopler “is merely a

use of a known technique to improve a similar device, method, or product in the

same way.” Petition at p. 13. Petitioners, however, fail to apply this boilerplate

rationale to Shively and Stopler, leaving the following questions unanswered.

What is the “known technique”? What device/method/product is “similar”? How

is the alleged “known technique” used for improvement in the “same way”?

      When relying on this rationale, the USPTO requires much more in the way

of explanation:

      C. Use of Known Technique To Improve Similar Devices (Methods,
      or Products) in the Same Way

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      To reject a claim based on this rationale, Office personnel must
      resolve the Graham factual inquiries. Office personnel must then
      articulate the following:

      (1) a finding that the prior art contained a “base” device (method, or
      product) upon which the claimed invention can be seen as an
      “improvement;”

      (2) a finding that the prior art contained a “comparable” device
      (method, or product that is not the same as the base device) that was
      improved in the same way as the claimed invention;

      (3) a finding that one of ordinary skill in the art could have applied
      the known “improvement” technique in the same way to the “base”
      device (method, or product) and the results would have been
      predictable to one of ordinary skill in the art; and

      (4) whatever additional findings based on the Graham factual
      inquiries may be necessary, in view of the facts of the case under
      consideration, to explain a conclusion of obviousness.

Examination Guidelines for Determining Obviousness Under 35 U.S.C. 103 in

View of the Supreme Court Decision in KSR International Co. v. Teleflex Inc., 72

Fed. Reg. 57,530 (October 10, 2007). As the Board explained:

      Patent Owner argues that “(1) Petitioner NEVER explains what is
      allegedly lacking in the base reference, (2) Petitioner NEVER points
      out the differences between the claimed invention and the base
      reference or cited art, (3) Petitioner NEVER explains how the base
      reference should be allegedly modified, (4) Petitioner NEVER
      explains what modification would have been obvious, and (5)
      Petitioner NEVER explains what modifications to each base
      reference would have allegedly been made.” Prelim. Resp. 47-48.
      We agree.

Naughty Dog, Inc. v. McRo, Inc., IPR2014-00198, Paper no. 9 at p. 21 (P.T.A.B.

May 18, 2014).



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      In the present case, Petitioners’ alleged reason to combine Shively and

Stopler does not provide even basic answers to these questions.

            2.     Petitioners Wrongly Claim That Shively’s
                   Transmitter Suffers From An Increased PAR
      Petitioners contend: “A POSITA would have recognized that by

transmitting redundant data on multiple carriers, Shively’s transmitter would

suffer from an increased peak-to-average power ratio [(PAR)].”              Id.   As

discussed above in § IV.A, however, this assertion is wrong. Shively does not

suffer from an increased PAR, much less one that would be recognized as a

problem. Rather, Shively’s disclosed embodiment results in a substantially

reduced PAR (and one that is very far below a level that is problematic).

      Petitioners have it backwards. To the extent one having skill in the art

would have even considered the issue of PAR in view of Shively’s disclosure

(which does not itself discuss PAR), they would have concluded that Shively’s

transmitter, in fact, does not suffer from increased PAR. Instead, there would

have been recognition that the transmission signal strength is low due to unusable

carriers, and therefore the clipping probability would be virtually zero. See

§ IV.A above.

      Furthermore, Petitioners’ expert’s declaration states only in relative terms

that there is an “increase” in PAR. An “increase” of how much? An increase

with respect to what? Petitioners’ expert’s declaration lacks any factual basis for

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the claim of “increased” PAR. Petitioners’ expert provides no calculations or

data that illustrate to what degree there is an “increase” in PAR with Shively’s

transmitter. Ex. 1009 at ¶¶ 63–64. See 37 C.F.R. § 42.65(a) (“Expert testimony

that does not disclose the underlying facts or data on which the opinion is based

is entitled to little or no weight.”); In re Am. Acad. of Sci. Tech Ctr., 367 F.3d

1359, 1368 (Fed. Cir. 2004) (explaining that “the Board has broad discretion” to

weigh declarations and “conclude that the lack of factual corroboration warrants

discounting the opinions expressed”); Rohm & Haas Co. v. Brotech Corp., 127

F.3d 1089, 1092 (Fed. Cir. 1997) (“Nothing in the [federal] rules [of evidence] or

in our jurisprudence requires the fact finder to credit the unsupported assertions of

an expert witness.”); Ashland Oil, Inc. v. Delta Resins & Refractories, Inc., 776

F.2d 281, 294 (Fed. Cir. 1985) (“Lack of factual support for expert opinion going

to factual determinations…may render the testimony of little probative value….”).

      By contrast, Dr. Short’s declaration in support of this Patent Owner

Response explains in detail why any arguable “increase” in PAR due to Shively’s

“spreading” scheme is trivial in view of Shively’s drastic reduction in

transmission signal power (which virtually eliminates clipping). See Ex. 2003 at

¶¶ 61–67.

      Without any supporting calculations or data, and without even a qualitative

discussion of what would constitute a problematic PAR, Petitioners’ expert’s



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declaration should not be given any weight. See 37 C.F.R. § 42.65(a).

            3.     Petitioners’ Justification For Combining Shively And
                   Stopler Uses The ’243 Patent As A Roadmap And
                   Suffers From Hindsight Bias

      Petitioners allege that “[h]aving phase-aligned subcarriers causes a high

peak-to-average power ratio (PAR), since all of the subcarriers add up coherently

at the same time.” Petition at p. 14. Yet, as admitted by Petitioners’ expert, this

is not mentioned or even alluded to in Shively or Stopler. Ex. 2002 at 14:2–15

and 97:6–18. Actually, out of all the evidence in this inter partes review, only

the inventor of the ’243 patent recognized the problem of high PAR due to

phase-aligned carriers.

      Besides the say-so of Petitioners’ expert, the only cited evidence—that

high PAR results from transmitting the same data on multiple carriers—is from

the ’243 patent. Petition at p. 14; Ex. 1009 at ¶ 64. Here, Petitioners quite

literally use the ’243 patent as a roadmap for arriving at their theory of

obviousness. This is a textbook case of impermissible hindsight bias. See KSR

Int’l Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007) (“A factfinder should be

aware, of course, of the distortion caused by hindsight bias and must be cautious

of arguments reliant upon ex post reasoning.”); Insite Vision Inc. v. Sandoz, Inc.,

783 F.3d 853, 859 (Fed. Cir. 2015) (“Defining the problem in terms of its

solution reveals improper hindsight in the selection of the prior art relevant to


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obviousness.”) (quoting Monarch Knitting Mach. Corp. v. Sulzer Morat GmbH,

139 F.3d 877, 881 (Fed. Cir. 1998)); Texas Instruments Inc. v. Vantage Point

Tech., Inc., IPR2014-01105, Paper No. 8 at p. 17 (P.T.A.B. January 5, 2015)

(“This is an impermissible use of the ’750 patent’s description of the invention as

a roadmap to piece together the prior art.”) (citing InTouch Technologies, Inc. v.

VGO Commc’ns, Inc., 751 F.3d 1327, 1351 (Fed. Cir. 2014)).

            4.     There Is No Need To Solve Shively’s Non-Existent
                   PAR Problem
      Petitioners state: “Since a high PAR brings numerous disadvantages, a

POSITA would have sought out an approach to reduce the PAR of Shively’s

Transmitter.” Petition at p. 14. As discussed in § IV.A, however, Shively does

not present a problem with PAR. Because Shively does not disclose a system

with a PAR problem, one having ordinary skill in the art would have had no

reason to look for a solution. See Runway Safe LLC v. Engineered Arresting

Systems, IPR2015-01921, Paper No. 9 at p. 11 (P.T.A.B. February 29, 2016)

(“[W]e are not persuaded that a non-uniformity problem exists with Angley

’025’s cellular concrete system, and Petitioner has not provided adequate proof

on that issue. Therefore, we are not persuaded by Petitioner’s rationale for why a

person of ordinary skill in the art would have replaced Angley ’025’s cellular

concrete blocks with ceramic foam.”).




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             5.     Stopler Does Not Reduce PAR In A Multicarrier
                    Transmitter

      Petitioners incorrectly argue that “Stopler provides a solution for reducing

the PAR of a multicarrier transmitter.” Petition at p. 14. As discussed in § IV.B,

Stopler does not reduce PAR because phase scrambling is performed from

symbol-to-symbol and not from carrier-to-carrier.

             6.     Stopler And Shively Could Not Be Combined
      Without any supporting explanation, Petitioners baselessly claim that

“[c]ombining Stopler’s phase scrambler into Shively’s transmitter would have

been a relatively simple and obvious solution to reduce Shively’s PAR.” Petition

at p. 15. This is wrong. Quite the opposite; Shively and Stopler are incompatible.

      It would not be possible to incorporate Shively’s bit-spreading concept into

Stopler. While Shively shows a point-to-point system (one transmitter and one

receiver), Stopler teaches a point-to-multipoint system (one transmitter and

multiple receivers). Figure 4 of Stopler is illustrative:




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See Ex. 2003 at ¶ 91.

      In Stopler’s point-to-multipoint example, User 1 receives data in diagonals

1 and 2, while User 2 receives data in diagonals 3–7. Ex. 1012 at 8:36–39 (“In

the illustrated example, the data packet for User 1 consists of two diagonals 22,

24, while the data packet for User 2 consists of five diagonals, 26, 28, 30, 32 and

34.”). This is depicted in a modified version of Figure 4 below where User 1’s

data is shown in red and User 2’s data is shown in blue:




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See Ex. 2003 at ¶ 92.

      Also depicted in the illustration above along the horizontal time axis are

times (t1–t13) at which successive multicarrier symbols are transmitted. Each

symbol includes carriers A–G as illustrated along the vertical frequency axis,

however, unlike a point-to-point multicarrier system, at t1, only carrier A is

intended for User 1; at t2, only carriers A and B are intended for User 1; at t3, only

carriers B and C are intended for User 1 while carrier A is now intended for User

2, and so on. Stopler refers to this technique as “diagonalization.” Ex. 1012 at

6:20–22 (“FIG. 4 is an illustration of diagonalization in accordance with the

present invention for multitone data transmission as a function of time.”). See Ex.

2003 at ¶ 93.

      If one were to attempt to combine Stopler with Shively’s bit-spreading,


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multiple carriers must be used. Using Shively’s example of four carriers, assume

carriers C, D, E, and F, are used for bit-spreading. These carriers are highlighted

in the pink rectangle:




See Ex. 2003 at ¶ 94.

      Taking the example of a multicarrier symbol transmitted at time t6, a spread

bit over four carriers C–F (pink rhombuses), the spread bit would cross over from

User 1 data to User 2 data. So part of the spread bit would be received by User 1

and not User 2, and conversely, the remaining part of the spread bit would be

received by User 2 and not User 1. Because all of the bit-spreading carriers are

not received by the same user, it would be impossible for User 1’s or User 2’s

receiver to reconstruct the bit. See Ex. 2003 at ¶ 95.

      Additionally complicating the combination of Shively and Stopler is that

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the data intended for User 1 is different than the data intended for User 2. And

further, the attenuation/noise characteristics for the communication channel to

User 1 may be different from that of User 2. Thus, it would be unduly complex,

if not impossible to keep track of what carriers to use for Shively’s spreading. In

other words, Shively’s technique will not work with Stopler. Even Petitioners’

expert, under cross-examination, admitted that Shively and Stopler are

incompatible. Ex. 2002 at p. 144:22–145:1 (“Somebody learning the teachings of

Shively working in the DSL space would not attempt to marry Shively with a

system that each QAM signal goes into a different DMT symbol and has huge

latency.”); see, more generally, id. at 138:24–145:1. See Ex. 2003 at ¶ 96.

            7.     There Were No “Market Forces” In Effect To Prompt
                   The Combination Of Shively’s And Stopler’s
                   Techniques
      Again without support or explanation, Petitioners rely on the following

vague and conclusory justification for combining Shively and Stopler: “Market

forces would have prompted the development of multicarrier communications

devices, such as Digital Subscriber Line (DSL) modems, employing both

redundant bit transmission and phase scrambling.” Petition at p. 15 (emphasis

added). Petitioners and their expert, however, do not identify or explain such

“market forces.” The Petition and the supporting declaration do not identify a

single product or standard that employs any of the ideas disclosed in Shively or


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Stopler.

      Nor was Petitioners’ expert, upon questioning, aware of any product or

standard that uses Shively’s spreading concept:

      Q. Okay. But let’s focus on the Shively spreading technique that you
      referenced in your declaration which is taking a single bit and
      spreading it across multiple carriers.

      A. So in the context of repeating 1 bit, 1 or more bits little m or more
      times, do I know of any product that uses that concept?

      Q. Correct.

      A. I can't recall.

      Q. Okay. And can you think of any standard that uses that technique?

      A. No. The DSL standards will be useful. It will be a useful
      application for DSL type loops but I don't know if any of them
      actually uses Shively’s ideas.

      Q. But of all those DSL standards, you’re not aware of any of them
      using Shively's spreading technique?

      A. I don’t know of any of them.

      Q. So the answer is no?

      A. No.

Ex. 2002 at 135:11–136:11; see, more generally, id. at 134:24–137:16.

      Without any evidence that Shively’s transmitter ever existed, Petitioners’

argument regarding “market forces” makes no sense. Petitioners allege that it

would have been obvious to modify Shively’s transmitter (i.e., the base product)

by adding Stopler’s phase scrambler. Petition at p. 15; Ex. 1009 at ¶ 68. But how



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             Case: 18-1766   Document: 49-1    Page: 206    Filed: 11/21/2018

                                                           Patent Owner Response
                                                                   IPR2016-01020

would “market forces” apply when there is no evidence that Shively’s

transmitter—the base product—existed? Surely, there must be a “market” in

order for “market forces” to apply.

      When asked about his testimony regarding Shively and “market forces,”

Petitioners’ expert acknowledged that his opinion was speculative:

      Q. What’s your basis for suggesting that Shively’s technique would
      be motivated by market forces, then?

      ***

      A. I believe it’s good technology. It’s a good idea. I would believe
      some people would have tried it or used it. It’s a good technology
      for subchannels that don’t have enough signal to get a bit across. It
      repeats across multiple subchannels, make sure you scramble
      afterwards.

Ex. 2002 at 137:24–138:9 (emphasis added).

      Without any evidence that there was a market for Shively’s concept before

the invention of the ’243 patent (or ever), the notion that market forces would

have prompted the modification of Shively’s transmitter is meaningless.

Petitioners’ expert’s declaration, therefore, is baseless, and the Petition is fact-

free. See 37 C.F.R. § 42.65(a) (“Expert testimony that does not disclose the

underlying facts or data on which the opinion is based is entitled to little or no

weight.”).

      B.       Stopler Does Not Disclose Phase Scrambling
      All of the independent claims recite phase scrambling, with slightly different


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                                       Appx283
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                                                             Patent Owner Response
                                                                     IPR2016-01020

variants:

             Claim 1—“scrambling, using the phase scrambler, a plurality of
              carrier phases”;

             Claim 7—“a phase scrambler operable to scramble a plurality of
              carrier phases”;

             Claim 13—“the phase scrambler is operable to scramble a plurality
              of phases”; and

             Claim 20—“the phase scrambler scrambles a plurality of phases.”

      As discussed above in § III.C, these terms should be construed to require a

phase scrambler that operates by “adjusting the phases of a plurality of carriers in a

single multicarrier symbol by pseudo-randomly varying amounts.”

      Petitioners incorrectly allege that Stopler discloses this type of phase

scrambling: “A POSITA would have recognized that modulating phase scrambled

symbols onto multiple carriers, as taught by Stopler, results in the ‘scrambling’

of ‘a plurality of carrier phases.’” Petition at p. 22 (emphasis added). See also

Ex. 1009 at p. 41 (“Accordingly, a POSITA would have understood that Stopler’s

phase scrambling of the symbols results in phase rotating the carrier phases when

the symbols are modulated onto the carriers.”) (emphasis added).

      As discussed above in § IV.B, however, Stopler only discloses scrambling

phases from one symbol to the next symbol in time, and not with respect to



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                                         Appx284
          Case: 18-1766     Document: 49-1    Page: 208   Filed: 11/21/2018

                                                          Patent Owner Response
                                                                  IPR2016-01020

multiple carriers in a single multicarrier symbol.     Because Stopler must be

compatible with single-carrier CDMA, it makes no sense to argue that his phase

scrambling must be performed within a single multicarrier symbol.

      Because Stopler does not disclose phase scrambling as claimed in the ’243

patent, Petitioners have not demonstrated by a preponderance of evidence that any

of the independent claims (1, 7, 13, and 20) are unpatentable. And accordingly,

Petitioners’ assertion of unpatentability for the dependent claims (2–6, 8–12, 14–

19, and 21–25) also falls short.


VI.   CONCLUSION

      For at least the foregoing reasons, TQ Delta respectfully requests that the

Board find that Petitioners have not established that any challenged claim is

unpatentable.



Dated: February 24, 2017                     /Peter J. McAndrews/

                                             Peter J. McAndrews
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                                             LTD.
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                                             Chicago, IL 60661
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CUSTOMER NUMBER: 23446



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                                                          Patent Owner Response
                                                                  IPR2016-01020

                          CERTIFICATE OF WORD COUNT

      I hereby certify that this Preliminary Patent Owner Response complies with

the word count limit of 37 CFR §42.42. The word count, including footnotes, is

approximately 11,000 words as measured by Microsoft Word.

                          CERTIFICATE OF SERVICE

      I hereby certify that the Patent Owner Preliminary Response to Petition for
Inter Partes Review Pursuant to 35 U.S.C. §§ 42.107 in connection with Inter
Partes Review Case IPR2016-01020 was served on this 24th day of February, 2017
by electronic mail to the following:

            Lead Counsel                               Back-up Counsel
David L. McCombs                          Theodore M. Foster
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Dated: February 24, 2017               /Peter J. McAndrews/

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CUSTOMER NUMBER: 23446




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                                       Appx286
     Case: 18-1766     Document: 49-1     Page: 210     Filed: 11/21/2018




Trials@uspto.gov                                                 Paper 12
571-272-7822                                   Entered: February 27, 2017




       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                         DISH NETWORK, LLC,
                               Petitioner,

                                     v.

                            TQ DELTA, LLC,
                             Patent Owner.
                             ____________

                           Case IPR2017-00254
                           Patent 9,014,243 B2
                             ____________

Before SALLY C. MEDLEY, KALYAN K. DESHPANDE, and
TREVOR M. JEFFERSON, Administrative Patent Judges.

DESHPANDE, Administrative Patent Judge.


                                 DECISION
                     Institution of Inter Partes Review
                             37 C.F.R. § 42.108
                      Petitioner’s Motion for Joinder
                           37 C.F.R. § 42.122(b)




                                 Appx287
       Case: 18-1766     Document: 49-1     Page: 211    Filed: 11/21/2018

IPR2017-00254
Patent 9,014,243 B2

                            I. INTRODUCTION
      DISH Network, L.L.C. (“Petitioner” or “Dish”) filed a Petition for
inter partes review of claims 1‒25 of U.S. Patent No. 9,014,243 B2
(Ex. 1001, “the ’243 patent”). Paper 3 (“Pet.”). Concurrently with its
Petition, Dish filed a Motion for Joinder with Cisco Systems, Inc. v. TQ
Delta, LLC, Case IPR2016-01020 (“the Cisco IPR”). Paper 2 (“Mot.”).
Dish represents that the petitioner in the Cisco IPR—Cisco Systems, Inc.—
does not oppose the Motion for Joinder. Mot. 2. TQ Delta, LLC (“Patent
Owner”) submits that it does not oppose joinder. See Paper 7. Patent Owner
also elected to waive its Preliminary Response. Id.
      For the reasons explained below, we institute an inter partes review of
claims 1–25 of the ’243 patent and grant Dish’s Motion for Joinder.

                       II. RELATED PROCEEDINGS
      Petitioner and Patent Owner identify several pending judicial matters
as relating to the ’243 patent. Pet. 1–2; Mot. 2–3; Paper 5, 2–3.




                                     2
                                    Appx288
        Case: 18-1766        Document: 49-1   Page: 212   Filed: 11/21/2018

IPR2017-00254
Patent 9,014,243 B2

       In the Cisco IPR, we instituted an inter partes review of claims 1–25
of the ’243 patent on the following grounds:

    References                      Basis          Challenged Claims
    Shively 1 and Stopler2         § 103(a)     1–3, 7–9, 13–16, and 20–22
    Shively, Stopler, and
                                   § 103(a)   4–6, 10–12, 17–19, and 23–25
    Gerszberg 3

Cisco Systems, Inc. v. TQ Delta, LLC, Case IPR2016-01020, slip op. at 16
(PTAB Nov. 4, 2016) (Paper 7) (“Cisco Dec.”).

              III. INSTITUTION OF INTER PARTES REVIEW
       The Petition in this proceeding asserts the same grounds of
unpatentability as the ones on which we instituted review in the Cisco IPR.
Compare Pet. 11–53, with Cisco Dec. 16. Indeed, Petitioner contends that
the Petition asserts only the grounds that the Board instituted in the Cisco
IPR, there are no new arguments for the Board to consider, and the
Petitioner relies on the same exhibits and expert declaration as in the Cisco
IPR. Mot. 5.
       For the same reasons set forth in our institution decision in the Cisco
IPR, we determine that the information presented in Dish’s Petition shows a
reasonable likelihood that Petitioner would prevail in showing that (a)
claims 1–3, 7–9, 13–16, and 20–22 would have been obvious over Shively
and Stopler and (b) claims 4–6, 10–12, 17–19, and 23–25 would have been



1
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
2
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
3
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013)
(“Gerszberg”).
                                        3
                                      Appx289
       Case: 18-1766     Document: 49-1      Page: 213    Filed: 11/21/2018

IPR2017-00254
Patent 9,014,243 B2

obvious over Shively, Stopler, and Gerszberg. See Cisco Dec. 6–16.
Accordingly, we institute an inter partes review on the same grounds as the
ones on which we instituted review in the Cisco IPR. We do not institute
inter partes review on any other grounds.

                IV. GRANT OF MOTION FOR JOINDER
      The Petition and Motion for Joinder in this proceeding were accorded
a filing date of November 11, 2016. See Paper 4. Thus, Petitioner’s Motion
for Joinder is timely because joinder was requested no later than one month
after the institution date of the Cisco IPR, i.e., November 4, 2016. See 37
C.F.R. § 42.122(b).
      The statutory provision governing joinder in inter partes review
proceedings is 35 U.S.C. § 315(c), which reads:
      If the Director institutes an inter partes review, the Director, in
      his or her discretion, may join as a party to that inter partes
      review any person who properly files a petition under section
      311 that the Director, after receiving a preliminary response
      under section 313 or the expiration of the time for filing such a
      response, determines warrants the institution of an inter partes
      review under section 314.

A motion for joinder should (1) set forth reasons why joinder is appropriate;
(2) identify any new grounds of unpatentability asserted in the petition;
(3) explain what impact (if any) joinder would have on the trial schedule for
the existing review; and (4) address specifically how briefing and discovery
may be simplified. See Kyocera Corp. v. Softview LLC, Case IPR2013-
00004, slip op. at 4 (PTAB Apr. 24, 2013) (Paper 15).
      As noted, the Petition in this case asserts the same unpatentability
ground on which we instituted review in the Cisco IPR. See Mot. 5. Dish
also relies on the same prior art analysis and expert testimony submitted by

                                      4
                                    Appx290
         Case: 18-1766      Document: 49-1   Page: 214    Filed: 11/21/2018

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Patent 9,014,243 B2

the Cisco Petitioner. See id. Indeed, the Petition is nearly identical to the
petition filed by the Cisco Petitioner with respect to the grounds on which
review was instituted in the Cisco IPR. See id. Thus, this inter partes
review does not present any ground or matter not already at issue in the
Cisco IPR.
      If joinder is granted, Dish anticipates participating in the proceeding
in a limited capacity absent termination of Cisco Petitioner as a party. Id. at
6. Dish agrees to “assume a limited ‘understudy’ role” and “would only take
on an active role if Cisco were no longer a party to the IPR.” Id. Dish
further represents that it “presents no new grounds for invalidity and its
presence in the proceedings will not introduce any additional arguments,
briefing or need for discovery.” Id. Because Dish expects to participate
only in a limited capacity, Dish submits that joinder will not impact the trial
schedule for the Cisco IPR. Id. at 5–6.
      We agree with Petitioner that joinder with the Cisco IPR is
appropriate under the circumstances. Accordingly, we grant Petitioner’s
Motion for Joinder.

                                  V. ORDER
      Accordingly, it is:
      ORDERED that an inter partes review is instituted in IPR2017-
00254;
      FURTHER ORDERED that the Motion for Joinder with IPR2016-
01020 is granted, and DISH Network, L.L.C. is joined as a petitioner in
IPR2016-01020;




                                      5
                                     Appx291
         Case: 18-1766    Document: 49-1     Page: 215     Filed: 11/21/2018

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Patent 9,014,243 B2

      FURTHER ORDERED that IPR2017-00254 is terminated under
37 C.F.R. § 42.72, and all further filings shall be made only in IPR2016-
01020;
      FURTHER ORDERED that, subsequent to joinder, the grounds for
trial in IPR2016-01020 remain unchanged;
      FURTHER ORDERED that, subsequent to joinder, the Scheduling
Order in place for IPR2016-01020 (Paper 8) remains unchanged;
      FURTHER ORDERED that in IPR2016-01020, the Cisco Petitioner
and Dish will file each paper, except for a motion that does not involve the
other party, as a single, consolidated filing, subject to the page limits set
forth in 37 C.F.R. § 42.24, and shall identify each such filing as a
consolidated filing;
      FURTHER ORDERED that for any consolidated filing, if Dish
wishes to file an additional paper to address points of disagreement with the
Cisco Petitioner, Dish must request authorization from the Board to file a
motion for additional pages, and no additional paper may be filed unless the
Board grants such a motion;
      FURTHER ORDERED that the Cisco Petitioner and Dish shall
collectively designate attorneys to conduct the cross-examination of any
witness produced by Patent Owner and the redirect of any witness produced
by the Cisco Petitioner and Dish, within the timeframes set forth in 37
C.F.R. § 42.53(c) or agreed to by the parties;
      FURTHER ORDERED that the Cisco Petitioner and Dish shall
collectively designate attorneys to present at the oral hearing, if requested
and scheduled, in a consolidated argument;



                                       6
                                     Appx292
       Case: 18-1766     Document: 49-1    Page: 216    Filed: 11/21/2018

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Patent 9,014,243 B2

      FURTHER ORDERED that the case caption in IPR2016-01020 shall
be changed to reflect joinder of Dish as a petitioner in accordance with the
attached example; and
      FURTHER ORDERED that a copy of this Decision shall be entered
into the record of IPR2016-01020.




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                                      7
                                    Appx293
      Case: 18-1766   Document: 49-1    Page: 217   Filed: 11/21/2018




       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          CISCO SYSTEMS, INC. and DISH NETWORK, LLC,
                           Petitioner,

                                   v.

                           TQ DELTA, LLC,
                            Patent Owner.
                            ____________

                          Case IPR2016-01020 1
                           Patent 9,014,243 B2
                             ____________




1
  DISH Network, L.L.C., who filed a Petition in IPR2017-00254, has been
joined as a petitioner in this proceeding.




                                Appx294
     Case: 18-1766     Document: 49-1     Page: 218     Filed: 11/21/2018



Trials@uspto.gov                                                  Paper 15
571-272-7822                                       Entered: April 3, 2017




       UNITED STATES PATENT AND TRADEMARK OFFICE
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        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          COMCAST CABLE COMMUNICATIONS, LLC,
                COX COMMUNICATIONS, INC.,
           TIME WARNER CABLE ENTERPRISES LLC,
       VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                        Petitioner,

                                     v.

                            TQ DELTA, LLC,
                             Patent Owner.
                             ____________

                           Case IPR2017-00418
                           Patent 9,014,243 B2
                             ____________

Before SALLY C. MEDLEY, KALYAN K. DESHPANDE, and
TREVOR M. JEFFERSON, Administrative Patent Judges.

DESHPANDE, Administrative Patent Judge.


                                 DECISION
                     Institution of Inter Partes Review
                             37 C.F.R. § 42.108
                      Petitioner’s Motion for Joinder
                           37 C.F.R. § 42.122(b)


                                 Appx295
        Case: 18-1766     Document: 49-1     Page: 219    Filed: 11/21/2018

IPR2017-00418
Patent 9,014,243 B2



                             I. INTRODUCTION
      Comcast Cable Communications, L.L.C., Cox Communications, Inc.,
Time Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc. (collectively “Petitioner”) filed a Petition for inter partes review
of claims 1‒25 of U.S. Patent No. 9,014,243 B2 (Ex. 1001, “the ’243
patent”). Paper 1 (“Pet.”). Concurrently with its Petition, Petitioner filed a
Motion for Joinder with Cisco Systems, Inc. v. TQ Delta, LLC, Case
IPR2016-01020 (“the Cisco IPR”). Paper 3 (“Mot.”). Petitioner represents
that the petitioners in the Cisco IPR—Cisco Systems, Inc. and DISH
Network, L.L.C. 1—do not oppose the Motion for Joinder. Mot. 1. TQ
Delta, LLC (“Patent Owner”) submits that it does not oppose joinder. See
Paper 7. Patent Owner also elected to waive its Preliminary Response. Id.
      For the reasons explained below, we institute an inter partes review of
claims 1–25 of the ’243 patent and grant Petitioner’s Motion for Joinder.

                        II. RELATED PROCEEDINGS
      Petitioner and Patent Owner identify several pending judicial matters
as relating to the ’243 patent. Pet. 2–3; Mot. 2–3; Paper 5, 2–4.




1
  DISH Network, L.L.C., who filed a Petition in IPR2017-00254, has been
joined as a petitioner in the Cisco IPR.
                                      2
                                     Appx296
        Case: 18-1766        Document: 49-1    Page: 220   Filed: 11/21/2018

IPR2017-00418
Patent 9,014,243 B2

       In the Cisco IPR, we instituted an inter partes review of claims 1–25
of the ’243 patent on the following grounds:

    References                       Basis          Challenged Claims
    Shively 2 and Stopler3          § 103(a)     1–3, 7–9, 13–16, and 20–22
    Shively, Stopler, and
                                    § 103(a)    4–6, 10–12, 17–19, and 23–25
    Gerszberg 4

Cisco Systems, Inc. v. TQ Delta, LLC, Case IPR2016-01020, slip op. at 16
(PTAB Nov. 4, 2016) (Paper 7) (“Cisco Dec.”).

              III. INSTITUTION OF INTER PARTES REVIEW
       The Petition in this proceeding asserts the same grounds of
unpatentability as the one on which we instituted review in the Cisco IPR.
Compare Pet. 12–55, with Cisco Dec. 16. Indeed, Petitioner contends that
the Petition asserts only the grounds that the Board instituted in the Cisco
IPR, there are no new arguments for the Board to consider, and the
Petitioner relies on the same exhibits and expert declaration as in the Cisco
IPR. Mot. 6.
       For the same reasons set forth in our institution decision in the Cisco
IPR, we determine that the information presented in the Petition shows a
reasonable likelihood that Petitioner would prevail in showing that (a)
claims 1–3, 7–9, 13–16, and 20–22 would have been obvious over Shively
and Stopler and (b) claims 4–6, 10–12, 17–19, and 23–25 would have been



2
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
3
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
4
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013)
(“Gerszberg”).
                                        3
                                      Appx297
       Case: 18-1766     Document: 49-1      Page: 221    Filed: 11/21/2018

IPR2017-00418
Patent 9,014,243 B2

obvious over Shively, Stopler, and Gerszberg. See Cisco Dec. 6–16.
Accordingly, we institute an inter partes review on the same grounds as the
ones on which we instituted review in the Cisco IPR. We do not institute
inter partes review on any other grounds.

                IV. GRANT OF MOTION FOR JOINDER
      The Petition and Motion for Joinder in this proceeding were accorded
a filing date of December 5, 2016. See Paper 4. Thus, Petitioner’s Motion
for Joinder is timely because joinder was requested no later than one month
after the institution date of the Cisco IPR, i.e., November 4, 2016.5 See 37
C.F.R. § 42.122(b).
      The statutory provision governing joinder in inter partes review
proceedings is 35 U.S.C. § 315(c), which reads:
      If the Director institutes an inter partes review, the Director, in
      his or her discretion, may join as a party to that inter partes
      review any person who properly files a petition under section
      311 that the Director, after receiving a preliminary response
      under section 313 or the expiration of the time for filing such a
      response, determines warrants the institution of an inter partes
      review under section 314.

A motion for joinder should (1) set forth reasons why joinder is appropriate;
(2) identify any new grounds of unpatentability asserted in the petition;
(3) explain what impact (if any) joinder would have on the trial schedule for
the existing review; and (4) address specifically how briefing and discovery
may be simplified. See Kyocera Corp. v. Softview LLC, Case IPR2013-
00004, slip op. at 4 (PTAB Apr. 24, 2013) (Paper 15).


5
  Because December 4, 2016 fell on a Sunday, the one-month date extended
to the next business day, December 5, 2016. See 37 C.F.R. § 1.7.
                                      4
                                    Appx298
         Case: 18-1766      Document: 49-1    Page: 222    Filed: 11/21/2018

IPR2017-00418
Patent 9,014,243 B2

      As noted, the Petition in this case asserts the same unpatentability
grounds on which we instituted review in the Cisco IPR. See Mot. 6.
Petitioner also relies on the same prior art analysis and expert testimony
submitted by the Cisco Petitioner. See id. Indeed, the Petition is nearly
identical to the petition filed by the Cisco Petitioner with respect to the
grounds on which review was instituted in the Cisco IPR. See id. Thus, this
inter partes review does not present any ground or matter not already at
issue in the Cisco IPR.
      If joinder is granted, Petitioner anticipates participating in the
proceeding in a limited capacity absent termination of Cisco Petitioner as a
party. Id. at 7. Petitioner agrees to “assume a limited ‘understudy’ role” and
“would only take on an active role if Cisco were no longer a party to the
IPR.” Id. Petitioner further represents that it “presents no new grounds for
invalidity and its presence in the proceedings will not introduce any
additional arguments, briefing or need for discovery.” Id. Because
Petitioner expects to participate only in a limited capacity, Petitioner submits
that joinder will not impact the trial schedule for the Cisco IPR. Id. at 6–7.
      We agree with Petitioner that joinder with the Cisco IPR is
appropriate under the circumstances. Accordingly, we grant Petitioner’s
Motion for Joinder.

                                  V. ORDER
      Accordingly, it is:
      ORDERED that an inter partes review is instituted in IPR2017-
00418;
      FURTHER ORDERED that the Motion for Joinder with IPR2016-
01020 is granted, and Comcast Cable Communications, L.L.C., Cox

                                      5
                                     Appx299
         Case: 18-1766    Document: 49-1      Page: 223    Filed: 11/21/2018

IPR2017-00418
Patent 9,014,243 B2

Communications, Inc., Time Warner Cable Enterprises L.L.C., Verizon
Services Corp., and ARRIS Group, Inc. are joined as a petitioner in
IPR2016-01020;
      FURTHER ORDERED that IPR2017-00418 is terminated under
37 C.F.R. § 42.72, and all further filings shall be made only in IPR2016-
01020;
      FURTHER ORDERED that, subsequent to joinder, the grounds for
trial in IPR2016-01020 remain unchanged;
      FURTHER ORDERED that, subsequent to joinder, the Scheduling
Order in place for IPR2016-01020 (Paper 8) remains unchanged;
      FURTHER ORDERED that in IPR2016-01020, the Cisco Petitioner
and Petitioner will file each paper, except for a motion that does not involve
the other party, as a single, consolidated filing, subject to the page limits set
forth in 37 C.F.R. § 42.24, and shall identify each such filing as a
consolidated filing;
      FURTHER ORDERED that for any consolidated filing, if Petitioner
wishes to file an additional paper to address points of disagreement with the
Cisco Petitioner, Petitioner must request authorization from the Board to file
a motion for additional pages, and no additional paper may be filed unless
the Board grants such a motion;
      FURTHER ORDERED that the Cisco Petitioner and Petitioner shall
collectively designate attorneys to conduct the cross-examination of any
witness produced by Patent Owner and the redirect of any witness produced
by the Cisco Petitioner and Petitioner, within the timeframes set forth in 37
C.F.R. § 42.53(c) or agreed to by the parties;



                                       6
                                     Appx300
       Case: 18-1766      Document: 49-1     Page: 224    Filed: 11/21/2018

IPR2017-00418
Patent 9,014,243 B2

      FURTHER ORDERED that the Cisco Petitioner and Petitioner shall
collectively designate attorneys to present at the oral hearing, if requested
and scheduled, in a consolidated argument;
      FURTHER ORDERED that the case caption in IPR2016-01020 shall
be changed to reflect joinder of Comcast Cable Communications, L.L.C.,
Cox Communications, Inc., Time Warner Cable Enterprises L.L.C., Verizon
Services Corp., and ARRIS Group, Inc. as a petitioner in accordance with
the attached example; and
      FURTHER ORDERED that a copy of this Decision shall be entered
into the record of IPR2016-01020.




                                      7
                                    Appx301
Case: 18-1766   Document: 49-1   Page: 225       Filed: 11/21/2018

        IPR2017-00418
        Patent 9,014,243 B2

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       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                     v.

                            TQ DELTA, LLC,
                             Patent Owner.
                             ____________

                           Case IPR2016-01020 1
                            Patent 9,014,243 B2
                              ____________




1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00254, and
Comcast Cable Communications, L.L.C., Cox Communications, Inc., Time
Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc., who filed a Petition in IPR2017-00418, have been joined in this
proceeding.




                                   Appx303
          Case: 18-1766    Document: 49-1    Page: 227   Filed: 11/21/2018




                                                                    Paper No. __

          UNITED STATES PATENT AND TRADEMARK OFFICE

                               ———————

           BEFORE THE PATENT TRIAL AND APPEAL BOARD

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             CISCO SYSTEMS, INC., DISH NETWORK, LLC,
              COMCAST CABLE COMMUNICATIONS, LLC,
                    COX COMMUNICATIONS, INC.,
               TIME WARNER CABLE ENTERPRISES LLC,
           VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                            Petitioner,1

                                       v.

                               TQ DELTA, LLC,
                                Patent Owner.

                               ———————

                           IPR No. IPR2016-01020
                           U.S. Patent No. 9,014,243

                               ———————

                            PETITIONER’S REPLY




1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00254, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00418, have been joined in this proceeding.


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                          Petitioner’s Exhibit List

                                June 8, 2016

Ex. 1001 U.S. Patent No. 9,014,243 to Tzannes (“the ’243 patent”)

Ex. 1002 Prosecution File History of U.S. Pat. No. 9,014,243

Ex. 1003 Prosecution File History of U.S. Pat. No. 8,355,427

Ex. 1004 Prosecution File History of U.S. Pat. No. 8,218,610

Ex. 1005 Prosecution File History of U.S. Pat. No. 8,073,041

Ex. 1006 Prosecution File History of U.S. Pat. No. 7,292,627

Ex. 1007 Prosecution File History of U.S. Pat. No. 6,961,369

Ex. 1008 U.S. Provisional Application No. 60/164,134

Ex. 1009 Declaration of Dr. Jose Tellado under 37 C.F.R. § 1.68

Ex. 1010 Curriculum Vitae of Dr. Jose Tellado

Ex. 1011 U.S. Patent No. 6,144,696 to Shively et al. (“Shively”)

Ex. 1012 U.S. Patent No. 6,625,219 to Stopler (“Stopler”)

Ex. 1013 U.S. Patent No. 6,424,646 to Gerszberg et al. (“Gerszberg”)

Ex. 1014 Harry Newton, NEWTON’S TELECOM DICTIONARY, 13th Ed. (1998)
         (selected pages)

Ex. 1015 Kim Maxwell, “Asymmetric Digital Subscriber Line: Interim
         Technology for the Next Forty Years,” IEEE Communications
         Magazine (Oct. 1996).

Ex. 1016 Walter Goralski, ADSL AND DSL TECHNOLOGIES (McGraw-Hill
         1998) (selected pages)

Ex. 1017 American National Standard for Telecommunications, Network and
         Customer Installation Interfaces—Asymmetric Digital Subscribers
         Line (ADSL) Metallic Interface (ANSI T1.413-1995)


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Ex. 1018     Intentionally omitted

Ex. 1019     Intentionally omitted

Ex. 1020     Intentionally omitted

Ex. 1021     Fig. 6 from Ex. 2009 (T. Regan, “ADSL Line Driver/Receiver
             Design Guide, Part 1” (February 2000)).

Ex. 1022     Robert T. Short, “Physical Layer,” in WIMEDIA UWB (2008).

Ex. 1023     Denis J. G. Mestdagh and Paul M. P. Spruyt, “A Method to Reduce
             the Probability of Clipping in DMT-Based Transceivers,” IEEE
             Transactions of Communications, Vol. 44, No. 10, (October 1996).

Ex. 1024     Stefan H. Muller and Johannes B. Huber, “A Comparison of Peak
             Power Reduction Schemes for OFDM,” IEEE Global
             Telecommunications Conference (1997).

Ex. 1025     Jose Tellado-Mourelo, “Peak to Average Power Reduction for
             Multicarrier Modulation,” A dissertation submitted to the
             Department of Electrical Engineering and the Committee on
             Graduate Studies of Stanford University (Sept. 1999)

Ex. 1026     Second Declaration of Dr. Jose Tellado under 37 C.F.R. § 1.68

Ex. 1027     Deposition Transcript of Dr. Robert T. Short

Ex. 1028     T. Starr, J. M. Cioffi, P. J. Silverman, UNDERSTANDING DIGITAL
             SUBSCRIBER LINE TECHNOLOGY (1999) (selected pages).

Ex. 1029     Abe, RESIDENTIAL BROADBAND (2000) (selected pages).

Ex. 1030     Mohamed Zekri, et al., “DMT Signals with Low Peak-to-Average
             Power Ratio,” Proceedings of the IEEE International Symposium
             on Computers and Communications (held July 6-8, 1999).

Ex. 1031     Second Declaration of David Bader

Ex. 1032     Peter S. Chow, et al., “A Practical Discrete Transceiver Loading
             Algorithm for Data Transmission over Spectrally Shaped
             Channels,” IEEE Transactions on Communications, Vol. 43, No.
             2/3/4 (1995).


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Ex. 1033     Kamran Sistanizadeh, et al., “Multi-Tone Transmission for
             Asymmetric Digital Subscriber Lines (ADSL)”, Communications,
             1993. ICC ’93 Geneva. Technical Program, Conference Record,
             IEEE International Conference (held May 23-26, 1993).

Ex. 1034     ADSL transmitter simulation program by Dr. Tellado




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I.    Summary

      Patent Owner TQ Delta raises various arguments, but they are all severely

flawed, whether by a misinterpretation of the prior art or a misunderstanding of the

technology involved. The obviousness rationale for combining Shively and

Stopler derives almost entirely from a POSITA’s straightforward consideration of

undisputed facts. The only substantive limitation in dispute—“scrambling”—is

plainly taught by Stopler, which even uses the same “scrambling” terminology to

describe the concept. Accordingly, the Board should issue a Final Written

Decision holding all claims of the ’243 patent unpatentable for obviousness.

II.   Claim Construction

      A.     “scrambling…a plurality of carrier phases”

      TQ Delta proposes construing the phrase “scrambling…a plurality of carrier

phases” to mean “adjusting the phases of a plurality of carriers in a single

multicarrier symbol by pseudo-randomly varying amounts.” Resp., pp.14-19.

      The “scrambling” phrase does not need construction, since the prior art

relied upon—Stopler—uses the same “phase scrambling” terminology to describe

pseudo-random phase changes. CSCO-1012, 12:24-31. Accordingly, the Board

should not adopt TQ Delta’s proposed construction.

      B.     “transceiver”

      TQ Delta notes that a district court—which applies a different claim



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interpretation standard—adopted a different claim construction for “transceiver.”

Resp., pp.13-14. But TQ Delta does not show any error in the Board’s currently-

adopted construction. Accordingly, there is no reason for the Board to modify its

construction.

III.   Combining the teachings of Shively and Stopler would have been
       obvious to a POSITA

       TQ Delta argues that it would not have been obvious to combine the DSL

technologies of Shively and Stopler. Resp., pp.45-47. TQ Delta further alleges that

Cisco’s obviousness rationale suffers from hindsight bias. Id., p.49. But the

obviousness rationale is based on agreed-upon facts and common engineering

sense. As discussed further below, there is no dispute that:

        multicarrier communication systems generate signals with a high peak-

          to-average power ratio (PAR), which is undesirable;

        repeating the same bits on multiple carriers, the technique taught in

          Shively, increases PAR;

        scrambling the phases of individual signal carriers was a known

          technique for reducing PAR; and

        Stopler teaches a phase scrambler.

       In light of these facts, a POSITA would have found it obvious to incorporate

a phase scrambler—like that in Stopler—into Shively’s system to counteract the

increase in PAR caused by Shively’s bit spreading technique. CSCO-1009, ¶¶67-

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68. Rather than hindsight, the combination would have been a straightforward

application of ordinary engineering sense to basic facts known to a POSITA.

CSCO-1009, ¶¶18, 67-68.

      A.     DMT-based communications systems were known to be
             susceptible to challenges caused by signals with high PAR

      There is no dispute that multicarrier systems using discrete multitone

(“DMT”) technology faced issues relating to signals with a high peak-to-average

ratio (“PAR”). See TQ-2003, ¶¶20-22. Similarly, there is no dispute that signals

with high PAR can induce clipping in the transmitter circuitry. See TQ-2003,

¶¶24-25, 30. These facts are succinctly stated in the ANSI T1.413-1995 standard:

             A DMT time-domain signal has a high peak-to-average ratio
             (its amplitude distribution is almost Gaussian), and large values
             may be clipped by the digital-to-analog converter.

CSCO-1017, §6.5 (p. 36).

      Cisco’s expert, Dr. Tellado, testified—and TQ Delta has not disputed—that

a POSITA would have known such background information:

             [A]n understanding of the ’243 patent requires an appreciation
             of digital communications using discrete multitone (DMT)
             signals, and appreciation for the potential for such multicarrier
             signals to have a high peak-to-average ratio, causing clipping
             during transmission.         Such knowledge would be within the
             level of skill in the art.



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CSCO-1009, ¶20.

      The parties also agree that engineers knew that one way to reduce the

likelihood of clipping was to design transmitters to handle a greater dynamic range.

TQ-2003, ¶26. But it was also known that such transmitters were more expensive,

less efficient, consumed more electricity, and generated more heat. TQ-2003, ¶26;

CSCO-1027, 45:21-46:6. Thus, engineers would have sought out other techniques

to reduce PAR. CSCO-1027, 46:23-47:3.

      B.     Transmitting the same data on multiple carriers causes a spike in
             signal amplitude and increases PAR

      There is no dispute that when many carriers of a multicarrier signal have the

same phase, the result is a signal with “large spikes in amplitude and, therefore, a

high PAR.” TQ-2003, ¶22. TQ Delta acknowledged that high PAR occurs “where

the same bit or bits is/are purposely sent in a redundant manner on multiple

carriers.” Resp., pp.6-7; TQ-2003, ¶22; CSCO-1027, 97:13-15. As TQ Delta’s

declarant Dr. Short illustrated in the figure below, when the signal carriers carry

the same bits, they have the same phases, which add coherently to create a

transmission signal with a large spike in amplitude. TQ-2003, ¶22. TQ Delta

admitted that such signal has a “high PAR.” Resp., p.7.




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TQ-2003, ¶18.

        C.     Shively transmits the same data on multiple carriers, which
               increases PAR

        In Shively’s system the same bits are purposely sent in a redundant manner

on multiple carriers, which TQ Delta admits leads to high PAR.2 CSCO-1011,

11:17-18; Resp., p.10; CSCO-1027, 9:7-10. Because the same data (Shively’s “k-

bit symbol”) is modulated on multiple carriers, the carriers will phase align and

will add coherently to create a transmission signal with a spike in amplitude


2
    Elsewhere TQ Delta argues that Shively does not suffer from increased PAR

(Resp., pp.47-49), but that argument is based on an erroneous analysis of a

hypothetical 18,000-foot ADSL line. TQ Delta and its expert repeatedly concede

that Shively transmits the same data on multiple carriers, which increases PAR.

Resp., pp.10; TQ-2003, ¶22; CSCO-1027, 96:16-20, 97:10-15, 100:4-7.


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(power). TQ-2003, ¶ 22; CSCO-1027, 97:21-23. This spike would not have

occurred without Shively’s technique, since the carriers would have been deemed

unusable, and no data would have been transmitted on those carriers. CSCO-1026,

¶6. Thus, Shively’s technique creates new amplitude spikes in the multicarrier

signal and causes an increase in PAR. Id.; Resp., pp.6-7.

       D.     Phase scrambling was a known technique for reducing PAR

       A POSITA would have known that one way to reduce PAR is to scramble

phases of individual carriers. As Dr. Tellado stated, “phase scrambling was

probably the most popular way” to reduce PAR. TQ-2002, 100:9-13; CSCO-1027,

9:11-13 (“just by rotating the symbols, then you can reduce the peak-to-average

ratio.”).

       Prior art technical publications confirm that phase scrambling was a known

way to reduce PAR. A 1996 article notes the use of “discrete multitone (DMT)

modulation technique … for applications [such as] asymmetric digital subscriber

line (ADSL).” CSCO-1023, p.1234; CSCO-1031, ¶2. The article describes prior

efforts “to reduce the peak-to average power ratio of the DMT signal,” and

proposes a technique in which “the phasor of each QAM-modulated carrier is

changed by means of a fixed phasor-transformation,” such as a “random phasor

transformation.” CSCO-1023, p.1234-35. Dr. Short agreed that such phasor

transformations include phase scrambling. CSCO-1027, 77:18-20.



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      Another 1997 article notes that “it is highly desirable to reduce the PAR” of

a multicarrier signal. CSCO-1024, p.1; CSCO-1031, ¶3. To do so, the article

describes a transmitter that “constructs its transmit signal with low PAR by

coordinated addition of appropriately phase rotated signal parts” where the signal

parts are subcarriers within a multicarrier vector. CSCO-1024, p.1. This technique

was applied to DMT systems, where the DMT tones (carriers) had a “phase

rotation applied to each tone.” CSCO-1028, p.238; CSCO-1031, ¶7.

      Thus, prior to November 9, 1999 (the earliest claimed priority date of the

’243 Patent), multiple engineers working with DMT-based systems had written

about the use of phase scrambling to reduce PAR. These articles support and

reinforce Dr. Tellado’s opinion that a POSITA would have been familiar with

phase scrambling as a known technique for reducing PAR. CSCO-1009, ¶67;

CSCO-1026, ¶54.

      TQ Delta presents no evidence to the contrary. While, TQ Delta’s declarant

Dr. Short agreed that randomizing phases of individual carriers is a way to reduce

PAR, he pointedly declined to provide any opinion regarding the fact that phase

scrambling was known in the prior art. CSCO-1027, 50:3-8, 51:4-11.

      Thus, all of the evidence of record supports the unchallenged conclusion that

a POSITA in the prior art timeframe would have been familiar with phase

scrambling as a technique for reducing PAR in DMT systems.


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       E.      Combining Stopler’s phase scrambler with Shively’s transmitter
               is merely the use of a known technique to improve a similar
               device.

       TQ Delta argues that Cisco failed to sufficiently explain how the Shively

and Stopler combination is the use of a known technique to improve a similar

device in the same way. Resp., pp.45-47. Instead, TQ Delta argues that Cisco

used hindsight bias to make the combination. Resp., pp.49-50. These assertions

are unfounded.

       First, the Petition unambiguously identified the “known technique” as

Stopler’s use of a phase scrambler to randomize the phases of subcarriers, which

improves (reduces) PAR. Pet., p.14.

       Second, the Petition explains that “[c]ombining Stopler’s phase scrambler

into Shively’s transmitter would have been a relatively simple and obvious solution

to reduce Shively’s PAR.” Pet., p.15. Thus, in the combination, the phase

scrambler improves Shively’s transmitter (by reducing PAR) in the same, known

way that the phase scrambler improves Stopler’s transmitter.

       Finally, the Petition explains that Shively and Stopler describe similar

devices, specifically, “multicarrier communications apparatuses, such as modems.”

Pet., p.17.

       Thus, the combination is merely the use of a known technique (phase

scrambling) to improve a similar device (multicarrier modem) in the same way (to



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reduce PAR). CSCO-1009, ¶¶ 62-70.

      F.     Market forces would have prompted a POSITA to combine
             Shively and Stopler

      TQ Delta argues that there were no “market forces” to prompt the

combination of Shively’s and Stopler’s techniques.” Resp., pp.55-57.

      But the most basic of market forces—cost—was recognized at the time as

influencing the development of multicarrier technology. Multiple engineers wrote

of the importance of minimizing cost:

             Cost – This is the dominant factor when dealing with consumer
             markets.

CSCO-1029, p.70; CSCO-1031, ¶8.

             Success of a service (and its underlying technology) depends
             greatly on its price and its relation to available alternatives.
             Service price, in turn, depends greatly on the cost of equipment
             and labor costs for operation…. A recurring theme in the field
             of DSLs is that the cost of additional capability in the
             transceiver yields greater savings from reduced operating costs,
             greater loop reach, or possible additional applications.

CSCO-1028, p.17.

      As Dr. Short admitted, an increase in PAR is associated with more

expensive communication equipment. CSCO-1027, 45:15-46:12. The drive to

reduce equipment costs would have motivated a POSITA to include Stopler’s



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phase scrambler in Shively’s transmitter to reduce PAR. CSCO-1026, ¶54. Thus,

combining Shively and Stopler would have been obvious for this additional reason.

IV.     Stopler’s phase scrambler reduces PAR because it scrambles phases of
        individual QAM symbols

        TQ Delta argues that Stopler’s phase scrambler does not reduce PAR

because the phase scrambler is applied to DMT symbols, not to individual QAM

symbols. See Resp., pp.14-18, 57-59.3 But TQ Delta’s argument is based on an

illogical reading of Stopler and undermined by the testimony of its expert.

        A.     Dr. Short admitted that Stopler’s phase scrambler is applied to
               QAM symbols

        Stopler states that “the phase scrambler is applied to all symbols.” CSCO-

1012, 12:26-27. Dr. Short agreed that in this statement, Stopler refers to phase

scrambling QAM symbols:

               A.    …“However, to simplify implementation, the phase
               scrambler is applied to all symbols,” not just the overhead
               symbols, so he is implying that he’s rotating the entire bank of
               symbols.…
               Q.    In that sentence, however, to simplify what you read --
               A.    Yes.
               Q.    -- it says it applies to all symbols, right?


3
    A DMT symbol comprises multiple signal carriers, and signal carriers are also

referred to as QAM symbols.


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             A.    Correct.
             Q.    And those symbols are QAM symbols?
             A.    Correct.

CSCO-1027, 59:9-12, 60:15-22 (emphasis added).

      More broadly, Stopler uses the word “symbol” multiple times in describing

the phase scrambler, and Dr. Short agreed that these refer to QAM symbols:

                                                                      CSCO-1027,
                                                                      54:17-55:3.

                                                                      CSCO-1027,
                                                                      55:19-24.


                                                                      CSCO-1027,
                                                                      59:9-12 &
                                                                      60:15-22.

CSCO-1012, 12:20-28 (annotated).

      Furthermore, there is no dispute that the input to Stopler’s phase scrambler is

a sequence of QAM symbols. CSCO-1027, 58:6-8. Thus, there is no dispute that

Stopler’s phase scrambler takes in QAM symbols and applies phase scrambling to

QAM symbols.

      B.     Stopler does not describe phase scrambling DMT symbols

      TQ Delta’s argument—that a POSITA would have understood Stopler as

teaching the phase scrambling of DMT symbols—is illogical and has no basis in



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Stopler’s text. Resp., p.34. Indeed, Dr. Short admitted that Stopler does not

describe applying the phase scrambler to a DMT symbol:

             Q.     Well, you would agree with me that [Stopler] doesn’t
             expressly teach applying the phase scrambler to the DMT as a
             whole?
             A.     I would agree with that.

CSCO-1027, 60:11-14.

       Stopler states that the purpose of the phase scrambler is to “randomize the

overhead channel symbols.” CSCO-1012, 12:24. Since overhead channel symbols

are QAM symbols (see CSCO-1027, 55:19-24), Stopler’s intent is to randomize the

phases of QAM symbols. Randomizing DMT symbols—as TQ Delta argues—

would not achieve Stopler’s stated purpose for the phase scrambler. CSCO-1026,

¶57.

       The illogic of TQ Delta’s argument is further demonstrated by the broader

context of the phase scrambler in Stopler’s system. CSCO-1026, ¶¶55-58. Stopler

contemplates that the phase scrambler and other transmitter components could be

used with either a DMT or CDMA modulator. CSCO-1012, 12:55-57; see also

Resp., pp.32-33. Since a CDMA modulator does not employ DMT symbols, there

is no reason for Stopler’s phase scrambler to operate on DMT symbols. CSCO-

1026, ¶58. In contrast, both DMT and CDMA modulators employ QAM symbols.

Id. Thus the straightforward reading of Stopler—as applying the phase scrambler


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to individual QAM symbols—is the only possible reading that is logically and

technically coherent. Id.

      C.     Stopler contemplates systems with multiple pilot tones and
             multiple kinds of overhead channel symbols

      TQ Delta argues that Stopler should be understood as phase scrambling

DMT symbols because the phase scrambler’s purpose is to randomize the overhead

channel symbols, and each DMT symbol in the ANSI T1.413-1995 standard has

only one pilot tone. Resp., p.40; see CSCO-1017, p.46. This argument fails for

multiple reasons, including that it ignores the plain text of Stopler.

      First, Stopler does not limit overhead channel symbols to a single pilot tone

per DMT symbol. Indeed, Stopler refers elsewhere to multiple “pilot tones.”

CSCO-1012, 12:51-52. Furthermore, Stopler’s techniques are not limited to ANSI

T1.413-1995 or even DMT, but are applicable to any “particular signal modulation

desired.” CSCO-1012, 12:56-57. As Dr. Short admitted, other multicarrier

technologies can use more than one pilot tone. CSCO-1027, 61:15-18.

      Second, pilot tones are just an example of overhead symbols. See CSCO-

1012, 9:62 (“overhead signals, such as pilot tones”) & 12:51-52 (“overhead bits

(e.g., pilot tones)”) (emphases added). Many other kinds of overhead channel

symbols are also possible. For example, the TIE/EIA-95 Standard referenced in

Stopler describes multiple overhead channels that include one pilot channel, one

sync channel and up to 9 paging channels. TQ-2005, pp.728-729; CSCO-1012,

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12:61-63. Thus, the entire logic of TQ Delta’s argument is based on the incorrect

premise that Stopler assumed that the only overhead would be a single ANSI

T1.413-1995 pilot tone.

      A POSITA would have understood that data in the overhead channel

symbols will probably not be random, but is likely to be highly structured. CSCO-

1009, ¶59. In the ANSI T1.413-1995 standard, for example, the bits encoding the

pilot tone are held constant at zero. CSCO-1017, p.46. Such non-random,

structured data increases the likelihood for phases of carriers to align, thereby

increasing PAR. CSCO-1009, ¶59. To break up the structured data, Stopler

employs a phase scrambler that scrambles phases of overhead channel symbols,

and thereby reduces PAR. CSCO-1009, ¶60; CSCO-1026, ¶¶57-58.

      D.     TQ Delta’s arguments about the ’156 patent are moot because it
             changes the phase of individual QAM symbols

      TQ Delta argues that Stopler’s phase scrambler operates on DMT symbols

because it is implementing a noise-immunity technique described in U.S.

6,370,156. Resp., pp.38-40. This argument fails for several reasons.

      First, TQ Delta does not offer any explanation for how Stopler, the inventor,

would have learned of the noise-immunity technique in the ’156 patent, which was

not published before it was granted in 2002. Thus, at the time of the Stopler

patent’s filing in 1999, the inventor Stopler could not have known of the patent

application that resulted in the ’156 patent.

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      Second, the ’156 patent does not scramble DMT symbols. Rather, the ’156

patent describes sequencing the pilot carrier—and only the pilot carrier—through

four different phase values. See TQ-2004, 7:5-6, 7:40-45. Dr. Short agreed that the

’156 Patent rotates only the phase of the pilot carrier (tone), not the phase of an

entire DMT symbol. CSCO-1027, 67:4-9.

      Thus, not even the ’156 patent describes changing the phase of an entire

DMT symbol. Even if Stopler used the ’156 patent’s technique—and the evidence

discussed below suggests that it does not—that fact would still not support TQ

Delta’s assertion that Stopler’s phase scrambler is applied to DMT symbols.

      Third, there are significant technical differences between Stopler’s phase

scrambler and the technique described in the ’156 patent. The ’156 patent changes

the phase of only the pilot carrier. TQ-2004, 7:40-45; CSCO-1027, 67:4-9.

Stopler’s phase scrambler, however, is applied not just to the pilot tone, but to “all

symbols.” CSCO-1012, 12:26-28.

      Stopler and the ’156 patent also differ in their phase rotation sequences. The

’156 patent changes its pilot carrier using a repeating sequence of four rotations.

TQ-2004, 7:40-45; see also CSCO-1027, 76:24-77:5 (explaining that the ’156

patent does not require random phase changes). Stopler, on the other hand, uses a

“phase scrambling sequence… generated by a pseudo-random generator,” making

the phase changes effectively random. CSCO-1012, 12:28-29.


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      Thus, there is virtually no similarity between Stopler’s phase scrambler and

the ’156 patent’s technique, and therefore no reason to believe that Stopler’s

description of the phase scrambler should be read as using ideas from the ’156

patent. And even if it were, the ’156 patent does not rotate the phase of entire

DMT symbols, so there is no reason to disturb the natural reading of Stopler as

applying its phase scrambler to QAM symbols.

V.    TQ Delta’s remaining arguments are without merit

      TQ Delta raises a variety of additional arguments, none of which hold up to

even moderate scrutiny. Cisco responds to each argument below.

      A.     Shively’s technique is not limited to 18,000 foot cables

      In support of its allegation that Shively’s technique does not increase PAR,

TQ Delta presents a supposed analysis of Shively’s PAR for an 18,000 foot cable.

Resp., pp.27-29. While that analysis is deeply flawed—as discussed below—the

entire premise for looking at an 18,000 foot example is illusory. Shively is not

limited to cable lengths of 18,000 feet. Shively merely mentions this length in

passing as an example of where “high signal attenuation… is usually observed.”

CSCO-1011, 9:66-10:1. Notably, the ANSI T1.413-1995 standard defines multiple

“test loops,” including loops of ten, 6000, 9000, and 12000 feet. CSCO-1017,

p.118; TQ-2002, 57:3-4 (“modems have to work with different lengths of loops,

not only 18,000 feet”).



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      TQ Delta’s attempt to pigeonhole Shively’s technique to 18,000-foot cables

is also inconsistent with Shively’s disclosure. Shively describes its bit-spreading

technique as a way to use “impaired parts of the frequency band,” and to

“compensate for high attenuation and/or high noise” in such impaired subcarriers.

CSCO-1011, 15:58-59, 15:50. Dr. Short admitted that other impairments—

including crosstalk noise—occur on line lengths of less than 18,000 feet and

agreed that Shively’s technique could be used on lines with noise-induced

impairments. CSCO-1027, 24:8-25:10, 93:11-94:8.

      The ANSI T1.413-1995 standard describes crosstalk as potentially

significant noise source in an ADSL system. There are many sources of crosstalk

and relatively short lines can have significant crosstalk noise. CSCO-1026, ¶7.

The ANSI standard provides multiple graphs showing the potential near-end cross

talk (“NEXT”) noise levels caused by various kinds of adjacent communication

lines. As illustrated in the annotated graphs prepared by Dr. Tellado, the NEXT

noise levels are above the -140 dBm/Hz background noise floor:




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                                                       background
                                                       noise floor




                                                        background
                                                        noise floor




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                                                                    background
                                                                    noise floor




CSCO-1026, ¶¶9-11; CSCO-1017, pp.138, 140, 142.

      The ANSI T1.413-1995 standard also provides an example graph showing

potential far-end crosstalk in an ADSL system:




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                                                                     background
                                                                     noise floor




CSCO-1026, ¶12; CSCO-1017, p.144.

      These graphs of crosstalk noise levels show that crosstalk noise can be a

significant line impairment, with the crosstalk noise exceeding the -140 dB/Hz

background noise level. CSCO-1026, ¶13. Because crosstalk can be significant on

even short lines, Shively’s technique could be usefully applied to any line length.

CSCO-1026, ¶14. Accordingly, there is no basis for TQ Delta’s attempt to limit

Shively’s technique to only 18,000-foot cables.

      B.     Dr. Short’s analysis of a hypothetical 18,000 foot cable is flawed

      Because Shively’s technique is not limited to 18,000 foot cables, the entire

premise of Dr. Short’s supposed analysis of such an example is baseless. Further,


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Dr. Short makes fundamentally incorrect assumptions that render his results

untrustworthy and meaningless.

      Specifically, Dr. Short assumes that a multicarrier signal is approximately

Gaussian, even when bits are repeated on multiple carriers. TQ-2003, ¶66. This

is a fundamental engineering error, since the Gaussian approximation only holds

when the phases of the individual carriers are random. CSCO-1026, ¶16; CSCO-

1030, p.362 (“The amplitude distribution of a DMT signal with random input data

is approximately Gaussian for large number of carriers.”); CSCO-1031, ¶4; CSCO-

1001, 1:52-55. Shively’s technique breaks that assumption because the subcarriers

used for bit-spreading are no longer randomized; instead, they are purposely set to

the same phase.

      Because a system employing Shively’s technique does not have carriers with

random phases, the signals produced by such a system cannot be reasonably

approximated by a Gaussian random variable. CSCO-1026, ¶16. The following

examples demonstrate this fact and illustrate the enormous errors that resulted from

Dr. Short’s use of the approximation.

      1.     Likelihood of phase alignment for random data

      In a multicarrier signal transmitting random data, the phase of each

subcarrier is essentially random. If two carriers are phase-modulated with one bit

per subcarrier, the likelihood of both bits being equal—and the carriers having the



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same phase—is 2 in 4:

                     Bit #1            Bit #2          Phases Aligned?
                       0                 0                Aligned

                        0                1                Not aligned

                        1                0                Not aligned

                        1                1                 Aligned



      Thus, if the first and second bits are random, the likelihood of the subcarriers

having the same phase is 50%. CSCO-1026, ¶18.

      With three bits of data on three subcarriers, there are eight possible

combinations of values. Again, there are only two possible combinations where all

bits have the same value and all phases align:

            Bit #1            Bit #2             Bit #3        Phases Aligned?
              0                 0                  0              Aligned

               0                0                  1             Not aligned

               0                1                  0             Not aligned

               0                1                  1             Not aligned

               1                0                  0             Not aligned

               1                0                  1             Not aligned

               1                1                  0             Not aligned




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               1                1                1              Aligned



      Thus, if the bits are transmitted are random, then the likelihood of all three

subcarriers having the same phase is 2 in 8, or 25%. CSCO-1026, ¶19.

      These examples can be continued to greater numbers of bits. With four bits,

the likelihood of four subcarriers having the same phase is 2 in 16, or 12.5%.

CSCO-1026, ¶20. With 8 bits, the likelihood is 2 in 256, or 0.78%. CSCO-1026,

¶21. Generally, the likelihood of n subcarriers transmitting n random bits all

having the same phase is:

                                          ଶ
                                                                                 Eq. 1
                                         ଶ೙

CSCO-1026, ¶22.

      2.     Likelihood of phase alignment using Shively’s bit-spreading
             technique

      Shively’s technique significantly changes the likelihood of multiple carriers

having the same phase because the carriers’ phases are no longer independent of

one another. Instead, multiple carriers are purposely modulated with the same bit,

and thus they have the same phase. Shively suggests using groups of 4 carriers.

CSCO-1011, 13:49-52. Thus, all 4 carriers in a group employing Shively’s

technique will have the same phase. Their likelihood of phase alignment is

100%—a stark contrast to the 12.5% chance if those 4 carriers were independent of


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one another. CSCO-1026, ¶24. If 8 carriers use Shively’s technique (two groups

of 4), the likelihood of all 8 carriers being phase-aligned is 50%; again this is in

stark contrast to the 0.78% chance if those carriers had uncorrelated, random

phases. Id. In general, the likelihood of n carriers all having the same phase if

they are employing Shively’s technique is:

                                                                                ଶ
                                                                                ೙                                      Eq. 2
                                                                               ቀ ቁ
                                                                              ଶ ర

CSCO-1026, ¶25.

                                            3.     Comparing the phase-alignment likelihoods for Shively’s
                                                   technique and random data

                                            Graphing equations 1 and 2 shows that they are never very close, and they

only grow farther apart as the number of subcarriers increases:
    likelihood of perfect phase alignment




                                                                        number of carriers
CSCO-1026, ¶26.

                                            Thus, the probability of multiple subcarriers having their phases aligned is

                                                                              30
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radically different between the random-data case and Shively’s technique. The

enormity of the differences is also apparent when considering how frequently a

given number of carriers will be phase-aligned in a system—such as ADSL—that

transmits 4000 symbols/second:

Number of            Frequency of perfect             Frequency of alignment
carriers             alignment for random data        for Shively’s bit-spreading
         4           500 times per second             4000 times per second
         8           31 times per second              2000 times per second
        16           Once every 8 seconds             500 times per second
        24           Once every 35 minutes            125 times per second
        32           Once every 6 days                31 times per second
        48           Once every 1100 years            2 times per second
        52           One every 17,850 years           Once per second

CSCO-1026, ¶28.

      Dr. Short used an example of Shively’s technique on 16 carriers. See TQ-

2003, ¶66. The table above shows that his assumption that the carriers would have

a Gaussian probability distribution grossly underestimates the likelihood of phase

alignment—by several orders of magnitude—and thus grossly underestimates the

probability of clipping. CSCO-1026, ¶29. Dr. Short effectively assumed that all

16 carriers would be phase-aligned only once every 8 seconds. In reality Shively’s

technique will cause them to be phase-aligned 500 times per second. Id. Because

Dr. Short’s numerical analysis is based entirely on an erroneous assumption, his

results are unreliable. Id. Thus, Dr. Short’s opinions and his analysis regarding

Shively’s PAR should not be accorded any weight.


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      C.       A rigorous analysis of using Shively’s technique shows that it
               significantly increases PAR and the likelihood of clipping

      Because Shively’s technique causes multiple subcarriers to be purposely set

to the same phase, a system employing Shively’s technique cannot be analyzed

using a Gaussian approximation. While a POSITA would have intuitively known

that Shively’s technique would significantly increase PAR, quantifying the exact

level of increase would have called for running a numerical simulation of the

transmitter. CSCO-1026, ¶42. Such simulations were commonly created and

performed by engineers working on ADSL designs in the 1990s. CSCO-1026,

¶43; see, e.g., CSCO-1030, p.367; CSCO-1032, p.774; CSCO-1033, p.758; CSCO-

31, ¶¶5-6.

      Consistent with what a POSITA would have done to quantify the effect of

Shively’s technique on PAR, Dr. Tellado created a simulation based, in part, on

TQ Delta’s Exhibit 2009, Figure 6, shown below:




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                                                        1-bit (non-repeating)
                                                        threshold


                                                        1-bit, 4-carrier-
                                                        repeating threshold



                       Unimpaired      Impaired Unusable
                        Carriers        Carriers Carriers


CSCO-2009, Fig. 6 (annotated).

      To show the effect of Shively’s technique on PAR, Dr. Tellado analyzed the

attenuation graph of a 12,000 foot AWG 26 cable. Dr. Tellado’s analysis shows

that the 12,000 foot cable would have approximately 188 unimpaired (with 6 left

unused), 53 impaired, and 15 unusable carriers. CSCO-1026, ¶¶37-38. Because

Shively suggests grouping impaired carriers into groups of four, Dr. Tellado

arranged 52 of the 53 carriers into 13 groups of 4 carriers each. CSCO-1026, ¶38.

      Dr. Tellado simulation uses the above analysis and includes four scenarios:

          Scenario #1: An all-carriers baseline simulates an ADSL transmitter

            employing QAM-4 modulation of random data on all 250 downstream


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               carriers. The transmitter is operating on full average power. CSCO-

               1026, ¶47.

             Scenario #2: A Gaussian distribution with the same power as the all-

               carriers baseline shows that Gaussian approximation can closely

               estimate the power required to transmit data on all 250 carriers.

               CSCO-1026, ¶47.

             Scenario #3: A 12,000 foot baseline simulates an ADSL transmitter

               employing a QAM-4 modulation of random data on 182 out of 250

               downstream carriers. Because only 182 carriers are modulated with

               random data, the transmitter operates on approximately 79% of full

               average power. CSCO-1026, ¶47.

             Scenario #4: A Shively 12,000 foot scenario simulates an ADSL

               transmitter employing QAM-4 modulation of random data on the 182

               carriers, and using Shively’s technique to transmit additional 13 bits

               of data spread across 52 impaired carriers (in 13 groups of 4 each).

               CSCO-1026, ¶47.

        The graph below shows the results of the four scenarios.4 The ANSI T1.413-

1995 standard’s maximum clipping rate, when expressed in terms of DMT symbol
4
    Such graphs were commonly used in the prior art to evaluate transmitter designs.

CSCO-1026, ¶46; CSCO-1030, p.367; CSCO-1024, p.4.


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clipping as graphed, corresponds to a DMT symbol clipping rate of approximately

5.1×10-5. CSCO-1026, ¶48.




                                                                         5.1 x 10-5
                                                                         clipping
                                                                         threshold




CSCO-1026, ¶¶48-49.

      The impact of Shively’s technique is evident in comparing Scenario #3 to

Scenario #4. If only 182 carriers carry data (Scenario #3), the PAR at the clipping

threshold is approximately 12.9 dB. But when Shively’s technique (Scenario #4) is

applied to the 52 impaired carriers (13 groups of four), the PAR increases to

approximately 15.5 dB. This increase in PAR is significant, and a POSITA in the

1990s would have considered a PAR increase of 2.6 dB—representing an 82%

increase in power—to be very large. CSCO-1026, ¶49.

      The increase in PAR can also be appreciated by considering response of an


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ordinary ADSL transmitter (represented by Scenario #1 that intersects the clipping

threshold at a PAR of 14.2 dB) when presented with a DMT symbol employing

Shively’s technique. A transmitter handling only PAR of 14.2, used in Scenario #4,

would have a clipping rate of 10-3 and incur a clipping event approximately 4 times

per second. CSCO-1026, ¶50. Thus, the ordinary ADSL transmitter would not

meet the clipping requirement of ANSI T1.413-1995 when presented with a DMT

symbol employing Shively’s technique under the conditions of Scenario #4.

CSCO-1026, ¶50.

      Dr. Tellado’s simulation considers only specific scenarios. Shively’s

technique would have an even worse impact on PAR in other scenarios that take

into account additional factors, such as other line lengths and crosstalk noise.

CSCO-1026, ¶51.

      Thus, the correct analysis of Shively’s technique confirms what a POSITA

would have recognized without performing any calculations: that Shively’s

technique significantly increases PAR. CSCO-1026, ¶52. Because (as the parties

agree) an increase in PAR is undesirable in multicarrier systems, a POSITA would

have sought out to pair Shively’s technique with techniques for reducing PAR,

such as phase scrambling taught by Stopler. CSCO-1026, ¶54.

      D.     High PAR causes more problems than just clipping

      TQ Delta argues that because Shively does not present “a PAR problem”,



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there is no need to look for a solution to reduce PAR. Resp., p.50. This argument is

based on TQ Delta’s erroneous 18,000-foot analysis (which is invalid, as discussed

above) and its attempt to limit a “PAR problem” to situations in which a “PAR-

induced error[]” such as signal clipping occurs. Resp., pp.7-8. But a high PAR

was known to cause multiple kinds of problems, not just clipping. Dr. Short

admitted that equipment designed to handle a high PAR signal could be larger,

more expensive, more power hungry, and less efficient. TQ-2003, ¶26; CSCO-

1027, 45:21-46:19. He further admitted that these problems would motivate

engineers to look for ways to reduce PAR. CSCO-1027, 46:23-47:2. Prior art

articles confirm that engineers sought to minimize the equipment cost, power

consumption, and heat generation associated with ADSL’s high-PAR signals. See

CSCO-1029, pp.70 & 176-177; CSCO-1030, p.362.

      In summary, the negative implications of a high-PAR signal are not limited

to signal clipping. The numerous problems associated with high PAR would have

motivated a POSITA to look for ways to reduce the PAR of Shively’s technique.

CSCO-1026, ¶¶3, 54.

      E.     Stopler’s diagonalization technique is optional, not required

      TQ Delta argues that Shively and Stopler cannot be combined because

Stopler’s “diagonalization” technique would introduce unacceptable latency.

Resp., pp.51-55. TQ Delta’s argument is meritless.



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      First, the obviousness combination does not rely on Stopler’s

diagonalization technique. Rather, the combination incorporates Stopler’s phase

scrambling technique into Shively in order to offset the PAR increase caused by

Shively’s technique. See Pet., p.14. Because the combination does not rely on

diagonalization, TQ Delta’s argument is simply a red herring.

      Second, even within Stopler, the use of diagonalization is optional. Stopler

makes statements like “regardless of whether diagonalization is being used.”

CSCO-1012, 10:17; see also id., 13:1-3. Because Stopler’s diagonalization

technique is optional, any incompatibility between diagonalization and Shively is

irrelevant. CSCO-1026, ¶60.

      Finally, TQ Delta’s assertion that the slope of Stopler’s diagonalization

technique causes unacceptable latency is simply incorrect. Stopler expressly

contemplates that “[o]ther slopes may be used” and advises “taking into account

trade-offs between latency and noise immunity.” CSCO-1012, 8:35, 12:47-48.

Thus, Stopler’s diagonalization technique could use a slope that would not cause

unacceptable latency. CSCO-1026, ¶61.

VI.   Conclusion

      None of the TQ Delta’s arguments withstand scrutiny. For the reasons

stated above and in Cisco’s Petition, the Board should find the challenged claims

unpatentable.



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                                   Respectfully submitted,

Date: June 9, 2017                 /David L. McCombs
                                   David L. McCombs
                                   Registration No. 32,271
                                   Attorney Docket No.: 43614.275




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                                   Appx342
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VII.   Certificate of Word Count

       Pursuant to 37 C.F.R. § 42.24, the undersigned attorney for the Petitioner,

Cisco Systems, Inc. (“Cisco”), declares that the argument section of this Petition

(Sections I-VI) has a total of 5488 words, according to the word count tool in

Microsoft Word™.


                                       /David L. McCombs/
                                       David L. McCombs
                                       Registration No. 32,271




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                         CERTIFICATE OF SERVICE

      The undersigned certifies service under 37 C.F.R. §§ 42.6(e) by electronic

mail a true and correct copy of PETITIONER’S REPLY AND EXHIBITS 1021-

1034 on June 8, 2017, upon counsel for the Patent Owner via the listed email

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Trials@uspto.gov                                                Paper 21
571-272-7822                                      Entered: June 22, 2017


        UNITED STATES PATENT AND TRADEMARK OFFICE
                        ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                      v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

               Cases IPR2016-01006 (Patent 7,835,430 B2)1
                  IPR2016-01008 (Patent 8,238,412 B2)
                  IPR2016-01020 (Patent 9,014,243 B2)
                  IPR2016-01021 (Patent 8,718,158 B2)
                            ____________




1
   DISH Network, L.L.C., Comcast Cable Communications, L.L.C., Cox
Communications, Inc., Time Warner Cable Enterprises L.L.C., Verizon
Services Corp., and ARRIS Group, Inc. have been joined in these
proceedings. See, IPR2017-00251, IPR2017-00253, IPR2017-00254,
IPR2017-00255, IPR2017-00417, IPR2017-00418, IPR2017-00419, and
IPR2017-00420. This Order addresses the same issues in the above listed
proceedings. Therefore, we issue one Order to be filed in all of the above
listed proceedings. The parties, however, are not authorized to use this style
of filing in subsequent papers.

                                   Appx351
       Case: 18-1766      Document: 49-1      Page: 269    Filed: 11/21/2018

IPR2016-01008 (Patent 8,238,412 B2)
IPR2016-01020 (Patent 9,014,243 B2)
IPR2016-0102 (Patent 8,718,158 B2)

Before SALLY C. MEDLEY, KALYAN K. DESHPANDE, and
TREVOR M. JEFFERSON, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.
                                  ORDER
                          Conduct of the Proceeding
                              37 C.F.R. § 42.5

      On June 21, 2017, a conference call was held involving counsel for
the respective parties and Judges Medley, Deshpande, and Jefferson. The
purpose of the conference call was for Patent Owner to seek authorization to
file a motion to strike Petitioner’s Reply and/or to file a sur-reply to
Petitioner’s Reply in each of the above listed proceedings. Patent Owner
opposed.
      During the conference call, we explained that Patent Owner is not
authorized to file motions to strike or sur-replies. We did authorize,
however, Patent Owner to file a paper, limited to two pages, which provides
an itemized listing, by page and line number, of what statements and
evidence in the Petitioner’s Reply are deemed by Patent Owner to be beyond
the proper scope of a reply. No argument is to be included in the contents of
the submission. We also authorized Petitioner to file a responsive paper,
limited to two pages, which provides an item-by-item response to the items
listed in Patent Owner’s submission. Each item in Petitioner’s responsive
paper would identify that part of Patent Owner’s Response, by page and line
number, to which the corresponding item complained of by the Patent
Owner is provided as a response, if indeed that is the case. No argument is
to be listed in the contents of the submission.

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                                     Appx352
      Case: 18-1766        Document: 49-1   Page: 270     Filed: 11/21/2018

IPR2016-01008 (Patent 8,238,412 B2)
IPR2016-01020 (Patent 9,014,243 B2)
IPR2016-0102 (Patent 8,718,158 B2)

      Accordingly, it is
      ORDERED that Patent Owner’s submission in each of the above
listed proceedings is due on June 27, 2017; and
      FURTHER ORDERED that Petitioner’s submission in each of the
above listed proceedings is due on July 3, 2017; and
      FURTHER ORDERED that the party responsible for obtaining the
court reporter shall file a copy of the transcript of the conference call as an
exhibit by June 27, 2017.


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                                      3
                                    Appx353
Case: 18-1766   Document: 49-1   Page: 271       Filed: 11/21/2018

       IPR2016-01008 (Patent 8,238,412 B2)
       IPR2016-01020 (Patent 9,014,243 B2)
       IPR2016-0102 (Patent 8,718,158 B2)



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                                             4
                         Appx354
       Case: 18-1766    Document: 49-1    Page: 272    Filed: 11/21/2018




       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
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          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                     v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

                           Case IPR2016-010211
                            Patent 8,718,158 B2
                              ____________




1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and
Comcast Cable Communications, L.L.C., Cox Communications, Inc., Time
Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc., who filed a Petition in IPR2017-00417, have been joined in this
proceeding.

                                  Appx355
          Case: 18-1766   Document: 49-1   Page: 273   Filed: 11/21/2018




Filed on behalf of TQ Delta, LLC
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          UNITED STATES PATENT AND TRADEMARK OFFICE
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           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _____________


             CISCO SYSTEMS, INC., DISH NETWORK, LLC,
              COMCAST CABLE COMMUNICATIONS, LLC,
                    COX COMMUNICATIONS, INC.,
               TIME WARNER CABLE ENTERPRISES LLC,
           VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                             Petitioner,

                                      v.

                              TQ DELTA, LLC
                                Patent Owner
                               _____________

                          Case No. IPR2016-010201
                            Patent No. 9,014,243
                              _____________

      PATENT OWNER’S LISTING OF IMPROPER REPLY / NEW
                ARGUMENT AND EVIDENCE

1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00254, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00418, have been joined in this proceeding.


                                    Appx356
          Case: 18-1766      Document: 49-1     Page: 274     Filed: 11/21/2018

Patent Owner’s Listing of Improper Reply / New Argument and Evidence
IPR2016-01020

      Pursuant to the Board’s Order (Paper No. 21) entered June 22, 2017, Patent

Owner provides the following listing of statements and evidence in that are beyond

the proper scope of a reply, including new argument and evidence:

(1)   Petitioner’s Reply at p. 8, lns. 16-17 (“scrambling the …”), and 19-21 (In

      light …”);

(2)   Petitioner’s Reply at p. 9, lns. 1-3 (“Rather than …”), and 6-8 (“There is

      …”);

(3)   Petitioner’s Reply at p. 11, lns. 9-11 (“Elsewhere TQ Delta …”);

(4)   Petitioner’s Reply at p. 12, ln. 6 – p. 13, ln. 20 (“D. Phase scrambling …”);

(5)   Petitioner’s Reply at p. 14, lns. 9-16 (“First, the …”);

(6)   Petitioner’s Reply at p. 15, ln. 6 (“But the …”) – p. 16, ln. 3;

(7)   Petitioner’s Reply at p. 17, lns. 8-11 (“Furthermore, there …”);

(8)   Petitioner’s Reply at p. 18, ln. 14 (“The illogic …”) – p. 19, ln. 2;

(9)   Petitioner’s Reply at p. 22, ln. 17 (“Notably, the …”) – p. 26, ln. 7;

(10) Petitioner’s Reply at p. 27, ln. 16 (“1. Likelihood of …”) – p. 36, ln. 18;

(11) Petitioner’s Reply at p. 36, ln. 19 (“D. High PAR …”) – p. 37, ln. 16;

(12) Ex. CSCO-1026 (Tellado Reply Decl.) at p. 3, ln. 21 (“However, Shively

      …”) – p. 9, ln. 2;

(13) Ex. CSCO-1026 (Tellado Reply Decl.) at p. 10, ln. 11 (“The likelihood …”)

      – p. 17, ln. 10;


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                                        Appx357
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Patent Owner’s Listing of Improper Reply / New Argument and Evidence
IPR2016-01020

(14) Ex. CSCO-1026 (Tellado Reply Decl.) at p. 20, ln. 11 (“Below I …”) – p.

      25, ln. 13;

(15) Ex. CSCO-1026 (Tellado Reply Decl.) at p. 25, ln. 20 (“A POSITA …”) – p.

      32, ln. 9;

(16) Ex. CSCO-1026 (Tellado Reply Decl.) at p. 32, ln. 16 (“Shively’s bit-

      spreading …”) – p. 33, ln. 12;

(17) Ex. CSCO-1026 (Tellado Reply Decl.) at p. 33, ln. 17 (“First, I …”) – p. 35,

      ln. 4;

(18) Ex. CSCO-1018 at p.s 138, 140, 142, and 144;

(19) Ex. CSCO-1022 (entirety);

(20) Ex. CSCO-1023 (entirety);

(21) Ex. CSCO-1024 (entirety);

(22) Ex. CSCO-1025 (entirety);

(23) Ex. CSCO-1028 (entirety);

(24) Ex. CSCO-1029 (entirety);

(25) Ex. CSCO-1030 (entirety);

(26) Ex. CSCO-1032 (entirety);

(27) Ex. CSCO-1033 (entirety);

(28) Ex. CSCO-1034 (entirety); and

(29) Ex. 2013 (Tellado Redirect Dep. Tr.) at p. 145, ln. 1 – p. 153, ln. 12.


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                                       Appx358
         Case: 18-1766    Document: 49-1    Page: 276   Filed: 11/21/2018

Patent Owner’s Listing of Improper Reply / New Argument and Evidence
IPR2016-01020



Dated: June 27, 2017                       /Peter J. McAndrews/
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CUSTOMER NUMBER: 23446




                                    3
                                   Appx359
             Case: 18-1766     Document: 49-1   Page: 277   Filed: 11/21/2018



Patent Owner’s Listing of Improper Reply / New Argument and Evidence
IPR2016-01020

                             CERTIFICATE OF SERVICE

      I hereby certify that the Patent Owner’s Listing of Improper Reply/New
Argument and Evidence in connection with Inter Partes Review Case IPR2016-
01020 was served on this 27th day of June, 2017 by electronic mail to the
following:


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                                        Appx360
         Case: 18-1766    Document: 49-1   Page: 278   Filed: 11/21/2018




Patent Owner’s Listing of Improper Reply / New Argument and Evidence
IPR2016-01020

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CUSTOMER NUMBER: 23446




                                   Appx361
          Case: 18-1766   Document: 49-1   Page: 279   Filed: 11/21/2018




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          UNITED STATES PATENT AND TRADEMARK OFFICE
                          _____________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _____________

             CISCO SYSTEMS, INC., DISH NETWORK, LLC,
              COMCAST CABLE COMMUNICATIONS, LLC,
                    COX COMMUNICATIONS, INC.,
               TIME WARNER CABLE ENTERPRISES LLC,
           VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                             Petitioner,

                                      v.

                              TQ DELTA, LLC
                                Patent Owner
                               _____________

                          Case No. IPR2016-010201
                            Patent No. 9,014,243
                              _____________

PATENT OWNER’S MOTION TO EXCLUDE EXHIBITS 1022, 1023, 1024,
1025, and 1028, PORTIONS OF THE TELLADO TESTIMONY (EX. 2013),
  AND PORTIONS OF THE 2nd TELLADO DECLARATION (EX. 1026)
                  PURSUANT TO 37 C.F.R. § 42.64(c)

1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00254, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00418, have been joined in this proceeding.


                                    Appx362
             Case: 18-1766   Document: 49-1     Page: 280    Filed: 11/21/2018

                                                   Patent Owner Motion to Exclude
                                                                 IPR2016-01020



I.     INTRODUCTION
       Patent Owner TQ Delta, LLC submits the following motion to exclude. The

exhibits in question should be excluded for Petitioner’s failure to cite documents

that constitute prior art, its untimely introduction of exhibits on Reply that are

irrelevant to the substantive issues and not cited in the Reply, rendering them

irrelevant, and its expert’s failure to retain copies of testing he performed on which

he relies.

II.    EXHIBITS 1022, 1023, 1024, 1025, AND 1028, PORTIONS OF THE
       TELLADO TESTIMONY (EX. 2013) AND PORTIONS OF THE
       SECOND TELLADO DECLARATION (EX. 1026) SHOULD BE
       EXCLUDED

       A.     EXHIBIT 1022 SHOULD BE EXCLUDED UNDER AT LEAST
              FED. R. EVID. 402
       Exhibit 1022 is a chapter and some additional pages from a book titled

WiMedia UWB. Patent Owner timely objected to Exhibit 1025. See Paper 22 at 1.

       Exhibit 1022 was not included with the Petition and it is not cited or

explained in the Reply. It is also not cited in the Second Tellado Declaration

(submitted with the Petitioner Reply). Exhibit 1022 should be excluded for this

reason alone as irrelevant and untimely under Fed. R. Evid. 402, Fed. R. Evid. 403,

37 C.F.R. § 42.23, and/or 37 C.F.R. § 42.61.




                                        2
                                       Appx363
           Case: 18-1766     Document: 49-1      Page: 281     Filed: 11/21/2018

                                                    Patent Owner Motion to Exclude
                                                                  IPR2016-01020

      Moreover, Exhibit 1022 should be excluded as irrelevant because it is not

prior art and therefore irrelevant to the knowledge of one of ordinary skill in the art

as of 1999. Both the book itself and the chapter in question (Ch. 3) bear copyright

dates of 2008. See Ex. 1022 at 3, 11. Patent Owner timely objected to Exhibit

1025. See Paper 22 at 2. There is no evidence that the book or the chapter cited

were publicly-available or otherwise constituted prior art as of 1999, the filing date

of the ’243 patent. See Ex. 1001 at cover. In other words, Exhibit 1022 is nine

years too late. Exhibit 1022 is irrelevant to show or evidence the knowledge of

one of ordinary skill as of the date the invention was made.

      The relevant time-frame for patentability is the time of the invention, and no

later than the effective filing date. See Synthon IP, Inc. v. Pfizer, Inc., C.A. No.

1:05cv1267, 2007 U.S. Dist. LEXIS 26115, at *15-17 (E.D. Va. Apr. 6, 2007)

(“[T]he obviousness inquiry asks whether the subject matter ‘would have been

obvious [to one of ordinary skill in the art] at the time the invention was made.’”),

quoting Alza Corp. v. Mylan Labs., Inc., 464 F.3d 1286, 1289 (Fed. Cir. 2006)

(emphasis added in Synthon); Walt Disney Prods. v. Fred A. Niles Communs. Ctr.,

Inc., 369 F.2d 230, 234 (7th Cir. 1966) (“The difference between the subject matter

sought to be patented and the prior art must be such that the subject matter as a

whole would have been obvious to a person having ordinary skill in the art to




                                         3
                                        Appx364
              Case: 18-1766    Document: 49-1     Page: 282    Filed: 11/21/2018

                                                      Patent Owner Motion to Exclude
                                                                    IPR2016-01020

which said subject matter pertains, as of the date of the invention.”; explaining that

the use of knowledge from a later date constituted impermissible hindsight).

         Because Exhibit 1022 was nine years too late, it is irrelevant under Fed. R.

Evid. 402, and should be excluded.2

         B.    EXHIBIT 1025 SHOULD BE EXCLUDED AS IRRELEVANT
               UNDER AT LEAST FED. R. EVID. 402
         Exhibit 1025 is a thesis from Petitioner’s Expert. It should be excluded for

multiple reasons. Patent Owner timely objected to Exhibit 1025. See Paper 22 at

2.

         Petitioner submitted Exhibit 1025 (Tellado thesis) for the first time on

Reply. Like Exhibit 1022, the thesis was not cited in either the Petition or the

Reply. Exhibit 1025 should be excluded for this reason alone as irrelevant and

untimely under F.R.E. 402, F.R.E 403, 37 C.F.R. § 42.23, and/or 37 C.F.R. §

42.61.

         Moreover, Exhibit 1025 should be excluded as irrelevant because it is not

prior art and therefore irrelevant to the knowledge of one of ordinary skill in the art

as of 1999. The only expert testimony offered by Petitioner in this case is offered

to show the viewpoint of a person of ordinary skill in the art as of the filing date of

2
    Exhibit 1022 should also be excluded because it is not cited in either the Reply or

the Second Tellado Declaration.


                                           4
                                          Appx365
             Case: 18-1766   Document: 49-1      Page: 283    Filed: 11/21/2018

                                                     Patent Owner Motion to Exclude
                                                                   IPR2016-01020

November 9, 1999. See Ex. 1009 ¶ 7. But, like Exhibit 1022, there is no evidence

that the Tellado thesis was publicly accessible as of this filing date. The Tellado

thesis itself lists two dates, without explanation—(1) a copyright date of 2000 (Ex.

1025 at 2); and (2) the statement “September 1999” under the author’s name. Id. at

1. After Patent Owner’s objection to Ex. 1025, Petitioner submitted supplemental

evidence to allege only that the thesis was “catalogued by the Stanford University

Libraries on May 9, 2000 (field 916) and was publicly available from the Stanford

University Libraries since this date.” Ex. 1035 ¶ 2, at 2.

        The proponent of the publication, here Petitioner, bears the burden of

producing sufficient proof of dissemination or sufficient proof that the publication

was otherwise available and accessible. See SRI Int’l, Inc. v. Internet Sec. Sys.,

Inc., 511 F.3d 1186, 1194 (Fed. Cir. 2008); see also Carella v. Starlight Archery &

Pro Line Co., 804 F.2d 135, 139 (Fed. Cir. 1986) (“[O]ne who wishes to

characterize the information, in whatever form it may be, as a ‘printed publication’

should produce sufficient proof of its dissemination or that it has otherwise been

available and accessible to persons concerned with the art to which the document

relates . . . .”).

        To be relevant, a publication must have been publicly accessible as of the

effective filing date. In this case, Petitioner has admitted that the relevant date, and

indeed the only date on which its expert offers his opinions regarding the


                                         5
                                        Appx366
           Case: 18-1766     Document: 49-1    Page: 284    Filed: 11/21/2018

                                                   Patent Owner Motion to Exclude
                                                                 IPR2016-01020

knowledge of a person of ordinary skill is November 9, 1999. See Ex. 1009 ¶ 7.

The supplemental evidence submitted by Petitioner shows, at best, a date of public

accessibility (“catalog[ing]”) of May 9, 2000, which falls after date of knowledge

of a person of ordinary skill (November 9, 1999) proffered by Petitioner’s expert

(see Ex. 1009 ¶ 7). That date, not surprisingly, matches the earliest claimed filing

date for the ’243 patent. See Ex. 1001 at cover; Ex. 1008. Therefore, the Tellado

thesis (Ex. 1025) is too late in time and is irrelevant to the testimony of Tellado,

and irrelevant to this review under Fed. R. Evid. 402.

      C.     ALL OR PORTIONS OF PARAGRAPHS 16, 29, 42
             (INCLUDING HEADER), 43, AND 52 OF THE SECOND
             TELLADO DECLARATION (EX. 1026) AND PAGES 46:19-
             47:16, 49:1-50:13, 51:5-56:23, 57:6-12, AND 61:19-23 OF THE
             TELLADO TRANSCRIPT (EX. 2013) SHOULD BE
             EXCLUDED
      During cross-examination, Petitioners’ expert (Dr. Tellado) testified that he

relied on at least two “MatLab” computer simulations to support his opinions, but

materials relating to only one simulation were provided to Patent Owner. The

materials related to the second simulation were apparently written over, discarded,

and/or withheld from Patent Owner. See Ex. 2013 at 47:9-48:6, 57:6-17, 58:10-14,

59:6-12, 60:3-8, 60:9-20. Patent Owner timely objected to the failure to disclose

or retain evidence and the possible discarding of evidence. See 6/22/17 A. Karp e-




                                        6
                                       Appx367
            Case: 18-1766     Document: 49-1    Page: 285    Filed: 11/21/2018

                                                    Patent Owner Motion to Exclude
                                                                  IPR2016-01020

mail to counsel; 6/22/17 A. Karp e-mail to Board; Ex. 2013 at 57:25-58:2, 62:13-

63:4.

        In addition to the testing of the 12,000 foot loop that Dr. Tellado performed

and disclosed in connection with his second declaration, Dr. Tellado also

performed an undisclosed simulation using a MatLab script for an “AWG26 loop

of 18,000 feet.” Ex. 2013 at 46:10-18.         But, Dr. Tellado testified on cross-

examination that the MatLab script and simulation results for an 18,000 foot loop

formed the basis of his opinion that Dr. Short’s (Patent Owner’s expert) Gaussian

approximation was “poor.” See, e.g., Ex. 2013 at 46:19-47:8, 51:5-20, 52:25-

53:12. When asked about whether he has or had an electronic or hard copy of the

MatLab script or simulation results, whether he communicated the same to anyone

else, or whether he discarded or deleted the same, Dr. Tellado could only say that

did not recall. See, e.g., id. at 47:9-48:6, 57:6-17, 58:10-14, 59:6-12, 60:3-8, 60:9-

20.

        Without providing Patent Owner with access to the MatLab simulation

result, Dr. Tellado has not disclosed the facts and data underlying his opinion, in

violation of 37 C.F.R. § 42.65(b). Under Rule 65(b), when Petitioner’s expert

relied on a technical test or data from it, he was required to “provide an affidavit

explaining” the test and its underlying data. See 37 C.F.R. § 42.65(b) (setting forth

the requirements of the affidavit); 3D-Matrix, Ltd., v. Menicon Co., Ltd., IPR2014-


                                         7
                                        Appx368
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                                                   Patent Owner Motion to Exclude
                                                                 IPR2016-01020

00398, Paper 11, August 1, 2014. Moreover, it remains impossible to cross-

examine Dr. Tellado regarding his opinions regarding simulations and his

criticisms of Dr. Short, as reflected in at least (1) Exhibit 1026, Second Tellado

Declaration, ¶ 16 (last 2 sentences), ¶ 29, ¶ 42 (including preceding header), ¶ 43

(first sentence), ¶ 52, and (2) Exhibit 2013, Tellado transcript at 46:19-47:16, 49:1-

50:13, 51:5-56:23, 57:6-12, and 61:19-23. See Altaire Pharma., Inc. v. Paragon

Biotek, Inc., PGR2015-00011, Paper 122, November 14, 2016 (“Without the

necessary information prescribed in § 42.65(b), we cannot determine whether the

evidence Petitioner relies on is credible.”).

      Moreover, the unavailable MatLab simulation information was required to

be disclosed as routine discovery at least because (1) it was relied on or cited by

Dr. Tellado during his testimony under 37 C.F.R. §§ 41.51(b)(1)(i); see Lumentum

Holdings, Inc. v. Capella Photonics, Inc., IPR2015-00731, Paper 32, February 5,

2016 (information relied on was required to be disclosed regardless of whether it

was actually called an exhibit in a paper); MaxLinear, Inc., v. Cresta Tech. Corp.,

IPR2015-00594, Paper 35, January 27, 2016 (testimony referencing an exhibit,

although not formally; and (2) it is inconsistent, at least, with Petitioners’ (and

Petitioners’ expert’s) positions regarding the accuracy of Dr. Short’s analysis. 37

C.F.R. §§ 42.51(b)(1)(i), (b)(1)(iii); see also MaxLinear, IPR2015-00594, Paper

35. Therefore, this information should already have been produced.


                                         8
                                        Appx369
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                                                   Patent Owner Motion to Exclude
                                                                 IPR2016-01020

      As a result of the improper withholding, the following paragraphs of the

Second Tellado Declaration (Ex. 1026) should be excluded under Fed. R. Evid.

702 as being based on insufficient facts or data: ¶ 16 (last 2 sentences), ¶ 29, ¶ 42

(including preceding header), ¶ 43 (first sentence), and ¶ 52. For the same reasons,

the following pages of the Tellado transcript (Ex. 2013) should be excluded under

Fed. R. Evid. 702: 46:19-47:16, 49:1-50:13, 51:5-56:23, 57:6-12, and 61:19-23.

      As a result of Dr. Tellado’s refusal to disclose the underlying facts and data

on cross-examination, the same portions of the Second Tellado Declaration (Ex.

1026) and the Tellado transcript (Ex. 2013) should also be excluded under Fed. R.

Evid. 705.

      For at least these reasons, and due to Dr. Tellado’s withholding of the

simulation data, the above-referenced portions of the Second Tellado Declaration

(Ex. 1026) and Tellado transcript (Ex. 2013) should be excluded under Fed. R.

Evid. 702, 705, 37 C.F.R. §§ 41.51(b)(1)(i) & 41.51(b)(1)(iii), and 37 C.F.R. §

42.65(b).

      D.      EXHIBITS 1023, 1024, AND 1028, AND PORTIONS OF DR.
              TELLADO’S REDIRECT ADDRESSING THE SAME (EX.
              2013) SHOULD BE EXCLUDED UNDER F.R.E. 402, F.R.E 403,
              37 C.F.R. § 42.23, AND/OR 37 C.F.R. § 42.61
      Exhibits 1023, 1024, and 1028, each of which was cited in the Reply for the

first time, should be excluded under F.R.E. 402, F.R.E 403, 37 C.F.R. § 42.23,



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                                                   Patent Owner Motion to Exclude
                                                                 IPR2016-01020

and/or 37 C.F.R. § 42.61. Patent Owner timely objected to these exhibits. See

Paper 22 at 1-2. Similarly, the portions of Dr. Tellado’s redirect regarding the

same (Ex. 2013 at 146:20-149:7 (Ex. 1023), 149:8-152:25 (Ex. 1024)) should also

be excluded under F.R.E. 402, F.R.E 403, 37 C.F.R. § 42.23, and/or 37 C.F.R. §

42.61. Patent Owner also timely objected to this redirect testimony. See Ex. 2013

at 146:20-149:7, 149:8-152:25

      These exhibits purportedly attempt to fill in a major shortcoming in the

evidentiary record—namely, there is no evidence in the Petition (besides an

unsupported, conclusory allegation by Petitioners’ expert) that a person having

ordinary skill in the art would have recognized that randomizing the phases of

subcarriers in a multicarrier signal would result in a lower peak-to-average power

ratio (“PAR”) in Shively’s system. Both the Petition and Petitioners’ expert’s first

declaration baselessly state: “A POSITA would have recognized that by

randomizing the phase of each subcarrier, Stopler provides a technique that allows

two subcarriers in Shively’s system to transmit the same [one or more] bits, but

without those two subcarriers having the same phase.” Petition at p. 14; Ex. 1009

(Dr. Tellado’s First Declaration) at ¶ 67. No supporting evidence was provided.

      Now, when Patent Owner has no chance to respond, Petitioners seek to

remedy this deficiency in the Petition (and first expert declaration) through

attorney argument regarding these exhibits. Exhibit 1023, Petitioners allege,


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                                                    Patent Owner Motion to Exclude
                                                                  IPR2016-01020

discloses “random phasor transformation” (Paper 17 at 13)—although they never

explain how such a “phasor” transformation equates to randomizing phases on

each subcarrier to reduce PAR. With respect to Exhibit 1024, Petitioners purport

that it discloses “phase rotated signal parts,” Paper 17 at 13, again with no further

explanation as to how this shows phase scrambling. And regarding Exhibit 1028,

Petitioners merely claim it demonstrates having a “phase rotation applied to each

[DMT] tone.” Paper 17 at 13. Again, no explanation is provided as to how this

equates to phase scrambling to lower PAR.

      Thus, Exhibits 1023, 1024, and 1028 are too late and not relevant to the

timely opinions and art actually raised in this review, and thus inadmissible under

F.R.E. 402, 37 C.F.R. § 42.23, and/or 37 C.F.R. § 42.61. Petitioners should not be

allowed to supplant the record by filling in the gaps left by their Petition and

supporting declaration. Moreover, because Patent Owner has no opportunity to

respond to the new exhibits at this late stage, the danger of unfair prejudice

substantially outweighs any minimal probative value they may have, rendering

them inadmissible under Fed. R. 403.

      Recognizing the shortcoming in its citations, Petitioner took up these topics

on deposition redirect of its own expert also, in an untimely attempt to fill in the

gaps. See Ex. 2013 at 146:20-149:7 (Ex. 1023), 149:8-152:25 (Ex. 1024). Having

failed to address these exhibits in its Petition, first Tellado Declaration, and Second


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                                                        Patent Owner Motion to Exclude
                                                                      IPR2016-01020

Tellado Declaration, these exhibits are too late and not relevant to the timely

opinions and art actually raised in this review, and thus inadmissible for the same

reasons under Fed. R. Evid. 402, 403, 37 C.F.R. § 42.23, and/or 37 C.F.R. § 42.61.

III.   CONCLUSION
       For all the foregoing reasons, TQ Delta respectfully requests that the Board

exclude Exhibits:

           Exhibit 1022, WiMedia UWB (including Chapter 3);

           Exhibit 1025, the Tellado thesis;

           Exhibit 1026, the Second Tellado Declaration, ¶ 16 (last 2 sentences),

             ¶ 29, ¶ 42, ¶ 43 (first sentence), ¶ 52;

           Exhibit 2013, the Tellado Transcript, at 46:19-47:16, 49:1-50:13,

             51:5-56:23, 57:6-12, and 61:19-23;

           Exhibit 1023, 1024, and 1028, newly-cited art; and

           Exhibit 2013, The Tellado Transcript, at 146:20-149:7 and 149:8-

             152:25.




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                                              Patent Owner Motion to Exclude
                                                            IPR2016-01020

Dated: June 30, 2017                      /Peter J. McAndrews/
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CUSTOMER NUMBER: 23446




                                   13
                                  Appx374
           Case: 18-1766     Document: 49-1     Page: 292   Filed: 11/21/2018


                           CERTIFICATE OF SERVICE

      I hereby certify that the Patent Owner Motion to Exclude in connection with
Inter Partes Review Case IPR2016-01020 was served on this 30th day of June,
2017 by electronic mail to the following:
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                                            1

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                                            Patent Owner Motion to Exclude
                                                          IPR2016-01020




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CUSTOMER NUMBER: 23446




                                   2
                                 Appx376
          Case: 18-1766   Document: 49-1   Page: 294   Filed: 11/21/2018




Filed on behalf of TQ Delta, LLC
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          UNITED STATES PATENT AND TRADEMARK OFFICE
                          _____________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _____________

            CISCO SYSTEMS, INC., DISH NETWORK, LLC,
             COMCAST CABLE COMMUNICATIONS, LLC,
                   COX COMMUNICATIONS, INC.,
              TIME WARNER CABLE ENTERPRISES LLC,
          VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                              Petitioner,
                                   v.
                           TQ DELTA, LLC
                             Patent Owner
                            _____________
             Case No. IPR2016-01020 (Patent No. 9,014,243)1
             Case No. IPR2016-01021 (Patent No. 8,718,158)2
                            _____________
         PATENT OWNER’S MOTION FOR DISCOVERY FILED
                      UNDER 37 C.F.R. § 42.51(b)

1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00254, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00418, have been joined in this proceeding.
2
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00417, have been joined in this proceeding.


                                    Appx385
          Case: 18-1766      Document: 49-1    Page: 295    Filed: 11/21/2018

                  Petitioner’s Response to Patent Owner’s Motion for Observation
                                                                  IPR2016-01020
Ex. 2013, 25:13-23 & 27:9-19. Dr. Tellado’s testimony is relevant to Petitioner’s

argument that “Shively is not limited to cable lengths of 18,000 feet.” Petitioner’s

Reply, Paper 17, p. 22.

Response to Observation # 2:

      TQ Delta mischaracterizes Dr. Tellado’s testimony because the cited

statements from Dr. Tellado do not discuss the noise characteristics used by Dr.

Short. See Ex. 2013, 46:1-5. Dr. Tellado did not agree that Dr. Short’s analysis

was based on a loop with high noise. Dr. Tellado’s declaration provided annotated

graphs showing that ADSL systems could have noise levels much higher than

“-140 dBm/Hz, which was the ‘background noise’ level shown in the attenuation

graph relied upon by Dr. Short.” Ex. 1026, ¶ 9; see also id., ¶¶ 10-13.

Response to Observation # 3:

      TQ Delta’s observation is misleading because Dr. Tellado did not rely on the

18,000-foot “quick estimate” to state in paragraph 29 of his declaration (Ex. 1026)

that “Dr. Short’s analysis is flawed….” PO’s Motion for Observation, p. 4. Rather,

to show that Dr. Short’s use of a Gaussian approximation was flawed, Dr. Tellado

relied on the simple math and logic explained in paragraphs 15-28 of his

declaration (Ex. 1026). TQ Delta also ignores Dr. Tellado’s testimony explaining

with “Graph 2” of Ex. 1026 (p. 30) that a system using Shively’s technique cannot

be modeled accurately with a Gaussian approximation:


                                        4
                                       Appx416
          Case: 18-1766     Document: 49-1     Page: 296    Filed: 11/21/2018

                Petitioner’s Response to Patent Owner’s Motion for Observation
                                                                   IPR2016-01020
            Q. Well, would it be to the left of the Scenario 1 line that you
            show here in graph 2?
            A. … So when you have a Gaussian process, it drops like the
            red line; if you have a non-Gaussian process, it could have a
            different slope. And it could look better at very high clipping
            rates, but it could be worse at low clipping rates. So I don’t
            remember exactly where it crossed. It didn’t have the same
            slope as a Gaussian process. That’s why I said the Gaussian
            approximation was not a good approximation.

Ex. 2013, 55:8-56:2.

Response to Observation # 5:

      TQ Delta’s observation is misleading because Dr. Tellado did not rely on the

18,000-foot “quick estimate” to state in paragraph 29 of his declaration (Ex. 1026)

that “Dr. Short’s analysis is flawed … .” PO’s Motion for Observation, p. 7.

Rather, to show that Dr. Short’s use of a Gaussian approximation was flawed, Dr.

Tellado relied on the simple math and logic explained in in paragraphs 15-28 of his

declaration (Ex. 1026). TQ Delta also ignores Dr. Tellado’s testimony explaining

with “Graph 2” of Ex. 1026 (p. 30) that a system using Shively’s technique cannot

be modeled accurately with a Gaussian approximation:

            A. Can you see graph 2? You see the solid red line?
            Q. Yes.




                                       6
                                      Appx418
          Case: 18-1766      Document: 49-1      Page: 297   Filed: 11/21/2018

                 Petitioner’s Response to Patent Owner’s Motion for Observation
                                                                IPR2016-01020
            A. That is the Gaussian process. You see Scenario 1 with 250
            QAM-4 carriers? Doesn’t it look very similar to the Gaussian
            process, the round, blue circles?
            Q. Yes.
            A. So I call this following a Gaussian process. What about the
            cyan Scenario 4 curve? Does it -- is it tight with the Gaussian
            process Scenario 2 curve? It's diverging. It’s worse than. The
            Gaussian process has a lower PAR than Scenario 4. It’s not a
            good model. This shows you a Scenario 4 that has Shively
            carriers cannot be modeled accurately with a Gaussian process
            in Scenario 2.

Ex. 2013, 49:13-50:5.

Response to Observation # 6:

      TQ Delta mischaracterizes Dr. Tellado’s testimony by omitting Dr.

Tellado’s explanation for why a non-Gaussian process (such as in Shively) cannot

be intuitively compared to a Gaussian process:

            A. … So when you have a Gaussian process, it drops like the
            red line; if you have a non-Gaussian process, it could have a
            different slope. And it could look better at very high clipping
            rates, but it could be worse at low clipping rates. So I don’t
            remember exactly where it crossed. It didn’t have the same
            slope as a Gaussian process. That’s why I said the Gaussian
            approximation was not a good approximation.

Ex. 2013, 55:19-56:2.

                                       7
                                      Appx419
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           UNITED STATES PATENT AND TRADEMARK OFFICE
                             ________

            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                            ________

                         CISCO SYSTEMS, INC., et al.
                                 Petitioner,

                                       v.

                               TQ DELTA LLC,
                                Patent Owner.
                                  ________

                     Case IPR2016-01020 (Patent 9,014,243)
                     Case IPR2016-01021 (Patent 8,718,158)
                                  ________

                            Record of Oral Hearing
                             Held: August 3, 2017
                                  ________



Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and
MATTHEW R. CLEMENTS, Administrative Patent Judges




                              Appx450
            Case: 18-1766    Document: 49-1   Page: 299    Filed: 11/21/2018


Case IPR2016-01020 (Patent 9,014,243)
Case IPR2016-01021 (Patent 8,718,158)

APPEARANCES:

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     The above-entitled matter came on for hearing on Thursday, August 3, 2017,
commencing at 2:56 p.m., at the U.S. Patent and Trademark Office, 600 Dulany Street,
Alexandria, Virginia.




                                          2

                                       Appx451
Case: 18-1766       Document: 49-1   Page: 300    Filed: 11/21/2018


     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

1                    PROCEEDINGS
2           JUDGE MEDLEY: Good afternoon. We are on
3     the record. This is the hearing for IPR 2016 01020
 4    and 1021. Cisco Systems, et al. versus TQ Delta.
 5    Each side has 40 minutes to argue.
 6          Petitioner, you will proceed first,
 7    to present your case with respect to the challenged
 8    claims and grounds for which we instituted a trial.
 9    And then thereafter, patent owner, you may have
10    time to respond and petitioner, you may reserve
11    rebuttal time.
12          At this time we would like the parties
13    to please introduce themselves beginning with
14    petitioner.
15          MR. MCCOMBS: Your Honors, I'm David
16    McCombs with Haynes & Boone, and with me is Theo
17    Foster and Gregory Huh and Dina Blikshteyn. Also we
18    have with us today, on behalf of Dish Networks we
19    Jennifer Volk and Stephen McBride from Cooley. And
20    then also we have for the Comcast entities we
21    have Corey Manley with Duane Morris.
22          JUDGE MEDLEY: And Mr. Foster, you will be
23    presenting?
24          MR. FOSTER: That's correct.
25          JUDGE MEDLEY: And patent owner?
26          MR. MCANDREWS: Good afternoon, Your
                                                  3

                             Appx452
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    Honor. I'm Peter McAndrews with McAndrews Held &
 2    Malloy. With me I have Rajendra Chiplunkar, Chris
 3    Scharff, and Ben Mann from our law firm. I also
 4    have from TQ Delta, their representative is Mark
 5    Roach and Nada Roget, and one of the inventors from
 6    the patent portfolio, Marcos Tzannes.
 7          JUDGE MEDLEY: All right. On August 1st,
 8    2017, patent owner filed papers styled Patent Owner’s
 9    Objections to Petitioner's Demonstratives. Patent
10    owner’s objections are dismissed because they are
11    improper since patent owner did not demonstrate
12    sufficiently that the contents of the objected-to
13    slides raised new issues or evidence, rather the
14    objected-to slides contained references to arguments
15    and evidence of record.
16          Again, we remind the parties that the
17    demonstratives are not evidence but demonstratives
18    and that we may not even enter them into the
19    record. For all these reasons, we dismiss the
20    objections to petitioners' demonstratives.
21          Petitioner, at this time you may
22    proceed.
23          MR. FOSTER: Thank you, Your Honor.
24          Good afternoon and may it please the
25    court. I'd like to jump straight into the issues
26    in this case and first point out that patent owner
                                                   4

                             Appx453
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1     does not dispute that the substantive limitations
 2     of the claims at issue here are taught in the
 3     prior art. The main issue raised in papers
 4     concerns the obviousness of combining the two main
 5     references. Those are Shively and Stopler. And
 6     we believe that that combination, looking at Slide
 7     2, that combination flows from ordinary
 8     engineering problem solving skills applied in
 9     light of three simple observations that would have
10     been apparent to a person of ordinary skill in
11     this art.
12            Those are, first, that Shively's
13     bit-spreading technique, while it improves the
14     data communication by allowing more data to be
15     communicated using otherwise unusable portions of
16     the frequency spectrum, it does have a side effect
17     in that it causes an increase in the
18     peaked-to-average power ratio for PAR of the
19     transmitted signal; second, that increase in PAR
20     is undesirable for a very large number of reasons;
21     and third, that the secondary reference, Stopler,
22     teaches a phase scrambler, which is a well known
23     technique in the prior art for reducing PAR.
24            So the combination would have been
25     obvious to a person of ordinary skill of the art
26     from these three simple statements.
                                                       5

                            Appx454
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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1            Because we will be talking about the
   2    ordinary level of skill in the art, I'd like to
   3    reference what that is. Looking at Slide 5, as we
   4    put in the petition, the ordinary level of skill
   5    in this art is represented by someone with a
   6    master's degree in electrical or computer
   7    engineering and five years of experience working
   8    with multicarrier communications technologies.
   9            That level of ordinary skill we
  10    identified in the petition. It was well supported
  11    by the declaration testimony of our expert, Dr.
  12    Jose Tellado, who is doing research in this area
  13    in the prior art time frame on these very same
  14    issues. And his testimony was this was
  15    representative of what ordinarily skilled
  16    practitioners working with these issues had in the
  17    time frame.
  18            Patent owner has not contested this, and
  19    so this is an uncontested ordinary level of skill
  20    in the art.
  21            Jumping to Slide 4 and looking, just for
  22    brief orientation, at Claim 1 of the '158 patent,
  23    the technology at issue with these two patents
  24    relates -- as we see in the last two stanzas of
  25    the '158 patent, the technology relates to
  26    modulating or transmitting a bit of data on one --
                                                          6

                            Appx455
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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1    one bit of data from a plurality of fixed data on
   2    a carrier signal and then transmitting and
   3    modulating the same bit on a second carrier
   4    signal. So the claims recite sending the same bit
   5    on these two carriers. And that is exactly what
   6    Shively does.
   7            Looking at Slide 7, we have portions of
   8    the Shively reference which describes, quote,
   9    spreading a single block of data, one or more
  10    bits, over multiple channels, close quote. Or
  11    alternately stated, the same concept as, quote,
  12    modulating a second set of respective carriers to
  13    represent redundantly at least one portion of the
  14    the data stream, close quote.
  15            So Shively is plainly teaching this
  16    concept of transmitting the same bit on two
  17    carriers recited in the claims. That is, I
  18    believe, uncontested.
  19            As Dr. Tellado explained, however,
  20    looking at Slide 8, that transmission technique of
  21    transmitting the same bits on multiple subcarriers
  22    does have a side effect, specifically it can cause
  23    a higher peak-to-average power ratio or PAR.
  24            Turning to Slide 9, patent owner more or
  25    less illustrated what this concept looks like.
  26    Looking at the graph on Slide 9 from patent
                                                        7

                            Appx456
Case: 18-1766     Document: 49-1     Page: 305     Filed: 11/21/2018


       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

  1     owner's response, we see on the left an example
  2     where 25 carriers have all been modulated to carry
  3     the same value, the bit value of zero. So they
  4     are all in phase. And then when they get summed
  5     together to create a multicarrier signal, which we
  6     see on the right, that multicarrier signal is, for
  7     the most part, a very low power, that it has these
  8     occasional excursions. We see these very high
  9     peaks occasionally within the signal. And those
 10     high peaks, relevant to the low average power
 11     level is what is representative or indicative of a
 12     high PAR signal.
 13             Turning to Slide 10, as I mentioned,
 14     patent owner basically conceded that Shively's
 15     technique does lead to high PAR. Looking at the
 16     patent owner's response, they acknowledge --
 17     again, this is Slide 10 -- they acknowledge that a
 18     high PAR can occur where the same bit or bits are
 19     purposely sent in a redundant matter on multiple
 20     carriers, which is exactly what Shively was
 21     teaching.
 22             Going to Slide 12, the second basic fact,
 23     as I mentioned, is that the increase in PAR, which
 24     results directly from Shively's technique is
 25     undesirable.
 26             As Dr. Tellado explained with his first
                                                       8

                            Appx457
Case: 18-1766    Document: 49-1      Page: 306     Filed: 11/21/2018


     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1     declaration -- looking at a portion of that on slide
 2     13 -- a person of ordinary skill in this art,
 3     someone with a master's degree and five years'
 4     experience, would have been quite familiar with the
 5     problems associated with a high PAR signal in
 6     multicarrier communications technologies, at least
 7     to a number of problems, including the use of
 8     components that are expensive, that are inefficient.
 9     And when those components are not sufficiently
10     designed to encounter a signal that has a PAR that
11     is greater than they are capable of handling, that
12     can result in amplitude clipping, which causes data
13     transmission errors.
14           And so because of those many deleterious
15     effects associated with an increasing PAR, Dr.
16     Tellado found that a person of ordinary skill in the
17     art would have sought a solution for that.
18           Looking at Slide 14, patent owner's expert
19     essentially agreed with all of those points. He
20     noted that a high or increased peak-to-average power
21     ration is associated with components that are
22     expensive and power hungry, that could consume a
23     large amount of power, and in his word were, quote,
24     impractical, close quote.
25           Dr. Short further agreed, looking at Slide
26     15, that because of those disadvantages, engineers
                                                       9

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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    would have been interested in using techniques to
  2    reduce PAR.
  3             So, so far we have the first two basic
  4    observations that I mentioned at the top are
  5    essentially undisputed.
  6             Turning to Slide 16, that brings us to my
  7    point number 3, and that's that Stopler provides a
  8    solution to this problem in Shively in its teaching
  9    of a phase scrambler which can reduce PAR.
10              Looking at slide 17, first I want to
11     clarify there's no dispute that Stopler describes a
12     phase scrambler. It's labeled as such quite plainly
13     in Stopler's figure 5, and it's part of component
14     82, which is a QAM mapper and phase scrambler.
15              Turning to Slide 18, Stopler describes the
16     application of that component, which is responsible
17     for, among other things, mapping data into QAM
18     symbols, tone by tone, which references -- tone by
19     tone references the individual carriers or
20     subcarriers equivalently stated, which make up the
21     multicarrier transmission signal. And then Stopler
22     further explains that a phase scrambling sequence is
23     applied to those symbols.
24              Turning to Slide 19, Dr. Tellado has
25     further explained in his deposition testimony that
26     in the late 1990s, when he was doing his thesis work
                                                        10

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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    on this prior technology and on these PAR issues,
 2    phase scrambling -- direct quote from him -- quote,
 3    phase scrambling was probably the most popular way,
 4    close quote, of reducing PAR. And in his second
 5    deposition he reiterated that it was well known when
 6    he wrote his thesis that phase scrambling was a
 7    technique for reducing PAR.
 8          I want to pause briefly here because this
 9    was the central issue in dispute at the time of
10    institution. At the time of institution we had the
11    evidence from Dr. Tellado explaining that phase
12    scrambling was an obvious way to reduce PAR in
13    Shively, and we have attorney argument from the
14    patent owner. Well, we are now nine months later
15    and we have more evidence from Dr. Tellado that not
16    only was i t apparent to know, but phase scrambling
17    was perhaps the most popular way of reducing PAR.
18          And turning to Slide 20, we have Dr.
19    Short, patent owner's expert, who essentially has no
20    opinion on this. When we asked him whether or not
21    he believed that randomizing the phases of
22    individual carriers was a known technique before
23    1990 for reducing PAR, the phase scrambling was
24    think was known in the art, his answer was, I don't
25    know. He did not have any opinion one way or the
26    other. He had no basis for knowledge, no testimony
                                                  11

                           Appx460
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    whatsoever as whether or not this would have been
 2    known.
 3            So we've got just an increase in disparity
 4    in evidence between petitioner and patent owner at
 5    this point. We have Dr. Tellado's well informed
 6    testimony from his experience, and we have
 7    Dr. Short's nonanswer, his lack of evidence, his
 8    lack of knowledge, and his lack of opinion regarding
 9    this.
10            So I think the evidence here on this point
11    of obviousness of the combination is even more
12    lopsided now than it was at the time of the
13    institution.
14            Turning to Slide 25, patent owner has put
15    forward an argument regarding the way that they read
16    Stopler and Stopler's disclosure of its
17    phase-scrambling technique. And patent owner has
18    asserted that Stopler is not scrambling the phases
19    of QAM symbols. But that's not the natural reading
20    of Stopler. But patent owner asserts that Stopler's
21    technique is, instead, scrambling groups of QAM
22    symbols. All of the QAM symbols that would be
23    transmitted together as a single multicarrier
24    signal, that group of QAM symbols in the aggregate
25    known as something called the DMT symbol. But that
26    position was rather directly undermined by their
                                                   12

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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    expert in deposition.
 2           We see here on Slide 25 the highlighted
 3    quote from Stopler where it states that the phase
 4    scrambler is applied to all symbols. And patent
 5    owner's expert in deposition agreed that the
 6    reference to all symbols is a reference to QAM
 7    symbols. So patent owner's expert agrees that the
 8    phase scrambler is being applied to the QAM symbols,
 9    not DMT symbols.
10           If we look at the end of that quotation
11    from Stopler, the last two lines, Stopler is
12    discussing selecting the amount of rotation to be
13    applied to the symbol, singular. If Stopler is
14    applied to all symbols and those symbols are QAM
15    symbols and if an amount of rotation is being
16    applied to one symbol, Stopler is plainly describing
17    applying the phase scrambler, QAM symbol by QAM
18    symbol, tone by tone, carrier by carrier, which,
19    again, was basically a restatement of this well
20    known technique of phase scrambling that Dr. Tellado
21    testified to.
22           Going to Slide 27 finally, this is back to
23    essentially undisputed issues. Patent owner -- I'm




                                                     13

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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    sorry -- this slide is slightly mislabeled. This is
 2    patent owner's expert, Dr. Short.
 3          Dr. Short agreed that by rotating symbols,
 4    by changing their phases, you can reduce the
 5    peak-to-average ratio, that changing the phases of
 6    individual symbols is a technique for reducing PAR.
 7    But that is the result.
 8          And so Stopler's description and
 9    disclosure of changing the phases of individual QAM
10    symbols is indeed a technique for reducing PAR. And
11    for the reasons that Dr. Tellado explained,
12    especially that it was a very popular and well known
13    technique, would have been obvious to a person of
14    ordinary skill in the art that this was suitable
15    solution to the issue raised by Shively, that
16    Shively, by transmitting the same data on multiple
17    carriers increases the PAR. Stopler then provides
18    the solution for that.
19          Looking at Slide 28, patent owner's other
20    principal argument is that Shively's technique is
21    applicable only to long lines. And by long lines,
22    the patent owner means lines that are at least




                                                    14

                                Appx463
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      Case IPR2016-01020 (Patent 9,014,243)
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  1    18,000 feet in length.
  2             But that's pretty directly disputed by the
  3    text of Shively itself, which states that its
  4    technique is applied, quote, to compensate for high
  5    attenuation and/or high noise, close quote, in the
  6    communications channel. And certainly high noise
  7    can occur on a short line. High noise is not
  8    necessarily affiliated with a long line. And
  9    Shively references that combination of attenuation
10     and noise in multiple places, and in general,
11     looking at the second quote on Slide 28, Shively
12     terms those collectively as impaired parts of the
13     frequency.
14              And looking at Slide 30, patent owner's
15     expert, Dr. Short, agreed that Shively's technique
16     could be used in general on other kinds of impaired
17     tones, that Shively's technique was not limited to
18     tones that are impaired because of high attenuation,
19     but Shively's technique could also be used where the
20     line or where specific tones or carriers within the
21     frequency spectrum have significant noise.
22              For that reason they have a very low
23     signal-to-noise ratio. The signal might be strong,
24     but the noise is high as well. So the
25     signal-to-noise ratio is still low. Those impaired
26     tones can still make use of Shively's technique.
                                                       15

                              Appx464
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    Dr. Short agreed.
 2          And then a final point on that, looking at
 3    Slide 31, Dr. Tellado further explained that modem
 4    designers, engineers working the space, wouldn't be
 5    designing a modem that operates only at 18,000 feet.
 6    They would design a modem that works at a variety of
 7    different line lengths, not just 18,000 feet. They
 8    would be looking at a variety of scenarios and a
 9    variety of potential issues that a modem might
10    encounter.
11          If there are no questions, I will reserve
12    the remainder of my time for rebuttal.
13          JUDGE CLEMENTS: I have a question about
14    Point 2, so back to Slide -- Slide 16 illustrates
15    it. It's an increase in PAR is undesirable, and I
16    think you characterized it as undisputed. But the
17    way I understand patent owner's argument is that
18    it's undesirable only if it results in clipping and
19    that Shively doesn't necessarily result in clipping.
20          So assuming that's the case, that Shively has
21    a very low probability of clipping, is there some
22    other reason, some other evidence of record of why
23    a person skilled in the art would want to reduce
24    PAR if it's not going to result in clipping
25    anyway?
26          MR. FOSTER: Yes, there is. I would
                                                    16

                            Appx465
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

 1     direct you, to begin with, on Slide 13, the portion
 2     of Dr. Tellado's first declaration, where he
 3     references that some of the problems associated with
 4     a high PAR signal include components that are
 5     expensive and inefficient. And so if a system is
 6     being designed where it is known that it could use
 7     techniques that would increase PAR that's going to
 8     lead to an increase in expense and inefficiency of
 9     those components that make up the transmitter, that
10     obviously would not be very desirable.
11              As I also uncovered, looking at slide
12     14, Dr. Short generally agreed with that as well,
13     that the high PAR signal or increase in the bar
14     would result in components that are expensive and
15     power hungry, impractical even.
16              You could also look at Exhibit 1027,
17     which was the deposition of Dr. Short. On page 46
18     between lines 13 and 19 Dr. Short also referenced
19     that an increase in PAR associated with components
20     that are larger. So not only are they more
21     inefficient, more expensive, more power hungry,
22     they are just physically larger, which could have
23     negative effects.
24              JUDGE CLEMENTS: Okay. Thank you.
25              One other question on construing
26     scrambling of plurality of carrier phases. Patent
                                                      17

                             Appx466
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1     owner proposes adjusting the phases on a plurality
 2     of carriers in a single multicarrier symbol by
 3     psuedo-randomly varying amounts. And I think in
 4     the reply petitioner says no construction's
 5     necessary because Stopler teaches phase scrambling
 6     explicitly.
 7           I think we need to construe it because
 8     Stopler may have some idiosyncratic definition of
 9     phase scrambling. That's a
10     possibility. So I think we'll have to construe it
11     and then determine whether Stopler teaches it.
12           My question is, does
13     petitioner have an issue with patent owner's
14     proposal? Because both parties -- neither party
15     seems to dispute that we are talking about
16     adjusting phases of carriers within a single DMT
17     symbol. The dispute really seems to be about
18     whether Stopler does that or whether it's
19     scrambling phases from symbol to symbol over time.
20           So what's petitioner's position on the
21     proper construction of scrambling plurality of
22     carrier phases?
23           MR. FOSTER: Yes, Your Honor.
24           Since we didn't put it in the
25     petitioner's reply, we don't think construction is
26     necessary. I understand that you disagree with
                                                     18

                            Appx467
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    that.
  2             Regarding patent owner's proposal of the
  3    construction, we believe that is exactly how
  4    Stopler is describing his phase scrambler as
  5    operating.
  6             JUDGE CLEMENTS: Okay. Thank you.
  7             MR. MCANDREWS: Good afternoon, Your
  8    Honors, and may it please the board. I'd like to
  9    start with the question that Judge Clements asked of
 10    petitioner's counsel because I don't think it quite
 11    got to the heart of what the issue is there.
 12             So the question related to whether to
 13    the extent that Stopler -- I'm sorry -- to the
 14    extent that Shively -- this goes to Shively -- to
 15    the extent the that actually doesn't have a
 16    problem in the sensitive clips, and if the board
 17    were to take that as true, what other evidence can
 18    the petitioner point to to show that one to be
 19    motivated to go try to solve an alleged increase
 20    in PAR problem. But I think that the petitioner
 21    and its experts misapprehend what it means to have
 22    an increase in the PAR. And this is particularly
 23    so given the high level of skill in the art the
 24    petitioner would have ascribed to the person of
 25    ordinary skill in the art. They would not see
 26    words like high PAR and increased PAR and say
                                                      19

                             Appx468
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    that's enough for me to know that there's a
  2    problem. Instead, they would want to look at what
  3    those are relative to.
  4             So what are those relative to? They are
  5    relative to the design criteria that the modem is
  6    designed with respect to. So the modem only will
  7    have a particular dynamic range given the
  8    anticipated signal, and they typically would use a
  9    Gaussian estimation of the anticipated signal
 10    transmitting on all 250 carriers in the
 11    (undiscernible) system of Shively. And they would
 12    determine what is the dynamic range that we want
 13    our amplifiers to have to ensure that we achieve
 14    the clipping rate that the scanner refers to of 10
 15    to the minus 7, or 1 in about 10 million samples.
 16             Petitioner is alleging that simply if
 17    you have a signal that somehow increases PAR, you
 18    are going to have to change your amplifiers.
 19    Well, no, you're not. If it doesn't increase it
 20    beyond where those amplifiers would have a
 21    problem, the clipping rate is higher than the
 22    standard allows, then there is no problem.
 23             It's a discussion of dynamic range where
 24    if you are left unbounded with your signal and you




                                                        20

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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    are only attempting to correct for a high part
  2    that goes beyond the dynamic range of design
  3    amplifiers, yes, that might require bigger
  4    amplifiers and more expensive amplifiers.
  5             But the context of Shively and the
  6    context of DSL is that you have fixed dynamic
  7    range for your amplifiers. You know what it is
  8    going in. And then you look at high -- you know,
  9    it's relative terms -- high increased PAR are
 10    viewed with respect to whether you have a clipping
 11    problem.
 12             But the alleged problems that
 13    petitioner's counsel pointed to have nothing to do
 14    with once you set your design criteria, and I'll
 15    get into that in a little bit.
 16             So Your Honor, Judge Clements, do you
 17    have any follow-up to that. Did that address the
 18    issue?
 19             JUDGE CLEMENTS: What about the other
 20    factors that the petitioner pointed to? The -- you
 21    know, the expense, power consumption, physical
 22    size. Why wouldn't those have been factors that a
 23    person of ordinary skill in the art would take into
 24    consideration in incorporating -- you know, if they
 25    could incorporate this phase scrambling technique
 26    and reduce PAR, and it allows them to use cheaper,
                                                      21

                             Appx470
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    smaller, less power-hungry components, why wouldn't
 2    they have done so?
 3          MR. MCANDREWS: Well, the baseline for the
 4    components again is going to be full power on all
 5    250 carriers using the Gaussian estimation. So the
 6    question is, if there is a PAR that exceeds -- that
 7    is high enough to exceed that dynamic range at a
 8    rate that's higher than 1 in 10 million samples,
 9    then you might have a problem. But our position, as
10    we laid out, is that Shively's technique, because
11    it's used for severely impaired loops, it's directed
12    to the severely impaired loops, those loops are
13    going to use substantially less transmit power.
14    There's going to be substantially less transmit
15    power so it actually reduces the PAR while
16    duplicating carriers, yes, will contribute an uptick
17    that is fully negated many times over, many fold, by
18    the reduction on a Shively loop -- you know, an
19    18,000-foot loop or longer -- where you would be
20    transmitting less than half of the power you
21    ordinarily would.
22          And I've got a slide here that shows a
23    reduction of total transmit power will also
24    prevent clipping. So while the signal appears to
25    have peaks, those peaks fall far below the
26    clipping threshold, the dynamic range of the
                                                    22

                            Appx471
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    amplifiers. So this idea that you have to
 2    increase the size of your amplifiers doesn't
 3    apply.
 4             There's also the concept that -- the
 5    flip side of that is if you phase scramble --
 6    let's say you take Shively, and even if it doesn't
 7    have a clippings problem, you decide that you want
 8    to phase scramble to produce PAR, you can't do
 9    that. You can't reduce PAR any lower than what
10    it's designed for. There wouldn't be any
11    motivation to do that because you're
12    presumptively, when it's operating in ordinary
13    mode on an unimpaired loop, you're going to have
14    all 250 carriers transmitting fully on all – at
15    their full power spectrum mass. And so you're not
16    going to have that issue. And so the amplifiers
17    will be designed to take that into consideration.
18             JUDGE CLEMENTS: Did I understand you to
19    say that the standard requires amplifiers of a
20    certain minimum dynamic range?
21             MR. MCANDREWS: That would be
22    implementation specific, but the standard does
23    require that the device will clip at a rate that's
24    less than 1 in 10 million samples.
25             And so what that means, given the power
26    spectrum mass of a given standard -- of the ADSL
                                                       23

                             Appx472
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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1    standard that Shively's directed to, that would
   2    dictate a particular dynamic range.
   3             You design the amplifier to achieve the
   4    clipping rate and that dynamic range happens to
   5    be -- and both parties appear to agree on this --
   6    that the dynamic range that the amplifiers would
   7    be designed to for the ADSL standard is -- the
   8    patent talks about 14.5 dB. Petitioner's expert
   9    uses a slightly lower one. They use 14.2 dB. But
  10    it appears that the parties are in full agreement
  11    that that's approximately the design criteria that
  12    you arrive at is somewhere in the 14.2 or 14.5
  13    range.
  14             So I'd like to go to my Slide 2, where
  15    we summarize these arguments, and I just want to
  16    point out that petitioner characterized at least
  17    two of these issues as not in dispute, and they
  18    fully are in dispute. I mean Shively does not
  19    have a power problem. There's no doubt we
  20    presented evidence of that. And the parties spent
  21    quite a bit of time and energy debating that
  22    issue.
  23             So we absolutely do debate that Shively
  24    has a power problem. It does not cause clipping
  25    at a rate that's greater than the standard allows.
  26    And again, even if the duplicated carriers cause
                                                     24

                             Appx473
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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1    some small uptick, that's negated by the
   2    substantial reduction of overall power that the
   3    Shively transmitter will transmit.
   4            The second issue is that one with skill
   5    in the art, even if Shively had a power problem --
   6    and it does not -- but even if Shively had a power
   7    problem, it would not look to Stopler. In fact,
   8    it would not look to any phase-scrambling
   9    techniques as I'll explain in a little more here.
  10            Part of the difficulty we had is that
  11    petitioners did not provide any evidence with
  12    their petition, other than the say so of their
  13    expert, that phase scrambling was a technique that
  14    was known to those with skill in the art for
  15    solving PAR issues. Instead, they just took it as
  16    granted that they were going to jump to Stopler.
  17            Stopler itself doesn't mention PAR
  18    anywhere. If it's not addressed to PAR in any
  19    way, shape, or form, it doesn't -- it doesn't in
  20    fact describe any issue that would cause a PAR
  21    problem. So one with skill in the art is not
  22    naturally looking to Stopler if he thinks he's got
  23    a PAR problem.
  24            Instead, what petitioner did is they
  25    backfilled in their reply with some new references
  26    that we've objected to. Those new references
                                                        25

                             Appx474
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    describe phase scrambling techniques that I'll
  2    explain in a minute, why those are not only
  3    totally incompatible and contrary to the purpose
  4    of Shively, but they would not solve the PAR
  5    problem of Shively. And I'll get to that in just
  6    a minute.
  7             So just very quickly, and this is more
  8    for the record -- I'm sure Your Honors understand
  9    the technical basis of these terms -- but
 10    peak-to-average power ratio, of course, is the
 11    instantaneous peak of a signal compared to its
 12    time-average value.
 13             Typically when you are going to look at
 14    a figure like we have on Slide 4 -- I'm now on
 15    Slide 4 -- what you are looking at there is the
 16    signal over a DMT symbol. So over a single period
 17    you're going to have peaks and valleys, you are
 18    going to have an average in the signal over that
 19    DMT symbol period. So this is power over time.
 20    And what we're looking at here is the symbol. And
 21    the symbol, what it shows, is we've got a single
 22    peak that reaches the red line. And so that would
 23    be a peak of the signal, and we've got an average
 24    that's the black line.




                                                     26

                             Appx475
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

 1              On Slide 5 Dr. Short discusses the issue
 2     of what causes clipping, and that's when the peaks
 3     exceed the clipping threshold. This is where they
 4     are going to be exceeding that dynamic range of
 5     approximately 14.2 to 14.5. And these are samples
 6     of a symbols. These are the sample of the DMT
 7     symbol over time.
 8              You may have noticed that the parties,
 9     when they were describing the sampling rate,
10     patent owner originally used what the patent was
11     describing, that it was a clipping rate per
12     sample. The petitioner, when they put in evidence
13     in the reply, they used a clipping rate of a
14     symbol, which is, instead of 10 to minus 7, is
15     about 5.1 to the minus 5. Just so we know that
16     we're talking about the same clipping rate.
17              So the clipping rate of the standard is
18     10 to the minus 7. What this slide is also
19     pointing out is that there's only a PAR problem
20     when the peaks exceed the maximum dynamic range
21     and clipping is caused.
22              On Slide 6 we see that Dr. Short
23     provided some declaration testimony about this
24     issue, and the patent also refers to this 1 times
25     10 to the minus 7 clipping threshold, and it also
26     mentions the dynamic range that an ADSL
                                                      27

                              Appx476
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

1     transmitter would typically use. That's 14.5 dB.
2     And that's found on Slide 6 in the excerpt of the
3     patent on the lower right-hand side.
4           JUDGE JEFFERSON: Counsel, can you go back
5     to Slide 5. You have an excerpt from the patent
6     that describes that increased PAR can result in a
 7    system with high power consumption and/or
 8    clipping.
 9          MR. MCANDREWS: Yes, Your Honor.
10          JUDGE JEFFERSON: Just drop the and/or.
11    Why isn't just the potential for a high power
12    problem sufficient to want a low PAR?
13          MR. MCANDREWS: So again, it would only be
14    high power consumption if in fact the amplifier was,
15    first of all, was designed to allow that. So if
16    you're going to clip you are probably not going to
17    send the signal anyway, so you're not going to have
18    high power consumption.
19          But if you redesign your amplifiers to
20    have to achieve a higher peak -- a higher dynamic
21    range, then that could be -- that could cause
22    higher power consumption. It could also cause
23    more cost in the system. But the point here is
24    that that doesn't have to be done when your
25    signal, whatever your signal may be, when your
26    signal is not exceeding 14.5 dB or 14.2 dB. And
                                                  28

                            Appx477
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    what we pointed out with Shively is that it will
 2    not achieve that. It will not exceed the 14.2 dB
 3    or 14.5 dB at a rate that's greater than is
 4    allowed by standard. So there would be no need to
 5    bring in bigger amplifiers.
 6            JUDGE JEFFERSON: Then there's no high
 7    power problem and there's no clipping problem.
 8            MR. MCANDREWS: There's no high power
 9    problem and there's no clipping problem when the
10    signal itself has a lower PAR. The signal itself
11    will have a lower PAR in Shively's technique on an
12    18,000 foot loop.
13            JUDGE JEFFERSON: Would it have a high
14    power problem on a shorter loop?
15            MR. MCANDREWS: On a shorter loop -- so
16    let's take the issue of the 12,000 foot loop. And
17    again, as you know from our papers, patent owner
18    maintains that there's no basis for using Shively on
19    a 12,000 foot loop. Maybe I should address that,
20    for example, here.
21            JUDGE JEFFERSON: Before you address that,
22    would there be a high power problem if there was a
23    shorter loop, setting aside there's no basis for
24    that.
25            MR. MCANDREWS: So the answer to that
26    question is depending on -- so the answer is if you
                                                    29

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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    were to blindly use Shively's spreading technique on
  2    a scenario that they cherrypicked -- so let me
  3    address -- I'm sorry. Let me address the
  4    12,000-foot loop.
  5             So on the 12,000-foot loop, the scenario
  6    that petitioner chose in its reply brief, that
  7    does show that there would be an issue with
  8    clipping. The clipping rate would exceed 10 to
  9    the minus 7. However, one with skill in the art,
10     first of all, would recognize that any other loop
11     shorter than that -- say, 9,000-foot loop, 6,000-,
12     3,000-, less-than-10-foot loop, these are all --
13     by the way, these are all the loops that are
14     addressed on one of the slides -- on one of
15     petitioner's slides. On all those loops, on loops
16     that are shorter than 12,000 feet, there is no PAR
17     problem because Shively's technique is not usable.
18     Those are loops where all of the carriers are
19     going to be fully usable using one bit per
20     carrier.
21              Now, let's take the 12,000-foot loop.
22     And let me point out one thing that they ignored
23     with the 12,000-foot loop. While they paid lip
24     service to the idea that you need to take into
25     consideration not just attenuation but also noise,
26     their scenario that they rely on to attempt to
                                                        30

                             Appx479
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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1    show that there's a PAR problem with the
   2    12,000-foot loop ignores noise. If they hadn't
   3    ignored noise -- and by the way, they use a lot of
   4    paper to show those noise scenarios -- that the
   5    ADSL standard wants you to take into
   6    consideration, if you use any one of those, what
   7    it's going to do is it's actually going to reduce
   8    the transmit power because more of the carriers
   9    will be unusable.
  10            So what they did is they cherrypicked
  11    the scenario -- 12,000-foot line with no noise on
  12    it -- to come up with -- and we read testimony
  13    from Dr. Tellado that he picked -- he says, I
  14    picked that combination to justify my opinions.
  15    In hindsight he started with the idea that he was
  16    looking for a problem. He started with the notion
  17    that he needed to find a problem. So he went to a
  18    12,000-foot loop.
  19            So to back it down, yes, there could
  20    potentially be a problem on a 12,000-foot loop.
  21    However, let me point out an issue. So Shively is
  22    directed to squeezing through a few additional
  23    bits on a severely erred line -- a severely
  24    impaired line like an 18,000-foot line. And
  25    again, there's only a few additional bits that's
  26    getting through.
                                                       31

                            Appx480
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1             Let's kind of just take it in terms of
  2    magnitude. On a 12,000-foot line, you are going
  3    to be getting through somewhere on the order of a
  4    thousand bits, a thousand bits cleanly on your
  5    fully usable carriers. The Shively carriers are
  6    going to add a very small, almost de minimus bonus
  7    to that. They are going to add, even under
  8    petitioner's most rosy view of how you would do
  9    that to wind up with 32 Shively carriers. So
 10    that's eight groups of four. And then they used a
 11    four QAM on those rather than one bit per four
 12    that (undiscernible) talks about. But they put
 13    two bits on each of those. Even under that you
 14    are going to get through only an additional 16
 15    bits per symbol. That's a de minimus gain.
 16             So here's what one with skill in the art
 17    would have done. To the extent that one skilled
 18    in the art was even thinking of the concept of
 19    increased PAR, what they would have done on a
 20    12,000-foot loop, they would have shut off the
 21    Shively carriers. There's no reason to use those
 22    carriers. If you use those carriers you cause a
 23    PAR problem. If I don't use them I've got plenty
 24    of bandwidth anyways.
 25             Shively is directed to those loops that
 26    are heavily impaired like the 18,000-foot loop,
                                                         32

                              Appx481
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    where you are only allowed to use about 34 percent
  2    of your carriers to get data through. And even
  3    those carriers, by the way, because of the long
  4    loop, those have a signal-to-noise margin that is
  5    substantially below those same similar carriers
  6    who would have downed the 12,000-foot loop.
  7             And as Your Honor may understand, when
  8    you have a -- in the DSL system when you have a
  9    the higher signal-to-noise ratio margin available
 10    to you, you can put in more bits. You can use a
 11    higher order of QAM constellations and put many
 12    more bits.
 13             So what Shively is really directed to is
 14    those loops where even on your carriers we can get
 15    a bit through, you are putting through fewer bits.
 16    And so the Shively carriers give you meaningful
 17    bonus bits. So on those lines where the Shively
 18    carriers are meaningful, you don't have a PAR
 19    problem. On the 12,000-foot loop where Shively
 20    carriers are meaningless and you wouldn't use
 21    them, the more likely thing that one skilled in
 22    the art would do is turn them off, turn off the
 23    Shively carriers.
 24             And let me mention -- so let's say they
 25    decided not to turn them off. Let's say if you
 26    wanted to go solve that PAR problem, and for some
                                                     33

                             Appx482
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    reason he thought that he ought to use phase
  2    scrambling to do that. Well, Dr. Tellado
  3    himself -- and I'm sorry I'm going to jump all the
  4    way to slide 58 for this. Slide 58 is the last
  5    slide in the deck. Dr. Tellado himself tells us
  6    why one with skill in the art on a 12,000-foot
  7    loop would not use phase scrambling.
  8             First of all, Dr. Tellado in his thesis,
  9    his PhD thesis that is of record, mentions at
 10    least half a dozen ways to reduce PAR that don't
 11    involve phase scrambling.
 12             Here, in his patents dated in 1998 -- so
 13    this is in the prior art; this is in the record;
 14    we presented this to Dr. Tellado in his
 15    deposition -- he criticizes phase scrambling
 16    because he says the randomization scheme requires
 17    extra bandwidth.
 18             Okay. So if your phase scrambling
 19    scheme is going to require the use of extra
 20    bandwidth -- and the reason why there's extra
 21    bandwidth is because these phase scrambling
 22    techniques, they need to transmit additional
 23    information to the other side to let the other
 24    side know how to descramble what was just
 25    scrambled, we need to tell them what scramble
 26    patterns were used or if it was scrambled or it
                                                          34

                              Appx483
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1     wasn't scrambled. Some of them actually have to
  2     retransmit a symbol. So this is the extra
  3     bandwidth that phase scrambling will use. Dr.
  4     Tellado points out that that's a big downside in
  5     using phase scrambling.
  6             So let's go back to Shively. Shively is
  7     on a 12,000-foot loop. He's going to squeeze
  8     through a de minimus additional amount of bits.
  9     And then he's going to try to solve that problem
 10     using a technique that eats up those bits that he
 11     just got through. It just doesn't make sense at
 12     all. I mean this is pure hindsight to try to jam
 13     a phase scrambling technique into Shively. It
 14     just doesn't make sense.
 15             The additional thing that would happen
 16     if you did that, granted let's say you are going
 17     to try to get a few extra bits from Shively and
 18     then you would have to give them back with a
 19     randomization scheme. In doing that you've added
 20     two layers of complexity to your modem. So now
 21     you're going to do something with Shively. You're
 22     going to use a unique way of spreading bits and
 23     then you're going to, as Dr. Clough (phonetic)
 24     also points out, he says -- well, one thing he
 25     says is peak-to-average, PAR, ratio isn't
 26     effectively reduced by phase scrambling. But the
                                                    35

                             Appx484
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    other thing he points out is that it requires an
 2    additional IFFT.
 3           An IFFT is like the main engine of the
 4    multicarrier communications. It's the modulator
 5    that takes in all the multiple carriers and
 6    creates a transmission signal out of it. So
 7    you're going to add two layers of complexity just
 8    to get a de minimus or no gain. So that doesn't
 9    make sense.
10           There's a reason why the 12,000-foot
11    scenario they presented had to be cherrypicked,
12    and they didn't consider all the reasons why one
13    skilled in the art, even given that
14    12,000-foot-loop scenario, would have gone to
15    phase scrambling.
16           JUDGE CLEMENTS: Counsel, that sounds like
17    an argument that the phase scrambling may not have
18    been the best way to reduce PAR, at least at the
19    time Dr. Tellado's patent was written, but even here
20    it says randomizing has been shown to somewhat
21    reduce peak-to-average power ratio to an extent.
22           So doesn't that still support
23    petitioner's notion that phase scrambling is a way
24    of reducing PAR, even if it's the not the best
25    way?
26           MR. MCANDREWS: So it's a way. It may do
                                                    36

                            Appx485
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

 1     it to an extent. But if it's not sufficient to do
 2     it fully, it may not be usable with Shively to the
 3     extent that you are going to use Shively in this
 4     manner to cause a PAR problem. And again, I don't
 5     think you would. You would not use Shively at all
 6     when you have plenty of bandwidth.
 7              The other issue, though, is that I
 8     pointed out it's not just that it's -- it doesn't
 9     fully effectively reduce PAR. I pointed out that
10     it's actually incompatible with Shively's goal of
11     squeezing some additional bandwidth out of these
12     impaired carriers because it actually requires
13     additional bandwidth to do the scrambling in the
14     first place. So it's going to negate that
15     benefit. It's not just that it's not a great way,
16     it's that it's a way that would negate the benefit
17     of Shively and therefore be incompatible.
18              The other thing that I want to mention,
19     though, this was the petitioner's burden to show,
20     and the petitioner failed to address any of these
21     things that I was just talking about. They
22     just -- they just assumed that Shively has a PAR
23     problem. We demonstrated that it doesn't, given
24     Shively's primary application to impaired loops.
25     And then they just presumed in their petition that
26     you would run off and grab something that doesn't
                                                       37

                              Appx486
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    describe solving PAR, you know, Stopler, and they
 2    claim that does some aspect of phase scrambling.
 3          So does that answer your question, Your
 4    Honor.
 5          JUDGE CLEMENTS: It does, and actually it
 6    brings me to another question about the 18,000 foot
 7    scenario. Assuming you're right and it results in
 8    power levels of I think -- is it 40 percent in
 9    normal mode and 49 percent in power boost mode --
10    isn't it the peak-to-average ratio that's important?
11    And so even if the ratio -- I mean even if the
12    average, in the denominator, goes down to 40 percent or
13    49 percent, how does it follow necessarily that the
14    ratio therefore is not problematic? It seems to me
15    that that just means that the peak could be up
16    40 percent lower, or 49 percent lower, and you'd have
17    the same problematic ratio.
18          MR. MCANDREWS: Well, so I actually -- as
19    is shown by the simulations that Dr. Clough put
20    together. They actually showed that when you reduce
21    the number of carriers that you are using, it
22    actually does reduce the PAR. In fact, the
23    peak-to-average is reduced.
24          But I would also point out that while
25    the peak-to-average is reduced, it's really the
26    peak that you are most concerned with. The
                                                   38

                             Appx487
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    peak-to-average is not much of a concern as long
 2    as you are within the dynamic range that the
 3    amplifiers allow.
 4          JUDGE CLEMENTS: Well, the problem is,
 5    when I read the '243 patent, you know, the
 6    background of invention, for example, talks about
 7    the PAR itself being a problem to be solved, not the
 8    absolute value of the peak.
 9          MR. MCANDREWS: Your Honor, I don't
10    disagree with that. I believe there are some loose
11    usage of the term PAR in the background section, but
12    one skilled in the art would get to the portion
13    where they talk about clipping rate and dynamic
14    range and understand that what they're talking about
15    is increases in PAR and increases in clipping -- or
16    increases in PAR that would cause clipping. So it's
17    not simply the peak-to-average that's the problem.
18    You have to look at the whole signal and determine
19    whether you can meet the design criteria of the DSL
20    standard.
21          I would also point out that the
22    background section of the patent owner's patent is
23    not prior art. It's describing what they view as
24    problematic issues in the prior art, not
25    necessarily what one of ordinary skill in the art
26    would have known prior to reading the background
                                                  39

                           Appx488
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    section.
  2             JUDGE CLEMENTS: Okay. Thank you.
  3             MR. MCANDREWS: So let me -- it sounds
  4    like we have a fairly good understanding of the
  5    issue of what Shively presents and whether there's a
  6    PAR problem or there's not.
  7             So just going back to Shively, and now
  8    I'm on Slide 10, I just want to point out that
  9    Shively talks about severely impaired lines of the
 10    18,000 feet or more. And petitioner raised this
 11    issue that we didn't take into consideration
 12    noise. That's actually not true. The curves that
 13    we used to simulate and to determine whether
 14    Shively has a PAR problem take into consideration
 15    both attenuation and noise. And I would point out
 16    that Shively himself was talking about noise that
 17    is particular to long lines. The quote at the
 18    bottom of Slide 10 from column 11, lines 11 and
 19    12, from Shively said such noisy and/or highly
 20    attenuated sub-bands can occur, for example on
 21    long run severely impaired conductors.
 22             And so what they are talking here is
 23    really problems that are unique to these long
 24    lines. Yes, there's higher attenuation and yes,
 25    there's -- there may be higher noise associated
 26    with these lines, but they are really talking
                                                       40

                             Appx489
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    about the cumulative effect of noise and
  2    attenuation of these long lines where attenuation
  3    is going to be the primary contributor to the
  4    impairment of a line.
  5             I think that -- and so going to Slide
  6    11, I think it sounds like there's a very good
  7    understanding of what Shively teaches. The
  8    purple-shaded carriers in the annotated version,
  9    figure 1, those are fully usable carriers. Those
 10    are carriers that can carry at least one bit. And
 11    then multicarrier system like DMT, ADSL, some of
 12    those carriers will carry more.
 13             The yellow-shaded carriers are carriers
 14    that the parties have called either impaired,
 15    partially usable Shively carriers, those are the
 16    carriers over which information is spread. The
 17    idea is that the difference between line -- the
 18    green line, which is the attenuation in noise for,
 19    and the blue line -- the blue line is the margin
 20    necessary to transmit at least one bit. When we
 21    get into the yellow-shaded carriers, there's no
 22    longer sufficient margin below the red line. The
 23    red line is the transmit power spectral maximum,
 24    you know, so it's a mask. And so what Shively
 25    does is he's going to use what margin is left and
 26    combine that margin for multiple carriers to get
                                                        41

                             Appx490
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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1    individual bits across.
   2            So what petitioner failed to take into
   3    consideration in their petition, though, is that
   4    it's not just the Shively spreading technique, but
   5    they failed to take into consideration -- well,
   6    they fail to take into consideration the design
   7    criteria that we talked about.
   8            The design 14.2-14.5 dynamic range that
   9    is presumed, and then given that they failed to
  10    take into consideration that Shively will be
  11    addressed in many unusable carriers. The figure
  12    there shows the green line running all the way to
  13    the red line. And what will be understood from
  14    that figure is that carriers to the right of that,
  15    carriers at higher frequencies, would be totally
  16    unusable. They have no margin left to contribute
  17    to the spreading technique. That's shown on Slide
  18    13. Dr. Short explained that, that there would be
  19    an additional group of carriers to the right.
  20            On slide 14 we can see that Shively was
  21    cognizant of this issue because he was talking
  22    about signal attenuation at higher frequencies
  23    where that's greater than 500 Kilohertz. What he
  24    was -- he was doing that in referencing his figure
  25    1. What he was explaining is that figure 1 was
  26    showing that it's at about 500 kilohertz where
                                                       42

                            Appx491
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    you're going to run into this problem where you
  2    don't have sufficient signal-to-noise margin. And
  3    then you're very quickly going to run into
  4    carriers where you have no margin.
  5             And so just a quick background point,
  6    the ADSL standard has about 250 carriers and they
  7    are spread between 30 kilohertz and 1.1 megahertz.
  8    And so if you are cut off of usable carriers at
  9    about 500 kilohertz, that means that fewer than
 10    half of your carriers are available to be used.
 11             And so jumping forward to slide 17, this
 12    is exactly what Dr. Short's analysis was. He took
 13    a typical attenuation curve for an 18,000-foot
 14    loop and he identified, based on signal-to-noise
 15    margin, which carriers would be usable, which
 16    carriers -- I'm sorry -- which carriers would be
 17    fully usable, which carriers would be usable for a
 18    spread technique, and which carriers would be
 19    totally unusable. And he concluded that
 20    34 percent are unimpaired and fully usable, 6
 21    percent could be used for Shively spreading. So
 22    60 percent would be totally unusable.
 23             And so what that means, because you have
 24    a power spectral mask in normal mode where all




                                                    43

                            Appx492
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    carriers are limited to the same amount, when you
  2    can't use carriers, you don't transmit any power
  3    there. So what that means is that your signal --
  4    total transmit signal would be dropped by
  5    60 percent. And what that leads to, as pointed
  6    out in the testimony on Slide 18, is a
  7    substantially reduced clipping rate.
  8             And I've presented only the normal mode.
  9    Judge Clements, you mentioned there's a
 10    power-boost mode that will lead a slightly
 11    different result.
 12             Petitioner, when they came back and
 13    replied, they didn't address the power boost mode,
 14    so I've limited my presentation to the normal
 15    mode. There's not -- there's no significant
 16    meaningful difference. We were just showing that,
 17    given the full disclosure with Shively, there
 18    would be no clipping problem either in the power
 19    boost or the normal mode. What we see is that the
 20    clipping rate is substantially many orders of the
 21    magnitude below that allowed by the standard.
 22             Now, petitioner has criticized
 23    Dr. Short's analysis. They criticized him for
 24    using a Gaussian analysis. And so what do they do
 25    to criticize that?
 26             Well, one thing they did is they put in
                                                     44

                             Appx493
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

 1     some information -- and I apologize, let me jump
 2     forward to Slide 22. So Slide 22 shows
 3     essentially a statistical analysis of how often
 4     Shively carriers are going to align. However,
 5     this doesn't take into consideration the fully
 6     usable carriers. It doesn't take into
 7     consideration the design criteria, the clipping
 8     rate. It doesn't take into consideration the
 9     dynamic range of the amplifiers. It doesn't take
10     into consideration the completely unusable
11     carriers. And by his own admission, as we see on
12     Slide 23, quantifying the effect of the PAR would
13     have called for running numeric simulations. And
14     he certainly wrote a map lab program to check
15     these to determine whether a given scenario
16     presented a PAR problem. So he effectively
17     admitted that his statistical analysis was really
18     irrelevant to the issue.
19           So they didn't -- so what -- so I guess I
20     go back to the question. What did they provide to
21     criticize Dr. Short's analysis? They actually
22     provided nothing that was relevant. By his own
23     admission he had to run a simulation, but Dr.
24     Dr. Tellado apparently ran an 18,000-foot simulation
25     and then discarded or lost or overwrote those
26     results.
                                                      45

                            Appx494
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1          And that was the subject of a motion. As
 2    Your Honors know, we had requested that the
 3    petitioner turn over the 18,000-foot simulation that
 4    the Dr. Tellado had agreed that he had done during
 5    cross-examination. They refused to turn it over,
 6    and they claimed that it wasn't routine or
 7    additional discovery. We believe it is. We believe
 8    that, first of all, it was relied on. He mentions
 9    it in his cross-examination testimony as a reason
10    why he thought that Dr. Short's analysis was flawed.
11    It's also obviously going to be inconsistent with
12    their opinion that Dr. Short's analysis is wrong.
13    Dr. Short's analysis shows that there is a
14    many-order-of-magnitude reduction in the clipping
15    rate on an 18,000-foot loop.
16          And so I don't know whether I'm supposed
17    to be addressing that motion here. It was filed.
18    It hasn't yet been ruled on. I suspect it will be
19    ruled on with the final written decision. But I
20    just want to mention that I think that an
21    appropriate remedy at a minimum would be to provide
22    an adverse inference. The 18,000-foot-loop
23    simulation that they lost would have supported Dr.
24    Short's position that there is no clipping problem
25    on an 18,000 foot loop.
26          A more appropriate remedy --
                                                   46

                            Appx495
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1          JUDGE CLEMENTS: Even assuming Dr. Short's
 2    analysis is correct and it would not have been
 3    advantageous on an 18,000-foot loop, does that
 4    matter if it would have been advantageous on a
 5    12,000-foot loop?
 6          In other words, why wouldn't the
 7    advantages on a 12,000-foot loop have been
 8    sufficient to motivate a person of ordinary skill
 9    in the art to make those combinations.
10          MR. MCANDREWS: So Your Honor, as I
11    pointed out before, the advantage of using Shively
12    spreading is de minimus. There is no -- there is
13    effectively no advantage to using Shively's
14    spreading technique on a 12,000-foot loop. It
15    wouldn't be used because there's a de minimus number
16    of bits to get through in addition to the high
17    number of bits that are getting through on fully
18    impaired carriers. So there's no advantage.
19          And then to the extent that there is a
20    downside to that speaks to one skilled in the art
21    would have recognized, would have cherrypicked --
22    this 12,000-foot noiseless scenario that
23    Dr. Tellado started with as his premise of how he
24    was going to justify his opinion, if they
25    recognized that there may have been an uptick in
26    PAR -- and we maintain this is not what one
                                                  47

                            Appx496
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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1    skilled in the art would have done -- they would
   2    have looked at Shively and they would have
   3    understood we're transmitting on substantially
   4    fewer carriers -- there is going to be no PAR
   5    problem.
   6            But if they cherrypicked the scenario,
   7    they would have recognized the simple thing to do
   8    was just not transmit Shively carriers. They just
   9    don't because there is no -- there's not a benefit
 10     enough to justify the complexity that would be
 11     required to undo that benefit. If they recognized
 12     there was a PAR problem.
 13             So our position is that they've
 14     cherrypicked this one scenario. Again, 9000-foot
 15     loop -- 6-, 3-, put noise on a 12. They're not
 16     going to be able to show there's a PAR problem.
 17             He approached the problem with hindsight
 18     that he wanted to find a problem, and he was able
 19     to find one. And that's the only simulation they
 20     provided. They provided one single simulation.
 21     Dr. Tellado says, oh, I could have done many.
 22     Well, he didn't do many. He did one that he
 23     cherrypicked to try to show that there was a
 24     problem. All the other ones in particular that
 25     Shively is directed to, 18,000 feet or longer,
 26     those all would have definitely had no PAR
                                                     48

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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1    problem.
   2            But as I was about to say, I should
   3    think the more appropriate remedy for hiding the
   4    evidence that would have been contrary to their
   5    position and would have shown the other side of
   6    their 12,000-foot-loop-cherrypicked scenario is to
   7    exclude their evidence on the 12,000-foot loop.
   8    This was evidence that was provided for the first
   9    time with their reply. They should have but did
  10    not do any form of rigorous analysis of Shively in
  11    their petition as they should have. You know, Dr.
  12    Tellado says these are the sorts of simulations
  13    one that is skilled in the art would have done.
  14    Well, they knew that at the time their petition
  15    was filed. Why didn't they put it in there? Why
  16    didn't they address it then? They waited. They
  17    waited and then they cherrypicked a solution and
  18    they held back the one that would have helped us.
  19            But I actually think the more
  20    appropriate remedy here would be to exclude any
  21    evidence of the 12,000-foot loop simulation.
  22            Now, how do we know -- and this is
  23    evidence, Your Honor, that I will freely admit is
  24    not of record. So Slide 24 is a simulation




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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    performed by our expert using Dr. Tellado's mat
 2    map simulation.
 3              JUDGE MEDLEY: So this isn't in the record
 4    at all?
 5              MR. MCANDREWS: Your Honor, it's not in
 6    the record. It's not in the record.
 7              JUDGE MEDLEY: Then we don't want to hear
 8    it.
 9              MR. MCANDREWS: Well, petitioner did not
10    object to it, and I think what they may be trying to
11    do here is hedge their bets on whether you will
12    provide a remedy on our motion for additional
13    discovery and our motion to exclude the sanctions
14    effectively that I just mentioned. So it appears
15    that they want to allow this into the record.
16              Your Honor, what I can do is, if you
17    have a problem with this slide -- because I will
18    admit, as I pointed out, it's not in the record --
19    I can go to Slide 26, which shows effectively the
20    same thing, which is in the record. This was
21    presented in the cross-examination of Dr. Tellado,
22    and it shows effectively the same results. So
23    maybe I'll do that. I pointed out --
24              JUDGE MEDLEY: Yeah. Let's stick with
25    what's in the record.
26              MR. MCANDREWS: Okay, your Honor. And I
                                                    50

                              Appx499
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    understand the resistance here. But it's in part
 2    because we don't yet know what the board is going to
 3    do with they 18,000-foot-loop scenario.
 4          For example, had the board granted our
 5    motion for discovery, we would have been able to
 6    put that simulation that Dr. Tellado did into the
 7    record, although maybe it sounds like it doesn't
 8    exist anymore. We would have been able to put it
 9    into the record. But we can't. So what I have
10    instead is I have a simulation that is -- that was
11    done by -- according to Dr. Tellado on Slide 26
12    and present it to Dr. Tellado. Dr. Tellado
13    refused to talk about whether it was accurate or
14    what it showed. But what it shows is that
15    scenario five is actually the 18,000-foot-loop
16    scenario. And what it is showing is that there is
17    a substantially reduced chance of PAR that the
18    Gaussian line and the 250 QAM carrier scenario,
19    the one and two on the slide, those are showing
20    the design criteria. And the way you figure out
21    the design criteria is you follow that line to 5.1
22    to the negative 5. And where that crosses is at
23    about 14.2 dB. This is the analysis that
24    petitioner's expert did.
25          And so what you are looking for is where
26    scenario five, that line will cross 14.2 dB, and
                                                   51

                           Appx500
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

 1     as we can see, it will cross it far below the
 2     graph. And the reason why we don't see where it
 3     crosses -- and this is something that we
 4     determined in trying to do this scenario is in
 5     order to get that line to run all the way to 14.2
 6     dB, it would have required a computer, a very fast
 7     computer to run for over 15,000 hours. That's --
 8     it is actually generating symbols. It's
 9     generating real symbols. And it's generating them
10     faster than DMT system would do. But it's
11     generating them at a high rate. But even so, it
12     would have taken almost two years to show where
13     that line crosses.
14             What that does is further demonstrates
15     how low the chance of clipping would actually be.
16     And where it's going to cross is it's going to
17     cross -- this is an estimate -- it's going to
18     cross about seven orders of magnitude below the
19     allowed clipping threshhold.
20             JUDGE MEDLEY: Thank you. You're out of
21     time.
22             MR. MCANDREWS: Yes. Thank you, Your
23     Honor.
24             MR. FOSTER: Thank you, Your Honors.
25             There's a number of points that patent
26     owner raised that I'd like to respond to. The
                                                        52

                             Appx501
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    first, at one point patent owner mentioned you
  2    can't do better than Gaussian, and that's simply
  3    not true and it's quite relevant to a number of
  4    issues that patent owner brought up.
  5             I'd like for us to look at -- this is
  6    Exhibit 1026. This is Dr. Tellado's second
  7    declaration, paragraph 4, where he states that
  8    indeed PAR reduction was an active area of
  9    research in the 1990s, and that really what
 10    engineers were trying to do is they were trying to
 11    beat Gaussian. They were trying to get better
 12    performance than what a Gaussian distribution
 13    would provide. And that's what his research topic
 14    was on. That's what his patent is about. It's a
 15    technique for doing much better than simply
 16    randomizing, being very intelligent about the way
 17    that you manipulate the signals so you can get
 18    better-than-Gaussian performance, even lower PAR
 19    than simply randomizing, which is all that's being
 20    done and discussed in the '243 and the '158
 21    patent.
 22             And so that then explains part of the
 23    reason why Dr. Tellado's patent had the comments
 24    that it did about phase scrambling. Those
 25    comments were really about phase scrambling as it
 26    was being performed in the research, where they
                                                          53

                               Appx502
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1     would perform phase scrambling multiple times.
  2     And when you perform it multiple times and then
  3     choose from among those four, eight, or twelve
  4     different scenarios, whichever one has the lowest
  5     PAR, you can see that you could reduce the PAR
  6     because you are always sending with the lowest of
  7     random set. That's what produces the side
  8     information that his patent describes.
  9             That's the side information that has to
 10     be transmitted. None of that is required with the
 11     is technique Stopler is describing. Stopler isn't
 12     trying to beat Gaussian. Stopler is just
 13     randomizing once.
 14             And as Dr. Tellado explained in
 15     paragraph 4, if you only do phase scrambling once,
 16     what you get is Gaussian performance, and you
 17     don't need to transmit any side information.
 18             The reasons why they are addressed in
 19     some of the deep claims in the '158 patent that
 20     relate to synchronizing the pseudo-random number
 21     generators that each of the transmitter and the
 22     receiver are using to generate these phase
 23     scrambling values. The pseudo-random number
 24     generator gets synchronized and then they won't
 25     need to transmit any information. The random
 26     number generator is proceeding in sync so that the
                                                     54

                             Appx503
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

 1    same pseudo-random numbers are generated
 2    independently of one another on both sides.
 3    There's no side information, no extra bandwidth
 4    needed.
 5           So Stopler's solution, again, doesn't
 6    have some of the disadvantages that Dr. Tellado
 7    was describing with some other more advanced phase
 8    scrambling techniques that were disclosed in the
 9    prior art.
10           Patent owner also brought up an argument
11    relating to whether or not a person of ordinary
12    skill in the art would even use Shively's
13    technique. They said, Well, if a line already has
14    substantial bandwidth, then you wouldn't even use
15    Shively's technique. You would turn off the,
16    quote/unquote, Shively carrier.
17           I think it's important to note that
18    Shively is not the secondary reference here. The
19    question is not whether it would be obvious to add
20    Shively's technique to Stopler. Shively's the
21    primary reference.
22           The obviousness question begins with the
23    assumption -- with the premise that Shively's
24    technique is being used because Shively is the




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                            Appx504
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       Case IPR2016-01020 (Patent 9,014,243)
       Case IPR2016-01021 (Patent 8,718,158)

   1    primary reference and he's describing a
   2    transmitter that's using its technique. Shively
   3    doesn't disclose within it an idea of potentially
   4    not using this technique, of turning off its
   5    redundant carriers for some scenario. It presumes
   6    that its technique is being used to the extent
   7    possible to maximize the amount of the bandwidth
   8    and data through put that can go down the
   9    telephone wire.
 10             Another point, and this is a key one
 11     that patent owner brought up. Regarding the
 12     18,000-foot scenario, patent owner is essentially
 13     assuming that the transmitter is designed to
 14     operate on any length line, that the transmit is
 15     designed to handle all 256 carriers that might be
 16     available in an ADSL system. But that modem
 17     designed for 256 carriers is only being used on a
 18     line that's at least 18,000 feet.
 19             I pointed out -- everybody agrees that
 20     one way to address a PAR problem is to design --
 21     to describe a better transmitter, to design a
 22     transmitter that can handle a higher PAR signal.
 23     Well, that's essentially what patent owner is
 24     assuming is happening. You've taken a scenario
 25     where you are only going to be using less than
 26     half the carriers. You are going to design a
                                                       56

                            Appx505
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1     modem that handles all of them.
  2             Well, that doesn't make any sense. The
  3     patent owner's mixing and matching scenarios,
  4     assuming a modem that's capable of 256 carriers
  5     but then only using it with half. So that's an
  6     apples-and-orange assumption that they're trying
  7     to make by saying a modem designed to work with
  8     256 carriers will not cause clipping under the
  9     analysis that Dr. Short did with Gaussian
 10     approximation. That's just not the correct
 11     analysis. It's the wrong set of assumptions. If
 12     a modem was going to be designed only to operate
 13     at 18,000 feet, then it would only be designed to
 14     work with the carriers available on the 18,000
 15     feet.
 16             Regarding the Gausian approximation,
 17     Dr. Tellado in his second declaration did not
 18     attempt to quantify the amount of error in
 19     Dr. Short's analysis. Dr. Tellado did not
 20     identify how wrong Dr. Short was. Dr. Tellado's
 21     opinion was simply that his analysis was not right
 22     because he's treating Shively's technique and
 23     Shively's carriers that are not random. He's
 24     treating them as random. And the analysis that
 25     Dr. Tellado provided, which was the basis for his
 26     opinion that Dr. Short's analysis was flawed,
                                                     57

                            Appx506
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    fully supported that and didn't require
  2    simulation.
  3             Simulation is -- as patent owner pointed
  4    out, simulation is required to quantify something.
  5    But to just show that Dr. Short was wrong didn't
  6    require running simulation. It's kind of like
  7    saying do you know what the square root of 17 is?
  8    Do you know that it's 4? If I said the square
  9    root of 17 is 4, you don't need to do the math to
 10    find the answer to know that I'm wrong. You have
 11    to do math to find out how wrong I am. Dr. Short
 12    in this case was wrong. That's all that
 13    Dr. Tellado explained in his second declaration.
 14             Finally, regarding patent owner's slide
 15    26, where they showed the analysis they performed
 16    using Dr. Tellado's map lab code to produce the
 17    graph that's in Exhibit 2011, we have that graph
 18    in Exhibit 2011. Their graph includes this new
 19    scenario, scenario 5, which was added to the
 20    original scenarios 1, 2, 3, and 4 that were
 21    produced by Dr. Tellado's original analysis based
 22    on the 18,000-foot loop.
 23             The fifth scenario is for 88 QAM
 24    carriers and 16 Shively carriers. That roughly
 25    corresponds with that -- those are the numbers
 26    that Dr. Short came up with with his analysis of
                                                     58

                             Appx507
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    an 18,000-foot loop. What's not shown here is
  2    what would happen on a 18,000-foot loop without
  3    Shively.
  4             Patent owner apparently did not want to
  5    put that line in because it would have shown and
  6    confirmed Dr. Tellado's testimony that adding
  7    Shively carriers to a system increases PAR. I
  8    believe that line would have been to the left of
  9    the black line that they have for the 18,000 loop
 10    including Shively carriers.
 11             But patent owner didn't put that in.
 12    And then regarding Dr. Tellado's reluctance to
 13    testify or explain or answer any questions about
 14    this graph, the source code that patent owner
 15    provided in conjunction with this during
 16    deposition, Dr. Tellado immediately recognized and
 17    included additional changes that patent owner had
 18    not recognized or pointed out to him. Additional
 19    changes to his code that essentially weren't
 20    acknowledged.
 21             And then also when we asked him on
 22    redirect questions about this, he confirmed that
 23    in fact the code that patent owner provided and
 24    said what produced this graph could not have
 25    produced this graph. The code that patent owner
 26    provided didn't have five scenarios. It had four
                                                       59

                             Appx508
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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    scenarios. And so the code for this graph has not
  2    been disclosed, and I think Dr. Tellado was right
  3    not to opine about a graph where he didn't know
  4    where it had come from.
  5             Patent owner also made a few statements
  6    suggesting that Dr. Tellado's analysis of the
  7    18,000-foot loop was -- essentially the results
  8    are (undiscernible), patent owner is saying that
  9    he picked the scenario to prove a point that it
 10    was preordained, and he's using hindsight and
 11    other things. And that's simply not consistent
 12    with Dr. Tellado's explanation for how he arrived
 13    at the numbers that he used with the simulation.
 14             And Dr. Tellado also explained that the
 15    simulation he provided on the 12,000-foot loop,
 16    the numbers that go into that, the simulation, are
 17    simply the number of carriers that have either a
 18    random QAM four symbol or are being used in a
 19    Shively group. And any number of combinations of
 20    noise and attenuation can result in those same
 21    number of carriers being available.
 22             So Dr. Tellado used Exhibit 2009, patent
 23    owner's graph showing examples of attenuation
 24    curves for ADSL with essentially no noise, the
 25    lowest background noise that might be expected.
 26    He used that because that was essentially the
                                                   60

                             Appx509
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     Case IPR2016-01020 (Patent 9,014,243)
     Case IPR2016-01021 (Patent 8,718,158)

1     patent owner's evidence that had been put in
2     regarding how these lines look to a modem, what their attenuation curves look like,
3    ignoring that,
4     as he explained, a real line would potentially
 5    have many noise sources that could influence those
 6    graphs and make a line that's 9,000 feet long
 7    which might have lower attenuation and have high
 8    noise, and it might behave more like a 12,000- or
 9    15,000-foot loop in terms of the number of
10    available carriers, either from random data or
11    that might be used with Shively's technique.
12          So Dr. Tellado was not cherrypicking as
13    patent owner asserted. Dr. Tellado was showing an
14    example of many to dispute patent owner's
15    assertion that Shively doesn't ever cause
16    (undiscernible).
17          And then finally, Dr. Clements, to go
18    back to your first question regarding some of the
19    problems that a high PAR signal can have, I'd also
20    direct you to Exhibit 2002, which was the
21    deposition, first deposition of Dr. Tellado, page
22    19, lines 10 through 22, and starting with line 19
23    answering a question about some of the problems
24    with high PAR signals. He explained, quote,




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      Case IPR2016-01020 (Patent 9,014,243)
      Case IPR2016-01021 (Patent 8,718,158)

  1    Multicarrier signals have high PAR which makes
  2    building the transmitter complicated. And the
  3    worse you make it, the harder it is to make a
  4    transmitter. Close quote.
  5             So in addition to all the other problems
  6    just the design efforts required to deal with the
  7    high PAR signal in addition to being more
  8    expensive and less efficient. It's more difficult
  9    and more involved to deal with a high PAR signal
10     from an engineer's perspective.
11              If there are no regulate questions --
12     thank you.
13              JUDGE MEDLEY: Thank you very much for
14     your presentations and we are adjourned.
15              (Whereupon, at 4:17 p.m., the
16     proceedings were concluded.)




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                              Appx511
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         Case IPR2016-01020 (Patent 9,014,243)
         Case IPR2016-01021 (Patent 8,718,158)

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                         Appx512
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Trials@uspto.gov                                               Paper 40
571-272-7822                                  Entered: October 26, 2017

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                    v.

                            TQ DELTA, LLC,
                             Patent Owner.
                             ____________

                                 Cases
                   IPR2016-01020 (Patent 9,014,243 B2)
                   IPR2016-01021 (Patent 8,718,158 B2)1
                             ____________


Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and,
MATTHEW R. CLEMENTS, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.

                              DECISION
     Dismissing Patent Owner’s Motion for Additional Discovery
                 37 C.F.R. §§ 42.51(b)(2) and 42.71(a)


1
 DISH Network, L.L.C., Comcast Cable Communications, L.L.C., Cox
Communications, Inc., Time Warner Cable Enterprises L.L.C., Verizon
Services Corp., and ARRIS Group, Inc., have been joined in these
proceedings.

                                 Appx513
        Case: 18-1766        Document: 49-1   Page: 362   Filed: 11/21/2018

IPR2016-01020 (Patent 9,014,243 B2)
IPR2016-01021 (Patent 8,718,158 B2)

        TQ Delta, LLC (“Patent Owner”) filed a Motion for Additional
Discovery in the above identified proceedings. Paper 34 (“”Motion” or
“Mot.”).2 Cisco Systems, Inc. (“Petitioner”) filed an opposition. Paper 39.
In each Motion, Patent Owner requests documents identified in Exhibit
2015. Mot. 1. Exhibit 2015 states the following:
        Patent Owner requests that Petitioner, its expert Dr. Jose Tellado,
        and Petitioner’s IPR counsel produce a copy of each unique
        version of Matlab simulation code and simulation results
        (including any full or partial results) for an 18,000 foot loop,
        including without limitation the simulation code and results that
        Dr. Tellado testified about during his cross-examination on June
        20, 2017. See Ex. 2013 at 45:23–47:18.
        In our Final Written Decisions, entered concurrently with this
Decision, we determine that we need not consider whether, and to what
extent, Shively’s proposed system causes clipping. The discovery Patent
Owner seeks is directed to the parties’ arguments with respect to whether,
and to what extent, Shively’s proposed system causes clipping. Mot. 2–3.
The requested discovery is moot in light of our Final Written Decisions.
        Accordingly, it is
        ORDERED that Patent Owner’s Motions for additional discovery in
the above identified proceedings are dismissed.




2
    Citations are to IPR2016-01021.
                                         2
                                      Appx514
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        IPR2016-01020 (Patent 9,014,243 B2)
        IPR2016-01021 (Patent 8,718,158 B2)

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                                             3
                         Appx515
       Case: 18-1766    Document: 49-1   Page: 364    Filed: 11/21/2018


Trials@uspto.gov                                             Paper No. 43
571-272-7822                                     Entered: February 1, 2018

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                   v.

                           TQ DELTA, LLC,
                            Patent Owner.
                            ____________

                         Case IPR2016-01020 1
                          Patent 9,014,243 B2
                            ____________

Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and
MATTHEW R. CLEMENTS, Administrative Patent Judges.

CLEMENTS, Administrative Patent Judge.


                              DECISION
                         Request for Rehearing
                           37 C.F.R. § 42.71



1
 DISH Network, LLC, who filed IPR2017-00254, and Comcast Cable
Communications, LLC, Cox Communications, Inc., Time Warner Cable
Enterprises LLC, Verizon Services Corp., and ARRIS Group, Inc., who filed
IPR2017-00418, have been joined in this proceeding. Paper 14; Paper 15.

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IPR2016-01020
Patent 9,014,243 B2

                             I.    INTRODUCTION
        Pursuant to 37 C.F.R. § 42.71(d), TQ Delta, LLC (“Patent Owner”)
request rehearing of our Final Written Decision (Paper 41, “Dec.”). Paper
42 (“Req. Reh’g”). Specifically, Patent Owner submits that our construction
of “scrambling . . . a plurality of carrier phases” misapprehends or overlooks
certain evidence, that Stopler 2 does not disclose “scrambling . . . a plurality
of carrier phases,” that we misapprehended or overlooked certain testimony,
and that we misapprehended that Shively 3 would not have an increased or
high PAR. Req. Reh’g passim.
        For the reasons set forth below, Patent Owner’s Request for
Rehearing is denied.

                          II. STANDARD OF REVIEW
        A party requesting rehearing bears the burden of showing that the
decision should be modified. 37 C.F.R. § 42.71(d). The party must identify
specifically all matters we misapprehended or overlooked, and the place
where each matter was addressed previously in a motion, an opposition, or a
reply. Id. With this in mind, we address the arguments presented by Patent
Owner.

                                  III. ANALYSIS

                A. “scrambling . . . a plurality of carrier phases”
        Independent claim 1 recites “scrambling . . . a plurality of carrier
phases.” Independent claim 7 similarly recites “scramble a plurality of



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    U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012, “Stopler”).
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    U.S. Patent No. 6,144,696 B1; issued Nov. 7, 2000 (Ex. 1011, “Shively”).

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carrier phases.” Independent claims 13 and 20 similarly recite “scramble[s]
a plurality of phases.” We adopted Patent Owner’s proposed construction in
part by construing “scrambling . . . a plurality of carrier phases” to mean
“adjusting the phases of a plurality of carriers in a single multicarrier
symbol.” Dec. 6–9. We did not add to that construction “by pseudo-
randomly varying amounts” because Patent Owner did not show why that
additional language should be included for the broadest reasonable
construction of the term “scrambling . . . a plurality of carrier phases.” Id.
Patent Owner argues that our construction is overly broad because it
encompasses adjusting the phases of every carrier in the single multicarrier
symbol by the same amount. Req. Reh’g. 1–2. Such an adjustment,
according to Patent Owner, would not reduce peak-to-average power ratio
(“PAR”), which the parties and the panel all agree scrambling must do. Id.
at 3–5. “The FWD misapprehends or overlooks that, under any proper
construction, there must at a minimum be varying amounts by which the
phases are adjusted within a single multicarrier symbol (i.e., from carrier-to-
carrier) such that PAR is reduced.” Id. at 2.
      Patent Owner presents arguments not presented previously. We could
not have overlooked or misapprehended those arguments presented for the
first time in the rehearing request. Importantly, Patent Owner argues now
for the first time that for any proper construction “there must at a minimum
be varying amounts by which the phases are adjusted within a single
multicarrier symbol (i.e., from carrier-to-carrier) such that PAR is reduced.”
Id. at 2. This proposed construction differs from Patent Owner’s original
proposed construction which included “by pseudo-randomly varying



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amounts.” Absent from the new proposed construction is the term “pseudo-
randomly.”
      In any event, it is clear from the Decision that we construed the
totality of each claim as requiring varying the amount by which the phase of
each carrier is adjusted. See, e.g., Dec. 21–24. Accordingly, even if we
were to adopt Patent Owner’s new proposed construction, it would not
change the way we applied the prior art to the claim language as a whole.

                  B. Stopler’s Single-Carrier Embodiment
      Patent Owner argues that Stopler’s QAM Mapper and Phase
Scrambler 82 “must be compatible with single-carrier CDMA” because
Stopler teaches that its output can, in one embodiment, be provided to a
CDMA modulator. Req. Reh’g. 6. Patent Owner concludes that Stopler’s
phase scrambling “must have a different purpose than the claimed phase
scrambling because [it] . . . cannot reduce PAR.” Id. at 7.
      We addressed this argument and found it unpersuasive. Dec. 18–22.
Mere disagreement with the Board’s conclusion is not a proper basis for
rehearing. It is not an abuse of discretion to have made a conclusion with
which a party disagrees.

          C. Allegedly Misapprehended or Overlooked Testimony
      Patent Owner quotes page 21 of our Decision and argues that “there
are several inaccuracies.” Req. Reh’g 8–12. These arguments are based, in
part, on a mischaracterization of our claim construction as requiring the
same amount of rotation of the phase of each of the QAM symbols in a
DMT symbol. See, e.g., id. at 8 (“First, a DMT symbol cannot be phase
scrambled as that term is used in the claims by having its component QAM
symbols rotated by the same amount.”), 9 (“as interpreted in the FWD (‘i.e.,

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rotates by the same amount, the phase of a plurality of QAM symbols.’).”).
Our construction of “scrambling . . . a plurality of carrier phases” does not
require rotating by the same amount. And as we applied the prior art, to the
totality of the claim language, it is clear that we construed the totality of the
claim language to require the phases of the carriers of the multi-carrier
signal be rotated by varying amounts. For example, our Decision states
      Stopler further teaches that, “a phase scrambling sequence is
      applied to the output symbols,” including “all symbols, not just
      the overhead symbols.” Id. at 12:25–28. Patent Owner’s expert,
      Dr. Short, agreed that Stopler is referring to phase scrambling
      QAM symbols. Reply 16–17 (citing Ex. 1027 (Tellado Dep.),
      54:17–55:3, 55:19–24, 58:6–8, 59:9–12, 60:15–22). Stopler
      further teaches that a “scrambling sequence may be generated by
      a pseudorandom generator” that generates pairs whose sum “is
      used to select the amount of rotation to be applied to the symbol,”
      singular; not “symbols” plural. Ex. 1012, 12:28–36. Thus, the
      most intuitive reading of Stopler supports Petitioner’s contention
      that QAM Mapper and Phase Scrambler 82 determines an
      amount of rotation and rotates the phase of a single QAM symbol
      by that amount.
Dec. 21–22.
      Patent Owner also objects to our characterization of Dr. Short’s
testimony as “admit[ing] that Stopler does not describe phase scrambling
DMT symbols” (Dec. 21 (citing Ex. 1027, 60:11–14)). Req. Reh’g 9
(regarding Ex. 1027, 60:11–14). That testimony is as follows:
      Q. Well, you would agree with me that [Stopler] doesn’t
      expressly teach applying the phase scrambler to the DMT as a
      whole?
      A. I would agree with that.
Ex. 1027, 60:11–14. We acknowledge that Dr. Short testified that he
understands Stopler to be rotating all of the QAM symbols within a

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DMT symbol by the same amount, but the point made in our Decision
remains: Dr. Short clearly conceded, however, that Stopler does not
expressly teach applying the phase scrambler to the DMT symbol as a
whole. Dec. 21 (citing Ex. 1027, 60:11–14).
      Patent Owner also argues that we misapprehended its argument that
Stopler would adjust the phases of QAM symbols over time in order to
reduce narrowband noise. Req. Reh’g 10 (citing PO Resp. 39 (“According
to a second narrowband-noise-reducing technique, Stopler addresses
narrowband noise at the frequency of an overhead pilot carrier by
scrambling the phase of the pilot carrier over time from one DMT symbol to
the next, i.e., by inter-symbol phase scrambling. See Ex. 2003 at ¶ 82.”).
As we noted in our Decision, however, Stopler teaches and Petitioner relies
“not just on the scrambling of ‘overhead signals, such as pilot tones,’ (Pet.
12) but on the scrambling of all QAM symbols. Because neither Petitioner’s
argument nor Stopler’s teaching of phase scrambling is limited to pilot
tones, Patent Owner’s argument is not persuasive.” Dec. 23.
      Patent Owner also argues that we misapprehended its burden by
noting that “Patent Owner identifies nothing in Stopler to suggest that, in an
alternative embodiment with a multicarrier modulator, QAM Mapper and
Phase Scrambler 82 do not supply a plurality of phase-scrambled QAM
symbols for modulation onto the plurality of carriers in the, e.g., DMT
symbol.” Req. Reh’g 10–11 (quoting Dec. 21). Petitioner has the burden of
persuasion to prove unpatentability by a preponderance of the evidence. See
35 U.S.C. § 316(e); Dynamic Drinkware, LLC v. Nat’l Graphics, Inc., 800
F.3d 1375, 1379 (Fed. Cir. 2015). For this element, we explained how
Petitioner satisfied that burden based, inter alia, on express disclosure in


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Stopler. Dec. 21–22. The sentence to which Patent Owner objects merely
notes that, even assuming Stopler works as Patent Owner argues in an
embodiment with a single-carrier modulator, that does not persuasively rebut
the express disclosure upon which Petitioner relies. Accordingly, we are not
persuaded that we misapprehended Patent Owner’s burden.
      Patent Owner also argues it was denied the opportunity to file a sur-
reply. Req. Reh’g. 11–12. Patent Owner was, however, granted an
opportunity to identify allegedly new arguments and evidence in Petitioner’s
Reply (Paper 21), and we considered the identified portions when reaching
our Decision (Dec. 24 n.7). Although the “listing” format required Patent
Owner to be efficient in its identification and required Petitioner to be
efficient in its responsive paper, these papers provided “the information
necessary to make a reasoned decision” (Ultratec, Inc. v. CaptionCall, LLC,
872 F.3d 1267, 1273 (Fed. Cir. 2017)) about whether the arguments and
evidence raised in reply were outside the scope of a proper reply.

                               D. Shively’s PAR
      Finally, Patent Owner argues that we misapprehended or overlooked
its argument that Shively’s PAR would not be so “increased” or “high” that
it resulted in clipping, as would be needed before a person of ordinary skill
in the art had reason to modify Shively. Req. Reh’g 12–15. We addressed
this argument and found it unpersuasive. Dec. 27–28. Mere disagreement
with the Board’s conclusion is not a proper basis for rehearing. It is not an
abuse of discretion to have made a conclusion with which a party disagrees.
      Moreover, Patent Owner alleges that “the FWD characterizes Shively
as having a ‘high’ or ‘increased’ PAR.” Req. Reh’g. 13 (citing Dec. 27–28).
That is false. Our Decision states that it is undisputed that Shively’s

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                                     Appx522
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technique “will increase PAR” (Dec. 27–28), but does not characterize
Shively as having a “high” or “increased” PAR. 4 Our Decision relies upon
page 28 of Patent Owner’s Response (Paper 12), which concedes that
“Shively’s ‘spreading’ technique will contribute a small uptick in clipping
probability.” Patent Owner does not dispute, in its Request for Rehearing,
Shively’s technique increases PAR.
      With respect to Patent Owner’s argument that “there is no PAR
problem presented by Shively” (Req. Reh’g. 13) and “the only PAR problem
in this case relates to clipping” (id. at 14), we considered that argument and
found it unpersuasive. Dec. 27–28. As we noted, “Petitioner’s reason to
combine does not depend on the PAR increase exceeding some specific
numeric threshold,” “there also is no dispute that equipment designed to
handle a higher PAR can be larger, more expensive, and more power hungry
than equipment designed to handle a lower PAR,” and, therefore, “a person
of ordinary skill in the art . . . would have been motivated to reduce PAR
regardless of whether Shively’s technique resulted in clipping.” Id. In other
words, as we explained in our Decision, Shively’s PAR need not result in
clipping in order to motivate a person of ordinary skill in the art because we
are persuaded such a person would have been motivated sufficiently to
reduce PAR by the benefit of being able to use smaller, less expensive, less
power hungry components.



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  In a sentence summarizing Petitioner’s position, our Decision states,
“Petitioner alleges that Shively’s proposed system would have an
‘increased’ or ‘high’ PAR.” Dec. 27 (quoting Pet. 13–14) (emphasis added).
It should be obvious, however, that a summary of Petitioner’s allegation is
not a characterization by the panel.
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                                    Appx523
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Patent 9,014,243 B2

                               II.   ORDER
      Accordingly, it is it is ORDERED that Patent Owner’s Request for
Rehearing is denied.




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        IPR2016-01020
        Patent 9,014,243 B2

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                         Appx525
          Case: 18-1766   Document: 49-1   Page: 374   Filed: 11/21/2018




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          UNITED STATES PATENT AND TRADEMARK OFFICE
                          _____________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _____________


             CISCO SYSTEMS, INC., DISH NETWORK, LLC,
              COMCAST CABLE COMMUNICATIONS, LLC,
                    COX COMMUNICATIONS, INC.,
               TIME WARNER CABLE ENTERPRISES LLC,
           VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                             Petitioner,

                                      v.

                              TQ DELTA, LLC
                                Patent Owner
                               _____________

                          Case No. IPR2016-010201
                            Patent No. 9,014,243
                              _____________

                PATENT OWNER’S NOTICE OF APPEAL



1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00254, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00418, have been joined in this proceeding.


                                    Appx526
          Case: 18-1766     Document: 49-1     Page: 375    Filed: 11/21/2018

Patent Owner’s Notice of Appeal
IPR2016-01020

      Pursuant to 35 U.S.C. §§ 141, 142, and 319, 37 C.F.R. §§ 90.2, 90.3, and

104.2, and Rule 4(a) of the Federal Rules of Appellate Procedure, Patent Owner

TQ Delta, LLC (“Patent Owner”) hereby appeals to the United States Court of

Appeals for the Federal Circuit from the Decision Denying Request for a

Rehearing (Paper 43) entered by the Patent Trial and Appeal Board on February 1,

2018 and the Final Written Decision (Paper 41) entered by the Patent Trial and

Appeal Board on October 26, 2017, and all rulings leading up to those decisions.

      In particular, and in accordance with 37 C.F.R. § 90.2(a)(3)(ii), Patent

Owner identifies at least the following issues on appeal:

    The Board’s finding that Claims 1-3, 7-9, 13-16, and 20-22 of U.S. Patent

      No. 9,014,243 are unpatentable as obvious over Shively and Stopler;

    The Board’s finding that Claims 4-6, 10-12, 17-19, and 23-25 of U.S. Patent

      No. 9,014,243 are unpatentable as obvious over Shively, Stopler, and

      Gerszberg;

    The Board’s claim construction; and

    Any Board finding, determination, judgment, or order supporting or related

      to the aforementioned issues as well as all other issues decided adversely to

      Patent Owner in any orders, decisions, ruling, and opinions.

      Patent Owner is concurrently filing a copy of this Notice of Appeal with the

Director of the United States Patent and Trademark Office and the Patent Trial and

                                        2
                                       Appx527
          Case: 18-1766     Document: 49-1     Page: 376   Filed: 11/21/2018

Patent Owner’s Notice of Appeal
IPR2016-01020

Appeal Board, and a copy of the same, along with the required fees, with the

United States Court of Appeals for the Federal Circuit.


Dated: April 2, 2017                     Respectfully submitted,

                                         /Peter J. McAndrews/
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                                       3
                                      Appx528
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Patent Owner’s Notice of Appeal
IPR2016-01020

                          CERTIFICATE OF FILING

      The undersigned hereby certifies that, in addition to being electronically

filed through PTAB E2E, a true and correct copy of the above-captioned NOTICE

OF APPEAL is being filed by hand with the Director on April 2, 2018, at the

following address:

      Director of the U.S. Patent & Trademark Office
      c/o Office of the General Counsel, 10B20
      Madison Building East
      600 Dulany Street
      Alexandria, VA 22314

      The undersigned also hereby certifies that a true and correct copy of the

above-captioned NOTICE OF APPEAL and the filing fee is being filed via

CM/ECF with the Clerk’s Office of the United States Court of Appeals for the

Federal Circuit on April 2, 2018.



Dated: April 2, 2018                         /Peter J. McAndrews/
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                                     Appx529
             Case: 18-1766     Document: 49-1   Page: 378   Filed: 11/21/2018

Patent Owner’s Notice of Appeal
IPR2016-01020

                             CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing NOTICE OF APPEAL

was served electronically via email on April 2, 2018 in its entirety on the

following:

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                                        Appx530
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Patent Owner’s Notice of Appeal
IPR2016-01020

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                                   Appx531
       Case: 18-1766    Document: 49-1   Page: 380   Filed: 11/21/2018


Trials@uspto.gov                                Paper No. 41
571-272-7822                                    Entered: October 26, 2017

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                   v.

                           TQ DELTA, LLC,
                            Patent Owner.
                            ____________

                         Case IPR2016-01020 1
                          Patent 9,014,243 B2
                            ____________

Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and
MATTHEW R. CLEMENTS, Administrative Patent Judges.

CLEMENTS, Administrative Patent Judge.


                    FINAL WRITTEN DECISION
                          Inter Partes Review
                35 U.S.C. § 318(a) and 37 C.F.R. § 42.73



1
 DISH Network, LLC, who filed IPR2017-00254, and Comcast Cable
Communications, LLC, Cox Communications, Inc., Time Warner Cable
Enterprises LLC, Verizon Services Corp., and ARRIS Group, Inc., who filed
IPR2017-00418, have been joined in this proceeding. Paper 14; Paper 15.

                                 Appx532
        Case: 18-1766     Document: 49-1     Page: 381    Filed: 11/21/2018

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Patent 9,014,243 B2

                             I.   INTRODUCTION
      In this inter partes review, instituted pursuant to 35 U.S.C. § 314,
Cisco Systems, Inc. (“Petitioner”) challenges claims 1–25 (“the challenged
claims”) of U.S. Patent No. 9,014,243 B2 (Ex. 1001, “the ’243 patent”),
owned by TQ Delta, LLC (“Patent Owner”). We have jurisdiction under
35 U.S.C. § 6. This Final Written Decision is entered pursuant to 35 U.S.C.
§ 318(a) and 37 C.F.R. § 42.73. For the reasons discussed below, Petitioner
has shown by a preponderance of the evidence that the challenged claims are
unpatentable. Patent Owner’s Motion to Exclude is dismissed.

                             A. Procedural History
      Petitioner filed a Petition requesting an inter partes review of claims
1–25 of the ’243 patent. Paper 2 (“Pet.”). Patent Owner filed a Preliminary
Response. Paper 6. On November 4, 2016, we instituted inter partes review
of claims 1–25 of the ’243 patent under 35 U.S.C. § 103(a)2 on the following
grounds. Paper 7 (“Inst. Dec.”), 16.
               References                              Claims
    Shively 3 and Stopler4                   1‒3, 7‒9, 13‒16, and 20‒22
    Shively, Stopler, and Gerszberg 5       4‒6, 10‒12, 17‒19, and 23‒25



2
  The Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125 Stat. 284
(2011) (“AIA”), amended 35 U.S.C. §§ 102 and 103. Because the ’243
patent has an effective filing date before the effective date of the applicable
AIA amendments, we refer to the pre-AIA versions of 35 U.S.C. §§ 102 and
103.
3
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011, “Shively”).
4
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012, “Stopler”).
5
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013,
“Gerszberg”).
                                     2
                                    Appx533
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      Thereafter, Patent Owner filed a Patent Owner Response (Paper 12,
“PO Resp.”), to which Petitioner filed a Reply (Paper 17, “Reply”).
Pursuant to an Order (Paper 21), Patent Owner filed a listing of alleged
statements and evidence in connection with Petitioner’s Reply deemed to be
beyond the proper scope of a reply. Paper 22. Petitioner filed a response to
Patent Owner’s listing. Paper 29.
      Patent Owner filed a Motion to Exclude (Paper 28), Petitioner filed an
Opposition (Paper 33), and Patent Owner filed a Reply (Paper 37). Patent
Owner also filed a Motion for Observation (Paper 27) to which Petitioner
filed a Response (Paper 34).
      We held a consolidated hearing on August 3, 2017, for this case and
related Case IPR2016-01021, and a transcript of the hearing is included in
the record. Paper 39 (“Tr.”).

                           B. Related Proceedings
      The parties indicate that the ’243 patent is the subject of several
district court cases. Pet. 1; Paper 5, 2–3; Paper 10.

                        C. The ’243 patent (Ex. 1001)
      The ’243 patent discloses multicarrier communication systems that
lower the peak-to-average power ratio (PAR) of transmitted signals.
Ex. 1001, 1:26‒29. A value is associated with each carrier signal, and a
phase shift is computed for each carrier signal based on the value associated
with that carrier signal. Id. at 2:36‒40. The computed phase shift value is
combined with the phase characteristic of that carrier signal to substantially
scramble the phase characteristics of the carrier signals. Id. at 2:40‒43.
      Figure 1 illustrates the multicarrier communication system and is
reproduced below:

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Figure 1 illustrates the multicarrier communication system, digital subscriber
line (DSL) communication system 2 includes discrete multitone (DMT)
transceiver 10 communicating with remote transceiver 14 over
communication channel 18 using transmission signal 38 having a plurality of
carrier signals. Id. at 3:25‒29. DMT transceiver 10 includes DMT
transmitter 22 and DMT receiver 26. Id. at 3:29‒30. Remote transceiver
also includes transmitter 30 and receiver 34. Id. at 3:30‒32. DMT
transmitter 22 transmits signals over communication channel 18 to receiver
34. Id. at 3:38‒41.
      DMT transmitter 22 includes quadrature amplitude modulation
(QAM) encoder 42, modulator 46, bit allocation table (BAT) 44, and phase
scrambler 66. QAM encoder 42 has a single input for receiving serial data
bit stream 54 and multiple parallel outputs to transmit QAM symbols 58

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generated by QAM encoder 42 from bit stream 54. Modulator 46 provides
DMT modulation functionality and transforms QAM symbols 58 into DMT
symbols 70. Id. at 4:10‒13. Modulator 46 modulates each carrier signal
with a different QAM symbol 58, and, therefore, this modulation results in
carrier signals having phase and amplitude characteristics based on QAM
symbol 58. Id. at 4:13‒16. Modulator 46 also includes phase scrambler 66
that combines a phase shift computed for each QAM-modulated carrier
signal with the phase characteristics of that carrier signal. Id. at 4:29‒32.

                             D. Illustrative Claims
      Petitioner challenges claims 1‒25 of the ’243 patent. Pet. 8–52.
Claims 1, 7, 13, and 20 are independent claims. Claims 2‒6 depend from
independent claim 1, claims 8‒12 depend from independent claim 7, claims
14‒19 depend directly or indirectly from independent claim 13, and claims
21‒25 depend from independent claim 20. Claim 1 is illustrative of the
claims at issue and is reproduced below:
      1.     A method, in a multicarrier communications transceiver
      comprising a bit scrambler followed by a phase scrambler,
      comprising:
             scrambling, using the bit scrambler, a plurality of input
      bits to generate a plurality of scrambled output bits, wherein at
      least one scrambled output bit is different than a corresponding
      input bit;
             scrambling, using the phase scrambler, a plurality of
      carrier phases associated with the plurality of scrambled output
      bits;
             transmitting at least one scrambled output bit on a first
      carrier; and
             transmitting the at least one scrambled output bit on a
      second carrier.

Ex. 1001, 10:58‒11:4.

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                               II.   ANALYSIS
                            A. Claim Construction
      The Board interprets claims of an unexpired patent using the broadest
reasonable construction in light of the specification of the patent in which
they appear. See 37 C.F.R. § 42.100(b); see Cuozzo Speed Techs., LLC v.
Lee, 136 S. Ct. 2131, 2142–46 (2016). Under the broadest reasonable
construction standard, claim terms are given their ordinary and customary
meaning, as would be understood by one of ordinary skill in the art in the
context of the entire disclosure. In re Translogic Tech., Inc., 504 F.3d 1249,
1257 (Fed. Cir. 2007).

                               1. “transceiver”
      In our Decision on Institution, we construed “transceiver” to mean “a
device, such as a modem, with a transmitter and a receiver.” Inst. Dec. 6.
Patent Owner contends that a construction is not necessary and cites a
construction from a corresponding district court matter (Ex. 2007, 8), but
does not argue we should adopt this construction. PO Resp. 13–14
(“Petitioners’ arguments fail irrespective of which of the foregoing
constructions for ‘transceiver’ is used.”). Petitioner contends we should
maintain our construction. Reply 7–8. Based on the record developed
during this proceeding, we continue to apply this construction.

              2. “scrambling . . . a plurality of carrier phases”
      Independent claim 1 recites “scrambling . . . a plurality of carrier
phases.” Independent claim 7 similarly recites “scramble a plurality of
carrier phases.” Independent claims 13 and 20 similarly recite “scramble[s]
a plurality of phases.” Patent Owner argues that this language should be
interpreted to mean “adjusting the phases of a plurality of carriers in a single

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multicarrier symbol by pseudo-randomly varying amounts.” PO Resp. 14–
19. Petitioner argues that the phrase does not need to be interpreted, since
the prior art relied upon uses the same “phase scrambling” terminology to
describe pseudo-random phase changes. Reply 7 (citing Ex. 1012, 12:24–
31). Additionally, Petitioner argues, without any other explanation, that “the
Board should not adopt TQ Delta’s proposed construction.” Id. During oral
argument, however, counsel for Petitioner reiterated that it is Petitioner’s
position that no construction of the term is necessary, because “[r]egarding
patent owner’s proposal of the construction, we believe that is exactly how
Stopler is describing his phase scrambler as operating.” Tr. 18:23–19:5.
      Patent Owner argues that “scramble[e/ing . . . a plurality of carrier
phases” and “scramble[] a plurality of phases” should be construed to mean
“adjusting the phases of a plurality of carriers in a single multicarrier symbol
by pseudo-randomly varying amounts.” PO Resp. 14. Patent Owner
contends that the construction is supported by the Specification of the ’243
patent and clarifies that the claimed phase scrambling “must be performed
amongst the individual carrier phases in a single multicarrier symbol” and is
not met if the phase adjustment only occurs over time from one symbol to
the next. PO Resp. 14 (citing Ex. 2003 ¶ 37).
      In support of its proposed interpretation, Patent Owner argues that the
’243 patent describes that each of the plurality of carriers (of a multicarrier
signal) corresponds to a different QAM symbol. PO Resp. 15 (citing Ex.
1001, 4:13–14). Patent Owner further argues that each carrier (or QAM
symbol) has its own phase or phase characteristic, and that the combination
of the carriers (or QAM symbols) is referred to as a DMT symbol. PO Resp.
16 (citing Ex. 1001, 4:7–9, 9:8–9; Ex. 2003 ¶ 39). Patent Owner further


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contends that the ’243 patent describes that a “phase scrambler” scrambles
phases or phase characteristics of carriers within a single DMT symbol, and
that PAR in the transmission signal is reduced by adjusting the carrier
phases within a single DMT symbol. PO Resp. 16 (citing Ex. 1001, 6:30–
8:13; Ex. 2003 ¶ 39). PAR, Patent Owner contends, would not be reduced if
carrier phases were only adjusted from one symbol to the next. PO Resp. 16
(Ex. 2003 ¶¶ 41–42).
      Based on the record before us, we agree with Patent Owner’s
proposed construction as far as meaning “adjusting the phases of a plurality
of carriers in a single multicarrier symbol.” Patent Owner, however,
provides no persuasive reasoning for also adding to that construction “by
pseudo-randomly varying amounts.” Rather, Patent Owner merely contends
that (1) in a corresponding district court matter, the court construed the
phrase to mean “adjusting the phase characteristics of the carrier signals by
pseudo-randomly varying amounts;” (2) during prosecution of the ’243
patent, the applicant explained that a “scrambler” operates by pseudo-
randomly selecting bits to invert; and (3) there was no fundamental
disagreement between parties that scrambling involves adjusting the phase
characteristic of a carrier signal by pseudo-randomly varying amounts. PO
Resp. 16–17 (citing Ex. 2007, 10–11; Ex. 2008, 18). Patent Owner’s
explanation for why we should add “by pseudo-randomly varying amounts”
to its proposed construction is conclusory. We interpret claims using the
broadest reasonable construction in light of the specification of the involved
patent. That standard is not the same as the standard used in district court.
Patent Owner, however, provides no explanation for why we should apply
the district court construction, which is not necessarily the same as used


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before us, here. Moreover, the statement made during prosecution is in the
context of summarizing an interview, purports to be part of a definition from
Wikipedia, and is preceded by an “e.g.” (Ex. 2008, 18). Patent Owner does
not explain persuasively why this statement should be interpreted as
disclaiming other possible forms of scrambling. In summary, Patent
Owner’s arguments are conclusory.
       For all of the above reasons, and for purposes of this decision, we
determine that “scrambling the phase characteristics of the carrier signals”
means “adjusting the phases of a plurality of carriers in a single multicarrier
symbol.”

                          B. Level of Ordinary Skill in the Art
       Petitioner contends that a hypothetical person of ordinary skill in the
art, with respect to and at the time of the’243 patent, would have, “(i) a
Master’s degree in Electrical and/or Computer Engineering, or equivalent
training, and (ii) approximately five years of experience working in
multicarrier telecommunications,” and that a “[l]ack of work experience can
be remedied by additional education, and vice versa.” Pet. 9–10. Patent
Owner’s expert, Dr. Short, agrees. Ex. 2003 ¶ 16 (“For purposes of this
declaration only, I have adopted Dr. Tellado’s definition of a person of
ordinary skill in the art.”)
       We determine that the hypothetical person of ordinary skill in the art
would have had either Master’s degree in Electrical and/or Computer
Engineering, or equivalent training, and approximately five years of
experience working in multicarrier telecommunications. We note also that
the prior art itself often reflects an appropriate skill level. Okajima v.
Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001) (“[T]he level of skill in the

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art is a prism or lens through which a judge, jury, or the Board views the
prior art and the claimed invention.”); Ryko Mfg. Co. v. Nu-Star, Inc., 950
F.2d 714, 718 (Fed. Cir. 1991) (“The importance of resolving the level of
ordinary skill in the art lies in the necessity of maintaining objectivity in the
obviousness inquiry.”).

                      C. The Parties’ Post-Institution Arguments
      In our Decision on Institution, we concluded that the arguments and
evidence advanced by Petitioner demonstrated a reasonable likelihood that
claims 1‒3, 7‒9, 13‒16, and 20‒22 of the ’243 patent are unpatentable under
35 U.S.C. § 103(a) over Shively and Stopler, and that claims 4‒6, 10‒12,
17‒19, and 23‒25 of the ’243 patent are unpatentable under 35 U.S.C.
§ 103(a) over Shively, Stopler, and Gerszberg. Inst. Dec. 16. We must now
determine whether Petitioner has established by a preponderance of the
evidence that the specified claims are unpatentable over the cited prior art.
35 U.S.C. § 316(e). We previously instructed Patent Owner that “any
arguments for patentability not raised in the [Patent Owner Response] will
be deemed waived.” Paper 8, 6; see also 37 C.F.R. § 42.23(a) (“Any
material fact not specifically denied may be considered admitted.”); In re
Nuvasive, Inc., 842 F.3d 1376, 1379–1382 (Fed. Cir. 2016) (holding Patent
Owner waived argument addressed in Preliminary Response by not raising
argument in the Patent Owner Response). Additionally, the Board’s Trial
Practice Guide states that the Patent Owner Response “should identify all the
involved claims that are believed to be patentable and state the basis for that
belief.” Office Patent Trial Practice Guide, 77 Fed. Reg. 48,756, 48,766
(Aug. 14, 2012).



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      With a complete record before us, we note that we have reviewed
arguments and evidence advanced by Petitioner to support its unpatentability
contentions where Patent Owner chose not to address certain limitations in
its Patent Owner Response. In this regard, the record now contains
persuasive, unrebutted arguments and evidence presented by Petitioner
regarding the manner in which the asserted prior art teaches corresponding
limitations of the claims against which that prior art is asserted. Based on
the preponderance of the evidence before us, we conclude that the prior art
identified by Petitioner teaches or suggests all uncontested limitations of the
reviewed claims. The limitations that Patent Owner contests in the Patent
Owner Response are addressed below.

                     D. Obviousness of Claims 1–3, 7–9, 13–16,
                         and 20–22 over Shively and Stopler
      Petitioner contends that claims 1–3, 7–9, 13–16, and 20–22 of the
’243 patent are unpatentable under 35 U.S.C. § 103(a) as obvious over
Shively and Stopler. Pet. 10–42.

                             1. Principles of Law
      A claim is unpatentable under § 103(a) if the differences between the
claimed subject matter and the prior art are such that the subject matter, as a
whole, would have been obvious at the time the invention was made to a
person having ordinary skill in the art to which said subject matter pertains.
KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406 (2007). The question of
obviousness is resolved on the basis of underlying factual determinations,
including (1) the scope and content of the prior art; (2) any differences
between the claimed subject matter and the prior art; (3) the level of skill in
the art; and (4) when in evidence, objective indicia of non-obviousness

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(i.e., secondary considerations). Graham v. John Deere Co., 383 U.S. 1, 17–
18 (1966). We analyze this asserted ground based on obviousness with the
principles identified above in mind.

                             2. Shively Overview
      Shively discloses discrete multitone transmission (DMT) of data by
digital subscriber loop (DSL) modems and the allocation of bits to the
discrete multitones. Ex. 1011, 1:5‒8. Bit allocation is performed to
optimize throughput within aggregate power and power spectral density
mask limits. Id. at 4:17‒19. The system includes a transmitting modem and
a receiving modem connected by a cable having four twisted pairs of
conductors. Id. at 9:63‒65. The modems include a source encoder, a
channel decoder, and a digital modulator to take in and transmit data from a
data source. Id. at 10:9‒12. The modems also include a digital
demodulator, a channel decoder, and a source decoder to receive the data
and supply it to a data sink. Id. at 10:12‒14. The source encoder
compresses data, applies the compressed data to the channel decoder, which
performs error correction. Id. at 10:15‒19. The error corrected data is
applied to the digital modulator, which acts as the interface with the
communication channel. Id. at 10:15‒22. The digital demodulator
constructs a data stream from the modulated signal and applies it to the
channel decoder, which performs error correction, and then applies the
corrected data to the source decoder, which decompresses the data. Id. at
10:22‒26.
      In the QAM multitone modulation, the spectrum is broken into
multiple sub-bands or QAM channels. Id. at 10:27‒29. The digital
modulator generates N QAM signal tones, one for each QAM channel. Id.

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at 10:29‒30. The serial stream is segmented into N frames, each having
allocated to it ki bits of data. Id. at 10:30‒31. The multi-carrier modulator
generates N QAM tones, one for each channel, at the same symbol rate but
with a respective constellation for each channel. Id. at 10:35‒37.
                             3. Stopler Overview
       Stopler discloses a method and apparatus for encoding/framing a data
stream of multitone modulated signals to improve impulse burst immunity.
Ex. 1012, 1:8‒11. The encoding/framing scheme allows efficient operation
in multipoint to point channels affected by ingress and impulsive
interference. Id. at 5:11‒14. Two dimensional interleaving is performed,
with one dimension being time and the other dimension being frequency
(tones or sub-channels). Id. at 5:18‒20. Stopler further discloses a
diagonalization scheme, where data packets are spread over time in a
diagonal fashion, such that an impulse noise affects more than one user’s
packets, with the effect on each being reduced. Id. at 5:64‒67.

                       4. Petitioner’s Initial Positions
       Petitioner contends that a combination of Shively and Stopler would
have rendered obvious claims 1–3, 7–9, 13–16, and 20–22 of the ’243
patent. Pet. 10–42. We have reviewed the Petition, Patent Owner’s
Response, and Petitioner’s Reply, as well as the relevant evidence discussed
in those papers and other record papers, and are persuaded that the record
sufficiently establishes Petitioner’s contentions for claims 1–3, 7–9, 13–16,
and 20–22, and we adopt Petitioner’s contentions discussed below as our
own.
       For example, the claim 1 preamble recites “[a] method, in a
multicarrier communications transceiver comprising a bit scrambler

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followed by a phase scrambler.” Petitioner argues that the combination of
Shively and Stopler disclose the preamble. Pet. 15‒19. Petitioner argues
that Shively discloses a “method for transmission in a multitone
communication system,” and Shively teaches the use of modems to transmit
and receive communications. Id. at 15‒16 (quoting Ex. 1011, 3:28‒29;
citing 9:42, 9:63‒64, Fig. 2). Petitioner argues that Stopler discloses that
“[m]ultitone modulation is a signal transmission scheme which uses a
number of narrow-band carriers positioned at different frequencies, all
transmitting simultaneously in parallel” and “[o]ne type of multitone
transmission scheme is discrete multitone.” Id. at 16‒17 (quoting Ex. 1012,
1:42‒49, 1:50‒58; citing Ex. 1009, 31‒32) (emphasis omitted). Petitioner
further argues that Stopler discloses a transmitter that includes two
scramblers, a bit scrambler and a phase scrambler. Id. at 18 (citing Ex.
1012, 9:34‒37, Fig. 5; Ex. 1009, 33‒34). We are persuaded by Petitioner’s
showing and find that Stopler’s scrambler 56 is a bit scrambler and Stopler’s
QAM mapper and phase scrambler 82 is a phase scrambler.
      Claim 1 further recites “scrambling, using the bit scrambler, a
plurality of input bits to generate a plurality of scrambled output bits.”
Petitioner argues that Stopler discloses that “data output by the interleaver
54 is rearranged into a serial bit stream (MSB first) and then scrambled in
scrambler 56, which is used to randomize the coded and interleaved data.”
Id. at 19 (quoting Ex. 1012, 9:34‒48) (emphasis omitted). Petitioner argues
that a person with ordinary skill in the art would have recognized that
“Stopler’s generating a randomizing sequence that is XORed with an input
bit stream constitutes ‘scrambling . . . a plurality of input bits.’” Id. (citing
Ex. 1009, 35). We are persuaded by Petitioner’s showing and find that


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Stopler’s scrambler 56 scrambles a plurality of input bits to generate a
plurality of scrambled output bits.
      Claim 1 also recites “wherein at least one scrambled output bit is
different than a corresponding input bit.” Petitioner argues that Stopler
discloses that “the bits of the serial bit stream are ‘scrambled in scrambler
56’ to ‘randomize’ the data.” Id. at 20 (citing Ex. 1012, 9:34‒47). Petitioner
argues that a person with ordinary skill would have recognized that “the
XOR operation would result in at least one input bit to be changed when the
corresponding bit in the randomizing sequence has a value of 1.” Id. at 21
(citing Ex. 1009, 37). We are persuaded by Petitioner’s showing and find
that a person of ordinary skill in the art would have understood that, after
Stopler’s XOR operation, at least one scrambled output bit is different than a
corresponding input bit.
      Claim 1 additionally recites “scrambling, using the phase scrambler, a
plurality of carrier phases.” Petitioner argues that Stopler discloses that “the
phase scrambler applies ‘a phase scrambling sequence’ to ‘data in the form
of m-tuples which are to be mapped into QAM symbols.’” Id. at 21 (quoting
Ex. 1012, 12:20‒28). Petitioner argues that Stopler discloses that “the phase
scrambled symbols are provided to a modulator that performs signal
modulation.” Id. at 21‒22 (citing Ex. 1012, 12:55‒57, Fig. 5; Ex. 1009, 39‒
40). Petitioner further argues that both Shively and Stopler disclose
“transmitting information by modulating multiple carrier frequencies.” Id. at
22 (citing Ex. 1011, 8:3‒13; Ex. 1012, 1:42‒49, 1:50‒61; Ex. 1009, 40).
Notwithstanding Patent Owner’s arguments, which we have considered and
which we address below, we are persuaded by Petitioner’s showing and find



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that Stopler’s QAM mapper and phase scrambler 82 scrambles a plurality of
carrier phases.
      Claim 1 further recites “a plurality of carrier phases associated with
the plurality of scrambled output bits.” Petitioner argues that the
combination of Shively and Stopler discloses that “the plurality of carrier
phases are based on the symbols provided to the modulator” and Stopler
further discloses “the symbols are mapped from m-tuple data . . . [where] the
m-tuple data provided to QAM mapper and phase scrambler 82 are formed
by processing the data output by the big scrambler 56 on an ‘upper level’
and a ‘lower level.’” Id. at 23 (citing Ex. 1012, 9:48‒55, 10:1‒7, 10:40‒
11:50, 11:51‒54, 12:20‒22, Fig. 5; Ex. 1009, 42‒43). We are persuaded by
Petitioner’s showing and find that the plurality of scrambled output bits are
processed to become m-tuple data that is then “associated with” a plurality
of carrier phases by QAM mapper and phase scrambler 82.
      Claim 1 also recites “transmitting at least one scrambled output bit on
a first carrier” and “transmitting the at least one scrambled output bit on a
second carrier.” Petitioner argues that Shively discloses determining “a
respective carrier modulated to transmit one bit in each of a plurality of
multitone subchannels of the channel” and “modulating a first set of
respective carriers to represent respective unique portions of the data stream
in at least a subset of those of the multitone subchannels.” Id. at 24‒25
(quoting Ex. 1011, 8:3‒6, 8:5‒13). Petitioner further argues that Stopler
discloses “transmitting data bits by modulating the data bits on carriers using
quadrature amplitude modulation (QAM) and multitone (multicarrier)
modulation.” Id. at 25 (citing Ex. 1012, 1:42‒49, 12:20‒28). Petitioner
explains that it would have been obvious to a person with ordinary skill in


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the art “to employ the techniques of Shively and Stopler to transmit at least
one scrambled output bit that is provided to the modulator.” Id. (citing Ex.
1009, 49). Petitioner further argues that Shively discloses transmitting a
portion of data on multiple carriers, and, therefore, meets the “second
carrier” claim limitation. Id. at 26‒27. We are persuaded by Petitioner’s
showing and find that both Shively and Stopler teach transmitting at least
one scrambled output data bit on a first carrier by modulating it using QAM.
      Petitioner argues that “[i]t would have been obvious for a POSITA to
combine Shively and Stopler because the combination is merely a use of a
known technique to improve a similar device, method or product in the same
way.” Id. at 13 (citing Ex. 1009, 26). Petitioner explains that a person of
ordinary skill in the art would have recognized that “by transmitting
redundant data on multiple carriers, Shively’s transmitter would suffer from
an increased peak-to-average power ratio” because “the overall transmitted
signal in a multicarrier system is essentially the sum of its multiple carriers.”
Id. (citing Ex. 1009, 26). Petitioner asserts that a person of ordinary skill in
the art “would have sought out an approach to reduce the [(peak-to-average
power ratio)] PAR of Shively’s transmitter” and “Stopler provides a solution
for reducing the PAR of a multicarrier transmitter.” Id. at 14 (citing
Ex. 1009, 27). Petitioner argues that Stopler discloses “a phase scrambler
[that] can be employed to randomize the phase of the individual subcarriers”
(id. at 14 (quoting Ex. 1011, 12:24‒28)) and “[a] POSITA would have
recognized that by randomizing the phase of each subcarrier, Stopler
provides a technique that allows two subcarriers in Shively’s system to
transmit the same bits, but without those two subcarriers having the same
phase.” Id. at 14. Petitioner explains that “[s]ince the two subcarriers are


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out-of-phase with one another, the subcarriers will not add up coherently at
the same time,” thereby reducing the peak-to-average power ratio (PAR) in
Shively’s system. Id. at 14‒15. Accordingly, Petitioner argues that
“[c]ombining Stopler’s phase scrambler into Shively’s transmitter would
have been a relatively simple and obvious solution to reduce Shively’s
PAR.” Id. at 15 (citing Ex. 1009, 28). Notwithstanding Patent Owner’s
arguments, which we have considered and which we address below, we are
persuaded by Petitioner’s showing and find that Petitioner’s articulated
reasoning has sufficient rational underpinning to support the legal
conclusion of obviousness. See KSR Int’l Co., 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)).
      Petitioner performs a similar analysis for claims 2, 3, 7–9, 13–16, and
20–22. Pet. 28–42. Notwithstanding Patent Owner’s arguments, which we
have considered and which we address below, we are persuaded by
Petitioner’s showing, which we adopt as our own findings and conclusions,
that claims 1–3, 7–9, 13–16, and 20–22 are unpatentable as obvious over
Shively and Stopler.

                       5. Patent Owner’s Argument that
                         Stopler Does Not Phase Scramble
      Patent Owner contends that “Stopler must be compatible with single-
carrier CDMA” (PO Resp. 59) based on Stopler’s teaching that “[t]he
framing scheme according to the present invention may also be performed in
a CDMA system, in which case the modulator (not shown) may, for
example, be a CDMA-type modulator in accordance with the TIA/EIA/IS-95
‘Mobile Station Compatibility Standard for Dual Mode Wideband Spread
Spectrum Cellular System.’” Ex. 1012, 12:58–63; PO Resp. 29–30; see also


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id. at 29–44 (arguing Stopler’s framing scheme must be compatible with
single-carrier CDMA). According to Patent Owner, “[b]ecause Stopler must
be compatible with single-carrier CDMA, it makes no sense to argue that his
phase scrambling must be performed within a single multicarrier symbol.”
PO Resp. 59. Thus, concludes Patent Owner, “Stopler only discloses
scrambling phases from one symbol 6 to the next symbol in time, and not
with respect to multiple carriers in a single multicarrier symbol.” PO Resp.
58–59; see also id. at 37 (“[i]t is nonsensical to scramble phases within a
symbol because there is only one phase in each symbol.”).
     Patent Owner also relies on Stopler’s claim 31 as corroboration for its
position, contending that the phase scrambling performed by QAM Mapper
and Phase Scrambler 82 “must at least be compatible with single carrier
CDMA” because claim 31 is directed to a method in a “CDMA system” that
includes the step of “phase scrambling.” Id. at 33–34 (citing Ex. 1012,
16:4–48).
      The “framing scheme” of Stopler is shown as a block diagram in
Figure 5, reproduced below. Ex. 1012, 8:54–55 (“A block diagram of the
framing scheme according to the present invention is shown in FIG. 5.”).




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  Patent Owner uses “symbol” to mean “a collective multicarrier symbol in a
single symbol period (e.g. a DMT symbol).” PO Resp. 12. Patent Owner
uses “carrier” to mean “a carrier symbol (e.g., a QAM symbol).” Id.
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To illustrate the use of Stopler’s framing scheme with either a multicarrier
modulator or a single carrier modulator, Patent Owner provides the
following annotated excerpts of Figure 5:




PO Resp. 33.
      We are not persuaded by Patent Owner’s argument, which is based
upon its assertion that “[s]ingle-carrier systems have only one carrier with
only one phase” and, therefore, “[p]hase scrambling in a single-carrier
system only makes sense when it is performed over time from symbol-to-
symbol, as illustrated by the blue box,” in the figure reproduced below. PO
Resp. 36–37.

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Id. at 37. In this diagram, “Symbol A,” “Symbol B,” and “Symbol C” each
represent a QAM symbol, not a DMT symbol, and each, according to Patent
Owner, is phase scrambled relative to the other. Thus, Patent Owner’s
diagram shows only that a single-carrier embodiment of Stopler would
transmit one phase-scrambled QAM symbol at a time. It does not show that
QAM Mapper and Phase Scrambler 82 phase scrambles a DMT symbol—
i.e., rotates, by the same amount, the phase of a plurality of QAM symbols.
This is consistent with the cross-examination testimony of Patent Owner’s
expert, Dr. Short, who admitted that Stopler does not describe phase
scrambling DMT symbols. Reply 17–18 (citing Ex. 1027, 60:11–14). Thus,
Patent Owner’s own diagram is consistent with Petitioner’s position that
Stopler phase scrambles individual QAM symbols, and Patent Owner
identifies nothing in Stopler to suggest that, in an alternative embodiment
with a multicarrier modulator, QAM Mapper and Phase Scrambler 82 do not
supply a plurality of phase-scrambled QAM symbols for modulation onto
the plurality of carriers in the, e.g., DMT symbol.
      Whereas Patent Owner’s position relies upon inference, Petitioner’s
position is supported by express disclosure in Stopler, which unambiguously

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teaches “QAM symbols, for example, . . . 256-QAM” whose “constellation
mapping may be the same as that used in ADSL.” Ex. 1012, 12:20–24.
Stopler further teaches that, “a phase scrambling sequence is applied to the
output symbols,” including “all symbols, not just the overhead symbols.”
Id. at 12:25–28. Patent Owner’s expert, Dr. Short, agreed that Stopler is
referring to phase scrambling QAM symbols. Reply 16–17 (citing Ex. 1027
(Tellado Dep.), 54:17–55:3, 55:19–24, 58:6–8, 59:9–12, 60:15–22). Stopler
further teaches that a “scrambling sequence may be generated by a pseudo-
random generator” that generates pairs whose sum “is used to select the
amount of rotation to be applied to the symbol,” singular; not “symbols”
plural. Ex. 1012, 12:28–36. Thus, the most intuitive reading of Stopler
supports Petitioner’s contention that QAM Mapper and Phase Scrambler 82
determines an amount of rotation and rotates the phase of a single QAM
symbol by that amount. Patent Owner, in contrast, identifies nothing in
Stopler to suggest that QAM Mapper and Phase Scrambler 82 rotates the
phase of a plurality of QAM symbols (e.g., every QAM symbol of a DMT
symbol) by the same amount. Finally, we agree with Petitioner’s argument
that because “a CDMA modulator does not employ DMT symbols, . . . there
is no reason for Stopler’s phase scrambler to operate on DMT symbols,”
whereas “both DMT and CDMA modulators employ QAM symbols,” so
“applying the phase scrambler to individual QAM symbols [] is the only
possible reading that is logically and technically coherent.” Id. at 18–19
(citing Ex. 1026 (Tellado Reply Decl.) ¶ 58).
      Patent Owner also argues that a person of ordinary skill in the art
would have understood Stopler to be scrambling phase from symbol-to-
symbol over time in order to reduce narrowband noise at the frequency of an


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overhead pilot carrier. PO Resp. 39; see also id. at 38–44 (citing Ex. 2004
(U.S. Patent 6,370,156, “the ’156 patent”)). According to Patent Owner,
“Petitioners’ argument that Stopler discloses phase scrambling within one
symbol is based on the premise that the symbol can have multiple pilot
tones.” Id. at 40. We understand Patent Owner to be alluding to pages 12 to
13 of the Petition, which state
      Stopler also explains that some of the available carriers may be
      reserved for the transmission of overhead signals, such as pilot
      tones. Ex. 1012, 10:60-62 & 12:51-54. To randomize these
      overhead channels, Stopler employs a phase scrambler. Ex.
      1012, 12:24-26.
Pet. 12–13. In the claim-by-claim analysis of the Petition, however,
Petitioner cites lines 20 to 28 of column 12, which include Stopler’s teaching
that “the phase scrambler is applied to all symbols, not just the overhead
symbols.” Pet. 21 (quoting Ex. 1012, 12:27–28). Thus, Petitioner is relying
not just on the scrambling of “overhead signals, such as pilot tones,” (Pet.
12) but on the scrambling of all QAM symbols. Because neither Petitioner’s
argument nor Stopler’s teaching of phase scrambling is limited to pilot
tones, Patent Owner’s argument is not persuasive.
      Finally, we are not persuaded by Patent Owner’s argument that only
its interpretation—i.e., adjusting the phase of an entire DMT symbol—
would “simplify implementation,” as Stopler teaches (Ex. 1012, 12:26),
whereas Petitioner’s interpretation would add complexity. PO Resp. 44
(citing Ex. 2003 ¶ 90). Patent Owner provides no explanation or analysis to
support its conclusory assertions regarding simplicity and complexity, and
the cited portion of Dr. Short’s declaration merely repeats what is written in
the Patent Owner’s Response.


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      For the foregoing reasons, we are persuaded that Stopler teaches
“scrambling, using the phase scrambler, a plurality of carrier phases,” as
recited in independent claim 1 and similarly recited in independent claims 7,
13, and 20.

                        6. Patent Owner’s Assertions
                        Concerning Reason to Combine
      Patent Owner argues that the combined teachings of Shively and
Stopler do not render obvious the challenged claims. PO Resp. 44. In
particular, Patent Owner argues that (1) Petitioner provides no explanation
for the “use of a known technique to improve a similar device” rationale to
combine Shively and Stopler (id. at 45‒47); (2) Petitioner wrongly claims
that Shively’s transmitter suffers from an increased PAR (id. at 47‒49); (3)
Petitioner’s combination of Shively and Stopler suffers from hindsight (id. at
49‒50); (4) there is no need to solve Shively’s non-existent PAR problem
(id. at 50); (5) Stopler does not reduce PAR in a multicarrier transmitter (id.
at 51); (6) Stopler and Shively could not be combined (id. at 51‒55); and (7)
there were no “market forces” in effect to prompt Shively/Stopler
combination (id. at 55‒57). We address each argument in turn.7


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  Patent Owner lists several portions of Petitioner’s Reply and evidence
allegedly beyond the scope of what can be considered appropriate for a
reply. See Paper 22. We have considered Patent Owner’s listing, but
disagree that the cited portions of Petitioner’s Reply and reply evidence are
beyond the scope of what is appropriate for a reply. Replies are a vehicle for
responding to arguments raised in a corresponding patent owner response.
Petitioner’s arguments and evidence that Patent Owner objects to (Paper 22,
1–2) are not beyond the proper scope of a reply because we find that they
fairly respond to Patent Owner’s arguments raised in Patent Owner’s
Response. See Idemitsu Kosan Co. v. SFC Co. Ltd., 870 F.3d 1376, 1381


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                        a. Use of a known technique to
                        improve a similar device rationale
      Patent Owner argues that in making the contention that the
combination of Shively and Stopler is a use of a known technique to
improve a similar device, method or product in the same way, Petitioner
fails to explain what is the known technique, what device/method/product is
similar, and how is the alleged known technique used for improvement in
the same way. PO Resp. 45‒47.
      In the Petition, Petitioner provides sufficient explanation regarding the
reasons to combine Shively and Stopler. Pet. 13–15. The explanation
provided in the Petition is not conclusory or confusing as Patent Owner
asserts. The known technique is identified as phase scrambling. Pet. 14–15
(citing Ex. 1009, 27–28). The similar device is Shively’s modem. Pet. 16.
And the improvement to it is the same as in Stopler—to reduce PAR. Pet.
15 (citing Ex. 1009, 28–29).

        b. Whether Shively’s transmitter suffers from increased PAR
            and whether there is a reason to reduce PAR in Shively
      Patent Owner argues that “Shively does not suffer from an increased
PAR, much less one that would be recognized as a problem. Rather,
Shively’s disclosed embodiment results in a substantially reduced PAR (and
one that is very far below a level that is problematic).” PO Resp. 47‒49.


(Fed. Cir. 2017) (“This back-and-forth shows that what Idemitsu
characterizes as an argument raised ‘too late’ is simply the by-product of one
party necessarily getting the last word. If anything, Idemitsu is the party that
first raised this issue, by arguing—at least implicitly—that Arakane teaches
away from non-energy-gap combinations. SFC simply countered, as it was
entitled to do.”).


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Patent Owner also argues that because Shively does not disclose a problem
with PAR, one having ordinary skill in the art would have had no reason to
look for a solution. PO Resp. 50. We are not persuaded by these arguments.
      Specifically, Patent Owner argues Shively’s system is unlikely to
suffer from clipping 8 based on its analysis of a hypothetical 18,000 foot
wire. PO Resp. 19–28. According to Patent Owner, the power of signals
transmitted in Shively’s proposed system would be “only 40% of maximum”
in the normal mode for ADSL-1995 and “only 49% of maximum” in the
power-boost mode of ADSL-1995. PO Resp. 19–28. Based on these
figures, Patent Owner concludes that “the clipping probability for both
normal and power-boost modes is virtually zero” because “[w]hile Shively’s
‘spreading’ technique will contribute a small uptick in clipping probability,
any increase would be negated by the enormous reduction in clipping
probability achieved by reducing signal power by more than half.” Id. at 28.
      Petitioner argues that Dr. Short’s analysis is flawed because (1) the
teachings of Shively are not applicable only to 18,000 foot cables; and (2)
Dr. Short “grossly underestimates the likelihood of phase alignment” in
Shively because he wrongly assumes a Gaussian distribution. Reply 26–31.
According to Petitioner, a proper analysis shows that Shively’s techniques
“significantly increases PAR and the likelihood of clipping.” Reply 32–36
(emphasis omitted).




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  Patent Owner explains that, “[w]hen the maximum dynamic range of a
component is exceeded, the signal will become distorted or will ‘clip.’” PO
Resp. 8. This is consistent with how the ’243 patent uses “clipping.” See,
e.g., Ex. 1001, 8:27–35.
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      We need not determine the exact probability of clipping in Shively’s
proposed system because, even assuming Patent Owner’s analysis is
accurate, it does not rebut Petitioner’s reason to combine. Petitioner does
not allege that Shively’s proposed system causes clipping, or that a person of
ordinary skill in the art would have been motivated to reduce PAR only if it
caused clipping. Instead, Petitioner alleges that Shively’s proposed system
would have an “increased” or “high” PAR:
      A POSITA would have recognized that by transmitting
      redundant data on multiple carriers, Shively’s transmitter would
      suffer from an increased peak-to-average power ratio. Ex. 1009,
      p. 26. This increase is due to the fact that the overall transmitted
      signal in a multicarrier system is essentially the sum of its
      multiple subcarriers. Id. When N subcarrier signals with the
      same phase are added together, they have a peak power which is
      N times greater than their individual maximum powers. Id.
      Since Shively’s subcarriers use quadrature amplitude modulation
      (QAM) . . . transmitting the same bits on two different
      subcarriers causes those subcarriers to have the same phase and
      amplitude. Id. By transmitting the same bits on multiple
      subcarriers, Shively creates a situation where those multiple
      subcarriers will be phase-aligned. Id. Having phase-aligned
      subcarriers causes a high peak-to-average power ratio (PAR),
      since all of the subcarriers add up coherently at the same time.
      Id.
Pet. 13–14 (emphases added).
      Patent Owner criticizes Petitioner’s declarant for not providing
“calculations or data that illustrate to what degree there is an ‘increase’ in
PAR with Shively’s transmitter” (PO Resp. 48), but we are not persuaded
that such calculations and data are necessary. Petitioner’s reason to combine
does not depend on the PAR increase exceeding some specific numeric
threshold. There is no dispute that transmitting the same data on multiple

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carriers increases PAR (Reply 10 (citing PO Resp. 6–7; Ex. 2003 (Short
Decl.) ¶ 22)) or that Shively’s technique, specifically, will increase PAR (PO
Resp. 28 (“Shively’s ‘spreading’ technique will contribute a small uptick in
clipping probability”). There also is no dispute that equipment designed to
handle a higher PAR can be larger, more expensive, and more power hungry
than equipment designed to handle a lower PAR (Reply 37; Ex. 2003 (Short
Decl.) ¶ 26; Ex. 1027 (Short Depo.) 45:21–19). Patent Owner’s declarant,
Dr. Short, testified that, given such issues, system designers or engineers
would be interested in using techniques that could reduce PAR. Ex. 1027,
46:23–47:3. This is consistent with the reason to combine given in the
Petition and supports Petitioner’s position that “numerous problems” other
than clipping “would have motivated a [person of ordinary skill in the art] to
look for ways to reduce the PAR of Shively’s technique.” Reply 37.
      In light of the foregoing, we are persuaded that a person of ordinary
skill in the art would have recognized that Shively’s technique would
increase PAR and would have been motivated to reduce PAR regardless of
whether Shively’s technique resulted in clipping.

               c. Whether combination of Shively and Stopler
                            suffers from hindsight
      Patent Owner argues that only the inventor of the ’243 patent
recognized the problem of high PAR due to phase-aligned carriers. PO
Resp. 49‒50. Patent Owner argues that the only cited evidence that high
PAR results from transmitting the same data on multiple carriers is from the
’243 patent and that Petitioner “use[s] the ’243 patent as a roadmap for
arriving at their theory of obviousness” and “is a textbook case of
impermissible hindsight bias.” Id. We are not persuaded by this argument.


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      First, the portions cited in the ’243 patent in the Petition and in Dr.
Tellado’s declaration come from the “BACKGROUND OF THE
INVENTION” section of the patent. That portion of the ’243 patent uses
words such as “conventional” indicating that what is described in the
“BACKGROUND OF THE INVENTION” section is information that was
known at the time of the invention, not just by the inventors, but persons of
ordinary skill in the art. Patent Owner does not contend otherwise.
      In addition, Dr. Tellado testified that a person having ordinary skill in
the art would have recognized that the purpose of Stopler’s phase scrambler
to randomize data symbols would be to reduce PAR of transmitted signals
and that the person would have been familiar with the problems created by a
high PAR, including PAR due to phase-aligned carriers. Ex. 1009 ¶¶ 60, 66.
Moreover, Patent Owner’s own declarant recognized that PAR was a known
problem at the time of the invention. Ex. 2003 ¶ 23 (“Conventional
multicarrier systems, therefore, were designed to accommodate PAR.”). The
ANSI T1.413-1995 standard also confirms that PAR was known at the time
of the invention by describing that “[a] DMT time-domain signal has a high
peak-to-average ratio (its amplitude distribution is almost Gaussian), and
large values may be clipped by the digital-to-analog converter.” Ex. 1017,
36 (Section 6.5 “Tone ordering”). Based on the record evidence, we find
that a person having ordinary skill in the art would have known about the
problem of high PAR due to phase-aligned carriers.

       d. Whether Stopler reduces PAR in a multicarrier transmitter
      Patent Owner argues that Stopler does not reduce PAR because phase
scrambling is performed from symbol-to-symbol and not from carrier-to-



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carrier. PO Resp. 51. The argument is not persuasive for the reasons
provided above.

                       e. Whether Stopler and Shively
                              could be combined
      Patent Owner argues that Shively and Stopler are incompatible and
that it would not have been possible to incorporate Shively’s bit-spreading
concept into Stopler. PO Resp. 51. In particular, Patent Owner argues that
Shively’s bit-spreading concept is not compatible with Stopler’s
“diagonalization” technique. PO Resp. 51‒55. This argument is misplaced
as Petitioner did not rely on Stopler’s “diagonalization” technique. Rather,
Petitioner relies on Stopler’s phase scrambler and scrambling technique.
Pet. 14, 21–22. Moreover, Stopler describes its “diagonalization” technique
as optional. Ex. 1012, 10:17, 13:1‒3. For these reasons, we are not
persuaded by Patent Owner’s argument that it would not be possible to
combine Shively and Stopler.

                     f. Whether “market forces” prompt
                         Shively/Stopler combination
      The Petition states that “[m]arket forces would have prompted the
development of multicarrier communications devices, such as Digital
Subscriber Line (DSL) modems, employing both redundant bit transmission
and phase scrambling.” Pet. 15 (citing Ex. 1009, 28). Patent Owner argues
that neither Petitioner nor Dr. Tellado identifies a single product or standard
that employs any of the ideas disclosed in Shively or Stopler. PO Resp. 55‒
57.
      Patent Owner’s arguments are misplaced. It was not incumbent on
Petitioner or Dr. Tellado to identify a product or standard that employs the


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ideas disclosed in Shively or Stopler in order to show that the combination
of Shively and Stopler would have been obvious to a person skilled in the
art. That is not the standard. Rather, a claim is unpatentable under
35 U.S.C. § 103(a) if the differences between the claimed subject matter and
the prior art are such that the subject matter, as a whole, would have been
obvious at the time of the invention to a person having ordinary skill in the
art. KSR Int’l Co., 550 U.S. at 406. Dr. Tellado testified that a person
having ordinary skill in the art would have been familiar with problems
caused by a high PAR, that equipment needed to cope with PAR would have
been expensive and inefficient, and that less capable equipment would have
caused distortion such as from amplitude clipping. Ex. 1009 ¶ 66. He
further testified that combining Shively’s redundant bit transmission with
Stopler’s phase scrambling technique would have allowed for faster DSL
modems without requiring more complex and expensive circuitry for
handling increased PAR. Id. ¶ 69. Patent Owner has not presented
sufficient evidence to undermine Dr. Tellado’s testimony. Indeed, Dr. Short
testified that a way to address high PAR in a communication system would
be to use transceiver components that could handle higher peak transmission
values, which would be expensive and power hungry. Ex. 1027, 45:15‒
46:12. Based on the record before us, we find that at the time of the
invention, a person having ordinary skill in the art would have recognized
that an increase in PAR would have been associated with more expensive
communication equipment. Accordingly, a drive to reduce equipment costs
would have motivated a person having ordinary skill in the art to include
Stopler’s phase scrambler into Shively’s transmitter to reduce PAR. Pet.
13–15; Ex. 1009 ¶¶ 66‒70.


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                                 7. Summary
      For the foregoing reasons, we are persuaded that Petitioner has
established, by a preponderance of the evidence, that claims 1‒3, 7–9, 13–
16, and 20–22 of the ’243 patent are unpatentable under 35 U.S.C. § 103(a)
as obvious over Shively and Stopler.

                E. Obviousness of Claims 4–6, 10–12, 17–19,
                and 23–25 over Shively, Stopler, and Gerszberg
      Petitioner contends that claims 4‒6, 10‒12, 17‒19, and 23‒25 of the
’243 patent are unpatentable under 35 U.S.C. § 103(a) as obvious over
Shively, Stopler, and Gerszberg. Pet. 42–52.

                           1. Gerszberg Overview
      Gerszberg discloses a telephone network interface unit typically
disposed on the outside of a home or small business. Ex. 1013, 1:6‒9. An
intelligent services director (ISD) is placed near a customer’s premises for
multiplexing and coordinating many digital services on to a single twisted-
pair line. Id. at 2:12‒23. A facilities management platform (FMP) is placed
in the local telephone network’s central office for routing data to an
appropriate interexchange company network. Id. A network server platform
(NSP) is coupled to the FMP. Id.

                      2. Petitioner’s Initial Contentions
      Petitioner contends that a combination of Shively and Stopler would
have rendered obvious claims 4‒6, 10‒12, 17‒19, and 23‒25 of the ’243
patent. Pet. 42–52. We have reviewed the Petition, Patent Owner’s
Response, and Petitioner’s Reply, as well as the relevant evidence discussed
in those papers and other record papers, and are persuaded that the record
sufficiently establishes Petitioner’s contentions for claims 4‒6, 10‒12, 17‒

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19, and 23‒25, and we adopt Petitioner’s contentions discussed below as our
own.
       For example, the claim 4 recites “[t]he method of claim 1, wherein the
transceiver is a wireless transceiver,” claim 5 recites “[t]he method of claim
1, wherein the transceiver is operable for high speed internet access,” and
claim 6 recites “[t]he method of claim 1, wherein the transceiver is operable
to transport video.” Petitioner argues that, as discussed above, the
combination of Shively and Stopler renders claim 1 obvious. See Section
II.B.3. Petitioner further argues that Gerszberg discloses the additional
limitations of claims 4‒6. Pet. 47‒49. Petitioner explains that Gerszberg
discloses a “transceiver [that] is ‘coupled to a central office [] via a twisted-
pair wire, hybrid fiber interconnection, wireless and/or other customer
connection.’” Id. at 48 (quoting Ex. 1013, 2:67‒3:9) (emphasis omitted).
Petitioner also argues that Gerszberg discloses “‘[h]igh-speed access to the
Internet’ and the ‘ability to offer ultra fast Internet access.’” Id. (quoting Ex.
1013, 7:44–60, 8:16‒24). Petitioner additionally argues that Gerszberg
discloses “transporting ‘video’ and providing ‘[i]nteractive video
teleconferencing.’” Id.at 49 (quoting Ex. 1013, 8:16‒36, 10:63‒11:3). We
are persuaded by Petitioner’s showing and find that Gerszberg teaches a
wireless transceiver, a transceiver operable for high speed internet access,
and a transceiver operable transport video.
       Petitioner further argues that a person with ordinary skill in the art
would have combined Gerszberg with Shively/Stopler “because Shively
explicitly refers to Gerszberg and incorporates Gerszberg by reference.” Id.
at 43–44 (citing Ex. 1011, 18:7‒9; Ex. 1013, 16:52‒53; Ex. 1009, 69;
Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1329 (Fed.


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Cir. 2001) (holding “[w]hen a document is ‘incorporated by reference’ into a
host document, such as a patent, the referenced document becomes
effectively part of the host document as if it were explicitly contained
therein.”)). Petitioner alternatively argues that “it would have been obvious
to combine the teachings of Gerszberg with Shively and Stopler because the
combination is merely the use of a known technique to improve a similar
device, method or product in the same way.” Id. at 44 (citing Ex. 1009, 69).
Petitioner explains that both Shively and Stopler “describe transmitting data
using DSL and multitone communication technologies” and a person with
ordinary skill in the art would have recognized that DSL “was intended to
provide data services such as high-speed internet and video to telephone
subscribers.” Id. (citing Ex. 1011, 1:5‒8; Ex. 1012, 1:50‒61, 9:37‒41,
12:21‒24, 12:55‒57; Ex. 1009, 69). Petitioner argues that it was known that
“Service Systems” that are offered by DSL technologies include “Internet
access,” “Interactive video,” and “Videoconferenc[ing].” Id. at 44‒45
(citing Ex. 1015, 100, 102, 104, Fig. 1). Accordingly, Petitioner argues, and
we agree, that the “known technique for providing Internet and video
services, as disclosed by Gerszberg, would be applied to the combination of
Shively and Stopler to provide the advantage of addressing the market need
for such services.” Id. at 46 (citing Ex. 1013, 7:44‒60, 8:16‒36, 10:63‒
11:3).
         Patent Owner argues that “Petitioners’ assertion of unpatentability for
the dependent claims . . . also falls short” for the same reasons argued above
with respect to the independent claims. PO Resp. 59. We have addressed
those arguments above, and, for the same reasons discussed above, are not
persuaded. See Section II.D.5 and II.D.6.


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                                  3. Summary
      For the foregoing reasons, we are persuaded that Petitioner has
established, by a preponderance of the evidence, that claims 4–6, 10–12, 17–
19, and 23–25 of the ’243 patent are unpatentable under 35 U.S.C. § 103(a)
as obvious over Shively, Stopler, and Gerzberg.

                     F. Patent Owner’s Motion to Exclude
      Patent Owner filed a Motion to Exclude (Paper 28, “Motion”).
Petitioner filed an Opposition to Patent Owner’s Motion (Paper 33, “Opp.”),
and Patent Owner filed a Reply in support of its Motion (Paper 37). Patent
Owner seeks to exclude Exhibit 1022, Exhibit 1025, certain paragraphs of
the Exhibit 1026 (Second Tellado Decl.), and Exhibits 1023, 1024, and 1028
and testimony regarding the same. Mot. 2–12. As movant, Patent Owner
has the burden of proof to establish that it is entitled to the requested relief.
See 37 C.F.R. § 42.20(c). For the reasons stated below, Patent Owner’s
Motion to Exclude is dismissed.
      Exhibit 1022 is styled “Robert T. Short, ‘Physical Layer,’ in
WIMEDIA UWB (2008),” and Exhibit 1025 is a copy of Dr. Tellado’s thesis.
Reply 5. Patent Owner argues that we should exclude Exhibits 1022 and
1025 as irrelevant under Federal Rule of Evidence (“FRE”) 402. Motion 2–
6. These exhibits were not cited or discussed in Petitioner’s Reply, and we
did not rely on Exhibit 1022 or 1025, or Dr. Tellado’s statements with
respect to Exhibits 1022 and 1025, in rendering our decision. We did not
and need not consider Exhibits 1022 and 1025. We have determined that
Petitioner has demonstrated, by a preponderance of the evidence, that the
challenged claims are unpatentable, without considering the specific
objected to evidence or the portion of Dr. Tellado’s statements that discuss

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Exhibits 1022 and 1025. Accordingly, we dismiss Patent Owner’s Motion to
Exclude as to these exhibits.
      Exhibit 1023 is styled “Denis J. G. Mestdagh and Paul M. P. Spruyt,
‘A Method to Reduce the Probability of Clipping in DMT-Based
Transceivers,” IEEE Transactions on Communications, Vol. 44, No. 10,
(October 1996).” Reply 5. Exhibit 1024 is styled “Stefan H. Muller and
Johannes B. Huber, ‘A Comparison of Peak Power Reduction Schemes for
OFDM,’ IEEE Global Telecommunications Conference (1997).” Id.
Exhibit 1028 is styled “T. Starr, J. M. Cioffi, P. J. Silverman,
UNDERSTANDING DIGITAL SUBSCRIBER LINE TECHNOLOGY (1999) (selected
pages).” Id. Exhibit 2013 is a copy of the cross examination transcript of
Dr. Tellado.
      Patent Owner argues that we should exclude Exhibits 1023, 1024, and
1028 in their entirety as irrelevant. Motion 9–12. Patent Owner also argues
that we should exclude certain portions of Exhibit 2013 allegedly discussing
Exhibits 1023, 124, or 1028. Id. Although Exhibits 1023, 1024, and 1028
are mentioned briefly in Petitioner’s Reply, we did not rely on Exhibits
1023, 1024, 1028, or the objected to portions of Exhibit 2013 in rendering
our decision. We did not and need not consider Exhibits 1023, 1024, 1028,
or the objected to portions of Exhibit 2013. We have determined that
Petitioner has demonstrated, by a preponderance of the evidence, that the
challenged claims are unpatentable, without considering the specific
objected to evidence.
      Finally, Patent Owner argues that we should exclude paragraphs 16
(last two sentences), 29, 42, 43 (first sentence), and 52 of Exhibit 1026
(Second Tellado Declaration), and certain portions of Dr. Tellado’s cross


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examination transcript (Exhibit 2013) under FRE 702 as being based on
insufficient facts or data due to an alleged undisclosed simulation. Motion
6–9. We did not rely on the objected to portions of Exhibits 1026 or 2013 in
rendering our decision. We did not and need not consider the objected to
portions of Exhibits 1026 or 2013. We have determined that Petitioner has
demonstrated, by a preponderance of the evidence, that the challenged
claims are unpatentable, without considering the specific objected to
evidence. Accordingly, we dismiss Patent Owner’s Motion to Exclude as to
these paragraphs of Exhibit 1026 and these portions of Exhibit 2013.
      For all of the above reasons, we dismiss Patent Owner’s Motion to
Exclude.

                        G. Motion for Observations
      Patent Owner also filed a Motion for Observations (Paper 27, “Obs.”),
to which Petitioner filed a Response (Paper 34, “Obs. Resp.”). To the extent
Patent Owner’s Motion for Observations pertains to testimony purportedly
impacting Dr. Tellado’s credibility, we have considered Patent Owner’s
observations and Petitioner’s responses in rendering this Final Written
Decision, and accorded Dr. Tellado’s testimony appropriate weight in view
of Patent Owner’s observations and Petitioner’s response to those
observations. See Obs. 1–13; Obs. Resp. 2–11.

                            III. CONCLUSION
      Petitioner has demonstrated, by a preponderance of the evidence, that
(1) claims 1‒3, 7‒9, 13‒16, and 20‒22 of the ’243 patent are unpatentable
under 35 U.S.C. § 103(a) over Shively and Stopler; and (2) claims 4‒6, 10‒
12, 17‒19, and 23‒25 of the ’243 patent are unpatentable under 35 U.S.C.
§ 103(a) over Shively, Stopler, and Gerszberg.

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                                   Appx568
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                                 IV. ORDER
      Accordingly, it is
      ORDERED that claims 1‒25 of the ’243 patent are determined to be
unpatentable;
      FURTHER ORDERED that Patent Owner’s Motion to Exclude is
dismissed; and
      FURTHER ORDERED that, because this is a Final Written Decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                         Appx570
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Trials@uspto.gov                                             Paper No. 43
571-272-7822                                     Entered: February 1, 2018

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                   v.

                           TQ DELTA, LLC,
                            Patent Owner.
                            ____________

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                            ____________

Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and
MATTHEW R. CLEMENTS, Administrative Patent Judges.

CLEMENTS, Administrative Patent Judge.


                              DECISION
                         Request for Rehearing
                           37 C.F.R. § 42.71



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 DISH Network, LLC, who filed IPR2017-00254, and Comcast Cable
Communications, LLC, Cox Communications, Inc., Time Warner Cable
Enterprises LLC, Verizon Services Corp., and ARRIS Group, Inc., who filed
IPR2017-00418, have been joined in this proceeding. Paper 14; Paper 15.

                                 Appx571
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                             I.    INTRODUCTION
        Pursuant to 37 C.F.R. § 42.71(d), TQ Delta, LLC (“Patent Owner”)
request rehearing of our Final Written Decision (Paper 41, “Dec.”). Paper
42 (“Req. Reh’g”). Specifically, Patent Owner submits that our construction
of “scrambling . . . a plurality of carrier phases” misapprehends or overlooks
certain evidence, that Stopler 2 does not disclose “scrambling . . . a plurality
of carrier phases,” that we misapprehended or overlooked certain testimony,
and that we misapprehended that Shively 3 would not have an increased or
high PAR. Req. Reh’g passim.
        For the reasons set forth below, Patent Owner’s Request for
Rehearing is denied.

                          II. STANDARD OF REVIEW
        A party requesting rehearing bears the burden of showing that the
decision should be modified. 37 C.F.R. § 42.71(d). The party must identify
specifically all matters we misapprehended or overlooked, and the place
where each matter was addressed previously in a motion, an opposition, or a
reply. Id. With this in mind, we address the arguments presented by Patent
Owner.

                                  III. ANALYSIS

                A. “scrambling . . . a plurality of carrier phases”
        Independent claim 1 recites “scrambling . . . a plurality of carrier
phases.” Independent claim 7 similarly recites “scramble a plurality of



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    U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012, “Stopler”).
3
    U.S. Patent No. 6,144,696 B1; issued Nov. 7, 2000 (Ex. 1011, “Shively”).

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carrier phases.” Independent claims 13 and 20 similarly recite “scramble[s]
a plurality of phases.” We adopted Patent Owner’s proposed construction in
part by construing “scrambling . . . a plurality of carrier phases” to mean
“adjusting the phases of a plurality of carriers in a single multicarrier
symbol.” Dec. 6–9. We did not add to that construction “by pseudo-
randomly varying amounts” because Patent Owner did not show why that
additional language should be included for the broadest reasonable
construction of the term “scrambling . . . a plurality of carrier phases.” Id.
Patent Owner argues that our construction is overly broad because it
encompasses adjusting the phases of every carrier in the single multicarrier
symbol by the same amount. Req. Reh’g. 1–2. Such an adjustment,
according to Patent Owner, would not reduce peak-to-average power ratio
(“PAR”), which the parties and the panel all agree scrambling must do. Id.
at 3–5. “The FWD misapprehends or overlooks that, under any proper
construction, there must at a minimum be varying amounts by which the
phases are adjusted within a single multicarrier symbol (i.e., from carrier-to-
carrier) such that PAR is reduced.” Id. at 2.
      Patent Owner presents arguments not presented previously. We could
not have overlooked or misapprehended those arguments presented for the
first time in the rehearing request. Importantly, Patent Owner argues now
for the first time that for any proper construction “there must at a minimum
be varying amounts by which the phases are adjusted within a single
multicarrier symbol (i.e., from carrier-to-carrier) such that PAR is reduced.”
Id. at 2. This proposed construction differs from Patent Owner’s original
proposed construction which included “by pseudo-randomly varying



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                                     Appx573
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amounts.” Absent from the new proposed construction is the term “pseudo-
randomly.”
      In any event, it is clear from the Decision that we construed the
totality of each claim as requiring varying the amount by which the phase of
each carrier is adjusted. See, e.g., Dec. 21–24. Accordingly, even if we
were to adopt Patent Owner’s new proposed construction, it would not
change the way we applied the prior art to the claim language as a whole.

                  B. Stopler’s Single-Carrier Embodiment
      Patent Owner argues that Stopler’s QAM Mapper and Phase
Scrambler 82 “must be compatible with single-carrier CDMA” because
Stopler teaches that its output can, in one embodiment, be provided to a
CDMA modulator. Req. Reh’g. 6. Patent Owner concludes that Stopler’s
phase scrambling “must have a different purpose than the claimed phase
scrambling because [it] . . . cannot reduce PAR.” Id. at 7.
      We addressed this argument and found it unpersuasive. Dec. 18–22.
Mere disagreement with the Board’s conclusion is not a proper basis for
rehearing. It is not an abuse of discretion to have made a conclusion with
which a party disagrees.

          C. Allegedly Misapprehended or Overlooked Testimony
      Patent Owner quotes page 21 of our Decision and argues that “there
are several inaccuracies.” Req. Reh’g 8–12. These arguments are based, in
part, on a mischaracterization of our claim construction as requiring the
same amount of rotation of the phase of each of the QAM symbols in a
DMT symbol. See, e.g., id. at 8 (“First, a DMT symbol cannot be phase
scrambled as that term is used in the claims by having its component QAM
symbols rotated by the same amount.”), 9 (“as interpreted in the FWD (‘i.e.,

                                      4
                                    Appx574
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rotates by the same amount, the phase of a plurality of QAM symbols.’).”).
Our construction of “scrambling . . . a plurality of carrier phases” does not
require rotating by the same amount. And as we applied the prior art, to the
totality of the claim language, it is clear that we construed the totality of the
claim language to require the phases of the carriers of the multi-carrier
signal be rotated by varying amounts. For example, our Decision states
      Stopler further teaches that, “a phase scrambling sequence is
      applied to the output symbols,” including “all symbols, not just
      the overhead symbols.” Id. at 12:25–28. Patent Owner’s expert,
      Dr. Short, agreed that Stopler is referring to phase scrambling
      QAM symbols. Reply 16–17 (citing Ex. 1027 (Tellado Dep.),
      54:17–55:3, 55:19–24, 58:6–8, 59:9–12, 60:15–22). Stopler
      further teaches that a “scrambling sequence may be generated by
      a pseudorandom generator” that generates pairs whose sum “is
      used to select the amount of rotation to be applied to the symbol,”
      singular; not “symbols” plural. Ex. 1012, 12:28–36. Thus, the
      most intuitive reading of Stopler supports Petitioner’s contention
      that QAM Mapper and Phase Scrambler 82 determines an
      amount of rotation and rotates the phase of a single QAM symbol
      by that amount.
Dec. 21–22.
      Patent Owner also objects to our characterization of Dr. Short’s
testimony as “admit[ing] that Stopler does not describe phase scrambling
DMT symbols” (Dec. 21 (citing Ex. 1027, 60:11–14)). Req. Reh’g 9
(regarding Ex. 1027, 60:11–14). That testimony is as follows:
      Q. Well, you would agree with me that [Stopler] doesn’t
      expressly teach applying the phase scrambler to the DMT as a
      whole?
      A. I would agree with that.
Ex. 1027, 60:11–14. We acknowledge that Dr. Short testified that he
understands Stopler to be rotating all of the QAM symbols within a

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DMT symbol by the same amount, but the point made in our Decision
remains: Dr. Short clearly conceded, however, that Stopler does not
expressly teach applying the phase scrambler to the DMT symbol as a
whole. Dec. 21 (citing Ex. 1027, 60:11–14).
      Patent Owner also argues that we misapprehended its argument that
Stopler would adjust the phases of QAM symbols over time in order to
reduce narrowband noise. Req. Reh’g 10 (citing PO Resp. 39 (“According
to a second narrowband-noise-reducing technique, Stopler addresses
narrowband noise at the frequency of an overhead pilot carrier by
scrambling the phase of the pilot carrier over time from one DMT symbol to
the next, i.e., by inter-symbol phase scrambling. See Ex. 2003 at ¶ 82.”).
As we noted in our Decision, however, Stopler teaches and Petitioner relies
“not just on the scrambling of ‘overhead signals, such as pilot tones,’ (Pet.
12) but on the scrambling of all QAM symbols. Because neither Petitioner’s
argument nor Stopler’s teaching of phase scrambling is limited to pilot
tones, Patent Owner’s argument is not persuasive.” Dec. 23.
      Patent Owner also argues that we misapprehended its burden by
noting that “Patent Owner identifies nothing in Stopler to suggest that, in an
alternative embodiment with a multicarrier modulator, QAM Mapper and
Phase Scrambler 82 do not supply a plurality of phase-scrambled QAM
symbols for modulation onto the plurality of carriers in the, e.g., DMT
symbol.” Req. Reh’g 10–11 (quoting Dec. 21). Petitioner has the burden of
persuasion to prove unpatentability by a preponderance of the evidence. See
35 U.S.C. § 316(e); Dynamic Drinkware, LLC v. Nat’l Graphics, Inc., 800
F.3d 1375, 1379 (Fed. Cir. 2015). For this element, we explained how
Petitioner satisfied that burden based, inter alia, on express disclosure in


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Stopler. Dec. 21–22. The sentence to which Patent Owner objects merely
notes that, even assuming Stopler works as Patent Owner argues in an
embodiment with a single-carrier modulator, that does not persuasively rebut
the express disclosure upon which Petitioner relies. Accordingly, we are not
persuaded that we misapprehended Patent Owner’s burden.
      Patent Owner also argues it was denied the opportunity to file a sur-
reply. Req. Reh’g. 11–12. Patent Owner was, however, granted an
opportunity to identify allegedly new arguments and evidence in Petitioner’s
Reply (Paper 21), and we considered the identified portions when reaching
our Decision (Dec. 24 n.7). Although the “listing” format required Patent
Owner to be efficient in its identification and required Petitioner to be
efficient in its responsive paper, these papers provided “the information
necessary to make a reasoned decision” (Ultratec, Inc. v. CaptionCall, LLC,
872 F.3d 1267, 1273 (Fed. Cir. 2017)) about whether the arguments and
evidence raised in reply were outside the scope of a proper reply.

                               D. Shively’s PAR
      Finally, Patent Owner argues that we misapprehended or overlooked
its argument that Shively’s PAR would not be so “increased” or “high” that
it resulted in clipping, as would be needed before a person of ordinary skill
in the art had reason to modify Shively. Req. Reh’g 12–15. We addressed
this argument and found it unpersuasive. Dec. 27–28. Mere disagreement
with the Board’s conclusion is not a proper basis for rehearing. It is not an
abuse of discretion to have made a conclusion with which a party disagrees.
      Moreover, Patent Owner alleges that “the FWD characterizes Shively
as having a ‘high’ or ‘increased’ PAR.” Req. Reh’g. 13 (citing Dec. 27–28).
That is false. Our Decision states that it is undisputed that Shively’s

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technique “will increase PAR” (Dec. 27–28), but does not characterize
Shively as having a “high” or “increased” PAR. 4 Our Decision relies upon
page 28 of Patent Owner’s Response (Paper 12), which concedes that
“Shively’s ‘spreading’ technique will contribute a small uptick in clipping
probability.” Patent Owner does not dispute, in its Request for Rehearing,
Shively’s technique increases PAR.
      With respect to Patent Owner’s argument that “there is no PAR
problem presented by Shively” (Req. Reh’g. 13) and “the only PAR problem
in this case relates to clipping” (id. at 14), we considered that argument and
found it unpersuasive. Dec. 27–28. As we noted, “Petitioner’s reason to
combine does not depend on the PAR increase exceeding some specific
numeric threshold,” “there also is no dispute that equipment designed to
handle a higher PAR can be larger, more expensive, and more power hungry
than equipment designed to handle a lower PAR,” and, therefore, “a person
of ordinary skill in the art . . . would have been motivated to reduce PAR
regardless of whether Shively’s technique resulted in clipping.” Id. In other
words, as we explained in our Decision, Shively’s PAR need not result in
clipping in order to motivate a person of ordinary skill in the art because we
are persuaded such a person would have been motivated sufficiently to
reduce PAR by the benefit of being able to use smaller, less expensive, less
power hungry components.



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  In a sentence summarizing Petitioner’s position, our Decision states,
“Petitioner alleges that Shively’s proposed system would have an
‘increased’ or ‘high’ PAR.” Dec. 27 (quoting Pet. 13–14) (emphasis added).
It should be obvious, however, that a summary of Petitioner’s allegation is
not a characterization by the panel.
                                     8
                                    Appx578
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                               II.   ORDER
      Accordingly, it is it is ORDERED that Patent Owner’s Request for
Rehearing is denied.




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Declaration of Dr. Jose Tellado Under 37 C.F.R. § 1.68 in Support of
Petition for Inter Partes Review of U.S. Patent No. 9,014,243

        B.       Overview of Stopler

        58.      “Stopler” is U.S. Patent No. 6,625,219 (Ex. 1012). Like Shively,

Stopler describes multicarrier data transmission, including specifically the use of

discrete multitone transmission (DMT). Ex. 1012, 1:50-51. Stopler explains that

DMT is one type of multitone modulation, which involves “a number of narrow-

band carriers positioned at different frequencies, all transmitting simultaneously in

parallel.” Ex. 1012, 1:9-11 & 1:42-45.

        Stopler explains that its multitone modulation techniques are compatible

with various signal modulation technologies, an example of which employs 256

carriers positioned at different frequencies. Ex. 1012, 1:42-61; 12:55-57. Stopler

also explains that its signal transmission scheme may implement techniques of

DSL standards such as “ADSL (Asymmetric Digital Subscriber Line).” Ex. 1012,

9:37-41, 12:21-24.

        59.      Stopler also explains that some of the available carriers may be

reserved for the transmission of overhead signals (also called overhead symbols),

such as pilot tones. Ex. 1012, 10:60-62 & 12:51-54. To randomize these overhead

channels, Stopler employs a phase scrambler. Ex. 1012, 12:24-26. A POSITA

would have understood that the values transmitted in an overhead channel may not

be random, and in fact, may be highly structured. Without the phase scrambler, the

structured nature of the overhead channel could contribute to an increase in the


                                                     24                                CSCO-1009
                                                    Appx2925
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Petition for Inter Partes Review of U.S. Patent No. 9,014,243

peak-to-average power ratio of the transmitter. Stopler illustrates its phase

scrambler, as shown in FIG. 5, below:




                                                             Phase Scrambler

                                   Ex. 1012, FIG. 5 (Annotated)

        60.      The phase scrambler as described by Stopler is implemented to

“randomize” all symbols, including the data symbols. Ex. 1012, 9:34-47, 12:24-45.

A POSITA would have recognized that a purpose for implementing the phase

scrambler to randomize the data symbols would be to reduce the PAR of

transmitted signals.

        61.      Stopler is analogous art to the ’243 patent because both Stopler and

the ’243 patent are in the same field of endeavor (data communications and

processing). Ex. 1012, 1:7-8; Ex. 1001, Abstract.




                                                      25                               CSCO-1009
                                                    Appx2926
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Declaration of Dr. Jose Tellado Under 37 C.F.R. § 1.68 in Support of
Petition for Inter Partes Review of U.S. Patent No. 9,014,243

        C.       Reasons to Combine Shively and Stopler

        62.      It would have been obvious to a POSITA to combine Shively and

Stopler because the combination is merely the use of a known technique to

improve a similar device, method or product in the same way.

        63.      A POSITA would have recognized that by transmitting redundant data

symbols on multiple carriers, Shively’s transmitter would suffer from an increased

peak-to-average power ratio. This increase is due to the fact that the overall

transmitted signal in a multicarrier system is essentially the sum of its multiple

subcarriers. When N subcarrier signals with the same phase and amplitude are

added together, they have a peak power which is N times greater than their

individual maximum powers.

        64.      Since Shively’s subcarriers use quadrature amplitude modulation

(QAM)—which encodes bits to be transmitted by modulating the phase and

amplitude of the subcarrier—transmitting the same one or more bits on two

different subcarriers causes those subcarriers to have the same phase and

amplitude. By transmitting the same bits on multiple subcarriers, Shively creates a

situation where those multiple subcarriers will be phase-aligned. Having phase-

aligned subcarriers causes a high peak-to-average power ratio (PAR), since all of

the subcarriers add up coherently at the same time. I note that the ’243 patent




                                                     26                                CSCO-1009
                                                    Appx2927
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acknowledges that it was known for a high PAR to result from transmitting the

same data on multiple carriers:

             If the phase of the modulated carriers is not random, then the
             PAR can increase greatly. Examples of cases where the phases
             of the modulated carrier signals are not random are when bit
             scramblers are not used, multiple carrier signals are used to
             modulate the same input data bits, and the constellation maps,
             which are mappings of input data bits to the phase of a carrier
             signal, used for modulation are not random enough (i.e., a zero
             value for a data bit corresponds to a 90 degree phase
             characteristic of the DMT carrier signal and a one value for a
             data bit corresponds to a -90 degree phase characteristic of the
             DMT carrier signal).
Ex. 1001, 2:15-25.

        65.      I agree that a POSITA would have immediately recognized that

Shively’s redundant transmission technique would negatively impact the PAR.

        66.      A POSITA would have been familiar with the problems created by a

high PAR. Among the problems is the need for transmission components, such as

amplifiers and digital-to-analog converters, with a linear response over a large

dynamic range. To the extent that such components existed, they were expensive

and highly inefficient. Less capable components would cause non-linear signal

distortion, such as from amplitude clipping, resulting in data transmission errors.

Since a high PAR brings numerous disadvantages, a POSITA would have sought

out an approach to reduce the PAR of Shively’s transmitter.

        67.      Stopler provides a solution for reducing the PAR of a multicarrier

transmitter. Specifically, Stopler teaches that a bit scrambler followed by a phase

                                                     27                                CSCO-1009
                                                   Appx2928
              Case: 18-1766            Document: 49-1           Page: 433   Filed: 11/21/2018

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scrambler can be employed to randomize the phase of the individual subcarriers.

Ex. 1012, 12:24-28. A POSITA would have recognized that by randomizing the

phase of each subcarrier, Stopler provides a technique that allows two or more

subcarriers in Shively’s system to transmit the same one or more bits, but without

those two or more subcarriers having the same phase. Since the two subcarriers

are out-of-phase with one another, the subcarriers will not add up coherently at the

same time, and thus the peak-to-average power ratio for the overall system will be

less than in Shively’s original system.

        68.      Combining Stopler’s phase scrambler into Shively’s transmitter would

have been a relatively simple and obvious solution to reduce Shively’s PAR.

        69.      Market forces would have prompted the development of multicarrier

communications devices, such as Digital Subscriber Line (DSL) modems,

employing both redundant bit transmission and phase scrambling. As Shively

explains, effective use of redundant bit transmission actually increases the

available bandwidth by exploiting subcarriers that would otherwise be wasted

(unused). Ex. 1011, 16:7-10. Combining redundant bit transmission with

Stopler’s phase scrambling technique would have allowed the development of

faster DSL modems without requiring more complex (and expensive) circuitry for

handling an increased peak-to-average power ratio.




                                                     28                                CSCO-1009
                                                    Appx2929
              Case: 18-1766           Document: 49-1           Page: 434   Filed: 11/21/2018

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Petition for Inter Partes Review of U.S. Patent No. 9,014,243

        70.      Thus, it would have been obvious to combine Shively with Stopler as

the combination is merely the use of a known technique to improve a similar

device, method or product in the same way.

        D.       Detailed Analysis

        71.      The following claim chart describes how Shively in view of Stopler

renders obvious each and every element of claims 1-3, 7-9, 13-16 and 20-22 of the

‘243 patent.

    U.S. Patent No.                                   Shively in view of Stopler
       9,014,243
Claim 1
[1.0] A method, in a               Both Shively and Stopler independently render obvious
multicarrier                       this preamble.
communications
transceiver comprising             First, Shively teaches performing a method in a
                                   multitone communication system:
                                          It is an object of the invention to provide a
                                          method for transmission in a multitone
                                          communication system together with an
                                          algorithm for allocating bits in the system.
                                   Ex. 1011, 3:28-29.

                                   Shively teaches that it was known to employ
                                   multicarrier communications techniques, such as
                                   discrete multitone (DMT) modulation, using a DSL
                                   modem:
                                          This invention relates to discrete multitone
                                          transmission (DMT) of data by digital
                                          subscriber loop (DSL) modems and more
                                          specifically to the allocation of bits,
                                          respectively, to the discrete multitones.
                                   Ex. 1011, 1:5-8.

                                                     29                                CSCO-1009
                                                   Appx2930
             Case: 18-1766            Document: 49-1           Page: 435    Filed: 11/21/2018

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                                          communication with a remote transceiver 14
                                          over a communication channel 18 using a
                                          transmission signal 38 having a plurality of
                                          carrier signals. The DMT transceiver 10
                                          includes a DMT transmitter 22 and a DMT
                                          receiver 26.
                                   Ex. 1001, 1:25-30.

                                   Thus, a POSITA would have recognized that both
                                   Shively and Stopler describe multicarrier
                                   communications apparatuses, such as modems, and that
                                   Shively and Stopler further describe methods
                                   performed by such modems. Shively and Stopler
                                   therefore independently render obvious “method, in a
                                   multicarrier communications transceiver.”

[1.1] a bit scrambler  Stopler renders obvious this limitation.
followed by a phase
scrambler, comprising: Stopler teaches that the transmitter portion of its
                       multicarrier communications apparatus (the
                       “transceiver” of portion [1.0]) includes scrambler 56
                       followed by a QAM mapper and phase scrambler 82:

                                                                       Bit Scrambler




                                                                           Phase Scrambler
                                                    Ex. 1012, FIG. 5 (Annotated)


                                   Scrambler 56 is a bit scrambler because it

                                                     33                                 CSCO-1009
                                                   Appx2934
                  Case: 18-1766        Document: 49-1        Page: 436      Filed: 11/21/2018




                                       Jose Tellado
1759 Cherrytree Lane                                                  Phone : 650-776-8053
Mountain View, CA 94040                                               Email : jtellado@gmail.com


SUMMARY
    Signal Processing and Digital Communications expert: Architected, designed and optimized,
     pre/post tapeout, numerous complex and high-throughput physical layers in both wireless and wired
     technologies using OFDM/DMT, QAM/PAM and MIMO.
    Team leader: built and led PHY/Systems teams to design, develop and map into hardware as well as
     troubleshoot algorithms within digital, analog, cost metrics and schedule constraints.
    Author of intellectual property with over 60 issued and filed patents.
    Key contributor to IEEE standardization efforts in 802.16 (WiMAX) and 802.3an (10GBase-T).


EDUCATION


Stanford University
Ph.D. in Electrical Engineering                                                          1994 – 1999
    Dissertation Topic: Peak to Average Power Reduction for Multicarrier Modulation
    Advisor:      Prof. John M. Cioffi

M.S. in Electrical Engineering                                                           1993 – 1994
   Emphasis: Signal processing and Digital Communications

University of Santiago de Compostela (Vigo), Spain                                       1988 – 1992
B.S. in Telecommunication Engineering (top GPA in Spain)


PROFESSIONAL EXPERIENCE


Rasa Networks
VP Technology                                                                           2014 – present
           nd
• As the 2 employee of this venture backed start-up, co-lead the transformation to a leading SaaS WiFi
   analytics company.
• Hired and lead a small team of Wireless and Data Science experts to derive insights from WiFi
   metadata to improve connectivity, reliability and performance and provide actionable feedback to
   WiFi network operators.



                                                 –1–



                                                                                          CSCO-1010
                                                                                    Cisco v. TQ Delta
                                                                                          Page 1 of 4
                                                   Appx2982
Case: 18-1766                                Document: 49-1                                          Page: 437                                    Filed: 11/21/2018




                                                                                            111111111111111111111111111111111111111111111111111111111111111111111111111
                                                                                                                       US006144696A
  United  States Patent
  Ulllted States Patent [19]
                        [19]                                                                             [11] Patent Number:
                                                                                                         [11]                                                              6,144,696
  Shively et ai.
             al.                                                                                         [45]       Date of Patent:                                       Nov. 7,2000
                                                                                                                                                                               7, 2000

  [54]     SPREAD SPECTRUM BIT ALLOCATION                                                                 5,598,435  1/1997 Williams .................................
                                                                                                                                       ............................... .. 375/261
           ALGORITHM                                                                                      5,832,387 11/1998 Bae et al. ................................ 455/522
                                                                                                          5,960,003
                                                                                                          5,960,003  9/1999 Fischer
                                                                                                                     9/1999 Fischer et
                                                                                                                                    et al.
                                                                                                                                        al. ..........................
                                                                                                                                              ........................ .. 370/468
                                                                                                                                                                          370/468
  [75]
  [75]     Inventors:
           Inventors: Richard
                      Richard Robert     Shively, Convent
                                Robert Shively,   Convent                                            _                        _                         _
                      Station; Ranjan V. Sonalkar, North                                         Primary  Exam”_1er—StePhen Chin
                                                                                                 P''Wary Examiner-Stephen   Chm
                      Caldwell, both
                      Caldwell,  both of
                                      of N.J.
                                          Ni                                                     Assistant Examiner-Mohammad
                                                                                                           ExamIner—Mohammad Ghayour
                                                                                                 [57]                                     ABSTRACT
  [73]                                     NY.
           Assignee: AT&T Corp., New York, N.Y.
                                                                                                 High transmission capacity in a twisted pair signal line,
  [21]     Appl. No.: 09/000,842                                                                 where power is limited by a power spectral-density mask
              _                                                                                  and an aggregate signal power constraint, is obtained by: (1)
  [22]
  [22]     Filed:
           Flled:           Dec.
                            Dec‘ 31,
                                 31’ 1997
                                     1997                                                        allocating data to multitone sub-bands according to a lowest
  [51]          c1.7 .......................................................
           Int. CI?   ..................................................... .. H04B 1/38         marginal
                                                                                                 marginal power-cost
                                                                                                             Power-COSt per
                                                                                                                          Per bit
                                                                                                                                bit scheme
                                                                                                                                    Scheme and      (2) in
                                                                                                                                               and (2)   in an
                                                                                                                                                             an environ-
                                                                                                                                                                environ
  [52]
  [52]     us CI.
           U.S.  CL .........................._ 375/222;
                                                 375/222; 375/225; 375/225; 370/391;
                                                                                 370/391;        ment
                                                                                                 ment where
                                                                                                        where an an aggregate
                                                                                                                    aggregate power
                                                                                                                               power budget       remains after
                                                                                                                                         budget remains     after all
                                                                                                                                                                   all bits
                                                                                                                                                                       bits
                                                                                  370/358
                                                                                  370/358        have been allocated to all sub-bands with sufficientsuf?cient margins
  [58]     Field  of Search                                                375/222   219         to
                                                                                                 to carry
                                                                                                     carry aa bit,
                                                                                                               bit, assigning
                                                                                                                    assigning additional
                                                                                                                                additional bits     to sub-bands
                                                                                                                                              bits to  sub-bands with with
  [58]     Field of Search ..................................... 375/222, 219,
                               375/225 455/127,  455/127 509;      509 370/391,
                                                                             370/391 358
                                                                                      358        otherwise
                                                                                                 otherwise insufficient
                                                                                                              insuf?cient power     margins to
                                                                                                                           power margins          carry aa single
                                                                                                                                               to carry            bit, by
                                                                                                                                                           single bit,  by
                               375/225;
                                             ’                 ’   ’             ’               frequency-domain-spreading a single bit across several sub-          sub
  [56]                         References Cited
                               References Cited                                                  bands
                                                                                                 bands at    correspondingly reduced
                                                                                                          at correspondingly      reduced power
                                                                                                                                             power levels,
                                                                                                                                                      levels, to
                                                                                                                                                               to permit
                                                                                                                                                                   permit
                                                                                                 the otherwise unacceptable noise levels to be reduced on
                      US. PATENT DOCUMENTS
                      U.S.                                                                       average by despreading at the receiving end. Another feature
         4,456,925 6/1984
         4,456,925  6/1984 Skerlos
                           Skerlos et
                                    et al.
                                        al. ............................
                                               .......................... .. 358/85
                                                                              358/85             of
                                                                                                 of the
                                                                                                     the invention,     apphcable in
                                                                                                           mvennon’ applicable        1“ an
                                                                                                                                          an environment
                                                                                                                                               envlronment in  1“ which
                                                                                                                                                                    Whlch
         4 620 289 10/1986
         4,620,289 10/1986 Chauvel
                           Chauvel ..................................
                                      ................................ .. 364/521
                                                                             364/521             multiple
                                                                                                 multiple interfering       Channels are
                                                                                                              interfering channels         are employed,
                                                                                                                                                emP1°yed> provides
                                                                                                                                                                Provides
                    2/1988 Auer
         4,725,694 2/1988  Auer et
                                 et al.
                                    al. ................................
                                          .............................. .. 178/18               increased signal
                                                                                                             Signal  throughput    by  (3) transmitting
                                                                                                                                   by (3) transmitting     coherently    in
         4,916,441  4/1990 Gombrich ...............................
                                         ____ __                          _ 340/712              aa number
                                                                                                    number of of multitone
                                                                                                                  multitone sub-bands,       identical blocks
                                                                                                                             sub-bands, identical       blocks of of data,
                                                                                                                                                                     data,
         5,014,267 5/1991 Tompkins et al.   a1, ........................ 370/62                  with the number of multitone sub-bands being equal to a
         5,157,717 10/1992 Hitchcock .................................
                                         .... ..                           .. 379/96             number of interfering channels and multiplying the signal
         5,335,276 8/1994 Thompson et al.     al- .......................-- 380/21               carried by corresponding sub-bands in the separate interfer-    interfer
         5,393,964  2/1995 Hamilton    et
         5a393a964 2/1995 Hifm?ton eta1~~  al.    .......................- 235/381
                                                                             235/381             ing channels by a different respective vector from an
         5,406,615 4/1995
         5,406,615  4/1995 Miller,
                           Miller, II
                                   11 et
                                      et al.
                                           al. .........................
                                                  ....................... .. 379/59
                                                                              379/59             orthonormal basis set  Set so
                                                                                                                            SO that near-end       cross_talk is elimi-
                                                                                                                                       near_end cross-talk          e1imi_
         5,488,412
         5,488,412 1/1996
                    1/1996 Majeti
                           Ma]et1 et
                                   et al.    ........................... .. 348/10
                                      al. .............................       348/10             Hated upon
                                                                                                         u on despreading
                                                                                                                des readin at  at the
                                                                                                                                   the receiving
                                                                                                                                        receivin end.
                                                                                                                                                    end
                                                                                                 nated
         5,512,935 4/1996 Majeti et al. ...............................
                                             ..                                348/9                            p             p           g                           g       '
         5,528,593
         5,528,593  6/1996
                    6/1996 English
                           English et
                                    et al.     .......................... .. 370/84
                                        al. ............................      370/84
         5,534,913 7/1996 Majeti et al. ...............................
                                             ............................. .. 348/7                                           77 Claims,
                                                                                                                                 Claims, 5 Drawing Sheets




                                                                                                                3                   S12                          S10
                                                                                                                                                                 SID
                              DETERMINE CHANNEL TRANSFORM CHARACTERISTIC
                                                          GHARAGTERISTIG                      SELECT
                                                                                               SELEGT NUMBER                          8                            s
                      521, BY TRANSMITIING
                              TRANSMITTING AND RECEMNG
                                               REcEIvING PSEUDO-NOISE                          OF
                                                                                               0F FREQUENCY                   ASSIGN oNE BlT ID    No        ToTAL POWER \
                      S21
                             SIGNAL AND CALCULATING ATIENUATION
                                                     ATTENUATION AND                          BINS
                                                                                              DINS TO
                                                                                                    TD SPREAD       <— m BINS BEGINNING                     EXCEED RESIDUAL
                                          PowER VS.
                                   NOISE POWER  vs. FREQUENCY                                  OVER (m)
                                                                                                     (IN) AND                     AT INDEX                      POWER?        /
                                                                                                SET INDEX=1
                                                                                                     INDEX:1                                                    YES


                              ALLocATE BITS To ALL FREQUENCY BINS SUBJECT                     CALCULATE
                                                                                              CALCULATE POWER
                                                                                                          POWER
                     S22, T0 ANY MINIMUM AND MAXIMUM BITS/BIN LIMITS                           BIN
                                                                                                BIN ARRAY
                                                                                                     ARRAY (TO
                                                                                                            (To $53
                     S22                                                                    TRANSMIT              S3
                              AND SUBJECT ID ANY PowER SPEGTRAL DENSITY                     "WSW ADDmONAL
                                                                                                       ADDmONAL
                                                 MASK LIMITS                                 BIT)
                                                                                             DIT) FOR
                                                                                                   FOR ALL
                                                                                                        ALL BINS;
                                                                                                            BINS;
                                                                                              CHECK PSD MASK


                                                                                              SORT POWER BIN
                     35¢         GALGULATE THE TOTAL POWER REQUIREMENT                      ARRAY
                                                                                            ARRAY IN
                                                                                                   1" ASCENDING
                                                                                                      ASCENDING
                     S23                                                                     ORDER
                                           ovER ALL CHANNELS                                  ORDER OF
                                                                                                     OF POWER   S4
                                                                                                        POWER ’54
                                                                                             AND RECALCULATE
                                                                                                   REcALcULATE
                                                                                                 MAX
                                                                                                  MAN BINS
                                                                                                                         S7
                                   IS THE POWER REQUIREMENT GREATER
                                                             GREAIER        N0                                      "0
                     S24             THAN THE AGGREGATE POWER LIMIT
                                           FOR ALL CHANNELS?                                             YES                                                      END
                                                      YES
                                                      YES                                   GALGULATE RESIDUAL ,5
                                                                                                                S5
                                                                                                  POWER
                                 DELETE (DEALLocATE) BITS ON A GREATEST                              [
                     S25
                     525w       MARGINAL POWER SAvINGS BASIS UNTIL THE
                                   AGGREGATE PowER LIMIT Is SAIISEIED                         CALCULATE TOTAL
                                                                                                          ToTAL
                                                                                             POWER TO TRANSMIT
                                                                                                        IRANSMIT
                                                                                            ONE
                                                                                            oNE BIT
                                                                                                 DIT IN ADJACENT » S9
                                                                                                                   59
                                                                                              m
                                                                                              m BINS BEGINNING
                                                    END                                           AT INDEX
                                                                                                     L




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                                                                                                                                                  Cisco v. TQ Delta
                                                                                                                                                      Page 1 of 16

                                                                          Appx2986
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 U.S. Patent                               Nov.
                                           Nov. 7,2000
                                                7,2000                                Sheet
                                                                                      Sheet 11 0f5
                                                                                               of 5                                        6,144,696
                                                                                                                                           6,144,696

                                                                       FIG.
                                                                       FIG.                  11                                      __
                                                               C                        .................
                  A                                            E\                       ------_.......... "
                                                                                       __________________
                                                     B              .......
                                                                            ...." .....
                                                                                  . -..
                                                                                        b3         b4     .........
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                                                                                                                                  i;"""

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                                                   ~j
                                                                               ------
         XMIT                                      ,')
                                                     B ... *"':~*“ ¢”’
                                                   ,,)
                                                    ’S","          Q2 ".           //
                                                                                    b_3   b_4 ~
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                                 --- ..- ..----
         XMIT                                                                            ~
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                          ---_.- ...
                          ...    ....                                b2            ~ I--
                                                                               I-- f...-
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        SIGNAL
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        SIGNAL                    M         A                       ///
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                                                                    "."
        POWER
        POWER I--lf'L//
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                 I--  ~
                      !-"
                         1V     -
                                 hl
                                    r--
                                                   .",."
                                                           V/
                                                           .




                                                                       FREQUENCY
                                                                       FREQUENCY                                                           7




                                                                     FIG. 2
                          31                                                                                      32
                          i\                                                    33                                  \
                      00000000
                      00000000                                                   \g          A 00000000
                                                                                               00000000
                      1:!
                      c:::::J       MODEM I:
                                    MODEM c:::::J I:
                                                  c:::::J                                         1:!
                                                                                                  c:::::J     MODEM
                                                                                                              MODEM c:::::J
                                                                                                                    :I I:   c::J
                                                                                                                            c:::::J




                                                                      FIG. 3
                11                                     12                                13                           14
                ~
                \S                                      <.\S                              <.\S                         <.\8
            DATA
            DATA                       ;            SOURCE
                                                    SOURCE                ---.
                                                                          ---.._      CHANNEL
                                                                                      CHANNEL                       DIGITAL
                                  ---..
                                  ---+-                                   r---+                             r---.: MODULATOR
                                                                                                            r--     DIGITAL
           SOURCE                 -----            ENCODER                     V      ENCODER


                                                                       PAIR 1~
                                                   CHANNEL (44 TWISTED PAIR) 15
        —                                                                                                                                      >


                 TT

          DIGITAL
           DIGITAL
        DEMODULATOR
                ')S
                        V
                    f----
                                  -                CHANNEL
                                                   CHANNEL
                                                   DECODER
                                                        ')S
                                                                          r--:
                                                                          r---+
                                                                          f---
                                                                                      SOURCE
                                                                                       SOURCE
                                                                                      DECODER
                                                                                             S
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                                                                                                            r--4'
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                                                                                                                                SINK
                                                                                                                                  '>S
                                                                                                                                  ')
                16                                     17                                    18
                                                                                             18                                  19
                                                                                                                                 19




                                                                                                                                          Page 2 of 16




                                                               Appx2987
                                                                                                                                                                                             ~
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                                                                                                                                                                                            ~
                                                                                            FIG. 4                                                                                          .....
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                                                  '\                            ~                              }                                     -L


                                                                       -                            ....
                                                                                                    ... ADD CYCLIC                                                                          zo
                                             SERIAL -TO-                                            .-     PREFIX AND                                                                        ~
                                      ....                                 MULTI-CARRIER                                                   ....
                                                                                                                                           ...       D/A
                                              PARALLEL                 -                                  PARALLEL- TO-                                                                     ~-..J
                                                                            MODULATOR                                                             CONVERTER                                  N
                                               BUFFER                                                        SERIAL                                                                         C
                                                                                                    .....                                                                                   C
                                                                                                            CONVERT                                                                         C
                                                                                                                                                                                                     Document: 49-1




                                                                                                    -
                                                                                                                             15
                                                                                                CHANNEL                      ~
                                                                                                                             .s.                      L                        ......
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Appx2988
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                                  t                                                                                                                                                          N
                                                                                                                                                                                            o....,
                                                           REMOVE CYCLIC             ...                           .......
                                                                                                                                                                                                     Page: 439




                                                                                                                   .-                                     ....                              Ul
                                                             PREFIX AND                                                                                          PARALLEL TO
                                 A/D                                                       MULTICARRIER
                                                             SERIAL-TO-                                                            DETECTOR                         SERIAL
                              CONVERTER                -                             --    DEMODULATOR
                                                                                                                   --                                     ---                           -
                                                              PARALLEL                                                                                            CONVERTER
                                                              CONVERT                                                                                     -
                                                                 \\.                            \                                     \.
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                                 46                             47                                                                                                                            0\
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Case: 18-1766         Document: 49-1        Page: 440         Filed: 11/21/2018




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U.S. Patent                Nov. 7,2000
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                                             Sheet 33 of
                                                      0f55          6,144,696
                                                                    6,144,696

                                   FIG. 55

               DETERMINE CHANNEL TRANSFORM CHARACTERISTIC
   S21
   521w....,-. BY TRANSMITIING
                  TRANSMITTING AND RECEIVING PSEUDO-NOISE
                 SIGNAL AND CALCULATING ATIENUATION
                                         ATTENUATION AND
                        NOISE POWER VS. FREQUENCY



               ALLOCATE BITS TO ALL FREQUENCY BINS SUBJECT
   S22 ....,-. TO ANY MINIMUM AND MAXIMUM BITS/BIN UMITS
                                                     LIMITS
               AND SUBJECT TO ANY POWER SPECTRAL DENSITY
                                MASK UMITS
                                     LIMITS


                                    II



   32%,,
   S23 ....,-.   CALCULATE THE TOTAL POWER REQUIREMENT
                           OVER ALL CHANNELS


                                    IT

                   IS THE POWER REQUIREMENT GREATER           N0
                                                              NO
   S24              THAN THE AGGREGATE POWER UMIT
                                              LIMIT                       A
                           FOR ALL CHANNELS?
                                                                      TO FIG. 66
                                    YES
                                    IT

                 DELETE (DEALLOCATE) BITS ON AA GREATEST
   S25 ....,-.
   525w          MARGINAL POWER SAVINGS BASIS UNTIL THE
                                    UMIT IS SATISFIED
                    AGGREGATE POWER LIMIT



                                  END




                                                                   Page 4 of 16




                                 Appx2989
Case: 18-1766          Document: 49-1                Page: 441         Filed: 11/21/2018




u.s.
U.S. Patent                     Nov. 7,2000
                                Nov. 7,2000          Sheet
                                                     Sheet 44 of
                                                              of55                   6,144,696
                                                                                     6,144,696
                                           FIG. 6
        FROM
        FROM FIG. 55

                       s2
                       3                      $12
                                              S12                         $10
                                                                          S10
      SELECT NUMBER                           s
       0F FREQUENCY
       OF                             ASSIGN ONE BIT TO
                                                     T0                TOTAL POWER
           Io SPREAD
      BINS TO               :         m
                                      m BINS BEGINNING               EXCEED RESIDUAL
       OVER (m) AND                       AT
                                          AI INDEX                       POWER?
        SET INDEX=1
            INDEX=T                                                       YES
                                                                          YES
             v‘

     CALCULATE POWER
                  (T0
       BIN ARRAY (TO
    TRANSMIT ADDITIONAL J‘ S3
                           53
     BIT) FOR ALL BINS;
      CHECK PSD MASK
             V

      SORT POWER BIN
    ARRAY IN ASCENDING
      ORDER OF POWER ~/‘S4
                        S4
     AND RECALCULATE
         MAX BINS
             ,,                  S7
                                 57

   < NAx BINS >=m? /:N0                                                    =
                                                                               I’

             "YES                                                        CM)
    CALCULATE RESIDUAL
    CALCULATE RESIDUAL ,
          POWER
                                 S5

             II

      CALCULATE TOTAL
     POWER TO TRANSMIT
            IN ADJACENT J‘ S9
    ONE BIT IN
             BEGIN NING
     mm BINS BEGINNING
         AT INDEX




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                                              FIG. 7

                                                                                   AFTER DE -WEIGHTING
                                                                                         DE-WEIGHTING
                                                                                    AND DESPREADING
   CODE
   CODE              AA           A
                                  A                A                A
                                                                    A                       A
  11 11 11 11       bed
            ~~~~~~~~~+-~~~.
            ~~~~~~~~~+-~~~~
                                  [Fl         |?                         Fd :
                CHANNEL1       Lg] lg                  cd           be     FREQ




   CODE              B                             B
   C_0DE_            B                             B                                        B
  1111 H W                   E III           Fl                 8        F ,
                CHANNEL 2              bi              1: d         lg     FREQ
                                  B
                                  B                                 B
                                                                    B



   CODE              C            cc
   C°D_E_            c                                                                      c
  1 1 1 1         uh I?      II              @b                3|     l? :
                CHANNEL3       \gl lg                   lg         M FREQ
                                                   C
                                                   C
                                                   c                C
                                                                    0




   CODE              D                                              D
   CPD}              D                                              D                       D
  1111 Qb|c|                 Elm             QIb               F            :
                CHANNEL 4      [3|                  3|              bc     FREQ
                                 D
                                 D                 D
                                                   D




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                                                            6,144,696
                               1                                                                     2
      SPREAD SPECTRUM BIT ALLOCATION                                  power
                                                                      poWer spectral graph. The lower
                                                                                                    loWer curve, the channel trans-
                                                                                                                                 trans
                ALGORITHM                                             form characteristic A represents this floor,
                                                                                                              ?oor, that is, the com-
                                                                                                                                  com
                                                                      bined effect of noise and attenuation as a function of
                      1ECHNI
                      TECHNICALCAL FIELD                              frequency. A certain margin of power
                                                                                                        poWer is required to meet or
   This invention relates to discrete multitone transmission          exceed the minimum threshold of a signal for reliable data
(DMT) of data by digital subscriber loop (DSL) modems                 transmission. In other words,      poWer of a signal in a given
                                                                                              Words, the power
            speci?cally to the allocation of bits, respectively,
and more specifically                                                 sub-band must be sufficiently high to carry a minimal (1-bit)
to the discrete multitones.                                           QAM     tone to obtain  a prede?ned bit error rate. The mini-
                                                                                                predefined                        mini
                                                                      mum margin, that required to transmit a single bit, is
           BACKGROUND OF THE INVENTION
                                                                   10 represented by curve B. Curve C represents the limits
   In digital communication systems employing multi-       multi                      poWer spectral density mask imposed by an
                                                                      imposed by a power
channel or multi-carrier transmission, the most effective             external communications standard. The other limit is on the
allocation of bits to the channels has been discussed in the          aggregate power,        de?ned by an external communication
                                                                                  poWer, also defined
literature. The well-known
                Well-knoWn solution from information theory,          standard, e.g., ANSI Standard Tl.413-1995
                                                                                                        T1.413-1995 limits the total
                          water over a terrain defined
analogiZed to pouring Water
analogized                                         de?ned by the 15                                            Watts. Some coding
                                                                      poWer for all sub-bands to 100 m
                                                                   15 power                                  mWatts.
noise/attenuation of the channel transform characteristic, has        techniques, such as Wei code described in American
been found to insure efficient
                         ef?cient use of signal power
                                                    poWer within
                                                           Within                               Telecommunications—NetWork and
                                                                      National Standard for Telecommunications-Network
        de?ned by aggregate poWer
limits defined                  power and power
                                           poWer spectral den-den                             Interfaces—Asymmetric Digital Sub-
                                                                      Customer Installation Interfaces-Asymmetric                  Sub
sity mask limits. However,
                     HoWever, the method in some instances            scriber Line Metallic Interface, ANSI T1.413-1995, may
may not go as far as possible in exploiting available poWerpower 20 also require a minimum number of bits in a frequency band
imposed by these limits.                                              if the band is to convey any information at all. In other
   For heuristic purposes, the prior art and the invention are        words,
                                                                      Words, if the power
                                                                                     poWer spectral density mask limit may require
discussed in terms of N quadrature amplitude modulation               that less energy be used than the minimum required to
(QAM) channels with  With a uniform symbol rate and a non-   non      transmit a single bit.
uniform (unique to each channel) QAM constellation. QAM, 25        25     Note that the minimum allowable
                                                                                                      alloWable size
                                                                                                                 siZe of the power
                                                                                                                                 poWer
a form of combined amplitude and phase modulation, rep-       rep     margin is, in part, arbitrary since, to an extent, it is defined
                                                                                                                               de?ned
resents k-bit sets of data by modulating two   tWo (orthogonal)       in terms of some a priori rules and technical criteria (which
                                                                                                                                (Which
quadrature carriers, cos ZJ'IZfCI
                            2Jtfct and sin 2Jtfct
                                           ZJ'IZfCI to generate a     are arbitrary to the extent that they establish a dividing line
       Whose phase and amplitude convey the encoded k-bits
pulse whose                                                           between
                                                                      betWeen acceptable and unacceptable error rates; Bit Error
of information. The QAM signal tone can be viewed     vieWed as a 30 Rate or BER) for the given communication system. Note
phasor in the complex plane, each distinguishable phasor                               siZe of the margin available for a given
                                                                      also that the size
representing a unique state of the tone identified
                                            identi?ed with
                                                         With one     sub-band corresponds to the dimension of the constellation
unique value in a range. Thus, if the channel and signal              that can be represented in a signal carried in that QAM
power
poWer are such that 4 separate phasors can be reliably                channel. That is, the larger the margin in a band, the greater
distinguished, the scheme allows
                             alloWs two
                                     tWo bits to be represented. 3535 the number of states that can be reliably distinguished in that
For 3 bits to be represented, 8 phasors must be distinguished         band and the larger the constellation that can be used.
and so on. The number of different phasors or states that are            The above context creates a bit-allocation problem. That
distinguishable in a single tone (pulse), the QAM                                                hoW should bits be allocated among
                                                                      is, given the constraints, how
constellation, is limited by the signal to noise ratio of the         the available QAM channels to provide the highest possible
channel and limits imposed by external standards as dis-       dis 40
                                                                   40 data rates? DSL modems that use DMT modulation concen-   concen
cussed below.
         beloW.                                                       trate the transmitted information in the frequency sub-bands
   In a DMT modem, a transmission frequency band is                   that have the minimum attenuation and noise. The optimum
separated into N sub-bands or frequency bins, each corre-   corre                                    poWer is obtained by distribut-
                                                                      distribution of transmission power                     distribut
sponding to one QAM channel. In a non-ideal channel each              ing the power                     Well-knoWn "water
                                                                               poWer according to the well-known     “Water pouring"
                                                                                                                             pouring”
sub-band has a different capacity as a result of the variation 45 analogy as described in Robert G. Gallagher, Information
                           with frequency. In addition, external
of noise and attenuation With                                         Theory and Reliable Communication, John Wiley and Sons,
standards impose limits on the aggregate powerpoWer of a signal       New
                                                                      NeW York, 1968. Such optimal distribution requires a strat- strat
     poWer applied in all sub-band channels) and a cap on the
(the power                                                            egy for allocating bits to the sub-bands for the idealized
                                                                                                                             idealiZed
poWer as a function of frequency defined
power                               de?ned by a power
                                                   poWer spectral     situation where
                                                                                 Where  the channel  sub-bands  approach   zero  width
                                                                                                                           Zero Width
density mask.                                                         (M~O).
                                                                   50 (M--70).
                                                                      (AfQO). For discrete bits, the applicable metaphor could be
   The power
        poWer spectral density mask may be dictated by the            described as an ice-cube pouring analogy.
standard used in a particular country implementing the                   DSL technology was Was conceived to maximize
                                                                                                              maximiZe the through-
                                                                                                                              through
standard (such asAN.S.I.
                 as A.N.S.I. standard Tl.413-1995).
                                      T1.413-1995). The mask          put on twisted
                                                                              tWisted pair copper wiring
                                                                                                   Wiring with
                                                                                                          With attendant background
may also be a design constraint intentionally imposed by a            noise, time-variant Far End Cross Talk (FEXT) and Near
modem designer for some other reason. For example, a 55 End Cross Talk (NEXT). To determine the transform char-                   char
designer may intentionally impose a constraint that no more           acteristic of the channel, the modems negotiate during an
than n bits are to be transmitted on transmit channel fre-     fre    initial channel signal-to-noise ratio (SNR) estimation pro-  pro
quency. Similarly, the designer may impose a constraint that          cedure. During the procedure, the transmitter sends a known
                                                                                                                                knoWn
a minimum of bits (or no bits) must be transmitted on a               pseudo noise (PN) signal. The receiver computes the char-   char
particular tone or frequency. For example, the power  poWer limit 60 acteristics of the received signal in the form of a ratio NJgk'
                                                                                                                                 Nk/gk,
for frequencies or tones betWeen
                          between 0 and 200 kilohertz
                                               kilohertZ must be      Where gk is the channel gain (inverse of the attenuation) in
                                                                      where
less than --40
            -—40 dBm/Hz
                  dBm/HZ (a poWer
                                power level referenced to one         frequency band k and Nk is the noise power
                                                                                                               poWer in the band k.
milliwatt
milliWatt over 1 Hz     bandwidth). Above 200 kHz
                    HZ bandWidth).                   kHZ (to fre-
                                                               fre    The literature contains many algorithms for determining the
quencies in the megahertz
                  megahertZ of spectrum), the constraint may          power
                                                                      poWer distribution across the full frequency bandwidth
                                                                                                                       bandWidth for
be -34
    —34 dBm/Hz.
         dBm/HZ.                                                   65 maximum data throughput. As noted above, the optimum
   Referring to FIG. 1, the attenuation +noise characteristics        approach for non-uniform Gaussian noise channel divided
of a medium can be graphically represented by a floor   ?oor in a     such that each band can be considered an additive white     White




                                                                                                              Page 7 of 16




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Gaussian noise channel has been proved to be the "water     “Water     fering channels are employed, signal throughput is increased
pouring” algorithm of power distribution. In this case, the
pouring"                                                               by (3) forming a number of sub-bands for spreading blocks
gJNk'    Pro?le is compared to a terrain and the available
gk/Nk. Profile                                                         of data that is equal to a number of interfering channels and
             poWer limit to a fixed
aggregate power               ?xed supply of water
                                              Water poured over        multiplying the signal carried by corresponding sub-bands in
                                water corresponds to the power
the terrain. The depth of the Water                          poWer     the separate interfering channels by a different respective
spectral density. The Water
                        water pouring analogy is inappropriate         vector   from an orthonormal basis set so that near-end
to allocation of power
                     poWer in digital channels intended for            cross-talk  is eliminated upon despreading at the receiving
transmission of binary data (bits).                                    end.
                                                                          Note that "spreading"
                                                                                     “spreading” as used in the present application,
   According to one method of allocating bits (John A. C.
                                                                       refers to a process applied at a stage where Where the signal is
Bingham, Multicarrier Modulation for Data Transmission: 10
                                                                       decomposed into spectral elements, so that it can be applied
An Idea Whose Time Has Come, IEEE Communications
                                                                       selectively to frequency components, in contrast to conven-
                                                                                                                                 conven
Magazine, May 1990, pp5—14),
                         pp5-14), frequency sub-bands or bins
                                                                       tional spreading found in, for example, wireless
                                                                                                                     Wireless (cellular)
are "filled"
     “?lled” with
              With data bits one bit at a time. A  bit is added to
                                                Abit
the bin for which
                                                                                    Where spreading is applied to the signal time
                                                                       telephony, where
             Which the marginal poWer
                                   power cost is the lowest.
                                                     loWest. That
                                                                    15 series, and affects (spreads) all elements of the spectrum
is, a bit is added to the bin such that transmission in that bin 15
                                                                       equally as a consequence.
is the least expensive, relative to an additional bit in any
other bin, in terms of poWer
                         power needed for the resulting signal            According to the invention bit allocation may be per-      per
constellation to be received at a prede?ned
                                    predefined BER. The filling
                                                             ?lling    formed to optimize                  Within aggregate power
                                                                                   optimiZe throughput within                 poWer and
                folloWed until the total Power
procedure is followed                     PoWer Budget is used         power
                                                                       poWer spectral density mask limits. Some method, such as
             poWer can only be allocated in discrete amounts 20 the approach identified
up. Since power                                                                          identi?ed above with With the water
                                                                                                                         Water pouring
corresponding to each bit, the procedure is likened, as                analogy, may be used for this bit allocation. The process of
mentioned, to an ice-cube filling                                      bit allocation will
                                                                                       Will be limited either by the mask limit or the
                                ?lling procedure rather than a
Water-?lling procedure.
water-filling                                                                             poWer limit. If after efficient
                                                                       aggregate signal power                    ef?cient allocation, the
                                                                       total signal power
                                                                                     poWer is less than the aggregate power poWer limit,
             OBJECTS AND SUMMARY OF THE                                       Will usually be unused sub-bands. These unused sub-
                                                                    25 there will
                                                                    25                                                              sub
                          INVENTION                                    bands were
                                                                               Were rejected in the initial bit-allocation process
                                                                       because the available power
                                                                                               poWer margin in them was  Was insufficient
                                                                                                                             insuf?cient
   It is an object of the invention to provide a method for            to transmit a single bit. That is, the channels were
                                                                                                                         Were identified
                                                                                                                               identi?ed
transmission in a multitone communication system together              as unusable because transmitting a single bit was   Was found to
With an algorithm for allocating bits in the system.
with                                                                30 exceed the mask limit for the channel. In this case, where
                                                                                                                               Where the
   It is an object of the invention to provide a method for            bit allocation process is limited by the mask, the channels
transmission in a multitone communication system subject               with
                                                                       With low   poWer margins are used to transmit information by
                                                                             loW power
to an aggregate signal poWer
                           power constraint together with  With an     spreading a single block of data (one or more bits) over
algorithm for allocating bits in the system.                           multiple channels and then despreading them at the receiver.
   It is an object of the invention to provide a method for 35            The device of spreading and despreading over multiple
transmission in a multitone communication system subject               channels also provides a mechanism for reducing near end
      signal-poWer spectral density mask constraint together
to a signal-power                                                      cross talk (NEXT). The context to which Which this device applies
With an algorithm for allocating bits in the system.
with                                                                                           ofII interfering channels and nl
                                                                       is a packet consisting of                              n1 carriers
   It is an object of the invention to provide a method for
                                                                       in each channel. For example, the channels could be four
transmission in a multitone communication system subject 40 wire       Wire pairs, in each, some multiple of four carriers are used
                          power constraint and a signal-power
to an aggregate signal poWer                                           to convey information by spreading a single block over each
                                                    signal-poWer
                                                                       of four carriers to transmit, and then despreading at the
spectral density mask constraint together withWith an algorithm
for allocating bits in the system.                                                                       hoWever, the signals in each
                                                                       receiver. At the transmitter, however,
                                                                       interfering channel are multiplied by one element of an
   It is another object of the invention to provide a method 45
                                                                    45 I-dimensional orthogonal code (such as a binary code). At
for transmitting data over multiple interfering channels.              the receiving end, the signals are multiplied again by the
   It is another object of the invention to provide a method           respective opposite orthogonal code and then despread. The
for transmitting data over multiple interfering channels and           process of despreading not only reduces incoherent noise as
a method for reducing interference between
                                        betWeen the interfering        in the embodiment discussed above, but it also substantially
channels.                                                           50 eliminates NEXT because the interference generated in all
   It is another object of the invention to reduce near end            the frequency channels, being derived from orthogonal set,
cross talk between
             betWeen DSL modems communicating over the                 cancel each other. Thus in a channel of four twisted
                                                                                                                         tWisted pairs of
same cable.                                                            wires,
                                                                       Wires, each pair transmits a different block of data but every
    Brie?y, high transmission capacity in a twisted
    Briefly,                                  tWisted pair signal      different block is spread over four carriers in a given wire Wire
line, where
       Where power
               poWer is limited by a poWer
                                         power spectral-density 55  55 pair. The signal transmitted over each of the four wireWire pairs
mask and an aggregate signal poWer power constraint, is obtained       is assigned one of four orthogonal codes. Summing each
by: (1) allocating data to multitone sub-bands according to            block spread over the four frequency channels causes mutual
a lowest
   loWest marginal power-cost
                      poWer-cost per bit scheme and (2) in an          cancellation of the four induced cross-talk signals of the four
environment where
               Where an aggregate poWer
                                     power budget remains after        wires
                                                                       Wires that were
                                                                                   Were multiplied by the four orthogonal codes.
all bits have been allocated to all sub-bands with With sufficient
                                                         suf?cient 60     Discrete Multitone (DMT) modulation serves as a frame-  frame
margins to carry at least one bit, assigning additional bits to        work
                                                                       Work to demonstrate the spreading process. An input data
sub-bands withWith otherwise
                    otherWise insufficient power
                                             poWer margins to          stream is segmented into small blocks of bits, and each such
carry a single bit, by frequency-domain-spreading a single             block is re-expressed as a complex number. For example, a
bit across several sub-bands at correspondingly reduced                constellation of 16 possible discrete complex number values
poWer levels, to permit the otherwise
power                             otherWise unacceptable noise 65 can be used to convey 4 bits, since 16 different states are
levels to be reduced on average by despreading at the                  required to represent 4 bits. The resultant array of complex
receiving end. In an environment in which  Which multiple inter-
                                                              inter    numbers is inverse-Fourier transformed to synthesize
                                                                                                                       synthesiZe a time




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series, Yet),
        Y(t), that represents a sum of multiple distinct sinu-
                                                             sinu     the channel, the transfer characteristic including a noise
soids. (A complex conjugate array of complex numbers is               power
                                                                      poWer level and an attenuation of the channel. A controller
used as an input to the Inverse Fast Fourier Transform                connected to the signal modulator controls an allocation of
process to assure a real resultant time series.)                      first
                                                                      ?rst and second blocks of data from the data source for
   Each of the complex numbers used to encode data there-   there     transmission in the first,
                                                                                             ?rst, second, and third frequency bands.
fore plays the role of a complex spectral coefficient. That is,       The controller is programmed to transmit the first   ?rst block of
      de?nes the amplitude and phase of one of the orthogo-
each defines                                             orthogo      data   in the first
                                                                                    ?rst   frequency    band and transmit the second
nal sinusoids included in the transmitted waveform.
                                                 Waveform. The        block   redundantly   in each  of the second and  third frequency
number of discrete points in the constellation for each of the        bands at a first
                                                                                     ?rst power
                                                                                            poWer level when
                                                                                                           When the channel transfer
bands is a consequence of the measured attenuation and 10                                             poWer level required to transmit
                                                                   10 characteristic is such that a power
noise level in that frequency band, based on a bit-allocation                                    speci?ed bit error rate, in the second
                                                                      the second block, at a specified
process that need not be described here.                              frequency band alone is a first     poWer level. However,
                                                                                                     ?rst power        HoWever, when
                                                                                                                                   When
   In both of the above schemes, the signal power poWer in each       the channel transfer characteristic is such that a power
                                                                                                                             poWer level
frequency carrier is reduced in proportion to the number of           required to transmit the second block, at the specified
                                                                                                                            speci?ed bit
carriers used. Also, in both schemes, the information relating 15  15 error rate, in the second frequency band alone at a second
to the number of bits per block, the frequency channels over          power
                                                                      poWer level, the second powerpoWer level being higher than the
Which blocks are to be spread, etc. must be shared between
which                                                    betWeen      first poWer level, the controller transmits the second block in
                                                                      ?rst power
the transmitter and the receiver. Regarding the latter scheme,        the second frequency band alone.
the transmitter and receiver must also share the orthogonal              According still another embodiment, the invention pro-      pro
codes to be used for each tWisted
                              twisted pair, though these can be 20 vides a modem with     With a frequency-division modulator and a
established on a permanent basis.                                     controller. The modulator transmits input data in separate
   According an embodiment, the invention provides a trans- trans     frequency channels. The controller has a memory that stores
mitting modem that receives digital data from a data source           a power
                                                                         poWer spectral density (PSD) mask specifying the maxi-    maxi
and modulates separate carriers to represent the digital data.        mum power
                                                                              poWer levels permitted for each of the frequency
The modulated signal is applied to a channel connected to a 25     25 channels. The controller's
                                                                                       controller’s memory also stores an aggregate
receiving modem. The channel is subject to a powerpoWer spectral      power
                                                                      poWer limit specifying a total permitted power
                                                                                                                   poWer for all of the
density mask. The transmitting modem includes first,         ?rst,    signals in all of the channels. The controller is programmed
second, and third signal modulators, each with With an input. The     to measure and store in the memory the channel transfer
modem also has a signal combiner with   With a combined output        characteristic of a communications channel through which    Which
connected to the channel and a serial-to-parallel converter 30 the input data is to be transmitted. The controller is also
connected to the data source and to each of the first,
                                                    ?rst, second,     programmed to transmit respective unique portions of the
and third signal modulator inputs. The connection is such             input data in of the frequency channels based on the stored
that the digital data from the data source is converted to            aggregate power
                                                                                  poWer limit, the PSD mask, when  When the measured
multiple parallel streams applied respectively to the first, ?rst,    transfer characteristic is a first
                                                                                                      ?rst transfer characteristic. The
second, and third signal modulators. Each of the first,            35 controller is programmed to transmit a same portion of the
                                                             ?rst, 35
second, and third signal modulators has a respective output           data in at least two
                                                                                        tWo of the frequency channels responsively
connected to the signal combiner such that a sum of output            to the stored aggregate power
                                                                                                 poWer limit, the PSD mask, when
                                                                                                                               When the
                 ?rst, second, and third signal modulators is
signals of the first,                                                 measured transfer characteristic is a different transfer char-char
applied to the channel. A transfer characteristic of the              acteristic.
channel is such that a first?rst minimum powerpoWer required to 40       According still another embodiment, the invention pro-      pro
              speci?ed minimum number of bits by modulat-
represent a specified                                   modulat       vides a method for use in a data modulator for allocating bits
           ?rst frequency sub-band falls below
ing in a first                                 beloW the power
                                                           poWer      to data channel frequencies. The method includes the fol-       fol
spectral density mask and such a that a second minimum                lowing
                                                                      loWing steps. (1) storing mask power  poWer data representing a
poWer required to represent a second specified
power                                        speci?ed minimum         respective maximum power   poWer level for each of the data
number of bits by modulating in each of second and third 45 channel frequencies; (2) storing aggregate power           poWer data rep-
                                                                                                                                     rep
frequency sub-bands exceeds the poWer   power spectral density        resenting a total amount of signal power
                                                                                                             poWer to be applied in all
mask. The serial-to-parallel converter is programmed to feed          of the channel frequencies; (3) allocating bits on a per
  ?rst bit of the digital data to the first
a first                                ?rst signal modulator to       frequency basis, such that bits are successively allocated
represent the first
                ?rst bit by modulating in the first
                                                  ?rst frequency      until the respective maximum power   poWer level is at least sub-
                                                                                                                                     sub
sub-band at a first
                 ?rst power                                   ?rst 50 stantially reached for each of the channel frequencies and
                      poWer level at least as high as the first
minimum power.
            poWer. The serial-to-parallel converter is also           such that each of the bits is allocated to a single respective
programmed to feed a second bit of the digital data to the            one of the channel frequencies; and (4) when When the aggregate
second and third modulators to represent the second bit by            power
                                                                      poWer level is not substantially reached in the step of
coherently modulating in both the second and the third                allocating, further allocating bits to multiples of the channel
frequency sub-bands at a second poWerpower level below
                                                  beloW the first  55 frequencies for transmission at reduced power
                                                              ?rst 55                                                 poWer rates per
poWer level, whereby
power          Whereby resulting signals applied in the second        channel frequency, to permit further bits to be allocated,
and third frequency sub-bands may be combined by the                  until one of the aggregate power   poWer limit is substantially
receiving modem to retrieve the second bit. The first    ?rst and     reached and the respective maximum power  poWer level is reached
second minimum number of bits are both equal to one in the            for each of the data channel frequencies.
absence of some other specified
                          speci?ed constraint.                     60    According still another embodiment, the invention pro-      pro
   According another embodiment, the invention provides a             vides an apparatus that allocates bits for data transmission
frequency division multiplexor transmitting data from a data          via a multiple discrete frequencies. The apparatus has tone
source over a channel. The multiplexor has a signal modu-  modu       ordering circuitry, gain scaling circuitry and an inverse
      With an input and first,
lator with                ?rst, second, and third outputs, each       discrete Fourier transform modulator. The circuitry in com-   com
                                                    ?rst, second, 65 bination allocates initial bits to frequencies on a per fre-
output transmitting data in a respective one of first,                                                                                fre
and third frequency bands. A channel response detector                quency basis, such that the initial bits are successively
connected to the channel detects a transfer characteristic of         allocated until a maximum power  poWer level for each frequency




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is at least substantially reached, each of the initial bits being           According to still another embodiment, the invention
unique to a given frequency. The circuitry also calculates a             provides a method for increasing a data rate in a commu- commu
stored total power level for the initial bits allocated to a             nication channel subject to a power
                                                                                                           poWer spectral density mask.
plurality of transmit frequencies, and if the stored total               The method follows
                                                                                          folloWs these steps: (1) detecting a transfer
power
poWer level is not exceeded, allocate further bits to frequen-
                                                            frequen      characteristic indicating a required minimum power  poWer of a
cies for which
          Which no initial bits are allocated, such that each of         respective carrier modulated to transmit one bit in each of a
the further bits is redundantly allocated to more than one of            plurality of multitone subchannels of the channel; (2) sup-  sup
the frequencies.                                                         plying a data stream to a modulator; (3) modulating a first
                                                                                                                                   ?rst set
   According another embodiment, the invention provides a                of respective carriers to represent respective unique portions
frequency-division multiplex (FDM) transmission system 10             1O of the data stream in at least a subset of those of the
for a channel having multiple subchannels, each of the                   multitone subchannels for which,Which, in the step of detecting
subchannels being susceptible to cross-talk interference                 indicates the minimum power   poWer falls below
                                                                                                                    beloW a power
                                                                                                                             poWer limit
from another of the subchannels. The system comprises a                                     poWer spectral density mask; (4) modulating
                                                                         imposed by the power
transmitting modem with With a programmable FDM modulator                a second set of respective carriers to represent redundantly
connected to modulate first ?rst and second frequency carriers, 15    15 at least one portion of the data stream in at least a subset of
representing an input data stream, in each of first ?rst and second      those of the multitone subchannels for which  Which the step of
subchannels of the channel. Also, the system includes a                  detecting indicates the minimum power  poWer exceeds a power
                                                                                                                                    poWer
receiving modem connected to the channel and a modulator                 limit imposed by the power   poWer spectral density mask; (5)
programmed to modulate the first     ?rst and second frequency           receiving the at least first
                                                                                                  ?rst and second symbols at a receiving
                                       ?rst subportion of the data 20 end of the communication channel; (6) combining the at
carriers coherently to represent a first
stream in the first
                ?rst and second frequency bands to form first    ?rst    least first
                                                                                 ?rst and second symbols received at the receiving end
and second signals in the first
                              ?rst subchannel. The modulator is                      Way as to increase a signal power
                                                                         in such a way                           poWer of the at least first
                                                                                                                                       ?rst
programmed to modulate the first     ?rst and second frequency           and second symbols and, on average, reduce incoherent
carriers coherently to represent a second subportion of the              distortion of the at least first?rst and second symbols; (6)
data stream in the first
                     ?rst and second frequency bands to form 25       25 reconstructing the same portion of the data stream at the
third and fourth signals in the second subchannel. The                   receiving end from a combination of the at least first   ?rst and
receiving modem has a demodulator configured
                                           con?gured to combine          second symbols, resulting from the step of combining.
                 ?rst and second signals. The modulator is also
coherently the first                                                        According still another embodiment, the invention pro-     pro
programmed to form the third and fourth signals such that                vides a communications system for communicating data in
when
When the demodulator combines coherently the first          ?rst and 30 a channel having multiple subchannels. The system has a
second signals, cross-talk interference in the first             ?rst    modulator withWith an output for each of the subchannels. It also
subchannel, caused by concurrent transmission of the third               employs a demodulator with     With an input for each of the
and fourth signals in the second channel, is diminished in a             subchannels. The modulator has an input connected to
combined signal resulting therefrom.                                     receive data from a data source. The modulator is pro-        pro
   According to still another embodiment, the invention 35            35 grammed to modulate separate sets of carriers in each of the
provides a method for reducing near end cross talk. The                  subchannels to represent respective portions of the data. The
                         folloWing steps. (1) forming first
method performs the following                               ?rst and     modulator is also programmed to modulate n separate fre-       fre
second signals in respective first?rst and second tones redun-redun      quency (resulting from a modulation of the modulator being
                       ?rst data to form a first
dantly representing first                    ?rst multi-tone signal      output by the modulator) carriers coherently in each of the
               ?rst and second signals are weighted
such that the first                                              ?rst 40 subchannels to represent a one of the respective portions of
                                                Weighted by a first
vector of an orthogonal set of codes; (2) applying the first     ?rst    the data. Each of the n modulated signals, upon being
multi-tone signal to a first
                          ?rst interfering channel; (3) forming          received at the demodulator, includes an incoherent compo-compo
third and fourth signals in the respective first   ?rst and second       nent resulting from attenuation and/or noise in the channel,
tones redundantly representing second data to form a second                ?rst coherent component resulting from near-end cross talk
                                                                         a first
multi-tone signal such that the third and fourth signals are 45 from the n modulated signals in the subchannels other than
weighted
Weighted by a second vector of an orthogonal set of codes;               the each, and a second coherent component output which   Which is
(4) applying the second multi-tone signal to a second                    the original n modulated signals output by the modulator.
interfering channel; and (5) combining the first   ?rst and second       The modulator modulates the n separate frequency carriers
multitone signals such that a distortion in the first      ?rst data                  When the demodulator demodulates the n modu-
                                                                         such that when                                             modu
caused by near end cross talk in first ?rst interfering channel is 50 lated signals, upon being received at the demodulator, by
diminished.                                                              linearly combining the received n modulated signals, in a
   According to still another embodiment, the invention                  signal resulting from the linearly combining, the incoherent
provides a frequency-division multiplex (FDM) transmis-    transmis      component and the first?rst coherent component are, on average,
sion system for transmitting an input data stream through a              suppressed and the second coherent component is, on
channel. The system has a transmitting modem with                     55 average, amplified.
                                                              With a 55              ampli?ed.
programmable FDM modulator connected to modulate first           ?rst       According still another embodiment, the invention pro-     pro
and second frequency carriers, representing an input data                vides a transmitting modem receiving digital data from a
stream, in the channel. The system also uses a receiving                 data source, modulating carriers to represent the digital data,
modem connected to the channel. A modulator is pro-              pro     and applying a resulting modulated signal to a channel
grammed to modulate the first ?rst and second frequency carriers 60 connectable to a receiving modem. The transmitting modem
coherently to represent a first
                              ?rst subportion of the data stream         has first,
                                                                              ?rst, second, and third signal modulators, each with With an
in the first
         ?rst and second frequency bands to form first      ?rst and     input. The modem also has a signal combiner with          With a
second signals. The receiving modem has a demodulator                    combined output connected to the channel and a serial-to-
                                                                                                                                 serial-to
configured
con?gured to combine coherently the first     ?rst and second sig-
                                                                 sig     parallel converter connected to the data source and to each
                      ?rst subportion such that an incoherent 65 of the first
nals to extract the first                                                         ?rst and second signal modulator inputs such that the
distortion of the first
                   ?rst and second symbols in the first ?rst channel     digital data from the data source is converted to multiple
is, on average, reduced in the extracted first  ?rst subportion.         parallel streams applied respectively to the first
                                                                                                                         ?rst and second




                                                                                                               Page 10 of 16




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                                                              6,144,696
                                9                                                                       10
signal modulators. Each of the first   ?rst and second signal         kHz)
                                                                       kHZ) is usually observed. This characteristic of cable 33 is
modulators has a respective output connected to the signal             represented graphically by curve A       A in FIG. 1.
combiner such that a sum of output signals of the first ?rst and            For convenience of description, the details of digital
second signal modulators is applied to the channel. The                modulator 14 and digital demodulator 16 are described in
serial-to-parallel converter is programmed to feed a bit of 5 terms of a QAM multitone system, although the invention is
the digital data to the first
                         ?rst and second modulators to repre-
                                                           repre       applicable to other kinds of multi-carrier and multi-channel
sent the second bit by coherently modulating in both the first?rst     signaling as willWill be understood by those skilled in the art in
                                      Whereby resulting signals
and second frequency sub-bands, whereby                                light of the teachings disclosed herein.
applied in the first
                 ?rst and second frequency sub-bands may be                 Referring now
                                                                                        noW also to FIG. 3, Modems 31 and 32 contain
coherently linearly combined by the receiving modem to 10 a source encoder 11, a channel decoder 12, a digital modu-
                                                                                                                                     modu
retrieve the bit and such that incoherent components and               lator 14, to take in and transmit data from a data source 11.
coherent but at least partially orthogonal components of the           Modems 31 and 32 also contain a digital demodulator 16, a
resulting signals are attenuated and coherent component of             channel decoder 17, and a source decoder 18 to receive the
a modulated signal applied by the first?rst and second modula-
                                                        modula 15 data and supply it to a data sink 19.
tors is amplified.
         ampli?ed.                                                 15
                                                                            As will
                                                                                 Will be recognized
                                                                                          recogniZed by those skilled in the art, source
   According to still another embodiment, the invention                encoder 12 compresses data from data source 11 and applies
provides a method for transmitting data through a channel              the result to channel decoder 13 which     Which error correction/
                 poWer spectral density mask limit and an
subject to a power                                                     detection data and applies the result to digital modulator 14.
aggregate power
              poWer constraint. According to the method, a 20 Digital modulator acts as the interface with            With the communi-
                                                                                                                                communi
frequency-dependent transmission characteristic of the 20 cation channel by modulating the data to generate a signal
channel is detected. First and second sub-bands of an                  that can be applied to the communication channel 15. Digital
aggregate transmission band are defined
                                      de?ned responsively to a         demodulator 16 constructs a data stream from the modulated
result of the step of detecting, the aggregate power       poWer       signal and applies it to channel decoder 17. Channel decoder
constraint, and the power
                      poWer spectral density mask limit. A A?rst
                                                             first 25 17 corrects errors in the data stream and applies the cor-        cor
modulated signal is generated, the signal having a first      ?rst 25
                                                                       rected data to source decoder 18 which    Which decompresses the
poWer dynamic range permitted by the power
power                                            poWer spectral        data and outputs the decompressed data to data sink 19.
                            ?rst modulated signal representing
density mask limit, the first
                                                                            Referring to FIG. 4, In a QAM multitone modulation, the
     ?rst portion of the data. A second modulated signal is
the first
                                                                       spectrum is broken into multiple sub-bands or QAM chan-        chan
generated, the second signal having a second power         poWer
                                                                   30 nels. Digital modulator 14 generates N QAM signal tones,
                                   power spectral density mask 30
dynamic range permitted by the poWer                                                                              th
                                                                       one for each QAM channel. Each ii”1 QAM channel carries
limit, the second modulated signal representing the second
                                                                      kkiii bits of data. Aserial-to-parallel buffer 41 segments a serial
portion of the data.
                                                                       stream of digital data into N frames, each having allocated
       BRIEF DESCRIPTION OF THE DRAWINGS                               to it kkii bits of data. These are applied to respective inputs of
                                                                   35 a multi-carrier modulator 42 which
                                                                   35                                       Which generates a QAM tone
   In the drawing,
           draWing,                                                    for each channel. Multi-carrier modulator generates N QAM
   FIG. 1 shows
            shoWs an arbitrary transform characteristic of an          tones, one for each channel, at the same symbol rate but with   With
                                                                                                                                          th
arbitrary channel with    multi tone channels, a power
                     With multitone               poWer spectral       a respective constellation for each channel. That is, the ii”1
                                                                                                       ki
density mask limit, and a minimum power      poWer required to         QAM channel carries an 22ki-ary    _ary QAM tone, a tone with
                                                                                                                                   With 2ki
                                                                                                                                         Zki
transmit a single bit, assuming a specified
                                     speci?ed error and symbol 40  40 signal points. Multi-carrier modulator modulates N subcar-    subcar
rates, superimposed thereon;                                           riers by corresponding symbols to generate the N QAM
   FIG. 2 shows
             shoWs modems in communication over one or                 signal tones using an inverse digital Fourier transform. The
more twisted
        tWisted wire
                  Wire pairs for purposes of describing an             allocation of bits in serial-to-parallel buffer 41 is discussed
embodiment of the invention;                                           in detail below.
                                                                                    beloW.
   FIG. 3 shows
            shoWs a general diagram of elements of a com-   com 45 45       A parallel-to-serial converter 43 adds a cyclic prefix
                                                                                                                               pre?X (one
munication system for purposes of describing an embodi- embodi         knoWn method of preventing intersymbol interference) and
                                                                      known
ment of the invention;                                                 sums the separate modulated data and passes the resulting
                                                                       data stream through an D/A converter 44 yielding a single
   FIG. 4 shows
            shoWs   a digital modulator   and demodulator    con-
                                                             con
                                                                       analog signal stream. After the analog signal reaches receiv-receiv
~;~:;! bla/p~;=~;i~;t~oe~c~7~~~ela~0~~~~~~~:~
~;~::!     p~;=~;i~;t~oe~c~7~~~ela~0~~~~~~~:; ~~
nected by a communication channel for a multitone QAM
         blar                                                      50 ing modem 32, the opposite operation occurs in AID
                                                                   50
                                                                                                                                 A/D con-
                                                                                                                                       con
system for purposes of describing an embodiment of the                verter 46, serial-to-parallel converter 47, and multicarrier
invention;
                                                                       demodulator 48 and detector 49. Multicarrier demodulator
   FIGS. 5 &   & 6 show
                      shoW a flow
                                How diagram for purposes of            48 strips the modulating signal from the carrier, that is, it
describing a control method and apparatus controlling the              converts the QAM tone data into data representing the
embodiment of FIG. 4.                                              55 original modulating symbols. Detector 49 maps the resulting
                                                                   55
   FIG. 7 shows
            shoWs a conceptual rendering of how  hoW signals in        symbols into a set of bits either by quantizingquantiZing or soft-
                                                                                                                                       soft
separate channels may interfere and how   hoW  the resulting  dis-
                                                              dis      decision quantization.
                                                                                    quantiZation. These symbols are then queued up in
tortion may be canceled according to an embodiment of the              a serial data stream by parallel to serial converter 50.
invention.                                                                  Referring again to FIG. 1, the allocation of bits in serial-
                                                                                                                                     serial
                                                                   60 to-parallel buffer 41 is performed according to an algorithm
           DESCRIPTION OF THE PREFERRED
                                                                      which
                                                                       Which is now  noW described. In FIG. 1, the channel transform
                        EMBODIMENT
                                                                       characteristic (an attenuation/noise floor)?oor) A, in the range of
   Referring to FIGS. 1 and 2, a transmitting modem 31 is              sub-band bl,  b1, is such that at least one bit can be represented
connected to a receiving modem 32 by a cable 33 having                by a QAM-encoded tone signal transmitted in that sub-band.
four twisted                                               Where 65 The same is true for sub-band b2. However,
      tWisted pairs of conductors. In long loop systems where                                                    HoWever, the amount of
cable 3 is of length of the order 18,000 feet or more, high           power
                                                                       poWer available in sub-bands b3 and b4 are such that a QAM
signal attenuation at higher frequencies (greater than 500             tone generated within Within the power
                                                                                                          poWer ceiling overlying those




                                                                                                               Page 11 of 16




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                                                                6,144,696
                                11                                                                         12
bands would
         Would not meet the BER and symbol rate required (the          the least marginal power poWer consumption. would Would be an alter-
                                                                                                                                          alter
minimum power to represent 11 bit being represented by                 native approach that might lead to more channels being used
curve C).                                                              for spreading than for the two-steptWo-step approach discussed in
    If, in the process of assigning bits to the available fre- fre     detail below.
                                                                                beloW. Generally, the most efficient
                                                                                                                   ef?cient utilization
                                                                                                                              utiliZation of a
quency sub-bands or "bins",
                        “bins”, the total aggregate power
                                                       poWer limit     channel is to allocate data to channels with   With the highest SNR,
is not exceeded, then there may be otherwise  otherWise "wasted"
                                                         “Wasted”      which            Whole idea behind the water-pouring
                                                                       Which is the whole                           Water-pouring analogy,
poWer available due to the inability to put signals in fre-
power                                                          fre     so the latter approach is not preferred. However,HoWever, there may
                         which the spectral density mask is too
quency sub-bands for Which                                             be channels withWith certain kinds of transform characteristics
close to the attenuation/noise floor
                                   ?oor A for a single bit to be       for which
                                                                             Which such an approach would   Would produce improved per-    per
                      Which there is still available "room"
transmitted but for which                              “room” for 10 formance.
         poWer. Such noisy and/or highly attenuated sub-bands
signal power.                                                             Referring to FIG. 5, a practical bit-allocating algorithm is
can occur for example in long-run twistedtWisted pair conductors.      proposed in a US Patent Application entitled Method and
Unutilized       otherWise available poWer
UnutiliZed but otherwise                power could be put in the      Apparatus for Allocating Data for Transmission Via Discrete
frequency sub-bands such as b3 and b4 for which         Which the      Multiple Tones-Sonalkar, et. al. According to this procedure,
noise-?oor (curve A) is too high to permit a single bit to be 15
noise-floor                                                         15 bit allocation is performed with  With consideration to all practical
properly represented. According to the invention, digital              constraints discussed above. In the method described in the
modulator 14 replicates ("spreads")
                             (“spreads”) a k-bit symbol over           above reference, the entirety of which  Which is incorporated herein
multiple adjacent bands With
                           with correspondingly less energy in         by reference, bits are allocated according to the requirements
each band. At the receiving end, detector 49 coherently                of an aggregate powerpoWer constraint, a power-spectral
                                                                                                                     poWer-spectral density
               (“despreads”) the redundant symbols in the 20 mask limit, and minimum and maximum bits per symbol
recombines ("despreads")
noisy/ attenuated sub-bands. In recombining the symbols, the
noisy/attenuated                                                       (e.g, QAM tone).
symbols are simply arithmetically added. Because the noise
is incoherent while
                While the signal is coherent, the noise tends to          According to an invention described by Sonalkar, et. al. in
                   While the signal is reinforced by the addition
be averaged out while                                                                      identi?ed above, the following
                                                                       the application identified                      folloWing constraints
process.                                                               are considered first:
                                                                                          ?rst: the maximum number of bits allowed  alloWed in
                                                                    25
                                                                    25 each tone or frequency bin for transmission and the maxi-         maxi
        vieW of the above process of spreading and despread-
    In view                                              despread
                                                                       mum powerpoWer to be transmitted in each bin (the power-        poWer
ing certain channels according to the allocation scheme
                                                                       spectral-density mask). Then, the aggregate power          poWer con-
                                                                                                                                           con
de?ned above, detector 49 is capable not only of detecting
defined
signal transmitted conventionally in one frequency bin, but,
                                                                                (poWer budget) is applied in a second process. During
                                                                       straint (power
                                                                       the second step, if necessary, bits are removed according to
also of selectively summing the blocks previously spread 30
                                                                       a bit removal procedure that removes the bit from the
and transmitted over the noisy/attenuated sub-bands. Of
                                                                       channel, the removal of which       Which results in the greatest
course this is done under programmable control so that,
                                                                       decrease in aggregate power  poWer required. With this process, the
depending on the results of the initial channel SNR estima-estima
                                                                       fewest
                                                                       feWest bits are removed because the bit that produces the
tion procedure, command signals are sent to both the trans-  trans
                                                                       highest marginal gain in power     poWer savings is selected for
mitting and receiving modems to appropriately perform the 35        35
                                                                       removal (deallocation).
spreading and despreading processes.
    In a practical implementation of the bin-filling                      In the first
                                                                                   ?rst procedure, the maximum number of bits per
                                             bin-?lling procedure
described by Bingham (see Background section), additional              bin is calculated first      With consideration only to the power
                                                                                             ?rst with                                  poWer
constraints such as minimum and maximum number of bits                 mask constraint and any minimum and maximum bits per
                                                                    40 bin (channel) constraints. First, in step S21, the channel's  channel’s
            poWer spectrum mask, and a desired set of bit rates
per bin, a power
may also be considered. Within these constraints and those             transform characteristic is calculated during an initialization
                                                                                                                                 initialiZation
                                                                       period. Then, in step S22, the maximum number of bits that
         poWer spectral density mask and the aggregate power
of the power                                                poWer
                                bin-filling procedure would            can be allocated to each bin is calculated. This computation
limit discussed above, the bin-?lling                    Would be
folloWed until the process is halted by any of these limits.
followed                                                               is done from a relationship betweenbetWeen the number of bits (b     (bk)
                                                                                                                                              k)

Then a second process of allocation is performed to assign 45       45
                                                                       to be transmitted in a bin and the power  poWer needed to transmit
bits to frequency channels that are unallocated due to their           that many bits (b     k ) in bin number k. For purposes of this
                                                                                           (bk)
                          power-per-channel to transmit the
not having sufficient poWer-per-channel                                calculation, the PSD mask-limited value for bin k serves as
minimum number of bits. The second procedure determines                      poWer available for transmission in the channel corre-
                                                                       the power                                                         corre
if these channels can be used Within
                                 within the constraints imposed        sponding to bin k.
by the other limits. Thus, a first
                               ?rst step applies a first
                                                    ?rst algorithm 50     At step S23, the total power
                                                                                                     poWer requirement over all channels
to allocate bits to each channel Withinwithin the constraints of       is calculated over all the transmit frequency bins. Then in
aggregate power,
             poWer, maximum poWer
                                power per channel (PSD mask),          step S24, the total power poWer requirement is compared to the
and the maximum and minimum number of bits per channel.                aggregate power
                                                                                    poWer limit. From the standpoint of the aggregate
Note that any algorithm that allocates one constellation to            power
                                                                       poWer limit, for example 100 milliwatts  milliWatts total maximum
each frequency bin Wouldwould constitute an appropriate first  ?rst 55 power,
                                                                       poWer, the bins may be considered to be overflowingover?oWing at this
step. A second algorithm is applied to allocate identical              point. If the total maximum power  poWer is not exceeded, then, the
blocks of data to multiple channels through spreading as               first
                                                                       ?rst procedure is completed and a second procedure where          Where
discussed above. The second algorithm would    Would allocate bits     the spreading techniques apply, is implemented (See FIG. 5).
to channels if sufficient poWer
                            power margin is available in mul- mul      On   the  other  hand,   if the total  power
                                                                                                              poWer  limit is  exceeded,   then
tiple channels in the aggregate to transmit an additional 60 the first       ?rst procedure continues with   With a bit removal process, in
minimum-sized
minimum-siZed block of data Without
                                  without exceeding the aggre-
                                                            aggre      step S25 as follows.
                                                                                       folloWs.
gate power
       poWer limit. However,
                    HoWever, it may turn out that transmission            The bit removal process is implemented to reduce the bit
of some blocks through spreading is cheaper in terms of                allocation so that the total power poWer required for transmission
power
poWer use than transmitting those as allocated during the              meets the aggregate power poWer limit. According to a preferred bit
first
?rst allocation procedure. In that case, an approach that 65 removal process, bits are removed sequentially, each bit
employed spread and unspread signaling in an approach that             being selected in turn as the bit, the removal of which,         Which,
allocated each bit to the channel or channels associated with With     produces the greatest marginal gain in terms of recovered




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                                                                 6,144,696
                                 13                                                                          14
 power. The first
               ?rst bit removed then is the bit that cost the most       measured gain to noise ratio in bin k, and G          GCc is the coding
 power to transmit. After the bit is deallocated, the corre- corre       gain. K is given by:
 sponding power saved is subtracted from the total power. If
 the total power constraint is still exceeded after removal of                                                                                  (2)
                                                                                                   K_      ,1 P. 2                              <2)
 the bit, the next most power-consuming bit is removed. This                                         - IQ [Ell ’
 process is followed iteratively until the power constraint is
 no longer exceeded. Once the aggregate power limit is met,
       ?rst procedure is completed and no second procedure
 the first                                                               where P  P6e is the error probability given by:
 follows.
     Referring now also to FIG. 5, in preparation for the 10
                                                                                                          _ )Qra ~1,
                                                                                                                                                (3)
 second procedure, the first ?rst procedure sketched above is
                                                                      10
                                                                                            P,   =4(1-
                                                                                                   [ ~/2"i1 ]Qla N0
                                                                                            PE : 4 l —
                                                                                                           1
                                                                                                       -./2n;
                                                                                                                      2
                                                                                                                   ~ No j
                                                                                                                     —    ,
                                                                                                                                                (3)

 performed and it is confirmed
                         con?rmed that residual power remains.
 That is, that the difference between the aggregate power
 limit and the sum of the signal power over all frequencies
                                                                         the Q function is the partial integral of the normal distribu-  distribu
 subject to the other limits (minimum and maximum bits per
                                                                      15 tion function given by:
 channel and PSD mask limit) is greater than zero. Zero. Note that 15
         ?rst procedure of FIG. 4 gets to the second phase of
 if the first
                                                                                                                                                (4)
 step S25, there will be no residual power and the procedure
 of FIG. 5 will not be performed.
     The decibel sum of attenuation plus noise power, plotted
 as a function of frequency, may be perceived as a "terrain"
                                                          “terrain” 20
 on which the communication channel operates. A classic                  Ne is a number that assumes a value in the range of 2 to 4,
 algorithm called "water
                      “water filling"
                              ?lling” refers to continually bud-
                                                               bud       in the preferred embodiment of the invention, Ne is equal to
 geting signal power, which is the constrained resource, at the          3. Since the second procedure for allocating bits to the
                                                                         impaired channels (the channels for which the SNR ratio
 low points of this terrain first ?rst to achieve the optimum
                                                                         does not permit a bit to be transmitted without hitting the
 efficiency
 ef?ciency in terms of information per unit of power. One 25          25
                                                                         PSD mask limit) allocates one bit at a time, bbkk can be set to
 approach to multi-band assignment, therefore, is to continue            1 and equation (1) thus reduces to (also dividing by 4 to
 this process by selecting the next four bands from a list of            account for the spreading):
bands sorted with respect to the attenuation-plus-noise
 parameter or the power required to transmit a block of data.
                                                                                                                                                (5)
While this guarantees the most efficient
                                    ef?cient use of the remaining 30
 spectrum under the set of constraints described above, such
 a procedure does not in general yield 4-tuples that are
 adjacent in frequency. This procedure is adopted in the                 Thus in calculating the power bin array, the number of bits
 process described next.                                                 already allocated to each of the bins is taken into account in
     The second procedure begins at step S2. An index is set 35       35 calculating the power requirement. So the power require-         require
 to 1 and a number of bins for spreading (the number of                  ment calculation is a marginal power required to add another
 channels over which each block will be spread). This can be             bit  to the  bin. In calculating     the amount    of power    required,
 done as part of an optimiZation
                          optimization procedure or selected a           if the calculated power would exceed the PSD mask limit for
 priori. To limit the administrative and communication over-  over       that bin, a very large number is used for the energy require-    require
                                                                         ment so that when the array is sorted in order of increasing
 head associated with initialization
                           initialiZation and bit assignment (as 40 power, these bins with low PSD limits end up at the bottom
well as the computational complexity to explore comb     combinaina-
                                                                         of the sorted list.
 torics of a large number of options), there is strong moti-  moti           In step S4, the power bin array is sorted in ascending order
vation to limit the number of grouping options to a single               of power requirement so that the element with an index of
 option. That is, either bits are assigned to individual bands           one corresponds to the bin with the lowest energy require-       require
 as in the prior art, or where spreading is applied, a single 45      45
                                                                         ment. Once the array is sorted, the array is repopulated with
 siZed m-tuple of frequency bands is allowed. (Choosing a
 sized                                                                   the bins with power requirements below the large number
 larger value of m consumes frequency bandwidth more                     (used to put bins for which an additional bit would exceed
 rapidly, choosing a smaller value limits the SNR deficit
                                                       de?cit that       the PSD mask limit) and a bins-remaining-counter, indicat-       indicat
 can be overcome.) Empirical studies of actual telephone                 ing the number of bins to which a bit can still be assigned,
 loop propagation characteristics indicates the payoff is great-
                                                             great 50 is decremented to reflect  re?ect the current number of bins now
 est for making the number of bins, m, equal to 4 under this             available.
 set of conditions.                                                          In step S7, the bins-remaining counter is checked to see
     Next, at step S3, an array is calculated containing the             if m-1 remain. If insufficient
                                                                                               insuf?cient bins remain to spread a bit, the
power required to transmit one bit for all bins that were not            procedure terminates.
 allocated in the procedure of FIG. 5. The array indicates the 55     55     In step S5, the residual power (difference between aggre-      aggre
bin by a frequency pointer (a label), the number of bits                 gate power requirement and the power required to transmit
 already assigned to that bin, and the power requirement to              all assigned bits) is calculated from all assigned bins using
 add another bit to that bin. Now, the power required to                 equation (1). Next, in step 9, the total power to transmit one
 transmit bbkk bits is given by:                                         bit in the adjacent m bins is calculated. Note that the m
                                                                      60 adjacent bins are adjacent in terms of the index value

                                                                  (1)
                                                                         corresponding to the power sorting done in step S4, not the
                                                                  (1)
                      Ek = <24 -1)-( KM                                  arrangement in terms of frequency.
                                                                             After step S9, control proceeds to step S10 where, if the
                                                                         total power required to transmit one bit spread across the m
where:                                                                65 bins exceeds the residual power, the program terminates,
bbkk is the number of bits carried in frequency bin k, Ek is the         otherwise control proceeds to step S12. At step S12, a bit is
                                                      gJNk is the
 power required in bin k to transmit the bbkk bits, gk/Nk                allocated to each of the m bins.




                                                                                                                     Page 13 of 16




                                                           Appx2998
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                                                             6,144,696
                               15                                                                     16
   Once the procedure of FIG. 6 terminates, the array                 appropriate. This might be termed a hybrid modulation
indicates the number of bits to transmit in each bin. Note that       because of the mixed-mode, or non-uniform replication. The
the procedure can, in principle, assign "spread
                                            “spread bits"
                                                     bits” to bins    advantage clearly lies in the fact that spectrum is used
that carry one or more entire bits by themselves.                     efficiently
                                                                      ef?ciently with
                                                                                  With non-redundant transmission for those parts
   Referring to FIG. 7, a system for a channel employing              of the band where
                                                                                   Where adequate signal-to-noise can be achieved,
four twisted
      tWisted pairs will
                      Will be described. Each pair of wires
                                                       Wires is an    While spreading is applied to those parts of the band where
                                                                      while                                                       Where
independent interfering channel. That is, a signal in one             transmission would
                                                                                     Would otherwise
                                                                                             otherWise be impossible. The added
channel generates a corresponding signal in the other chan-  chan     bandWidth incrementally consumed by spreading is there-
                                                                      bandwidth                                                    there
nels. In the four twisted
                       tWisted pair system described here and         fore not wasteful
                                                                                Wasteful since it exploits portions of the band that
shoWn in FIG. 7, a single block of data is spread across the 10 are otherwise
shown                                                                      otherWise unusable.
same number of channels, in this case four. Four data blocks,            As mentioned the bit allocation process is not limited by
possibly represented by, for example, a single QAM tone,              the aggregate power
                                                                                       poWer constraint that applies, but by the
are labeled A, B, C, and D. Each block is redundantly                 second limit on the power
                                                                                           poWer in each band, the power poWer spectral
transmitted at four separate frequencies. However,
                                             HoWever, instead of      density mask. This occurs may occur in long lines and/or
applying the signal tone directly to the channel, the trans- trans 15 noisy environments. The mask prevents assigning any fur-        fur
         Weights the signals by respective elements of
mitter weights                                                        ther bits to unoccupied bands because the attenuation and
orthogonal, 4-element Walsh codes. The receiver de-weights
                                                       de-Weights     noise would
                                                                             Would require too much power
                                                                                                        poWer in any of the remaining
the received signal at the receiving end and then despreads           bands.
(sums) the de-weighted
               de-Weighted blocks to obtain the signal. The              The proposed concept is to overcome the circumstance
result of this is that the induced signal caused by interference 20 outlined above by repeating the same X, value in multiple
is canceled out because the process of weighting Weighting each       positions in the input array to the IFFT. In this way,Way, signals
                                       de-Weighting the induced
original signal by one code and de-weighting                          Which individually do not have adequate signal/noise ratio to
                                                                      which
signal in an adjacent channel by a different code, orthogonal         achieve the desired bit error rate are simply summed at the
to the first,
        ?rst, causes the sums to cancel out. For example,             receiver to achieve the requisite SNR. As an example,
                               ?rst code. The signal induced by 25 summing two
              Weighted by a first
signal B is weighted                                                              tWo copies of the same QAM vector, each con-      con
signal B in adjacent channels, represented in FIG. 7 by the                       With the same level of noise power
                                                                      taminated with                                poWer but with
                                                                                                                                With the
lower
loWer case letters, in this case "b",
                                    “b”, is also weighted
                                                 Weighted by the      respective noise uncorrelated, results in 6 dB signal
first
?rst code. But whenWhen the signal in an adjacent channel, say        enhancement versus 3 dB, noise growth,groWth, for a net improve-
                                                                                                                               improve
channel 3 carrying signal C, arrives at the receiver, the signal      ment of 3 dB. In general the net enhancement is increased
C combined with                                  Weighted by the 30 3 dB, each time the number of frequency bands is doubled.
                With an induced portion of B weighted
first
?rst code is then deweighted
                     deWeighted by a second code. Thus, when When        A further constraint on the allocation process described
signal C is despread (summed), the induced signal in each             above would
                                                                              Would be to limit the 4-tuples selected to be adjacent
frequency channel cancels an induced signal in another                in frequency, that is, the 4-tuples ( ...  . . . in this example,
frequency channel.                                                    m-tuples in general) wouldWould form a sequential series of
   To use the invention for eliminating interference from 35 frequency bands. This would        Would require starting at bands withWith
other channels, it is not necessary to allocate bits to channels      indices that are integral multiples of 4. These constraints,
as described with
               With reference to FIGS. 5 and 6. In fact, all data     while
                                                                      While compromising ideal allocation objectives, would   Would tre-
                                                                                                                                      tre
could be spread across multiple frequency channels.                   mendously increase the likelihood that neighboring interfer-
                                                                                                                                interfer
   Note that in a channel Where
                             where signal spreading is to be used     ing channels would
                                                                                    Would have 4-tuples assigned to the same set of
for reducing interference, one that includes multiple inter- inter 40 frequency bands. If neighboring channels are synchronized,
                                                                                                                          synchroniZed,
fering sub-channels, it is desirable for communications to be         and have replicated vectors weighted Weighted by orthogonal,
set up with
        With cognizance
               cogniZance of hoWhow spreading is to be done on        4-element Walsh codes, the result is that the mutual inter-  inter
each of the sub-channels. That is, for example, the frequency         ference among this group of 4 wire Wire pairs can be zero
                                                                                                                             Zero in any
bins in each twisted
               tWisted pair in a four-twisted
                                 four-tWisted pair bundle should      of the 4-band spread channels. Because the services pro-       pro
all have the same bit assignments so that the interference 45 vided by such modems is expected to be ultimately
will
Will be canceled out as described above.                              interference-limited
                                                                      interference—limited if the service becomes popular and
   As a first
          ?rst level concept, the present invention relates to        Widespread, this capability to avoid/mitigate mutual inter-
                                                                      widespread,                                                  inter
replicating (i.e. spreading) the spectral contents of a signal                                                         signi?cant. Even
                                                                      ference among cooperating neighbors is significant.
over multiple distinct parts of the physical frequency band to        Without orthogonality, the spreading provides a significant
                                                                      without                                                 signi?cant
compensate for high attenuation and/or high noise in those 50 signal processing gain with       With respect to uncorrelated interfer-
                                                                                                                                interfer
parts of the communication channel frequency band that                ence. The orthogonality feature adds a further enhancement.
would
Would otherwise
        otherWise not be usable due to noise and attenuation             Although according to the embodiments described above,
effects. Of course, if signal poWer  power could be increase          power
                                                                      poWer is distributed equally to the bins across which
                                                                                                                          Which a single
arbitrarily, no portion of the spectrum wouldWould be unusable,       block is transmitted, it is clear from the description that other
however,
hoWever, practical considerations and standards, as dis-       dis 55 possibilities exist. For example, the m bins could be
cussed above, dictate otherwise.
                          otherWise. The effect of the replication    assigned power
                                                                                 poWer on a pro rata basis according to the noise-noise
is that signal-processing techniques can be used in the               power/gain
                                                                      poWer/gain ratio corresponding to each bin. Thus, the bin
Receiver to recover information sent in the impaired parts of         corresponding to the lowest
                                                                                               loWest noise-power/gain
                                                                                                        noise-poWer/gain ratio could
the frequency band, and, With with the correct choice of param-
                                                           param      carry the greatest share of the power.
                                                                                                           poWer. Bins could also be
                                                           perfor 60 allocated different power
eters (i.e. degree of replication), the same level of perfor-                              poWer levels according to the power    poWer
mance (specifically
         (speci?cally bit error rate) as achieved in the unim-
                                                            unim      margin available below
                                                                                         beloW the PSD mask limit.
paired parts of the band can be achieved in portions of the              Also, although according to the embodiments described
band where
       Where attenuation and/or noise are high.                       above, a number of bins for spreading is established before
   The consequence of this technique is a communication               allocation of data to the bins, it is possible in viewvieW of the
        Where the frequency-domain spreading (replication) 65 teachings of the present specification,
signal where                                                                                        speci?cation, to spread different
is used selectively, such that not all spectral content has the       blocks of data over different numbers of bins. For example,
same degree of redundancy, some having no redundancy as               one block consisting of one bit could be spread over 2 blocks




                                                                                                             Page 14 of 16




                                                       Appx2999
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                                                           6,144,696
                              17                                                                    18
and second bit, perhaps in a more impaired (by noise and/or                                            White-YelloW Page Services
                                                                     29. NSP Telephone Directory White-Yellow
attenuation) portion of the spectrum, spread over a larger              (GersZberg 61-6-4-23-19);
                                                                        (Gerszberg
number of bins. This could be done iteratively and the               30. NSP Integrated Billing System For NSP services and
number of bins increased until all available spectrum were  Were                              (GersZberg 62-7-5-24-20);
                                                                        Telephone services (Gerszberg
                      (Within the external
fully exploited (within              eXternal and practical          31. Network
                                                                          NetWork Server Platform/Facility Management Platform
constraints).
constraints).                                                                             (GersZberg 63-8-6-3-5);
                                                                        Caching Server (Gerszberg
    Also, although according to the above embodiments,               32. An Integrated Services Director (IS     D) For HFTP Local
                                                                                                              (ISD)
spreading is only done When  when the noise-attenuation floor?oor              NetWork Service Architecture (Gerszberg
                                                                        Loop Network                           (GersZberg 72-36-22-
                                                                                                                            72-36-22
makes transmission of a single bit impossible for any                   12);
                                                                        12);
channels remaining, other possibilities exist       vieW of the 10
                                           eXist in view             33. ISD and VideoPhone Customer Premise Network         NetWork
                                                                  10
                            speci?cation. For example,
teachings of the present specification.       eXample, spread-
                                                         spread         (GersZberg 64-25-34-13-5);
                                                                        (Gerszberg
ing can be done in certain frequency channels whichWhich other-
                                                           other     34. ISD Wireless Network       (GersZberg 65-26-35-14-6);
                                                                                         NetWork (Gerszberg
Wise might possibly be used to carry a single bit on their
wise                                                                 35. ISD Controlled Set-Top Box (Gerszberg
                                                                                                           (GersZberg 66-27-15-7);
own.
oWn.                                                                 36. Integrated Remote Control and Phone (Gerszberg
                                                                                                                   (GersZberg 67-28-
                                                                                                                               67-28
          folloWing applications, filed
    The following                  ?led concurrently herewith,
                                                       hereWith, 15 16-8);
are hereby incorporated by reference:                             15
                                                                     37. Integrated Remote Control and Phone User Interface
                     TWisted-pair Local Loop Network Service
1. A Hybrid Fiber Twisted-pair
                   (GersZberg 41-3-13);
    Architecture (Gerszberg
                                                                        (GersZberg 68-29-17-9);
                                                                        (Gerszberg
                                                                     38. Integrated Remote Control and Phone Form Factor
                BandWidth Allocation for use in the Hybrid
2. Dynamic Bandwidth
           TWisted-pair Local Loop Network Service Archi-
    Fiber Twisted-pair                                    Archi         (GersZberg 69-30-18-10);
                                                                        (Gerszberg
                                                                  20 39. VideoPhone Mail Machine (Attorney Docket No.
             (GersZberg 42-4-14);
    tecture (Gerszberg                                            20
                                                                        3493.73170);
3.. The VideoPhone (Gerszberg
                        (GersZberg 43-9-2);                             3493.73170);

 GUI-P)
4.. VideoPhone Privacy Activator (Gerszberg
5.. VideoPhone Form Factor (Gerszberg
                                      (GersZberg 44-10-3);
                                 (GersZberg 45-11-4);
6.. VideoPhone Centrally Controlled User Interface With
                               (GersZberg 46-12-5);
    User Selectable Options (Gerszberg
7. VideoPhone User Interface Having Multiple Menu Hier-     Hier
                                                                  25
                                                                  25
                                                                     40. Restaurant Ordering Via VideoPhone (Attorney Docket
                                                                        No. 3493.73171);
                                                                     41. Ticket Ordering Via VideoPhone (Attorney Docket No.
                                                                        3493.73712);
                                                                        3493.73712);
                                                                     42. Multi-Channel Parallel/Serial Concatenated Convolu- Convolu
                                                                        tional Codes And Trellis Coded Modulation Encode/
             (GersZberg 47-13-6);
    archies (Gerszberg
                                                                        Decoder (Gelblum 4-3);
8. VideoPhone Blocker (Gerszberg
                            (GersZberg 79-38-26);
9. VideoPhone Inter-com For Extension Phones (Gerszberg
                                                     (GersZberg      43. Spread Spectrum Bit Allocation Algorithm (Shively
    48-14-7);                                                     30    19-2);
    48-14-7);                                                     30
                                                                                   ChanneliZer With Arbitrary Output Frequency
                                                                     44. Digital Channelizer
10. Advertising Screen Saver (53-17);
                    FleXiVieW Advertising (Gerszberg
11. VideoPhone FlexiView                     (GersZberg 49-15-
                                                          49-15         (Helms
                                                                        (Helms 5-3);
                                                                                 5-3);
    8);                                                              45. Method And Apparatus For Allocating Data Via Discrete
    8);                                                                 Multiple Tones (filed
                                                                                           (?led 12/22/97, Attorney Docket No.
12. VideoPhone Multimedia Announcement Answering    AnsWering
               (GersZberg 73-32-20);
    Machine (Gerszberg                                            35
                                                                  35    3493.20096—Sankaranarayanan 1-1);
                                                                        3493.20096-Sankaranarayanan
13. VideoPhone Multimedia Announcement Message Tool-                 46. Method And Apparatus For Reducing Near-End Cross
                                                            Tool
    kit (Gerszberg                                                      Talk In Discrete Multi-Tone ModulatorslDemodulators
                                                                                                          Modulators/Demodulators
        (GersZberg 74-33-21);                                           (filed      22, 1997, Attorney Docket No. 3493.37219-
                                                                        (?led Dec. 22,1997,                            3493.37219—
14. VideoPhone Multimedia Video Message Reception
                                                                        Helms 4-32-18).
    (GersZberg 75-34-22);
    (Gerszberg
                                                                        What is claimed is:
15. VideoPhone Multimedia Interactive Corporate Menu 40
                                                                        1. A method for use in a data modulator for allocating bits
    AnsWering Machine Announcement (Gerszberg
    Answering                               (GersZberg 76-35-
                                                          76-35
    23);                                                             to data channel frequencies comprising the steps of:
    23);                                                                               poWer level data representing a respective
                                                                        storing mask power
16. VideoPhone Multimedia Interactive On-Hold Informa- Informa
    tion Menus (Gerszberg
                  (GersZberg 77-36-24);                                    maximum     poWer level for each of said data channel
                                                                           maXimum power
17. VideoPhone Advertisement When Calling Video Non-        Non 45         frequencies;
    enabled VideoPhone Users (Gerszberg
                                  (GersZberg 78-37-25);                                     poWer level representing a total amount
                                                                        storing aggregate power
18. Motion Detection Advertising (Gerszberg
                                       (GersZberg 54-18-10);                         poWer to be applied in all of said data channel
                                                                           of signal power
19. Interactive Commercials (Gerszberg
                                 (GersZberg 55-19);                        frequencies;
                                                     (GersZberg
20. VideoPhone Electronic Catalogue Service (Gerszberg                  allocating bits, such that bits are allocated up to said
    50-16-9);
    50-16-9);                                                     50       respective maximum
                                                                                       maXimum power
                                                                                                   poWer level for each of said data
21. A Facilities Management Platform For Hybrid Fiber                      channel frequencies and such that each of said bits is
    TWisted-pair Local Loop NetWork,
    Twisted-pair                Network, Service Architecture              allocated to a single respective one of said data channel
    (BarZegar 18-56-17);
    (Barzegar                                                              frequencies; and
22. Multiple Service Access on Single Twisted-pairTWisted-pair          when
                                                                        When said aggregate power poWer level is not substantially
    (BarZegar (16-51-15);
    (Barzegar                                                     55       reached in said step of allocating, further allocating bits
23. Life Line Support for Multiple Service Access on Single                to multiples of said data channel frequencies for trans-
                                                                                                                                trans
    TWisted-pair (Barzegar
    Twisted-pair   (BarZegar 17-52-16);                                    mission at reduced power
                                                                                                poWer rates per channel frequency,
24. A Network
         NetWork Server Platform (NSP) For a Hybrid Fiber                  to permit further bits to be allocated, until an aggregate
    Twisted-pair
    TWisted-pair (HFTP) Local Loop NetWork
                                        Network Service Archi-
                                                          Archi            power
                                                                           poWer limit is substantially reached and said respective
    tecture (Gerszberg
             (GersZberg 57-4-2-2-4);                              60       maximum
                                                                           maXimum power
                                                                                       poWer level is reached.
25. A Communication Server Apparatus For Interactive                    2. A method as in claim 1 wherein
                                                                                                     Wherein said step of allocating
    Commercial Service (Gerszberg
                           (GersZberg 58-20-11);                     bits is responsive to a channel transform characteristic
26. NSP Multicast, PPV Server (Gerszberg
                                    (GersZberg 59-21-12);                                     poWer level of the channel and an
                                                                     sensitive to a noise power
27. NSP Internet, JAVA Server and VideoPhone Application             attenuation of said channel and includes allocating bits to
    Server (Gerszberg
            (GersZberg 60-5-3-22-18);                             65 each data channel frequency by allocating bits to the data
28. NSP WAN Interconnectivity Services for Corporate                 channel frequency having the lowest    loWest marginal power
                                                                                                                               poWer
                      (GersZberg 71-9-7-4-21-6);
    Telecommuters (Gerszberg                                         requirement to transmit an additional bit.




                                                                                                           Page 15 of 16




                                                     Appx3000
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                                                        6,144,696
                            19                                                                20
    3. A method as in claim 1 wherein said step of further          6. A method as in claim 1, wherein
                                                                                                Wherein said step of allocating
 allocating includes selecting a data channel frequency from     includes storing an array of length equal to a number of
 among a set of frequency channels for which                     frequency bins, the value of each element being a maximum
                                                                                                                     maXimum
                                              Which no data
                                                                 number of bits to be transmitted.
 allocated in said step of allocating.                              7. A method as in claim 1, wherein
                                                                                                  Wherein said step of further
   4. A method as in claim 3, Wherein
                                wherein said step of further     allocating includes storing an array of length equal to a
allocating includes selecting a data channel frequency from      number of frequency bins remaining unallocated in said step
among said set based on a lowest
                             loWest marginal power
                                              poWer require-
                                                     require     of allocating, the value of each element being an amount of
                                                                 poWer required to transmit a minimum number of bits in a
                                                                 power
ment for transmitting a further bit.
                                                              10 frequency corresponding to a respective one of said fre-   fre
   5. A method as in claim 1, Wherein
                              wherein said step of allocating    quency bins remaining.
includes allocating according to a minimum number of bits
per data channel frequency.                                                             *   *   *   *  *




                                                                                                     Page 16 of 16




                                                   Appx3001
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                                                                                 111111111111111111111111111111111111111111111111111111111111111111111111111
                                                                                                            US006625219Bl
                                                                                                             US006625219B1

 (12) United States Patent
(12)                                                                                     (10) Patent No.:
                                                                                                     N0.:                  US 6,625,219 Bl B1
       Stopler                                                                           (45) Date of Patent:                   Sep.23,2003
                                                                                                                                Sep. 23, 2003

(54)    METHOD AND APPARATUS FOR                                                                              Firm—Darby && Darby
                                                                                     (74) Attorney, Agent, or Firm-Darby
        ENCODING/FRAMING FOR MODULATED
        SIGNALS OVER IMPULSIVE CHANNELS                                              (57)                         ABSTRACT
                                                                                     An encoding/framing scheme for multitone modulation over
(75)    Inventor:           Daniel Stopler, Holon (IL)                               impulsive channels which
                                                                                                          Which allows    ef?cient operation in mul-
                                                                                                                  alloWs efficient               mul
(73)    Assignee: Tioga Technologies, Ltd., Tel Aviv (IL)
                                                                                                                   Which are affected by ingress
                                                                                     tipoint to point channels which
                                                                                     (narroWband noise) and impulsive (burst) interference. The
                                                                                     (narrowband
(*)     Notice:             Subject to any disclaimer, the term of this              coding is achieved using a concatenated approach, with With the
(*)
                            patent is extended or adjusted under 35                  inner code being Trellis Coded Modulation (TCM), using,
                                                                                     for example, convolutional coding, and the outer code being
                            U.S.C. 154(b) by 0 days.
                            U.S.c.
                                                                                     a Reed Solomon (RS) code. Two  TWo dimensional interleaving is
                                                                                                  With one dimension being time, and the other
                                                                                     performed, with
(21)    Appl. No.: 09/258,650                                                        dimension being frequency (tones or sub-channels). The
(22)    Filed:              Feb. 26, 1999                                            TCM coding provided by the present invention is quite
                                                                                                           With impulse noise effects. The inter-
                                                                                     effective in dealing with                                  inter
(51)    Int. CI?
             Cl.7 ...............................................
                  ............................................. .. H03M 13/00        leaving may be applied in two   tWo levels. According to one
(52)
(52)    U.S. CI. ...................................   375/240.27; 7141758
                                               .... .. 375/240.27;     714/758       embodiment, user data is RS encoded, and a portion of the
(58)    Field of Search ............................
                               .......................... .. 375/260, 240.24,        RS encoded data is interleaved and filled
                                                                                                                            ?lled along columns for
                     375/240.27,267;
                     375/24027, 267; 7141755,     714/755, 758; 370/468,             transmission using a multitone transmission system. The
                                                                      479, 480       remaining portion of the RS encoded user data is then TCM
                                                                                     encoded, interleaved and effectively filled
                                                                                                                               ?lled along rows
                                                                                                                                            roWs for
(56)                             References Cited                                    subsequent transmission. In another embodiment, a portion
                                                                                     of the user data is RS encoded, interleaved and filled
                                                                                                                                         ?lled along
                          U.S. PATENT DOCUMENTS
                                                                                     columns for transmission, while
                                                                                                                 While the remaining portion of the
       5,923,679 A *
       5,923,679 A  * 7/1999  Hoh et
                       7/1999 Itoh etal.   ................. .. 714/752
                                      al. ...................   714/752              user data is instead TCM encoded, interleaved and effec-  effec
       6,004,028 A ** 12/1999 Bottomley .................. 714/758                   tively filled
                                                                                             ?lled along rows
                                                                                                           roWs for subsequent transmission. A
       6,034,996 A *
       6,034,996 A  * 3/2000  Herzberg ....................
                       3/2000 HerZberg    .... ..               375/265
                                                                375/265              diagonaliZation scheme is also used to provide immunity
                                                                                     diagonalization
       6,405,338 B1 *
       6,405,338 B1 * 6/2002
                       6/2002 Sinha
                              Sinha et
                                     et al.   .............. .. 714/752
                                        al. ................    714/752              against impulse noise, while
                                                                                                              While at the same time allowing
                                                                                                                                        alloWing for
                           OTHER PUBLICATIONS                                        a simple method of utilizing tones of different loading.
                                                                                     According to the diagonalization
                                                                                                        diagonaliZation principle, data packets are
Michael Grimwood
         GrimWood and Paul Richardson, "S-CDMA
                                          “S—CDMA as                                 spread over time in a diagonal fashion, such that an impulse
High—Capacity Upstream Physical Layer,"
High-Capacity                   Layer,” IEEE, 802.14N
                                              802.14A/                               noise affects more than one user's
                                                                                                                   user’s packets, with
                                                                                                                                   With the effect on
98--016,
98—016, Jun. 15, 1998.                                                               each being reduced. In this way,  Way, a code having lowerloWer
                                                                                     redundancy can be used since the amount of corruption
 * cited by examiner                                                                 expected in one user's                 Will be reduced.
                                                                                                       user’s data packet will
         Examiner—Stephen Chin
Primary Examiner-Stephen
Assistant Examiner~evin
          Examiner—Kevin Kim                                                                          42 Claims, 6 Drawing Sheets



                                                           36
        Frequency                                                      Impulse Noise
                      A




                                 User 1   26     User
                                                 User 2
                                                      2
                            22




         T.........
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                -——              Narrowband
                                 Narrowband
                                    Noise


                                                                                          2     3      4      5     6      7             Time




                                                                                                                              CSCO-1012
                                                                                                                        Cisco v. TQ Delta
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                                                                 Appx3002
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                                      Appx3003
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                          USER 11
                          USER                 USER 2




                                     FIG. 22
                                     PRIOR ART
                                     PRIOR ART




                                                                         Page 3 of 17




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  FREQUENCY

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                        FIG.3A
                        FIG. 3A
                        PRIOR ART




                                                             Page 4 of 17




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                               38
                          FIG. 3B
                          PRIOR ART




                                                        Page 5 of 17




                            Appx3006
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Appx3008
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                                                                                                                                                    Scrambler
                                                                                                                                                                          Page: 459




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                                                                                                                                              FIG. 5              ~
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                                                       US 6,625,219 B1
                                1                                                                      2
        METHOD AND APPARATUS FOR                                   domain event will  Will be averaged out over the relatively long
     ENCODING/FRAMING FOR MODULATED                                symbol period. In this way,  Way, impulse noise has less of an
     SIGNALS OVER IMPULSIVE CHANNELS                               effect on DMT transmissions. Although the effect is reduced,
                                                                   there is nevertheless, still an adverse effect due to impulse
                                                                   noise. With respect to narrowband
                                                                                               narroWband interference, this type of
                 FIELD OF THE INVENTION                            noise is typically stable and can be compensated for by
    The present invention generally relates to the field
                                                                   adjusting the loading of the particular, affected sub-             sub
                                                   ?eld of data
                                                                   channels.
communications and processing. Specifically,
                                     Speci?cally, the present
invention relates to a method and apparatus for encoding/             Variable Constellation Multitone (VCMT) modulation is
framing a data stream of multitone modulated signals to 10      10 a transmission scheme specifically
                                                                                                speci?cally designed to effectively
improve impulse burst immunity.                                    combat the high ingress and burst impairments in cable TV
                                                                   channels, and also to maximize
                                                                                              maximiZe the throughput capacity of
            BACKGROUND OF THE INVENTION                            such channels. VCMT uses variable bit loading per tone,
                                                                   along with
                                                                            With coding and interleaving. The tones are indepen- indepen
    Digital data communications systems are commonly used
                                                                15 dently modulated from QPSK (quadrature phase shift
to transmit and/or receive data betWeen
                                 between remote transmitting
                                                                   keying) to 256-QAM (quadrature amplitude modulation),
and receiving locations. A central facet of any data commu-
                                                        commu
                                                                   depending on the noise measured for each tone. The SNR
nications system is the reliability and integrity of the data
                                                                   (signal to noise ratio) across the channel is monitored for
Which is being communicated. Ideally, the data which
which                                                  Which is    each tone, and the headend receiver accordingly instructs the
being transmitted from the transmitting location should be
                                                                20 upstream transmitter in the cable modem to modify the
identical to the data which
                      Which is being received at the receiving     QAM constellation for each tone to maintain a desired BER
location. Practically however,
                       hoWever, the data to the data which
                                                       Which is    (bit error rate).
being received at the receiving location. Practically
                                                                      VCMT also utilizes
                                                                                       utiliZes spectral shaping to reduce the fre-    fre
however,
hoWever, the data which
                    Which is received at the receiving location
                                                                   quency sidelobes of the tones, as compared with         With conven-
                                                                                                                                  conven
has oftentimes been corrupted Withwith respect to the original
data that wasWas transmitted from the transmitting location. 25 tional multi       tone modulation, in order to reduce the effect of
                                                                            multitone
                                                                   narrowband
                                                                   narroWband interference to only those affected tones. As
Such data communication errors may be attributed in part to
                                                                   with
                                                                   With all multitone modulation schemes, VCMT utilizes      utiliZes long
one or more of the transmission equipment, the transmission
                                                                   symbol periods to average the effect of burst and impulse
medium or the receiving equipment. With respect to the
                                                                   noise. Interleaving the data over time and frequency may
transmission medium, these types of data errors are usually
                                                                30 also be used to minimize
                                                                                        minimiZe the number of impaired tones for
attributed to the less than ideal conditions associated with
                                                           With
                                                                   each user.
the particular transmission medium. An example of such a
communication medium or channel is the hybrid fiber        ?ber       The VCMT nominal configuration
                                                                                                  con?guration is designed for a
coaxial cable television netWork,
                           network, HFC CATY.
                                           CATV.                   bandWidth of 1.6 MHz.
                                                                   bandwidth              MHZ. However,
                                                                                                 HoWever, the VCMT configuration
                                                                                                                            con?guration
                                                                   may be adapted for any particular bandwidth
                                                                                                          bandWidth through proper
    In certain channels, such as the HFC channel, errors may
                                                                35 modification
                                                                   modi?cation of the system parameters. In the case of the
be caused by noise or other interference. One type of noise
                                                                   nominal configuration,
                                                                               con?guration, VCMT uses the followingfolloWing param-
                                                                                                                                   param
is ingress or narrowband                which typically occurs
               narroWband interference Which
                                                                   eters:
at a fixed
      ?xed frequency and lasts for a long time. Another type
of noise is impulse or burst interference whichWhich typically
occurs at unexpected times, lasts for a short period of time 40
(e.g.,
(e. g., several microseconds), and corrupts all tones or bands.    RF Bandwidth:                           1.6 MHz.
                                                                                                               MHZ.
    Multitone modulation is a signal transmission scheme           Number of tones:                        36
                                                                   Modulation:                             QPSK to 256-QAM (per tone)
which
Which uses a number of narroW-band
                           narrow-band carriers positioned at      Inter-tone spacing:                     43.75 KHz.
                                                                                                                 KHZ.
different frequencies, all transmitting simultaneously in par-
                                                            par    Signaling rate:                         40 kbaud (per tone)
allel. Each narrow
               narroW band carries a fraction of the total 45 Data rate:                                   Variable, depending on tone
information being transmitted. The discrete bands or sub-  sub                                             modulation
                                                                   Symbol shaping:                         Modi?ed square-root-raised-
                                                                                                           Modified  square-root-raised
channels are independently modulated, and each have a                                                      cosine, roll-off
carrier frequency at the center frequency of the particular        0.09
band.                                                              Symbol duration:                        10 symbol periods
                                                                                                           (250
                                                                                                           (250 microseconds)
                                                                                                                microseconds)
    One type of multitone transmission scheme is discrete 50
multitone, often referred to as DMT. In DMT, a 1.1 MHz    MHZ
channel is broken downdoWn into 256 sub-channels or bands,            Code Division Multiple Access (CDMA) modulation is a
each of which
           Which is 4 KHz.
                      KHZ. Each of the sub-channels has its        multi-user access transmission scheme in which       Which different
own
oWn carrier frequency, and the signal to noise ratio for each      users overlap both in frequency and in time. This is in
of the sub-channels is monitored by the DMT system to 55 contrast to Frequency Division Multiple Access (FDMA) in
determine howhoW many bits per signal may be carried in each       which
                                                                   Which users overlap in time, but are assigned unique
of the sub-channels. Each of the sub-channels transmits a          frequencies, and Time Division Multiple Access (TDMA) in
number of information bits in a single symbol or signal            which
                                                                   Which users overlap in frequency, but are assigned unique
period. The number of bits per signal (or symbol) in a             timeslots. According to CDMA, each user is assigned a
sub-channel is typically referred to as the "loading"
                                              “loading” of the 60 unique code sequence that allows   alloWs the user to spread its
sub-channel. The DMT system dynamically adjusts the                information over the entire channel bandwidth,
                                                                                                             bandWidth, as opposed
loading of each of the sub-channels in accordance with With the    to particular sub-channel(s) in FDMA. Thus, signals from all
noise characteristics of the sub-channel. Particularly noisy       users are transmitted over the entire channel. To separate out
sub-channels may sometimes not be used altogether.                 the signals for a particular user at a receiver, cross correla-correla
    DMT typically has long symbol periods of 250 micro-  micro 65 tion is performed on the received signal using the unique
seconds. As a result, DMT exhibits fairly good immunity            user code sequence. In CDMA systems, inter-user interfer-      interfer
With respect to time domain events, since the effect of a time
with                                                                          minimiZed using one of two
                                                                   ence is minimized                     tWo possible techniques.




                                                                                                                Page 8 of 17




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                               3                                                                      4
        ?rst technique for minimizing inter-user interference
   The first                                                         type of error detection scheme which Which is capable of accu-accu
is to modulate the user signals using an orthogonal basis of         rately detecting up to one bit error per data block. Moreover,
wideband
Wideband functions, e.g., Walsh basis. Specifically,
                                              Speci?cally, at a      the use of a parity bit cannot detect the occurrence of two tWo bit
given instant in time, each user selects (according to its           errors in a data block, since this is not even detected as a
unique code) a different basis function from the orthogonal          parity violation. Additionally, the use of a parity bit only
basis, ensuring zero
                  Zero cross correlation betWeen
                                           between the different     detects errors; it cannot correct errors. Any time that an error
users. The, basis function used by each user may be changed          is detected, the receiving location typically requests retrans-
                                                                                                                                retrans
on a symbol by symbol basis, While    while still ensuring that      mission of the particular data block from the transmitting
different users use different functions. The orthogonal basis        location.
itself may be changed on a symbol by symbol basis. The 10               One type of error correction scheme commonly used in
result is that each user occupies the entire channel                 data communications systems is the use of redundant data
bandwidth,
bandWidth, while
              While user cross correlation is kept to zero.
                                                       Zero. The     transmissions and a voting circuit at the receiving location.
disadvantage of this approach is that in order to build a            In such a system, the data being transmitted is repeated a
Wideband (and frequency overlapping) orthogonal basis, the
wideband                                                             number of times, such as five.
                                                                                                 ?ve. At the receiving location, all
                                         synchroniZed since the 15 five
user data generally needs to be time synchronized                    ?ve data blocks are received and processed by a voting
orthogonal base construction assumes time synchronization.
                                               synchroniZation.      circuit which
                                                                              Which compares the five?ve received versions of each
                                                                     data bit and determines the bit to be a 1 or 0 based on the
   Asecond
   A  second technique for minimiZing
                             minimizing inter-user interference
                                                                     voting consensus. Although such a system is capable of
Which does not require that the user data be time synchro-
which                                                   synchro
                                                                     detecting and correcting data errors, it does so at a great cost
niZed is to modulate each symbol using a pseudo randomly
nized
                                                                     in terms of the effective data throughput or transmission rate.
selected wide   band waveform,
          Wideband                which is selected according to 20
                     Waveform, Which
                                                                     This is due to the fact that each data block must be repeated
the unique code for each user. The wideband
                                      Wideband waveform
                                                 Waveform may
                                                                     a number of times.
be generated by multiplying the user data by a pseudo
random sequence, referred to as a spreading sequence. This              The above-mentioned correction/detection schemes are
approach minimizes
            minimiZes inter-user interference, but does not                                                   Speci?cally, an (n,k,d)
                                                                     examples of binary block codes. Specifically,
reduce the interference to Zero.zero. However,
                                       HoWever, the lower         25 binary block code is a set of 2k binary codewords
                                                       loWer the 25                                               codeWords of block
signaling rate (baud rate) is versus its bandWidth,
                                           bandwidth, the lower      length n and minimum distance d (i.e., coding distance). The
                                                           loWer
the cross correlation Will
                        will be. Thus, in CDMA the signaling         transmitted data is partitioned into binary blocks of length k,
rate of each user is usually much smaller than the channel           then each block is mapped into a binary codeword
                                                                                                                   codeWord of length
bandwidth
bandWidth it occupies in order to make the inter-user inter-inter    n, which
                                                                         Which is then modulated and transmitted through the
ference manageable. Typically, a ratio of 1/100 or less is 30 channel, or sub-channels in the case of multiple sub-                 sub
common.
common.
                                                                     channels, such as in DMT or VCMT. This block code is
                                                                     capable of correcting up to t=(d-1)/2
                                                                                                      t=(d—1)/2 errors within
                                                                                                                           Within each
   The above two tWo methods for minimizing
                                    minimiZing inter-user inter-
                                                            inter    codeword.
                                                                     codeWord.
ference may be combined, for example, when   When it is possible        As mentioned above, there are cases whereWhere channel errors
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to group users, such that time synchroniZation exists Within
                                                                  35 occur in non-frequent bursts, the length of which
                                                                                                                    Which exceeds the
a group, although time synchroniZation may not exist across
                                                                     error correction capability of the code. These cases are
groups.
                                                                     handled by interleaving the data stream before it is modu-  modu
    CDMA transmission is Wellwell knoWn
                                   known to those of skill in the    lated and transmitted through the channel. Functionally, an
art. A comparison between
                     betWeen CDMA and FDMA/TDMA may                  interleaver is a memory device which Which is used to rearrange
be found in Proakis, "Digital
                       “Digital Communications",
                                 Communications”, Chapter 15, 40 and separate the codewords
                                                                                          codeWords or frames which  Which are to be
which
Which is incorporated herein by reference. Also, an example          transmitted. Although certain aspects of the present inven-  inven
of the combination of the above two   tWo approaches for mini-
                                                            mini     tion are described by wayWay of reference to interleavers, such
mizing
miZing inter-user interference (i.e., combining a Walsh basis        as block interleavers, it should be understood that any type
within
Within a group and a spreading sequence across groups) may           of interleaving, such as for example, convolutional
be found in TINEINIS-95
               TIA/EIA/IS-95 "Mobile
                                “Mobile Station Compatibility 45 interleaving, may be used. The terms codeword   codeWord and frame
Standard for Dual Mode Wideband Spread Spectrum Cel-         Cel     are used interchangeably herein where
                                                                                                         Where a frame includes only
       System”, which
lular System",    Which is incorporated herein by reference.              codeWord. Instead of transmitting a succession of com-
                                                                     one codeword.                                                 com
   The multitone transmission schemes described above,               plete codewords,
                                                                           codeWords, the interleaver allows
                                                                                                           alloWs the transmission of
DMT, VCMT and CDMA, may be conceptually viewed        vieWed as      a portion (such as a byte) of a first
                                                                                                        ?rst codeWord, folloWed by
                                                                                                              codeword,    followed
a two-dimensional
   tWo-dimensional matrix, Withwith time as the horizontal
                                                 horiZontal axis 50 a portion of a second codeword,
                                                                                             codeWord, and so on. Henceforth, these
and frequency as the vertical axis. In the presence of ingress       portions will
                                                                               Will be referred to as either symbols or codeword
                                                                                                                              codeWord
(narrowband
(narroWband interference), in the case of CDMA, all codes            symbols. In this way, Way, if an error burst occurs during
are corrupted by the ingress, While
                                  while in VCMT, a single row roW    transmission, the error burst willWill not be localized
                                                                                                                      localiZed to one
(or tone) is corrupted, and in DMT, the ingress affects              particular frame. Rather, the errors will Will be spread across
primarily a single row
                     roW (or tone)  with
                                    With a much  lesser effect on 55 several codewords.
                                                                  55          codeWords. If the errors were
                                                                                                         Were completely within
                                                                                                                             Within one
adj  acent rows.
adjacent     roWs. In the presence of impulse (burst                 codeword,
                                                                     codeWord, they may exceed the number of errors which     Which the
interference), the effect on CDMA and DMT is the corrup- corrup      system can inherently correct for by the use of a block code.
tion of a single symbol, While
                             while the effect on VCMT is the         By spreading the data errors across several blocks, the
corruption of primarily a single symbol.                             number of errors within
                                                                                         Within each block may be reduced to the
   To overcome these problems, data communications sys-      sys 60 point where
                                                                             Where the system is capable of correcting the data
tems often rely on error detection and error correction              errors.
                                                                     errors.
schemes, to detect the occurrence of a data error and to                In a simple interleaver, data is written
                                                                                                          Written into the memory in
correct a data error, respectively. One simple form of error         columns and then read out in rowsroWs for subsequent transmis-
                                                                                                                              transmis
detection is the use of a parity bit associated with
                                                With each block      sion. At the receiver end, the received data is written
                                                                                                                         Written into a
                      Whether the particular block contains an 65 de-interleaver in rows
of data to indicate whether                                                              roWs and then read out in columns. The
odd or even number of 11 bits. HoWever,
                                  However, this is a very simple     interleaver rearranges the data within
                                                                                                      Within the codewords,
                                                                                                                   codeWords, and the
scheme which
          Which has numerous disadvantages. It is a simple           de-interleaver essentially performs the reverse process to




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reconstruct the codewords for subsequent use. In this type of          having lower
                                                                               loWer redundancy can be used since the amount of
interleaver, all the data Write
                          write operations are carried out as a        corruption expected in one user's
                                                                                                     user’s data packet will
                                                                                                                        Will be
group, and then the data read operations are carried out as a          reduced.
group. This type of interleaving, referred to as block                    The present invention will
                                                                                                Will become more apparent from
interleaving, introduces latency of one block at the trans-
                                                         trans              folloWing Brief Description of the Drawings
                                                                       the following                              DraWings and
mitter and one block at the receiver, due to the fact that a           Description of Preferred Embodiments.
complete block has to be Written
                             written before it can be read.
                                                                        BRIEF DESCRIPTION OF THE DRAWINGS
             SUMMARY OF THE INVENTION
   The present invention is for an encoding/framing scheme 10        FIG. 1 is a block diagram of a multitone modulation data
for multitone modulation over impulsive channels. The 10 transmission system;
encoding/framing scheme allows
                             alloWs efficient
                                    ef?cient operation in mul-
                                                          mul        FIG. 2 is an illustration of multitone data transmission as
tipoint to point channels Which
                              which are affected by ingress       a function of time;
(narrowband
(narroWband noise) and impulsive (burst) interference. The           FIG. 3A is an illustration of multitone data transmission
coding is achieved using a concatenated approach, withWith the 15
                                                               15 as a function of time, with
                                                                                          With rows
                                                                                                roWs and columns interchanged,
inner code being Trellis Coded Modulation (TCM), using,           for the case of uniform tone loading;
for example, convolutional coding, and the outer code being          FIG. 3B is an illustration of multitone data transmission
a Reed Solomon (RS) code. Two TWo dimensional interleaving is     as a function of time, with   roWs and columns interchanged,
                                                                                          With rows
performed, with
             With one dimension being time, and the other         for the case of nonuniform tone loading;
dimension being frequency (tones or sub-channels). In con-con 20     FIG. 4 is an illustration of diagonalization
                                                                                                  diagonaliZation in accordance
trast to conventional coding schemes, the TCM coding
                                                                  with
                                                                  With the present invention for multitone data transmission as
provided by the present invention is quite effective in
                                                                  a function of time;
         With impulse noise effects. The present invention is
dealing with
also for a two
           tWo level interleaving approach, in which
                                               Which different       FIG. 5 is a block diagram of the framing approach of the
interleaving is performed on different levels. According to 25 present invention.
                                                                  25
one embodiment of the present invention, the user data is RS                         DESCRIPTION OF PREFERRED
encoded, and a portion of the RS encoded data is interleaved                                  EMBODIMENTS
and filled
     ?lled along columns for transmission using a multitone
transmission system. The remaining portion of the RS                              shoWs a block diagram of a multitone modulation
                                                                          FIG. 1 shows
encoded user data is then TCM encoded, interleaved and 30 system. Such a system may be used in a multipoint to point
effectively filled
             ?lled along roWs
                           rows for subsequent transmission. In        channel, in which
                                                                                     Which the communication channel is shared
another embodiment according to the present invention, a               between
                                                                       betWeen users (stations), using, for example, Time Division
portion of the user data is RS encoded, interleaved and filled?lled    Multiple Access (TDMA). A TDMA system allocates dis-         dis
along columns for transmission, While while the remaining portion      crete amounts of the frequency bandwidth
                                                                                                            bandWidth to each user,
of the user data is instead TCM encoded, interleaved and 35         35
                                                                       allowing
                                                                       alloWing many simultaneous conversations or connections.
effectively filled
              ?lled along roWs
                             rows for subsequent transmission.         In a TDMAsystem,
                                                                            TDMA system, each user is assigned a specific
                                                                                                                      speci?c timeslot
The actual filling
              ?lling of the TCM encoded data may be per-       per     for transmission of the data packets associated with
                                                                                                                        With that user.
formed along columns; hoWever,
                            however, the interleaving essentially      The "packet"
                                                                             “packet” is the user transmission unit of data. Referring
introduces a reversal betWeen
                         between columns and rows, roWs, such that     noW to FIG. 1, a data packet 12 is processed by a framing
                                                                       now
the effective filling                     roWs. In addition to the 40 block 14 which
                ?lling of data is along rows.                                     Which performs the coding and interleaving func- func
reversal of columns and roWs, rows, the interleaving also intro-
                                                             intro     tions used to improve immunity against interference. The
duces time separation of symbols, Which which is a function of the     packets processed by the framing block 14 are passed to the
interleaver depth.                                                     multitone modulation block 16 whichWhich performs the multi-
                                                                                                                                  multi
    The advantage of this approach is that the RS code                 tone modulation, as described in detail below,
                                                                                                                 beloW, and generates
symbols are filled
               ?lled in columns, While              codeWords are 45 a baseband multitone signal. The baseband multitone signal
                                   while the TCM codewords
filled
?lled in rows.
          roWs. The first
                      ?rst effect is that the number of RS bytes       is then passed to frequency upconversion block 18 which    Which
that are impacted by an impulse is reduced. Otherwise,
                                                    OtherWise, an      converts the baseband signal to its assigned frequency band.
impulse could affect a larger number of RS bytes if they                  The present invention concatenates TCM inner coding
were
Were filled
       ?lled in rows.
                 roWs. Although the impacted RS bytes might                                   Speci?cally, in the TCM coding, signal
                                                                       and RS outer coding. Specifically,
be more severely impacted, due to the nature of the RS 50 space is partitioned into cosets encoded by a rate Y2              1/2 convo-
                                                                                                                                 convo
coding, it does not matter Whether
                               whether the RS byte is corrupted        lutional encoder. TCM coding is very efficient
                                                                                                               ef?cient in white
                                                                                                                           White noise
by one bit or by many bits. Thus, the advantage of the                 channels. As a result, it efficiently
                                                                                                    ef?ciently utilizes
                                                                                                               utiliZes the spreading
present invention is reducing the total number of RS bytes             effect of impulse energy between
                                                                                                    betWeen tones, assuming proper
which
Which contain any corrupted bits. The second effect is that            interleaving. Although the input noise may not be pure white
                                                                                                                                  White
the TCM codewords
            codeWords are filled
                              ?lled in along rows,
                                               roWs, which
                                                     Which in the 5555 noise, but may in fact be colored, the adaptive, per-tone bit
case of an impulse, reduces the number of bits corrupted in                                            White noise conditions for the
                                                                       loading effectively provides white
each corrupted codeword.
                   codeWord. Again, because of the nature of           coset encoding.
the TCM coding, it is preferable to reduce the maximum                    The RS outer coding provides additional protection
number of corrupted bits likely to be experienced, in order            against noise. It is mostly effective against strong impulses
to reduce the coding redundancy required of all codewords.             Which have penetrated to the TCM parallel transitions layer.
                                                       codeWords. 60 which
    The present invention is also for a diagonalization
                                          diagonaliZation scheme       Due to the high performance of the TCM coding and the
Which provides immunity against impulse noise, while
which                                                  While at the    long symbols used in VCMT, it is possible to use RS coding
same time allowing
             alloWing for a simple method of utilizing
                                                 utiliZing tones of    with
                                                                       With lower
                                                                              loWer redundancy.
different loading. According to the diagonalization
                                        diagonaliZation principle,        In accordance withWith the two
                                                                                                       tWo dimensional interleaving
data packets are spread over time in a diagonal fashion, such 65 according to the present invention, coded data is time
that an impulse noise affects more than one user's user’s packets,     interleaved and assigned to tones in a way  Way which
                                                                                                                        Which evenly
with
With the effect on each being reduced. In this way,   Way, a code      divides the effect of ingress and impulse noise over multiple




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codewords and among multiple users. First, inter-user inter- inter     seven sub-channels for two                      Would be the same
                                                                                                    tWo time periods, would
leaving is performed using a diagonal structure to assign              amount of data as that transmitted by two    tWo sub-channels for
tones among different users. The diagonalization
                                        diagonaliZation scheme         seven time periods. Of course, the system may be imple-        imple
complements the inherent multitone immunity to impulse                 mented with                                   hoWever, the system
                                                                                With nonuniform tone loading; however,
noise. As a result, impulse energy is divided between
                                                   betWeen tones,      must then have to contend with     With irregularly shaped rect- rect
and tones are assigned to different users. Intra-user inter- inter     angles.
leaving is used to interleave codewords      within
                                codeWords Within     a packet  in a       The application of the principles of FIG. 3A (i.e., switch-sWitch
way     Which divides the interference effect between
Way which                                                betWeen       ing of columns and rows)  roWs) in the case of nonuniform bit
codeWords, While
codewords,    while keeping  the  RS  symbols   aligned  (column
                                                         (column-      loading   is  illustrated  in  FIG.  3B.  For   this  illustration  of
Wise) with
wise)    With the impulse interference. This alignment 10           10 nonuniform bit loading, it is assumed that tones 11 and 13
approach makes use of the RS code's
                                  code’s efficient
                                         ef?cient burst handling       have bit loading of 2, while                    19, 21 and 23 have
                                                                                                 While tones 15, 17, 19,21
capabilities.                                                          bit loading of 1. Thus, in the original case of FIG. 2, User
   FIG. 2 illustrates a multitone modulation scheme utilizing
                                                          utiliZing            Will correspond to tones 11 and 13 (two
                                                                       1 data will                                      (tWo bits each) for
TDMA. A number of tones T are positioned at different                  tWo time periods, or eight bits, plus tones 15, 17, 19,21
                                                                       two                                                       19, 21 and
frequency bands along the vertical frequency axis. Data 15          15 23 (one bit each) for twotWo time periods, or 10 bits, for a total
packets are transmitted in a time-Wise
                                  time-wise fashion along the          of 18 bits. Similarly, the data for User 2 will  Will correspond to
horiZontal time frequency axis. In the specific
horizontal                                      speci?c example        tones 11 and 13 (two                      ?ve time periods, or 20
                                                                                           (tWo bits each) for five
shown
shoWn in FIG. 2, User 1 is allocated tWo   two timeslots, while
                                                             While                                  19, 21 and 23 (one bit each) for five
                                                                       bits, plus tones 15, 17, 19,21                                    ?ve
                      ?ve timeslots following
User 2 is allocated five             folloWing the transmission        time periods, or 25 bits, for a total of 45 bits. Thus, if the
of User 1. The presence of impulse noise will  Will act to corrupt 20 rows
                                                                       roWs and columns are reversed, as shown  shoWn in FIG. 3B, User
a column of data. Because impulse noise has the potential to           1 is now
                                                                            noW assigned tones 11 and 13 (two (tWo bit loading for each),
corrupt a very high percentage of data for a particular user,          Which require five
                                                                       which             ?ve time periods to transmit the 18 bits for
the data for all users must be encoded using a high degree             User 1. Similarly, User 2 is assigned tones 15, 17, 19,21  19, 21 and
of redundancy in the event that it is corrupted. This approach         23 (one bit loading for each), which   Which require nine time
is extremely inefficient in that user data for all users must be 25 25 periods to transmit the 45 bits for User 2. As a result, the
encoded to have a very high degree of compensation when      When      system must contend with    With irregular shaped rectangles, as
only a small number of users are likely to have their data             shown
                                                                       shoWn in FIG. 3B.
corrupted.                                                                The present invention solves the above problem by uti-         uti
   One approach to reducing the effect of impulse noise is             liZing the diagonalization
                                                                       lizing       diagonaliZation principle illustrated in FIG. 4. As
shoWn in FIG. 3A, in Which
shown                      which the columns and rows                  shoWn in FIG. 4, a frequency (sub-channel) versus time
                                                         roWs are 30 shown
             sWitched. Reducing the effect of impulse noise
essentially switched.                                                  mapping is used to transmit the data packets for the different
Will result in a reduction in the amount of encoding or
will                                                                   users. The specific
                                                                                      speci?c mapping shownshoWn in FIG. 4 is a linear
compensation that is required to effectively deal with        With     frequency versus time mapping having a slope of 1, i.e., the
expected noise events. As shown
                             shoWn in FIG. 3A, each timeslot           tone index is incremented by one for each successive symbol
           horiZontal time axis is split among users. The tones 35
along the horizontal                                                35 time period. Other slopes may be used in accordance with         With
T in FIG. 3A are assumed to all have the same bit loading.             the principles of the present invention. In the illustrated
The specific              shoWn in FIG. 3A illustrates two
       speci?c example shown                                   tWo     example, the data packet for User 1 consists of two       tWo diago-
                                                                                                                                      diago
"timeslots"      tWo users, User 1 and User 2. As a result, the
“timeslots” for two                                                                   While the data packet for User 2 consists of five
                                                                       nals 22, 24, while                                                ?ve
effect of any impulse noise Will will be split among different         diagonals, 26, 28, 30, 32 and 34. Because the data for the
            Will not be concentrated on the data of a single 40 different users is spread out in time, the effect of impulse
users, and will
user. Essentially, the corrupted data is distributed more              noise is also similarly spread out. For example, the impact
evenly among users, thus reducing the maximum percentage               of impulse noise 36 willWill be spread out over both User 1 and
of corrupted data which
                     Which is likely to be experienced. As a           User 2. The advantage of this approach is that the amount of
result, the required coding redundancy or compensation                                        any one user is expected to experience is
                                                                       corrupted data that anyone
                    With expected errors may be reduced. This 45 decreased. As a result, the level of redundancy or compen-
necessary to deal with                                                                                                              compen
is in contrast to the approach illustrated in FIG. 2, in which
                                                            Which      sation required in the coding for such data is also reduced,
case the impulse noise may be completely targeted on the                                          inef?ciency and overhead associated
                                                                       thereby reducing the inefficiency
data of a single user, resulting in a large number of errors,          With proper data transmission. More importantly, the present
                                                                       with
thus requiring a high degree of redundancy or compensation             invention provides added immunity against impulse noise,
in the coding of all user data.                                     50 while
                                                                       While at the same time allowing
                                                                                                   alloWing for the simple and easy use
   Although the approach of FIG. 3A may increase noise                 of differently loaded sub-channels. As shown shoWn in FIG. 4, the
immunity, it still has its disadvantages. Specifically,
                                                 Speci?cally, the      same tones are used for the users as in the approach of FIG.
switching
sWitching of columns and roWs rows is only practical for multi-
                                                            multi      2, just that the output of the tones is spread out over time.
tone transmission systems in Which
                                 which the individual tones all           Ablock
                                                                          A  block diagram of the framing scheme according to the
have the same loading. In the simplistic example of FIG. 2, 55 present invention is shown      shoWn in FIG. 5. As shown shoWn in FIG. 5,
User 1 is transmitting an amount of data corresponding to              the input data, for example, in the form of data packets, is
seven sub-channels for tWotwo time intervals. Similarly, User 2        input to an RS coder 52. The RS coder 52 may, for example,
is transmitting an amount of data corresponding to the same            utilize
                                                                       utiliZe a polynomial over GF(256) (Galois Field) as defined   de?ned
seven sub-channels, but for five ?ve time intervals. When the          in the DOCSIS/MCNS standard, i.e., X8+X4+X3+X2+1.
                                                                                                                   x8+X4+X3+x2+1. The
roWs and columns are reversed, as in FIG. 3A, the amount 60 codeword
rows                                                                   codeWord sizesiZe for the RS coder 52 may be programmable,
of data for User 1 now noW corresponds to the first ?rst two
                                                         tWo sub-
                                                              sub      as is T, the number of corrected errors, with  With T being in the
channels, but for a longer period of time. Similarly, the              range of 1 to 10. Alternatively, there may be no FEC coding
amount of data for User 2 corresponds to the next five         ?ve     at all.
sub-channels, for the same period of time. This limitation,               The DOCSIS standard is the Data Over Cable Service
                                                                                      Speci?cation, Radiofrequency Interface
i.e., uniform loading, is required so that the system can be 65 Interface Specification,
easily and practically implemented With    with uniform sizedsiZed     Specification,
                                                                       Speci?cation, SP-RFI-102-971008 and SP-RFI-I04-980724,
rectangles, so that in this example, the data transmitted by           published by Cable Television Laboratories, Inc., 400 Cen-       Cen




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tennial Drive, Louisville, Colo. Reference is also made to             In the upper level 60 of the TCM encoder, data bits are
the present inventor's
               inventor’s Variable Constellation Multitone         assigned to parallel transitions in a column-wise
                                                                                                              column-Wise fashion by
Modulation (VCMT) Proposal for High Capacity Upstream              column filler
                                                                              ?ller 62. Essentially, a twotWo dimensional matrix is
Physical Layer, Project IEEE 802.14a HI_PHY   HIiPHY Study         filled,  with
                                                                   ?lled, With     the  row
                                                                                        roW   index  being   tone  frequency (vertical
Group, Document #IEEE 802.14a/98-013, available from 5 axis, FIG. 4) and the column index being symbol time
                                                                   (horizontal
                                                                   (horiZontal axis, FIG. 4). The mapping is performed column
the IEEE (Piscataway,    New Jersey), the contents of which
           (PiscataWay, NeW                              Which     by column, proceeding from top to bottom (decreasing tone
are hereby incorporated by reference.                              frequency). The leftmost column is filled      ?lled first,
                                                                                                                         ?rst, and the
   The data output by the RS coder 52 is then input to an          rightmost column is filled  ?lled last (increasing time). At each
interleaver 54. The interleaver stage 54 may be optional,          location,   an  m-tuple   is placed  according   to the correspond-
                                                                                                                           correspond
dependent on a number of factors, including packet size. 10     10 ing constellation rule (or bit loading) for the particular tone.
Generally, it is advantageous to perform packet interleaving       Because only parallel transitions are mapped, m=(tone bit
only if the data packet includes more than one RS codeword.
                                                    codeWord.      loading-2). The "-2" “—2” term takes account of the fact that the
The interleaver 54 may be a packet interleaver, such as a
                                                                   group filler,                  beloW, inserts two
                                                                            ?ller, discussed below,                tWo bits into each
                                                                   location. Certain matrix elements are used to transmit over-    over
byte-wise                     which functions to interleave RS
byte-Wise block interleaver Which                                  head bits, instead of user payload data. The column filler   ?ller 62
symbols between     codeWords. The interleaver 54 is generally 15
          betWeen codewords.                                    15 operates to fill
                                                                                  ?ll in the symbols in absolute vertical columns,
      When the packets contain multiple RS codewords,
used when                                      codeWords, i.e.,                      Whether diagonalization
                                                                   regardless of whether         diagonaliZation is being used. The
sufficiently large packets, such as 1 kbit or more. The                                  ?lls in columns, stopping only at packet
                                                                              ?ller 62 fills
                                                                   column filler
                                n=O, , , (N-i), where
interleaver input is X(n), for n=0,             Where N is the                    betWeen users, i.e., at the end of a time slot for
                                                                   boundaries between
block size
       siZe in bytes. The interleaver output Yen)
                                             Y(n) is as follows
                                                        folloWs    a particular user.
(from left to right), with
                      With "J"
                           “J” being a programmable param- 20   2O                         speci?c example of FIG. 4, let the rows
                                                                       Referring to the specific                                   roWs
eter:                                                              be labeled A through H, with    With A
                                                                                                        A being the top row,roW, and H



X(O)         X(J)          X(2*J)              X(floor(N/J)*J)
X(l)         X(l + J)      X(l + 2*J)          X(l + floor((N - l)/J*J)

X(J - 1)     X(2*J - 1)                        X(J - 1 + floor((N - (J - l))/J)*J)


                                                                          30
   The output bytes, Y(n),
                         Yen), are serialized
                                      serialiZed msb first.
                                                         ?rst. If the     being the bottom row.  roW. Similarly, let the diagonals be labeled
interleaver is polled after its input has been exhausted, it              1 through 7, with With 1 being the left most diagonal, and 7 being
then outputs zeros.
               Zeros.                                                     the rightmost diagonal. For User 1, the column filler       ?ller 62
   The data output by the interleaver 54 is rearranged into a             operates to fill ?ll the symbols in the order: AI,A1, A2, Bl,B1, B2,
                            ?rst) and then scrambled in scram- 35 Cl,
serial bit stream (MSB first)                                             C1, ...
                                                                                . . . F2, Gl,
                                                                                          G1, G2. For User 2, the column filler
                                                                                                                             ?ller 62 operates
bIer
bler 56, which
          Which is used to randomiZe
                                randomize the coded and inter-  inter     to fill
                                                                              ?ll the symbols in the order: A3, A4, B3, A5, B4, C3, ..        . .
leaved data. Scrambler 56 may, for example, be imple-          imple      . F7, G6, G7. For each of the symbols filled ?lled in by the column
mented in accordance With   with the scrambler defined
                                                     de?ned in the        filler
                                                                          ?ller 62, the two  tWo LSBs are left empty, since these will  Will be
ADSL (Asymmetric Digital Subscriber Line) specification,
                                                       speci?cation,      filled                      ?ller, explained in detail below.
                                                                          ?lled in by the group filler,                            beloW.
TIEI.4/98-007R1, promulgated by the American National 40
TIEI.4/98-007Rl,                                                                        loWer level 70 of the TCM encoder, data is first
                                                                              In the lower                                                  ?rst
Standards Institute (ANSI) (1998). The scrambler may be                   collected into groups by group collector 72. Groups are
                                                  15    14
de?ned by a IS-bit
defined         15-bit polynomial, such as X         +X +1, with
                                                 x15+x14+1,    With a     consecutive diagonals that are combined. Groups are typi-        typi
programmable seed. The scrambler 56 may be effectively                    cally used to create larger TCM words,       Words, such that the
bypassed by using a seed of zero. Zero. The scrambler 56 gener-gener      complexity of the TCM decoding is reduced. In this manner,
        randomiZing sequence according to the rule: DS(n)=
ates a randomizing                                                        a packet can be represented as one or more groups, with    With each
DS(n-14)EBDS(n-lS).
DS(n-14)G9DS(n-15).       The    serialized
                                 serialiZed  bit  stream    from   the 45 group corresponding to one or more consecutive diagonals.
interleaver 54 is XORed With  with DS(n). Specifically,
                                              Speci?cally, data bit       The group size   siZe is programmable. The group collector 72
        XOR’d with
“n” is XOR'd
"n"              With DS(n).                                              collects successive data bits from the level splitter 58, up to
   The data output by the scrambler 56 is then divided by                      siZe of the group, and also outputs the number of bits in
                                                                          the size
                             two levels of the TCM encoder. If
level splitter 58 into the tWo                                                                 GroupiSiZe. For example, in the case of the
                                                                          the group, i.e., Group_Size.
              utiliZes only RS coding, all the data bits are 50 example illustrated in FIG. 4, if for User 2, diagonals 3, 4
the system utilizes
assigned to the upper level 60, and the lower    loWer level 70 is        and 5 wereWere considered one group, whileWhile diagonals 6 and 7
disabled. Splitter 58 essentially divides the serial bit stream           were
                                                                          Were considered a second group, group collector would          Would
into a group of data bits to be processed by the lower   loWer level      divide the incoming bit stream into a first   ?rst group of 21 bits
70, and the remaining data bits to be processed by the upper              and a second group of 14 bits, corresponding to the first    ?rst and
level 60. The number of bits assigned to the lower    loWer level 70 55 second groups of diagonals.
corresponds to one bit for each of the symbols in the packet                  After grouping, the data is rate 1/2 convolutionally
for the particular user. Thus, in the case of the example                 encoded (constraint length 6) by coder 74, which       Which block
illustrated in FIG. 4,14          would be assigned to the lower
                      4, 14 bits Would                          loWer     encodes GrouP13
                                                                                       Group 13 Size
                                                                                                 SiZe bits. Consecutive groups are individu-
                                                                                                                                     individu
level 70 for the packet of User 1, while  While 3S35 bits would
                                                           Would be       ally encoded using a tail biting method. In this way,       Way, the
                  loWer level 70 for the packet of User 2. The 60 single LSB for each of the symbols is encoded into a bit pair,
assigned to the lower
actual number of assigned, usable bits may be reduced due                 which
                                                                          Which will Will be inserted into the corresponding symbol in the
to overhead signals, such as pilot tones. To simplify the                 place left open for the two    tWo LSBs by the column filler ?ller 62
implementation of the system, the lower  loWer level bits may be          discussed above. This bit pair is used to select the particular
selected as the first
                 ?rst bits in the serial bit stream. Alternatively,       coset within
                                                                                   Within a constellation and the higher order bits (upper
any selection scheme may be used; however,                     Would 65 level) are used to select the parallel transition.
                                             hoWever, this would
increase system complexity in terms of keeping track of the                   Next, the group of bit pair LSB bits for an entire group is
particular bits in the serial data stream.                                interleaved by interleaver 76 which  Which performs block inter-inter




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leaving. The interleaver 76 operates on encoded bit pairs                     may be implemented prior to the level splitter, as in FIG. 5,
(cosets). The input to the interleaver 76 is X(n), for n=O
                                                       n=0....
                                                            . .               or alternatively, it may be implemented following the packet
(N-i), where
       Where N is Group_Size.
                   GroupiSiZe. The interleaver output Yen),
                                                         Y(n),                interleaver 54 and before the column filler
                                                                                                                       ?ller 62.
with
With J being a programmable parameter, is similar to the                         The two
                                                                                      tWo level encoding approach of the present invention,
output of interleaver 54, i.e.,                                               as well
                                                                                 Well as the diagonalization
                                                                                              diagonaliZation of the present invention, may



X(O)         X(J)          X(2*J)               X(floor(N/J)*J)
X(l)         X(l + J)      X(l + 2*J)           X(l + floor((N - l)/J*J)

X(J - 1)     X(2*J - 1)                         X(J - 1 + floor((N - (J - l))/J)*J)



    The data output by the interleaver 76 is assigned to a 15           15 be performed separately, or they may be performed together.
particular symbol by group filler ?ller 78. Group filling
                                                     ?lling is per-
                                                                 per       The diagonalization
                                                                                 diagonaliZation may be implemented by either the
              column-Wise fashion Within
formed in a column-wise                within a group. The group           column filler                    ?ller 78 together, or alternatively
                                                                                     ?ller 62 and group filler
?ller 78 assembles the encoded and interleaved cosets and
filler                                                                     by the FIFO 80. These blocks are programmed to map the
assigns them to the appropriate tones. The mapping is                      data to the appropriate symbols, to implement (or not
performed in an absolute, vertical column by column 20 implement) the diagonalization.          diagonaliZation.
approach (even if the data symbols are diagonalized
                                             diagonaliZed accord-
                                                            accord            The input to the QAM mapper 82 is data in the form of
ing to one aspect of the present invention), proceeding from               m-tuples which
                                                                                       Which are to be mapped into QAM symbols, for
top to bottom (decreasing tone frequency). The group filling  ?lling       example, ranging from QPSK to 256-QAM, tone by tone.
is performed along vertical columns, stopping at group                     The constellation mapping may be the same as that used in
boundaries. The leftmost column is filled    ?lled first,
                                                    ?rst, and the          ADSL. In order to randomize
                                                                                                  randomiZe the overhead channel symbols,
                        ?lled last (increasing time). Thus, in the 25 a phase scrambling sequence is applied to the output sym-
rightmost column is filled                                                                                                                   sym
case of the example illustrated in FIG. 4, if the data packet                     HoWever, to simplify implementation, the phase
                                                                           bols. However,
for User 2 is partitioned into a first
                                   ?rst group (diagonals 3,4
                                                           3, 4 and        scrambler is applied to all symbols, not just the overhead
5) and a second group (diagonals 6 and 7), the group filler     ?ller      symbols. For example, the phase scrambling sequence may
                                                                           be generated by a pseudo-random generator composed of a
Would operate to fill
would                ?ll in the tWo
                                two LSBs for the symbols in the
                                                                        30 linear feedback shift register of length 21, and initialized
                                                                                                                                    initialiZed by
following
folloWing order: A3, A4, B3, A5, B4, C3, B5, C4, D3, ...          . . .    a user programmable seed. Consecutive output pairs from
F7, G6, 07.
          G7.                                                              the pseudo-random generator, e.g., (n, n+l),          (n+2,  n+3), ...
                                                                                                                         n+1),                 . . .
    The actual filling
                ?lling of the TCM encoded data is performed                denoted (a, b) are converted into numbers 2a+b (the sum is
along columns; however,
                   hoWever, the interleaving essentially intro-
                                                              intro        "2a+b"
                                                                           “2a+b” because the "a"   “a” bit is the MSB, i.e., 21) and the sum
duces a reversal between
                    betWeen columns and rows, roWs, such that the 35 (2a+b) is used to select the amount of rotation to be applied
effective filling
           ?lling of data is along rows.roWs. In addition to the           to the symbol, according to the following
                                                                                                                  folloWing table:
reversal of columns and roWs, rows, the interleaving also intro-
                                                              intro
duces time separation of symbols, Which which is a function of the
interleaver depth. The time separation of the symbols is
advantageous in that it is easier for the TCM coding to deal 40                        221 + b
                                                                                       2a                                Phase Rotation
with
With corrupted symbols that are not adjacent in time. As                                   O               —>                   O
indicated above, the time separation of symbols provided by                                1               —>                 +n/2
                                                                                                                              +Jt/2
the interleaver is a function of the interleaver depth. Thus,                              2               —>                   Jt
                                                                                                                                n

the depth of the interleaver should be set to be at least equal                            3               —>                 -n/2
                                                                                                                              -Jt/2
                                                                                                                              —n/2

to the number of rows
                    roWs in a group, multiplied by the expected 45      45
impulse length (in symbol time periods).                                            diagonaliZation principle of the present invention
                                                                              The diagonalization
    As with
       With the filling
                    ?lling of the upper level, the overhead                utilizes
                                                                           utiliZes the same diagonal slope for all users, taking into
symbols are accounted for in the filling
                                      ?lling process. The column           account trade-offs between
                                                                                                  betWeen latency and noise immunity. The
filler
?ller 62 operates on the MSBs of the data word,   Word, while
                                                          While the        minimum transmission element is a full diagonal, and appro-      appro
group filler
        ?ller 78 operates on the LSB's
                                     LSB’s of the data word.
                                                          Word.         50 priate data padding is utilized
                                                                                                      utiliZed to result in a whole
                                                                                                                              Whole number of
    The outputs of the upper stream 60 and the lower loWer stream          diagonals. Each packet may contain overhead bits (e.g., pilot
70 are combined into m-tuples (QAM symbols), and tem-           tem        tones) in addition to payload data. Although the overhead
porarily stored in a FIFO buffer 80. The data is then                      bits are not coded, they are still counted whenWhen computing the
delivered from the FIFO buffer 80 to a QAM mapper 82. The                  packet size
                                                                                    siZe and mapping the data into tones.
FIFO buffer 80 introduces the appropriate delay required to 55          55    The output from the QAM mapper 82 is provided to a
output the m-tuples according the diagonalization
                                        diagonaliZation principle          modulator (not shown) shoWn) which
                                                                                                          Which implements the particular
of the present invention.                                                  signal modulation desired, e.g., VCMT, CDMA, etc.
    The specific
         speci?c example illustrated in FIG. 5 performs RS                    The framing scheme according to the present invention
coding on the entire user data stream and then performs                    may also be performed in a CDMAsystem,
                                                                                                            CDMA system, in which  Which case the
TCM encoding on a portion of the user data stream. 60 modulator (not shown)                    shoWn) may, for example, be a CDMA-type
Alternatively, the two
                     tWo level encoding approach of the present            modulator in accordance with    With the TIA/EINIS-95
                                                                                                                     TIA/EIA/IS-95 "Mobile
                                                                                                                                         “Mobile
invention may be carried out such that RS encoding only is                 Station Compatibility Standard for Dual Mode Wideband
performed on a portion of the data stream and TCM encod-     encod         Spread Spectrum Cellular System".
                                                                                                           System”. In the case of a CDMA
ing only is performed on the remainder of the data stream.                 implementation of the framing scheme according to the
In such an implementation, RS coder 52 and packet inter-       inter 65 present invention, the TCM encoded data may be filled                ?lled
leaver 54 would
            Would instead be placed in the upper level 60,                 along rows,
                                                                                  roWs, while
                                                                                           While the RS encoded data may be filled    ?lled along
between
betWeen level splitter 58 and column filler?ller 62. Scrambler 56          columns.




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                               13                                                                     14
                                 diagonaliZation scheme accord-
    The framing scheme and diagonalization                 accord         utilizing
                                                                          utiliZing said plurality of tones to transmit said first   ?rst
ing to the present invention may be implemented separately                   encoded data and said second encoded data.
or together, depending on the particular application and data             6. The method of claim 5, wherein
                                                                                                          Wherein said first
                                                                                                                         ?rst error cor-
                                                                                                                                     cor
transmission system. For example, in the case of a VCMT                recting code is a Reed-Solomon code.
implementation utilizing both diagonalization
                                     diagonaliZation and framing          7. The method of claim 5, whereinWherein said second error
according to the present invention, the RS encoded data may            correcting code is a TCM code.
     ?lled along columns, While
be filled                       while the TCM encoded data is             8. The method of claim 5, further comprising the follow-
                                                                                                                                 folloW
?lled along diagonals.
filled                                                                                      ?rst encoding step:
                                                                       ing step after the first
    While the invention has been particularly shown    shoWn and                               ?rst encoded data, and wherein
                                                                          interleaving said first                          Wherein said
             With reference to a preferred embodiment thereof, 10
described with                                                      10       arranging step arranges the interleaved first ?rst encoded
   Will be understood by those skilled in the art that various
it will                                                                      data.
changes in form and details may be made therein without    Without        9. A method of arranging and transmitting data in a
departing from the spirit and scope of the invention.                  multitone system having a plurality of tones, each tone at a
    What is claimed is:                                                different frequency and adapted to transmit a data symbol
    1. AA method of arranging and transmitting data in a 15         15 during a symbol period, said tones corresponding to rows     roWs
multitone modulation system having a plurality of tones,               and said symbol periods corresponding to columns, com-       com
each tone at a different frequency and adapted to transmit a                         folloWing steps:
                                                                       prising the following
data symbol during a symbol period, comprising the fol-        fol        inputting data comprising a plurality of data symbols;
loWing steps:
lowing                                                                    encoding said data according to a first  ?rst error correcting
                                                                    20
    inputting data comprising a plurality of data symbols;                   code to produce first
                                                                                                ?rst encoded data;
    encoding a first
                  ?rst portion of said data according to a first
                                                               ?rst       interleaving said first
                                                                                              ?rst encoded data to produce an inter-
                                                                                                                                   inter
       error correcting code to produce first
                                            ?rst encoded data;               leaved data stream;
    encoding a second portion of said data according to a                 splitting said interleaved data stream into upper level data
       second error correcting code to produce second 25            25       and lower
                                                                                   loWer level data;
       encoded data;                                                      arranging said upper level data along columns;
    arranging said first
                      ?rst encoded data according to time-wise
                                                         time-Wise        encoding said lower
                                                                                          loWer level data according to a second error
       columns, each of said time-Wise
                                 time-wise columns correspond-
                                                      correspond             correcting code to produce second encoded data;
       ing substantially to a symbol period;                              arranging said second encoded data according to rows;    roWs;
    arranging said second encoded data according to rows,    roWs, 30        and
       wherein
       Wherein each rowroW corresponds to one of said plurality           utiliZing said plurality of tones to transmit said upper level
                                                                          utilizing
       of tones                                                              data and said second encoded data.
    matching said first
                     ?rst error correcting code, said second error        10. The method of claim 9, further comprising the step of
       correcting code, and said arranging steps to a type of 35 scrambling said interleaved data prior to said splitting step.
                                                                    35
       noise the modulation is sensitive to; and                          11. The method of claim 9, wherein
                                                                                                           Wherein said splitting step
    utilizing
    utiliZing said plurality of tones to transmit said first   ?rst    operates to assign one bit of said interleaved data stream to
       encoded data and said second encoded data.                      said lower
                                                                             loWer level, for each symbol of said data.
    2. The method of claim 1, Wherein
                                    wherein said first
                                                   ?rst error cor-
                                                              cor         12. The method of claim 11, wherein
                                                                                                            Wherein said splitting step
recting code is a Reed-Solomon code.                                40 operates to assign the first    N bits of said interleaved data
                                                                                                  ?rst N
    3. The method of claim 1, Wherein wherein said second error                           loWer level, in the case where
                                                                       stream to said lower                            Where said data
correcting code is a TCM code.                                         comprises N  N symbols.
    4. The method of claim 1, further comprising the follow-
                                                           folloW         13. The method of claim 9, wherein
                                                                                                           Wherein after said splitting
                      ?rst encoding step:
ing step after the first                                               step and prior to said second encoding step, said method
    interleaving said first                          Wherein said 45
                          ?rst encoded data, and wherein            45
                                                                    45
                                                                                                              loWer level data into one
                                                                       includes the step of arranging said lower
       arranging step arranges the interleaved first ?rst encoded      or
                                                                       or more
                                                                           more groups.
                                                                                  groups.
       data.                                                              14. The method of claim 9, wherein
                                                                                                         Wherein said step of arranging
    5. A method of arranging and transmitting data in a                upper level data operates to arrange a predetermined number
multitone modulation system having a plurality of tones,               of bits less than a full amount of data bits in each symbol,
each tone at a different frequency and adapted to transmit a 50     50 and said step of arranging said second encoded data operates
data symbol during a symbol period, comprising the fol-        fol     to arrange said predetermined number of bits in each sym-    sym
loWing steps:
lowing                                                                 bol.
                                                                          15. The method of claim 9, wherein
                                                                                                         Wherein prior to said utilizing
                                                                                                                                utiliZing
    inputting data comprising a plurality of data symbols;
                                                                       step, said method includes the step of phase scrambling said
    encoding a first
                  ?rst portion of said data according to a first
                                                               ?rst 55 upper level data and said second encoded data in accordance
       error correcting code to produce first
                                            ?rst encoded data;      55
                                                                       with
                                                                       With said second encoded data.
    encoding a second portion of said data according to a                 16. A method of arranging and transmitting data in a
       second error correcting code to produce second                  multitone system having a plurality of tones, each tone at a
       encoded data;                                                   different frequency and adapted to transmit a data symbol
    arranging said first                                 time-Wise 60 during a symbol period, said tones corresponding to rows
                      ?rst encoded data according to time-wise                                                                      roWs
       columns, each of said time-Wise
                                 time-wise columns correspond-
                                                      correspond       and said symbol periods corresponding to columns, com-       com
       ing substantially to a symbol period;                                         folloWing steps:
                                                                       prising the following
    interleaving and arranging said second encoded data such              inputting data comprising a plurality of data symbols;
       that it is spread over time;                                       encoding said data according to a first  ?rst error correcting
    matching said first
                     ?rst error correcting code, said second error 65        code to produce first
                                                                                                ?rst error correcting encoded data;
       correcting code, and said arranging steps to a type of             interleaving said first
                                                                                              ?rst encoded data to produce an inter-
                                                                                                                                   inter
       noise the modulation is sensitive to; and                             leaved data stream;




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                              15                                                                    16
   splitting said interleaved data stream into upper level data          interleaving said first
                                                                                              ?rst encoded data, and wherein
                                                                                                                         Wherein said
      and lower
           loWer level data;                                                arranging step arranges the interleaved first?rst encoded
   arranging said upper level data along columns;                           data.
   encoding said lower
                   loWer level data according to a second error          25. A method of arranging and transmitting data in a
      correcting code to produce second encoded data;                 CDMA system having a plurality of modulation codes, each
   interleaving and arranging said second encoded data such           modulation code adapted to transmit a data symbol during a
      that it is spread over time; and                                symbol period, said modulation codes corresponding to
   utiliZing said plurality of tones to transmit said upper level
   utilizing
                                                                      roWs and said symbol periods corresponding to columns,
                                                                      rows
      data and said second encoded data.
                                                                                         folloWing steps:
                                                                      comprising the following
   17. A method of arranging and transmitting data in a 10               inputting data comprising a plurality of data symbols;
CDMA system having a plurality of modulation codes, each                 encoding said data according to a first?rst error correcting
modulation code adapted to transmit a data symbol during a                  code to produce first
                                                                                               ?rst encoded data;
symbol period, comprising the following
                                     folloWing steps:                                        ?rst encoded data to produce an inter-
                                                                         interleaving said first                                  inter
   inputting data comprising a plurality of data symbols;                   leaved data stream;
                                                                   15
                 ?rst portion of said data according to a first
   encoding a first                                           ?rst       splitting said interleaved data stream into upper level data
      error correcting code to produce first
                                           ?rst encoded data;               and lower
                                                                                  loWer level data;
   encoding a second portion of said data according to a                 arranging said upper level data along columns; encoding
      second error correcting code to produce second                               loWer level data according to a second error
                                                                            said lower
      encoded data;                                                20       correcting code to produce second encoded data;
                     ?rst encoded data according to time-wise
   arranging said first                                 time-Wise        arranging said second encoded data according to rows;   roWs;
      columns, each of said time-Wise
                                 time-wise columns correspond-
                                                      correspond            and
      ing substantially to a symbol period;                              utiliZing said plurality of modulation codes to transmit
                                                                         utilizing
   arranging said second encoded data according to rows,     roWs,          said upper level data and said second encoded data.
      wherein
      Wherein each rowroW corresponds to one of said plurality 25        26. The method of claim 25, further comprising the step
      of codes;                                                       of scrambling said interleaved data prior to said splitting
   matching said first
                    ?rst error correcting code, said second error     step.
      correcting code, and said arranging steps to a type of             27. The method of claim 25, wherein
                                                                                                           Wherein said splitting step
      noise the modulation is sensitive to; and                       operates to assign one bit of said interleaved data stream to
   utiliZing said plurality of modulation codes to transmit 30 said lower
   utilizing                                                                loWer level, for each symbol of said data.
      said first
            ?rst encoded data and said second encoded data.              28. The method of claim 27, wherein
                                                                                                           Wherein said splitting step
   18. The method of claim 17, wherein  Wherein said first
                                                        ?rst error                               ?rst N bits of said interleaved data
                                                                      operates to assign the first
correcting code is a Reed-Solomon code.                               stream to said lower
                                                                                         loWer level, in the case where
                                                                                                                     Where said data
   19. The method of claim 17, Whereinwherein said second error       comprises N symbols.
correcting code is a TCM code.                                     35    29. The method of claim 25, wherein
                                                                                                          Wherein after said splitting
   20. The method of claim 17, further comprising the                 step and prior to said second encoding step, said method
folloWing step after the first
following                    ?rst encoding step:                      includes the step of arranging said lower
                                                                                                             loWer level data into one
   interleaving said first
                         ?rst encoded data, and wherein
                                                    Wherein said      or
                                                                      or more
                                                                          more groups.
                                                                                 groups.
      arranging step arranges the interleaved first ?rst encoded                                         Wherein said step of arrang-
                                                                         30. The method of claim 25, wherein                   arrang
      data.                                                        40 ing upper level data operates to arrange a predetermined

   21. A method of arranging and transmitting data in a               number of bits less than a full amount of data bits in each
CDMA system having a plurality of modulation codes, each              symbol, and said step of arranging said second encoded data
modulation code adapted to transmit a data symbol during a            operates to arrange said predetermined number of bits in
symbol period, comprising the following
                                     folloWing steps:                 each symbol.
   inputting data comprising a plurality of data symbols;          45                                   Wherein prior to said utilizing
                                                                         31. The method of claim 25, wherein                  utiliZing
                                                                      step, said method includes the step of phase scrambling said
                 ?rst portion of said data according to a first
   encoding a first                                           ?rst
                                                                      upper level data and said second encoded data in accordance
      error correcting code to produce first
                                           ?rst encoded data;
                                                                      with
                                                                      With said second encoded data.
   encoding a second portion of said data according to a
                                                                         32. A method of arranging and transmitting data in a
      second error correcting code to produce second 50
                                                                      CDMA system having a plurality of modulation codes, each
      encoded data;
                                                                      modulation code adapted to transmit a data symbol during a
   arranging said first
                     ?rst encoded data according to time-wise
                                                        time-Wise     symbol period, said modulation codes corresponding to
      columns, each of said time-Wise
                                 time-wise columns correspond-
                                                      correspond      rows
                                                                      roWs and said symbol periods corresponding to columns,
      ing substantially to a symbol period;                                              folloWing steps:
                                                                      comprising the following
   interleaving and arranging said second encoded data such 55     55    inputting data comprising a plurality of data symbols;
      that it is spread over time;
                                                                         encoding said data according to a first?rst error correcting
   matching said first
                    ?rst error correcting code, said second error           code to produce first
                                                                                               ?rst encoded data;
      correcting code, and said arranging steps to a type of
      noise the modulation is sensitive to; and                          interleaving said first
                                                                                             ?rst encoded data to produce an inter-
                                                                                                                                  inter
                                                                            leaved data stream;
   utilizing
   utiliZing said plurality of modulation codes to transmit 60
      said first
            ?rst encoded data and said second encoded data.              splitting said interleaved data stream into upper level data
   22. The method of claim 21, Wherein  wherein said first
                                                        ?rst error          and lower
                                                                                  loWer level data;
correcting code is a Reed-Solomon code.                                  arranging said upper level data along columns;
   23. The method of claim 21, Whereinwherein said second error          encoding said lower
                                                                                          loWer level data according to a second error
correcting code is a TCM code.                                     65       correcting code to produce second encoded data;
   24. The method of claim 21, further comprising the                    interleaving and arranging said second encoded data such
following
folloWing step after the first
                             ?rst encoding step:                            that it is spread over time; and




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   utilizing said plurality of modulation codes to transmit              means for splitting said interleaved data stream into upper
      said upper level data and said second encoded data.                   level data and lower
                                                                                               loWer level data;
   33. The method of claim 7 Wherein
                                  wherein the step of interleaving       means for arranging said upper level data along columns;
and arranging arranges the second encoded data according to              means for encoding said lower loWer level data according to a
         roWs and columns.
one of rows                                                                 second error correcting code to produce second
   34. An apparatus for arranging and transmitting data in a                encoded data;
multitone modulation system having a plurality of tones,
each tone at a different frequency and adapted to transmit a             means for arranging said second encoded data according
data symbol during a symbol period, comprising:                             to rows;
                                                                               roWs; and
   means for inputting data comprising a plurality of data 10      10                 utiliZing said plurality of tones to transmit said
                                                                         means for utilizing
      symbols;                                                              upper level data and said second encoded data.
                                                                         37. An apparatus for arranging and transmitting data in a
   means for encoding a first?rst portion of said data according      multitone system having a plurality of tones, each tone at a
            ?rst error correcting code to produce first
      to a first                                     ?rst encoded     different frequency and adapted to transmit a data symbol
      data;                                                        15 during a symbol period, said tones corresponding to rows
                                                                   15                                                               roWs
   means for encoding a second portion of said data accord-accord     and said symbol periods corresponding to columns, com-        com
      ing to a second error correcting code to produce second         prising:
      encoded data;                                                      means for inputting data comprising a plurality of data
   means for arranging said first?rst encoded data according to             symbols;
      time-wise
      time-Wise columns, each of said time-wise
                                              time-Wise columns 20       means for encoding said data according to a first   ?rst code to
      corresponding substantially to a symbol period;                       produce first
                                                                                        ?rst error correcting encoded data;
   means for arranging said second encoded data according                means for interleaving said first?rst encoded data to produce
      to rows,
          roWs, wherein
                 Wherein each roWrow corresponds to one of said             an interleaved data stream;
      plurality of tones;
                                                                   25
                                                                         means for splitting said interleaved data stream into upper
   means for matching said first ?rst error correcting code, said 25        level data and lower
                                                                                               loWer level data;
      second error correcting code, and said means for
      arranging to a type of noise the modulation is sensitive           means for arranging said upper level data along columns;
      to; and                                                            means for encoding said lower loWer level data according to a
   means for utilizing
                utiliZing said plurality of tones to transmit said          second error correcting code to produce second
      first
      ?rst encoded data and said second encoded data.              30
                                                                            encoded data;
   35. An apparatus for arranging and transmitting data in a             means for interleaving and arranging said second encoded
multitone modulation system having a plurality of tones,                    data such that it is spread over time; and
each tone at a different frequency and adapted to transmit a             means for utilizing
                                                                                      utiliZing said plurality of tones to transmit said
data symbol during a symbol period, comprising:                             upper level data and said second encoded data.
                                                                   35
   means for inputting data comprising a plurality of data               38. An apparatus for arranging and transmitting data in a
      symbols;                                                        CDMA system having a plurality of modulation codes, each
   means for encoding a first                                         modulation code adapted to transmit a data symbol during a
                             ?rst portion of said data according
            ?rst error correcting code to produce first
      to a first                                     ?rst encoded     symbol period, comprising:
      data;                                                        40
                                                                         means for inputting data comprising a plurality of data
   means for encoding a second portion of said data accord-accord           symbols;
      ing to a second error correcting code to produce second            means for encoding a first ?rst portion of said data according
      encoded data;                                                              ?rst error correcting code to produce first
                                                                            to a first                                      ?rst encoded
   means for arranging said first?rst encoded data according to             data;
      time-Wise columns, each of said time-wise
      time-wise                               time-Wise columns 45       means for encoding a second portion of said data accord- accord
      corresponding substantially to a symbol period;                       ing to a second error correcting code to produce second
   means for interleaving and arranging said second encoded                 encoded data;
      data such that it is spread over time;                             means for arranging said first ?rst encoded data according to
   means for matching said first ?rst error correcting code, said 50        time-Wise columns, each of said time-wise
                                                                            time-wise                               time-Wise columns
      second error correcting code, and said means for                      corresponding substantially to a symbol period;
      arranging to a type of noise the modulation is sensitive           means for arranging said second encoded data according
      to; and                                                               to rows,
                                                                               roWs, wherein
                                                                                        Wherein each row
                                                                                                       roW corresponds to one of said
   means for utilizing
                utiliZing said plurality of tones to transmit said          plurality of codes;
      first
      ?rst encoded data and said second encoded data.                    means for matching said first  ?rst error correcting code, said
                                                                   55
   36. An apparatus for arranging and transmitting data in a 55             second error correcting code, and said means for
multitone system having a plurality of tones, each tone at a                arranging to a type of noise the modulation is sensitive
different frequency and adapted to transmit a data symbol                   to; and
during a symbol period, said tones corresponding to rows      roWs       means for utilizing
                                                                                       utiliZing said plurality of modulation codes to
and said symbol periods corresponding to columns, com-       com 60         transmit said first?rst encoded data and said second
prising:                                                                    encoded data.
   means for inputting data comprising a plurality of data               39. An apparatus for arranging and transmitting data in a
      symbols;                                                        CDMA system having a plurality of modulation codes, each
   means for encoding said data according to a first    ?rst error    modulation code adapted to transmit a data symbol during a
      correcting code to produce first?rst encoded data;           65 symbol period, comprising:
                                                                   65
   means for interleaving said first
                                   ?rst encoded data to produce          means for inputting data comprising a plurality of data
      an interleaved data stream;                                           symbols;




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                              19                                                                   20
  means for encoding a first ?rst portion of said data according        means for inputting data comprising a plurality of data
     to a first
          ?rst error correcting code to produce first
                                                    ?rst encoded           symbols;
     data;                                                              means for encoding said data according to a first  ?rst error
  means for encoding a second portion of said data accord-accord           correcting code to produce first
                                                                                                          ?rst encoded data;
     ing to a second error correcting code to produce second
     encoded data;                                                                                     ?rst encoded data to produce
                                                                        means for interleaving said first
  means for arranging said first ?rst encoded data according to            an interleaved data stream;
     time-Wise columns, each of said time-wise
     time-wise                               time-Wise columns          means for splitting said interleaved data stream into upper
     corresponding substantially to a symbol period;                       level data and lower
                                                                                           loWer level data;
  means for interleaving and arranging said second encoded 10     10    means for arranging said upper level data along columns;
     data such that it is spread over time;
  means for matching said first  ?rst error correcting code, said       means for encoding said lowerloWer level data according to a
     second error correcting code, and said means for                      second error correcting code to produce second
     arranging to a type of noise the modulation is sensitive              encoded data;
     to; and                                                      15    means for interleaving and arranging said second encoded
                utiliZing said plurality of modulation codes to
  means for utilizing                                                      data such that it is spread over time; and
     transmit said first?rst encoded data and said second                           utiliZing said plurality of modulation codes to
                                                                        means for utilizing
     encoded data.                                                         transmit said upper level data and said second encoded
  40. An apparatus for arranging and transmitting data in a                data.
CDMA system having a plurality of modulation codes, each 20             42. A method of transmitting data of at least twotWo users to
modulation code adapted to transmit a data symbol during a           provide inter-user interleaving in a multitone modulation
symbol period, said modulation codes corresponding to                system having a plurality of tones, each tone at a different
rows
roWs and said symbol periods corresponding to columns,               frequency and adapted to transmit a data symbol during a
comprising:                                                                                                          folloWing steps:
                                                                     symbol period, the method comprising the following
  means for inputting data comprising a plurality of data 25      25    inputting user data comprising a plurality of data symbols;
     symbols;
                                                                        encoding a first
                                                                                     ?rst portion of said user data according to a
  means for encoding said data according to a first    ?rst error          ?rst code to produce first
                                                                           first                   ?rst encoded data;
     correcting code to produce first ?rst encoded data;
                                                                        encoding a second portion of said user data according to
  means for interleaving said first?rst encoded data to produce
                                                                           a second code to produce second encoded data, said
     an interleaved data stream;                                  30
                                                                           first
                                                                           ?rst and second codes being different;
  means for splitting said interleaved data stream into upper
     level data and lower                                               arranging said first
                                                                                         ?rst encoded data according to time-wise
                                                                                                                           time-Wise
                       loWer level data;
                                                                           columns of symbols to be transmitted, each of said
  means for arranging said upper level data along columns;
                                                                           time-wise
                                                                           time-Wise columns corresponding substantially to a
  mes~:~~~ :~~~~i~~r~~i~ti:;e~ol~~e~:a~~;~~~:di~:c~On~
  means for encoding said loWer level data according to a                  symbol period;
                                                                  35
     second error correcting code to produce second 35
     encoded data;                                                      arranging said second encoded data according to rows roWs of
                                                                           symbols to be transmitted, wherein
                                                                                                           Wherein each row
                                                                                                                          roW corre-
                                                                                                                               corre
  means for arranging said second encoded data according
                                                                           sponds to one of said plurality of tones;
     to
     to rows;
        roWs; andand
                                                                                        ?rst error correcting code, said second error
                                                                        matching said first
                utiliZing said plurality of modulation codes to 40
  means for utilizing
     transmit said upper level data and said second encoded                correcting code, and said arranging steps to a type of
     data.                                                                 noise the modulation is sensitive to;
  41. An apparatus for arranging and transmitting data in a             delaying the transmission of successive ones of said
CDMA system having a plurality of modulation codes, each                   symbols to be transmitted; and
modulation code adapted to transmit a data symbol during a 45     45
                                                                        utilizing
                                                                        utiliZing said plurality of tones to transmit the symbols to
symbol period, said modulation codes corresponding to                      be transmitted.
roWs and said symbol periods corresponding to columns,
rows
comprising:




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                                                                             I   ANSI TI.4I3-1995




            for Telecommunications -
            Network and Customer
            Installation Interfaces-
            Asymmetric Digital Subscriber
            Line (ADSL) Metallic Interface




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                                                                                                                                      ANSI®
                                                                                                                               T1.413-1995




                                                                                     American National Standard
                                                                                       for Telecommunications -

                     Network and Customer Installation Interfaces-
         Asymmetric Digital Subscriber Line (ADSL) Metallic Interface




       Secretariat
       Alliance for Telecommunications Industry Solutions




        Approved August 18, 1995
        American National Standards Institute, Inc.




        Abstract
        This standard presents the electrical characteristics of the Asymmetric Digital Subscriber Line
        (ADSL) signals appearing at the network interface. The physical interface between the network
        and the customer installation is also described. The transport medium for the signals is a single
        twisted·wire pair that supports both Message Telecommunications Service (POTS) and full-duplex
        (simultaneous two-way) and simplex (from the network to the customer installation) digital ser-
        vices.
        This interface standard provides the minimal set of requirements for satisfactory transmission
        between the network and the customer installation. Equipment may be implemented with addition-
        al functions and procedures.




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                                             Foreword (This foreword is not part of American National Standard T1.413-1995.)
                                             This specification of the layer 1 characteristics of the Asymmetrical Digital
                                             Subscriber Line (ADSL) interface to metallic loops was initiated under the
                                             auspices of the Accredited Standards Committee on Telecommunications,
                                             T1. The speCification should be of interest and benefit to network providers
                                             and customers using multimedia services.
                                             A single twisted pair of telephone wires is used to connect two ADSL units:
                                             one at the central office end (an ATU-C) and one at the remote end (an
                                             ATU-R). This standard has been written to define the transport capability
                                             of these units on a wide variety of wire pairs and with typical impairments,
                                             and to help ensure proper interfacing and interworking when the two units
                                             are manufactured and provided independently.
                                             The ADSL simultaneously conveys all of the following: a downstream simplex
                                             bearer, a duplex bearer, a baseband analog duplex channel, and ADSL line
                                             overhead for framing, error control, operations, and maintenance. Nominal
                                             downstream bearer rates from 1.536 to 7 Mbitls may be programmed. Duplex
                                             bearer aggregate rates from 16 to 640 kbit/s may be programmed.
                                              Two categories of performance are specified. Category I performance is
                                              required for compliance with this standard; performance enhancement
                                              options are not required for category I equipment. Category II is a higher
                                              level of performance (i.e., longer lines and greater impairments). Category
                                              II characteristics are not required for compliance with this standard. Three
                                              optional enhancements - trellis coding, transmit power boost, and echo
                                              cancellation - are defined for Category II equipment.
                                              A future issue of this standard may address the items listed in annex J.
                                              There are nine annexes to this standard; four are normative, and are con-
                                              sidered part of the standard; five are informative, and are provided for
                                              information only.
                                              Suggestions for improvements of this standard are welcome. They should
                                              be sent to the Alliance for Telecommunications Industries Solutions, 1200
                                              G Street, NW, Suite 500, Washington, DC 20005.
                                              This standard was processed and approved for submission to ANSI by
                                              Accredited Standards Committee on Telecommunications n. Committee
                                              approval of the standard does not necessarily imply that all committee
                                              members voted for its approval. At the time it approved this standard, com-
                                              mittee T1 had the following members:
                                              A. K. Reilly, Chairman
                                              G. H. Peterson, Vice-Chairman
                                              O. J. Gusella, Jr., Secretary
                                              R. Welborn, Senior Editor
                                              J. Bingham, Technical Editor

                                              Organization Represented                                                       Name of Representative
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                                                                                                                                                         vii


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                                                        ANSI T1.413 95 . . 0724150 0526099 577 . .




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                          At the time it approved this standard Technical Subcommittee T1 E1 on
                          Carrier-to-Customer Premises Equipment Interfaces, which is responsible
                          for the development of this standard, had the following members:

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                                             Siemens Stromberg-Carlson .............................................. Gunter Neumeier
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                           The T1 E1.4 Working Group, which had technical responsibility during the
                           development of this standard, had the following participants:

                           Tom Starr, Chairman
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                           Philip J. Kyees, Secretary
                           John A. C. Bingham, Editor
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                                 Mark Astor                        Bernard Harris               W.J. McNamara
                                 F. Autrique                       Paul Hartman                 Peter Melsa
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        AMERICAN NATIONAL STANDARD                                                                                         ANSI T1.413-1995



        American National Standard
        for Telecommunications -

        Network and Customer Installation Interfaces -
        Asymmetric Digital Subscriber Line (ADSL) Metallic
        Interface

                        Scope and purpose

        1.1             Scope

        This standard describes the interface between the telecommunications network and the customer
        installation in terms of their interaction and electrical characteristics. The requirements of this
        standard apply to a single asymmetric digital subscriber line (ADSL). ADSL allows the provision
        of Plain Old Telephone Service (POTS) and a variety of digital channels. In the direction from the
        network to the customer premises the digital channels may consist of full duplex low-speed
        channels and simplex high-speed channels; in the other direction only low-speed channels are
        provided.

        The transmission system is designed to operate on two-wire twisted metallic cable pairs with
        mixed gauges. The standard is based on the use of cables without loading coils, but bridged taps
        are acceptable with the exception of unusual situations.

         Functions included in the Service Modules, other than those associated with the ATU-R to
         Service Module interface, are beyond the scope of this standard.

         Specifically, this standard:

                        - describes the transmission technique used to support the simultaneous transport of
                        POTS and both simplex and full-duplex digital channels on a single twisted-pair;

                        - defines the combined options and ranges of the digital simplex and full-duplex
                        channels provided;

                        - defines the line code and the spectral composition of the signals transmitted by both
                        ATU-C and ATU-R;

                         - specifies the receive signals at both the ATU-C and ATU-R;

                         - describes the electrical and mechanical specifications of the network interface;

                         - describes the organization of transmitted and received data into frames;

                         - defines the functions of the operations channel;

                         - defines the ATU-R to service module(s) interface functions.

         1.2             Purpose

         This interface standard defines the minimal set of requirements to provide satisfactory
         simultaneous transmission between the network and the customer interface of POTS and a
         variety of high-speed simplex and low-speed full duplex channels. The standard permits network
         providers an expanded use of existing copper facilities. All Layer 1 aspects required to ensure
         compatibility between eqUipment in the network and equipment at a remote location are specified.
         Equipment may be implemented with additional functions and procedures.
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                  ANSI T1.413-1995

                  2               Normative references
                  The following standards contain provisions that, through reference in this text, constitute
                  provisions of this American National Standard. At the time of publication, the editions indicated
                  were valid. All standards are subject to revision, and parties to agreements based on this
                  American National Standard are encouraged to investigate the possibility of applying the most
                  recent editions of the standards indicated below.

                  ANSI T1.231-1993; Telecommunications - In-service Layer 1 digital transmission performance
                  monitoring

                  ANSI T1.401-1993; Telecommunications -Interface between carriers and customer installations
                  - Analog voice-grade switched access lines using loop-start and ground-start signaling.

                  ANSI T1.601-1992, Telecommunications - Integrated Services Digital Network (ISDN) - Basic
                  access interface for use on metallic loops for application on the network side of the NT (Layer 1
                  specification)

                  ANSI/EIAfTIA-571-1991, Environmental considerations for telephone terminals

                  ANSI/EIA RS-422A-1978, Electrical characteristics of balanced voltage digital interface circuits,
                  1978

                  IEEE Standard 455-1985, Test procedures for measuring longitudinal balance of telephone
                  equipment operating in the voice band 1)

                  Technical Report No. 28, A Technical Report on High-bit rate digital subscriber lines, Committee
                  T1-Telecommunications, February 1994a




                  1) Available from IEEE, 445 Hoes Lane, Piscataway, NJ 08855-1331.
                  2) Available from Alliance for Telecommunications Industry Solutions, 1200 G Street, NW, Suite 500,
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                                                                                                                                         ANSI T1.413-1995

                          3           Definitions, abbreviations, acronyms and symbols
                          3.1 Definitions

                          3.1.1 aggregate data rate: data rate transmitted by an ADSL system in anyone direction; it
                          includes both net data rate and data rate overhead used by the system for crc, eoc,
                          synchronization of the various data streams, and fixed indicator bits for OAM; it does not include
                          FEC redundancy.

                          3.1.2 bearer channel: a user data stream of a specified data rate that is transported
                          transparently by an ADSL system, and carries a bearer service; sometimes abbreviated to
                          bearer.

                          3.1.3 bearer service: the transport of data at a certain rate without regard to its content,
                          structure, or protocol.

                          3.1.4 bridged taps: sections of unterminated twisted-pair cable connected in parallel across the
                          cable under consideration.

                          3_1.5 Category I: a default set of requirements that shall be met by all compliant equipment.

                          3.1.6 Category II: an enhanced set of requirements that may be met by the provision of certain
                          options.

                          3.1.7 channelization: allocation of the net data rate to bearer channels.

                          3.1.8 downstream: ATU-C to ATU-R direction.

                          3.1.9 loading coils: inductors placed in series with the cable at regular intervals in order to
                          improve the voice-band response.

                          3.1.10 net data rate: total data rate that is available to user data in anyone direction; for the
                          downstream direction this is the sum of the net simplex and duplex data rates.

                          3.1.11 splitter: a low-pass/high-pass pair of filters that separate high (ADSL) and low (POTS)
                          frequency Signals.

                          3.1.12 transport class: the set of bearer channel data rates and multiplex configurations that
                          may be Simultaneously transported on a given loop, based on the maximum aggregate data rate
                          supported by that loop.

                          3.1.13 upstream: ATU-R to ATU-C direction

                          3.2 Abbreviations, acronyms and symbols

                          ADC                             analog to digital converter
                          ADSL                            asymmetric digital subscriber line
                          AEX                             byte inserted in the transmitted ADSL frame structure to provide synchronization
                                                          capacity that is shared among ASX channels
                          AGC                             automatic gain control
                          aoc                             ADSL overhead control channel
                          ASO-3                           downstream simplex sub-channel designators
                          ASX                             anyone of the simplex channels ASO to AS3
                          ATM                             asynchronous transfer mode
                          ATU-C                           ADSL transceiver unit, central office end
                          ATU-R                           ADSL transceiver unit, remote terminal end
                          SF                              the number of bytes in a data stream allocated to the fast (Le., non-interleaved)
                                                          buffer




                                                                                                                                                                 3
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                 BI                              the number of bytes in a data stream allocated to the interleaved buffer
                 BRA                             basic rate access
                 a                               customer installation
                 co                              central office
                 CSA                             carrier serving area
                 CSA loops                       a set of loops within the CSA that are defined by T1 technical report TR-028-
                                                 1994
                 crc-8f                          cyclic redundancy check using CRC-8 code - fast data
                 crc-8i                          cyclic redundancy check using CRC-8 code - interleaved data
                 DAC                             digital to analog converter
                 dBm                             dB milliwatt; 0 dBm = = 1 milliwatt
                 DMT:                            discrete multitone
                 DSL                             digital subscriber line
                 EC                              echo canceling
                 eoc                             embedded operations channel
                 ERL                             echo return loss, as defined by IEEE Std 743-1984
                 es                              errored second
                 FDM                             frequency-division multiplexing
                 febe-f                          far-end block error count - fast data
                 febe-i                          far-end block error count - interleaved data
                 fecc-f                          forward error correction count - fast data
                 fecc-i                          forward error correction count - interleaved data
                 FEC:                            forward error correction
                 FEXT                            far-end cross talk
                 HDSL                            high-rate digital subscriber line
                 ibO-23                          indicator Bit(s)
                 10 code                         vendor identification code
                 10FT                            inverse discrete fourier transform
                 ISDN                            Integrated Services Digital Network
                 ISDN-BRA                        ISDN basic rate access
                 kbiVs                           kilo bits per second
                 LEX                             byte inserted in the transmitted ADSL frame structure to provide synchronization
                                                 capacity that is shared among LSX and ASX channels
                 lof                             loss of frame
                 lopr                            loss of power
                 los                             loss of signal
                 LSO-2                           duplex sub-channel designators
                 ms                              millisecond
                 NI                              network interface
                 Nm.f                            number of bytes in a fast mux data frame
                 Nmi                             number of bytes in an interleaved mux data frame
                 NEXT                            near-end cross talk
                 OAM                             operations, administration and maintenance
                 OSI                             open systems interconnection (7 layer model)
                 POTS                            plain old telephone service (also known as message telecommunications service,
                                                 MTS)
                 PRO                             pseudo-random downstream
                 PRU                             pseudo-random upstream
                 PSD                             power spectral density
                 PSTN                            public switched telephone network
                 PRBS                            pseudo-random bit sequence
                 P dSf                           number of FEC parity bytes for fast buffer
                 Pdsi                            number of FEC parity bytes for interleaved buffer
                 QAM                             quadrature amplitude modulation
                 rdi                             remote defect indication
                 RT                              remote term inal
                 scO-7                           synchronization control bit(s)
                 sef                             severely errored frame
                 sefs                            severely errored frame second
                 SINAD                           signal-to-noise plus distortion (ratiO)
                 8M                              service module

                 4
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                                                                                                                                        ANSI T1.413-1995

                           SONET                           synchronous optical network
                           SRL                             singing return loss, as defined by IEEE Std 743-1984
                           SRL low                         SRL in a band from approximately 260 to 500 Hz
                           SRL high                        SRL in a band from approximately 2200 to 3400 Hz
                           STM                             synchronous transfer mode
                           T-SM                            interface(s) between ATU-R and SM(s)
                           U-C:                            loop interface - central office end
                           U-R                             loop interface - remote terminal end
                            VDT                            video dial tone
                            V                              logical interface between ATU-C and a digital network element such as one or
                            more                           switching systems
                            VIP                            video information provider
                            4QAM                           4-point QAM (Le., two bits per symbol)
                            EB:                            exclusive-or; modul0-2 addition




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                4 Reference models

                4.1             System reference model

                The system reference model shown in figure 1 illustrates the functional blocks required to
                provide ADSL service.
                                                                                                                           CI
                                                                                                                       distribution
                                        v
                  Digital                                                                     ATU-R 1----t---fI
                                                     ATU-C                                          1----+---£1
                  network




                    PSTN 1 - - - - - 1                                                                                        POT
                                                                                                 I---------t




                        NOTES
                                The V interface is defined in terms of logical functions; not physical.
                        2       The V interface may consist of interface(s) to one or more switching systems.
                        3   Implementation of the V and T 9.\ interfaces is optional when interfacing elements are integrated into
                        a common element.
                        4 The splitter function may be integrated into the ATU.
                        5 A digital carrier facility (e.g., SONET extension) may be interposed at the V interface when the
                        ATU-C is located at a remote site.
                        6 The nature of the CI distribution (e.g., bus or star, type of media) is for further study.
                        7 More than one type of T 9.\ interface may be defined, and more than one type of T-sm interface may
                        be provided from an ATU-R.
                        8 Due to the asymmetry of the signals on the line, the transmitted signals shall be distinctly specified
                        at the U-R and U-C reference points.
                        9    A future issue of this standard may deal with CI distribution requirements.

                                                                   Figure 1 - ADSL functional reference model




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                                                                                                                                                          ANSI T1.413-1995

                              4.2              ATU-C transmitter reference model

                              Figure 2 is a block diagram of an ADSL Transceiver Unit-Central office (ATU-C) transmitter
                                                                                                                clauses..
                              showing the functional blocks and interfaces that are referenced in the following clauses


                                                                                                                                      ....------, 511
                                                                                                                                                  511
                               AS

                                                                                                                                                     480
                               AS                Muxl                                                               Constell-                                   Output
                                                 sync                                                               ation                                       parallel/
                               AS                control                                             Tone           encoder               IDFT                  serial
                                                                                                     ordering       and gain                                    buffer
                                                                                                                    scaling


                                                                                                                                                     o0


                                      Reference ponits:                      A             B
                                                                                           B                    C
                                                                            Mux        FEC output                               =
                                                                                                        Constellation k = 0 to 255 r  - -_-_-_
                                                                                                                                   .--_         -.....
                                                                                                                                                 ...J
                                                                         data frame    data frame       encoder input
                                                                                                         data frame                   DAC and analog
                                                                                                                                      signal processing


                                                                             Figure 2 - ATU-C transmitter reference diagram




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                4.3             ATU-R transmitter reference model

                Figure 3 is a block diagram of an ATU-R transmitter showing the functional blocks and interfaces
                that are referenced in the following clauses.


                                                                                        s         G . s

                                                                                                                                63

                                                                                                                                60

                LSO              Mux/                                                             Constell                                Output
                                 sync                                                             ation                                   parallel/
                LS1              control                                           Tone           encoder            IDFT                 serial
                                                                                   ordering       and gain                                buffer
                LS2                                                                               scaling


                                                                                                                                0



                      Reference ponits:                      A           B                    c
                                                         Mux         FEC output       Constellation k= 0 to 31
                                                      data frame     data frame       encoder input
                                                                                       data frame                              DAC and analog
                                                                                                                               signal processing

                                                              Figure 3 - ATU-R transmitter reference diagram




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                            5               Transport capacity

                            An ADSL system may transport up to seven bearer channels (bearers) simultaneously:
                               - up to four independent downstream simplex bearers (unidirectional downstream);
                               - up to three duplex bearers (bi-directional, downstream and upstream).

                            The three duplex bearers may alternatively be configured as independent unidirectional simplex
                            bearers, and the rates of the bearers in the two directions (downstream and upstream) do not
                            need to match.

                            All bearer channel data rates can be programmed in any combination of multiples of 32 kbitls.
                            Other data rates (non-integer multiples of 32 kbitls) can also be supported, but will be limited by
                            the ADSL system's available capacity for synchronization (see notes 1 and 2).

                            Four transport classes are defined for the downstream simplex bearers based on multiples of
                            1.536 Mbitls up to 6.144 Mbitls. Data rates are also defined for duplex bearers to carry a control
                            channel and ISDN channels (basic rate and 384 kbitls). The ADSL data multiplexing format is
                            flexible enough to allow other transport data rates, such as channelizations based on existing
                            1.544 or 2.048 Mbitls formats, and to allow definition of other channelizations in the future in
                            order to accommodate evolving Synchronous or Asynchronous Transfer Modes (STM or ATM)
                            network formats (singly or in combination).

                            The maximum net data rate transport capacity of an ADSL system will depend on the
                            characteristics of the loop on which the system is deployed and on certain configurable options
                            that affect overhead (see note 3).

                            Each bearer channel shall be individually aSSigned to an ADSL sub-channel for transport, and the
                            ADSL sub-channel rate shall be configured during the initialization and training procedure to
                            match the bearer rate.

                            The transport capacity of an ADSL system per se is defined only as that of the high-speed data
                            streams. When, however, an ADSL system is installed on a line that also carries POTS signals
                            the overall capacity is that of POTS plus ADSL (see clauses 8 and 10 for details on POTS related
                            requirements).

                                 NOTES
                                1 Part of the ADSL system overhead is shared among the bearer channels for synchronization. The
                                remainder of each channel's data rate that exceeds a multiple of 32 kbitls shall be transported in this
                                shared overhead.
                                2 The rates for the downstream simplex bearer channels are based on unframed 1.536 Mbitls structures
                                in order to be consistent with the expected evolution of network switching. ADSL deployments may need
                                to interwork with DS1 (1.544 Mbitls) data. The ADSL system overhead and data synchronization (see
                                6.2.2) provides enough capacity to support the framed DS1 data streams transparently (Le., the entire
                                DS1 signal is passed through the ADSL transmission path without interpretation or removal of the framing
                                bits and other overhead).
                                3 One part of the ADSL initialization and training sequence estimates the loop characteristics to
                                determine whether the number of bytes per Discrete MultiTone (DMT) frame required for the requested
                                configuration's aggregate data rate can be transmitted across the given loop. The net data rate is then the
                                aggregate data rate minus ADSL system overhead. Part of the ADSL system overhead is dependent on
                                the configurable options, such as allocation of user data streams to interleaving or non-interleaving data
                                buffers within the ADSL frame (discussed in 6.2, 6.4.2, 7.2, and 7.4.2), and part of it is fixed.


                             5.1            Simplex bearers

                             Simplex bearers in the downstream direction are specified herein; the use of upstream simplex
                             bearers is for further study.




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                5.1.1           Data rates for downstream simplex bearers based on multiples of 1.536 Mbitls

                The default data rates for the four possible simplex bearer channels that may be transported
                downstream over an ADSL system are
                       - 1.536 Mbitls;
                       - 3.072 Mbitls;
                       - 4.608 Mbitls;
                       - 6.144 Mbitls.

                The ADSL system may use up to four sub-channels, named ASO, AS1, AS2, and AS3, to
                transport the downstream simplex bearer channels. An ADSL sub-channel's rate shall match the
                rate of the bearer channel that it transports, subject to the restrictions given in table 1.

                                        Table 1 - ADSL sub-channel rate restrictions for default bearer rates

                                     Sub-channel
                                     designations                  Sub-channel data rate               Allowed values of nx
                                    ASO                         no x 1.536 Mbitls                               no = 0, 1, 2, 3, or 4
                                                                   1 x 1.536 Mbitls                               1 =0, 1, 2, or 3
                                    AS1                         n1                                              n1
                                    AS2                         n?22 x 1.536 Mbitls
                                                                n                                               n?2 =0,1, or 2
                                                                                                                n,
                                                                                                                n
                                    AS3                         n~ x 1.536 Mbitls
                                                                n3                                              n~ = 0 or 1
                                                                                                                n3
                             NOTE - Rates equivalent to multiple DS1s are also supported.

                The maximum number of sub-channels that may be active at any given time and the maximum
                number of bearer channels that can be transported simultaneously by an ADSL system will
                depend on the transport class (as described in 5.1.1.1 through 5.1.1.4) that can be supported by
                the specific loop and on the configuration of the active sub-channels. Switching on demand
                among the configurations allowed by a given transport class is for further study.

                To comply with this standard the ASO sub-channel and at least transport classes 1 (5.1.1.1) and
                4 (5.1.1.4) shall be supported. Support of sub-channels AS1, AS2, AS3, and transport classes 2,
                3, and 2M is optional.

                5.1.1.1 Downstream simplex bearer configurations for transport class 1 (shortest range,
                highest capacity)

                The net simplex bearer capacity on transport class 1 is 6.144 Mbitls, which may be composed of
                any combination of one to four bearer channels with n x 1.536 Mbitls rates. Systems shall
                support at least a 6.144 Mbitls bearer channel on sub-channel ASO. The following transport class
                1 configurations are optional:

                                -     one 4.608 Mbitls bearer channel and one 1.536 Mbitls bearer channel;
                                -     two 3.072 Mbitls bearer channels;
                                -     one 3.072 Mbitls bearer channel and two 1.536 Mbitls bearer channels;
                                -     four 1.536 Mbitls bearer channels.

                5.1.1.2 Downstream simplex bearer configurations for optional transport class 2

                The net simplex bearer capacity on transport class 2 is 4.608 Mbitls, which may be composed of
                any combination of one to three bearer channels with n x 1.536 Mbitls rates. Systems, at their
                option, may provide any and all bearer rates. Transport class 2 configuration options are:

                                -     one 4.608 Mbitls bearer channel;
                                -     one 3.072 Mbitls bearer channel and one 1.536 Mbitls bearer channel;
                                -     three 1 .536 Mbitls bearer channels.

                ADSL sub-channel AS3 shall not be used in this configuration.




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                                                                                                                                       ANSI T1.413-1995
                           5.1.1.3 Downstream simplex bearer configurations for optional transport class 3

                           The net simplex bearer capacity on transport class 3 is 3.072 Mbitls, which may be composed of
                           one or two bearer channels with n x 1.536 Mbitls rates. Systems, at their option, may provide
                           either or both bearer rates. Transport class 3 configuration options are:

                                           -     one 3.072 Mbitls bearer channel;
                                           -     two 1.536 Mbitls bearer channels.

                             ADSL sub-channels AS2 and AS3 shall not be used in this configuration.

                           5.1.1.4 Downstream simplex bearer configurations for transport class 4 (longest range,
                            lowest capacity)

                           Only one downstream simplex bearer option can be supported in transport class 4. The bearer
                           channel capacity of one 1.536 Mbitls bearer channel shall be transported on sub-channel ASO.

                           5.1.2           Optional data rates for downstream simplex bearers based on multiples of 2.048
                            Mbitls

                           ADSL equipment may include channelization options other than those defined in 5.1.1. For
                           example, the rate structure outlined in this subclause accommodates a digital hierarchy based on
                           multiples of 2.048 Mbitls.

                           This 2.048 Mbitls rate structure is optional, both in implementation of equipment and in the
                           provision of service. Equipment or service implementation at the 1.536 Mbitls rate (or multiples)
                           but not the 2.048 Mbitls rate would still fully conform to the standard. Information related to 2.048
                           Mbitls applications may be found in annex H.

                           Bearer channels based on 2.048 Mbitls that may optionally be transported downstream over an
                           ADSL system are
                                   - 2.048 Mbitls;
                                   - 4.096 Mbitls;
                                   - 6.144 Mbitls.

                           The entire framed 2.048 Mbitls structure is treated as a bearer data stream; the use of a lower
                           payload rate is for further study.

                            An ADSL system supporting these options may use up to three of the downstream simplex sub-
                            channels, ASO, AS1, and AS2, to transport the bearer channels. An ADSL sub-channel's rate
                            shall match the rate of the bearer channel that it transports, subject to the restrictions given in
                            table 2.

                                                    Table 2 - ADSL Sub-channel rate restrictions 2.048 Mbitls (optional)
                                                 Sub-channel
                                                 designations           Sub-channel data rate                  Allowable values of Ilx
                                         ASO                           no x 2.048 Mbitls (optional)             no =0, 1, 2, or 3
                                         AS1                           n1 x 2.048 Mbitls (optional)             n1 = 0,1, or 2
                                         AS2                           n2 x 2.048 Mbitls (optional)             n2 = 0 or 1




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                The maximum number of sub-channels that may be active at any given time, and the maximum
                number of bearer channels that can be transported simultaneously by an ADSL system depends
                on the transport class (as described in 5.1.2.1 through 5.1.2.3) that can be supported by the
                specific loop on which the system is deployed, and the configuration of the active sub-channels.

                5.1.2.1 Downstream simplex bearer configurations for optional transport class 2M-1

                The simplex bearer capacity on the optional transport class 2M-1 is 6.144 Mbitls, which may be
                composed of any combination of one to three bearer channels with n x 2.048 Mbitls rates.
                Systems, at their option, may provide any and all bearer rates. Transport class 2M-1
                configuration options are:

                                - one 6.144 Mbitls bearer channel;
                                - one 4.096 MbiVs bearer channel and one 2.048 Mbitls bearer channel;
                                - three 2.048 Mbitls bearer channels.

                5.1.2.2 Downstream simplex bearer configurations for optional transport class 2M-2

                The combined simplex bearer capacity on optional transport class 2M-2 is 4.096 Mbitls, which
                may be composed of one or two bearer channels with n x 2.048 MbiVs rates. Systems, at their
                option, may provide either or both bearer rates. Transport class 2M-2 configuration options are:

                                - one 4.096 MbiVs bearer channel;
                                - two 2.048 Mbitls bearer channels.

                ADSL sub-channel AS2 shall not be used in this configuration.

                5.1.2.3 Downstream simplex bearer configurations for optional transport class 2M-3

                Only one downstream simplex bearer option -2.048 Mbitls transported on ADSL sub-channel
                ASO - can be supported in transport class 2M-3.

                5.1.3           Options for transporting downstream simplex ATM data streams

                 ADSL equipment may also provide the capability to transport ATM data as a single downstream
                 simplex data stream.

                 If this capability is provided the ADSL bearer channel rates shall be based on
                           - n x 1.536 Mbitls user data content, where n = 1 - 4;
                           - AAL 1 cell format (ATM Adaption Layer 1), in which each 53-byte ATM cell transports
                           47 bytes of user data, yielding ATM data cell bit rates of n x 1.536 Mbitls x 53147;
                           - rounding the ATM data cell bit rate up to the nearest integer multiple of 32 kbiVs by
                           insertion of idle cells (and possibly OAM cells as suggested by CCITT Rec. 1.610) by an
                           ATM cell processor on the network side of the V-interface.

                Only the ADSL downstream simplex sub-channel ASO shall be used, resulting in a single
                configuration option for the downstream simplex bearer, and its rate depends on the transport
                clasS as specified in table 3.

                                                                   Table 3 - Downstream ATM data cell bit rates
                                              Transport class                    Bearer channel rate               ATM data cell bit rate
                                         1                                    6.944 Mbitls                     6.928340 Mbitls
                                         2                                    5.216 Mbitls                      5.196255 Mbitls
                                         3                                    3.488 Mbitls                      3.464170 Mbitls
                                         4                                    1.760 Mbitls                     1.732085 Mbitls




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                           5.1.4           Upstream simplex bearers

                           Upstream simplex bearers are for further study.

                           5.2             Duplex bearers

                           Up to three duplex bearer channels may be transported simultaneously by an ADSL system. One
                           of these is the mandatory control (C) channel. Data rates for this channel, which shall always be
                           active, are specified in 5.2.1.

                           Depending on the maximum aggregate rate that can be supported on the specific loop and on the
                           options implemented, specific limitations apply to the other two optional duplex ADSL sub-
                           channels. Only certain allowed combinations of these may be active in any given configuration;
                           these are defined in 5.2.2.

                           5.2.1           Data rates for the control channel (mandatory duplex channel)

                           The C channel shall transport CI to CI (e.g., control of services) and CI-to-network signaling (Le.,
                           call setup and selection of services) for the downstream simplex bearer services, and it may also
                           transport some or all of the CI-to-network signaling for the optional duplex services. For transport
                           classes 4 and 2M-3 the C channel shall operate at 16 kbitls, and be transported within the ADSL
                           synchronization overhead (see 6.2); for all other classes it shall operate at 64 kbitls, and be
                           transported on ADSL sub-channel LSO.

                           5.2.2           Data rates for the optional duplex bearer channels

                           Two optional duplex bearer channels may be transparently transported by an ADSL system,
                           depending on the service offered by the network provider.

                            If these bearer channels are transported the sub-channel aSSignments and data rates shall be:

                                            - ADSL sub-channel LS1 at 160 kbitls;
                                            - ADSL sub-channel LS2 at 384 kbitls or 576 kbitls.

                           The duplex options for the four transport classes are given in table 4.




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                                                                            supportedb
                      Table 4 - Maximum optional duplex bearer channels supported        ,y trans lort c ass
                                                                                        by
                  Transport class               Optional duplex bearers that may be                Active
                                                transported (note 1)        ,                      ADSLsub-
                                                                                                   channels
                  1 or 2M-1 (minimum range)     Configuration 1: 16Q .~bitls + 384 kbitls;         LS1, LS2
                                                Confieuration 2: 576 kbitls only
                                                Configuration                                      LS20nly
                  2, 3 or 2M-2 (mid range)      Configuration 1: 160 kbitls only                   LS10nly
                                                Configuration 2: 384 kbitls only (see note 2)      LS2 only
                  4 or 2M-3 (maximum ranae)
                                       ranee)   160 kbitls only                                    [S1only
                                                                                                                                   ...   ~




                  NOTES
                  1 When the 160 kbitls optional duplex bearer is used to transport ISDN BRA, all signaling assOqjated
                  with the ISDN BRA (160 kbitls) is carried by the D channel of the 28 + D signal embedded in'the 160
                  kbitls. Signaling for the 576 kbitls, 384 kbitls and non-ISDN 160 kbitls duplex bearers may be !ncluded in
                  the C channel, which is shared with the signaling for the downstream simplex bearer channels, .
                  2 Whether transport classes 2, 3, or 2M-2 should support the 576 kbitls optional duplex bearer is for
                  further study.

                5.2.3 Options for transporting duplex ATM data streams on the optional duplex channel
                LS2

                ADSL equipment providers may also at their discretion, provide the capability to transport an ATM
                cell stream on the optional duplex LS2 channel.

                If this duplex ATM transport capability is provided, the bearer channel rates shown in table 5 shall
                be based on:

                                - 384 kbitls or 576 kbitls user data content;
                                - AAL 1 or AAL5 cell format (ATM Adaption Layer 1: each 53-byte ATM cell transports 47
                                bytes of user data) yielding ATM data cell bit rates of 384 x (53/47) kbitls or 576 x
                                (53/47) kbitls;
                                - rounding the ATM data cell bit rate to the nearest integer multiple of 32 kbitls by
                                insertion of idle cells (and possibly OAM cells as suggested by CCITT Recommendation
                                1.610) by an ATM cell processor on the network side of the V-interface
                                                                                              V-interlace and on the
                                service module side of the T-interlace.
                                                              T-interface.

                                                            Table 5 - Optional duplex ATM data cell bit rates for LS2

                                                ADSL optional LS2 channel                       ATM data cell bit rate
                                                           rate
                                                        448 kbitls                                   443.0213 kbitls
                                                       672 kbitls                                   649.5320 kbitls

                          - The configuration options for each transport class are based on the default (non-ATM) data rates.
                          Use of the optional ATM rates may reduce the loop reach or limit the configuration options possible on
                          a given loop.

                5.3             Combined options

                5.3.1           Options for bearer channel rates based on downstream multiples of 1.536 Mbitls

                As specified in 5.1 and 5.2, different ADSL sub-channel and bearer configuration options may be
                provided for each of the transport classes. Within a given transport class, the allowable downstream
                simplex bearer and duplex bearer configurations may be treated independently. The net data rates
                (Le., maximum bearer capacities) based on multiples of 1.536 Mbitls for transport classes 1 and 4
                (and for optional classes 2 and 3 if they are provided), shall be as summarized in table 6.




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                                                              Table 6 - Bearer channel options by transport class for
                                                            bearer rates based on downstream multiples of 1.536 Mbitls
                                  Transport class:                               1                2                         3                        4
                              Downstream simplex bearers:

                                    Maximum capacity                       6.144 Mbitls    4.608 Mbitls           3.072 Mbitls              1.536 Mbitls

                                    Bearer channel options                 1.536 Mbitls,   1.536 Mbitls,          1.536 Mbitls,             1.536 Mbitls
                                                                           3.072 Mbitls,   3.072 Mbitls,          3.072 Mbitls
                                                                           4.608 Mbitls,   4.608 Mbitls
                                                                           6.144 Mbitls

                                 Maximum active sub-                       4 (ASO,AS1,     3 (ASO, AS1,           2 (ASO, AS1)              1 (ASO only)
                                 channels                                  AS2,AS3)        AS2)
                               Duplex bearers:

                                    Maximum capacity                       640 kbitls      608 kbitls             608 kbitls                176 kbitls

                                    Bearer channel options                 576 kbitls,     see note               see note
                                                                           384 kbitls,     384 kbitls,            384 kbitls,
                                                                           160 kbitls,     160 kbitls,            160 kbitls,               160 kbitls,
                                                                           C (64 kbitls)   C (64 kbitls)          C (64 kbitls)             C (16 kbitls)

                                    Max. active sub-channels               3 (LSO, LS1,    2 (LSO,LS1)            2 (LSO,LS1)               2 (LSO,LS1)
                                                                           LS2)            or-(LSO,
                                                                                           or (LSO, LS2)          or -(LSO,
                                                                                                                     (LSO, LS2)

                              NOTE - Whether transport classes 2 or 3 should support the 576 kbitls optional duplex bearer is for
                              fu rther study.
                              further



                            The configuration shall be specified by the BF and BI parameters (described in 6.2, 7.2, and 12.8)
                            for each bearer channel.


                            5.3.2           Options for bearer channel rates based on downstream multiples of 2.048 Mbitls

                            The maximum bearer capacities for the three possible transport classes for the optional bearer
                            rates based on 2.048 Mbitls are summarized in table 7.




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                      Table 7 - Bearer channel options by transport class - optional bearer rates based on
                                            downstream multiples of 2.048 Mbitls

                     Transport class:                                     2M-1                 2M-2                                 2M-3
                 Downstream simplex
                 bearers
                    Maximum capacity                               6.144 Mbitls        4.096 Mbitls                   2.048 Mbitls

                       Bearer channel options                      2.048 Mbitls,       2.048 Mbitls,                  2.048 Mbitls
                                                                   4.096 Mbitls,       4.096 Mbitls
                                                                   6.144 Mbitls

                   Max. active sub-                                3 (ASO,AS1 ,AS2)    2 (ASO,AS1)                     1 (ASO only)
                   channels
                 Duplex bearers
                   Maximum capacity                                640 kbitls          608 kbitls                      176 kbitls

                       Bearer channel options                      576 kbitls,         see note
                                                                   384 kbitls,         384 kbitls,
                                                                   160 kbitls,         160 kbitls,                     160 kbitls,
                                                                   C (64 kbitls)       C (64 kbitls)                   C (16 kbitls)

                       Max. active sub-                            3 (LSO, LS1, LS2)   2 (LSO,LS1 or                  2 (LSO, LS1)
                       channels                                                        (LSO LS2)
                 NOTE - Whether transport class 2M-2 should support the 576 kbiVs optional duplex bearer is for further
                 study.
                 stuctv.

                 The configuration shall be specified by the BF and BI parameters (described in 6.2, 7.2, and 12.8)
                for each bearer channel.


                5.3.3           Options for bearer channel options transporting ATM cell streams

                For optional bearer rates transporting an ATM cell stream in the downstream simplex channel, up
                to four transport classes can be defined. These are roughly equivalent to the default bearer
                transport classes. Only one configuration option is expected to be supported by each transport
                class: that of the single downstream simplex channel carrying the ATM data and the single
                mandatory duplex channel to carry signaling and service control traffic. Equipment and service
                providers may optionally provide duplex bearers over loops that can support a higher aggregate
                ADSL rate than those representative of the transport classes. The optional ATM bearer rates are
                summarized in table 8.




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                                  Table 8 - Bearer channel options by transport class for optional ATM bearer rates

                              Transport class:                                1                  2                       3                        4
                         Downstream simplex bearers

                           Aggregate ATM data cell bit                 6.928340          5.196255               3.464170                 1.732085
                                  rate                                 Mbitls            Mbitls                 Mbitls                   Mbitls

                                Bearer channel rate                    6.944 Mbitls      5.216 Mbitls           3.488 Mbitls             1.760 Mbitls
                                (see note 1)
                                Maximum active                         1 (ASO only)       1 (ASO only)          1 (ASO only)             1 (ASO only)
                                subchannels

                          Duplex bearers

                                Maximum capacity                       64 kbitls         64 kbitls              64 kbitls                16 kbitls

                                Bearer channel options                 e (64 kbitls)      e (64 kbitls)         e (64 kbitls)            e (16 kbitls)

                                Maximum active                         1 (LSO)            1 (LSO)                1 (LSO)                 1 (LSO)
                                subchannels                                                                                              (see note 2)


                          NOTES
                          1 The bearer channel rate is equal to the ATM data cell bit rate rounded up to the nearest integer multiple
                          of 32 kbiVs (an ATM cell processor on the network side of the V-interface performs the rate adjustment by
                          inserting idle cells).
                          2 The 16 kbiVs C channel is carried entirely within the synchronization overhead as described in 6.2; the
                          LSO sub-channel does not appear as a separate byte within the ADSL frame.



                         5.4             ADSL system overheads and aggregate bit rates

                         The aggregate bit rate transmitted by the ADSL system shall include capacity for the following:
                              - the transported simplex bearer channels;
                              - the transported duplex bearer channels;
                              - ADSL system overhead, which includes:
                                  - capacity for synchronization of the simplex and duplex bearers;
                                  - synchronization control for the bearers transported with interleaving delay (interleave
                                  data buffer) and with no interleaving delay ("fast", or low-latency, data buffer);
                                  - an ADSL embedded operations channel, eoc (see note);
                                  - an ADSL overhead control channel, aoc (for on-line adaptation and reconfiguration,
                                  as described in clause 13);
                                  - crc check bytes;
                                  - fixed indicator bits for OAM (Operations, Administration and Maintenance);
                                  - FEe redundancy bytes.

                                         NOTES
                                         1 For the downstream simplex bearer rates based on 1.536 MbiVs, the maximum capacity
                                         available to eoc is approximately 23.7 kbiVs for transport classes 1,2, and 3, and
                                         approximately1 0.7 kbiVs for transport class 4. Actual eoc capacities will depend on the bearer
                                         channel rates and the data synchronization implementation.
                                         2 In addition to the digital transport listed throughout this clause, the ADSL shall also permit the
                                         transport of POTS as a baseband analog signal.




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                  The organization of all the above data streams into ADSL frames and ADSL superframes shall be
                  as given in 6.2 for the downstream data transmitted and in 7.2 for the upstream data.

                  The internal overhead channels and their rates shall be as shown in table 9.


                                                       Table 9 - Internal overhead channel functions and rates

                                                                   Downstream rate                         Upstream rate
                                                                   maximum I minimum I default             maximum I minimum I default
                                                                   Transport classes Transport class 4     Transport classes Transport class 4
                                                                   1,2,3, 2M-1, or   or 2M-3 (maximum      1,2,3, 2M-1, or   or 2M-3 (maximum
                                                                   2M-2 (minimum     range loop)           2M-2 (minimum     range loop)
                                                                   and mid range                           and mid range
                                                                   loops)                                  loops)
                Synchronization
                capacity, shared among                             128/64/96 kbiVs   96/ 64 / 96 kbiVs     64/32/64                      64/32/64
                all bearers (see note 2)                                             (see note 3)          kbiVs                         kbiVs

                Synchronization control                            32 kbiVs          32 kbiVs              32 kbiVs                      32 kbiVs
                and crc, interleave
                buffer
                Synchronization control                            32 kbiVs          32 kbiVs              32 kbiVs                      32 kbiVs
                and crc, fast buffer, plus
                eoc and indicator bits
                          Total                                    192/128/160       160/128/160           128/96/128                    128/96/128
                                                                   kbiVs             kbiVs                 kbiVs                         kbiVs

                NOTES

                1 The overhead required for FEe is not shown in this table.

                2 The shared synchronization capacity includes 32 kbiVs shared among duplex bearers within the interleave
                buffer, 32 kbiVs shared among bearers within the fast buffer, an additional 32 kbiVs shared with downstream
                simplex bearers within the interleave buffer, and an additional 32 kbiVs shared with downstream simplex
                bearers within the fast buffer. The maximum rate occurs when at least one downstream simplex bearer is
                allocated to each type of buffer; the minimum rate occurs when all bearers are allocated to one buffer type.
                Default rate allocates bearers according to defaults described in 6.2 and assumes that all optional duplex
                bearers are implemented.

                3 Only one downstream simplex bearer is available in transport class 4 or 2M-3 (maximum range loops); the
                64 kbiVs for synchronization of the simplex bearer to ADSL framing can appear in only one of the ADSL buffers
                (fast or interleaved).


                  The aggregate transmitted bit rate will depend on the transport class and implementation of
                  optional duplex channels; components of the aggregate transmitted bit rate are summarized in
                  table 10 for downstream transmission and in table 11 for upstream.




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                                                           Table 10 - Determination of aggregate downstream bit rate

                                                        1.536 or       Default bearer channels                                Optional bearers based
                                                        2.048 Mbltls   (n x 1.536 Mbitls)                                     on 2.048 Mbitls
                                                        bearers                                                               (see note 11
                                                                                                                             jsee       1)
                                                        Transport      Transport      Transport         Transport             Transport      Transport
                                                        class 1        class 2 (see   class 3 (see      class 4               c1ass2M-2      class 2M-3
                                                                       note 2)        note 2)                                 (see note 2)
                           Total
                           downstream                   6.144 MbiVs    4.608 MbiVs    3.072 MbiVs        1.536 MbiVs          4.096 MbiVs           2.048 MbiVs
                           simplex
                           bearer
                           capacity
                           caRacity
                           Duplex C                     64 kbiVs       64 kbiVs       64 kbiVs           (see note 3)         64 kbiVs              (see note 3)
                           channel
                           Total for                    0,160,384,     0,160,or       0,160, or          o or 160             0,160, or             oor 160
                           optional                     544,or576      384 kbiVs      384 kbiVs          kbiVs                384kbiVs              kbiVs
                           duplex                       kbiVs
                           bearers                      (see note 4)
                           Total bearer                 6.208-6.784    4.672-5.056    3.136-3.520        1.536-1.696          4.160-4.544           2.048-2.208
                           channel                      MbiVs          MbiVs          MbiVs              MbiVs                MbiVs                 MbiVs
                           capacity                                                                      (see note 5)
                                                                                                        lsee                                        (see note 51
                                                                                                                                                   Jsee       5)
                           Overhead                      128-192       128-192        128-192            128-160              128-192               128-160
                           range (from                   kbiVs         kbiVs          kbiVs              kbiVs                kbiVs                 kbiVs
                           table 9)

                            Aggregate                    6.336-6.976   4.800-5.248    3.264-3.712        1.664-1.856          4.288-4.736           2.176-2.368
                            rate range                   MbiVs         MbiVs          MbiVs              MbiVs                MbiVs                 MbiVs
                            (typical)                    (6.912        (5.216         (3.680             (1.824               (4.704                (2.336
                                                         MbiV~
                                                         MbiVs)        MbiVs)         MbiV~
                                                                                      MbiVs)             MbiVs)               MbiVs)                MbiVs)

                            NOTES

                            1 The optional transport class 2M-1 for bearers based on 2.048 MbiVs has the same combined rates as
                            the default transport class 1.

                           2 If it is determined that transport classes 2, 3, and 2M-2 can support the 576 kbiVs optional duplex bearer,
                           then the maximum total bearer channel capacity and maximum aggregate rate will increase by 32 kbiVs for
                           these classes.

                            3 The 16 kbiVs duplex C channel is transported entirely within the overhead dedicated to synchronization
                            capacity.

                            4 544 kbiVs is required when a 160 kbiVs and a 384 kbiVs optional duplex bearer are both included.

                            5 The duplex C channel is not included in total bearer channel rates for transport classes 4 and 2M-3; it is
                            included in the overhead.

                            6 The overhead reQuired
                                           required for FEC is not shown in this table.




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                                                      Table 11 - Determination of aggregate upstream bit rate

                                                                   Transport class 1         Transport classes 2, 3             Transport class 4
                                                                   or2M-l                     or2M-2                            or2M-3
                                                                                              (see note 11
                                                                                             isee        1)
                    Duplex C channel                               64 kbitls                  64 kbitls                         (see note 2)
                    Total for optional duplex                      0, 160,384, 544, or 576    0, 160, or 384 kbitls             o or 160 kbitls
                    bearers                                        kbitls (see note 3)
                    Total bearer channel                           64-640 kbitls             64 - 448 kbitls                    o- 160 kbitls
                    capacity
                    Overhead range (from                           96 - 128 kbitls           96 - 128 kbitls                    96 - 128 kbitls
                    table 9)

                    Aggregate rate range                           160 -768
                                                                       - 768 kbitls          160 - 576 kbitls                   96 - 288 kbitls
                    (tYPical)                                      (768 kbitls)              (576 kbitls)                       (288 kbitls)

                    NOTES

                    1 If it is determined that transport classes 2, 3, and 2M-2 can support the 576 kbitls optional duplex
                    bearer, then the maximum total bearer channel capacity and maximum aggregate rate will increase by 32
                    kbitls for these classes.

                   2 For transport classes 4 and 2M-3, the duplex C channel is 16 kbitls; this is not included in the total
                   bearer channel rates because it is transported entirely within the overhead dedicated to synchronization
                   capacity.

                    3 544 kbitls obtained when both optional duplex bearers are included.

                    4 The overhead required for FEC is not shown in this table.




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                          5.4.1           Aggregate bit rates for transporting ATM cells

                          The aggregate transmitted bit rate when an ATM data stream is transported depends on the
                          transport class and allocation of channels to interleaved and non-interleaved data buffers (see
                          6.2). Components of the aggregate transmitted bit rate are summarized in table 12.

                                                      Table 12 - Determination of aggregate bit rate for ATM transport
                                                             (n X 1.536 MbiVs x 53/47 optional bearer channels)

                            Transport class                                      1                2                         3                            4
                            Total assigned
                            downstream simplex                         6.944 Mbitls     5.216 Mbitls             3.488 Mbitls                 1.760 Mbitls
                            bearer capacity
                            Duplex C channel                           64 kbiVs         64 kbiVs                 64 kbiVs                     (see note 1)
                            Total for Optional                         o kbiVs          o kbiVs                  o kbiVs                      o kbiVs
                            Duplex Bearers
                            Total Bearer Channel                       7.008 MbiVs      5.280 MbiVs              3.552 MbiVs                  1.760 MbiVs
                            Capacity                                                                                                          (see note 1)
                            Overhead Range (from                       128 -160         128 -160                 128 -160                     128 -160
                            table 9, see note 2)                       kbitls           kbiVs                    kbiVs                        kbitls

                            Aggregate Rate Range                       7.136 to 7.168   5.408 to 5.440           3.680 to 3.712               1.888 to 1.920
                                                                       MbiVs            MbiVs                    Mbitls                       MbiVs

                            NOTES
                            1 The duplex C channel is not included in total bearer channel rate for Transport Class 4; it is included in
                            the overhead.
                            2 Maximum overhead is 160 kbiVs for all transport classes because only one downstream simplex channel
                            is allowed.

                           5.5             Classification by ATU options

                           Subclause 15.1 describes a further classification, which ties together transport payload and loop
                           range based upon whether or not certain options available for the ATU transceivers are used.
                           Category I describes loop ranges and transport payloads using a basic transceiver with no
                           options required. Category II describes loop ranges and transport payloads using options for
                           trellis coding, power boost, and echo cancellation.




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               6               ATU-C functional characteristics

               6_1             ATU-C input and output V interfaces

               The functional data interfaces at the ATU-C are shown in figure 4. Input interfaces for the high-
               speed downstream simplex bearer channels are designated ASO through AS3; inpuVoutput
               interfaces for the duplex bearer channels are designated LSO through LS2. There may also be a
               duplex interface for operations, maintenance and control of the ADSL system.

               The data rates of the input and output data interfaces at the ATU-C for the default configurations
               are specified in this clause. The data rate at a given interface shall match the rate of the bearer
               channel configured to that interface.

               The total net bearer capacity that can be transmitted in the downstream direction corresponds to
               the transport class as described in 5.3; the mix of data rates at the downstream simplex input
               interfaces shall be limited to a combination whose net bit rate does not exceed the net
               downstream simplex bearer capacity for the given transport class. Similarly, the rate of the
               duplex bearer at the LSO interface and the availability of the LS1 and LS2 options shall
               correspond to the transport class as discussed in 5.3.


                                                                   ASO     (nOx 1.536 Mb/s)
                                                                                                   ...
                                                                   AS1     (n 1 x 1.536 Mb/s)
                                                                                                   ..
                                                                   AS2

                                                                   AS3
                                                                           (n2x 1.536 Mb/s)

                                                                           (n3x 1.536 Mb/s)
                                                                                                  -....
                          Digital                                                                 -...
                                                                                                   p



                                                                                                              ATU-C
                                                                                                                                   twisted pair
                                                                                                                                  c::::::::x:::::
                                                    -                          -
                                                                                                  .    ..
                         network
                                                     -             LSO ("C"; 16 or 64 kb/s)


                                                              - - - - -- - - - ...
                                                                     LS1    (160 kb/s)
                                                   ~
                                                                   LS2 (384 or 576 kb/s)
                                                   f4- - - - - - - - - -~
                                                                   Operations, maintenance,

                                                    -                     and control



                                       NOTE-                                       Optional duplex channels
                                                                                         (LS1 and LS2)

                                              Figure 4 - ATU-C V interfaces (rates for default configuration)

               6.1.1            Downstream simplex channels -transmit bit rates

               There are four input interfaces at the ATU-C for the high-speed downstream simplex channels
               based on multiples of 1.536 MbiVs: ASO, AS1, AS2 and AS3 (ASX in general). The data rates at
               these interfaces shall be as defined in table 1.

               Similarly, there are three interfaces for the optional high-speed downstream simplex channels
               based on multiples of 2.048 MbiVs: ASO, AS1, and AS2 (ASX in general). The data rates at these
               interfaces are defined in table 2.




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                                                                                                                                  ANSI T1.413-1995
                           6.1.2 Transmit and receive bit rates for the duplex channels

                           Both input and output data interfaces shall be supplied at the ATU-C for the duplex bearers
                           supported by the ADSL system.

                               NOTE - Two of the duplex channels are optional, as described in 5.2.2; the rate of the third duplex
                               channel depends on the transport class, as defined in 5.2.1.

                           Table 13 shows the data rates that shall be supported by both the input and output interfaces at
                           the ATU-C for the duplex channels for the default configurations.

                                           Table 13 - Interface data rates for duplex channels (default configurations)

                             Duplex channel                                         Data rate
                             LSO (see note 1)                                       16 or 64 kbitls
                             LS1 (see note 2)                                       160 kbitls
                             LS2                                                    384 kbitls or 576 kbitls
                             Operations, maintenance, and control                   vendor specific

                             NOTES
                             1 LSO is also known as the "C" or control channel. It carries the signaling associated with the ASX data
                             streams and it may also carry some or all of the signaling associated with the other duplex data streams.
                             When LS1 transports ISDN BRA, the signaling for LS1 is contained within the ISDN BRA D channel. If
                             LS1 is used to transport a non-ISDN BRA data stream, then its signaling will also be contained in the C
                             channel.

                             2 LS1 may be used to carry ISDN BRA. Refer to 6.2.3 for a description of the frame format used within
                             LS 1 when it carries this service.


                           6.1.3 Payload transfer delay

                           The one-way transfer delay for payload bits in all bearers (simplex and duplex) from the V
                           reference point to the TSM reference point for channels assigned to the fast buffer shall be no
                           more than 2 ms, and for channels assigned to the interleave buffer it shall default to no more than
                           20 ms. The same requirement applies in the opposite direction, from the TSM reference point to
                           the V reference point.

                           6.2 Framing

                           This subclause specifies framing of the downstream signal (ATU-C transmitter). The upstream
                           framing (ATU-R transmitter) is specified in 7.2.

                           6.2.1 Data symbols

                           Figure 2 shows a functional block diagram of the ATU-C transmitter with reference points for data
                           framing. Up to four downstream simplex data channels and up to three duplex data channels
                           shall be synchronized to the 4 kHz ADSL DMT symbol rate, and multiplexed into two separate
                           data buffers (fast and interleaved). A cyclic redundancy check (crc), scrambling, and forward
                           error correction (FEC) coding shall be applied to the contents of each buffer separately, and the
                           data from the interleaved buffer shall then be passed through an interleaving function. The two
                           data streams shall then be tone ordered as defined in 6.5, and combined into a data symbol that
                           is input to the constellation encoder. After constellation encoding, the data shall be modulated to
                           produce an analog signal for transmission across the customer loop.




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                A bit-level framing pattern shall not be inserted into the data symbols of the frame or superframe
                structure. DMT symbol, or frame, boundaries are delineated by the cyclic prefix inserted by the
                modulator (see 6.10). Superframe boundaries are determined by the synchronization symbol,
                which shall also be inserted by the modulator, and which carries no user data (see 6.9.3).

                Because of the addition of FEe redundancy bytes and data interleaving, the data symbols (i.e.,
                bit-level data prior to constellation encoding) have different structural appearance at the three
                reference points through the transmitter. As shown in figure 2, the reference pOints for which
                data framing will be described in the following subclauses are
                         - A (Mux data frame): the multiplexed, synchronized data after the crc has been inserted
                               (synchronization is described in 6.2.2, crc is specified in 6.2.1.3). Mux data frames
                               shall be generated at a nominal 4 kHz rate (i.e., each 250 Jlsec).
                         - B (FEC output data frame): the data frame generated at the output of the FEe encoder
                               at the DMT symbol rate, where an FEe block may span more than one DMT symbol
                               period.
                          - C (constellation encoder input data frame): the data frame presented to the
                               constellation coder.

                 6.2.1.1 Superframe structure

                ADSL uses the superframe structure shown in figure 5. Each superframe is composed of 68
                ADSL data frames, numbered from 0 to 67, which shall be encoded and modulated into DMT
                symbols, followed by a synchronization symbol, which carries no user or overhead bit-level data
                and is inserted by the modulator (see 6.9.3) only to establish superframe boundaries. From the
                bit-level and user data perspective, the DMT symbol rate is 4000 baud (period = 250 Jlsec), but in
                order to allow for the insertion of the sync symbol the transmitted DMT symbol rate shall be 69/68
                 x 4000 baud. Each data frame within the superframe contains data from the fast buffer and the
                interleaved buffer. The size of each buffer depends on the assignment of bearer channels made
                during initialization (see 6.2.1 and 12.8.4). (On-line reassignment of bearer channels is for
                further study.)
                  11(
                  1(                                                                  superframe
                                                                                       (17 msec)



                   ~~I                                           1



                    =
                    crcO-7              Lb.'s 0- 1                                Lb.'s  Lb.'s                          No user or
                        in                  7          1                          8-15   16-23                         bit-level data
                       fa$t,                  ..t~·
                                        in f....t ~•             •- _ _             in  in fast
                    syn¢h      "jyce       -,
                                         j:;i{                        - - - - - byte-
                                                                                taos! _ _ byte
                                                                                          byte
                                                                                           _ _ ____ _  (Note: Lb. = indicator bit)
                       bytes / /                                                byte-----
                                   ~/                                                            ~~-~--
                               /    ,                                                   ---                  ~-----
                                                                                                                                 --- --- -,
                              "/ "/
                  "1.....~I/ <~.
                       <~.-                                                     Jlsec)'-----------.:>~
                                                                                Jlsec)I-----------,>~
                  I
                                   -- --
                                       ----
                                          ---- - - - f r f r a m e (68/69 x 250 J lsec)I--------->   ..
                                        Fast data buffer                                  ,         Interleaved data buffer
                   I                                                                      1
                   1                                                                      I


                  ii~i-F-~-tb-yre--~I-F-~-t-d-ata--~+~,---~J~roo~FEC~un~dan~n~·c~y~I
                      F.a ~ IIF'" - ~tr- . &J. . ;r;.; ed.; :~: :n: :dan: :ri: ;.cIy!. . . . JI- - -:Q~nt_~_le_a_v_ed_d~a~ta~)
                   . Fast byte . Fast data ))
                  J'IIE
                  J'IIE     1 ~                                k
                                                                          J redundancy
                                                                              FECri

                                                                                         >1
                                                                                                     (I-n-te-r-le-av-e-d-d-a-ta. :. .)------i\~,----I
                                                                                              _____(Inter1eaved d a ta)____ l).----f  rf  ~\~.------~
                  1       byte                                            1               1
                  k1               K bytes
                                      f
                                                             --..,.>~!
                                                             --~>~!
                                                             ---il>~!         %sf         :
                                                                              bytes       1<                                                           ""-
                   1      (Mux data frame, point (A))                                     "'~I1~---------
                                                                                          1    ~---- NsJ bytes -----~>
                                                                                                                     "                                 >....,
                  1                                                                       I(Constellation encoder input data frame, point (C))
                  1                                                                       1
                  11(                                      Nf bytes
                                                              byres                   >I
                             (FEC output or constellation encoder input
                                    data frame, points (B),(C))
                                                           Figure 5 - ADSL superframe structure - ATU-C transmitter


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                         Eight bits per ADSL superframe shall be reserved for the crc on the fast data buffer (crcO-crc7),
                         and 24 indicator bits (ibO-ib23) shall be assigned for CAM functions. As shown in figures 5 and 6,
                         the "fast" byte of the fast data buffer carries the crc check bits in frame 0 and the fixed overhead
                         bit assignments in frames 1, 34, and 35. The "fast" byte in other frames is assigned in even-/odd-
                         frame pairs to either the eoc or to synchronization control of the bearer channels assigned to the
                         fast buffer.



                                                                            EVEN NUMBERED FRAMES                                     ODD NUMBERED FRAMES
                                                                                                                          (immediately follow even-numbered
                                                                                                                                   frame to the left)


                                          Frames 0, 1              I=7 Icrro I crc5 I crc4 Icrc3 I =2 I =1 I cn:O I I ib7 I ib6 I ibS I ib4 I ib3 I ib2 I ibl I ibO              ibO


                                        Frames 34,35               Iibl5 I ib14 I Iib12 Iibll IibW I ib9 I ib8 I ib23 I ib22 I ib21 1ilill Iib19 IibiS I ibl7 1ibl6 I
                                                                                ibI3




                                                           eoc     1e0c6 1e0c5 Ieoc4 1=3 Ieoc2 Ieocl I rl I I I
                           Frames
                            2-33,
                                                      Synch
                           36-67
                                                { Control

                                                                   J..bit
                                                                    ~F----- 8 bits
                                                                    ~F'-----8
                                                                    ~F"-----
                                                                   ....           ----~
                                                  Figure 6 - "Fast" byte format - ATU-C transmitter - fast data buffer


                         The indicator bits are defined in table 14.


                                                             Table 14 - Definition of indicator bits, ATU-C transmitter
                                                                        (fast data buffer, downstream direction)

                            Indicator bit                                                         Definition
                            ibO- ib7                                                              reserved for future use
                            ib8                                                                   febe-i
                            ib9                                                                   fecc-i
                            ib10                                                                  febe-ni
                            ib11                                                                  fecc-ni
                            ib12                                                                  los
                            ib13                                                                  rdi
                            ib14 - ib23                                                           reserved for future use

                            NOTE - See clause 11 for definitions of the bits and their use.


                         If bit 0 of the "fast" byte in an even-numbered frame (other than frames 0 and 34) is "1", then the
                         "fast" byte of that frame and the odd-numbered frame that immediately follows is used to carry a
                         13-bit "eoc frame", which is defined in table 15, and on additional bit, r1, which is reserved for
                         future use (set to 1 until assigned otherwise).




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                                                                         Table 15 - eoc frame structure

                                       Bit designation                eoc bit allocation
                                       eoc1,eoc2                      Address (11 = ATU-C, 00 = ATU-R, 01 and 10 reserved)
                                       eoc3                           Data/message indicator bit:
                                                                        "0" = information field contains op code for ADSL eoc
                                                                               message,
                                                                        "1" = information field contains binary or ASCII data.
                                       e0c4                           Odd ("1") I Even ("0") byte indicator for multibyte
                                                                        transmission in data read or write mode
                                       e0c5                           Autonomous ATU-R message indicator bit (see note):
                                                                        "0" = autonomous ATU-R message,
                                                                        "1" = ATU-R response to current eoc protocol state.
                                       eoc6 - eoc13                   Information field.

                                         NOTE - The only autonomous message currently defined for the ATU-R is the "dying
                                         gasp" (11.1.4.4). Other uses of the eoc5 bit are for further study.


                The eoc protocol and message formats are described in 11.1.

               Bit 0 of the "fast" byte in an even-numbered frame (other than frames 0 and 34) shall be set to
               "0", to indicate that the "fast" bytes of that frame and the odd-numbered frame that immediately
               follows are used for synchronization control within their respective frames (the "fast" byte format
               for synch control is described in 6.2.2.1).

                Eight bits per ADSL superframe shall be used for the crc on the interleaved data buffer (crcO -
                crc7). As shown in figures 6 and 7, the "synch" byte of the interleaved data buffer carries the crc
                check bits for the previous superframe in frame O. In a" other frames (1 through 67), the "synch"
                byte shall be used for synchronization control of the bearer channels assigned to the interleaved
                data buffer, or to carry an ADSL overhead control (aoc) channel. When any bearer data streams
                appear in the interleave buffer, then the aoc data shall be carried in the LEX byte, and the "synch"
                byte shall designate when the LEX byte contains aoc data and when it contains data bytes from
                the bearer data streams. When no bearer data streams are allocated to the interleave data
                buffer, Le., all B,(ASX) = B,(LSX) = 0, then the "synch" byte shall carry the aoc data directly (AEX
                and LEX bytes, described in 6.2.1.2, do not exist in the interleave buffer in this case). The format
                of the "synch" byte is described in 6.2.2.2.



                                                 Frame 0                             ere7   I ereS I ereS I ere4 Iere3 I ere2 I ere1 I creO I
                                                  If signals are
                                                  allocated to
                                                                           Synch
                                                                           control   se7      seS        seS   I sc4 I sc3 I sc2 I sc1 I scO
                   Frames 1-67                    interleave buffer

                                             (
                                                  If no signals are
                                                  allocated to             aoe       aoc71 aocsi aocsi aoe41 aoe31 aoe21 aoe1                        I aocO I
                                                  interleave buffer


                               Figure 7 - "Synch" byte format - ATU-C transmitter - interleaved data buffer




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                          6.2.1.2 Frame structure

                           Each frame of data shall be encoded into a multicarrier symbol, as described in 6.3 through 6.6.
                           As is shown in figure 2, each frame is composed of a fast data buffer and an interleaved data
                           buffer, and the frame structure has a different appearance at each of the reference pOints (A, B,
                           and C). The bytes of the fast buffer shall be clocked into the constellation encoder first, followed
                           by the bytes of the interleaved data buffer. Bytes are clocked least significant bit first.

                           Each user data stream shall be assigned to either the fast or the interleaved buffer during
                           initialization (see 12.6.1), and a pair of bytes, [BpBI]' shall be transmitted for each data stream,
                           where BF and BI designate the number of bytes allocated to the fast and interleaved buffers,
                           respectively.

                           The seven possible [Bp~] pairs to specify the downstream bearer channel rates are
                                  - BF(ASX), BI(ASX) for X ==0, 1, 2 and 3, for the downstream simplex channels;
                                  - BF(LSX), BI(LSX) for X = 0, 1 and 2, for the (downstream transport of the) duplex
                                  channels.

                           The rules for allocation are:

                                          - for any data stream, X, except the 16 kbitls C channel option, either BF(X) =   =the data
                                                                                                                          °
                                                                                         = 0, or BF(X) == and BI(X) ==the data rate (in
                                          rate (in kbitls) of the fast buffer and BI (X) =
                                          kbitls) of the interleaved buffer;

                                           - for the 16 kbitls C channel option, BF(LSO) = 255 (binary 11111111) and BI(LSO) =0, or
                                           BF(LSO) ==0 and BI(LSO) ==255.
                           Configurations (Le., sets of [BpBI]) for the four possible transport classes are given in table 16
                           for the default configuration (bearers based on 1.536 Mbitls), and in table 17 for the three
                           possible transport classes for the bearer channel optional rates based on 2.048 Mbitls.

                           On-line reconfiguration (e.g., changing the mix of data channel rates or re-allocation of user data
                           streams between fast and interleaved data buffers, or both) is for further study.

                                 Table 16 - Default fast and interleaved data buffer allocations for ATU-C transmitter-
                                             Configurations for bearers based on multiples of 1.536 Mbitls

                             Signal             B I (Interleaved data buffer)                             B~ (fast data buffer)
                                                                                                          BJ=
                                              Transport            Transport   Transport   Transport     Transport        Transport        Transport         Transport
                                              class 1              class 2     class 3     class 4       class 1          class 2          class 3           class 4
                             ASO                93                  93          48          48            0                0                 0                0
                             AS1                93                  48          48          0             0                0                 0                0
                             AS2                0                   0           0           0             0                0                 0                0
                             AS3                0                   0           0           0             0                0                 0                0
                             LSO                2                   2           2           255           0                0                 0                0
                                                                                              (see
                                                                                             note)
                             LS1                0                   0           0           0             5                 0                0                5
                             LS2                0                   0           0           0             12                12               12               0

                             NOTE - For loop transport class 4, BF(LSO) = 255 or BI(LSO) = 255 indicates a 16 kbitls C channel, which
                             is carried entirely within the synchronization control overhead (LEX byte) as described in 6.2.2; thus, the
                             LSO sub-channel does not appear as a separate byte within the ADSL frame.




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                        Table 17 - Default fast and interleaved data buffer allocations for ATU-C transmitter-
                               Optional configurations for bearers based on multiples of 2.048 Mbitls

                 Signal             B I (Interleaved data buffer)                             BFF (fast data buffer)
                                   Transport       Transport      Transport                  Transport      Transport                     Transport
                                   class 2M-1      class 2M-2     class 2M-3                 class 2M-1     class 2M-2                    class 2M-3
                 ASO                64              64             64                        0                       0                     0
                 AS1                 64                            64           0            0                       0                     0
                 AS2                 64                            0            0            0                       0                     0
                 LSO                 2                             2            255          0                       0                     0
                                                                                (see note)
                 LS1                 0                             0            0            5                       0                     5
                 LS2                 0                             0            0             12                     12                    0

                  NOTE - For transport class 2M-3, ~(LSO) =    =255 or ~(LSO) ==255 indicates a 16 kbitls C channel, which is
                  carried entirely within the synchronization control overhead (LEX byte) as described in 6.2.2; thus, the LSO
                  sub-channel does not appear as a separate byte within the ADSL frame.


                 6.2.1.2.1                       Fast data buffer

                 The frame structure of the fast data buffer shall be as shown in figure 8 for the three reference
                 paints that are defined in figure 2.
                    i
                    i -<                                               Nfbytes                                         >- i
                   :                (FEC Output <r Constellation Encoder Input Data Prame, Reference Points (B), (C) )    :


                  II
                      1(
                                           (Mux D,"
                                           (Mu,  D.,.
                                                          Kfbytes
                                                      Fmme. Refereoce
                                                 Data Fmm,.
                                                      Pmme,           i
                    I~<~---------------------Kfbyte.~s--------------------------~>~I
                   II~<~---------------------Kfbyte:~s--------------------------~>~I
                                                              Reference Porn,
                                                                        Point   Rof""",
                                                                        Porn' (A»
                                                                              (A) )
                                                                                                                 ,. I
                                                                                                                    :
                                                                                                                          I
                                                                                                                          I

                    \ Pastbyte           I Aso~SI~Z£IigS) I I JRed~ncyl                      AEX lEX
                     <          <     >" <
                             >~~~~~--<---->~~
                             >"                > <      >" <     > <     > <     > <      >"~ ~ <              >
                                                                                                               )"
                          1     BF(ASO) BF(ASI) BF          F (AS3) CF(LSO) BF(LSl) BF
                                                   F(AS2) B F                        F (LS2) AF   Lp   RdsfBytes
                        Byte
                        Byte      Bytes    Bytes   Bytes    Bytes    Bytes   Bytes   Bytes Bytes Bytes


                             = 0 if Bp(LSO) ==255 (Binary 11111111),
                     Cp(LSO) =
                               Bp(LSO) otherwise.

                               Nf=Kf+l?dsf,
                                       where Rd;f= numrer        Redundancy Bytes.
                                                   number ci FEC Redundaocy
                                             3                           2
                     and       Kf= 1 ~~ BpCASi) + Ap + ;oBpCLSj) + Lp,
                                                                    3
                                           h:re
                                         where
                                         W         Ap = 0 if l: Bp(ASV = 0,
                                                                   i=O

                                                              1 otherwise,



                                                              1 otherwise

                                                       =1 when BpCLSO) ==255)
                                             (Note: Lp =

                                                               Figure 8 - Fast data buffer - ATU-C transmitter


                 At reference point A (Mux data frame) in figure 2, the fast buffer shall always contain at least the
                 "fast" byte. This is followed by BF(ASO) bytes of channel ASO, then BF   F(AS1) bytes of channel
                 AS1, B FF(AS2) bytes of channel AS2 and B FF(AS3) bytes of channel AS3. Next come the bytes for
                 any duplex (LSX) channels allocated to the fast buffer. If any BF(ASX) is non-zero, then both an


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                                                                                                                                                                        ANSI T1.413-1995

                           AEX and an LEX byte follow the bytes of the last LSX channel, and if any BF(LSX)is non-zero, the
                           LEX byte shall be included.

                           Note that when BF(LSO) = 255, no bytes are included for the LSO channel. Instead, the 16 kbitls
                           C channel shall be transported in every other LEX byte on average, using the synch byte to
                           denote when to add the LEX byte to the LSO data stream.

                           ~! FEC redundancy bytes shall be added to the mux data frame (reference point A) to produce
                           the FEC output data frame (reference point B), where ~f is given in the RATES1 options used
                                                                                                                = 4; for other
                           during initialization. For the default configurations given in tables 16 and 17 Rds! =
                           configuration options, the value shall be given to the ATU-C in some manner (for example, via a
                           host control port). When no data streams are allocated to the fast buffer Rds! == 0 (no FEC
                           redundancy bytes are added). Because the data from the fast buffer is not interleaved, the
                           constellation encoder input data frame (reference point C) is identical to the FEC output data
                           frame (reference point B).

                           6.2.1_2.2                       Interleaved data buffer

                           The frame structure of the interleaved data buffer is shown in figure 9 for reference points A and
                           B, which are defined in figure 2.

                                                                                       Mux Data Rame (Reference Point (A))
                               1-<                                                               Nm,; bytes                                                                                        .1
                               1                                                                                                                                                                     1

                               I Synch byte I ASO SS I AS! SS I AS2 SS I AS3 SS I LSO SS I LSI SS I LS2 SS I AEX I LEX J
                               1"1(               •      0(          •       0(         •       -<        • -<       • -<               »0(              »-<             » ~ ~I
                               1                           B[(ASO)            B[(ASI)           B[(AS2)       B[(AS3)           C[(LSO)         B[(LSl)         B[(LS2)          Oorl        Oorll
                                1       Byte                  Bytes               Bytes              Bytes       Bytes           Bytes            Bytes           Bytes          Byte        Byte 1
                                                                                                                                                                                                      1

                                                                                                                                                            ----- -------
                               r- 1-- . ----j
                                r-N~;by<O'1--N~;bY
                                1
                                    N~,b"o,    N~,b".,'~i
                                      Mux Data Frame #0
                                                                             ----- - - -- ----- -----
                                                                                  Mux Data Frame #1
                                                                                  i
                                                                                                   1



                                                                                                                            I
                                                                                                                                                         1
                                                                                                                                                            Rdsi
                                                                                                                                          1~ Nm,; bytes ~ ~ bytes -->
                                                                                                                                                                      1




                                        N s ,; bytes ~~~ Ns,;
                                1-<--- Ns,i                            ~I
                                                            Ns,i bytes --~~I                                                                            1-<          Ns,i bytes --....;I>
                                                                                                                                                                                        •.:
                                   FEe Output
                                       output Fmme #0  FEC output
                                                           Output Fmme #1                                                                                     FEe Output Frame #(S-1)
                                                (RefPt(B))                                       (RefPt(B))                                                        (Rtf' Pt(B))


                                            q(LSO) = 0 if BI(LSO) = 255 (Binary 11111111),
                                                   =
                                                   = BI(LSO) otrerwise.
                                                                         3                            2
                                                  Nm,j= I +~oBI(ASi) +AI+ j~OBI(LSj) +LI'
                                                                                            3
                                                                       = 0 f 1: BI(ASi) == 0,
                                                              wrere AI =

                                                                                 = I otrerw6e,
                                                                                 =




                                                                                  = I otrerwise.
                                                                                  =

                                                                     (Note: Lr. = I wren BI(LSO) = 255)

                                                    = N m,i + Rd si / S,
                                         and N s, i =
                                                      wrere Rclsi == numrer ci fEe Redundaocy Bytes,
                                                               and           S        = numrerof
                                                                                      = numrerci DMT symbols perFEC codewcrd.

                                                                   Figure 9 -Interleaved data buffer, ATU-C transmitter

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                At reference point A, the mux data frame, the interleaved data buffer shall always contain at least
                the "synch" byte. The rest of the buffer shall be built in the same manner as the fast buffer,
                substituting B, in place of B F• The length of each mux data frame is Nm,;i bytes, as defined in
                figure 9.                                                               '

                The FEC coder shall take in S mux data frames and append Roo FEC redundancy bytes to
                produce the FEC codeword of length NFEC ii =    = S x Nmi + ~ bytes. The FEC output data frames
                shall contain Ns., i = ~EC,II
                                       ~EC.II S bytes, where Ns.,i is an integer. When S > 1, then for the S frames in
                an FEC codeword, the FEC output data frame (reference point B) shall partially overlap two mux
                data frames for all except the last frame, which shall contain the Rdsi FEe redundancy bytes.

                The FEC output data frames are interleaved to a specified interleave depth. The interleaving
                process (see 6.4.2) delays each byte of a given FEe output data frame a different amount, so
                that the constellation encoder input data frames will contain bytes from many different FEe data
                frames. At reference pOint A in the transmitter, mux data frame 0 of the interleaved data buffer is
                aligned with the ADSL superframe and mux data frame 0 of the fast data buffer (this is not true at
                reference point e). At the receiver, the interleaved data buffer will be delayed by S x interleave
                depth x 250 msec (16 msec for the defaults given in tables 18 and 19) with respect to the fast
                data buffer, and frame 0 (containing the crc bits for the interleaved data buffer) will appear a fixed
                number of frames after the beginning of the receiver superframe.

                The FEe coding overhead, the number of symbols per FEe codeword, and the interleave depth
                are listed in tables 18 and 19 for the default configurations (Le., for all ASX signals plus LSO
                allocated to the interleave buffer) in tables 16 and 17. These defaults correspond to the default
                data rates. For other rates and configurations, the coding parameters shall be given to the ATU-
                C in some manner (for example, via a host control port).


                    Table 18 - Default FEC coding parameters and interleave depth for ATU-C transmitter-
                             Default configurations for bearers based on multiples of 1.536 Mbitls

                                                                      't.i                     s                            Interleave depth
              Transport class                        (FECredundancybyms)
                                                     (FECredundancvbyms)            (symbols per codeword)                 (FEC codewords)
               Transport class                                16                               1                                    64
                     1
               Transport class                                        12                       1                                        64
                     2
              Transport class                                         16                       2                                        32
                     3
               Transport class                                        16                       4                                        16
                     4
              S~nch byte only
              Synch                                                    4                       4                                        16




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                                                                                                                                           ANSI T1.413-1995


                                            Table 19- Default FEC coding parameters and interleave depth for ATU-C
                                       transmitter - Optional configurations for bearers based on multiples of 2.048 Mbitls

                         Transport class                                    Rdsi                           S                            Interleave depth
                                                                   (FEC redundancy bytes)   (symbols per codeword)                     (FEC codewords)
                                     2M-1                                    16                            1                                    64
                                     2M-2                                    12                            1                                    64
                                     2M-3                                    12                            2                                    32


                           6.2.1.3 Cyclic redundancy check (crc)

                           Two cyclic redundancy checks (crcs) - one for the fast data buffer and one for the interleaved
                           data buffer - are generated for each superframe and transmitted in the first frame of the following
                           superframe. Eight bits per buffer type (fast or interleaved) per superframe are allocated to the crc
                           check bits. These bits are computed from the k message bits using the equation:

                                                  = J\.1(D) D8 modulo G(D),
                                           crc(D) =

                           where:
                                           J\.1(D) = 1110 Dk-1 EI:) Tn, Ok-2 $ .... EI:) "\-2 D EI:) "\-1' is the message polynomial
                                           G(D) =    = D8 EI:) 0 4 $ D3 EI:) 0 2 $ 1, is the generating polynomial,
                                           crc(D) =  = Co 0 7 EI:) c1 06 EI:) ••••• EI:) Cs 0 EI:) C-r ' is the check polynomial,
                                           EI:) indicates modul0-2 addition (exclusive-or)
                           and             0 is the delay operator.

                           That is, crc is the remainder when J\.1(D) 0 8 is divided by G.

                           The crc check bits are transported in the "fast byte" (8 bits) of frame 0 in the fast data buffer, and
                           the "synch byte"
                           (8 bits) of frame 0 in the interleaved data buffer.

                           The bits covered by the crc include
                                   - fast data buffer:
                                           - frame 0:          ASX bytes (X =0, 1,2,3), LSX bytes (X =0, 1,2),
                                                               followed by any AEX and LEX bytes.
                                           - all other frames: "fast" byte, followed by ASX bytes (X = = 0, 1, 2, 3),
                                                                LSX bytes (X = 0, 1,2), and any AEX and LEX bytes.
                                   - interleaved data buffer:
                                           - frame 0:          ASX bytes (X =0, 1,2,3), LSX bytes (X =0, 1,2),
                                                               followed by any AEX and LEX bytes.
                                           - all other frames: "synch" byte, followed by ASX bytes (X =  = 0, 1, 2, 3),
                                                                LSX bytes (X =  = 0, 1, 2), and any AEX and LEX bytes.
                            Each byte shall be clocked into the crc least significant bit first.

                           The crc field length will vary with the allocation of bytes to the fast and interleaved data buffers
                           (the numbers of bytes in ASX and LSX vary according to the [BF' B1] pairs; AEX is present in a
                           given buffer only if at least one ASX is allocated to that buffer; LEX is present in a given buffer
                           only if at least one ASX or one LSX is allocated to that buffer).

                           Because of the flexibility in assignment of bearer channels to the fast and interleaved data
                           buffers, ere field lengths over an ADSL superframe will vary from approximately 530 bits to
                           approximately 119,000 bits.




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                6.2.2           Synchronization

                The input data streams are synchronized to the ADSL clock using the synchronization control
                byte and the AEX and LEX bytes. Forward-error-correction coding shall always be applied to the
                synchronization control byte(s).

                6.2.2.1 Synchronization for the fast data buffer

                Synchronization control for the fast data buffer can occur in frames 2 through 33 and 36 through
                67 of an ADSL superframe as described in 6.2.1.1, where the "fast" byte may be used as the
                synchronization control byte.

                The format of the "fast" byte when used as synchronization control for the fast data buffer is given
                in table 20.

                                                                    Table 20 - Fast byte format

                         Bits                 Designation                    Codes
                         se7,                 ASX channel designator         "00" : channel ASO
                                sc6                                          "01" : channel AS1
                                                                             "10" : channel AS2
                                                                             "11" : channel AS3

                         sc5,                 Synchronization control for    "00" : do nothing
                                sc4              the designated ASX          "01" : add AEX byte to designated ASX channel
                                                 channel                     "11 H : add AEX and LEX bytes to ASX channel
                                                                                H   :


                                                                             "10" : delete last byte from designated ASX
                                                                                     channel

                         sc3,                 LSX channel designator         "00" : channelLSO
                                sc2                                          "01" : channelLS1
                                                                             "10" : channelLS2
                                                                             "11" : no synchronization action; if sc5, sc4 is not
                                                                                    equal to "11 ", LEX may carry LS2 "start of
                                                                                    frame" verification pointer (see 6.2.4)

                         sc1                  Synchronization control for    11111 :
                                                                                     add LEX byte to designated LSX channel
                                                 the deSignated LSX          "0" : delete last byte from deSignated LSX
                                                 channel                             channel

                         seO                  Synch/eoc designator           "0": perform synchronization control as indicated
                                                                                   in sc7-se1
                                                                             "1" : this byte of current (even-numbered) frame
                                                                                   and of frame that immediately follows is an
                                                                                   eoc frame

                No synchronization action shall be taken for those frames for which the "fast" byte is used for crc,
                fixed indicator bits, or eoc.

                    NOTES

                    1       ADSL deployments may need to interwork with DS1 (1.544 Mbitls) or DS1C (3.152 Mbitls) rates.
                    The synchronization control option that allows adding up to two bytes to an ASX bearer channel provides
                    sufficient overhead capacity to transport combinations of DS1 or DS1 C channels transparently (without
                    interpreting or stripping and regenerating the framing embedded within the DS1 or DS1C). The
                    synchronization control algorithm shall, however, guarantee that the fast byte in some minimum number of
                    frames is available to carry eoc frames, so that a minimum eoc rate (4 kbitls) may be maintained.

                    2       When the data rate of the C channel is 16 kbitls, the LSD sub-channel is transported in the LEX
                    byte, using the "add LEX byte to designated LSX channel", with LSD as the designated channel, every
                    other frame on average.

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                         6.2.2.2 Synchronization for the interleaved data buffer

                          Synchronization control for the interleaved data buffer can occur in frames 1 through 67 of an
                          ADSL superframe as described in 6.2.1.1, where the "synch" byte may be used as the
                          synchronization control byte.

                         The format of the "synch" byte when used as synchronization control for the interleaved data
                         buffer shall be as given in table 21. In the case where no signals are allocated to the interleaved
                         data buffer, the "synch" byte shall carry the aoc data directly, as shown in figure 17 in 6.2.1.1.

                                                                   Table 21 - Synch byte format - Interleaved data buffer

                                   Bits                Designation                        Codes
                                   se7,                ASX channel designator             "00" : channel ASO
                                      sc6                                                 "01" : channel AS1
                                                                                          "10" : channel AS2
                                                                                          "11" : channel AS3

                                   scS,                Synchronization control for        "00" : do nothing
                                      sc4                 the designated ASX              "01" : add AEX byte to designated ASX channel
                                                          channel                         "11" : add AEX and LEX bytes to ASX channel
                                                                                          "10" : delete last byte from deSignated ASX
                                                                                                 channel

                                   sc3,                LSX channel designator             "00" : channel LSO
                                      sc2                                                 "01" : channelLS1
                                                                                          "10" : channelLS2
                                                                                          "11" : do nothing to any LSX channel

                                   se1                 Synchronization control for        "1": add LEX byte to designated LSX channel
                                                          the designated LSX              "0": delete last byte from designated LSX
                                                          channel                              channel

                                   sea                 Synch/aoc designator               "0": perform synchronization control as indicated
                                                                                               in sc7-sc1
                                                                                          "1": LEX byte carries ADSL overhead control
                                                                                               channel data; synchronization control may
                                                                                               be allowed for "add AEX" or "delete" as
                                                                                               indicated in sc7-sc1

                          No synchronization action shall be taken during frame 0, where the "synch" byte is used for crc,
                          and the LEX byte carries the aoc.

                              NOTES

                                      ADSL deployme nts may need to interwork with DS1 (1.544 MbiVs) or DS1 C (3.152 MbiVs) rates.
                              The synchronization control option that allows adding up to two bytes to an ASX bearer channel provides
                              sufficient overhead capacity to transport combinations of DS1 or DS1 C channels transparently (without
                              interpreting or stripping and regenerating the framing embedded within the DS1 or DS1C).

                              2       When the data rate of the C channel is 16 kbitis, the LSD sub-channel is transported in the LEX
                              byte, using the "add LEX byte to designated LSX channel", with LSD as the designated channel, every
                              other frame on average.




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                  ANSI T1.413-1995
                  6.2.3           Frame format of ISDN basic access over LS1

                 When the LS1 channel transports ISDN Basic Access, the framing for this channel shall be a
                 binary equivalent of the frame structure specified for information flow across the ISDN Basic
                 Access Interface pOint, as specified in ANSI T1.601.

                 This frame structure within the LS1 channel may be fixed in state SL3 for the downstream
                 direction, and in state SN3 for the upstream direction. During states where the network, or NT1 is
                 not ready, (as generally conveyed by the act bit set to 0), the 2B+D fields shall be set to all ones
                 before scrambling. If the ATU is unable to provide SN3 or SL3, then the LS1 channel bytes shall
                 be filled with all ones. State definitions for SN3, SL3, and the act bit are specified in ANSI
                 T1.601.

                  The ISDN Basic Access maintenance definitions and positions, as prescribed by ANSI T1.601 ,
                  shall retain their definitions across the LS1 channel.


                  6.2.4           Framing for 384/576 kbitls applications over LS2 (optional)

                  When the LS2 channel transports 384 or 576 kbiVs applications that require frame integrity, and
                  the LS2 channel is allocated to the non-interleaved data buffer, the ADSL system may, as an
                  option, provide byte and frame integrity of the bearer service channel.

                  If this option is provided, the ADSL system shall provide byte integrity by mapping the bearer
                  service channel's bytes into ADSL sub-channel LS2 bytes (Le., mapping bytes across the V- and
                  T-interfaces).

                  The ADSL system shall provide frame integrity by
                        - transmitting a non-zero value for the LS2 frame-size parameter during initialization to
                        indicate to the receiver that the LS2 channel should provide frame integrity;
                        - locally generating framing indication at the receiver, and passing this framing along
                        with the LS2 data stream to the service module at the CI or to the network at the network
                        side of the ADSL link;
                        - transmitting a frame verification pointer when certain conditions allow across the "U"
                        Interface;
                        - statistically verifying the bearer service channel framing to the locally-generated
                        framing indication at the receiver.

                  The LS2 frame-size parameter, FS(LS2), shall be in bytes per (bearer service) frame. For
                  example, for 384 kbiVs service:
                                                          =                              =
                         - BF(LS2) 384 kbiVs 1(32 kbiVslbyte/ADSL frame) 12 bytes per ADSL frame;

                                                                                               =6 bytes per bearer
                                  - FS(LS2) = 384 kbiVs I (64 kbiVslbytelbearer service frame) =
                                  service frame.

                  FS(LS2) shall be set to zero (0) to indicate that framing is not required for the service transported
                  by ADSL sub-channel LS2, or that the transmitter does not provide this option. In either case, no
                  frame verification pointers will be sent by the transmitter.

                  The ATU-C transmitter may transmit a frame verification pointer when all of the following
                  conditions are satisfied:
                          a) LS2 is allocated to the fast data buffer;
                          b) the LS2 frame size is non-zero;
                          c) no synchronization action is required on any of the ADSL LSX sub-channels in the
                              current frame;
                          d) the LEX byte is not used for "add 2" synchronization for any of the ADSL ASX sub-
                              channels in the current frame;
                          e) the transmitter has a valid verification pOinter value available for the current frame.




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                                                                                                                                     ANSI T1.413-1995
                               NOTES

                               1 Condition (c) is satisfied when bits sc3, sc2 (table 21) in the fast byte of frames 2 through 33 or 36
                               through 67 are "11" and bit scO is "0", or the fast byte of the current frame carries crc or indicator bits (Le.,
                               frame numbers 0, 1, 34, and 35).

                               2 Condition (d) is satisfied when bits sc5, sc4 in the fast byte of frames 2 through 33 or 37 through 67 are
                               "00", "01", or "10" and bit scO is "0".

                               3 The transmitter is not required to transmit a verification pointer in all frames that satisfy conditions (c)
                               and (d).

                           The frame verification pointer, when transmitted, shall be placed in the LEX byte and shall contain
                           the number of the byte within the current frame's LS2 sub-channel that is the first byte of a bearer
                           service frame, with the first byte of the LS2 sub-channel being byte number zero (O).

                           When conditions (a) through (d) above are satisfied but the transmitter does not have a
                           verification pOinter value to insert, the LEX byte shall be filled with binary 1's to indicate that it
                           does not contain a verification pOinter. The receiver shall use the verification pOinter only when it
                           falls within a valid range for the configured LS2 rate (Le., 0 through [B F(LS2)-1]).

                           6.3             Scramblers

                           The binary data streams output from the fast and interleaved buffers shall be scrambled
                           separately using the following algorithm for both:



                           where d n is the n-th output from the fast or interleaved buffer (Le., input to the scrambler), and dn'
                           is the n-th output from the corresponding scrambler.

                           These scramblers shall be applied to the serial data streams without reference to any framing or
                           symbol synchronization. Descrambling in receivers can likewise be performed independent of
                           symbol synchronization.

                           6.4             Forward error correction

                           6.4.1           Reed-Solomon coding

                           R (Le., ~f or Rooi) redundant check bytes Co ' c1 ' ••• , cR -2 ' CR-1 shall be appended to K message
                           bytes 11b, ~ , ... , mK -2' mK .1 to form a Reed·Solomon code word of size N =     =K + R bytes. The
                           check bytes are computed from the message byte using the equation:

                                                = M(D} DR modulo G(D}
                                           C(D} =
                           where:
                                                = 1110 DK-1 E9 ~ DK-2 E9 ... E9 mK-1 D E9 mK is the message polynomial,
                                           M(D} =
                                                = Co DR-1 E9 c1 DR-2 E9 ... E9 CR -2 D E9 CR -1 is the check polynomial,
                                           C(D) =

                           and G(D) =             n
                                          = (D E9 ai ) is the generator polynomial of the Reed-Solomon code, where the index
                           of the product runs from i =    =0 to R-1. That is, C(D} is the remainder obtained from dividing A(D}
                           DR by G(D). The arithmetic is performed in the Galois Field GF(256}, where a is a primitive
                           element that satisfies the primitive binary polynomial ~ E9 XI- E9 ~ E9 X2- E9 1. A data byte (d 7' d s'
                           .. , , d 1 , do) is identified with the Galois Field element d7 a 7 E9 dsa 6 E9 ... E9 d 1a E9 do

                           The number of check bytes R, and the codeword size N vary, as explained in 6.2.




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                 6.4.2           Interleaving

                 The Reed-Solomon codewords in the interleave buffer shall be convolutionally interleaved. The
                 interleaving depth varies, as explained in 6.2, but it shall always be a power of 2. Convolutional
                 interleaving is defined by the rule:

                                 Each of the Nbytes Bo' B1, ••• , BN-l in a Reed-Solomon codeword is delayed by an
                                 amount that varies linearly with the byte index. More precisely, byte B; (with index i) is
                                 delayed by (0.1) * ibytes, where 0 is the interleave depth.

                 An example for N = 5, 0 = 2 is shown in table 22, where Bj; denotes the i-th byte of the j-th
                 codeword.

                                                Table 22 - Convolutional interleaving example for N = 5, D 2                 =
               Inter-
               leaver             aio             ait              ai2   ai3     ai4    Bi+10       [3i+1t         ai+12          ai+13          ai+14
               input
               Inter-
               leaver             aio             ai-13            ait   ai-14   ai2    Bi+ 10      ai3            ai+1t          ai4            ai+12
               out~ut
               output

                 With the above-defined rule, and the chosen interleaving depths (powers of 2), the output bytes
                 from the interleaver always occupy distinct time slots when N is odd. When N is even, a dummy
                 byte shall be added at the beginning of the codeword at the input to the interleaver. The resultant
                 odd-length codeword is then convolutionally interleaved, and the dummy byte then removed from
                 the output of the interleaver.

                 6.5             Tone ordering

                 A OMT time-domain signal has a high peak-to-average ratio (its amplitude distribution is almost
                 Gaussian), and large values may be clipped by the digital-to-analog converter. The error signal
                 caused by clipping can be considered as an additive negative impulse for the time sample that
                 was clipped. The clipping error power is almost equally distributed across all tones in the symbol
                 in which clipping occurs. Clipping is therefore most likely to cause errors on those tones that, in
                 anticipation of higher received SNRs, have been assigned the largest number of bits (and
                 therefore have the densest constellations). These occasional errors can be reliably corrected by
                 the FEC coding if the tones with the largest number of bits have been assigned to the interleave
                 buffer.

                 The numbers of bits and the relative gains to be used for every tone are calculated in the ATU-R
                 receiver, and sent back to the ATU-C according to a defined protocol (see 12.9.8). The pairs of
                 numbers are typically stored, in ascending order of frequency or tone number i, in a bit and gain
                 table.

                 The "tone-ordered" encoding shall assign the first BF bytes (8B F bits) from the symbol buffer (see
                 6.2) to the tones with the smallest number of bits assigned to them, and the remaining BI bytes
                 (8 BI bits) to the remaining tones.

                 The ordered bit table b'; shall be based on the original bit table b; as follows:

                                       For k = 0 to 15
                                            From the bit table, find the set of all iwith the number of bits per tone b;= k
                                            ASSign bito the ordered bit allocation table in ascending order of i




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                            A complementary de-ordering procedure should be performed in the ATU-R receiver. It is not
                            necessary, however, to send the results of the ordering process to the receiver because the bit
                            table was originally generated in the ATU-R, and therefore that table has all the information
                            necessary to perform the de-ordering.


                            6_6 Constellation encoder - with trellis coding

                            Block processing of Wei's 16-state 4-dimensional trellis code is optional to improve system
                            performance. An algorithmic constellation encoder shall be used to construct constellations with
                            a maximum number of bits equal to Ndownmax (S; 15).

                            6.6.1           Bit extraction

                            Data bytes from the DMT symbol buffer shall be extracted according to a re-ordered bit allocation
                            table bj, least significant bit first. Because of the 4-dimensional nature of the code, the extraction
                            is based on pairs of consecutive bj, rather than on individual ones, as in the non-trellis-coded
                            case. Furthermore, due to the constellation expansion associated with coding, the bit allocation
                            table specifies b'; , the number of coded bits per tone, which can be any integer from 2 to 15.
                            Given a pair (x,y) of consecutive bi, x+y-1 bits (reflecting a constellation expansion of 1 bit per 4
                            dimensions, or one half bit per tone) are extracted from the DMT symbol buffer. These z =        =x+y-1
                            bits ( t z , tz-1 ' ... , t1 ) are used to form the binary word u as shown in table 23. The tone ordering
                            procedure ensures x::; y. Single-bit constellations are not allowed because they can be replaced
                            by 2-bit constellations with the same average energy. Refer to 6.6.2 for the reason behind the
                            special form of the word u for the case x =        =0 , y> 1.
                                                                          Table 23 - Forming the binary word u

                                                                   Condition            Binary word I comment
                                                                   x>1,y>1              u = ( tt,.... t,..1' ... , t1 )
                                                                   x=1,y~1              Condition not allowed
                                                                   x=0,y>1                       t~1 , ... , t2, 0, t1, 0 )
                                                                                        u = (tZ' t"'1
                                                                   x=0,yS;1             Bit extraction not necessary, no
                                                                                        message bits being sent


                            The last two 4-dimensional symbols in the DMT symbol shall be chosen to force the constellation
                            state to the zero state. For each of these symbols, the 2 LSBs of u are pre-determined, and only
                            x+y-3 bits are extracted from the DMT symbol buffer.

                            6.6.2           Bit conversion

                            The binary word u = ( ut ' ut -1 , ••• , u 1 ) determines two binary words v = (v.t_ y ,... , vo) and w= (w}'-
                            1"'" Wo), which are used to look up two constellation pOints in the encoder constellation table.
                            For the usual case of x >1 and y >1, i =       = z == x+y-1, and v and w contain x and y bits
                            respectively. For the special case of x =    = 0 and y> 0, :i == z+2 == y+ 1, v= (v1 ' vo) == 0 and w= (w}'-
                            1"'" wo)' The bits (U3,U2,U1) determine (V1' vo) and (~,%) according to figure 10.




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                      ________________________________________________________
                                                                             ..
                                                                                                                                                 ~
                                                                                                                                                    ~Wy-l




                                                                                                                                                            W y _1
          Ut

                      -----------------------~
                                             ~~-2
                                             . . ~-2
          Uz'_l



                  ----------------~--------------------------------------~....
                                                                          .... W2
                                                                               W 2
          UZ '_y+3

                                                                                                                                                 ~V
           Uz'-y+2                                                                                                                                          z'-y

                                                                                                                                                 ~
           UZ'-y+l                                                                                                                                         V
                                                                                                                                                           V z'-y-l




                                                                                               ....
                                                                                               ~
                                                                                                       V1=U lEf> u 3                            ----
                                               ..                                      U
                                                                                           2


                                                                                               ..      VO= U 3
                                                                                                                                                  .....
                                                                                                                                                ........

                                               ..                                                                                              ----
                                                                                               ..
                                                                                       Ul
                                                         Convolutional                         ~

                                               ~
                                                           Encoder
                                                                                       Uo
                                                                                                       ~=uoe u 1
                                                                                                             Ef> U2 Ef> u 3
                                                                                                       Wo = U 2 Ef> U3
                                                                                                                                                 ..
                                                                                                                                                 ~




                                                                   Figure 10 - Conversion of u to v and w


               The convolutional encoder shown in figure 10 is a systematic encoder ( i.e. u1 and u2 are passed
               through unchanged) as shown in figure 11. The states (53' 52' 51' 50) are used to label the
               states of the trellis shown in figure 12. At the beginning of a DMT symbol period the states are
               initialized to (0, 0, 0, 0).

               The remaining bits of vand ware obtained from the less significant and more Significant parts of
               (ut , ut -1 ' •• , u4), respectively. When x >1 and y> 1, V= (uz'-Yi2 ' Uz'-y+1' ••• , u4' v1 ' Yo)       =(ut ,
                                                                                                               va) and w =
               ut _1 ' ... , uz'-y-l3'       w.,
                                          wo)· The bit extraction and conversion algorithms have been judiciously
               designed so that when x =        = 0, v1 == Vo = o.
                                                           va = O.




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                                                                                                                                                                           ......
                           U                                                                                                                                      U
                                                                                                                                                                  U11
                                1l                                                                                                                                   .........
                                          S                                    S                     S                                           S
                                              2                                    1                     3                                           0
                                                                   ~Ir
                                                                   ~r
                                                                                                                   ,llrr                                            U
                                                                                                                                                                         o..
                           ~               D           ~
                                                       ,. ~ .              ~
                                                                                D            ..
                                                                                             ~
                                                                                                       D        ~~
                                                                                                                 . ~
                                                                                                                   ~ ;/
                                                                                                                     ~
                                                                                                                         ..
                                                                                                                              jt..
                                                                                                                              ~
                                                                                                                                          --"
                                                                                                                                                    D                    --".




                                                                   Figure 11 - Finite state machine for Wei's encoder

                            In order to force the final state to the zero state (0,0,0,0), the 2 LSBs u 1 and u 2 of the final two 4-
                            dimensional symbol in the DMT symbol are constrained to u 1 =      = S1 == Sa, and u2 == S2.




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                 ( Ss, S21 S11 SO)

                           0246                      O~~~~--------------~~O                                           o          0426

                            1357                                                                                                 2604

                            2064                     2                                                                2          4062

                            3175                     3                                                                 3          6240

                           4602                     4                                                                 4           1537

                           5713                                                                                                  3715

                            6420                     6                                                                 6          5173

                           7531                      7                                                                 7          7351

                           2064                     8                                                                 8           2604

                           3175                      9                                                                 9          0426

                           0246                                                                                       A           6240

                           1357                                                                                        B         4062

                           6420                                                                                       c           3715

                           7531                                                                                       D           1537

                            4602                                                                                       E          7351

                           5713                          ~====----------=::~ F
                                                                             F                                                    5173
                                                                   Figure 12 - Trellis diagram




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                        6_6.3           Coset partition and trellis diagram

                        In a trellis code modulation system, the expanded constellation is labeled and partitioned into
                        subsets ("cosets") using a technique called mapping by set-partitioning. The four-dimensional
                        cosets in Wei's code can each be written as the union of two Cartesian products of two 2-
                        dimensional cosets. For example, C4 0 = (C;O x c; 1)u(c;2 x c;3). The four constituent 2-
                        dimensional cosets, denoted by c;O, c; 1, c;2, c;3, are shown in figure 13.



                                                                              3        3            3               3

                                                                         0    2   0    2    0       2       0       2

                                                                              3        3            3               3

                                                                         0    2   0    2     0      2       0       2

                                                                              3        3            3               3

                                                                         0    2    0   2     0      2       0       2

                                                                              3        3            3               3

                                                                         0    2    0   2     0      2       0       2


                                                         Figure 13 - Constituent 2-dimensional cosets for Wei's code

                         The encoding algorithm ensures that the 2 least significant bits of a constellation point comprise
                         the index i of the 2-dimensional coset C/in which the constellation pOint lies. The bits (v1 , vo)
                         and (W1' wo) are in fact the binary representations of this index.

                         The three bits (U 2 ,U1 ,UO) are used to select one of the 8 possible four-dimensional cosets. The 8
                         cosets are labeled C/ where i is the integer with binary representation (U 2 ,U 1,uo). The additional
                         bit u3 (see figure 10) determines which one of the two Cartesian products of 2-dimensional
                         cosets in the 4-dimensional coset is chosen. The relationship is shown in table 24. The bits
                         (V1 ,vo) and ( ~ ,wo) are computed from (u 3 ' u2 ' u1' uo) using the linear equations given in
                         figure 10.




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                                       Table 24 - Relation between 4-dimensional and 2-dimensional co sets

                                              4-DCoset                ~~~Lb
                                                                      ~".2~Lb        Vi Vo
                                                                                        Vn   Wi Wn
                                                                                                WO          2-D Cosets
                                              CO                       o0    0   0   o0      o 0            C;O x C;O
                                               "                       1 0   0   0   1 1      1 1
                                                                                                            C}xC}
                                                                                                            C;3 X C;3
                                              C4                       0 1 0     0   0 0     1 1            C;O X C;3
                                               "                       1 1 0     0   1 1     0 0            c,3 X c,0
                                              C~ 2                     0 0   1 0     1 0     1 0            C;2 X C;2
                                                "                      1 0   1 0     0 1     0 1            C;1 X C;1
                                              C6
                                                ~
                                                                       0 1   1 0     1 0     0 1            C;2XC;1
                                               "                       1 1   1 0     0 1     1 0            C;1
                                                                                                            £;1 X C;2
                                                                                                                X£;2
                                              C1
                                                ~
                                                                       0 0   0   1   0 0     1 0            C;O X C;2
                                               "                       1 0   0   1   1 1     0 1            c,3 X
                                                                                                            c}  x C,1
                                                                                                                  <;1
                                              C5
                                               ~
                                                                       0 1 0     1   0 0     0 1            C;O X C;1
                                                "                      1 1 0     1   1 1     1 0            c,3 X c}
                                                                                                            c}x   c,2
                                              C3
                                               ~
                                                                       0 0   1   1   1 0     0 0            C;2 X C;O
                                                "                      1 0   1   1   0 1     1 1            c,1  xC 2 3
                                                                                                            c;,1 xC?3
                                              C7
                                               ~
                                                                       0 1   1   1   1 0     1 1            C;2 X C;3
                                                "                      1 1   1   1   0 1     0 0            c., 1 X c.,0
                                                                                                            c,1xc,°




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                          Figure 12 shows the trellis diagram based on the finite state machine in figure 11. and the one-to-
                          one correspondence between (U2.U1.Uo) and the 4-dimensional cosets. In the figures. 8 =
                          (83,~,81'So) represents the current state. while T =                         r;.
                                                                                 = (7;. 7;.1'0) represents the next state in the
                          finite state machine. 8 is connected to T in the constellation diagram by a branch determined by
                          the values of u 2 and u 1 . The branch is labeled with the 4-dimensional coset specified by the
                          values of u2 • u1 (and Uo=  = 8 0 • see figure 11). To make the constellation diagram more readable.
                          the indices of the 4-dimensional coset labels are listed next to the starting and end points of the
                          branches. rather than on the branches themselves. The leftmost label corresponds to the
                          uppermost branch for each state. The constellation diagram is used when decoding the trellis
                          code by the Viterbi algorithm.

                           6.6.4           Constellation encoder

                           For a given sub-channel. the encoder shall select an odd-integer point (X. Y) from the square-grid
                           constellation based on the b bits {Vb _1 • vb -2' .... v1 • vol. For convenience of description. these b bits
                           are identified with an integer label whose binary representation is (Vb -1 • vb -2' .... v1 • vo). For
                           example, for b=2. the four constellation points are labeled 0.1,2.3 corresponding to (Vl' vo) =        = (0.0).
                           (0.1). (1.0). (1.1). respectively.

                           6.6.4.1 Even values of b

                           For even values of b. the integer values X and Y of the constellation point (X, y) shall be
                           determined from the b bits {Vb _1 • vb -2' ... , v1 • vol as follows. X and Yare the odd integers with
                           twos-complement binary representations (Vb -1 • Vb -3' ... , v1 • 1) and (vb -2' Vb4 .... , vO' 1). respectively.
                           The most significant bits (MSBs). Vb-1 and vb -2' are the sign bits for X and Y. respectively. Figure
                           14 shows example constellations for b =        = 2 and b= 4.
                                                                                              9         11                3

                                                                        21   0 _              8         10        o       2


                                                                       ~                      13

                                                                                              12
                                                                                                        15

                                                                                                        14
                                                                                                                  5

                                                                                                                  4
                                                                                                                          7

                                                                                                                          6


                                                                   Figure 14 - Constellation labels for b = 2 and b = 4

                           The 4-bit constellation can be obtained from the 2-bit constellation by replacing each label n by
                           the 2 x 2 block of labels:
                                                                       4n+1     4n+3
                                                                       4n       4n+2

                           The same procedure can be used to construct the larger even-bit constellations recursively.

                           The constellations obtained for even values of b are square in shape. The least significant bits
                           {Vl' vol represent the coset labeling of the constituent 2-dimensional cosets used in the 4-
                           dimensional Wei trellis code.


                           6.6.4.2 Odd values of b, b =3

                           Figure 15 shows the constellation for the case b = 3.




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                                                                                               5

                                                                                  4   2        o
                                                                                      3                7

                                                                                      6

                                                                   Figure 15 - Constellation labels for b = 3            =
                6.6.4.3 Odd values of b, b>3

                If b is odd and greater than 3, the 2 MSBs of X and the 2 MSBs of Yare determined by the 5
                MSBs of the b bits. Let c =     = (b+ 1)/2, then X and Y have the twos-complement binary
                                    (XC'X(>1 ,V
                representations (XC'X(>1'         , vb -6' ••. , v3 ',v
                                              Vb4 ,V                  v1',1)         Y(>1 ,Vb-fpVb-'7,Vb-9'···'
                                                                          1) and (Yo Y(>1' Vb-fi' vb -'7' vb -9'···' v2 ',v
                                                                                                                          vo,1),
                                                                                                                            ,1), where Xcand Yc
                are the sign bits of Xand Y respectively. The relationship between XC' Xo- 1' YC' Yo- 1 and Vb _1' vb -2'
                ••. , vb-5 is shown in the table 25.


                                                              Table 25 - Determining the top 2 bits of X and Y

                                               V~1 ,,v~~,
                                                     v~."          ...
                                                                   .•. ,,vhJ;
                                                                         vhJ;             x" , X".1
                                                                                          X,.,X ...1                 V,., V
                                                                                                                     V"'   ...1
                                                                                                                          V".1
                                               00000                                      00                         00
                                               00001                                      00                         00
                                               00010                                      00                         00
                                               00011                                      00                         00
                                               00100                                      00                         11
                                               00101                                      00                         11
                                               00110                                      00                         11
                                               00111                                      00                         11
                                               01000                                      11                         00
                                               01001                                      11                         00
                                               01010                                      11                         00
                                               0101 1                                     11                         00
                                               01100                                      11                         11
                                               01101                                      11                         11
                                               0111 0                                     11                         11
                                               01 1 1 1                                   11                         11
                                               10000                                      01                         00
                                               10001                                      01                         00
                                               10010                                      10                         00
                                               1001 1                                     10                         00
                                               10100                                      00                         01
                                               10101                                      00                         10
                                               1 011 0                                    00                         01
                                               1 01 1 1                                   00                         10
                                               11000                                      11                         01
                                               11 001                                     11                         10
                                               11 010                                     11                         01
                                               1 1 01 1                                   11                         10
                                               11100                                      01                         11
                                               1 1 1 01                                   01                         11
                                               1 1 110
                                                   110                                    10                         11
                                               1 1 111
                                                   111                                    10                         11




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                                                                                                                                        ANSI T1.413-1995

                           Figure 16 shows the constellation for the case b = 5.


                                                                                 24    26   20    22

                                                                            19   00    11   01     CX3    17

                                                                            18   00    10   00     02      16

                                                                            31   13    15   05     07      29

                                                                            3)   12    14   04     06      28

                                                                                 25    27   21     23

                                                                   Figure 16 - Constellation labels for b = 5       =
                           The 7-bit constellation shall be be obtained from the 5-bit constellation by replacing each label n
                           by the 2 x 2 block of labels:

                                                                                  4n+l      4n+3
                                                                                  4n        4n+2

                           The same procedure shall then be used to construct the larger odd-bit constellations recursively.
                           Note also that the least significant bits { v1 ' vol represent the coset labeling of the constituent 2-
                           dimensional co sets used in the 4-dimensional Wei trellis code.


                           6.7 Constellation encoder - without trellis coding

                           An algorithmic constellation encoder shall be used to construct constellations with a maximum
                           number of bits equal to Ndownmax (~ 15). The constellation encoder shall not use trellis coding with
                           this option.

                           6.7.1           Bit extraction

                           Data bytes from the DMT symbol buffer shall be extracted according to a re-ordered bit allocation
                           table b'i' least significant bit first. The number of bits per tone, b'i' can take any non-negative
                           integer values not exceeding Ndownmax' with the exception of b'i = 1. For a given tone b';= b bits
                           are extracted from the DMT symbol buffer, and these bits form a binary word {Vb .1 ,vb -2' ••• , v1 ' vol.

                           6.7.2           Constellation encoder

                           The constellation encoder shall be as specified in 6.6.4.

                           6.8             Gain scaling

                            A gain adjuster, 9 ( is used to effect a frequency-variable transmit power spectral density (PSD). It
                            may have two factors:

                                           - a gross gain adjustment of either 1.414 or 2.0 (Le., 3 or 6 dB), which may be required
                                           for sub-carriers # 51 and above (see 12.9.8);
                                           - a fine gain adjustment with a range of approximately 0.8 to 1.2 (Le., a +1.5 dB), which
                                           may be used to equalize the expected error rates for all the sub-channels.

                                                                       =X; + jY;, output from the encoder is multiplied by g;:
                            Each pOint, (X;, Y), or complex number, Z; =
                            Z;' = g;Z;



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                         NOTE - The 9; define a scaling of the root mean square (rms) sub-carrier levels relative to those used
                         in C-MEDLEY (see 12.6.6). They are independent of any methods that manufacturers may use to
                         simplify implementation (e.g., constellation nesting).

                 6.9 Modulation

                 6.9.1           Sub-carriers

                 The frequency spacing, fl.f, between sub-carriers shall be 4.3125 kHz, with a tolerance of + 50
                 ppm.

                 6.9.1.1 Data sub-carriers

                 The channel analysis signal defined in 12.6.6 allows for a maximum of 255 carriers (at
                 frequencies nM, n =      = 1 to 255) to be used. If echo cancelling (EC) is used to separate
                 downstream and upstream signals, then the lower limit on n is determined by the AOSUPOTS
                 splitting filters; if frequency division multiplexing (FOM) is used the lower limit is set by the down -
                 up splitting filters. The cut-off frequencies of these filters are completely at the discretion of the
                 manufacturer because, in either case, the range of usable n is determined during the channel
                 estimation.

                 6_9.1.2 Pilot

                                = 276 kHz) shall be reserved for a pilot; that is b64 == 0 and g64 == 1. The data
                 Carrier #64 (f =
                 modulated onto the pilot sub-carrier shall be a constant {O,O}. Use of this pilot allows resolution of
                 sample timing in a receiver modul0-8 samples. Therefore a gross timing error that is an integer
                 multiple of 8 samples could still persist after a micro-interruption (e.g., a temporary short-circuit,
                 open circuit or severe line hit); correction of such timing errors is made possible by the use of the
                 synchronization symbol defined in 6.9.3.

                 6_9.1_3 Nyquist frequency

                 The carrier at the Nyquist frequency (#256) shall not be used for data; other possible uses are for
                 further study.

                 6.9.2           Modulation by the inverse discrete Fourier transform (10FT)

                 The modulating transform defines the relationship between the 512 real values xk and the Z;'

                           511             • k.

                   k
                      Iexp(~)
                  x = Iexp(J7t: ') Z                          for k = 0 to 511
                           i=O            256           f


                 The encoder and scaler generate only 255 complex values of Zj I (plus zero at dc, and one real
                 value if the Nyquist frequency is used). In order to generate real values of xk these values shall be
                 augmented so that the vector Z has Hermitian symmetry. That is,

                 Z; == conj (Z512-;
                     I                            I )              = 257 to 511
                                                             for i =

                 6.9.3           Synchronization symbol

                 The synchronization symbol permits recovery of the frame boundary after micro-interruptions that
                 might otherwise force retraining.

                The symbol rate, fsymb = 4 kHz, the carrier separation, M = 4.3125 kHz, and the 10FT size, N=
                512, are such that a cyclic prefix of 40 samples could be used. That is,

                                                  =
                 (512 + 40) x 4.0 =512 x 4.3125 =2208                   =
                The cyclic prefix shall, however, be shortened to 32 samples, and a synchronization symbol (with
                a nominal length of 544 samples) inserted after every 68 data symbols. That is,

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                                (512 + 32) x 69;;;;;; (512 + 40) x 68

                            The data pattern used in the synchronization symbol shall be the pseudo-random sequence PRO.
                            (dn, for n ; ; ; 1 to 512) defined by

                                                                             for n;;;;;; 1 to 9
                                                                           for n ;;;;;;10 to 512

                            The first pair of bits (d 1 and d 2 ) shall be used for the dc and Nyquist sub-carriers (the power
                            assigned to them is. of course. zero. so the bits are effectively ignored); the first and second bits
                            of subsequent pairs are then used to define the Xi and YI' for i ; ; ; 1 to 255 as follows:


                                                                   o   0                      + +
                                                                   o                          +
                                                                       o                            +


                                NOTES
                                1 The period of the PRD is only 511 bits, so dS12 = d1 •.
                                2 The d 1 - d9 are re-initialized for each symbol, so each symbol of C-REVERB1 uses the same data.

                            Bits 129 and 130. which modulate the pilot carrier (i ; ; ; 64). shall be overwritten by {O.O}:
                            generating the {+.+} constellation.

                            The minimum set of sub-carriers to be used is the set used for data transmission (i.e .• those for
                            which b i > 0); sub-carriers for which b i ;;;;;; 0 may be used at a reduced PSO as defined in 6.13.4.
                            The data modulated onto each sub-carrier shall be as defined above; it shall not depend on which
                            sub-carriers are used.

                            6.10            Cyclic prefix

                            The last 32 samples of the output of the 10FT (Xk for k;;;;;; 480 to 511) shall be prepended to the
                            block of 512 samples and read out to the digital-to-analog converter (OAC) in sequence. That is,
                            the subscripts. k, of the OAC samples in sequence are 480 ..... 511.0 ........511.

                            The cyclic prefix shall be used for data and synchronization symbols beginning with the R-
                            RATES1 segment of the initialization sequence. as defined in 12.7.4.




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                6.11 Transmitter dynamic range

                The transmitter includes all analog transmitter functions: the D/A converter, the anti-aliasing filter,
                the hybrid circuitry, and the POTS splitter. The transmitted signal shall conform to the frequency
                requirements as described in 6.9.1 for frequency spacing.

                6.11.1 Maximum clipping rate

                The maximum output signal of the transmitter shall be such that the probability of the signal being
                clipped is no greater than 10.7 .

                6.11.2 Noise/Distortion floor

                The Signal to Noise plus Distortion (SINAD) ratio of the transmitted signal in a given sub-carrier is
                defined as the ratio of the rms value of the full-amplitude tone in that sub-carrier to the rms sum of
                all the non-tone signals in the 4.3125 kHz frequency band centered on the sub-carrier frequency.
                The SINAD is characterized for each sub-carrier used for transmission: SINAD i represents the
                signal to noise plus distortion available on the transmitted signal in the ith sub-carrier.

                Over the transmission frequency band, the SINAD of the transmitter in any sub-carrier shall be no
                less than (3 NdOwni + 20) dB, where Ndowni is defined as the size of the constellation (in bits) to be
                used on sub-carrier i. The minimum transmitter SINAD shall be at least 38dB (corresponding to
                an Ndowni of 6) for any sub-carrier.

                6.12 Transmitter spectral response

                Figure 17 shows a representative spectral response mask for the transmitted Signal. The pass
                band is defined as the frequency range over which the modem transmits. The low frequency stop
                band is defined as the POTS band; the high frequency stop band is defined as frequencies
                greater than 2.208 Mhz.

                 PSD
                dBrn/Hz


                                                       Passband ripple ± 3 dB
                    -40
                                                                                           24 dB


                                                                                                                             50dB




                                                                                                                     -T--
                                       3.4            30                          1104      2208                         11040 kHz
                                    Lower                    Downstream pass band             Upper stop-band
                                    stop-band
                                    (MTS)
                                                                      Figure 17 - ATU-C transmitter PSD mask




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                           6.12.1 Pass band response

                           The pass band ripple shall be no greater than 3 dB, and the group delay variation over the pass
                           band shall not exceed 50 Ilsec.

                           6.12.2 Low frequency stop band rejection

                           The spectral characteristics of the output in the POTS band shall conform to the specifications in
                           10.7.

                           6.12.3 High frequency stop band rejection

                           The PSD in the band above 2.208 MHz shall be at least 24 dB below the spectral density of the
                           pass·band mask. (see 12.4.3). The PSD in the band above 11.04 MHz shall be at least 50 dB
                           below the spectral density of the pass·band mask.


                           6.13 Transmit power spectral density and aggregate power level

                           There are three different PSD masks for the ATU-C transmit signal, depending on the type of
                           signal sent. In all cases the power in the voice-band that is delivered to the Public Switched
                           Telephone Network (PSTN) interface shall conform to the specification given in 10.7

                           6.13.1 All initialization signals (except C-ECT) starting with C-REVERB1

                           The PSD in the band from 25 to 1100 kHz, shall not exceed -40 dBmlHz for a total power of not
                           greater than 20 dBm. The power in the voice band delivered to the PSTN interface shall conform
                           to the requirements of 10.7. If measurement of the upstream power indicates that power cut-back
                           is necessary, then the PSD should be set at -42, -44, -46, -48, -50, or -52 dBmlHz (see
                           12.4.3).

                           6.13.2 C-ECT

                           Because C-ECT is a vendor defined signal (see 12.4.5), the PSD specification shall be
                           interpreted only as a maximum. This maximum level is -40 dBm/Hz for the band from 18 to
                           1100 kHz. Sub-carriers 1 - 5 may be used, but the power in the voice-band that is delivered to
                           the PSTN interface shall conform to the specification given in 10.7.

                           6.13.3 Steady-state data signal

                           The PSD in the band from 25 to 1100 kHz shall normally (Le., without power cut-back or power
                           boost) be -40 dBm/Hz with a maximum of -37 dBm/Hz; levels lower than -40 dBm/Hz on some
                           carriers are discretionary. The normal aggregate power level shall not exceed ( -4 +10
                           log(ncdown)) dBm, where ncdown is the number of sub-carriers used (20.4 dBm if all sub-carriers
                           are used). The PSD and aggregate power may, however, be changed in any of the following
                           circumstances:

                                           a) Power cut-back: in this case the PSD and the aggregate power level will be reduced
                                                                     = 0 to 5) so that they are as follows
                                           by n multiples of 2 dB (n =
                                                  - PSDmax        = -37 - 2 n dBm/Hz
                                                                  =
                                                  - Total power = = -4 - 2 n + 1Olog(ncdown) dBm
                                            b) the bits and gains table (see R-B&G in 12.9.8) from ATU-R during initialization may
                                            eliminate some of the sub-carriers, and finely adjust (Le., within ± 3 dB range) the level
                                            of others in order to equalize expected error rates on each of the sub-channels;




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                                C) a power boost: the PSD and aggregate power shall not exceed the following
                                        - PSDmax = -37 dBmlHz for 0 < i:$; 50; that is, frequency below 220 kHz
                                                         -31 dBm/Hz for 51 :$; i < 256; that is frequency above 220 kHz.
                                        - Total power = the sum of the powers ( -4 + 10 log( ncdown 1» and (2 +
                                                       1Olog( ncdown2» ,

                                                                                                                 =0
                                where ncdown1 and ncdown2 are the number of sub-carriers used in the sub-bands i =
                                             =51 to 255, respectively
                                to 50, and i =

                These specifications are shown in figure 18, where the possible power cut-back in multiples of 2
                dBm and power boost of 6 dBm above 220 kHz are illustrated .


                               dBmlHz:



                 -31-2n


                 -37-2n

                 ~3-2n

                                                                          4                              Bo osted PSD:
                  n= Oto 5




                                             I
                                          o 3.4
                                                   /-I approx
                                                                   Typical PSD:
                                                                   nominal-40 ± 3 dBmlHz


                                                                                         200
                                                                                                         nominal-34 ± 3 dBm/Hz



                                                                                                       -----~

                                                                                                                                          f
                                                                            Frequency (kHz)
                                                       30kHz

                                                  Figure 18 - ATU-C transmitter PSD mask: pass-band detail

                6.13.4 Synchronization symbol

                                                                      = 0 and 9, > 0 shall be the same as for the
                The PSD of those sub-carriers for which b j > 0 or b, =
                initialization Signal C-REVERB1; that is, nominally -40 dBmlHz. The PSD for those sub-carriers
                for which b j =0 and 9, = 0 shall be no higher than -48 dBm/Hz.

                The PSD of a synchroniazation symbol thus differs from that of the data Signals surrounding it by
                the 9;, which are applied only to the data carriers. These 9; were calculated for the multipoint
                constellations in order to equalize the expected error rate on all sub-channels, and are therefore
                irrelevant for most of the 4QAM signals of the synchronization symbol.




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                         7               ATU-R functional characteristics


                         7.1             ATU-R input and output data interfaces

                         The functional data interfaces at the ATU-R are shown in figure 19 . Output interfaces for the
                         high-speed downstream simplex bearer channels are designated ASO through AS3; input-
                         output interfaces for the duplex bearer channels are designated LSO through LS2. There may
                         also be a functional interface to transport maintenance indicators from the SMs (service modules)
                         to the ATU-R; this interface may physically be combined with the LSO upstream interface.

                         The data rates of the input and output data interfaces at the ATU-R for the default configurations
                         are specified in this clause.

                         The total net bearer capacity that can be transmitted in the upstream direction depends on the
                         loop characteristics. The rate of the duplex bearer at the LSO interface and the availability of the
                         LS1 and LS2 options correspond to the transport class as discussed in 5.3, for the default
                         configurations.


                                                                                                                                                         r----
                                                                                    ASO

                                                                                    AS1
                                                                                                     (nnx 1.536 Mb/s)

                                                                                                     (n1 x 1.536 Mb/s)
                                                                                                                                               -
                                                                                                                                               .......
                                                                                                                                               _I
                                                                                                                                               ..,1
                                                                                                                                                         I



                                                                                                                                                         1


                          Twisted pair
                                                                                    AS2

                                                                                    AS3
                                                                                                     (n2x 1.536 Mb/s)

                                                                                                     (n:~ x 1.536 Mb/s)
                                                                                                     (n~x
                                                                                                     (n3x
                                                                                                                                               -
                                                                                                                                               ...-..
                                                                                                                                               _I
                                                                                                                                                         I      Service
                                                                                                                                                               modules I
                          (c;
                           c;:   - .x
                                    oX
                                    A          oX  -
                                               ..x; _
                                               A
                                                                   ATU-R
                                                                                 _ LSO ("G"; 16 or 64 kb/s)
                                                                                                                                               - 1
                                                                                                                                                 1                 CI
                                                                                 ..... LSO                                                    ..._II           equipment
                                                                                                                                                         1


                                                                                 ...
                                                                                          L~1 J160
                                                                                        _ LS1 J1~ kb/sL
                                                                                                   kEtsL
                                                                                 ~
                                                                                 ~                                                - -"I
                                                                                                LS2 (384 or 576 kb/s)                                    1
                                                                                 ~--------~
                                                                                   --------~
                                                                                 .---------~

                                                                                        Maintenance indicators                                           1
                                                                                 ~-     -        -       -     -      -     -     -      -     -I




                                                                   NOTE -     ..... -       -        -   ~ indicates optional duplex
                                                                                                                channels (LS1 and LS2).

                                                                            Figure 19 - ATU-R data interfaces


                          7.1.1           Downstream simplex channels - Transceiver bit rates

                          The simplex channels are transported in the downstream direction only; therefore their data
                          interfaces at the ATU-R operate only as outputs. The rates are the same as those for the ATU-C
                          transmitter, as specified in 6.1.1.




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                  7.1.2           Duplex channels - Transceiver bit rates

                  The duplex channels are transported in both directions, so the ATU-R shall provide both input
                  and output data interfaces. The rates are the same as for the ATU-C, as specified in 6.1.2.

                  7.2             Framing

                  Framing of the upstream signal (ATU-R transmitter) is specified in this subclause; it closely
                  follows the downstream framing (ATU-C transmitter), which is specified in 6.2, but with the
                  following exceptions:
                           - there are no ASX channels or an AEX byte;
                           - a maximum of three channels exist, so that only three BF' BI pairs are specified;
                           - the default FEC coding parameters and interleave depth differ (see table 26);
                           - four bits of the "fast" and "synch" bytes are unused (corresponding to the bit positions
                           used by the ATU-C transmitter to specify synchronization control for the ASX channels)
                           (see tables 27 and 28);
                           - if the LS2 frame integrity option is installed, condition (d) in 6.2.4 does not apply for the
                           insertion of an LS2 frame verification pOinter.

                  7.2.1           Data symbols

                  The ATU-R transmitter is functionally similar to the ATU-C transmitter, as specified in 6.2.1, with
                  the exception that up to three duplex data channels are synchronized to the 4 kHz ADSL DMT
                  symbol rate (instead of up to four simplex and three duplex channels as is the case for the ATU-
                  C) and multiplexed into the two separate buffers (fast and interleaved). The ATU-R transmitter
                  and its associated reference pOints for data framing are identical to the structure shown in figure
                  2, with the exception that the ASO .. AS3 channels do not appear at the input of the MuxlSynch
                  Control.

                  7.2.1.1 Superframe structure

                  The superframe structure of the ATU-R transmitter shall be identical to that of the ATU-C
                  transmitter, as specified in 6.2.1.1.

                  7.2.1.2 Frame structure

                  Each frame of data shall be encoded into a multicarrier symbol, as described in 7.3 through 7.6.
                  As specified for the ATU-C and shown in figure 2, each frame is composed of a fast data buffer
                  and an interleaved data buffer, and the frame structure has a different appearance at each of the
                  reference pOints (A, B, and C). The bytes of the fast buffer shall be clocked into the constellation
                  encoder first, followed by the bytes of the interleaved data buffer. Bytes are clocked least
                  significant bit first.

                  The assignment of user data streams to the fast and interleaved buffers shall be configured
                  during initialization (see 12.6) with the exchange of a (8f' 8 1) pair for each data stream, where BF
                  deSignates the number of bytes of a given data stream to allocate to the fast buffer, and BI
                  designates the number of bytes allocated to the interleaved data buffer.

                                                                               = 0, 1 and 2, for the duplex channels;
                  The three possible (Bf' B1) pairs are BF(LSX), B1(LSX) for X =
                  they are specified as for the ATU-C in 6.2.1.2.

                  The three values of the (Bf' B1) pairs for the default configurations shall be as specified for the
                  ATU-C in table 16.




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                            7.2.1.2.1                       Fa st data buffer

                           The frame structure of the fast data buffer is shown in figure 2D for the three reference points that
                           are defined in figure 2. This structure is the same as that specified forthe ATU-C with the
                           following exceptions:
                                    - ASX bytes do not appear;
                                    - the AEX byte does not appear;
                                    - Rust FEC redundancy bytes are used (as contrasted with R dst).

                                             I
                                             I                                                   Nfbytes - - - - - - - - - - - -
                                             : (FEC output or constellation encoder input data frame, reference points (B), (C))

                                             :E
                                             I
                                             I                                             K~bytes
                                                                                           Kfbytes
                                                                                                                                   ~I'I
                                                                                                                                          I
                                             I                                                 eference Point (A) )
                                                                            (Mux Data Frame, "Reference                                   I

                                             I     Fast byte            I   LSO   S~~~                                      I   LEX       I ROO~~DC¥
                                                 41(               »1111(          »<::        »1111(:>                      ~41(                         >
                                                       Byte
                                                                            CF (LSO)
                                                                             Bytes
                                                                                        BF (LSI)
                                                                                         Bytes
                                                                                                     BF (LS2)
                                                                                                      Bytes
                                                                                                                                °
                                                                                                                                o or
                                                                                                                                  or II
                                                                                                                                 Byte
                                                                                                                                              R usfBytes


                                                                    2
                                                   Kt = I + j~ BF(LSj ) + Lp
                                                   Kt=                                                      CF(LSO) = { 0, B F(LSO) = 255,
                                                                                          2
                                                                                          2
                                                                                                                        B F(LSO) otherwise.
                                                                   where LF =       ~ BF(LSj ) =
                                                                            = {{ 0, ~          =0,           N f =Kt + ~sf'
                                                                                                             Nf=Kt+~sf'
                                                                                       I otherwise
                                                                                                                       = .# FEC Redundancy
                                                                                                             where ~sf =
                                                                                                                            Bytes
                                                         NOTE - LF = 1 when BF(LSO) =255.
                                                                        Figure 20 - Fast data buffer - ATU-R transmitter

                            At reference paint A in figure 2, the mux data frame, the fast buffer always contains at least the
                            "fast" byte. This is followed by BF(LSD) bytes of channel LSD, then B F(LS1) bytes of channel LS 1,
                            and B F(LS2) bytes of channel LS2, and if any BF(LSX) is non-zero, an LEX byte.

                            When BF(LSD) = = 255 (Binary 11111111), no separate bytes are included for the LSD channel.
                            Instead, the 16 kbitls C channel is transported in every other LEX byte on average, using the
                            synch byte to denote when to add the LEX byte to the LSD data stream.

                            Rust FEC redundancy bytes are added to the mux data frame (reference point A) to produce the
                            FEC output data frame (reference point B), where Rust is given in the C-RATES1 signal options
                            received from the ATU-C during initialization (see clause 12). Rusf is equal to 4 for the default
                            configurations specified in 6.2.1.2. When no data streams are allocated to the fast buffer, Rust = 0
                            (no FEC redundancy bytes are added). Because the data from the fast buffer is not interleaved,
                            the constellation encoder input data frame (reference paint C) is identical to the FEC output data
                            frame (reference point B).

                            7.2.1.2.2                       Interleaved data buffer

                            The frame structure of the interleaved data buffer is shown in figure 21 for the three reference
                            points that are defined in figure 2. This structure is the same as that specified for the ATU-C, with
                            the following exceptions:
                                 - ASX bytes do not appear;
                                 - the AEX byte does not appear;
                                  - ~ FEC redundancy bytes are used (contrasted with R dsi ).



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               ANSI T1.413-1995
                I                Mux Data Flame (Relerence Poi nt (A»                           I
                I                                                                               I
                I   -<                              Nm,; bytes                             •    I
                I                                                                               I

               ISYNCH BYrn I LSO SS I LSI SS I LS2 SS I LEX I
                 SYNCH BYrn LSO                              LSI              LS2        LEX
                1'1(      • 'I(      ..                    'I(       ..   'I(       ..   ~I
                      I       Cr(LSO)                       Br(LSI)           Br(LS2)    Oorl I
                     Byte       Bytes                            Bytes          Bytes    Byte I
                                                                                                I


                I
                I                                        ,..--
                                                                     _-----              ---
                                                                                                             I                                           Rusi         I
                ~ Nm,i bytes ~I ~ Nmj bytes -----> :                                                         I
                                                                                                                 ~ N . bytes ~1-4- bytes ~
                                                                                                                                                 I                    I

                                                                                         I                   I
                                                                                                                             IPI,I


                ~ Mux Data Frame #0 , MuxDataFlame#l
                I                                                                                   i
                                                                                                                   MuxDataFrame#(S-I)
                                                                                                                             I
                                                                                                                                                 IRED:~CY I           I
                ~
                ~ Nsj
                  Nsj bytes            _ _~.~I~
                                       ~~    -il.~I~ Nsj   bytes ~
                                                       Nsj bytes _ _~.~I                                                     I-<--- N
                                                                                                                             1'1(        Ns,;bytes          .1
                      bytes                                                                                                               s,; bytes
                                               I                       I
                         FEe Output Frame #0      FEe Output Frame #1                                                        I    FEe Output Flame #(S -1 )
                             (RefPt(B»                (RefPt(B»                                                                        (RefPt(B»


                                        2
                         = 1 +j~ BI(LSj) + LI'
                     Nmj =                                                                             =
                                                                                               CI(LSO) =                = 255 (Binary 11111111),
                                                                                                             0, BI(LSO) =
                                                                                                             BI<LSO) otherwise.
                              where LI ={ 0, j~O BI(LSj) =0,
                                          1 otherwise.

                          (Note: LI = 1 when B1(LSO) = 255)
                                                                                                                   =#FEC Redundancy Bytes,
                                                                                                        where Rusi =
                                                                                                        and    S = #DMTsymbols per
                                                                                                                     FEC codeword.

                                                      Figure 21 - Interleaved data buffer - ATU-R transmitter

                The FEC coding overhead, the number of symbols per FEe codeword, and the interleave depth
                are given in the C-RATES1 options received from the ATU-C during initialization (see clause 12).
                For the default configurations specified in 6.2.1.2, the coding parameters are given in table 26 .

                         Table 26 - Default FEe coding parameters and interleave depth - ATU-R transmitter

                                                                          Rusl                          S                                   Interleave depth
                                                                          (FEe                          (symbols per                        (FEe codewords)
                                                                          redundancy                    codeword)
                                                                          bytes)
                Transport classes 1, 2M-1                                 16                            8                                   8
                Transport classes 2, 3, 2M-                               16                            16                                  4
                2
                Transport classes 44, 2M-3                                16                            16                                  4
                Synch byte only
                Svnch ln1e  onlv                                          4                             4                                   16




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                           7.2.1.3 Cyclic redundancy check (crc)

                           Two cyclic redundancy checks (crcs) - one for the fast data buffer and one for the interleaved
                           data buffer - are generated for each superframe and transmitted in the first frame of the following
                           superframe. Eight bits per buffer type (fast or interleaved) per superframe are allocated to the
                           crc check bits.

                           The crc bits are transported in the "fast byte" (8 bits) of frame
                                                                   °
                           "synch byte" (8 bits) of frame in the interleaved data buffer.
                                                                                                    °in the fast data buffer, and the
                                                                                                       in the fast data buffer, and the


                           The bits covered by the crc include;
                                   - for the fast data buffer:
                                           - frame 0:           LSX bytes (X =  =0,1,2), followed by the LEX byte;
                                           - all other frames: "fast" byte, followed by LSX bytes (X = = 0, 1, 2), and LEX byte.
                                           - for the interleaved data buffer:
                                                   - frame 0:          LSX bytes (X = 0, 1,2), followed by the LEX byte;
                                                                                                              = 0, 1, 2), and LEX
                                                   - all other frames: "synch" byte, followed by LSX bytes (X =
                                                                       byte.

                           Each byte shall be clocked into the crc least significant bit first.

                           The crc-generating polynomial, and the method of generating the crc byte are the same as for the
                           downstream data; these are specified in 6.2.1 .3.


                           7.2.2           Synchronization

                           The input data streams shall be synchronized to the ADSL clock using the synchronization control
                           byte and the LEX byte. Forward-error-correction coding is always applied to the synchronization
                           control byte(s).




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                7.2.2.1 Synchronization for the fast data buffer

                Synchronization control for the fast data buffer can occur in frames 2 through 33 and 36 through
                67 of an ADSL superframe as described in 7.2.1.1, where the "fast" byte may be used as the
                synchronization control byte.

                The format of the "fast" byte when used as synchronization control for the fast data buffer shall be
                as given in table 27.

                In the case where no signals are allocated to the interleaved data buffer, the "synch" byte shall
                carry the aoc data directly as shown in figure 7.


                                               Table 27 - Fast byte format for synchronization - Fast data buffer

                         Bit                  Application                   Specific usage
                         sc7-sc4              not used                      set to "0" until specified otherwise
                         sc3,                 LSX channel designator        "00": channel LSO
                             se2                                            "01": channel LS1
                                                                            "10": channel LS2
                                                                            "11": do nothing to any LSX channel

                         se1                  Synchronization control for       : add LEX byte to designated LSX channel
                                                                            11111


                                                 the designated LSX         "0" : delete last byte from designated LSX
                                                 channel                         channel

                         seO                  Synch/eoc designator          "0": perform synchronization control as indicated
                                                                                 in sc7-sc1
                                                                            "1": this byte of current (even-numbered) frame
                                                                                 and of frame that immediately follows is an
                                                                                 eoc frame

                No synchronization action shall be taken for those frames in which the "fast" byte is used for crc,
                fixed indicator bits, or eoc.

                When the data rate of the C channel is 16 kbiVs, the LSO sub-channel shall be transported in the
                LEX byte, using the "add LEX byte to designated LSX channel", with LSO as the designated
                channel, every other frame on average.


                7.2.2.2 Synchronization for the interleaved data buffer

                Synchronization control for the interleaved data buffer can occur in frames 1 through 67 of an
                ADSL superframe as described in 7.2.1.1, where the "synch" byte may be used as the
                synchronization control byte.

                The format of the "synch" byte when used as synchronization control for the interleaved data
                buffer is given in table 28.




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                                                                                                                                     ANSI T1.413-1995

                                             Table 28 - Synch byte format for synchronization - Interleaved data buffer

                                   Bit                 Application
                                                       ADDlication                   Specific usage
                                   sc7-sc4             not used                      set to "0" until specified otherwise
                                   sc3,                LSX channel designator        "00" : channelLSO
                                       sc2                                           "01" : channelLS1
                                                                                     "10" : channelLS2
                                                                                     "11" : do nothing to any LSX channel

                                   se1                 Synchronization control for   "1": add LEX byte to designated LSX channel
                                                          the designated LSX         "0": delete last byte from designated LSX
                                                          channel                         channel

                                   seO                 Synch/aoc designator          "0": perform synchronization control as indicated
                                                                                          in sc3-sc1
                                                                                     "1": LEX byte carries ADSL overhead control
                                                                                          channel data; a delete synchronization
                                                                                          control may be allowed as indicated in sc3-
                                                                                          sc1

                          No synchronization action shall be taken during frame 0, where the "synch" byte is used for crc,
                          and the LEX byte carries aoc.

                          When the data rate of the C channel is 16 kbiVs, the LSO sub-channel shall be transported in the
                          LEX byte, using the "add LEX byte to designated LSX channel", with LSO as the designated
                          channel, every other frame on average.


                          7.3 Scramblers

                          The binary data streams output from the fast and interleaved buffers shall be scrambled
                          separately using the same algorithm as for the downstream signal, specified in 6.3

                          7.4 Forward error correction

                          The upstream data are Reed-Solomon coded and interleaved using the same algorithm as for the
                          downstream data, specified in 6.4.

                          7.5 Tone ordering

                          The tone ordering algorithm shall be the same as for the downstream data, specified in 6.5.

                          7.6 Constellation encoder - with trellis coding

                          Block processing of Wei's 16-state 4-dimensional trellis code to improve system performance is
                          optional. If it is implemented, an algorithmic constellation encoder shall be used to construct
                          constellations with a maximum number of bits equal to Nuprnax ' where Nuprnax ~ 15.

                          The encoding algorithm is the same as that used for downstream data (with the substitution of the
                          constellation limit of Nupmax for Ndownmax)' specified in 6.6.


                          7.7 Constellation encoder - without trellis coding

                          An algorithmic constellation encoder shall be used to construct constellations with a maximum
                          number of bits equal to N upmax ' where 15 ;;:: Nuprnax ;;:: 8. The encoding algorithm is the same as
                          that used for downstream data (with the substitution of the constellation limit of NlItJmax for
                          Ndownmax ), which is specified in 6.7. The constellation encoder does not use trellis coding with this
                          option.



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